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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  SANOFI-AVENTIS U.S. LLC and                    )
  SANOFI MATURE IP,                              )
                                                 )
                        Plaintiffs,              )
                                                 )
             v.                                  )   C.A. No. 20-804 (RGA)
                                                 )   CONSOLIDATED
  APOTEX CORP., et al.,                          )
                                                 )
                        Defendants.              )


             EXHIBITS T-MM TO JOINT CLAIM CONSTRUCTION CHART


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                       EXHIBIT T
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                                    These results are supplied for informational purposes only.
            Prescribing decisions should be made based on the approved package insert in the country of prescription.

Sponsor / Company: sanofi-aventis                                    Study Identifier: NCT00081796
Drug substance(s): Larotaxel (XRP9881; RPR109881)                    Study code: EFC6089 [XRP9881B-3001]
Title of the study: A randomized, open-label, Phase 3 study of larotaxel IV every 3 weeks versus capecitabine (Xeloda®) tablets
                    twice daily for 2 weeks in 3-week cycles in patients with metastatic breast cancer (MBC) progressing after
                    taxanes and anthracycline therapy (EFC6089)
Study center(s): 240 centers activated worldwide; patients were enrolled at 142 centers
Study period:
   Date first patient enrolled:       01 April 2004
   Date last patient completed:       30 September 2006 (data cut-off date)
Phase of development: 3
Objectives:

Primary: The primary objective of this study was to compare progression free survival (PFS) in patients with MBC, progressing
after taxanes and anthracycline therapy, when treated with larotaxel versus capecitabine.

Secondary: The secondary objectives were to compare survival and other measures of anti-tumor efficacy (response rate [RR],
time to tumor response [TTR], duration of response [DR], single time progression rate [STPR], and time to treatment failure [TTF])
in patients treated with larotaxel versus capecitabine; to compare the safety and tolerability of larotaxel versus capecitabine; and to
compare the quality of life and other clinical benefit measures in patients treated with larotaxel versus capecitabine
Methodology: Global multi-center, open-label, two-arm randomized, Phase 3 clinical trial
Number of patients:         Planned: 800; Randomized: 438;         Treated: 433
                            Evaluated:       Efficacy: 438;         Safety: 433
Diagnosis and criteria for inclusion: Histologically or cytologically proven diagnosis of breast adenocarcinoma that was
metastatic or locally recurrent and inoperable. Patients must have had measurable disease as defined by RECIST at study entry.
Patients must have received prior treatment for the breast cancer including anthracyclines, and taxanes.
Investigational product: Larotaxel (XRP9881; RPR109881)
   Dose: 90 mg/m² IV larotaxel on Day 1 over 1 hour (75 mg/m² IV in patients with known bone marrow involvement). Treatment
   was repeated every 3 weeks
   Administration: Intravenous (IV)
Duration of treatment: Patients continued to receive treatment until disease progression, patient intolerance, withdrawal of
consent, or Investigator decision.
Duration of observation: Patients were followed every 3 months to document subsequent anticancer therapy and survival status.
Reference therapy: Capecitabine
   Dose: 1250 mg/m² (2500 mg/m²/day) capecitabine tablets administered orally twice daily (morning and evening) for 2 weeks
   followed by a 1-week rest period, to form a 3-week cycle.
   Administration: Oral



                                                                                                                            Page 1/5
                               According to template: WW-CLIN-ER-102-SD-02 VERSION N°02 (05-OCT-2007)




                                                                                                   AVENTIS EXHIBIT 2003
                                                                                                   Mylan v. Aventis, IPR2016-00712
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   Criteria for evaluation:
      Efficacy: The primary efficacy variable was progression free survival (PFS), based on Independent Review Committee (IRC)
      analysis, which was defined as the time from randomization to first documentation of RECIST-defined objective tumor
      progression or death due to any cause.
      The secondary efficacy variables included overall survival (OS), single time progression rate (STPR), and response rate (RR).
      Other efficacy variables were time to tumor response (TTR), time to treatment failure (TTF), and duration of response (DR).
      Safety: Safety parameters were adverse events, hematology, blood chemistry, vital signs, physical examinations, and ECOG
      performance status.
      Special safety parameters included febrile neutropenia, infection with neutropenia, septic death, sensory neuropathy, diarrhea,
      hand-foot syndrome, and fluid retention.
      Pharmacokinetics:
   Statistical methods:
   The primary efficacy variable was median PFS, based on IRC evaluation. The PFS was compared between the two treatment
   groups using a 2-sided log rank test stratified by the randomization factors “treatment setting of prior taxanes administration” and
   “prior taxane responsiveness” as specified at the time of randomization. The rate of PFS events was also estimated using the
   Kaplan-Meier method. The analyses were performed on the ITT population.

   As secondary efficacy variables, OS and TTF were compared between the two treatments by the 2-sided log-rank test stratified by
   the stratification factors at randomization. The survival curves were estimated using Kaplan-Meier estimates. Response Rate was
   compared between the two treatment groups using 2-sided CMH test stratified by the same stratification factors. The other
   secondary efficacy variables STPR, TTR, and DR were summarized by treatment using mean, standard error, and range. The
   analyses were performed on the ITT population.

   The study was terminated based on the recommendation of the IDMC. All safety analyses followed the sanofi-aventis safety
   analysis Guideline. The comprehensive analysis of safety was based on “treatment-emergent” principle. Descriptive statistics were
   provided for TEAE, SAE, major labs, and death.

   The changes in the statistical analyses compared to the original SAP are documented in the main body of this report.




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   Summary: In general, patient characteristics were well balanced between arms; however, there were a higher proportion of black
   patients and younger patients (<50 years old) in the larotaxel arm. A slightly higher proportion of patients in the larotaxel group
   had liver metastases.
   A pre-specified futility analysis that was performed after the first 200 patients was reviewed by the IRC and resulted in the early
   termination of the study since the study did not reach its primary endpoint of superiority of larotaxel over capecitabine.
   Efficacy results: The primary efficacy variable, median PFS, was longer in the capecitabine group (18.4 weeks) than in the
   larotaxel group (14.1 weeks) according to IRC analyses; patients in the larotaxel arm responded later (median TTR: 11.1 weeks
   vs. 7.0 weeks) in the course of treatment but had a similar duration of response (DR) as compared with capecitabine. Median OS
   was 65.4 weeks in each arm.
                                  Progression free survival – ITT population – number (%) of patients
                                                             Investigator                       IRC [a]
                                                     LAROTAXE Capecitabin LAROTAXE
                                                          L               e               L            Capecitabine
                                                       (N=219)         (N=219)        (N=164)            (N=168)
                        Median PFS (weeks)              12.57           15.43           14.14             18.43
                        95% CI                       (11.00,16.86) (13.14,18.14) (11.86,17.86) (17.43,24.14)
                        Log-rank test (p-
                        value)[b]                               0.1710                          0.0482
                        Hazard Ratio                            1.1603                          1.3306
                        95% CI                             (0.9394,1.4330)                 (1.0032,1.7647)
                       Note: [a] ITT for IRC is defined as randomized patients who had tumor assessment data reviewed.
                       Note: [b] P-value was based on 2-sided log-rank test after adjusting for prior taxane setting and prior taxane
                       responsiveness


                                      Overall survival – ITT population – number (%) of patients
                                                                LAROTAXEL            Capecitabine
                                                                   (N=219)              (N=219)
                                Number of Deaths,
                                n(%)[a]                          111 (50.7%)          108 (49.3%)
                                Median OS (weeks)                   65.43                65.43
                                95% Confidence Interval        (60.571,75.286)      (54.429,78.429)
                                Log-rank test (p-value)                      0.7740
                                Hazard Ratio                                 1.0400
                                95% Confidence Interval                  (0.7960,1.3587)
                                Note: [a] 2 LAROTAXEL patients censored due to partial death dates


                                Best overall response rates – ITT population – number (%) of patients
                                                     Investigator                      IRCb
                                                 LAROTAXE                        LAROTAXE Capecitabin
                                                       L          Capecitabine         L                e
                                                    (N=219)          (N=219)       (N=164)          (N=168)
                          RR (CR + PR)             38 ( 17.4)       54 ( 24.7)     15 ( 9.1)        28 (16.7)
                          95% Exact CI            (12.6,23.0)      (19.1,30.9)    ( 5.2,14.6)     (11.4, 23.2)
                          P-valuea                            0.0560                         0.0408
                        Note: [a] P-value was based on 2-sided CMH test stratified by prior taxane setting and prior taxane
                        responsiveness. P-value was analyzed at an overall two-sided alpha level of 0.05.
                        Note: [b] ITT for IRC is defined as randomized patients and had tumor assessment data reviewed.




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   Safety results: Over 95% of patients in each treatment group experienced a TEAE. The percentage of patients with SAEs or
   who died during the study was similar in each group. The proportion of patients withdrawing from study treatment was slightly
   higher for larotaxel patients.

                                                                              LAROTAXEL          Capecitabine
                                                                                (N=218)            (N=215)
                          Any treatment emergent AE                            214 (98.2)         206 (95.8)
                          Any treatment emergent SAE                            75(34.4)           69(32.1)
                          Permanent withdrawals from treatment due to           34 (15.6)          23 (10.7)
                          AEa
                          Total number of patients who died (all causes)        113 ( 51.8)       108 ( 50.2)
                              Deaths within 30 days of last dose                 9 ( 4.1)          13 ( 6.0)
                              Deaths within 60 days of first dose                8 ( 3.7)          9 ( 4.2)
                          [a] data derived from CRF “AE” page

      The main nonhematologic and hematologic toxicities for larotaxel and capecitabine are summarized in the following tables.
      Safety results were as expected with gastrointestinal events and neutropenia/febrile neutropenia predominating in the larotaxel
      group and gastrointestinal events and palmar-plantar erythrodysesthesia syndrome predominating in the capecitabine group.

                                                                              LAROTAXEL (N=218)
                                                                                   n(%)
                                                                              All        Grade 3/4
                               Main Nonhematologic AEs
                                  Diarrhoea                                137(62.8)           18( 8.3)
                                  Nausea                                   122(56.0)            9( 4.1)
                                  Alopecia                                 105(48.2)            7( 3.2)
                                  Fatigue                                   88(40.4)           14( 6.4)
                                  Vomiting                                  78(35.8)            7( 3.2)

                                   Febrile neutropenia                      24(11.0)           24(11.0)

                               Hematology laboratory results
                                   Leukocytes                              202 ( 92.7)        122 ( 56.0)
                                   Neutrophils                             195 ( 89.4)        155 ( 71.1)
                                   Hemoglobin                              180 ( 82.6)         15 ( 6.9)
                                   Platelets                                75 ( 34.4)         23 ( 10.6)




                                                                                                                           Page 4/5
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                                                                     Capecitabine (N=215)
                                                                             n(%)
                                                                       All       Grade 3/4
                            Main Nonhematologic AEs
                               Palmar-plantar erythrodysaesthesia
                               syndrome                             138(64.2)     36(16.7)
                               Diarrhoea                            118(54.9)     27(12.6)
                               Nausea                               111(51.6)      8( 3.7)
                               Fatigue                               77(35.8)      8( 3.7)
                               Vomiting                              69(32.1)     10( 4.7)

                                 Febrile neutropenia                  1( 0.5)      1( 0.5)

                            Hematology laboratory results
                                Leukocytes                          126 ( 58.6)   16 ( 7.4)
                                Neutrophils                         97 ( 45.1)    34 ( 15.8)
                                Hemoglobin                          161 ( 74.9)    8 ( 3.7)
                                Platelets                            78 ( 36.3)   16 ( 7.4)

   Date of issue: 10-July-2012




                                                                                               Page 5/5
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                       EXHIBIT U
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 002007




                                                          AVENTIS EXHIBIT 2007
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                       EXHIBIT V
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              002012

1.14.2.3    Final Labeling Text                                                     •   Metastatic renal cell carcinoma with interferon alfa (1.5)

HIGHLIGHTS OF PRESCRIBING INFORMATION                                               ------------------------DOSAGE AND ADMINISTRATION---------------------
These highlights do not include all the information needed to use                   • Do not administer as an IV push or bolus. (2.1)
AVASTIN safely and effectively. See full prescribing information for                • Do not initiate Avastin for 28 days following major surgery and until
AVASTIN.                                                                                surgical wound is fully healed. (2.1)

AVASTIN® (bevacizumab)                                                              Metastatic colorectal cancer (2.2)
Solution for intravenous infusion                                                   • 5 mg/kg IV every 2 weeks with bolus-IFL
Initial U.S. Approval: 2004                                                         • 10 mg/kg IV every 2 weeks with FOLFOX4
                                                                                    Non−squamous non−small cell lung cancer (2.2)
                                                                                    • 15 mg/kg IV every 3 weeks with carboplatin/paclitaxel
    WARNING: GASTROINTESTINAL PERFORATIONS, SURGERY                                 Metastatic breast cancer (2.2)
    AND WOUND HEALING COMPLICATIONS, and HEMORRHAGE                                 • 10 mg/kg IV every 2 weeks with paclitaxel
        See full prescribing information for complete boxed warning.                Glioblastoma (2.2)
     • Gastrointestinal Perforation: Occurs in up to 2.4% of                        • 10 mg/kg IV every 2 weeks
        Avastin-treated patients. Discontinue Avastin for gastrointestinal          Metastatic renal cell carcinoma (mRCC) (2.2)
        perforation. (5.1)                                                          • 10 mg/kg IV every 2 weeks with interferon alfa
     • Surgery and Wound Healing Complications: Discontinue in
        patients with wound dehiscence. Discontinue at least 28 days prior          -----------------------DOSAGE FORMS AND STRENGTHS--------------------
        to elective surgery. Do not initiate Avastin for at least 28 days           • 100 mg/4 mL, single use vial (3)
        after surgery and until the surgical wound is fully healed. (5.2)           • 400 mg/16 mL, single use vial (3)
     • Hemorrhage: Severe or fatal hemorrhage, hemoptysis,                          ---------------------------CONTRAINDICATIONS---------------------------------
        gastrointestinal bleeding, CNS hemorrhage, and vaginal bleeding             None (4)
        are increased in Avastin- treated patients. Do not administer
        Avastin to patients with serious hemorrhage or recent hemoptysis.           -----------------------WARNINGS AND PRECAUTIONS------------------------
        (5.3)                                                                       • Non-Gastrointestinal Fistula Formation: Discontinue Avastin if fistula
                                                                                        formation occurs. (5.4)
                                                                                    • Arterial Thromboembolic Events (e.g., myocardial infarction, cerebral
-------------------------RECENT MAJOR CHANGES----------------------------­              infarction): Discontinue Avastin for severe ATE. (5.5)
 Indications and Usage, Glioblastoma (1.4)               5/2009                     • Hypertension: Monitor blood pressure and treat hypertension.
 Indications and Usage, Renal Cell Carcinoma (1.5)       7/2009                         Temporarily suspend Avastin if not medically controlled. Discontinue
 Dosage and Administration, Glioblastoma (2.2)           5/2009                         Avastin for hypertensive crisis or hypertensive encephalopathy. (5.6)
 Dosage and Administration, Renal Cell Carcinoma (2.2)   7/2009                     • Reversible Posterior Leukoencephalopathy Syndrome (RPLS):
 Warnings and Precautions, Hemorrhage (5.3)              5/2009                         Discontinue Avastin. (5.7)
 Warnings and Precautions, Proteinuria (5.8)             7/2009                     • Proteinuria: Monitor urine protein. Discontinue for nephrotic syndrome.
---------------------------INDICATIONS AND USAGE----------------------------            Temporarily suspend Avastin for moderate proteinuria. (5.8)
     Avastin is a vascular endothelial growth factor-specific angiogenesis          • Infusion Reactions: Stop for severe infusion reactions. (5.9)
inhibitor indicated for the treatment of:
                                                                                    ------------------------------ADVERSE REACTIONS------------------------------
•    Metastatic colorectal cancer, with intravenous 5-fluorouracil–based                 Most common adverse reactions incidence (>10% and at least twice the
     chemotherapy for first- or second-line treatment. (1.1)                        control arm rate) are epistaxis, headache, hypertension, rhinitis, proteinuria,
•    Non-squamous non-small cell lung cancer, with carboplatin and paclitaxel       taste alteration, dry skin, rectal hemorrhage, lacrimation disorder, back pain
     for first line treatment of unresectable, locally advanced, recurrent or       and exfoliative dermatitis. (6.1)
     metastatic disease. (1.2)
•    Metastatic breast cancer, with paclitaxel for treatment of patients who have   To report SUSPECTED ADVERSE REACTIONS, contact Genentech,
     not received chemotherapy for metastatic HER2-negative breast cancer.          Inc. at 1-888-835-2555 or FDA at 1-800-FDA-1088 or
     (1.3)                                                                          www.fda.gov/medwatch.
     -Effectiveness based on improvement in progression-free survival. No
     data available demonstrating improvement in disease-related symptoms or        -----------------------------USE IN SPECIFIC POPULATIONS------------------
     survival with Avastin.                                                         • Pregnancy: Based on animal data, may cause fetal harm. (8.1)
     -Not indicated for disease progression following anthracycline and taxane      • Nursing Mothers: Discontinue nursing or discontinue drug, taking into
     chemotherapy administered for metastatic disease.                                  account the importance of the drug to the mother. (8.3)
•    Glioblastoma, as a single agent for patients with progressive disease
     following prior therapy. (1.4)                                                 See 17 for PATIENT COUNSELING INFORMATION.
     -Effectiveness based on improvement in objective response rate. No data
     available demonstrating improvement in disease-related symptoms or                                                                         Revised: July 2009
     survival with Avastin.




U.S. BL 125085/168 Amendment: Bevacizumab⎯Genentech, Inc.
1 of 25/Regional (Renal Cell Carcinoma): final draft PI.doc

                                                                                                                     AVENTIS EXHIBIT 2019
                                                                                                                     Mylan v. Aventis, IPR2016-00712
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FULL PRESCRIBING INFORMATION: CONTENTS*                            6.1  Clinical Trial Experience
                                                                   6.2  Immunogenicity
WARNING: GASTROINTESTINAL PERFORATIONS,                            6.3  Postmarketing Experience
SURGERY AND WOUND HEALING COMPLICATIONS, and                  7    DRUG INTERACTIONS
HEMORRHAGE                                                    8    USE IN SPECIFIC POPULATIONS
1 INDICATIONS AND USAGE                                            8.1  Pregnancy
   1.1 Metastatic Colorectal Cancer                                8.3  Nursing Mothers
   1.2 Non-Squamous Non−Small Cell Lung Cancer                     8.4  Pediatric Use
   1.3 Metastatic Breast Cancer                                    8.5  Geriatric Use
   1.4 Glioblastoma                                           10   OVERDOSAGE
   1.5 Metastatic Renal Cell Carcinoma                        11   DESCRIPTION
2 DOSAGE AND ADMINISTRATION                                   12   CLINICAL PHARMACOLOGY
   2.1 Administration                                              12.1 Mechanism of Action
   2.2 Recommended Doses and Schedules                             12.3 Pharmacokinetics
   2.3 Preparation for Administration                         13   NONCLINICAL TOXICOLOGY
   2.4 Dose Modifications                                          13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
3 DOSAGE FORMS AND STRENGTHS                                       13.2 Animal Toxicology and/or Pharmacology
4 CONTRAINDICATIONS                                                13.3 Reproductive and Developmental Toxicology
5 WARNINGS AND PRECAUTIONS                                    14   CLINICAL STUDIES
   5.1 Gastrointestinal Perforations                               14.1 Metastatic Colorectal Cancer (mCRC)
   5.2 Surgery and Wound Healing Complications                     14.2 Unresectable Non−Squamous Non−Small Cell Lung
   5.3 Hemorrhage                                                       Cancer (NSCLC)
   5.4 Non-Gastrointestinal Fistula Formation                      14.3 Metastatic Breast Cancer (MBC)
   5.5 Arterial Thromboembolic Events                              14.4 Glioblastoma
   5.6 Hypertension                                                14.5 Metastatic Renal Cell Carcinoma (mRCC)
   5.7 Reversible Posterior Leukoencephalopathy Syndrome      16   HOW SUPPLIED/STORAGE AND HANDLING
       (RPLS)                                                 17   PATIENT COUNSELING INFORMATION
   5.8 Proteinuria
   5.9 Infusion Reactions                                     *    Sections or subsections omitted from the Full Prescribing Information are
6 ADVERSE REACTIONS                                                not listed.




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2 of 25/Regional (Renal Cell Carcinoma): final draft PI.doc
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 1   FULL PRESCRIBING INFORMATION

 2   WARNING: GASTROINTESTINAL PERFORATIONS, SURGERY AND WOUND
 3   HEALING COMPLICATIONS, and HEMORRHAGE
 4   Gastrointestinal Perforations
 5   The incidence of gastrointestinal perforation, some fatal, in Avastin-treated patients ranges
 6   from 0.3 to 2.4%. Discontinue Avastin in patients with gastrointestinal perforation. [See
 7   Dosage and Administration (2.4), Warnings and Precautions (5.1).]
 8   Surgery and Wound Healing Complications
 9   The incidence of wound healing and surgical complications, including serious and fatal
10   complications, is increased in Avastin-treated patients. Discontinue Avastin in patients with
11   wound dehiscence. The appropriate interval between termination of Avastin and subsequent
12   elective surgery required to reduce the risks of impaired wound healing/wound dehiscence has
13   not been determined. Discontinue at least 28 days prior to elective surgery. Do not initiate
14   Avastin for at least 28 days after surgery and until the surgical wound is fully healed. [See
15   Dosage and Administration (2.4), Warnings and Precautions (5.2), and Adverse Reactions
16   (6.1).]
17   Hemorrhage
18   Severe or fatal hemorrhage, including hemoptysis, gastrointestinal bleeding, central nervous
19   systems (CNS) hemorrhage, epistaxis, and vaginal bleeding occurred up to five-fold more
20   frequently in patients receiving Avastin. Do not administer Avastin to patients with serious
21   hemorrhage or recent hemoptysis. [See Dosage and Administration (2.4), Warnings and
22   Precautions (5.3), and Adverse Reactions (6.1).]
23

24   1 INDICATIONS AND USAGE
25   1.1 Metastatic Colorectal Cancer (mCRC)
26      Avastin is indicated for the first- or second-line treatment of patients with metastatic carcinoma of
27   the colon or rectum in combination with intravenous 5-fluorouracil–based chemotherapy.
28   1.2 Non-Squamous Non–Small Cell Lung Cancer (NSCLC)
29      Avastin is indicated for the first-line treatment of unresectable, locally advanced, recurrent or
30   metastatic non–squamous non–small cell lung cancer in combination with carboplatin and paclitaxel.
31   1.3 Metastatic Breast Cancer (MBC)
32      Avastin is indicated for the treatment of patients who have not received chemotherapy for
33   metastatic HER2-negative breast cancer in combination with paclitaxel.
34      The effectiveness of Avastin in MBC is based on an improvement in progression free survival.
35   There are no data demonstrating an improvement in disease-related symptoms or increased survival
36   with Avastin. [See Clinical Studies (14.3).]
37      Avastin is not indicated for patients with breast cancer that has progressed following anthracycline
38   and taxane chemotherapy administered for metastatic disease.
39   1.4 Glioblastoma
40      Avastin is indicated for the treatment of glioblastoma with progressive disease following prior
41   therapy as a single agent.
42      The effectiveness of Avastin in glioblastoma is based on an improvement in objective response
43   rate. There are no data demonstrating an improvement in disease-related symptoms or increased
44   survival with Avastin. [See Clinical Studies (14.4).]



     U.S. BL 125085/168 Amendment: Bevacizumab⎯Genentech, Inc.
     3 of 25/Regional (Renal Cell Carcinoma): final draft PI.doc
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45   1.5 Metastatic Renal Cell Carcinoma (mRCC)
46      Avastin is indicated for the treatment of metastatic renal cell carcinoma in combination with
47   interferon alfa.
48   2 DOSAGE AND ADMINISTRATION
49   2.1 Administration
50      Do not administer as an intravenous push or bolus. Administer only as an intravenous (IV)
51   infusion.
52   •    Do not initiate Avastin until at least 28 days following major surgery. Administer Avastin after
53        the surgical incision has fully healed.
54   •    First infusion: Administer infusion over 90 minutes.
55   •    Subsequent infusions: Administer second infusion over 60 minutes if first infusion is tolerated;
56        administer all subsequent infusions over 30 minutes if infusion over 60 minutes is tolerated.
57   2.2 Recommended Doses and Schedules
58      Patients should continue treatment until disease progression or unacceptable toxicity.
59   Metastatic Colorectal Cancer (mCRC)
60      The recommended doses are 5 mg/kg or 10 mg/kg every 2 weeks when used in combination with
61   intravenous 5-FU-based chemotherapy.
62   •    Administer 5 mg/kg when used in combination with bolus-IFL.
63   •    Administer 10 mg/kg when used in combination with FOLFOX4.
64   Non-Squamous Non-Small Cell Lung Cancer (NSCLC)
65      The recommended dose is 15 mg/kg every 3 weeks in combination with carboplatin and
66   paclitaxel.
67   Metastatic Breast Cancer (MBC)
68      The recommended dose is 10 mg/kg every 2 weeks in combination with paclitaxel.
69   Glioblastoma
70      The recommended dose is 10 mg/kg every 2 weeks.
71   Metastatic Renal Cell Carcinoma (mRCC)
72      The recommended dose is 10 mg/kg every 2 weeks in combination with interferon alfa.
73   2.3 Preparation for Administration
74      Use appropriate aseptic technique. Parenteral drug products should be inspected visually for
75   particulate matter and discoloration prior to administration, whenever solution and container permit.
76   Withdraw necessary amount of Avastin and dilute in a total volume of 100 mL of 0.9% Sodium
77   Chloride Injection, USP. Discard any unused portion left in a vial, as the product contains no
78   preservatives.
79   DO NOT ADMINISTER OR MIX WITH DEXTROSE SOLUTION.
80   2.4 Dose Modifications
81      There are no recommended dose reductions.
82      Discontinue Avastin for:
83      • Gastrointestinal perforations (gastrointestinal perforations, fistula formation in the
84         gastrointestinal tract, intra-abdominal abscess), fistula formation involving an internal organ
85         [See Boxed Warning, Warnings and Precautions (5.1, 5.4).]
86      • Wound dehiscence and wound healing complications requiring medical intervention [See
87         Warnings and Precautions (5.2).]
88      • Serious hemorrhage (i.e., requiring medical intervention) [See Boxed Warning, Warnings and
89         Precautions (5.3).]
90      • Severe arterial thromboembolic events [See Warnings and Precautions (5.5).]
91      • Hypertensive crisis or hypertensive encephalopathy [See Warnings and Precautions (5.6).]
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 92      • Reversible posterior leukoencephalopathy syndrome (RPLS) [See Warnings and Precautions
 93        (5.7).]
 94      • Nephrotic syndrome [See Warnings and Precautions (5.8).]
 95

 96      Temporarily suspend Avastin for:
 97      • At least 4 weeks prior to elective surgery [See Warnings and Precautions (5.2).]
 98      • Severe hypertension not controlled with medical management [See Warnings and Precautions
 99        (5.6).]
100      • Moderate to severe proteinuria pending further evaluation [See Warnings and Precautions
101        (5.8).]
102      • Severe infusion reactions [See Warnings and Precautions (5.9).]
103

104   3 DOSAGE FORMS AND STRENGTHS
105   100 mg per 4 mL single-use vial
106   400 mg per 16 mL single-use vial
107

108   4 CONTRAINDICATIONS
109   None.
110

111   5 WARNINGS AND PRECAUTIONS
112   5.1 Gastrointestinal Perforations
113      Serious and sometimes fatal gastrointestinal perforation occurs at a higher incidence in Avastin
114   treated patients compared to controls. The incidence of gastrointestinal perforation ranged from 0.3
115   to 2.4% across clinical studies. [See Adverse Reactions (6.1).]
116      The typical presentation may include abdominal pain, nausea, emesis, constipation, and fever.
117   Perforation can be complicated by intra-abdominal abscess and fistula formation. The majority of
118   cases occurred within the first 50 days of initiation of Avastin.
119      Discontinue Avastin in patients with gastrointestinal perforation. [See Boxed Warning, Dosage
120   and Administration (2.4).]
121   5.2 Surgery and Wound Healing Complications
122      Avastin impairs wound healing in animal models. [See Nonclinical Toxicology (13.2).] In clinical
123   trials, administration of Avastin was not allowed until at least 28 days after surgery. In a controlled
124   clinical trial, the incidence of wound healing complications, including serious and fatal
125   complications, in patients with mCRC who underwent surgery during the course of Avastin
126   treatment was 15% and in patients who did not receive Avastin, was 4%. [See Adverse Reactions
127   (6.1).]
128      Avastin should not be initiated for at least 28 days following surgery and until the surgical wound
129   is fully healed. Discontinue Avastin in patients with wound healing complications requiring medical
130   intervention.
131      The appropriate interval between the last dose of Avastin and elective surgery is unknown;
132   however, the half-life of Avastin is estimated to be 20 days. Suspend Avastin for at least 28 days
133   prior to elective surgery. Do not administer Avastin until the wound is fully healed. [See Boxed
134   Warning, Dosage and Administration (2.4).]
135   5.3 Hemorrhage
136      Avastin can result in two distinct patterns of bleeding: minor hemorrhage, most commonly
137   Grade 1 epistaxis; and serious, and in some cases fatal, hemorrhagic events. Severe or fatal
138   hemorrhage, including hemoptysis, gastrointestinal bleeding, hematemesis, CNS hemorrhage,
139   epistaxis, and vaginal bleeding occurred up to five-fold more frequently in patients receiving Avastin
140   compared to patients receiving only chemotherapy. Across indications, the incidence of Grade ≥ 3
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141   hemorrhagic events among patients receiving Avastin ranged from 1.2 to 4.6%. [See Adverse
142   Reactions (6.1).]
143      Serious or fatal pulmonary hemorrhage occurred in four of 13 (31%) patients with squamous cell
144   histology and two of 53 (4%) patients with non-squamous non-small cell lung cancer receiving
145   Avastin and chemotherapy compared to none of the 32 (0%) patients receiving chemotherapy alone.
146      In clinical studies in non−small cell lung cancer where patients with CNS metastases who
147   completed radiation and surgery more than 4 weeks prior to the start of Avastin were evaluated with
148   serial CNS imaging, symptomatic Grade 2 CNS hemorrhage was documented in one of 83
149   Avastin-treated patients (rate 1.2%, 95% CI 0.06%−5.93%).
150      Intracranial hemorrhage occurred in 8 of 163 patients with previously treated glioblastoma; two
151   patients had Grade 3−4 hemorrhage.
152      Do not administer Avastin to patients with recent history of hemoptysis of ≥1/2 teaspoon of red
153   blood. Discontinue Avastin in patients with hemorrhage. [See Boxed Warning, Dosage and
154   Administration (2.4).]
155   5.4 Non-Gastrointestinal Fistula Formation
156      Serious and sometimes fatal non-gastrointestinal fistula formation involving tracheo-esophageal,
157   bronchopleural, biliary, vaginal, renal and bladder sites occurs at a higher incidence in
158   Avastin-treated patients compared to controls. The incidence of non-gastrointestinal perforation was
159   ≤0.3% in clinical studies. Most events occurred within the first 6 months of Avastin therapy.
160      Discontinue Avastin in patients with fistula formation involving an internal organ. [See Dosage
161   and Administration (2.4).]
162   5.5 Arterial Thromboembolic Events
163      Serious, sometimes fatal, arterial thromboembolic events (ATE) including cerebral infarction,
164   transient ischemic attacks, myocardial infarction, angina, and a variety of other ATE occurred at a
165   higher incidence in patients receiving Avastin compared to those in the control arm. Across
166   indications, the incidence of Grade ≥ 3 ATE in the Avastin containing arms was 2.4% compared to
167   0.7% in the control arms. Among patients receiving Avastin in combination with chemotherapy, the
168   risk of developing ATE during therapy was increased in patients with a history of arterial
169   thromboembolism, or age greater than 65 years. [See Use in Specific Populations (8.5).]
170      The safety of resumption of Avastin therapy after resolution of an ATE has not been studied.
171   Discontinue Avastin in patients who experience a severe ATE. [See Dosage and Administration
172   (2.4).]
173   5.6 Hypertension
174      The incidence of severe hypertension is increased in patients receiving Avastin as compared to
175   controls. Across clinical studies the incidence of Grade 3 or 4 hypertension ranged from 5-18%.
176      Monitor blood pressure every two to three weeks during treatment with Avastin. Treat with
177   appropriate anti-hypertensive therapy and monitor blood pressure regularly. Continue to monitor
178   blood pressure at regular intervals in patients with Avastin-induced or -exacerbated hypertension
179   after discontinuation of Avastin.
180      Temporarily suspend Avastin in patients with severe hypertension that is not controlled with
181   medical management. Discontinue Avastin in patients with hypertensive crisis or hypertensive
182   encephalopathy. [See Dosage and Administration (2.4).]
183   5.7 Reversible Posterior Leukoencephalopathy Syndrome (RPLS)
184      RPLS has been reported with an incidence of <0.1% in clinical studies. The onset of symptoms
185   occurred from 16 hours to 1 year after initiation of Avastin. RPLS is a neurological disorder which
186   can present with headache, seizure, lethargy, confusion, blindness and other visual and neurologic
187   disturbances. Mild to severe hypertension may be present. Magnetic resonance imaging (MRI) is
188   necessary to confirm the diagnosis of RPLS.
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189      Discontinue Avastin in patients developing RPLS. Symptoms usually resolve or improve within
190   days, although some patients have experienced ongoing neurologic sequelae. The safety of
191   reinitiating Avastin therapy in patients previously experiencing RPLS is not known. [See Dosage
192   and Administration (2.4).]
193   5.8 Proteinuria
194      The incidence and severity of proteinuria is increased in patients receiving Avastin as compared to
195   controls. Nephrotic syndrome occurred in < 1% of patients receiving Avastin in clinical trials, in
196   some instances with fatal outcome. [See Adverse Reactions (6.1).] In a published case series, kidney
197   biopsy of six patients with proteinuria showed findings consistent with thrombotic microangiopathy.
198      Monitor proteinuria by dipstick urine analysis for the development or worsening of proteinuria
199   with serial urinalyses during Avastin therapy. Patients with a 2 + or greater urine dipstick reading
200   should undergo further assessment with a 24-hour urine collection.
201      Suspend Avastin administration for ≥ 2 grams of proteinuria/24 hours and resume when
202   proteinuria is < 2 gm/24 hours. Discontinue Avastin in patients with nephrotic syndrome. Data from
203   a postmarketing safety study showed poor correlation between UPCR (Urine Protein/Creatinine
204   Ratio) and 24 hour urine protein (Pearson Correlation 0.39 (95% CI 0.17, 0.57). [See Use in Specific
205   Populations (8.5).] The safety of continued Avastin treatment in patients with moderate to severe
206   proteinuria has not been evaluated. [See Dosage and Administration (2.4).]
207   5.9 Infusion Reactions
208      Infusion reactions reported in the clinical trials and post-marketing experience include
209   hypertension, hypertensive crises associated with neurologic signs and symptoms, wheezing, oxygen
210   desaturation, Grade 3 hypersensitivity, chest pain, headaches, rigors, and diaphoresis. In clinical
211   studies, infusion reactions with the first dose of Avastin were uncommon (< 3%) and severe
212   reactions occurred in 0.2% of patients.
213      Stop infusion if a severe infusion reaction occurs and administer appropriate medical therapy.
214   [See Dosage and Administration (2.4).]
215

216   6 ADVERSE REACTIONS
217     The following serious adverse reactions are discussed in greater detail in other sections of the
218   label:
219   • Gastrointestinal Perforations [See Boxed Warning, Dosage and Administration (2.4), Warnings
220       and Precautions (5.1).]
221   • Surgery and Wound Healing Complications [See Boxed Warning, Dosage and Administration
222       (2.4), Warnings and Precautions (5.2).]
223   • Hemorrhage [See Boxed Warning, Dosage and Administration (2.4), Warnings and Precautions
224       (5.3).]
225   • Non-Gastrointestinal Fistula Formation [See Dosage and Administration (2.4), Warnings and
226       Precautions (5.4).]
227   • Arterial Thromboembolic Events [See Dosage and Administration (2.4), Warnings and
228       Precautions (5.5).]
229   • Hypertensive Crisis [See Dosage and Administration (2.4), Warnings and Precautions (5.6).]
230   • Reversible Posterior Leukoencephalopathy Syndrome [See Dosage and Administration (2.4),
231       Warnings and Precautions (5.7).]
232   • Proteinuria [See Dosage and Administration (2.4), Warnings and Precautions (5.8).]
233

234      The most common adverse reactions observed in Avastin patients at a rate > 10% and at least
235   twice the control arm rate, are epistaxis, headache, hypertension, rhinitis, proteinuria, taste alteration,
236   dry skin, rectal hemorrhage, lacrimation disorder, back pain and exfoliative dermatitis.
237      Across all studies, Avastin was discontinued in 8.4 to 21% of patients because of adverse
238   reactions.
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239   6.1 Clinical Trial Experience
240      Because clinical trials are conducted under widely varying conditions, adverse reaction rates
241   observed in the clinical trials of a drug cannot be directly compared to rates in the clinical trials of
242   another drug and may not reflect the rates observed in practice.
243      The data below reflect exposure to Avastin in 2661 patients with mCRC, non-squamous NSCLC,
244   MBC, glioblastoma, or mRCC in controlled (Studies 1, 2, 4, 5, 6 and 9) or uncontrolled, single arm
245   (Study 7) trials treated at the recommended dose and schedule for a median of 8 to 16 doses of
246   Avastin. [See Clinical Studies (14).] The population was aged 21-88 years (median 59), 46.0%
247   male and 84.1% white. The population included 1089 first- and second-line mCRC patients who
248   received a median of 11 doses of Avastin, 480 first-line metastatic NSCLC patients who received a
249   median of 8 doses of Avastin, 592 MBC patients who had not received chemotherapy for metastatic
250   disease received a median of 8 doses of Avastin, 163 glioblastoma patients who received a median
251   of 9 doses of Avastin, and 337 mRCC patients who received a median of 16 doses of Avastin.
252   Surgery and Wound Healing Complications
253      The incidence of post-operative wound healing and/or bleeding complications was increased in
254   patients with mCRC receiving Avastin as compared to patients receiving only chemotherapy.
255   Among patients requiring surgery on or within 60 days of receiving study treatment, wound healing
256   and/or bleeding complications occurred in 15% (6/39) of patients receiving bolus-IFL plus Avastin
257   as compared to 4% (1/25) of patients who received bolus-IFL alone.
258      In Study 7, events of post-operative wound healing complications (craniotomy site wound
259   dehiscence and cerebrospinal fluid leak) occurred in patients with previously treated glioblastoma:
260   3/84 patients in the Avastin alone arm and 1/79 patients in the Avastin plus irinotecan arm. [See
261   Boxed Warning, Dosage and Administration (2.4), Warnings and Precautions (5.2).]
262   Hemorrhage
263      The incidence of epistaxis was higher (35% vs. 10%) in patients with mCRC receiving bolus-IFL
264   plus Avastin compared with patients receiving bolus-IFL plus placebo. All but one of these events
265   were Grade 1 in severity and resolved without medical intervention. Grade 1 or 2 hemorrhagic
266   events were more frequent in patients receiving bolus-IFL plus Avastin when compared to those
267   receiving bolus-IFL plus placebo and included gastrointestinal hemorrhage (24% vs. 6%), minor
268   gum bleeding (2% vs. 0), and vaginal hemorrhage (4% vs. 2%). [See Boxed Warning, Dosage and
269   Administration (2.4), Warnings and Precautions (5.3).]
270   Venous Thromboembolic Events
271      The incidence of Grade 3−4 venous thromboembolic events was higher in patients with mCRC or
272   NSCLC receiving Avastin with chemotherapy as compared to those receiving chemotherapy alone.
273   The risk of developing a second subsequent thromboembolic event in mCRC patients receiving
274   Avastin and chemotherapy was increased compared to patients receiving chemotherapy alone. In
275   Study 1, 53 patients (14%) on the bolus-IFL plus Avastin arm and 30 patients (8%) on the bolus-IFL
276   plus placebo arm received full dose warfarin following a venous thromboembolic event. Among
277   these patients, an additional thromboembolic event occurred in 21% (11/53) of patients receiving
278   bolus-IFL plus Avastin and 3% (1/30) of patients receiving bolus-IFL alone.
279      The overall incidence of Grade 3−4 venous thromboembolic events in Study 1 was 15.1% in
280   patients receiving bolus-IFL plus Avastin and 13.6% in patients receiving bolus-IFL plus placebo.
281   In Study 1, the incidence of the following Grade 3−4 venous thromboembolic events was higher in
282   patients receiving bolus-IFL plus Avastin as compared to patients receiving bolus-IFL plus placebo:
283   deep venous thrombosis (34 vs. 19 patients) and intra-abdominal venous thrombosis (10 vs.
284   5 patients).



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285   Neutropenia and Infection
286      The incidences of neutropenia and febrile neutropenia are increased in patients receiving Avastin
287   plus chemotherapy compared to chemotherapy alone. In Study 1, the incidence of Grade 3 or 4
288   neutropenia was increased in mCRC patients receiving IFL plus Avastin (21%) compared to patients
289   receiving IFL alone (14%). In Study 4, the incidence of Grade 4 neutropenia was increased in
290   NSCLC patients receiving paclitaxel/carboplatin (PC) plus Avastin (26.2%) compared with patients
291   receiving PC alone (17.2%). Febrile neutropenia was also increased (5.4% for PC plus Avastin vs.
292   1.8% for PC alone). There were 19 (4.5%) infections with Grade 3 or 4 neutropenia in the PC plus
293   Avastin arm of which 3 were fatal compared to 9 (2%) neutropenic infections in patients receiving
294   PC alone, of which none were fatal. During the first 6 cycles of treatment, the incidence of serious
295   infections including pneumonia, febrile neutropenia, catheter infections and wound infections was
296   increased in the PC plus Avastin arm [58 patients (13.6%)] compared to the PC alone arm
297   [29 patients (6.6%)].
298      In Study 7, one fatal event of neutropenic infection occurred in a patient with previously treated
299   glioblastoma receiving Avastin alone. The incidence of any grade of infection in patients receiving
300   Avastin alone was 55% and the incidence of Grade 3-5 infection was 10%.
301   Proteinuria
302      Grade 3-4 proteinuria ranged from 0.7 to 7.4% in Studies 1, 2, 4 and 9. The overall incidence of
303   proteinuria (all grades) was only adequately assessed in Study 9, in which the incidence was 20%.
304   Median onset of proteinuria was 5.6 months (range 15 days to 37 months) after initiation of Avastin.
305   Median time to resolution was 6.1 months (95% CI 2.8 months, 11.3 months). Proteinuria did not
306   resolve in 40% of patients after median follow up of 11.2 months and required permanent
307   discontinuation of Avastin in 30% of the patients who developed proteinuria (Study 9). [See
308   Warnings and Precautions (5.8).]
309   Congestive Heart Failure
310      The incidence of Grade ≥ 3 left ventricular dysfunction was 1.0% in patients receiving Avastin
311   compared to 0.6% in the control arm across indications. In patients with MBC, the incidence of
312   Grade 3-4 congestive heart failure (CHF) was increased in patients in the Avastin plus paclitaxel arm
313   (2.2%) as compared to the control arm (0.3%). Among patients receiving prior anthracyclines for
314   MBC, the rate of CHF was 3.8% for patients receiving Avastin as compared to 0.6% for patients
315   receiving paclitaxel alone. The safety of continuation or resumption of Avastin in patients with
316   cardiac dysfunction has not been studied.
317   Metastatic Colorectal Cancer (mCRC)
318      The data in Table 1 and Table 2 were obtained in Study 1, a randomized, double-blind, controlled
319   trial comparing chemotherapy plus Avastin with chemotherapy plus placebo. Avastin was
320   administered at 5 mg/kg every 2 weeks.
321      All Grade 3−4 adverse events and selected Grade 1−2 adverse events (hypertension, proteinuria,
322   thromboembolic events) were collected in the entire study population. Severe and life-threatening
323   (Grade 3−4) adverse events, which occurred at a higher incidence (≥ 2%) in patients receiving
324   bolus-IFL plus Avastin as compared to bolus-IFL plus placebo, are presented in Table 1.




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                                                           Table 1
                                       NCI-CTC Grade 3−4 Adverse Events in Study 1
                                  (Occurring at Higher Incidence [≥ 2%] Avastin vs. Control)

                                                                         Arm 1                Arm 2
                                                                      IFL + Placebo       IFL + Avastin
                                                                        (n = 396)            (n = 392)
                            NCI-CTC Grade 3-4 Events                      74%                   87%
                            Body as a Whole
                             Asthenia                                      7%                   10%
                              Abdominal Pain                               5%                   8%
                              Pain                                         5%                   8%
                            Cardiovascular
                             Hypertension                                  2%                   12%
                              Deep Vein Thrombosis                         5%                   9%
                              Intra-Abdominal Thrombosis                   1%                   3%
                              Syncope                                      1%                   3%
                            Digestive
                             Diarrhea                                     25%                   34%
                              Constipation                                 2%                   4%
                            Hemic/Lymphatic
                             Leukopenia                                   31%                   37%
                                            a
                              Neutropenia                                 14%                   21%
                             a
                                 Central laboratories were collected on Days 1 and 21 of each cycle.
                                 Neutrophil counts are available in 303 patients in Arm 1 and 276 in Arm 2.
325

326      Grade 1−4 adverse events which occurred at a higher incidence (≥ 5%) in patients receiving
327   bolus-IFL plus Avastin as compared to the bolus-IFL plus placebo arm are presented in Table 2.
328   Grade 1−4 adverse events were collected for the first approximately 100 patients in each of the three
329   treatment arms who were enrolled until enrollment in Arm 3 (5-FU/LV + Avastin) was discontinued.




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                                                        Table 2
                                    NCI-CTC Grade 1-4 Adverse Events in Study 1
                             (Occurring at Higher Incidence [≥5%] in IFL+Avastin vs. IFL)

                                                               Arm 1          Arm 2             Arm 3
                                                           IFL + Placebo   IFL + Avastin   5-FU/LV + Avastin
                                                              (n = 98)       (n = 102)         (n = 109)
            Body as a Whole
             Pain                                               55%            61%               62%
             Abdominal Pain                                     55%            61%               50%
             Headache                                           19%            26%               26%
            Cardiovascular
             Hypertension                                       14%            23%               34%
             Hypotension                                        7%             15%                7%
             Deep Vein Thrombosis                               3%             9%                 6%

            Digestive
             Vomiting                                           47%            52%               47%
             Anorexia                                           30%            43%               35%
             Constipation                                       29%            40%               29%
             Stomatitis                                         18%            32%               30%
             Dyspepsia                                          15%            24%               17%
             GI Hemorrhage                                      6%             24%               19%
             Weight Loss                                        10%            15%               16%
             Dry Mouth                                          2%             7%                 4%
             Colitis                                            1%             6%                 1%
            Hemic/Lymphatic
             Thrombocytopenia                                   0%             5%                 5%
            Nervous
             Dizziness                                          20%            26%               19%
            Respiratory
             Upper Respiratory Infection                        39%            47%               40%
             Epistaxis                                          10%            35%               32%
             Dyspnea                                            15%            26%               25%
             Voice Alteration                                   2%             9%                 6%
            Skin/Appendages
             Alopecia                                           26%            32%                6%
             Skin Ulcer                                         1%             6%                 6%
330




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                                                     Table 2 (cont’d)
                                     NCI-CTC Grade 1-4 Adverse Events in Study 1
                              (Occurring at Higher Incidence [≥5%] in IFL+Avastin vs. IFL)

                                                             Arm 1          Arm 2             Arm 3
                                                         IFL + Placebo   IFL + Avastin   5-FU/LV + Avastin
                                                            (n = 98)       (n = 102)         (n = 109)

            Special Senses
             Taste Disorder                                    9%            14%               21%
            Urogenital
             Proteinuria                                      24%            36%               36%
331


332   Avastin in Combination with FOLFOX4 in Second-line mCRC
333      Only Grade 3-5 non-hematologic and Grade 4−5 hematologic adverse events related to treatment
334   were collected in Study 2. The most frequent adverse events (selected Grade 3−5 non-hematologic
335   and Grade 4−5 hematologic adverse events) occurring at a higher incidence (≥ 2%) in 287 patients
336   receiving FOLFOX4 plus Avastin compared to 285 patients receiving FOLFOX4 alone were fatigue
337   (19% vs. 13%), diarrhea (18% vs. 13%), sensory neuropathy (17% vs. 9%), nausea (12% vs. 5%),
338   vomiting (11% vs. 4%), dehydration (10% vs. 5%), hypertension (9% vs. 2%), abdominal pain (8%
339   vs. 5%), hemorrhage (5% vs. 1%), other neurological (5% vs. 3%), ileus (4% vs. 1%) and headache
340   (3% vs. 0%). These data are likely to under-estimate the true adverse event rates due to the reporting
341   mechanisms used in Study 2.
342   Unresectable Non-Squamous Non-Small Cell Lung Cancer (NSCLC)
343      Only Grade 3-5 non-hematologic and Grade 4-5 hematologic adverse events were collected in
344   Study 4. Grade 3−5 non-hematologic and Grade 4−5 hematologic adverse events (occurring at a
345   higher incidence (≥ 2%) in 427 patients receiving PC plus Avastin compared with 441 patients
346   receiving PC alone were neutropenia (27% vs. 17%), fatigue (16% vs. 13%), hypertension (8% vs.
347   0.7%), infection without neutropenia (7% vs. 3%), venous thrombus/embolism (5% vs. 3%), febrile
348   neutropenia (5% vs. 2%), pneumonitis/pulmonary infiltrates (5% vs. 3%), infection with Grade 3 or
349   4 neutropenia (4% vs. 2%), hyponatremia (4% vs. 1%), headache (3% vs. 1%) and proteinuria (3%
350   vs. 0%).
351   Metastatic Breast Cancer (MBC)
352      Only Grade 3−5 non-hematologic and Grade 4−5 hematologic adverse events were collected in
353   Study 5. Grade 3−4 adverse events occurring at a higher incidence (≥ 2%) in 363 patients receiving
354   paclitaxel plus Avastin compared with 348 patients receiving paclitaxel alone were sensory
355   neuropathy (24% vs. 18%), hypertension (16% vs. 1%), fatigue (11% vs. 5%), infection without
356   neutropenia (9% vs. 5%), neutrophils (6% vs. 3%), vomiting (6% vs. 2%), diarrhea (5% vs. 1%),
357   bone pain (4% vs. 2%), headache (4% vs. 1%), nausea (4% vs. 1%), cerebrovascular ischemia (3%
358   vs. 0%), dehydration (3% vs. 1%), infection with unknown ANC (3% vs. 0.3%), rash/desquamation
359   (3% vs. 0.3%) and proteinuria (3% vs. 0%).
360      Sensory neuropathy, hypertension, and fatigue were reported at a ≥ 5% higher absolute incidence
361   in the paclitaxel plus Avastin arm compared with the paclitaxel alone arm.
362      Fatal adverse reactions occurred in 6/363 (1.7%) of patients who received paclitaxel plus Avastin.
363   Causes of death were gastrointestinal perforation (2), myocardial infarction (2), diarrhea/abdominal,
364   and pain/weakness/hypotension (2).


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365      Avastin is not approved for use in combination with capecitabine or for use in second or third line
366   treatment of MBC. The data below are presented to provide information on the overall safety profile
367   of Avastin in women with breast cancer since Study 6 is the only randomized, controlled study in
368   which all adverse events were collected for all patients. All patients in Study 6 received prior
369   anthracycline and taxane therapy in the adjuvant setting or for metastatic disease. Grade 1−4 events
370   which occurred at a higher incidence (≥ 5%) in patients receiving capecitabine plus Avastin
371   compared to the capecitabine alone arm are presented in Table 3.
372


                                                     Table 3
                         NCI-CTC Grade 1−4 Adverse Events in Study 6 (Occurring at Higher
                         Incidence [≥5%] in Capecitabine + Avastin vs. Capecitabine Alone)

                                                                Capecitabine   Capecitabine + Avastin
                                                                 (n = 215)           (n = 229)

                         Body as a Whole
                          Asthenia                                   47%                57%
                           Headache                                  13%                33%
                           Pain                                      25%                31%
                         Cardiovascular
                          Hypertension                               2%                 24%
                         Digestive
                          Stomatitis                                 19%                25%
                         Metabolic/Nutrition
                          Weight loss                                4%                 9%
                         Musculoskeletal
                          Myalgia                                    8%                 14%
                         Respiratory
                          Dyspnea                                    18%                27%
                           Epistaxis                                 1%                 16%
                         Skin/Appendages
                          Exfoliative                                75%                84%
                          dermatitis
                         Urogenital
                          Albuminuria                                7%                 22%
373


374   Glioblastoma
375      All adverse events were collected in 163 patients enrolled in Study 7 who either received Avastin
376   alone or Avastin plus irinotecan. All patients received prior radiotherapy and temozolomide.
377   Avastin was administered at 10 mg/kg every 2 weeks alone or in combination with irinotecan.
378   Avastin was discontinued due to adverse events in 4.8% of patients treated with Avastin alone.
379      In patients receiving Avastin alone (N=84), the most frequently reported adverse events of any
380   grade were infection (55%), fatigue (45%), headache (37%), hypertension (30%), epistaxis (19%)
381   and diarrhea (21%). Of these, the incidence of Grade ≥3 adverse events was infection (10%), fatigue
382   (4%), headache (4%), hypertension (8%) and diarrhea (1%). Two deaths on study were possibly
383   related to Avastin: one retroperitoneal hemorrhage and one neutropenic infection.
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384      In patients receiving Avastin alone or Avastin plus irinotecan (N=163), the incidence of
385   Avastin-related adverse events (Grade 1−4) were bleeding/hemorrhage (40%), epistaxis (26%), CNS
386   hemorrhage (5%), hypertension (32%), venous thromboembolic event (8%), arterial thromboembolic
387   event (6%), wound-healing complications (6%), proteinuria (4%), gastrointestinal perforation (2%),
388   and RPLS (1%). The incidence of Grade 3−5 events in these 163 patients were bleeding/hemorrhage
389   (2%), CNS hemorrhage (1%), hypertension (5%), venous thromboembolic event (7%), arterial
390   thromboembolic event (3%), wound-healing complications (3%), proteinuria (1%), and
391   gastrointestinal perforation (2%).
392   Metastatic Renal Cell Carcinoma (mRCC)
393      All grade adverse events were collected in Study 9. Grade 3−5 adverse events occurring at a
394   higher incidence (≥ 2%) in 337 patients receiving interferon alfa (IFN-α) plus Avastin compared to
395   304 patients receiving IFN-α plus placebo arm were fatigue (13% vs. 8%), asthenia (10% vs. 7%),
396   proteinuria (7% vs. 0%), hypertension (6% vs. 1%; including hypertension and hypertensive crisis),
397   and hemorrhage (3% vs. 0.3%; including epistaxis, small intestinal hemorrhage, aneurysm ruptured,
398   gastric ulcer hemorrhage, gingival bleeding, haemoptysis, hemorrhage intracranial, large intestinal
399   hemorrhage, respiratory tract hemorrhage, and traumatic hematoma).
400      Grade 1−5 adverse events occurring at a higher incidence (≥ 5%) in patients receiving IFN-α plus
401   Avastin compared to the IFN-α plus placebo arm are presented in Table 4.




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                                                       Table 4
                            NCI-CTC Grades 1−5 Adverse Events in Study 9 (Occuring at
                           Higher Incidence [≥ 5%] in IFN-α + Avastin vs. IFN-α + Placebo)

                                                                                   IFN-α      IFN-α +
                                                                                  + Placebo    Avastin
                                  System Organ Class/Preferred term*              (n = 304)   (n = 337)

                           Gastrointestinal disorders
                            Diarrhea                                                16%         21%
                           General disorders and administration site conditions
                            Fatigue                                                 27%         33%
                           Investigations
                             Weight decreased                                       15%         20%
                           Metabolism and nutrition disorders
                            Anorexia                                                31%         36%
                           Musculoskeletal and connective tissue disorders
                            Myalgia                                                 14%         19%
                             Back pain                                              6%          12%
                           Nervous system disorders
                            Headache                                                16%         24%
                           Renal and urinary disorders
                            Proteinuria                                             3%          20%
                           Respiratory, thoracic and mediastinal disorders
                            Epistaxis                                               4%          27%
                             Dysphonia                                              0%          5%
                           Vascular disorders
                            Hypertension                                            9%          28%
                           *Adverse events were encoded using MedDRA, Version 10.1.
402

403      The following adverse events were reported at a 5-fold greater incidence in the IFN-α plus
404   Avastin arm compared to IFN-α alone and not represented in Table 4: gingival bleeding (13 patients
405   vs. 1 patient); rhinitis (9 vs.0 ); blurred vision (8 vs. 0); gingivitis (8 vs. 1); gastroesophageal reflux
406   disease (8 vs.1 ); tinnitus (7 vs. 1); tooth abscess (7 vs.0); mouth ulceration (6 vs. 0); acne (5 vs. 0);
407   deafness (5 vs. 0); gastritis (5 vs. 0); gingival pain (5 vs. 0) and pulmonary embolism (5 vs. 1).
408   6.2 Immunogenicity
409      As with all therapeutic proteins, there is a potential for immunogenicity. The incidence of
410   antibody development in patients receiving Avastin has not been adequately determined because the
411   assay sensitivity was inadequate to reliably detect lower titers. Enzyme-linked immunosorbent
412   assays (ELISAs) were performed on sera from approximately 500 patients treated with Avastin,
413   primarily in combination with chemotherapy. High titer human anti-Avastin antibodies were not
414   detected.
415      Immunogenicity data are highly dependent on the sensitivity and specificity of the assay.
416   Additionally, the observed incidence of antibody positivity in an assay may be influenced by several
417   factors, including sample handling, timing of sample collection, concomitant medications, and
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418   underlying disease. For these reasons, comparison of the incidence of antibodies to Avastin with the
419   incidence of antibodies to other products may be misleading.
420   6.3 Postmarketing Experience
421     The following adverse reactions have been identified during post-approval use of Avastin.
422   Because these reactions are reported voluntarily from a population of uncertain size, it is not always
423   possible to reliably estimate their frequency or establish a causal relationship to drug exposure.
424   Body as a Whole: Polyserositis
425   Cardiovascular: Pulmonary hypertension, RPLS
426   Digestive: Intestinal necrosis, mesenteric venous occlusion, anastomotic ulceration
427   Hemic and lymphatic: Pancytopenia
428   Renal: Renal thrombotic microangiopathy (manifested as severe proteinuria)
429   Respiratory: Nasal septum perforation, dysphonia

430   7 DRUG INTERACTIONS
431      A drug interaction study was performed in which irinotecan was administered as part of the
432   FOLFIRI regimen with or without Avastin. The results demonstrated no significant effect of
433   bevacizumab on the pharmacokinetics of irinotecan or its active metabolite SN38.
434      In a randomized study in 99 patients with NSCLC, based on limited data, there did not appear to
435   be a difference in the mean exposure of either carboplatin or paclitaxel when each was administered
436   alone or in combination with Avastin. However, 3 of the 8 patients receiving Avastin plus
437   paclitaxel/carboplatin had substantially lower paclitaxel exposure after four cycles of treatment (at
438   Day 63) than those at Day 0, while patients receiving paclitaxel/carboplatin without Avastin had a
439   greater paclitaxel exposure at Day 63 than at Day 0.
440      In Study 9, there was no difference in the mean exposure of interferon alfa administered in
441   combination with Avastin when compared to interferon alfa alone.
442   8 USE IN SPECIFIC POPULATIONS
443   8.1 Pregnancy
444   Pregnancy Category C
445      There are no studies of bevacizumab in pregnant women. Reproduction studies in rabbits treated
446   with approximately 1 to 12 times the recommended human dose of bevacizumab resulted in
447   teratogenicity, including an increased incidence of specific gross and skeletal fetal alterations.
448   Adverse fetal outcomes were observed at all doses tested. Other observed effects included decreases
449   in maternal and fetal body weights and an increased number of fetal resorptions. [See Nonclinical
450   Toxicology (13.3).]
451      Human IgG is known to cross the placental barrier; therefore, bevacizumab may be transmitted
452   from the mother to the developing fetus, and has the potential to cause fetal harm when administered
453   to pregnant women. Because of the observed teratogenic effects of known inhibitors of angiogenesis
454   in humans, bevacizumab should be used during pregnancy only if the potential benefit to the
455   pregnant woman justifies the potential risk to the fetus.
456   8.3 Nursing Mothers
457      It is not known whether Avastin is secreted in human milk, but human IgG is excreted in human
458   milk. Published data suggest that breast milk antibodies do not enter the neonatal and infant
459   circulation in substantial amounts. Because many drugs are secreted in human milk and because of
460   the potential for serious adverse reactions in nursing infants from bevacizumab, a decision should be
461   made whether to discontinue nursing or discontinue drug, taking into account the half-life of the
462   bevacizumab (approximately 20 days [range 11−50 days]) and the importance of the drug to the
463   mother. [See Clinical Pharmacology (12.3).]
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464   8.4 Pediatric Use
465      The safety, effectiveness and pharmacokinetic profile of Avastin in pediatric patients have not
466   been established.
467      Juvenile cynomolgus monkeys with open growth plates exhibited physeal dysplasia following 4 to
468   26 weeks exposure at 0.4 to 20 times the recommended human dose (based on mg/kg and exposure).
469   The incidence and severity of physeal dysplasia were dose-related and were partially reversible upon
470   cessation of treatment.
471   8.5 Geriatric Use
472      In Study 1, severe adverse events that occurred at a higher incidence (≥ 2%) in patients aged
473   ≥ 65 years as compared to younger patients were asthenia, sepsis, deep thrombophlebitis,
474   hypertension, hypotension, myocardial infarction, congestive heart failure, diarrhea, constipation,
475   anorexia, leukopenia, anemia, dehydration, hypokalemia, and hyponatremia. The effect of Avastin
476   on overall survival was similar in elderly patients as compared to younger patients.
477      In Study 2, patients aged ≥ 65 years receiving Avastin plus FOLFOX4 had a greater relative risk
478   as compared to younger patients for the following adverse events: nausea, emesis, ileus, and fatigue.
479      In Study 4, patients aged ≥ 65 years receiving carboplatin, paclitaxel, and Avastin had a greater
480   relative risk for proteinuria as compared to younger patients. [See Warnings and Precautions (5.8).]
481      In Study 5, there were insufficient numbers of patients ≥ 65 years old to determine whether the
482   overall adverse events profile was different in the elderly as compared with younger patients.
483      Of the 742 patients enrolled in Genentech-sponsored clinical studies in which all adverse events
484   were captured, 212 (29%) were age 65 or older and 43 (6%) were age 75 or older. Adverse events of
485   any severity that occurred at a higher incidence in the elderly as compared to younger patients, in
486   addition to those described above, were dyspepsia, gastrointestinal hemorrhage, edema, epistaxis,
487   increased cough, and voice alteration.
488      In an exploratory, pooled analysis of 1745 patients treated in five randomized, controlled studies,
489   there were 618 (35%) patients aged ≥ 65 years and 1127 patients < 65 years of age. The overall
490   incidence of arterial thromboembolic events was increased in all patients receiving Avastin with
491   chemotherapy as compared to those receiving chemotherapy alone, regardless of age. However, the
492   increase in arterial thromboembolic events incidence was greater in patients aged ≥ 65 years (8.5%
493   vs. 2.9%) as compared to those < 65 years (2.1% vs. 1.4%). [See Warnings and Precautions (5.5).]
494

495   10 OVERDOSAGE
496     The highest dose tested in humans (20 mg/kg IV) was associated with headache in nine of
497   16 patients and with severe headache in three of 16 patients.
498

499   11 DESCRIPTION
500      Avastin (bevacizumab) is a recombinant humanized monoclonal IgG1 antibody that binds to and
501   inhibits the biologic activity of human vascular endothelial growth factor (VEGF) in in vitro and
502   in vivo assay systems. Bevacizumab contains human framework regions and the
503   complementarity-determining regions of a murine antibody that binds to VEGF. Avastin has an
504   approximate molecular weight of 149 kD. Bevacizumab is produced in a mammalian cell (Chinese
505   Hamster Ovary) expression system in a nutrient medium containing the antibiotic gentamicin.
506   Gentamicin is not detectable in the final product.
507      Avastin is a clear to slightly opalescent, colorless to pale brown, sterile, pH 6.2 solution for
508   intravenous infusion. Avastin is supplied in 100 mg and 400 mg preservative-free, single-use vials
509   to deliver 4 mL or 16 mL of Avastin (25 mg/mL). The 100 mg product is formulated in 240 mg
510   α,α-trehalose dihydrate, 23.2 mg sodium phosphate (monobasic, monohydrate), 4.8 mg sodium
511   phosphate (dibasic, anhydrous), 1.6 mg polysorbate 20, and Water for Injection, USP. The 400 mg
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512   product is formulated in 960 mg α,α-trehalose dihydrate, 92.8 mg sodium phosphate (monobasic,
513   monohydrate), 19.2 mg sodium phosphate (dibasic, anhydrous), 6.4 mg polysorbate 20, and Water
514   for Injection, USP.
515

516   12 CLINICAL PHARMACOLOGY
517   12.1 Mechanism of Action
518      Bevacizumab binds VEGF and prevents the interaction of VEGF to its receptors (Flt-1 and KDR)
519   on the surface of endothelial cells. The interaction of VEGF with its receptors leads to endothelial
520   cell proliferation and new blood vessel formation in in vitro models of angiogenesis. Administration
521   of bevacizumab to xenotransplant models of colon cancer in nude (athymic) mice caused reduction
522   of microvascular growth and inhibition of metastatic disease progression.
523   12.3 Pharmacokinetics
524      The pharmacokinetic profile of bevacizumab was assessed using an assay that measures total
525   serum bevacizumab concentrations (i.e., the assay did not distinguish between free bevacizumab and
526   bevacizumab bound to VEGF ligand). Based on a population pharmacokinetic analysis of
527   491 patients who received 1 to 20 mg/kg of Avastin weekly, every 2 weeks, or every 3 weeks, the
528   estimated half-life of bevacizumab was approximately 20 days (range 11−50 days). The predicted
529   time to reach steady state was 100 days. The accumulation ratio following a dose of 10 mg/kg of
530   bevacizumab every 2 weeks was 2.8.
531      The clearance of bevacizumab varied by body weight, gender, and tumor burden. After correcting
532   for body weight, males had a higher bevacizumab clearance (0.262 L/day vs. 0.207 L/day) and a
533   larger Vc (3.25 L vs. 2.66 L) than females. Patients with higher tumor burden (at or above median
534   value of tumor surface area) had a higher bevacizumab clearance (0.249 L/day vs. 0.199 L/day) than
535   patients with tumor burdens below the median. In Study 1, there was no evidence of lesser efficacy
536   (hazard ratio for overall survival) in males or patients with higher tumor burden treated with Avastin
537   as compared to females and patients with low tumor burden. The relationship between bevacizumab
538   exposure and clinical outcomes has not been explored.
539

540   13 NONCLINICAL TOXICOLOGY
541   13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
542      No carcinogenicity or mutagenicity studies of bevacizumab have been conducted.
543      Bevacizumab may impair fertility. Female cynomolgus monkeys treated with 0.4 to 20 times the
544   recommended human dose of bevacizumab exhibited arrested follicular development or absent
545   corpora lutea as well as dose-related decreases in ovarian and uterine weights, endometrial
546   proliferation, and the number of menstrual cycles. Following a 4- or 12-week recovery period, there
547   was a trend suggestive of reversibility. After the 12-week recovery period, follicular maturation
548   arrest was no longer observed, but ovarian weights were still moderately decreased. Reduced
549   endometrial proliferation was no longer observed at the 12-week recovery time point; however,
550   decreased uterine weight, absent corpora lutea, and reduced number of menstrual cycles remained
551   evident.
552   13.2 Animal Toxicology and/or Pharmacology
553      In cynomolgus monkeys, when bevacizumab was administered at doses of 0.4 to 20 times the
554   weekly human exposure, anatomical pathology revealed several adverse effects on general growth
555   and skeletal development, fertility and wound healing capacity. Severe physeal dysplasia was
556   consistently reported in juvenile monkeys with open growth plates receiving 0.4 to 20 times the
557   human dose. The physeal dysplasia was characterized by a linear cessation of growth line and
558   chondrocyte hyperplasia which did not completely resolve after the 4 to 12 weeks recovery period
559   without drug exposure.
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560      Rabbits dosed with bevacizumab exhibited reduced wound healing capacity. Using full-thickness
561   skin incision and partial thickness circular dermal wound models, bevacizumab dosing resulted in
562   reductions in wound tensile strength, decreased granulation and re-epithelialization, and delayed
563   time to wound closure.
564   13.3 Reproductive and Developmental Toxicology
565      Pregnant rabbits dosed with 1 to 12 times the human dose of bevacizumab every three days during
566   the period of organogenesis (gestation day 6-18) exhibited teratogenic effects, decreases in maternal
567   and fetal body weights, and increased number of fetal resorptions. Teratogenic effects included:
568   reduced or irregular ossification in the skull, jaw, spine, ribs, tibia and bones of the paws;
569   meningocele; fontanel, rib and hindlimb deformities; corneal opacity; and absent hindlimb
570   phalanges. There are no data available regarding the level of bevacizumab exposure in the offspring.
571

572   14 CLINICAL STUDIES
573   14.1 Metastatic Colorectal Cancer (mCRC)
574   Study 1
575      In this double-blind, active-controlled study, patients were randomized (1:1:1) to IV bolus-IFL
576   (irinotecan 125 mg/m2, 5-FU 500 mg/m2, and leucovorin (LV) 20 mg/m2 given once weekly for
577   4 weeks every 6 weeks) plus placebo (Arm 1), bolus-IFL plus Avastin (5 mg/kg every 2 weeks)
578   (Arm 2), or 5-FU/LV plus Avastin (5 mg/kg every 2 weeks) (Arm 3). Enrollment in Arm 3 was
579   discontinued, as pre-specified, when the toxicity of Avastin in combination with the bolus-IFL
580   regimen was deemed acceptable. The main outcome measure was overall survival (OS).
581      Of the 813 patients randomized to Arms 1 and 2, the median age was 60, 40% were female, 79%
582   were Caucasian, 57% had an ECOG performance status of 0, 21% had a rectal primary and 28%
583   received prior adjuvant chemotherapy. In 56% of the patients, the dominant site of disease was
584   extra-abdominal, while the liver was the dominant site in 38% of patients.
585      The addition of Avastin resulted in an improvement in survival across subgroups defined by age
586   (< 65 yrs, ≥ 65 yrs) and gender. Results are presented in Table 5 and Figure 1.




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                                                                 Table 5
                                                         Study 1 Efficacy Results

                                                                                    IFL + Avastin
                                                                IFL + Placebo     5 mg/kg q 2 wks
                                   Number of Patients                 411              402

                                   Overall Survivala
                                    Median (months)                  15.6              20.3
                                     Hazard ratio                                      0.66

                                   Progression-free Survivala
                                    Median (months)                   6.2              10.6
                                     Hazard ratio                                      0.54

                                   Overall Response Rateb
                                    Rate (percent)                   35%               45%

                                   Duration of Response
                                    Median (months)                   7.1              10.4
                                     a
                                         p < 0.001 by stratified log rank test.
                                    b
                                         p < 0.01 by χ2 test.
587



588                                                             Figure 1
589                                                  Duration of Survival in Study 1




590

591


592      Among the 110 patients enrolled in Arm 3, median OS was 18.3 months, median progression-free
593   survival (PFS) was 8.8 months, objective response rate (ORR) was 39%, and median duration of
594   response was 8.5 months.
595   Study 2
596      Study 2 was a randomized, open-label, active-controlled trial in patients who were previously
597   treated with irinotecan +/- 5-FU for initial therapy for metastatic disease or as adjuvant therapy.
598   Patients were randomized (1:1:1) to IV FOLFOX4 (Day 1: oxaliplatin 85 mg/m2 and LV 200 mg/m2
599   concurrently, then 5-FU 400 mg/m2 bolus followed by 600 mg/m2 continuously; Day 2: LV
600   200 mg/m2, then 5-FU 400 mg/m2 bolus followed by 600 mg/m2 continuously; repeated every
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601   2 weeks), FOLFOX4 plus Avastin (10 mg/kg every 2 weeks prior to FOLFOX4 on Day 1), or
602   Avastin monotherapy(10 mg/kg every 2 weeks). The main outcome measure was OS.
603      The Avastin monotherapy arm was closed to accrual after enrollment of 244 of the planned
604   290 patients following a planned interim analysis by the data monitoring committee based on
605   evidence of decreased survival compared to FOLFOX4 alone.
606      Of the 829 patients randomized to the three arms, the median age was 61 years, 40% were female,
607   87% were Caucasian, 49% had an ECOG performance status of 0, 26% received prior radiation
608   therapy, and 80% received prior adjuvant chemotherapy, 99% received prior irinotecan, with or
609   without 5-FU as therapy for metastatic disease, and 1% received prior irinotecan and 5-FU as
610   adjuvant therapy.
611      The addition of Avastin to FOLFOX4 resulted in significantly longer survival as compared to
612   FOLFOX4 alone (median OS 13.0 months vs. 10.8 months; hazard ratio 0.75 [95% CI 0.63, 0.89],
613   p = 0.001 stratified log rank test) with clinical benefit seen in subgroups defined by age (< 65 yrs,
614   ≥ 65 yrs) and gender. PFS and ORR based on investigator assessment were higher in the Avastin
615   plus FOLFOX4 arm.
616   Study 3
617      The activity of Avastin in combination with bolus or infusional 5-FU/LV was evaluated in a
618   single arm study enrolling 339 patients with mCRC with disease progression following both
619   irinotecan- and oxaliplatin-containing chemotherapy regimens. Seventy-three percent of patients
620   received concurrent bolus 5-FU/LV. One objective partial response was verified in the first
621   100 evaluable patients for an overall response rate of 1% (95% CI 0−5.5%).
622   14.2 Unresectable Non–Squamous Non–Small Cell Lung Cancer (NSCLC)
623   Study 4
624      The safety and efficacy of Avastin as first-line treatment of patients with locally advanced,
625   metastatic, or recurrent non–squamous NSCLC was studied in a single, large, randomized,
626   active-controlled, open-label, multicenter study.
627      Chemotherapy-naïve patients with locally advanced, metastatic or recurrent non–squamous
628   NSCLC were randomized (1:1) to receive six 21-day cycles of paclitaxel 200 mg/m2 and carboplatin
629   AUC=6.0, by IV on day 1 (PC) or PC in combination with Avastin 15 mg/kg by IV on day 1 (PC
630   plus Avastin). After completion or upon discontinuation of chemotherapy, patients in the PC plus
631   Avastin arm continued to receive Avastin alone until disease progression or until unacceptable
632   toxicity. Patients with predominant squamous histology (mixed cell type tumors only), central
633   nervous system (CNS) metastasis, gross hemoptysis (≥1/2 tsp of red blood), unstable angina, or
634   receiving therapeutic anticoagulation were excluded. The main outcome measure was duration of
635   survival.
636      Of the 878 patients randomized, the median age was 63, 46% were female, 43% were ≥ age 65,
637   and 28% had ≥ 5% weight loss at study entry. Eleven percent had recurrent disease and of the 89%
638   with newly diagnosed NSCLC, 12% had Stage IIIB with malignant pleural effusion and 76% had
639   Stage IV disease.
640      The results are presented in Figure 2. OS was statistically significantly higher among patients
641   receiving PC plus Avastin compared with those receiving PC alone; median OS was 12.3 months vs.
642   10.3 months [hazard ratio 0.80 (repeated 95% CI 0.68, 0.94), final p- value 0.013, stratified log-rank
643   test]. Based on investigator assessment which was not independently verified, patients were
644   reported to have longer PFS with Avastin in combination with PC compared to PC alone.




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645                                                          Figure 2
646                                               Duration of Survival in Study 4




647

648      In an exploratory analyses across patient subgroups, the impact of Avastin on OS was less robust
649   in the following: women [HR = 0.99 (95% CI: 0.79, 1.25)], age ≥ 65 years [HR = 0.91 (95% CI:
650   0.72, 1.14)] and patients with ≥5% weight loss at study entry [HR = 0.96 (95% CI: 0.73, 1.26)].
651   14.3 Metastatic Breast Cancer (MBC)
652   Study 5
653      The efficacy and safety of Avastin as first-line treatment of patients with MBC was studied in a
654   single, open-label, randomized, multicenter study. Patients who had not received chemotherapy for
655   locally recurrent or MBC were randomized (1:1) to receive paclitaxel (90 mg/m2 IV once weekly for
656   3 out of 4 weeks) alone or in combination with Avastin (10 mg/kg IV infusion every 2 weeks).
657   Patients were treated until disease progression or unacceptable toxicity. In situations where
658   paclitaxel was discontinued or held, treatment with Avastin alone could be continued until disease
659   progression. Patients with breast cancer overexpressing HER2 were not eligible unless they had
660   received prior therapy with trastuzumab.
661      Prior hormonal therapy for the treatment of metastatic disease was allowed, as was prior adjuvant
662   chemotherapy or hormonal therapy. Adjuvant taxane therapy, if received, must have been
663   completed 12 or more months prior to study entry. Patients with central nervous system metastasis
664   were excluded. The main outcome measure of the study was PFS as assessed by independent
665   radiographic review. Secondary outcome measures were OS and ORR.
666      Of the 722 patients randomized, the median age was 55 years, 76% were white, 55% were
667   postmenopausal, and 64% were ER and/or PR positive. Patient characteristics were similar across
668   treatment arms. Thirty-six percent had received prior hormonal therapy for advanced disease, and
669   66% had received adjuvant chemotherapy, including 20% with prior taxane use and 50% with prior
670   anthracycline use. Efficacy results are summarized in Table 6.




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                                                                 Table 6
                                                  Avastin Efficacy Results from Study 5

                                                                  Avastin +         Paclitaxel
                                                                  Paclitaxel          Alone                         HR
                               Efficacy Parameter                  (n=368)           (n=354)          p-value    (95% CI)
                       Progression-free Survival                     11.3               5.8                        0.48
                        [median, months (95% CI)]                (10.5, 13.3)       (5.4, 8.2)        <0.0001   (0.39, 0.61)
                       Overall Survival                              26.5              24.8                        0.87
                        [median, months (95% CI)]                (23.7, 29.2)     (21.4, 27.4)          0.14    (0.72, 1.05)
                       Partial Response Rate (PR)  1
                                                                    48.9%   2
                                                                                      22.2%            <0.001       ⎯
                        1
                            Includes only patients with measurable disease.
                        2
                            The difference in partial response rates is 26.7% with a 95% CI (18.4%, 35.0%).
671

672      The addition of Avastin to paclitaxel resulted in an improvement in PFS with no significant
673   improvement in OS. Partial response rates in patients with measurable disease were higher with
674   Avastin plus paclitaxel. No complete responses were observed.
675      Thirty-four percent of the patients had incomplete follow-up for disease progression; therefore an
676   exploratory analysis using similar imputation between arms was performed, which yielded a hazard
677   ratio of 0.57.
678   Study 6
679      The efficacy and safety of Avastin as second- and third-line treatment of patients with MBC was
680   studied in a single open-label randomized study. Patients who had received prior anthracycline and
681   taxane therapy in the adjuvant setting or for their MBC were randomized (1:1) to receive
682   capecitabine alone or in combination with Avastin. Of the 462 enrolled patients, the median age was
683   51 years, 81% were white, and 50% were ER positive. Patient characteristics were similar across the
684   treatment arms.
685      The study failed to demonstrate a statistically significant effect on PFS or OS. The median PFS
686   was 4.2 months in the capecitabine arm and 4.9 months in the capecitabine plus Avastin arm
687   (log-rank p-value = 0.86, hazard ratio 0.98). The median OS was 14.5 months in the capecitabine
688   arm and 15.1 months in the capecitabine plus Avastin arm (hazard ratio of 1.08).
689   14.4 Glioblastoma
690   Study 7
691      The efficacy and safety of Avastin was evaluated in Study 7, an open-label, multicenter,
692   randomized, non-comparative study of patients with previously treated glioblastoma. Patients
693   received Avastin (10 mg/kg IV) alone or Avastin plus irinotecan every 2 weeks until disease
694   progression or until unacceptable toxicity. All patients received prior radiotherapy (completed at
695   least 8 weeks prior to receiving Avastin) and temozolomide. Patients with active brain hemorrhage
696   were excluded.
697      Of the 85 patients randomized to the Avastin arm, the median age was 54 years, 32% were
698   female, 81% were in first relapse, Karnofsky performance status was 90−100 for 45% and 70−80 for
699   55%.
700      The efficacy of Avastin was demonstrated using response assessment based on both WHO
701   radiographic criteria and by stable or decreasing corticosteroid use, which occurred in 25.9% (95%
702   CI 17.0%, 36.1%) of the patients. Median duration of response was 4.2 months (95% CI 3.0, 5.7).
703   Radiologic assessment was based on MRI imaging (using T1 and T2/FLAIR). MRI does not
704   necessarily distinguish between tumor, edema, and radiation necrosis.

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705   Study 8
706      Study 8, was a single-arm, single institution trial with 56 patients with glioblastoma. All patients
707   had documented disease progression after receiving temozolomide and radiation therapy. Patients
708   received Avastin 10 mg/kg IV every 2 weeks until disease progression or unacceptable toxicity.
709      The median age was 54, 54% were male, 98% Caucasian, and 68% had a Karnofsky Performance
710   Status of 90−100.
711      The efficacy of Avastin was supported by an objective response rate of 19.6% (95% CI 10.9%,
712   31.3%) using the same response criteria as in Study 7. Median duration of response was 3.9 months
713   (95% CI 2.4, 17.4).
714   14.5 Metastatic Renal Cell Carcinoma (mRCC)
715   Study 9
716      Patients with treatment-naïve mRCC were evaluated in a multicenter, randomized, double-blind,
717   international study comparing Avastin plus interferon alfa 2a (IFN- α2a) versus placebo plus
718   IFN-α2a. A total of 649 patients who had undergone a nephrectomy were randomized (1:1) to
719   receive either Avastin (10 mg/kg IV infusion every 2 weeks; n = 327) or placebo (IV every 2 weeks;
720   n = 322) in combination with IFN-α2a (9 MIU subcutaneously three times weekly, for a maximum of
721   52 weeks). Patients were treated until disease progression or unacceptable toxicity. The main
722   outcome measure of the study was investigator-assessed PFS. Secondary outcome measures were
723   ORR and OS.
724      The median age was 60 years (range 18−82), 96% were white, and 70% were male. The study
725   population was characterized by Motzer scores as follows: 28% favorable (0), 56% intermediate (1­
726   2), 8% poor (3-5), and 7% missing.
727      The results are presented in Figure 3. PFS was statistically significantly prolonged among
728   patients receiving Avastin plus IFN-α2a compared to those receiving IFN-α2a alone; median PFS
729   was 10.2 months vs. 5.4 months [HR 0.60 (95% CI 0.49, 0.72), p-value < 0.0001, stratified log-rank
730   test]. Among the 595 patients with measureable disease, ORR was also significantly higher (30%
731   vs. 12%, p < 0.0001, stratified CMH test). There was no improvement in OS based on the final
732   analysis conducted after 444 deaths, with a median OS of 23 months in the Avastin plus IFN-α2a
733   arm and 21 months in the IFN-α2a plus placebo arm [HR 0.86, (95% CI 0.72, 1.04)].




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734                                                         Figure 3
735                                            Progression-Free Survival in Study 9




736

737


738   16 HOW SUPPLIED/STORAGE AND HANDLING
739      Avastin vials [100 mg (NDC 50242-060-01) and 400 mg (NDC 50242-061-01)] are stable at
740   2−8°C (36−46°F). Avastin vials should be protected from light. Do not freeze or shake.
741      Diluted Avastin solutions may be stored at 2−8°C (36−46°F) for up to 8 hours. Store in the
742   original carton until time of use. No incompatibilities between Avastin and polyvinylchloride or
743   polyolefin bags have been observed.
744

745   17 PATIENT COUNSELING INFORMATION
746     Advise patients:
747   • To undergo routine blood pressure monitoring and to contact their health care provider if blood
748      pressure is elevated.
749   • To immediately contact their health care provider for unusual bleeding, high fever, rigors,
750      sudden onset of worsening neurological function, or persistent or severe abdominal pain, severe
751      constipation, or vomiting.
752   • Of increased risk of wound healing complications during and following Avastin.
753   • Of increased risk of an arterial thromboembolic event.
754   • Of the potential risk to the fetus during and following Avastin and the need to continue adequate
755      contraception for at least 6 months following last dose of Avastin.
756

      Manufactured by:                                                         7455316
      Genentech, Inc.                                                          LV0017
      1 DNA Way                                                                4835706
      South San Francisco, CA                       Initial U.S.Approval: February 2004
      94080-4990                                          Code Revision Date: July 2009
                                                                 © 2009 Genentech, Inc
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                       EXHIBIT W
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                                                            ORIGINAL ARTICLE



     Randomized Multicenter Phase II Study of Larotaxel
  (XRP9881) in Combination with Cisplatin or Gemcitabine
  as First-Line Chemotherapy in Nonirradiable Stage IIIB or
              Stage IV Non-small Cell Lung Cancer
   Petr Zatloukal, MD,* Radj Gervais, MD,† Johan Vansteenkiste, MD, PhD,‡ Léon Bosquee, MD,§
  Christiana Sessa, MD,储 Etienne Brain, MD, PhD,¶ Eric Dansin, MD,# Thierry Urban, MD, PhD,**
            Nadine Dohollou, MD,†† Michèle Besenval, MD,‡‡ and Elisabeth Quoix, MD§§


                                                                             versus 7.3 months, respectively. Fifty percent of patients in arm A
Introduction: This randomized phase II study investigated the
                                                                             and 66.7% in arm B experienced at least one National Cancer
efficacy and safety of a new taxane, larotaxel (XRP9881), in com-            Institute common toxicity criteria grade 3/4 adverse event and grade
bination with either cisplatin or gemcitabine in the first-line treat-       3/4 neutropenia was observed in 46.9% and 41.4% of patients,
ment of patients with nonirradiable stage IIIB or stage IV non-small         respectively.
cell lung cancer to select the combination having the most promising         Conclusions: Both larotaxel combinations were effective and man-
antitumor activity.                                                          ageable, however all measured efficacy parameters (response rate,
Methods: Patients received either larotaxel (50 mg/m2) as a 1-hour           progression free survival, and survival) seemed to favor the combi-
infusion, followed by a 1-hour infusion of cisplatin (75 mg/m2),             nation with cisplatin.
every 3 weeks (arm A), or gemcitabine (800 mg/m2) as a 30 minute
infusion, on days 1 and 8, and larotaxel (60 mg/m2) as a 1-hour              Key Words: Advanced NSCLC, Combination chemotherapy, First-
infusion, on day 8 (following gemcitabine), every 3 weeks (arm B).           line, Taxane, Larotaxel.
The primary end point was the objective response rate (per-protocol          (J Thorac Oncol. 2008;3: 894 –901)
population).
Results: Thirty-two patients were randomized to arm A and 30 to
arm B. The response rate was higher in arm A compared with arm
B in both the per-protocol (26.7% versus 18.2%) and intention-to-
treat (28.1% versus 13.3%) populations. In the intention-to-treat
                                                                             G    lobally, lung cancer is the most frequently diagnosed
                                                                                  malignancy and the disease remains the most common
                                                                             cause of cancer-related death.1 The majority of tumors
population, median progression-free survival for arm A versus arm            (⬃80%) are non-small cell lung cancers (NSCLCs).2 As a
B was 4.7 versus 3.3 months and median overall survival was 8.6              consequence of the absence of effective, clinically-validated
                                                                             screening procedures, most NSCLCs are locally advanced or
*Department of Pneumology and Thoracic Surgery, 3rd Faculty of Medicine,     metastatic at presentation (stage IIIB and IV),3 and therefore
   Charles University, Faculty Hospital Bulovka and Postgraduate Medical     nonresectable. Treatment for advanced disease may comprise
   School, Praha, Czech Republic; †Centre François Baclesse, Caen,          chemoradiotherapy (stage IIIB) or chemotherapy (stage IV).4
   France; ‡Respiratory Oncology Unit (Pulmonology) and Leuven Lung          Such essentially palliative treatment aims at controlling symp-
   Cancer Group, University Hospital Gasthuisberg, Leuven, Belgium;
   §Service de pneumologie, Centre Hospitalier Universitaire, Sart-Tilman,   toms, improving quality of life, and lengthening survival.
   Liège, Belgium; 储Ospedale San Giovanni, Bellinzona, Switzerland; ¶De-           A number of cytotoxic agents have been shown to be
   partment of Medical Oncology, Centre René Huguenin, Saint-Cloud,         effective as first-line treatments for NSCLC. Currently, pa-
   France; #Départment de Cancérologie générale, Centre Oscar Lambret,       tients with good performance status will commonly receive a
   Lille, France; **Service de pneumologie, Centre Hospitalier Universita-
   ire, Angers, France; ††Department of Medical Oncology, Polyclinique       doublet comprising a platinum analogue (cisplatin or carbo-
   Bordeaux Nord Aquitaine, Bordeaux, France; ‡‡Sanofi-Aventis, Antony,      platin) combined with a third-generation cytotoxic agent
   France; and §§Service de pneumologie, University Hospital, Strasbourg,    (gemcitabine, vinorelbine, or a taxane). Various combina-
   France.                                                                   tions seem to be essentially equally effective,5,6 with differ-
Disclosure: Michèle Besenval is employed by the organization. The other
   authors declare no conflict of interest.
                                                                             ences between regimens primarily limited to their side
Address for correspondence: Elisabeth Quoix, MD, Hôpital Lyautey, Service   effect profiles.7,8 Nonplatinum-based doublets, especially
   de Pneumologie, Hôpitaux Universitaires de Strasbourg, 1 Place de        gemcitabine plus a taxane have been developed in an
   l’Hôpital, 67091 Strasbourg cedex, France. E-mail: elisabeth.quoix@      attempt to overcome cisplatin-associated toxicities. Re-
   chru-strasbourg.fr
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                                                                             sults available at time of this study led to the recommen-
Cancer                                                                       dation by American Society of Clinical Oncology in 2003
ISSN: 1556-0864/08/0308-0894                                                 of their use as an alternative to platinum-based doublets.4

894                                                                     Journal of Thoracic Oncology • Volume 3, Number 8, August 2008
                                                                                                       AVENTIS EXHIBIT 2045
                                                                                                       Mylan v. Aventis, IPR2016-00712
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Journal of Thoracic Oncology • Volume 3, Number 8, August 2008                           Larotaxel in First-Line Treatment of NSCLC



       The taxanes, paclitaxel and docetaxel, are both effec-       ⬎2 ⫻109/l, platelet count ⬎100 ⫻109/l), renal (creatinine
tive and approved in combination with platinum in first-line        within upper normal limits or if borderline, with a creatinine
NSCLC therapy.9 Docetaxel is also approved as a single              clearance ⬎60 mL/min), and hepatic (total bilirubin within
agent for second-line treatment. There is however a need to         normal limits, serum aspartate aminotransferase/alanine ami-
increase the effectiveness of such compounds in relation to         notransferase and alkaline phosphatase ⱕ2.5 times the upper
increasing cytotoxicity in taxane-resistant tumors and de-          limits of normal or aspartate aminotransferase/alanine ami-
creasing systemic toxicity.10 Larotaxel (XRP9881) is a novel        notransferase ⱕ1.5 times associated with alkaline phospha-
semi-synthetic taxane compound that seems to be a potent            tase ⱕ5 times the upper limits of normal) function. Patients
microtubule stabilizer, blocking tubulin disassembly and            were required to have at least one measurable lesion accord-
thereby inhibiting mitosis. The drug efflux pump, P-glyco-          ing to response evaluation criteria in solid tumors criteria.16
protein 1 (encoded by the multidrug resistance gene, ABCB1),        The study was conducted in accordance with the declaration
which is commonly overexpressed in tumors, may play a key           of Helsinki and written informed patient consent was ob-
role in taxane resistance. Larotaxel has a much lower affinity      tained before the implementation of any study-related proce-
for P-glycoprotein 1 than docetaxel and was shown to be             dures.
active in cell lines resistant to doxorubicin, vinblastine, pac-          Main exclusion criteria were: a prior history of cancer
litaxel, and docetaxel. In addition, this compound seems to         (excluding basal cell skin or in situ disease); symptomatic
cross the blood-brain barrier.11                                    brain or leptomeningeal metastases; hypercalcemia (⬎2.8
       Several phase I studies have explored different sched-       mmol/l); peripheral neuropathy ⬎ grade 1; another serious
ules of administration of larotaxel as a single agent and have      comorbid condition; had received prior chemotherapy or
recommended dose levels for phase II studies of 60 and 90           radiotherapy (except for bone metastases) or were receiving
mg/m2 for the every 3 weeks regimen.11–15 Hematologic               another anticancer treatment or experimental drug.
toxicity was the main dose-limiting toxicity in all the tested
regimens. Other nonhematologic toxicities characteristically        Study Design and Treatments
associated with taxanes, such as alopecia, gastrointestinal               This was a multicenter, randomized study conducted in
effects, neurosensory disorders, hypersensitivity reactions,        11 centers in four countries (France, Belgium, Czech Repub-
skin disorders, and fluid retention were generally mild or          lic and Switzerland). The primary objective was to select the
moderate. Objective responses were observed in several tu-          combination having the most promising antitumor activity
mor types. Of particular interest, Sessa and colleagues noted       (response rate). Patients were randomly assigned centrally
responses in three NSCLC patients. In one case, a response          into two arms. Those in arm A received larotaxel (50 mg/m2)
was seen in both the patient’s primary tumor and also asso-         as a 1-hour infusion, followed after 30 minutes by a 1-hour
ciated brain metastases.11 This study provided a rational basis     infusion of cisplatin (75 mg/m2), every 3 weeks. Patients in
for the further testing of larotaxel in advanced NSCLC              arm B received gemcitabine (800 mg/m2) as a 30 minute
patients.                                                           infusion, on days 1 and 8, and larotaxel (60 mg/m2) as a
       A preliminary three-arm phase I study investigated           1-hour infusion, on day 8 (following gemcitabine, with no
larotaxel in combination with cisplatin, gemcitabine, or vi-        interval), every 3 weeks. Administration of larotaxel on day
norelbine. The recommended doses for the combination of             8 in this arm was selected to match docetaxel/gemcitabine
larotaxel and cisplatin were 50 and 75 mg/m2, respectively          NSCLC schedules, which have been designed to avoid do-
and for larotaxel and gemcitabine; 60 and 800 mg/m2, re-            cetaxel-induced neutropenia (which generally occurs 5 to 8
spectively. However, larotaxel combined with vinorelbine            days after administration) causing a delay in the day 8
showed poor tolerability, even at the lowest doses tested, and      administration of gemcitabine.17 All patients in arm A re-
so this combination was rejected for phase II development           ceived a setron (ondansetron or alternative) as a prophylactic
(manuscript in preparation). Using response rate as the pri-        antiemetic premedication from cycle 1. Patients in this arm
mary efficacy measure, the current phase II study was de-           were to be adequately hydrated to avoid the nephrotoxicity
signed to investigate whether cisplatin or gemcitabine was the      secondary to cisplatin administration. No prophylactic anti-
most appropriate partner for larotaxel in patients with che-        emetic drugs were allowed during the first cycle for patients
motherapy naive advanced NSCLC.                                     in arm B. In subsequent cycles, in the case of nausea/
                                                                    vomiting, patients could receive preventive antiemetic treat-
              PATIENTS AND METHODS                                  ment in compliance with the standard protocol of the center.
                                                                    Prophylaxis with dexamethasone was given (16 mg the day
Major Eligibility Criteria                                          before, 24 mg the day of, and 16 mg the day after larotaxel
      Chemotherapy naive patients were eligible for inclu-          administration).
sion if they had histologically or cytologically-confirmed                Adverse events (AEs) were graded according to Na-
nonirradiable stage IIIB or stage IV NSCLC and were ⱖ18             tional Cancer Institute-Common Toxicity Criteria Version 2.
and ⱕ75 years of age, with a life expectancy of at least 12         In the event of long lasting AEs, the cycle could be extended
weeks and an Eastern Cooperative Oncology Group perfor-             for 1 week. No dose reduction was permitted for arm A and
mance status of 0 to 2. They were not to have received              if such toxicity did not resolve by day 28, the patient was to
surgery for NSCLC within the previous 4 weeks (excluding            discontinue the study treatment. For arm B, in the case of
simple surgery for diagnosis or to implant a venous access          severe toxicity related to larotaxel or gemcitabine, a dose
device) and required adequate hematologic (neutrophils              reduction to 50 and/or 650 mg/m2, respectively, was allowed.

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The interval between day 1 of 2 consecutive cycles could be       disease (SD) (defined as the time from randomization until
extended to 5 weeks for nondrug-related AEs, but only once        disease progression or death for patients with SD as best
during the study. Treatment was continued until disease           overall response), progression-free survival (PFS; defined as
progression, unacceptable toxicity, or the withdrawal of pa-      the time from randomization until disease progression or
tient consent.                                                    death), and overall survival (OS; defined as the time from
                                                                  randomization until death). For DR and PFS evaluations,
Evaluations Before and During Therapy                             progression or death occurring 84 days or more after the last
      Within 7 days before first study drug administration,       evaluable tumor assessment was censored back to the date of
medical history (including NSCLC histology/cytology, prior        that assessment. OS was censored at the date of last contact
surgery other than for cancer, concurrent illness, prior med-     or the cutoff date, whichever came first.
ications, history of allergy) was recorded and a physical               Categoric variables were summarized by frequency and
examination (height, weight, Eastern Cooperative Oncology         percentage. Ninety five percent confidence intervals [95%]
Group performance status, vital signs) carried out. Standard      were calculated using the Clopper–Pearson exact method,19
hematologic and biochemical analyses and an evaluation of         where appropriate. Continuous variables were presented with
existing signs and symptoms were also completed. Within 4         summary statistics (mean, standard deviation, median, range).
weeks before treatment a cardiologic examination and radio-       Kaplan–Meier curves20 and estimates21 (median and its 95%
logic scanning of the chest (x-ray or computed tomography;        confidence interval) were used to analyze variables of dura-
CT), abdomen (CT), brain (CT or magnetic resonance imag-          tion and event.
ing) and when indicated, bone (scan or x-ray) were carried
out, encompassing all target and nontarget (when indicated)                                  RESULTS
lesions. During the study, a physical examination was carried
out immediately before treatment, on day 1 of each cycle.         Patient Demographics
Toxicity was evaluated weekly. Hematologic assessments                  Sixty-two patients were randomized between 30th July
were carried out every week, or every other day in the case of    2002 and 17th June 2003: 32 to arm A (larotaxel/cisplatin)
grade four neutropenia or thrombopenia (arm B) until recov-       and 30 to arm B (larotaxel/gemcitabine). Patient characteris-
ery to grade ⱕ3 or ⬍3, respectively. Radiologic assessment        tics at baseline were generally well balanced between the
of the chest and abdomen and all target and nontarget lesions     arms, except gender (Table 1). Similarly, baseline tumor
was performed every 2 cycles (6 weeks) using the same             characteristics were well balanced with only slight differ-
method as the baseline evaluation.                                ences in the interarm frequencies of the number and type of
                                                                  organs involved and stage of disease at first diagnosis (Table
Statistical Methods and Considerations                            1). The majority of patients had stage IV disease, with
       The intention-to-treat (ITT) population comprised all      adenocarcinoma being the most common histologic class.
randomized patients. The per-protocol population (PPP) was        Most patients had three or more organs affected.
defined as a subset of the treated population: patients had to
be eligible, evaluable for response, and without any major        Treatment Administration
protocol deviations during the course of the study. The safety          Thirty-two patients in arm A received a total of 127
population was the treated population, defined as all patients    cycles (median 4, range 1– 8) and 30 patients in arm B
who had been administered at least one (even incomplete)          received a total 116 cycles (median 4, range 1– 6). Table 2
infusion of one study drug.                                       summarizes drug exposure. Reflecting the absence of proto-
       The primary objective was to rank the activity of the      col-permitted dose reduction in arm A, the relative dose
two test regimens using the Simon design.18 An independent        intensity was 0.98 for both larotaxel and cisplatin. In arm B,
External Response Review Committee reviewed radiologic            28 of 30 patients received larotaxel, with 2 discontinuing
assessments to evaluate the best tumor response and to            treatment immediately after the first gemcitabine infusion
establish the date of progression (response evaluation criteria   (day 1) following, in 1 case, grade 4 supraventricular arrhyth-
in solid tumors16). The primary efficacy variable was the         mia and in 1 case, pulmonary embolism (neither considered
objective response rate for the PPP, as assessed by the           related to study treatment). The relative dose intensity in this
External Response Review Committee and as defined by              arm for larotaxel was 0.94 and for gemcitabine was 0.93, with
the percentage of patients achieving a confirmed complete         these intensities demonstrating the feasibility of the combi-
(CR) or partial (PR) response (CR ⫹ PR). Twenty-one pa-           nation. Although not allowed, 1 (3.1%) patient (1 cycle,
tients/arm were to be included. Taking into account a likely      0.8%) in arm A did have a dose reduction (larotaxel; cycle 3)
rate of exclusion from the PPP of 10%, 23 patients/arm were       following anemia. In arm B, 7 (23.3%) patients experienced
to be enrolled. With this sample size, and assuming that the      a dose reduction in 9 cycles (7.8%), due to hematologic
lowest response rate was 10%, there was a probability of 90%      toxicity for two patients, nonhematologic toxicity for three
that the best treatment would be selected, provided that it was   patients (diarrhea, nausea, and vomiting); for the two remain-
superior to the other by at least 15%.                            ing patients no specific reason was given. Among the 9 cycles
       Secondary efficacy variables included: duration of re-     with dose reduction, larotaxel was reduced in eight and
sponse (DR; defined as the time interval between meeting the      gemcitabine in one. Eleven patients (34.4%) in arm A and 13
criteria for a CR or PR and the date of the first documented      patients (43.3%) in arm B had a delay in at least 1 cycle. A
progression or death from any cause), duration of stable          total of 16 (12.6%) cycles were delayed in arm A and 22

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                                                                                     respectively had SD. In brain lesions (10 patients), no objec-
TABLE 1. Patient and Disease Characteristics at Baseline
                                                                                     tive responses were observed but stabilization was achieved
                                      Arm A           Arm B         All Patients     in three of four patients in arm A and one of six in arm B.
Characteristic                       (N ⴝ 32)        (N ⴝ 30)        (N ⴝ 62)
                                                                                            As only 13 patients (including six censored in arm A
Gender, n (%)                                                                        and two in arm B) had an objective response, Kaplan–Meier
  Male                              21 (65.6)       26 (86.7)        47 (75.8)       plots for DR were not constructed. The DR ranged between
  Female                            11 (34.4)        4 (13.3)        15 (24.2)
                                                                                     1.45⫹ and 20.63⫹ months. Median PFS was similar in arm
Race, n (%)
                                                                                     A of the PPP compared with arm B (4.3 versus 4.4 months)
  Caucasian                         32 (100.0)      30 (100.0)       62 (100.0)
                                                                                     but a difference of 1.4 months was observed in the ITT
Age, yr
                                                                                     population (4.7 versus 3.3 months, respectively). In arm B,
  Median (range)                    57 (43–75)      62 (40–72)       60 (40–75)
  ⬍65 yr, n (%)                     21 (65.6)       22 (73.3)        43 (69.4)
                                                                                     two out of four patients with very short PFS were excluded
  ⱖ65 yr, n (%)                     11 (34.4)        8 (26.7)        19 (30.6)
                                                                                     from the PPP (baseline tumor assessment done more than 31
PS before first infusion, n (%)
                                                                                     days before first infusion) and probably explain the difference
  Median (range)                     1 (0–2)         1 (0–2)          1 (0–2)        in PFS between ITT and PPP. In the ITT population, median
  0                                  9 (28.1)        7 (23.3)        16 (25.8)       OS was 8.6 months in arm A and 7.3 months in arm B (Figure
  1                                 20 (62.5)       19 (63.3)        39 (62.9)       1) and the 1-year survival rate was 40.6% in arm A and
  2                                  3 (9.4)         4 (13.3)         7 (11.3)       30.0% in arm B.
Signs and symptoms at               27 (84.4)       28 (93.3)        55 (88.7)
     baseline, n (%)
Histology type, n (%)                                                                Safety
  Adenocarcinoma                    17 (53.1)       15 (50.0)        32 (51.6)              Eight (25.0%) patients in arm A and nine (30.0%)
  Large cell carcinoma               2 (6.3)         4 (13.3)         6 (9.7)        patients in arm B experienced grade 3/4 treatment emergent
  NSCLC undetermined                 2 (6.3)            —             2 (3.2)        adverse events related to study treatment (Table 4). The
  Squamous cell carcinoma           11 (34.4)       11 (36.7)        22 (35.5)       highest incidences of such events (nonhematological) were
Stage of disease at baseline                                                         infection (9.4%) and vomiting (6.3%) in arm A, and infection
  IIIB                               5 (15.6)        5 (16.7)        10 (16.1)       (10.0%), diarrhea and allergic reaction (6.7%) in arm B. Of
  IV                                27 (84.4)       25 (83.3)        52 (83.9)       note, a similar rate of patients experienced grade 3/4 infection
Measurable disease, n (%)           32 (100.0)      30 (100.0)       62 (100.0)      related to study treatment. However, more patients experi-
Number of organs involved                                                            enced grade 3/4 infection regardless of relationship to study
  1                                  1 (3.1)         4 (13.3)         5 (8.1)        treatment (with or without neutropenia) in arm B compared
  2                                 12 (37.5)        6 (20.0)        18 (29.0)       with arm A (12.5% in arm A; 26.7% in arm B). Given that the
  3                                 13 (40.6)       15 (50.0)        28 (45.2)       excess of infection cases in arm B seemed not to be related to
  4 or more                          6 (18.8)        5 (16.7)        11 (17.7)       treatment, that the patients were randomized to the study
Organ involvement, n (%)                                                             arms and that there were no obvious imbalances in patient/
  Lung                              30 (93.8)       24 (80.0)        54 (87.1)       disease characteristics at baseline that might explain this
  Soft tissue (lymph nodes)         27 (84.4)       22 (73.3)        49 (79.0)
                                                                                     excess, this is most likely a chance finding.
  Brain                              4 (12.5)        6 (20.0)        10 (16.1)
                                                                                            Neutropenia was the most common grade 3/4 hemato-
  Bone                               9 (28.1)        5 (16.7)        14 (22.6)
                                                                                     logic toxicity in both arms (arm A: 46.9%, arm B: 41.4%),
  Adrenal gland                      6 (18.8)        8 (26.7)        14 (22.6)
                                                                                     with grade 3/4 thrombocytopenia reported for only one pa-
  Liver                              5 (15.6)        7 (23.3)        12 (19.4)
                                                                                     tient (3.4%) in arm B. Two (6.3%) patients experienced
  Pleura                             5 (15.6)        6 (20.0)        11 (17.7)
                                                                                     febrile neutropenia in arm A (no patients in arm B), and three
     Arm A, larotaxel ⫹ cisplatin; Arm B, larotaxel ⫹ gemcitabine; PS, performance   (10.0%) patients experienced neutropenic infection in each
status; NSCLC, non-small cell lung cancer.
                                                                                     arm.
                                                                                            The incidence of peripheral neurotoxicity was similar
                                                                                     in both arms (arm A: 18.8%, arm B: 20.0%) with no patients
(19.0%) in arm B. The most common reasons for cycle delays                           experiencing grade 3. More any grade creatinine increase was
were other reason (administrative reasons) in arm A and                              noted for arm A compared with arm B (37.5% versus 10%).
hematologic toxicity in arm B. All patients had discontinued                         However, this was grade 1 in all but two (6.3%) patients
treatment by the cutoff date of 15th May 2005, with the most                         (grade 2, which subsequently improved to grade 1).
common reason in both arms being progressive disease,                                       One patient in arm A (3.1%) and four patients in arm B
followed by no further benefit expected and adverse event.
                                                                                     (13.3%) died within 30 days of the last treatment adminis-
Efficacy                                                                             tration (Table 5). Two of the deaths in arm B (6.7%) were
     Primary and secondary efficacy data are detailed in                             considered to be related to study treatment: one patient died
Table 3. There were no CR. Response rates in the PPP for                             of infection (with concomitant grade 3/4 neutropenia) on day
arm A and arm B were 26.7% and 18.2% and for the ITT                                 11 of the last infusion at cycle 2, and another died of infection
population 28.1% and 13.3%, respectively. In addition,                               (with concomitant grade 3/4 neutropenia) on day 7 of the last
40.0% and 36.4% (PPP), 40.6% and 33.3% (ITT) of patients                             infusion at cycle 1.

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            TABLE 2. Exposure to Treatment
                                                                          Arm A                                               Arm B
            Exposure                                        Larotaxel                 Cisplatin               Larotaxel                 Gemcitabine
            No. of treated patients                              32                       32                      28                         30
            Cumulative dose, (mg/m2)
              Median (range)                           200.9 (49.3–397.9)       301.4 (73.9–588.4)       238.0 (59.5–364.9)       6373.3 (767.1–9731.8)
            Actual dose intensity, (mg/m2/wk)
              Median (range)                             16.3 (14.3–17.4)         24.5 (21.3–25.7)         18.9 (10.9–20.2)        498.3 (255.7–539.9)
            Relative dose intensity
              Median (range)                             0.98 (0.86–1.04)         0.98 (0.85–1.03)         0.94 (0.54–1.01)          0.93 (0.48–1.01)




            TABLE 3. Primary and Secondary Efficacy Data in the Per-Protocol and ITT Populations
                                                                            PPP                                                   ITT
            Parameter                                   Arm A (N ⴝ 30)            Arm B (N ⴝ 22)             Arm A (N ⴝ 32)             Arm B (N ⴝ 30)
            Response, n (%)
              Complete response (CR)                            —                          —                          —                         —
              Partial response (PR)                           8 (26.7)                  4 (18.2)                    9 (28.1)                  4 (13.3)
              No change/stable disease                      12 (40.0)                   8 (36.4)                  13 (40.6)                  10 (33.3)
              Progressive disease                             8 (26.7)                  9 (40.9)                    8 (25.0)                 10 (33.3)
              Not evaluable                                   2 (6.7)                   1 (4.5)                     2 (6.3)                   6 (20)
            Overall response rate (CR ⫹ PR)                  8a (26.7)                  4 (18.2)                    9 (28.1)                  4 (13.3)
            关95% CI兴                                       关12.3, 45.9兴                关5.2, 40.3兴               关13.7, 46.7兴               关3.8, 30.7兴
            Median PFS (mo)                                     4.3                        4.4                        4.7                       3.3
            关95% CI兴                                       关2.76, 4.96兴               关1.54, 6.08兴               关2.92, 6.21兴              关1.45, 5.42兴
            Median overall survival (mo)                       ND                          ND                         8.6                       7.3
            关95% CI兴                                                                                            关5.39, 16.03兴             关4.76, 11.07兴
            1-yr survival (mo)                                                                                      40.6%                     30.0%
                a
                  One patient achieving a response was ineligible for inclusion in the PPP population as a consequence of major protocol deviations at study
            entry (baseline tumor assessment more than 31 d prior to first infusion and previous radiotherapy).
                PPP, per-protocol population; ITT, intention to treat population; Arm A, larotaxel ⫹ cisplatin; Arm B, larotaxel ⫹ gemcitabine; PFS,
            progression-free survival; ND, not determined; CI, confidence interval.




FIGURE 1. Kaplan–Meier curve for overall sur-
vival in the ITT population.

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TABLE 4. Summary of Adverse Events in Each Study Arm, Treatment Emergent Adverse Events Related to Study Treatment
by Category and Terms (Reported for ⱖ2 Patients at Grade 3/4 or ⱖ3 Patients at any Grade) and Hematological Toxicity
                                                                               Arm A                                                        Arm B
Adverse Events Summary, N (%)                                                 (N ⴝ 32)                                                     (N ⴝ 30)
At least one TEAE regardless of                                               30 (93.8)                                                    30 (100.0)
  relationship to study treatment
At least one TEAE possibly or                                                 26 (81.3)                                                    26 (86.7)
  probably related to study treatment
At least one grade 3/4 TEAE                                                   16 (50.0)                                                    20 (66.7)
  regardless of relationship to
  study treatment
At least one grade 3/4 TEAE                                                    8 (25.0)                                                     9 (30.0)
  possibly or probably related to
  study treatment

Adverse Events: NCI-CTC
Category/Term, N (%)                                          Grade 3/4                     Any Grade                       Grade 3/4                     Any Grade
Allergy/immunology                                                —                            4 (12.5)                       2 (6.7)                        3 (10.0)
   Allergic reaction/hypersensitivity                             —                            4 (12.5)                       2 (6.7)                        3 (10.0)
Cardiovascular (general)                                          —                            2 (6.3)                          —                            5 (16.7)
   Edema                                                          —                            1 (3.1)                          —                            3 (10.0)
Constitutional symptoms                                         2 (6.3)                       14 (43.8)                         —                           11 (36.7)
   Fatigue                                                      1 (3.1)                       13 (40.6)                         —                            9 (30.0)
   Fever                                                          —                            3 (9.4)                          —                            3 (10.0)
Dermatology                                                       —                           14 (43.8)                         —                           19 (63.3)
   Alopecia                                                       —                           14 (43.8)                         —                           16 (53.3)
   Rash/desquamation                                              —                            1 (3.1)                          —                            5 (16.7)
Gastrointestinal                                                3 (9.4)                       22 (68.8)                       3 (10.0)                      19 (63.3)
   Anorexia                                                       —                            8 (25.0)                         —                            7 (23.3)
   Constipation                                                   —                            4 (12.5)                         —                            2 (6.7)
   Diarrhea                                                     1 (3.1)                       10 (31.3)                       2 (6.7)                       10 (33.3)
   Nausea                                                         —                           17 (53.1)                       1 (3.3)                       15 (50.0)
   Stomatitis/pharyngitis                                         —                            3 (9.4)                          —                            4 (13.3)
   Vomiting                                                     2 (6.3)                       12 (37.5)                       1 (3.3)                       10 (33.3)
Infection                                                       3 (9.4)                        3 (9.4)                        3 (10.0)                       4 (13.3)
Infectiona                                                      3 (9.4)                        3 (9.4)                        3 (10.0)                       3 (10.0)
Neurology                                                         —                            7 (21.9)                         —                            7 (23.3)
   Neuropathy sensory                                             —                            6 (18.8)                         —                            6 (20.0)
Pain                                                              —                            4 (12.5)                       1 (3.3)                        5 (16.7)
   Abdominal pain cramping                                        —                            3 (9.4)                          —                            1 (3.3)
Hematological
   Leukopenia                                                   9 (28.1)                      19 (59.4)                       8 (27.6)                      18 (62.1)
   Neutropenia                                                 15 (46.9)                      21 (65.6)                      12 (41.4)                      19 (65.5)
   Anemia                                                       3 (9.4)                       29 (90.6)                       1 (3.4)                       26 (89.7)
   Thrombocytopenia                                               —                              —                            1 (3.4)                       11 (37.9)
   Neutropenic complications
     Febrile neutropenia                                        2 (6.3)                                                         —
     Related neutropenic infection                              2 (6.3)                                                       1 (3.3)
     Grade 3
     Related neutropenic infection                              1 (3.1)                                                       2 (6.7)
     Grade 4
   a
     Neutropenic infection.
   Arm A, larotaxel ⫹ cisplatin; Arm B, larotaxel ⫹ gemcitabine; NCI-CTC, National Cancer Institute Common Toxicity Criteria; TEAE, treatment emergent adverse event.



                            DISCUSSION                                                crease toxicity associated with cisplatin-based doublets, a
      Cisplatin is one of the most efficient drugs in NSCLC,                          number of studies have investigated whether carboplatin-
but requires hyperhydration and induces some cumulative                               based and nonplatinum combinations including gemcitabine
toxicities that may be difficult to manage such as renal                              instead of cisplatin might confer equivalent efficacy but lower
impairment, peripheral neuropathy, and ototoxicity. To de-                            toxicity. A first meta-analysis has suggested the superiority of

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                                                                                                 The overall incidence of grade 3/4 toxicities related to
TABLE 5. Summary of Deaths
                                                                                          study treatment was comparable between arms. However,
                                               Arm A         Arm B           ALL          grade 3/4 infection, with or without neutropenia was more
                                              (N ⴝ 32)      (N ⴝ 30)       (N ⴝ 62)
                                                                                          common in arm B including two treatment-related deaths,
Total deaths                                  29 (90.6)      25 (83.3)      54 (87.1)     due to neutropenic infection. Levels of neurotoxicity were
Within 30 d of last administration             1 (3.1)        4 (13.3)       5 (8.1)      comparable between arms and with no grade 3/4 events
     of study treatment                                                                   observed. Severe neurotoxicity seemed to be less common
  Malignant disease                              —            1 (3.3)        1 (1.6)      than has previously been reported for taxane/cisplatin com-
  Toxicity from study medication                 —            2 (6.7)        2 (3.2)      binations.6,24,26 Renal toxicity, which was more frequent in
  Other causesa                                1 (3.1)        1 (3.3)        2 (3.2)      arm A, was mild (grade 1 or 2) as was edema, which occurred
More than 30 d after last                     28 (87.5)      21 (70.0)      49 (79.0)     in 3% and 10% of patients in arms A and B, respectively. Nail
     administration of study
     treatment                                                                            changes, characteristically associated with taxane therapy,32
  Malignant disease                           27 (84.4)      21 (70.0)      48 (77.4)     were not reported for any patient. The safety profile of both
  Toxicity from study medication                 —              —              —          combinations was considered to be acceptable.
  Other causesb                                1 (3.1)          —            1 (1.6)             In summary, although there were some differences in
    a
                                                                                          the safety profile, with more grade 1/2 renal toxicity with
      Other causes, “progression of lung cancer” in arm A and “cerebrovascular event”
in arm B.
                                                                                          larotaxel/cisplatin, and more infection with larotaxel/gemcit-
    b
      Other cause, infection considered as not related to study treatment, occurring on   abine, this study has demonstrated that larotaxel in combina-
day 63 after last study treatment administration.                                         tion with either cisplatin or gemcitabine is feasible. As for
                                                                                          previous new agents in NCSLC, and noting that the results of
                                                                                          this randomized phase II study cannot be generalized to other
cisplatin over carboplatin in terms of survival.22 Another                                untested nonplatinum/larotaxel combinations, the combina-
recent meta-analysis of 11 phase III studies has indicated that                           tion of larotaxel with cisplatin had a more favorable efficacy
patients treated with a platinum-based regimen benefited                                  (comparable to established taxane/cisplatin combinations)
from a statistically significant reduction in the risk of death at                        than the combination of larotaxel with a nonplatinum com-
1 year (p ⫽ 0.04) compared with those receiving a nonplati-                               pound. Future phase II studies exploring the efficacy of
num regimen. This benefit was associated with a significantly                             cisplatin/larotaxel/targeted agent combinations in this setting
increased but acceptable risk of severe toxicity.23 Following                             can be envisaged.
these two meta-analyses, the standard of care in this setting
therefore remains a cisplatin-based doublet.                                                                  ACKNOWLEDGMENTS
        The objective of the current study was to investigate the                              We thank the patients who enrolled on this trial and the
activity and tolerability of a new taxane, larotaxel, combined                            medical staff who contributed to their care.
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                       EXHIBIT X
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     clusterin in development for the
     treatment of prostate cancer
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 Clusterin is a stress-induced cytoprotective chaperone that confers broad-
 spectrum treatment resistance and is overexpressed across a number of cancers.
 custirsen (OGX-011) is a promising novel second-generation antisense inhibitor
 of clusterin in clinical development. This article describes the mechanism of
 action and safety profile of OGX-011 and details the Phase I and II results in human
 solid organ malignancies. Two Phase III registration trials are currently under
 recruitment evaluating OGX-011 in combination with chemotherapy in patients
 with metastatic castration-resistant prostate cancer. These studies not only have
 the potential to significantly alter the standard of care in prostate cancer, but
 would also endorse a new class of targets and targeted therapy approach for
 cancer.

Custirsen (OGX-011, OncoGenex Pharma­                        OGX-011 is a phosphorothioate antisense oli-
ceuticals Inc., WA, USA and Teva Pharma­                  gonucleotide (ASO) inhibitor of clusterin expres-
ceuticals Ltd, Petach Tikva, Israel) is a novel           sion that incorporates second-generation chemis-
antisense oligonucleotide compound that tar-              try in the form of a 2´-methoxyethyl (2´‑MOE)
gets expression of the clusterin gene. This arti-         modifications to increase tissue half-life, enhance
cle describes clusterin’s structure, function and         potency and decrease nonsequence-specific tox-
influential role in the development of treatment-         icity of the molecule. The clusterin gene was
resistant cancers. The rationale for employing            screened with a series of ASO sequences, and
antisense technology, and in particular OGX-              the most potent at inhibiting expression was the
011, to target gene overexpression is discussed.          OGX-011 sequence targeting the translation ini-
Finally, detailed efficacy and tolerability data          tiation site. Preclinical studies have demonstrated
are presented that establish the safety of OGX-           the potency of OGX-011 at inhibiting clusterin
011 in combination with chemotherapy and                  expression in vitro and in vivo, resulting in the
the potential role of OGX-011 in overcoming               therapeutic enhancement of s­tandard anticancer
t­reatment resistance in many malignancies.               treatments including hormone-, r­adiation- and
   Clusterin is a secretable cytoprotective protein       chemo-therapy [9] .
that is upregulated in response to cellular stress,          Phase I and II clinical trials with OGX‑011 have
which includes standard cancer treatments such            demonstrated biologically active dosing and suc-
as hormone-, radiation- and chemo-therapy, and            cessful delivery of the drug to malignant tissues
is implicated in treatment resistance. Clusterin is       with inhibition of clusterin expression in both
expressed in many malignancies including pros-            tissue and serum. A randomized Phase II study
tate, breast, ovarian, non-small-cell lung, colon,        of OGX-011 in combination with docetaxel
renal, urothelial and pancreatic cancers, and             in patients with metastatic castration-resistant
anaplastic large-cell lymphoma and melanoma               prostate cancer (CRPC) demonstrated a survival
[1–7] . Since clusterin binds to a wide variety of cli-   advantage for patients receiving the combination
ent proteins involved in a diverse array of biologi-      [10] . This led to the current registration pathway      Keywords
cal processes and regulated by HSF-1 it is viewed         for OGX-011 in combination with standard                 n antisense oligonucleotide
as a heat shock-like protein that chaperones and          therapies in patients with metastatic CRPC.              n cancer n chaperone protein
stabilizes proteins at times of cellular stress to           For prostate cancer in 2012, standard treat-          n clusterin n custirsen
                                                                                                                   n prostate cancer
promote cell survival. As clusterin isoforms are          ments for the metastatic CRPC patient include
also secreted extracellularly, some investigators         chemotherapeutics (docetaxel [11] , mitoxantrone
suggest that clusterin may be the first identified        [12] and cabazitaxel [13]), bone-targeting agents
secreted mammalian chaperone [8] .                        (zoledronic acid [14] and denosumab [15] ),                                     part of



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                     immuno­therapy (sipuleucel-T [16]) and a potent                new agents that are either US FDA approved or
                     inhibitor of androgen biosynthesis (abiraterone                recently reported in Phase III trials with positive
                     acetate [17]). A novel, next-generation androgen               results in terms of overall survival, progression-
                     receptor inhibitor, MDV3100 (enzalutamide)                     free survival (PFS) and symptomatic outcomes.
                     [18] , and the infusional radioisotope radium-223              Docetaxel was the first chemotherapeutic agent
                     [19] , have also demonstrated improved over-                   to demonstrate a survival advantage in CRPC
                     all survival in patients after docetaxel or in                 [11] , whereas mitoxantrone was only approved for
                     docetaxel-ineligible patients (in the case of                  palliation of symptoms in a similar patient group
                     radium-223). Both agents remain investigational                [12] . More recently cabazitaxel, a third-generation
                     and are expected to enter the CRPC market in                   taxane, gained FDA approval by establishing a
                     2012–2013. Despite these therapeutic advance-                  2.4‑month survival advantage in patients pro-
                     ments, treatment for metastatic CRPC remains                   gressing after docetaxel [13] . Sipuleucel-T, the
                     palliative with a median overall survival of                   first FDA-approved vaccine-based therapy for
                     approximately 18 months [11] . Due to the role of              any malignancy, established a 4.1-month sur-
                     clusterin in cell survival across multiple mecha-              vival advantage in patients with asymptomatic
                     nisms and broad-spectrum treatment resistance,                 or minimally symptomatic metastatic CRPC [16] .
                     inhibition of clusterin with OGX-011 has the                   New agents that target persistent androgen recep-
                     potential to improve outcomes across all these                 tor signaling in CRPC through either inhibition
                     therapeutic modalities.                                        of extragonadal steroidogenesis or direct inhi-
                                                                                    bition of the androgen receptor have also been
                     Overview of the market                                         developed. Abiraterone acetate is currently the
                     Prostate cancer is the most frequently diagnosed               first approved drug in this class after establishing
                     cancer other than skin cancer and the second-                  a 3.8-month median overall survival advantage
                     leading cause of death from cancer in men in                   in the postdocetaxel setting [17] . MDV3100 is a
                     North America [20] . In 2011, prostate can-                    novel oral anti-androgen that directly inhibits
                     cer was diagnosed in 240,000 men and led to                    the androgen receptor, which has also shown
                     nearly 33,000 deaths in the USA. Worldwide,                    a survival advantage in the same patient group
                     approximately 910,000 cases of prostate can-                   [18] . Lastly, the bone-targeting agents zoledronic
                     cer were recorded in 2008, accounting for                      acid and denosumab are also employed in the
                     approximately 14% of all new cancer cases in                   CRPC treatment model after demonstrating
                     men [101] . CRPC is the lethal phenotype of the                reduction in skeletal-related events and postpon-
                     disease that may emerge after standard andro-                  ing development of bone metastases [14,15] . Table 1
                     gen ablation therapy for advanced disease. The                 summarizes both the currently approved agents
                     term CRPC is commonly used when a patient’s                    and promising agents with unpublished positive
                     cancer progresses despite castrate levels of testos-           Phase III results.
                     terone (<50 ng/ml). The therapeutic landscape                     The current approach to managing metastatic
                     has recently become enriched with multiple                     CRPC is under major transformation as the

                     Table 1. Agents that are currently US FDA approved or with positive Phase III study
                     data in castration-resistant prostate cancer.
                     Agent                          Mode of action                Benefit                                                    Ref.
                     Enzalutamide                   Anti-androgen                 4.8-month median OS                                          [18]
                     (MDV3100)
                     Sipuleucel-T                   Immunotherapy                 4.1-month median OS                                          [16]

                     Abiraterone acetate            Anti-androgen                 3.9-month median OS                                          [17]

                     Alpharadin                     Radiopharmaceutical           2.8-month medial OS                                          [19]

                     Docetaxel                      Chemotherapeutic              2.4-month median OS                                          [11]

                     Cabazitaxel                    Chemotherapeutic              2.4-month median OS                                          [13]

                     Mitoxantrone                   Chemotherapeutic              Pain palliation                                              [12]

                     Denosumab                      RANK ligand inhibitor         4.2-month bone metastasis-free survival                      [15]

                     Zoledronic acid                Inhibitor of osteoblasts Delayed time to SRE          †                                    [14]
                     †
                      Pathologic bone fractures, spinal cord compression, surgery to bone, radiation therapy to bone (including the use of
                     radioisotopes) or a change of antineoplastic therapy to treat bone pain.
                     OS: Overall survival; SRE: Skeletal-related event.



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optimal sequencing of these new agents contin-         Introduction to the compound
ues to evolve. Yet perhaps the greater challenge is    OGX-011 is a novel second-generation 2´‑MOE-
how best to manage the emergence of universal          modified phosphorothioate ASO complementary
treatment resistance. Targeting the fundamental        to clusterin mRNA. OGX-011 is a potent inhibi-
effectors of treatment resistance is an appealing      tor of clusterin expression in vitro, in vivo and in
approach; inhibition of heat-shock and cellular        humans in clinical trials. As a single agent and
chaperone proteins fit into this category.             in combination with chemotherapy, OGX‑011
                                                       has been well-tolerated in Phase I trials and with
The target: clusterin                                  promising activity in Phase II clinical trials.
Clusterin is a single-copy gene, organized into        Registration Phase III trials are underway with
nine exons (eight introns) and a 5´-untranslated       OGX-011 in combination with chemotherapy in
region, located on chromosome 8p21–p12 and             patients with metastatic CRPC.
extending more than 16 kb [21,22] . It is highly
conserved across species and constitutively            Chemistry
expressed in almost all mammalian tissues. In          ASO therapy is one strategy to specifically target
humans, the clusterin gene codes for two secre-        functionally relevant genes. ASOs are chemically
tory isoforms (sCLU-1 and sCLU-2), originat-           modified stretches of single-strand DNA com-
ing from transcriptional start sites in exons 1        plementary to mRNA regions of a target gene
and 2, respectively; only sCLU-2 is expressed          that inhibit translation by forming RNA/DNA
in subprimates. Secreted clusterin (sCLU) is an        duplexes, thereby reducing mRNA and pro-
endoplasmic reticulum-targeted, 449-amino              tein levels of the target gene [43] . OGX‑011 is
acid polypeptide that represents the predomi-          a 21-nucleoside ASO complementary to the
nant translation product of the human gene.            clusterin exon 2 mRNA AUG translation ini-
Although sCLU is cytoprotective and anti-apop-         tiation site, with one CpG motif. The custirsen
totic, a pro-apoptotic activity ~55‑kDa nuclear        sequence was identified as the most potent to
(nCLU) splice variant lacking exon 2 and the           inhibit clusterin expression after the gene was
endoplasmic reticulum signal peptide has been          ‘walked’ with a series of antisense sequences.
described [23,24] . Analysis of the promoter has       OGX-011 is a second-generation phospho-
revealed numerous transcription factor-binding         rothioate and incorporates the 2´-O-2´‑MOE
sites and also a conserved clusterin element, rec-     modification with four 2´‑MOE-modified nucl-
ognized by HSF-1/HSF-2 heterocomplexes [25] .          eosides at the 3´ side, four 2´‑MOE-modified
Clusterin is transcriptionally activated by HSF-1      nucleosides at the 5´ side and 13 2´‑deoxyribo-
in response to cellular stress [26,27] .               nucleosides in between (referred to as a 4-13-4
   In malignancy, clusterin has largely been           MOE gapmer).
defined as an inhibitor of apoptosis [28–31] . Its        Phosphorothioate ASOs are water-soluble, sta-
anti-apoptotic actions have been described as          ble agents resistant to nuclease digestion through
functioning through a variety of mechanisms            substitution of a nonbridging phosphoryl oxy-
including inhibition of activated Bax [32] and         gen of DNA with sulfur [44] . In clinical trials, a
enhanced survival signaling through upregu-            major technical limitation with the first genera-
lation of PI3k/Akt pathway signaling [33] .            tion of phosphorothioate ASOs was the require-
Clusterin has also been implicated in tumo-            ment for continuous or frequent intravenous
rigenesis through loss of the tumor suppres-           infusions owing to the short tissue half-life of
sor gene Nkx3.1 [34] , and its overexpression in       these agents. The approach to overcome this has
response to hormonal ablation, chemotherapy            been by a 2’-MOE modification to the 2´-posi-
and radiotherapy contributes to treatment              tion of the carbohydrate moiety. This forms
resistance [6,29,35] . This clusterin-induced treat-   ASO–RNA duplexes with a significantly higher
ment‑resistant phenotype has been much stud-           affinity relative to unmodified phosphorothioate
ied in prostate cancer and docetaxel-resistant         ASOs. This increased affinity has been shown to
prostate tumor cells have been resensitized to         result in improved antisense potency in vitro and
docetaxel following exposure to OGX-011                in vivo. In addition, 2´‑MOE second-generation
[36,37] . However, drug resistance induced by          ASOs display significantly improved resistance
clusterin has been observed within other tumor         against nuclease-mediated metabolism resulting
types and with chemotherapy agents includ-             in an improved tissue half-life in vivo, which
ing doxorubicin, camptothecin, cisplatin,              produces a longer duration of action and allows
5-fluorouracil, gemcitabine, dacarbazine and           for an intermittent dosing regimen [45] . Finally,
etoposide [2,32,38–42] .                               these second-generation phosphorothioate

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                     ASOs have the potential for an improved safety         Pharmacodynamics
                     profile relative to u­nmodified phosphorothioate      OGX-011 is a potent inhibitor of clusterin
                     ASOs [46] .                                           expression in in vitro and in vivo laboratory mod-
                                                                           els [45] . Furthermore, because of the targeting to
                     Pharmacokinetics                                      exon 2 of clusterin RNA there is a specificity for
                     The disposition and metabolism of OGX-011             OGX-011 to inhibit only the expression of the
                     was measured in mice and monkeys. Consistent          anti-apoptotic secreted form of clusterin, with
                     with pharmacokinetic (PK) studies with other          no effect on the pro-apoptotic nuclear form [49] .
                     ASOs, plasma was rapidly cleared of OGX‑011              In vitro activity of ASOs and documented
                     in both species [47] . Plasma concentrations of       overexpression of tissue clusterin has been
                     OGX-011 generally peaked at the end of the            demonstrated in multiple chemotherapy resist-
                     60-min intravenous infusion period and then           ant tumor cell lines [35,50] . In prostate cancer, a
                     decreased in an apparent biexponential fash-          docetaxel-resistant human prostate cancer cell
                     ion that included two distinct half-lives. Mean       line (PC-3dR) had significantly higher secreted
                     concentrations increased with dose in all tissues     clusterin levels compared with controls [37] .
                     examined, except for brain where no measur-           Clusterin protein expression was significantly
                     able drug could be detected. Approximately            decreased upon exposure to OGX-011 compared
                     90% of the compound was found in the par-             with a control oligonucleotide. Chemotherapy
                     ent form in all tissues at all time points. PK        resensitization was demonstrated by combin-
                     parameters were similar at the beginning and          ing the docetaxel-resistant PC-3dR cells with
                     end of the treatment period in both species,          OGX‑011 resulting in a fall of the IC50 of
                     suggesting no plasma accumulation or changes          docetaxel from >1000 nM to 125 nM.
                     in plasma kinetics after multiple dosing in              Downregulation of sCLU was established in
                     either species.                                       multiple in vivo mice models (lung [35] , bladder
                        In humans, plasma PK parameters for                [50] and prostate [37,45]). In prostate cancer, treat-
                     OGX‑011 have followed predictions from pre-           ment with OGX-011 decreased sCLU expression
                     clinical studies. The first-in-man Phase I trial      in both PC-3 and PC-3dR xenografts. Western
                     [48] was uniquely designed to permit a dose-          blot analysis of protein harvested from tumors
                     dependent analysis of OGX-011 levels in the           obtained from mice at the end of the study indi-
                     plasma and prostatic tissue. The mean plasma          cated that OGX-011 decreased sCLU expression
                     distribution half-life was 3.3 h at the 640-mg        levels to 32 and 27% of the sham ASO-treated
                     dose. Average peak concentrations and area            controls in PC-3 and PC-3dR tumors, respec-
                     under the curve were dose dependent and dis-          tively. Resembling the in vitro data, baseline
                     played proportional and predictable increases in      sCLU expression were 2.25-fold higher in the
                     a linear fashion. This study also demonstrated        PC-3dR tumors compared with the wild-type
                     concentrations in prostate cancer cells of full-      PC-3 tumors (p < 0.001).
                     length OGX-011 at levels sufficient for inhibi-          Antitumor effect was also confirmed across
                     tion of clusterin expression. Furthermore, the        several mouse models. In the prostate cancer mice
                     prostate tissue concentrations were proven to         xenografts, OGX-011 treatment significantly
                     be dose dependent: 320 mg delivered 223 nM            enhanced the antitumor effects of paclitaxel
                     tissue concentration and 640 mg delivered             compared with the sham ASO control, reduc-
                     644 nM into the prostate tissue. PK plasma            ing the mean PC-3 tumor volume to 33% of
                     parameters for humans are detailed in Table 2 .       controls at week 9 (p < 0.01). More importantly,
                     As ASOs are degraded by both serum and intra-         OGX-011 was also able to significantly enhance
                     cellular nucleases [45] and only 7% of the drug is    cytotoxicity of paclitaxel in PC-3dR xenografts,
                     excreted unchanged in the urine, tissue distribu-     decreasing mean tumor volume by 76% com-
                     tion of OGX-011 dominates plasma clearance.           pared with the MOE gapmer mismatch control

                     Table 2. Plasma and tissue pharmacokinetic data for OGX-011.
                     Dose                              Plasma                                            Tissue
                                AUC            Cmax        Clearance Half-life           Mean prostate tissue
                                (μg/h/ml)      (μg/ml)     (ml/h/kg) (h)                 concentration (μg/g)
                     640 mg†    290.15         69.85       32.9           7.63           4.82
                     Recommended dose in humans.
                     †

                     AUC: Area under the curve.



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at week 9 (p < 0.01). Collectively, these results
show that sCLU knockdown using OGX-011                                                                      600
not only sensitizes PC-3 tumors to chemotherapy                                                                     Historical controls
in vivo, but also reverses resistance and enhances                                                          500
chemosensitivity in PC-3dR xenografts.




                                                                                Relative % clusterin mRNA
   The first-in-man study combined OGX-011
with neoadjuvant hormone ablation for patients                                                              400
with localized prostate carcinoma prior to radi-
cal prostatectomy (RP). Prostate specimens and                                                              300
historical controls were then evaluated for clus-
terin expression. Changes in expression of tis-                                                             200
sue clusterin were correlated to the administered                                                                                                         Ptrend = 0.008
plasma dose and the dose delivered to the pros-
                                                                                                            100
tate. OGX-011 produced statistically significant
dose-dependent suppression of clusterin mRNA
and protein expression in normal and tumor tis-                                                              0
sue. Approximately double the amount of tumor         OGX-011 dose (mg) = NT                                                <2M NHT 40/80     160   320       480          640
cell death (as determined by apoptotic index)                                                                     n = 8        10         4    3     6         6            6
occurred in the prostate of patients receiving the
highest dose of OGX-011 (640 mg) compared
                                                                                                                   Historical controls
with hormone ablation therapy alone. With this
novel design and the use of PK and pharmaco-                                                      3.00
dynamic end points, an effective biologic dose of                                                 2.50
640 mg was established for OGX-011 based on
                                                            Overall IHC score




its ability to suppress clusterin mRNA by >90%                                                    2.00
                                                                                                                                                             Ptrend < 0.001
in prostate cancer tissue (Figure 1) [51] .
                                                                                                   1.50
   In the historical control specimens treated
with and without neoadjuvant hormone therapy                                                       1.00
(NHT), the mean apoptotic indices were 9.0%
(95% CI: 5.1–13.0) and 7.0% (95% CI: 4.2–9.9),                                                    0.50
respectively. The apoptotic index from patients
                                                                                                  0.00
treated at the lower two dose levels of OGX-011
                                                       OGX-011 dose (mg) = NT                                                <2M NHT 40/80    160   320       480          640
was 7.1% (95% CI: 2.4–11.8), but at the 640-mg
                                                                                                                   n = 10       15        4    3     6         6           6
dose level, the mean apoptotic index was 21.2%
(95% CI: 18.1–24.2). These data provide proof-
of-principle for the biologic activity of OGX-011     Figure 1. OGX-011 inhibits clusterin expression in human prostate tissue.
and reinforce the dose–response effect initially      (A) Box-plot of clusterin mRNA expression in prostate cancer cells of men with
                                                      prostate cancer who were treated with OGX-011 prior to prostatectomy and in
demonstrated in preclinical testing.                  historical control subjects. (B) Box-plot of the overall score of
                                                      immunohistochemistry staining. Three slides per patient and ten fields per slide
Clinical efficacy                                     were evaluated for staining intensity from 0 to 3 (representing negative to strong
To date, two Phase I and five Phase II trials         staining, respectively) and graded independently by two pathologists.
have been completed with a total of 313 patients      <2M NHT: Less than 2 months of neoadjuvant hormone therapy historical controls;
                                                      IHC: Immunohistochemistry; NT: No treatment.
enrolled: 213 with prostate cancer and 95 in lung     Reproduced with permission from [48] © JNCI Oxford University Press.
and breast cancer. In prostate cancer, OGX‑011
has been evaluated in multiple settings and in       and is due for completion in December 2013 with
combination with both hormonal and chemo-            a planned enrollment of 1000 men and a pri-
therapy agents (see Table 3). In advanced lung and   mary outcome of overall survival. The trial has
breast malignancies, OGX-011 has been com-           been designed for 90% power to detect a hazard
bined with chemotherapy agents (platinums,           ratio of 0.75 assuming an 18-month expected
gemcitabine and docetaxel). Three Phase III          overall survival in the control arm. A second
trials have been initiated and two are currently     Phase III trial in patients with metastatic CRPC
recruiting patients with CRPC. The SYNERGY           previously treated with docetaxel, SATURN
study is randomizing chemotherapy-naive              [103] , aimed to assess pain response as a primary
patients with metastatic CRPC to receive stand-      end point with OGX‑011 in combination with
ard docetaxel and prednisone with or without         docetaxel–prednisone retreatment versus pla-
OGX-011 [102] . The study commenced in 2010          cebo and docetaxel–prednisone. The study was

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Table 3. List of completed and open clinical trials with OGX-011.
Phase     Experimental arm                            Comparator arm               Random n                Clinical setting                                 Ref.
I         OGX-011 + LHRH + anti-androgen              None                         No            25        Neoadjuvant in localized PrCa                        [48]

I         OGX-011 + docetaxel                         None                         No            40        Advanced solid organ malignancies                    [51]

II        OGX-011 + docetaxel + prednisone Placebo                                 Yes           82        mCRPC                                                [10]

II        OGX-011 + docetaxel + prednisone Mitoxantrone                            Yes           42        mCRPC                                                [61]
                                           + prednisone
II        OGX-011 + LHRH + anti-androgen              None                         No            24        Neoadjuvant in localized, high-risk PrCa             [52]

II        OGX-011 + platinum†                         Platinum†                    No            85        Treatment-naive stage IIIb or IV NSCLC               [53]
          + gemcitabine                               + gemcitabine
II        OGX-011 + docetaxel                         Docetaxel                    No            15        mBrCa first- or second-line                          [60]
                                                                                                           chemotherapy
III       OGX-011 + docetaxel                         Docetaxel                    Yes           1000‡ mCRPC first-line chemotherapy                        [102]

III       OGX-011 + docetaxel                         Docetaxel                    Yes           300‡      mCRPC second-line chemotherapy                        –§
III       OGX-011 + cabazitaxel                       Cabazitaxel                  Yes           630       mCRPC second-line chemotherapy                   [104]
†
 Platinum agents in this trial used cisplatin or carboplatin.
‡
  Planned enrollment.
§
  Trial terminated.
LHRH: Luteinizing hormone-releasing hormone; mBrCa: Metastatic breast cancer; mCRPC: Metastatic castrate-resistant prostate cancer; NSCLC: Non-small-cell lung
cancer; PrCa: Prostate cancer.


                                        opened in March 2010 and planned to enroll 292                  Phase I trials with OGX-011 in
                                        men; however, it was closed prematurely given                   combination with chemotherapy
                                        the shifting landscape of new therapies with the                The next Phase I trial of OGX-011 examined
                                        introduction of abiraterone and cabazitaxel in the              its safety profile in combination with two dif-
                                        post-docetaxel indication. With the approval of                 fering schedules of docetaxel [51] . Patients with
                                        cabazitaxel for CRPC patients previously treated                solid organ malignancies were administered
                                        with docetaxel, a replacement Phase III trial [104]             escalating doses of OGX-011 (40–640 mg) with
                                        has instead been planned that is combining                      weekly (30 mg/m2) or 3 weekly (75 mg/m2) doc-
                                        OGX‑011 with cabazitaxel versus cabazitaxel                     etaxel. Adverse events close to dose limiting were
                                        alone with overall survival as the primary end                  observed at 640 mg dosing of OGX-011 with
                                        point. Table 3 outlines the clinical trial details that         docetaxel at 75 mg/m2 and this was declared as
                                        are completed or recruiting.                                    the recommended dose. These adverse events
                                                                                                        included grade 3–4 fatigue, stomatitis, granu-
                                        Phase I trial with neoadjuvant OGX-011                          locytopenia, anemia and elevated alkaline
                                        prior to prostatectomy in patients with                         phosphatase. Antitumor activity was observed
                                        localized prostate cancer                                       with two patients (6%) experiencing a partial
                                        A uniquely designed first-in-man study adminis-                 radiological response, 40% of the prostate cancer
                                        tered OGX-011 in escalating doses in combina-                   cohort experiencing a prostate-specific antigen
                                        tion with NHT to men with localized prostate                    (PSA) response (defined as post-treatment PSA
                                        carcinoma prior to RP [48] . The design of the trial            decline of ≥50%) and 11 patients (34%) expe-
                                        was novel for two reasons; first, it demonstrated a             riencing stable disease. Importantly, toxicity of
                                        dose-dependent relationship between tissue lev-                 the combination was mild or moderate for the
                                        els of OGX-011 and its target, prostatic tissue                 most part, with toxicities being qualitatively
                                        clusterin. Secondly, it established a relationship              and quantitatively in keeping with what would
                                        between decreased prostatic tissue clusterin (the               be expected with docetaxel alone. Finally, there
                                        target) and an increased apoptotic index (the                   was no apparent effect of OGX-011 on the PK
                                        biological effect). This allowed a biologically                 behavior of docetaxel.
                                        active dose (640 mg), rather than a dose-limiting
                                        toxic dose, to be selected as the recommended                   Phase II trials of OGX-011 in combination
                                        Phase II dose. The Phase II schedule requiredpa-                with NHT
                                        tients to receive three loading doses of OGX‑011                A two-stage Phase II study combined weekly
                                        (640 mg) prior to chemotherapy followed by                      OGX-011 with NHT in previously untreated
                                        weekly administration of OGX-011 (640 mg).                      patients with high-risk, localized prostate cancer

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prior to RP [52] . Hormone therapy consisted of       platinum doublets [54–58] . The overall survival
subcutaneous lutenizing hormone-releasing hor-        data also compare favorably with the 12.3‑month
mone agonist every 3 months with either daily         OS from newer regimens of platinum doublets in
flutamide or bicalutamide. A total of 12 weeks of     combination with bevacizumab [59] .
combined therapy was administered prior to sur-          A multicenter, Phase II breast cancer trial
gery. The study did not progress from stage 1 as      used OGX-011 with docetaxel (75 mg/m 2 )
it failed to meet its primary end point of at least   every 3 weeks in patients with metastatic and/or
one pathological complete response. However,          locally advanced breast cancer as first- or second-
the apoptotic index in prostate tumors was sign-      line chemotherapy [60] . A partial response rate
ficantly higher in patients given OGX-011 and         of 33% was observed in the experimental arm,
NHT compared with both untreated controls             which was similar to the response rate expected
and NHT-treated controls.                             of single-agent docetaxel. An additional 60%
                                                      showed stable disease and the median duration
Phase II trials of OGX-011 in combination             of response was 4.9 months. Serum clusterin
with chemotherapy                                     decreased by 23–32% from baseline values yet
A multicenter noncomparative Phase II trial,          no relationship between response rate and serum
randomized chemotherapy-naive metastatic              clusterin levels was shown. Although clinical
CRPC patients to daily prednisone and doc-            activity was demonstrated, the study failed to
etaxel every 3 weeks with or without weekly           progress to the second stage of accrual due to
OGX-011 (640 mg) [10] . A total of 82 patients        lack of prespecified objective responses.
were enrolled and the primary end point was              The final clinical study sought to address
PSA response. The trial was insufficiently            the issue of reversing docetaxel resistance or
powered for statistical analysis of observed          improving mitoxantrone efficacy in the second-
differences; however, the experimental arm            line setting. An open-label, randomized, multi-
demonstrated an unadjusted HR of 0.61 (95%            center study evaluated weekly administration
CI: 0.36–1.02; p = 0.06). The OGX-011 plus            of OGX‑011 in combination with second-line
docetaxel arm obtained median PFS and OS of           chemotherapy in patients with metastatic CRPC
7.3 months (95% CI: 5.3–8.8) and 23.8 months          who were previously treated with a minimum of
(95% CI: 16.2–not reached), respectively while        two cycles of a docetaxel-based regimen and pro-
the docetaxel-alone arm achieved PFS and OS of        gressed on or within 6 months of discontinua-
6.1 (95% CI: 3.7–8.6) and 16.9 months (95%            tion of treatment [61] . Safety and tolerability were
CI: 12.8–25.8). A multivariate analysis using         the primary objectives; however, the secondary
pre-identified prognostic factors identified per-     objective was to assess for reversal of docetaxel
formance status Eastern Cooperative Oncology          resistance in this pretreated cohort. A total of
Group of 0 (p < 0.0001), no visceral metasta-         45 patients were randomized to OGX-011 in
sis (p = 0.01) and treatment assignment to            combination with mitoxantrone 12 mg/m 2
OGX‑011 (HR = 0.50, 95% CI: 0.29–0.87; p =            intravenously every 3 weeks with 5 mg pred-
0.01) associated with an improved overall sur-        nisone twice daily or docetaxel retreatment at
vival. This trial led to the Phase III registration   75 mg/m2 every 3 weeks with 5 mg prednisone
path currently underway.                              twice daily. An additional 20 patients were ran-
   Another multicenter Phase II lung cancer trial     domized to the docetaxel retreatment following
used OGX-011 in combination with cisplatin            preliminary safety and efficacy analysis favoring
(75 mg/m2)/gemcitabine (1250 mg/m2) every 3           docetaxel. The overall PSA response rate in the
weeks in a treatment-naive cohort of advanced         docetaxel arm was 42%, with 91% experiencing
non-small-cell lung cancer (NSCLC) patients           a PSA decline of 30% or more. In the mitox-
(stage IIIb/IV) for a maximum of six cycles [53] .    antrone arm, the PSA response rate was 27%
The objective response rate was 31% with one          with 59% experiencing a PSA decline of 30%
patient reporting a complete response. A total        or more. The estimated median overall survival
of 95% of patients experienced serum clusterin        duration for the OGX-011 plus mitoxantrone
falls compared with baseline. There was a 50%         arm was 11.5 months (95% CI: 6.1–15.2). For
reduction in risk of death in patients experienc-     the OGX-011 plus docetaxel retreatment arm,
ing a serum clusterin response, defined as less       the median overall survival was 15.8 months
than 38 µg/ml. Finally, overall survival was          (95% CI: 9.9–23.3) for the 20 randomized
14.1 months, which compares favorably with            patients and 12.8 months (95% CI: 9.9–17.0)
published median survivals of 8–10.8 months           for the combined 45 patients. Serum clusterin
in similar patients treated with gemcitabine/         levels fell in both arms by an average of 21 µg/ml

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                                        (28%) from baseline. Achieving a minimum                        prostatic tissue clusterin levels and an inverse
                                        serum clusterin level of 45 µg/ml was associ-                   relationship between tissue clusterin and the
                                        ated with improved survival. The 39 patients                    cancer cell’s apoptotic index. Inhibition of serum
                                        who achieved this clusterin level had a median                  clusterin to <45 ug/ml with OGX-011 was asso-
                                        survival of 17 months (95% CI: 12.1–20.3)                       ciated with improved survival in patients with
                                        versus 8.1 months (95% CI: 5.3–11.1) in the                     CRPC. OGX-011 can be safely administered at
                                        25 patients who did not reach this level. These                 biologically effective doses in combination with
                                        results are of interest considering PSA response                hormones and chemotherapy, with promising
                                        rates of <20% and median survival <12 months                    clinical acitivity in CRPC and NSCLC. Table 4
                                        is usually reported in patients with docetaxel-                 summarizes the clinical outcomes of OGX-011
                                        resistant CRPC receiving second-line chemo-                     in Phase II clinical trials. Definitive efficacy data
                                        therapy [62] . The consistent serum clusterin                   from ongoing and planned Phase III trials are
                                        decline demonstrates the biologic efficacy of                   awaited.
                                        OGX-011, and also identifies serum clusterin
                                        as a potential prognostic marker and/or a pre-                  Safety & tolerability
                                        dictive marker of clinical benefit to anticlusterin             The safety profile of OGX-011 as a single
                                        treatments, which is being evaluated in the                     and combined agent has been investigated in
                                        Phase III studies of OGX-011.                                   313 patients across seven Phase I and II trials.

                                        Summary of clinical efficacy                                    Phase I trials
                                        OGX-011 is a biologically targeted agent to                     No dose-limiting toxicities were observed in the
                                        clusterin, an anti-apoptotic gene in solid organ                Phase I first-in-man study [48] and consequently
                                        malignancies. The seven clinical human tri-                     the Phase II dose of 640 mg was selected based
                                        als (Table 3) have all demonstrated reductions                  on biological effectiveness. The most common
                                        in the downstream target, serum clusterin.                      adverse events (>20% of patients), in decreas-
                                        This is a clinically relevant end point since the               ing frequency were chills, fatigue, fever, incon-
                                        Phase I trials established dependent relation-                  tinence, hot flashes, myalgia, headache and erec-
                                        ships between OGX-011, serum clusterin and                      tile impotence. A grade 3 adverse event (syncope,

Table 4. Clinical results of Phase II trials with OGX-011.
Clinical         n      Arm                   PR (%)            SD      Median PFS           Median OS            PSA                   Clusterin   Ref.
Setting                                                         (%)                                               responders            change from
                                                                                                                  (%) †                 baseline‡
mCRPC            82     OGX-011 +             19                77      7.3 months           23.8 months          58                    26% fall                  [10]
                        docetaxel +                                     (95% CI:             (95% CI:
                        prednisone                                      5.3–8.8)             16.2–not
                                                                                             reached)
                        Docetaxel +           25                50      6.1 months           16.9 months          54                    0.9% rise
                        prednisone                                      (95% CI:             (95% CI:
                                                                        3.7–8.6)             12.8–25.8)
mCRPC            42     OGX-011 +             15                69      7.2 months           15.8 months          40                    26% fall                  [61]
                        docetaxel                                       (95% CI:             (95% CI:
                                                                        4.4–9.3)             9.9–23.3)
                        OGX-011 +             N/A               71      3.4 months           11.5 months          18                    26% fall
                        mitoxantrone                                    (95% CI:             (95% CI:
                                                                        1.6–5.2)             6.1–15.2)
NSCLC            85     OGX-011 +             31 (includes      38      4.3 months           14.1 months          N/A                   38% fall                  [53]
                        platinum§ +           1 CR)                     (95% CI:             (95% CI:
                        gemcitabine                                     3.0–5.3)             9.4–17.5)
mBrCa            15     OGX-011 +             33                60      8.3 months           N/A                  N/A                   32% fall                  [60]
                        docetaxel                                       (95% CI:
                                                                        5.62–9.43)
†
 PSA responders defined as PSA response >50% decline from baseline.
‡
 Medium serum clusterin levels change from baseline.
§
 Platinum agents in this trial used cisplatin or carboplatin.
CR: Complete response; mBrCa: Metastatic breast cancer; mCRPC: Metastatic castrate-resistant prostate cancer; N/A: Not available; NSCLC: Non-small-cell lung
cancer; OS: Overall survival; PFS: Progression-free survival; PR: Partial response; PSA: Prostate-specific antigen; SD: Stable disease.



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incontinence and erectile dysfunction) was expe-     that were felt to be related to combined chemo-
rienced by 16% of patients and there were no         therapy and OGX-011, these included urinary
treatment-related deaths. In the second Phase I      retention, pleural effusion, bronchiolitis and
trial of OGX-011 versus docetaxel administered       nausea with generalized weakness.
every 3 weeks or given weekly [50] there were
seven patients (17%) who experienced serious         Non-CRPC Phase II trials
adverse events felt to be possibly, probably or      OGX-011 was combined with gemcitabine and
definitely related to treatment with the study       cisplatin as first-line chemotherapy in 85 patients
drug. Once again the most common grade 1 and         with stage IIIb or IV NSCLC [53] . The most
2 adverse events were fever and rigors, experi-      common adverse events seen in over half of
enced in 57–75% of the patients. These typically     the patients (listed in decreasing order of fre-
occurred several hours after the first or second     quency) included nausea, fatigue, chills, fever,
loading doses only and were self-limited.            vomiting, constipation and decreased appetite.
                                                     For OGX-011 administered alone, 6% of doses
CRPC Phase II trials                                 were not started (i.e., held for toxicity), 1% were
The randomized trial comparing docetaxel,            modified, 1% were interrupted and 0.3% of
prednisone and OGX-011 (arm A) to docetaxel          the infusions were permanently discontinued.
and prednisone (arm B) revealed no poten-            A grade 3 or higher adverse event was experi-
tiation of the common docetaxel-associated           enced by 90% of patients. The most common
adverse effects with the addition of OGX-011         nonhematological adverse events were nausea,
[10] . The most common adverse events thought        fatigue, chills, pyrexia, vomiting and constipa-
to be related to combined docetaxel and OGX-         tion. Grade 3 and 4 hematological rates were
011 were fatigue (55%), rigor/chills (55%),          high but in keeping with rates experienced in
fever (43%), diarrhea (35%) and rash (20%).          lung cancer patients receiving platinum dou-
Grade 3 and 4 lymphopenia rates were differ-         blet chemotherapy on Phase III clinical trials
ent between the two arms (53% arm A vs 22%           [54–59] . One OGX-011 infusion was ceased due
arm B) but with no clinically significant conse-     to toxicity. Three patients did not continue with
quences. The other grade 3/4 hematological tox-      OGX-011 after the loading period due to either
icties were similar in the two arms. One patient     hypotension, increased liver enzymes or myocar-
withdrew due to a severe infusion reaction from      dial infarction. Two uncommon adverse events
the first cycle of docetaxel and OGX-011 and         were reported in the NSCLC trial: thrombotic
more patients stopped treatment early because        thrombocytopenic purpura (reported to be asso-
of adverse events or refusal of further treatment    ciated with gemcitabine [63] and acute cortical
(30% arm A vs 12% arm B), although this could        blindness (reported to be associated with cispl-
be a reflection of the greater number of treatment   atin [64,65]). There were four deaths not related to
cycles received by the docetaxel–OGX‑011-            disease progression; two deaths (cerebrovascular
treated patients. The serious adverse events that    accident and left ventricular hypokinesia) con-
were felt to be related to combined docetaxel and    sidered by the investigator to be possibly related
OGX-011 treatment were febrile neutropenia in        to study therapy; one death (septicemia) consid-
three patients and fatigue in one patient.           ered to be probably related to study therapy; and
   The second chemotherapy combination trial         one death (myocardial infarction) unrelated to
reaffirmed the safety of combining OGX-011           the study drug. The high rates of grade 3 and 4
with either docetaxel or mitoxantrone [61] .         adverse events were not deemed to be appreciably
Grade 3 and 4 lymphopenia rates of approxi-          different from previous platinum chemotherapy
mately 30% were reported in patients receiving       doublets used in randomized Phase III clinical
either docetaxel or mitoxantrone with no clini-      trials. A multicenter Phase III trial of OGX-011
cally significant infectious sequelae. The most      with docetaxel in stage IV NSCLC [105] started
common chemotherapy–OGX‑011-related                  in September 2012.
adverse events were grade 1 and 2, fever, rigors,       In the study of patients with advanced breast
diarrhea and rash. A total of 56% of patients in     cancer treated with docetaxel plus OGX-011 as
the OGX-011 plus docetaxel retreatment arm           first- or second-line therapy (n = 15) [60] , the most
and 73% in the OGX-011 plus mitoxantrone             common grade 3 or 4 toxicities were hematologic
treatment arm developed a grade 3 or higher          and in keeping with rates expected from doc-
adverse event. The most common were fatigue,         etaxel alone. The most common adverse events
asthenia and dyspnea. There were four patients       considered related to OGX-011 were fatigue
(5%) who experienced serious adverse events          (80% of subjects) and rigors and chills (73%),

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                                   which occurred primarily with administration of       impact chemotherapy PKs. Standard doses of
                                   the initial few doses. Two patients had grade 2       docetaxel [51,60] , gemcitabine and cisplatin [53]
                                   and one patient had grade 3 rigors/chills. The        could be delivered with biologically active doses
                                   most frequent grade 3 nonhematologic toxici-          of OGX-011.
                                   ties were fatigue (five patients), peripheral edema
                                   (two patients), arthralgias (two patients), dysp-      Regulatory affairs
                                   nea (two patients) and vomiting (two patients).       OGX-011 is currently undergoing evaluation in
                                   There were no treatment-related deaths.               several Phase III trials and is yet to be submitted
                                                                                         for registration with any regulatory authorities.
                                   Safety summary
                                   The most common adverse event attributable to          Conclusion & future perspective
                                   the OGX-011 infusion were rigors and chills.          The currently available data establish the anti­
                                   These are generally considered nonsequence            tumor activity of OGX-011 in multiple solid
                                   specific, respond to antihistamines or steroids       organ malignancies. OGX-011 is a targeted
                                   and are related to the polyanionic nature of          antisense agent to clusterin that predominantly
                                   these compounds and their effects on cytokine         acts as an anti-apoptotic protein to protect can-
                                   release. Testing of OGX-011 in combination            cer cells from cellular stress. Serum clusterin
                                   with chemo­therapy did not potentiate clini-          over­e xpression and subsequent inhibition by
                                   cally significant chemotherapy side effects nor       antisense agents may establish clusterin as a new

Executive summary
Mechanism of action
Clusterin is a highly conserved cytoprotective chaperone involved in the cellular stress response and cell survival, and implicated in
  broad-spectrum treatment resistance.
Custirsen (OGX-011) is a second-generation phosphorothioate antisense oligonucleotide with 2’-methoxyethyl modifications that

  potently inhibits clusterin expression and enhances treatment efficacy of hormonal therapy, chemotherapy and radiation in vitro and
  in vivo.
Pharmacological properties
OGX-011 is distributed extensively throughout the body, with the exception of the brain, with dose-dependent pharmacokinetics.

In humans, the therapeutic dose has a mean plasma elimination half-life of 7.63 h. Mean tissue half-life in primates is approximately

  7 days and intact OGX-011 can be found in human tissues up to 2 weeks after administration.
OGX-011 is degraded by endogenous plasma and intracellular nucleases.

In humans, OGX-011 significantly decreases clusterin expression in serum and tissues.


Clinical efficacy
OGX-011 has received Fast Track designation from the US FDA.
Phase III trials of OGX-011 in metastatic castration-resistant prostate cancer are ongoing.

An overall survival advantage of 6.9 months (hazard ratio [HR]: 0.61 (95% CI: 0.36–1.02; p = 0.06) was observed for patients

  randomized to receive OGX-011 in a randomized Phase II study with docetaxel ± OGX-011 in patients with metastatic castrate-resistant
  prostate cancer.
On multivariate analysis, the baseline factors associated with improved survival were ECOG 0 (HR: 0.45; 95% CI: 0.25–0.79) presence

  of bone or lymph node metastases only (HR: 0.45; 95% CI: 0.25–0.79) and treatment assignment to OGX-011 (HR: 0.50;
  95% CI: 0.29–0.87).
Serum clusterin levels <45 µg/ml and lowering of serum clusterin levels after OGX-011 therapy have been associated with improved

  survival.
Safety & tolerability
Side effects:
   – Grade 1–2 fevers or chills associated with initial infusions are reported in 50–60% of patients. Incidence declines with subsequent
     infusions.
   – Hematological: grade 3–4 lymophopenia reported in approximately 30% of patients.
   – Gastrointestinal: grade 1 and 2 elevated liver enzymes reported in 49% with 2% Grade 3 or 4.
   – Other: grade 3 or 4 fatigue reported in 10–23% of patients.
Combination with standard-dose chemotherapy has been well-tolerated in Phase I and II clinical trials.
Dosage is 640 mg given via peripheral intravenous infusion over 2 h on days 1, 3 and 5 and then weekly. Ibuprofen or paracetamol is
  given as premedication.
No body weight dose adjustments are necessary.




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molecular predictive marker in several malignan-                  technology could prove to be a new treatment
cies. Currently, two Phase III trials are underway                platform for other targets not amenable to
and if positive will validate OGX-011 as a new                    tyrosine kinase inhibition or antibody targeting.
therapeutic target and establish OGX-011 as a
new option for metastatic CRPC. Since treat-                      Information resources
ment resistance can often develop earlier in the                  OncoGeneX Pharmaceuticals Inc [106] .
course of CRPC, OGX-011 could be moved up
the treatment paradigm as an adjunct to standard                   Financial & competing interests disclosure
therapies. Furthermore, it will potentially change                 R Zielinski is supported by a BJ Amos scholarship from
the way in which we treat other malignancies                       Westmead Hospital, Sydney, Australia. K Chi received
that overexpress clusterin by overcoming resist-                   research funding from OncoGenex Technologies Inc.
ance to established therapeutics be they hormo-                    and is a consultant for Janssen, Astellas, Medivation,
nal, chemotherapy or radiotherapy. Successful                      Bayer and Sanofi. The authors have no other relevant
demonstration of efficacy with OGX‑011 would                       affiliations or financial involvement with any organi-
also validate the targeting of other heat shock                    zation or entity with a financial interest in or financial
proteins and chaperone proteins associated with                    conflict with the subject matter or materials discussed
cancer progression and resistance (e.g. Hsp27,                     in the manuscript apart from those disclosed.
Hsp90). Lastly, direct inhibition of anti-apop-                       No writing assistance was utilized in the production
totic proteins and other targets through antisense                 of this manuscript.

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1250                                                                     Future Oncol. (2012) 8(10)                                            future science group
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              Custirsen (OGX-011): a second-generation antisense inhibitor of clusterin Drug Evaluation



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                       EXHIBIT Y
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FOR ONCOLOGY USE ONLY


DESCRIPTION
IRESSA (gefitinib tablets) contain 250 mg of gefitinib and are available as brown film-coated tablets
for daily oral administration.

Gefitinib is an anilinoquinazoline with the chemical name 4-Quinazolinamine, N-(3-chloro-4-
fluorophenyl)-7-methoxy-6-[3-4-morpholin) propoxy] and the following structural formula:

                                           F

O                            HN            Cl
      N           O
                                   N

                  O            N

It has the molecular formula C22H24ClFN4O3, a relative molecular mass of 446.9 and is a white-
colored powder. Gefitinib is a free base. The molecule has pKas of 5.4 and 7.2 and therefore ionizes
progressively in solution as the pH falls. Gefitinib can be defined as sparingly soluble at pH 1, but is
practically insoluble above pH 7, with the solubility dropping sharply between pH 4 and pH 6. In non-
aqueous solvents, gefitinib is freely soluble in glacial acetic acid and dimethylsulphoxide, soluble in
pyridine, sparingly soluble in tetrahydrofuran, and slightly soluble in methanol, ethanol (99.5%), ethyl
acetate, propan-2-ol and acetonitrile.

The inactive ingredients of IRESSA tablets are: Tablet core: Lactose monohydrate, microcrystalline
cellulose, croscarmellose sodium, povidone, sodium lauryl sulfate and magnesium stearate. Coating:
hypromellose, polyethylene glycol 300, titanium dioxide, red ferric oxide and yellow ferric oxide.




                                                                             AVENTIS EXHIBIT 2065
                                                                             Mylan v. Aventis, IPR2016-00712
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CLINICAL PHARMACOLOGY
Mechanism of Action
The mechanism of the clinical antitumor action of gefitinib is not fully characterized. Gefitinib
inhibits the intracellular phosphorylation of numerous tyrosine kinases associated with transmembrane
cell surface receptors, including the tyrosine kinases associated with the epidermal growth factor
receptor (EGFR-TK). EGFR is expressed on the cell surface of many normal cells and cancer cells.
No clinical studies have been performed that demonstrate a correlation between EGFR receptor
expression and response to gefitinib.

Pharmacokinetics
Gefitinib is absorbed slowly after oral administration with mean bioavailability of 60%. Elimination is
by metabolism (primarily CYP3A4) and excretion in feces. The elimination half-life is about 48
hours. Daily oral administration of gefitinib to cancer patients resulted in a 2-fold accumulation
compared to single dose administration. Steady state plasma concentrations are achieved within 10
days.

Absorption and Distribution
Gefitinib is slowly absorbed, with peak plasma levels occurring 3-7 hours after dosing and mean oral
bioavailability of 60%. Bioavailability is not significantly altered by food. Gefitinib is extensively
distributed throughout the body with a mean steady state volume of distribution of 1400 L following
intravenous administration. In vitro binding of gefitinib to human plasma proteins (serum albumin and
α1-acid glycoprotein) is 90% and is independent of drug concentrations.


Metabolism and Elimination
Gefitinib undergoes extensive hepatic metabolism in humans, predominantly by CYP3A4. Three sites
of biotransformation have been identified: metabolism of the N-propoxymorpholino-group,
demethylation of the methoxy-substituent on the quinazoline, and oxidative defluorination of the
halogenated phenyl group.

Five metabolites were identified in human plasma. Only O-desmethyl gefitinib has exposure
comparable to gefitinib. Although this metabolite has similar EGFR-TK activity to gefitinib in the
isolated enzyme assay, it had only 1/14 of the potency of gefitinib in one of the cell-based assays.

Gefitinib is cleared primarily by the liver, with total plasma clearance and elimination half-life values
of 595 mL/min and 48 hours, respectively, after intravenous administration. Excretion is
predominantly via the feces (86%), with renal elimination of drug and metabolites accounting for less
than 4% of the administered dose.

Special Populations
In population based data analyses, no relationships were identified between predicted steady state
trough concentration and patient age, body weight, gender, ethnicity or creatinine clearance.

Pediatric:
There are no pharmacokinetic data in pediatric patients.
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Hepatic Impairment:
The influence of hepatic metastases with elevation of serum aspartate aminotransferase (AST/SGOT),
alkaline phosphatase, and bilirubin has been evaluated in patients with normal (14 patients),
moderately elevated (13 patients) and severely elevated (4 patients) levels of one or more of these
biochemical parameters. Patients with moderately and severely elevated biochemical liver
abnormalities had gefitinib pharmacokinetics similar to individuals without liver abnormalities (see
PRECAUTIONS section).

Renal Impairment:
No clinical studies were conducted with IRESSA in patients with severely compromised renal function
(see PRECAUTIONS section). Gefitinib and its metabolites are not significantly excreted via the
kidney (<4%).

Drug-Drug Interactions:
In human liver microsome studies, gefitinib had no inhibitory effect on CYP1A2, CYP2C9, and
CYP3A4 activities at concentrations ranging from 2-5000 ng/mL. At the highest concentration studied
(5000 ng/mL), gefitinib inhibited CYP2C19 by 24% and CYP2D6 by 43%. Exposure to metoprolol, a
substrate of CYP2D6, was increased by 30% when it was given in combination with gefitinib (500 mg
daily for 28 days) in patients with solid tumors.

Rifampicin, an inducer of CYP3A4, reduced mean AUC of gefitinib by 85% in healthy male
volunteers (see PRECAUTIONS-Drug Interactions and DOSAGE AND ADMINISTRATION-
Dosage Adjustment sections).

Concomitant administration of itraconazole (200 mg QD for 12 days), an inhibitor of CYP3A4, with
gefitinib (250 mg single dose) to healthy male volunteers, increased mean gefitinib AUC by 88% (see
PRECAUTIONS-Drug Interactions section).

Co-administration of high doses of ranitidine with sodium bicarbonate (to maintain the gastric pH
above pH 5.0) reduced mean gefitinib AUC by 44% (See PRECAUTIONS-Drug Interactions
section).

International Normalized Ratio (INR) elevations and/or bleeding events have been reported in some
patients taking warfarin while on IRESSA therapy. Patients taking warfarin should be monitored
regularly for changes in prothrombin time or INR (see PRECAUTIONS-Drug Interactions and
ADVERSE REACTIONS sections).

Clinical Studies
Non-Small Cell Lung Cancer (NSCLC): Refractory Disease Tumor Response Study - A multicenter
clinical trial in the United States evaluated the tumor response rate of IRESSA 250 and 500 mg/day in
patients with advanced non-small cell lung cancer whose disease had progressed after at least two prior
chemotherapy regimens including a platinum drug and docetaxel. IRESSA was taken once daily at
approximately the same time each day.

Two hundred and sixteen patients received IRESSA, 102 (47%) and 114 (53%) receiving 250 mg and
500 mg daily doses, respectively. Study patient demographics and disease characteristics are
summarized in Table 1. Forty-one percent of the patients had received two prior treatment regimens,
33% three prior treatment regimens, and 25% four or more prior treatment regimens. Effectiveness of
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IRESSA as third line therapy was determined in the 142 evaluable patients with documented disease
progression on platinum and docetaxel therapies or who had had unacceptable toxicity on these agents.

Table 1: Demographic and Disease Characteristics
                                      IRESSA Dose
                             250 mg/day        500 mg/day
Characteristic               N = 66 (%)        N = 76 (%)
Age Group
18 – 64 years               43 (65)             43 (57)
64 – 74 years               19 (29)             30 (39)
75 years and above            4 (6)               3 (4)
Sex
Male                        38 (58)             41 (54)
Female                      28 (42)             35 (46)
Race
White                       61 (92)             68 (89)
Black                         1 (2)               2 (3)
Asian/Oriental                1 (2)               2 (3)
Hispanic                      0 (0)               3 (4)
Other                         3 (5)               1 (1)
Smoking History
 Yes (Previous or current   45 (68)             62 (82)
  Smoker)
No (Never Smoked)           21 (32)             14 (18)
Baseline WHO
Performance Status
0                           14 (21)              9 (12)
1                           36 (55)             53 (70)
2                           15 (23)             14 (18)
Not recorded                  1 (2)               0 (0)
Tumor Histology
Squamous                     9 (14)             11 (14)
Adenocarcinoma              47 (71)             50 (66)
Undifferentiated              6 (9)               4 (5)
Large Cell                    1 (2)               2 (3)
Squamous &                    3 (5)               7 (9)
Adenocarcinoma
Not Recorded                  0 (0)               2 (3)
Current Disease Status
Locally Advanced            11 (17)               5 (7)
Metastatic                  55 (83)             71 (93)



Table 2 shows tumor response rates and response duration. The overall response rate for the 250 and
500 mg doses combined was 10.6% (95% CI: 6%, 16.8%). Response rates appeared to be highly
variable in subgroups of the treated population: 5.1% (4/79) in males, 17.5% (11/63) in females, 4.6%
(5/108) in previous or current smokers, 29.4% (10/34) in nonsmokers, 12.4% (12/97) with
adenocarcinoma histology, and 6.7% (3/45) with other NSCLC histologies. Similar differences were
seen in a multinational study in patients who had received 1 or 2 prior chemotherapy regimens, at least
1 of which was platinum-based. In responders, the median time from diagnosis to study randomization
was 16.7 months (range 8 to 34 months).
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Table 2: Efficacy Results

                                   Efficacy Population
                         250 mg        500 mg       Combined
                         (N=66)        (N=76)       (N=142)
Objective Tumor             13.6           7.9           10.6
Response Rate (%)
 95% CI                  6.4– 24.3     3.0 – 16.4    6.0 – 16.8
Median Duration of
Objective Response
                             8.9           4.5           7.0
(months)
 Range (months)          4.6 – 18.6+     4.4 – 7.6   4.4 – 18.6+
+=data are ongoing

Non-Small Cell Lung Cancer (NSCLC): Refractory Disease Survival Study

A double-blind, placebo-controlled parallel-group trial randomized 1692 patients with advanced
NSCLC to receive either IRESSA 250 mg daily plus Best Supportive Care or placebo plus Best
Supportive Care. Patients had received 1 or 2 prior chemotherapy regimens and had progressed while
receiving or within 90 days of the last dose of chemotherapy or were intolerant to the most recent prior
chemotherapy regimen. The two treatment arms were well balanced for demographic and disease-
related patient characteristics. The primary endpoint of the study was survival. IRESSA did not
significantly prolong survival (stratified log rank HR 0.89, P=0.11, Median 5.6 vs 5.1 months for
IRESSA and placebo respectively).

Non-Small Cell Lung Cancer (NSCLC); Studies of First-line Treatment in Combination with
Chemotherapy - Two large trials were conducted in chemotherapy-naïve patients with stage III and IV
non-small cell lung cancer. Two thousand one hundred thirty patients were randomized to receive
IRESSA 250 mg daily, IRESSA 500 mg daily, or placebo in combination with platinum-based
chemotherapy regimens. The chemotherapies given in these first-line trials were gemcitabine and cis-
platinum (N=1093) or carboplatin and paclitaxel (N=1037). The addition of IRESSA did not
demonstrate any increase, or trend toward such an increase, in tumor response rates, time to
progression, or overall survival.

INDICATIONS AND USAGE
IRESSA is indicated as monotherapy for the continued treatment of patients with locally advanced or
metastatic non-small cell lung cancer after failure of both platinum-based and docetaxel
chemotherapies who are benefiting or have benefited from IRESSA.

In light of positive survival data with other agents including another oral EGFR inhibitor, physicians
should use other treatment options in advanced non-small cell lung cancer patient populations who
have received one or two prior chemotherapy regimens and are refractory or intolerant to their most
recent regimen.
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The effectiveness of IRESSA was initially based on objective response rates (see CLINICAL
PHARMACOLOGY-Clinical Studies section). Subsequent studies intended to demonstrate an
increase in survival have been unsuccessful. Specifically, results from a large placebo-controlled
randomized trial in patients with advanced NSCLC who progressed while receiving or within 90 days
of the last dose of chemotherapy or were intolerant to the most recent prior chemotherapy regimen, did
not show an improvement in survival (see CLINICAL PHARMACOLOGY- Clinical Studies
section).

Results from two large, controlled, randomized trials in first-line treatment of non-small cell lung
cancer showed no benefit from adding IRESSA to doublet, platinum-based chemotherapy.


CONTRAINDICATIONS
IRESSA is contraindicated in patients with severe hypersensitivity to gefitinib or to any other
component of IRESSA.

WARNINGS
Pulmonary Toxicity
Cases of interstitial lung disease (ILD) have been observed in patients receiving IRESSA at an overall
incidence of about 1%. Approximately 1/3 of the cases have been fatal. The reported incidence of
ILD was about 2% in the Japanese post-marketing experience, about 0.3% in approximately 23,000
patients treated with IRESSA in a US expanded access program and about 1% in the studies of first-
line use in NSCLC (but with similar rates in both treatment and placebo groups). Reports have
described the adverse event as interstitial pneumonia, pneumonitis and alveolitis. Patients often present
with the acute onset of dyspnea, sometimes associated with cough or low-grade fever, often becoming
severe within a short time and requiring hospitalization. ILD has occurred in patients who have
received prior radiation therapy (31% of reported cases), prior chemotherapy (57% of reported
patients), and no previous therapy (12% of reported cases). Patients with concurrent idiopathic
pulmonary fibrosis whose condition worsens while receiving IRESSA have been observed to have an
increased mortality compared to those without concurrent idiopathic pulmonary fibrosis.

In the event of acute onset or worsening of pulmonary symptoms (dyspnea, cough, fever), IRESSA
therapy should be interrupted and a prompt investigation of these symptoms should occur. If
interstitial lung disease is confirmed, IRESSA should be discontinued and the patient treated
appropriately (see PRECAUTIONS-Information for Patients, ADVERSE REACTIONS and
DOSAGE AND ADMINISTRATION-Dosage Adjustment sections).

Pregnancy Category D
IRESSA may cause fetal harm when administered to a pregnant woman. A single dose study in rats
showed that gefitinib crosses the placenta after an oral dose of 5 mg/kg (30 mg/m2, about 1/5 the
recommended human dose on a mg/m2 basis). When pregnant rats were treated with 5 mg/kg from the
beginning of organogenesis to the end of weaning gave birth, there was a reduction in the number of
offspring born alive. This effect was more severe at 20 mg/kg and was accompanied by high neonatal
mortality soon after parturition. In this study a dose of 1 mg/kg caused no adverse effects.

In rabbits, a dose of 20 mg/kg/day (240 mg/m2, about twice the recommended dose in humans on a
mg/m2 basis) caused reduced fetal weight.
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There are no adequate and well-controlled studies in pregnant women using IRESSA. If IRESSA is
used during pregnancy or if the patient becomes pregnant while receiving this drug, she should be
apprised of the potential hazard to the fetus or potential risk for loss of the pregnancy.



PRECAUTIONS
Hepatotoxicity
Asymptomatic increases in liver transaminases have been observed in IRESSA treated patients;
therefore, periodic liver function (transaminases, bilirubin, and alkaline phosphatase) testing should be
considered. Discontinuation of IRESSA should be considered if changes are severe.


Patients with Hepatic Impairment
In vitro and in vivo evidence suggest that gefitinib is cleared primarily by the liver. Therefore,
gefitinib exposure may be increased in patients with hepatic dysfunction. In patients with liver
metastases and moderately to severely elevated biochemical liver abnormalities, however, gefitinib
pharmacokinetics were similar to the pharmacokinetics of individuals without liver abnormalities (see
CLINICAL PHARMACOLOGY-Pharmacokinetics- Special Populations section). The influence
of non-cancer related hepatic impairment on the pharmacokinetics of gefitinib has not been evaluated.

Information for Patients
Patients should be advised to seek medical advice promptly if they develop 1) severe or persistent
diarrhea, nausea, anorexia, or vomiting, as these have sometimes been associated with dehydration; 2)
an onset or worsening of pulmonary symptoms, ie, shortness of breath or cough; 3) an eye irritation;
or, 4) any other new symptom (see WARNINGS-Pulmonary Toxicity, ADVERSE REACTIONS
and DOSAGE AND ADMINISTRATION-Dosage Adjustment sections).

Women of childbearing potential must be advised to avoid becoming pregnant (see WARNINGS-
Pregnancy Category D).

Drug Interactions
Substances that are inducers of CYP3A4 activity increase the metabolism of gefitinib and decrease its
plasma concentrations. In patients receiving a potent CYP3A4 inducer such as rifampicin or phenytoin,
a dose increase to 500 mg daily should be considered in the absence of severe adverse drug reaction,
and clinical response and adverse events should be carefully monitored (see CLINICAL
PHARMACOLOGY-Pharmacokinetics-Drug-Drug
Interactions and DOSAGE AND ADMINISTRATION-Dosage Adjustment sections).

International Normalized Ratio (INR) elevations and/or bleeding events have been reported in some
patients taking warfarin while on IRESSA therapy. Patients taking warfarin should be monitored
regularly for changes in prothrombin time or INR (see CLINICAL PHARMACOLOGY-
Pharmacokinetics-Drug-Drug Interactions and ADVERSE
REACTIONS sections).

Substances that are potent inhibitors of CYP3A4 activity (eg, ketoconazole and itraconazole) decrease
gefitinib metabolism and increase gefitinib plasma concentrations. This increase may be clinically
relevant as adverse experiences are related to dose and exposure; therefore, caution should be used
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when administering CYP3A4 inhibitors with IRESSA (see CLINICAL PHARMACOLOGY-
Pharmacokinetics-Drug-Drug Interactions and ADVERSE REACTIONS sections).

Drugs that cause significant sustained elevation in gastric pH (histamine H2-receptor antagonists such
as ranitidine or cimetidine) may reduce plasma concentrations of IRESSA and therefore potentially
may reduce efficacy (see CLINICAL PHARMACOLOGY-Drug-Drug Interactions section).

Phase II clinical trial data, where IRESSA and vinorelbine have been used concomitantly, indicate that
IRESSA may exacerbate the neutropenic effect of vinorelbine.

Carcinogenesis, Mutagenesis, Impairment of Fertility
Gefitinib has been tested for genotoxicity in a series of in vitro (bacterial mutation, mouse lymphoma,
and human lymphocyte) assays and an in vivo rat micronucleus test. Under the conditions of these
assays, gefitinib did not cause genetic damage.

Carcinogenicity studies have not been conducted with gefitinib.

Pregnancy
Pregnancy Category D (see WARNINGS and PRECAUTIONS-Information for Patients
sections).


Nursing Mothers
It is not known whether IRESSA is excreted in human milk. Following oral administration of carbon-
14 labeled gefitinib to rats 14 days postpartum, concentrations of radioactivity in milk were higher than
in blood. Levels of gefitinib and its metabolites were 11-to-19-fold higher in milk than in blood, after
oral exposure of lactating rats to a dose of 5 mg/kg. Because many drugs are excreted in human milk
and because of the potential for serious adverse reactions in nursing infants, women should be advised
against breast-feeding while receiving IRESSA therapy.

Pediatric Use
IRESSA is not indicated for use in pediatric patients as safety and effectiveness have not been
established. In clinical trials of IRESSA alone or with radiation in pediatric patients with primary
Central Nervous System (CNS) tumors, cases of CNS hemorrhage and death have been reported. There
are insufficient data in pediatric patients to establish a causal relationship. There is no evidence to
suggest increased risk of cerebral hemorrhage in adult patients with NSCLC receiving IRESSA.

Geriatric Use
Of the total number of patients participating in trials of second- and third-line IRESSA treatment of
NSCLC, 65% were aged 64 years or less, 30.5 % were aged 65 to 74 years, and 5% of patients were
aged 75 years or older. No differences in safety or efficacy were observed between younger and older
patients.

Patients with Severe Renal Impairment
The effect of severe renal impairment on the pharmacokinetics of gefitinib is not known. Patients with
severe renal impairment should be treated with caution when given IRESSA.
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ADVERSE REACTIONS
The safety database includes 941 patients from clinical trials and approximately 23,000 patients in the
Expanded Access Program.

Table 3 includes drug-related adverse events with an incidence of >5% for the 216 patients who
received either 250 mg or 500 mg of IRESSA monotherapy for treatment of NSCLC. The most
common adverse events reported at the recommended 250 mg daily dose were diarrhea, rash, acne, dry
skin, nausea, and vomiting (see PRECAUTIONS-Information for Patients and DOSAGE AND
ADMINISTRATION–Dosage Adjustment sections). The 500 mg dose showed a higher rate for
most of these adverse events.

Table 4 provides drug-related adverse events with an incidence of >5% by CTC grade for the patients
who received the 250 mg/day dose of IRESSA monotherapy for treatment of NSCLC. Only 2% of
patients stopped therapy due to an adverse drug reaction (ADR). The onset of these ADRs occurred
within the first month of therapy.



Table 3: Drug-Related Adverse Events with an Incidence of > 5% in either 250 mg or 500 mg
          Dose Group
                                                                        Number (%) of Patients
                             a
Drug-related adverse event                                             250 mg/day                500 mg/day
                                                                        (N=102)                   (N=114)
                                                                             %                       %
Diarrhea                                                                   49 (48)                76 (67)
Rash                                                                       44 (43)                61 (54)
Acne                                                                       25 (25)                37 (33)
Dry skin                                                                   13 (13)                30 (26)
Nausea                                                                     13 (13)                20 (18)
Vomiting                                                                   12 (12)                 10 (9)
Pruritus                                                                    8 (8)                  10 (9)
Anorexia                                                                    7 (7)                 11 (10)
Asthenia                                                                    6 (6)                  5 (4)
Weight loss                                                                 3 (3)                   6 (5)
a
    A patient may have had more than 1 drug-related adverse event.


Table 4: Drug Related Adverse Events >5% at 250 mg dose by Worst CTC Grade (n=102)

                                           % of Patients
                       All        CTC         CTC          CTC        CTC
Adverse Event        Grades      Grade 1     Grade 2   Grade 3       Grade 4
Diarrhea                48         41           6           1          0
Rash                    43         39           4           0          0
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Acne            25      19        6        0       0
Dry Skin        13      12        1        0       0
Nausea          13       7        5        1       0
Vomiting        12       9        2        1       0
Pruritus        8        7        1        0       0
Anorexia        7        3        4        0       0
Asthenia        6        2        2        1       1


Other adverse events reported at an incidence of <5% in patients who received either 250 mg or 500
mg as monotherapy for treatment of NSCLC (along with their frequency at the 250 mg recommended
dose) include the following: peripheral edema (2%), amblyopia (2%), dyspnea (2%), conjunctivitis
(1%), vesiculobullous rash (1%), and mouth ulceration (1%).

Interstitial Lung Disease
Cases of interstitial lung disease (ILD) have been observed in patients receiving IRESSA at an overall
incidence of about 1%. Approximately 1/3 of the cases have been fatal. The reported incidence of ILD
was about 2% in the Japanese post-marketing experience, about 0.3% in approximately 23,000 patients
treated with IRESSA in a US expanded access program and about 1% in the studies of first-line use in
NSCLC (but with similar rates in both treatment and placebo groups). Reports have described the
adverse event as interstitial pneumonia, pneumonitis and alveolitis. Patients often present with the
acute onset of dyspnea, sometimes associated with cough or low-grade fever, often becoming severe
within a short time and requiring hospitalization. ILD has occurred in patients who have received prior
radiation therapy (31% of reported cases), prior chemotherapy (57% of reported patients), and no
previous therapy (12% of reported cases). Patients with concurrent idiopathic pulmonary fibrosis
whose condition worsens while receiving IRESSA have been observed to have an increased mortality
compared to those without concurrent idiopathic pulmonary fibrosis.

In the event of acute onset or worsening of pulmonary symptoms (dyspnea, cough, fever), IRESSA
therapy should be interrupted and a prompt investigation of these symptoms should occur. If
interstitial lung disease is confirmed, IRESSA should be discontinued and the patient treated
appropriately (see WARNINGS-Pulmonary Toxicity, PRECAUTIONS-Information for Patients
and DOSAGE AND ADMINISTRATION-Dosage Adjustment sections).

In patients receiving IRESSA therapy, there were reports of eye pain and corneal erosion/ulcer,
sometimes in association with aberrant eyelash growth (see PRECAUTIONS-Information for
Patients section). Hemorrhage, such as epistaxis and hematuria have been reported in patients
receiving IRESSA. There were also rare reports of pancreatitis and very rare reports of corneal
membrane sloughing, ocular ischemia/hemorrhage, toxic epidermal necrolysis, erythema multiforme,
and allergic reactions, including angioedema and urticaria.

International Normalized Ratio (INR) elevations and/or bleeding events have been reported in some
patients taking warfarin while on IRESSA therapy. Patients taking warfarin should be monitored
regularly for changes in prothrombin time or INR (see CLINICAL PHARMACOLOGY-Drug-Drug
Interactions and PRECAUTIONS-Drug Interactions sections).
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Data from non-clinical (in vitro and in vivo) studies indicate that gefitinib has the potential to inhibit
the cardiac action potential repolarization process (eg, QT interval). The clinical relevance of these
findings is unknown.


OVERDOSAGE
The acute toxicity of gefitinib up to 500 mg in clinical studies has been low. In non-clinical studies, a
single dose of 12,000 mg/m2 (about 80 times the recommended clinical dose on a mg/m2 basis) was
lethal to rats. Half this dose caused no mortality in mice.

There is no specific treatment for an IRESSA overdose and possible symptoms of overdose are not
established. However, in Phase 1 clinical trials, a limited number of patients were treated with daily
doses of up to 1000 mg. An increase in frequency and severity of some adverse reactions was
observed, mainly diarrhea and skin rash. Adverse reactions associated with overdose should be treated
symptomatically; in particular, severe diarrhea should be managed appropriately.


DOSAGE AND ADMINISTRATION
The recommended daily dose of IRESSA is one 250 mg tablet with or without food. Higher doses do
not give a better response and cause increased toxicity.

For Patients who have Difficulty Swallowing Solids
IRESSA tablets can also be dispersed in half a glass of drinking water (non-carbonated). No other
liquids should be used. Drop the tablet in the water, without crushing it, stir until the tablet is dispersed
(approximately 10 minutes) and drink the liquid immediately. Rinse the glass with half a glass of water
and drink. The liquid can also be administered through a naso-gastric tube.

Dosage Adjustment
Patients with poorly tolerated diarrhea (sometimes associated with dehydration) or skin adverse drug
reactions may be successfully managed by providing a brief (up to 14 days) therapy interruption
followed by reinstatement of the 250 mg daily dose.

In the event of acute onset or worsening of pulmonary symptoms (dyspnea, cough, fever), IRESSA
therapy should be interrupted and a prompt investigation of these symptoms should occur and
appropriate treatment initiated. If interstitial lung disease is confirmed, IRESSA should be
discontinued and the patient treated appropriately (see WARNINGS-Pulmonary Toxicity,
PRECAUTIONS-Information for Patients and ADVERSE REACTIONS sections).

Patients who develop onset of new eye symptoms such as pain should be medically evaluated and
managed appropriately, including IRESSA therapy interruption and removal of an aberrant eyelash if
present. After symptoms and eye changes have resolved, the decision should be made concerning
reinstatement of the 250 mg daily dose (see PRECAUTIONS-Information for Patients and
ADVERSE REACTIONS sections).

In patients receiving a potent CYP3A4 inducer such as rifampicin or phenytoin, a dose increase to 500
mg daily should be considered in the absence of severe adverse drug reaction, and clinical response
and adverse events should be carefully monitored (see CLINICAL PHARMACOLOGY-
Pharmacokinetics-Drug-Drug Interactions and PRECAUTIONS-Drug Interactions sections).
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No dosage adjustment is required on the basis of patient age, body weight, gender, ethnicity, or renal
function; or in patients with moderate to severe hepatic impairment due to liver metastases (see
CLINICAL PHARMACOLOGY-Pharmacokinetics-Special Populations section).


HOW SUPPLIED
IRESSA tablets are supplied as round, biconvex, brown film-coated tablets intagliated with "IRESSA
250" on one side and plain on the other side, each containing 250 mg of gefitinib.

Bottles of 30 Tablets (NDC 0310-0482-30)


Storage
Store at controlled room temperature 20-25°C (68-77°F) [see USP].


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           Capecitabine in hormone-resistant metastatic prostatic carcinoma
           – a phase II trial

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                The objective of the trial is to evaluate the efficacy of capecitabine in patients with metastatic hormone-resistant prostate carcinoma
                (HRPC), in terms of prostate-specific antigen (PSA) response and clinical benefit (decrease of pain or analgesic score) and its safety
                profile. In all, 25 patients with HRPC were enrolled on a phase II trial of capecitabine (Xelodas) at a dose of 1250 mg m2 orally
                twice daily on days 1 – 14 every 21 days. The inclusion criteria were PSA serum levels 43  upper limit of normal, a WHO
                performance status 0 – 2, age o85 years and adequate bone marrow, liver and renal function. In patients with grade 2 or higher
                haematological toxicity on day 1 of the treatment cycle, therapy was first delayed, and then continued at a lower dose. Trial end
                points were PSA response and clinical benefit defined by quality of life (QL) data and analgesic consumption. The median age of
                patients was 70 years (range 54 – 85 years). A median of three cycles of capecitabine was administered (range 1 – 8). PSA response
                was observed in three patients (12%, 95% CI 3 – 31%), with times to tumour progression of 18, 21 and 35 weeks, respectively. In
                these patients, the response durations were 12, 17 and 32 weeks, respectively. Minor PSA regression was also seen in two further
                patients. The median time to tumour progression of all patients was 12 weeks (95% CI 9 – 15 weeks). Haematological toxicity was
                minor, with leukopenia grade 3 observed in one patient. There were three deaths during trial treatment, respectively, due to sepsis
                following mucositis and leukopenia, presumed sepsis with mucositis induced by chemotherapy and concomitant radiotherapy and
                cerebral dysfunction progressing to coma. Hand – foot syndrome grades 2 and 3 were observed in four patients each. Clinical benefit
                was observed in five patients (20%, CI 7 – 41%). Based on toxicity data, we recommend a lower starting dose of 1000 mg m2 orally
                twice daily. While capecitabine has some activity in HRPC, as suggested by observed PSA responses, we conclude that it is not
                worthwhile to investigate capecitabine monotherapy in a phase III trial. Combinations of capecitabine with other agents, such as
                vinorelbine or docetaxel, may prove to be more effective.
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                Keywords: prostatic carcinoma; hormone resistance; capecitabine; prostate-specific antigen (PSA); quality of life; clinical benefit




           The role of chemotherapy in patients with hormone-resistant                       Starting in 1991, the Swiss Group for Clinical Cancer Research
           prostate cancer (HRPC) has been re-evaluated in recent years                   (SAKK) conducted four consecutive phase II trials within the
           (Goodin et al, 2002). The median survival of patients with HRPC                framework of a master protocol to evaluate carboplatin (Jungi et al,
           remains, however, at 9 – 12 months despite medical advances and                1998), idarubicin (Schmid et al, 1997), gemcitabine (Morant et al,
           new approaches. Chemotherapy in patients with HRPC has been                    2000) and vinorelbine (Morant et al, 2002b), in patients with
           shown to decrease the serum levels of prostate-specific antigen                HRPC. The goal of these studies was to find promising new drugs
           (PSA), to shrink soft tissue metastases, to improve bone scans and,            for further testing in phase III trials. These multicentre trials
           most importantly, to enhance aspects of quality of life (QL),                  included similar end points, but during the trials requirements
           especially pain (Tannock et al, 1996; Fields-Jones et al, 1999).               with respect to documentation of response, toxicity, QL and PSA
           Prolongation of survival by chemotherapy, however, has not been                measurements (Schmid et al, 2003) have evolved.
           demonstrated in phase III trials conducted to date (Tannock et al,                The fifth substance to be tested as a part of this programme was
           1996; Hudes et al, 1999; Kantoff et al, 1999), although adequately             capecitabine (Xelodas), an oral fluoropyrimidine carbamate that
           powered randomised trials are now underway comparing mitox-                    delivers 5-FU predominantly to tumour cells. Capecitabine is
           antrone/prednisone with newer treatments including docetaxel                   rapidly and extensively absorbed through the gut as an intact
           alone or in combination with estramustine.                                     molecule, and is then metabolised to 5-FU in three steps (Budman
                                                                                          et al, 1998; Miwa et al, 1998; Schüller et al, 2000). Firstly, it is
                                                                                          converted to 50 -deoxy-5-fluorocytidine (50 -DFCR) by carboxyles-
                                                                                          terase (primarily in the liver). Secondly, it is converted to 50 -deoxy-
           *Correspondence: Dr R Morant; E-mail: rmorant@sg.zetup.ch                      5-fluorouridine (50 -DFUR) by cytidine deaminase (in tumour cells
           Received 9 September 2003; revised 6 January 2004; accepted 6 January          and in the liver). Finally, it is converted to 5-FU by thymidine
           2004; published online 9 March 2004                                            phosphorylase (TP), which is significantly more active in tumour
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                                                                                                                   Mylan v. Aventis, IPR2016-00712
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tissue than in adjacent healthy tissue (Ishikawa et al, 1998). The          The trial was approved by the scientific committee of the SAKK,
increasing specificity for tumour cells occurring with each              the local ethical committees of participating institutions and
successive conversion step potentially reduces systemic 5-FU             regulatory authorities. Written informed consent was obtained
exposure while increasing the 5-FU dose within tumour tissue.            from each patient before entering the trial.
   Capecitabine is currently approved in over 80 countries                  The primary end point of the trial was PSA response (Smith et al,
worldwide (including Japan, the USA and EU) as monotherapy               1998). In addition, clinical benefit, QL data and, if possible, tumour
for the treatment of advanced or metastatic breast cancer patients       measurements were recorded.
who have failed previous anthracycline and taxane chemotherapy.             PSA response was evaluated according to the guidelines for
In addition, the combination of capecitabine and docetaxel is            phase II trials in HRPC (Bubley et al, 1999). The first response
approved for the treatment of patients with advanced or metastatic       evaluation was performed after two cycles of chemotherapy. A PSA
breast cancer after failure of cytotoxic chemotherapy including an       response is defined as a decrease of serum PSA levels by at least
anthracycline (or when further anthracycline therapy is not              50% compared to baseline and confirmed by a second determina-
possible). Capecitabine is also approved for the first-line treatment    tion 4 weeks later. Moreover, no increase in the size of pre-existing




                                                                                                                                                           Clinical
of patients with metastatic colorectal cancer.                           metastases, no appearance of new lesions and no clinical signs of
   The objective of the present trial was to evaluate both the           tumour progression are allowed. Progressive disease (PD) is
efficacy, in terms of PSA response and clinical benefit, and the         defined as a confirmed increase of PSA values by at least 25%
safety profile of capecitabine in patients with HRPC. The primary        compared to baseline or nadir levels not reaching response
end point of the trial was PSA response according to the guidelines      criteria. Time to PSA progression is defined from the first
by the PSA Working Group (Bubley et al, 1999). Quality of life and       treatment day until the date PSA levels had increased by 50%
clinical benefit were secondary end points. In the subset of patients    from the nadir levels for responders or by 25% for patients not
with measurable disease, tumour response following treatment             reaching a 50% decline of PSA levels. If clinical progression
with capecitabine was also documented according to standard              occurred before PSA progression, the date of clinical progression
WHO criteria.                                                            was used. Duration of PSA response is measured from the time at
                                                                         which PSA had declined to p50% to the time when PSA has risen
                                                                         by 50% above the nadir. Time to treatment failure was defined as
PATIENTS AND METHODS                                                     the time from registration to progression, death or treatment stop
                                                                         due to toxicity or refusal. Confidence intervals for the Kaplan –
Between March 2000 and June 2001, 25 patients with histologically        Meier curves were computed on the log survival scale. PSA levels
or cytologically proven metastatic prostatic carcinoma, progres-         were determined on day 1 of each treatment cycle.
sing after orchiectomy or medical castration, were enrolled.                Pain treatment was not standardised but recorded and classified
Eligibility criteria included an age limit of o85 years, a life          by the treating physician at registration, on day 8, at the start of
expectancy of 412 weeks, a WHO performance status of 0 – 2 and           each treatment cycle and at treatment failure. A pain treatment
the absence of known brain metastases. No previous cytotoxic             score was calculated according to Moore et al (1994) for each visit
therapy, including estramustine, was allowed. Requirements for           by an independent physician. Standard tablets or capsules of non-
laboratory values included a serum PSA of at least three times the       narcotic analgesics were assigned 1 point each, and standard doses
upper limit of normal (ULN), leucocytes (WBC) X3.5  109 l1 or          of narcotic analgesics (e.g., hydromorphone 2 mg, morphine 5 mg,
granulocytes X2  109 l1, platelets X100  109 l1, haemoglobin         etc.) were assigned two points. These points were totalled for a
X90 g l1, serum creatinine p1.5  ULN, bilirubin p1.5  ULN             daily score and averaged into a score assessing the week before the
and SGOT p2.5  ULN. Measurable or nonmeasurable metastatic              clinical visit.
disease was allowed. Bone metastases alone were considered to be            QL was assessed by the EORTC QLQ-C30 (Aaronson et al, 1993)
nonmeasurable.                                                           at registration, on day 8, at monthly visits and at treatment failure.
   Patients received oral capecitabine at a dose of 1250 mg m2          This questionnaire has extensively been validated in adults,
twice daily for 14 days, repeated every 21 days. Treatment was           although not specifically in elderly patients. All scales and single
stopped after a maximum of eight cycles or in the event of tumour        items were transformed according to the EORTC guidelines to
progression or severe toxicity. Toxicity was assessed according to       range from 0 to 100. A higher score for a functional scale
the National Cancer Institute of Canada Common Toxicity Criteria         represents a higher level of functioning, a higher score for the
(NCIC CTC) and a special toxicity scale for severity of skin             global health status/QL scale a better QL, and a higher score for a
toxicity, especially of palms and plants (hand – foot syndrome).         symptom scale or item a higher level of symptoms or problems. In
Dose reductions and treatment delays were specified in the               addition, a global indicator for overall treatment burden (Bernhard
protocol. In an amendment dated March 2001, the initial                  et al, 2002) and another for coping effort (Hurny et al, 1993) were
capecitabine dose was adapted according to creatinine clearance          included. These two indicators were transformed accordingly (0 –
values.                                                                  100), with higher scores indicating better QL. All questions
   The trial had a two-stage Gehan design with a sample size of 25       referred to the experience during the previous week. Pain (QLQ-
patients in order to estimate the PSA response rate with a standard      C30 items 9 þ 19) was prospectively defined as the primary QL end
error of o0.10. If capecitabine had a PSA response rate of less than     point, the other measures were used for descriptive purposes only.
20%, then the drug would not be considered worth to be tested in a          Clinical benefit in terms of reduction in patient-rated pain and/
phase III trial. The trial was designed to be stopped if there were no   or use of analgesics was defined as either a decrease of X2
PSA responses among the first 14 patients. Since two PSA                 response categories (corresponding to X33%) in the pain scale
responses were seen, the trial continued beyond the initial 14           (items 9 þ 19) without an increase in analgesics, or a decrease by
patients.                                                                X50% in analgesics without an increase in pain, measured from
   Treatment with antiandrogens, however, had to be stopped              baseline for at least two consecutive cycles (i.e. 6 weeks).
at least 1 month before trial enrollment in order not to falsely            For the minority of patients who did not report pain at baseline,
attribute an antiandrogen withdrawal response (Scher and Kelly,          we prospectively defined changes in physical functioning and
1993) to the trial drug. Prior radiation therapy was given to            global health/QL (both from QLQ-C30) as benefit criterion as
12 patients. Palliative radiation therapy was not allowed                either an improvement of X2 response categories (corresponding
within 1 month prior to the start of the study treatment.                to X40%) in physical functioning without any worsening in global
Previously irradiated metastases were not used for response              health status/QL, or an improvement of X3 response categories
evaluation.                                                              (corresponding to X25%) in global health status/QL without any

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                  worsening in physical functioning, measured from baseline, for at         Table 1      Patient characteristics (n ¼ 25)
                  least two consecutive cycles (i.e., 6 weeks).
                     We investigated the changes in QL measures from baseline to                                                         Category       Number           %
                  subsequent time points. Although the transformation of the QLQ-
                                                                                            Performance status (WHO)                         0             8             32
                  C30 scales results in scores ranging from 0 to 100, these measures                                                         1             13            52
                  are still categorical in nature. Given the small sample, we focused                                                        2              4            16
                  on median values, instead of means. That is, changes that were            Previous radiation therapy                      No             13            52
                  present in means but not in medians (i.e. median ¼ 0) were not                                                            Yes            12            48
                  considered relevant. Accordingly, we used the exact Wilcoxon              Orchiectomy                                     No             14            56
                  signed rank test (based on Hodges – Lehmann (HL) medians),                                                                Yes            11            44
                  (Lehmann, 1975). All tests were two-sided. No adjustment was              LH-RH analogues                                 No             12            48
                  made for multiple testing.                                                                                                Yes            13            52
                                                                                            Antiandrogens                                   No             10            40
                                                                                                                                            Yes            15            60
Clinical




                                                                                            Measurable disease                              No             13            52
                  RESULTS                                                                                                                   Yes            12            48
                                                                                            Tumor metastasesa                              Bone            24            96
                  Patient characteristics are shown in Table 1. The 25 men entered                                                      Lymph nodes        9             36
                  on the trial had a median age of 70 years (range 54 – 85 years) and                                                      Lung             2             8
                  generally had a good performance status (84% having a PS of 0 or                                                         Liver            2             8
                  1). All patients had documented PD (rising PSA levels and/or new
                  or growing metastases) while on continued androgen ablation: 11                                                           Median        Range
                  patients had undergone bilateral orchiectomy, 13 had received a           Age (years)                                       70         54 – 85
                                                                                            Weight (kg)                                       80         55 – 113
                  luteinising hormone – releasing hormone (LH – RH) agonist, and in         Disease duration since diagnosis (years)           3       0.55 – 17.9
                  one patient LH – RH agonists were erroneously stopped before trial        PSA (mg/l)                                       258         15 – 20400
                  enrolment. A total of 15 patients had been treated during the             Alkaline phosphatase (IU)                        325         87 – 1580
                  course of their disease with an androgen receptor blocker either          Creatinine (mmol)                                 97         58 – 155
                  concomitantly or as a second-line hormonal therapy.                       a
                     Nearly all patients suffered from bone metastases (24 out of 25).      Each patient may have more than one tumour localisation.
                  In nine patients lymph node metastases were found, in two
                  patients liver metastases and in two lung metastases.
                     The median number of capecitabine cycles was 3 (range 1 – 8).
                  The median dose density of capecitabine dropped from                      Table 2 Grade 2, 3 and 4 adverse events following treatment with
                  2471 mg m2 during cycle 1 (n ¼ 25) to 1875 mg m2 during cycle           capecitabine in 25 patients and 88 treatment cycles
                  4 (n ¼ 11). Dose reductions were necessary in 10 patients, due to
                  hand – foot syndrome (n ¼ 3), diarrhoea (n ¼ 2), and in one patient                                                  Number            Number of
                  each due to haematological reasons, weight loss, moderate renal                                                      of cycles         patients
                  function impairment, vomiting and symptoms of vertebral fracture          Toxicity                     Grade         (% of cycles)     (% of patients)
                  with spinal cord compression (the latter were signs of tumour             Anaemia                        2             17   (19%)          9   (36%)
                  progression).                                                                                            3              1   (1%)           1   (4%)
                     Treatment with capecitabine was subjectively well tolerated in         Leukopenia                     2              4   (5%)           2   (8%)
                  the vast majority of patients. The most common clinical treatment-                                       3              1   (1%)           1   (4%)
                  related adverse events (grade 2, 3 or 4, see Table 2) were nausea         Granulocytopenia               2              1   (1%)           1   (4%)
                  (32%), hand – foot syndrome (32%) and diarrhoea (16%). Anaemia                                           3              2   (2%)           2   (8%)
                  was the most commonly observed haematological toxicity (40%),             Thrombocytopenia               2              2   (2%)           2   (8%)
                  although the majority of cases (36%) were no greater than grade 2         Diarrhoea                      2              4   (5%)           3   (12%)
                                                                                                                           3              1   (1%)           1   (4%)
                  in severity. Other grade 2/3 haematological adverse events were           Neurological                   2              4   (5%)           3   (12%)
                  granulocytopenia (12%), leukopenia (12%) and thrombocytopenia             Nausea                         2             10   (11%)          6   (24%)
                  (8%), although no grade 4 haematological toxicity was noticed.                                           3              2   (2%)           2   (8%)
                     Three patients died during the trial: one patient developed            Stomatitis                     2              1   (1%)           1   (4%)
                  mucositis during the first course of chemotherapy and underwent                                          4              1   (1%)           1   (4%)
                  radiation therapy involving the already inflamed oral mucosa. The         Hand – foot syndrome           2              9   (10%)          4   (16%)
                  event was classified as probably related to trial treatment. The                                         3              5   (6%)           4   (16%)
                  patient was admitted to a regional hospital with sepsis, suspected
                  to be related to the injured oropharyngeal mucosa. No agranulo-
                  cytosis was found. The patient’s clinical condition rapidly
                  deteriorated and he died due to a presumed septic shock.                     The median time to tumour progression of the 21 patients
                  The second patient died during the second course after                    completing at least two cycles was 12 weeks (95% CI 9 – 15 weeks,
                  somnolence progressed into coma with a clinical diagnosis of              Figure 1) and median time to treatment failure of all the 25 patients
                  brain metastases or cerebral infarction. Due to the poor clinical         was 9 weeks (95% CI 7 – 15 weeks, Figure 2). Treatment failure was
                  status at hospital admission, no further work-up had been done.           recorded in 20 patients as a result of PD (clinical tumour
                  The third patient died during the first course due to treatment-          progression in eight cases, PSA progression in 12 cases), in three
                  related toxicity. This 60-year-old obese patient with extensive           patients because of death and in one patient each by patient refusal
                  osseous and hepatic metastases was treated with 5 g of capecitabine       and unacceptable toxicity.
                  daily. He developed mucositis and diarrhoea and was then                     PSA levels of all trial patients before and during treatment with
                  admitted to the hospital 10 days after starting chemotherapy.             capecitabine are plotted in Figure 3. A PSA response according to
                  Administration of capecitabine was stopped. He was neutropenic            standardised criteria was seen in three patients (12%, 95% CI 3 –
                  and was treated with antibiotics. He succumbed to infection on the        31%). Response durations and times to tumour progression in
                  tenth day of hospitalisation.                                             these patients were 12, 17 and 32 weeks and 18, 21 and 35 weeks,

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                                                                           Capecitabine in HRPC
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                             Time to progression                              A                               PSA before registration
 1.0
                                                                                               4

 0.8
                                                                                               3




                                                                                log 10 (PSA)
 0.6
                                                                                               2

 0.4
                                                                                               1

 0.2




                                                                                                                                                                         Clinical
                                                                                               0

 0.0                                                                                                   300             200            100            0

       0              10                 20                 30                                                 Days before registration

                                    Weeks
Figure 1 Time to first progression (prostate-specific antigen (PSA) or       B                                    PSA after registration
clinical) measured in weeks with pointwise 95% confidence intervals.
                                                                                               4

                           Time to treatment failure
                                                                                               3
       1.0
                                                                              log 10 (PSA)


       0.8                                                                                     2


       0.6
                                                                                               1

       0.4
                                                                                               0

       0.2                                                                                         0     50          100        150         200       250
                                                                                                                 Days after registration
       0.0
                                                                           Figure 3 PSA values (A) before and (B) after trial registration, that is,
             0          10               20            30                  start of chemotherapy. Each line represents the PSA profile of one patient.
                                   Weeks                                   The slope of rising PSA levels is less steep after the start of chemotherapy.
                                                                           The dashed lines represent the three cases with a PSA response.
Figure 2 Time to treatment failure (tumour progression, toxicity, death,
refusal) in weeks with pointwise 95% confidence intervals.

                                                                           there was no substantial change over the observation period (up to
                                                                           the beginning of cycle 4).
respectively. Minor reductions in PSA (38 and 41%) were seen in               Physician-rated pain indicated deterioration at the beginning of
two additional patients. There were no objective tumour responses          cycles 3 (n ¼ 16, median change ¼ 1, P ¼ 0.04) and 4 (n ¼ 9,
of measurable disease.                                                     median change ¼ 1, P ¼ 0.03), when compared to baseline
   Of all 113 expected pre-failure QL forms, 99 (88%) were received        (n ¼ 25, median ¼ 2). The pain treatment score indicated a stable
and correctly timed, 24 (96%) at baseline and 75 (85%) during              consumption of analgesics (baseline: n ¼ 24, median ¼ 4.6).
treatment; the submission rate at failure was lower (73%). The                In all, 22 patients reported pain at baseline. Five of these (20%)
reasons for missing QL data were mainly local administrative               met our criteria for clinical benefit following treatment with
failure (45%); in 40% of all missing data, there was no reason             capecitabine, and in one case clinical benefit could not be
given. QL data were evaluated up to the beginning of cycle 4;              evaluated because of missing data. For at least two consecutive
thereafter, too few patients were left on the trial treatment.             cycles, these patients indicated either a decrease of X2 response
   At baseline, patients reported a considerably impaired health           categories in the pain scale from baseline without an increase in
status/QL (n ¼ 24, median ¼ 50), role functioning (n ¼ 23, med-            analgesics, or a decrease by X50% in analgesics without an
ian ¼ 66.7), coping (n ¼ 24, median ¼ 58.3) and emotional func-            increase in pain. One of these patients had also a PSA response.
tioning (n ¼ 24, median ¼ 75). Pain was the most severe symptom            The two cases without baseline pain did not meet our criteria for
(n ¼ 23, median ¼ 50), followed by fatigue (n ¼ 24, median ¼ 33.3)         palliation based on physical functioning and global health/QL.
and sleeping disorders (n ¼ 24, median ¼ 33.3).
   At day 8 of the first capecitabine cycle, short-term toxicity did
not result in worsening in any of the QL measures. Patients
reported better emotional functioning (n ¼ 17, HL median
                                                                           DISCUSSION
change ¼ 12.5, P ¼ 0.003) and coping (n ¼ 18, HL median                    The SAKK has performed five consecutive phase II trials in
change ¼ 8.3, P ¼ 0.02), and less pain (n ¼ 17, HL median                  patients with HRPC, the latest using capecitabine.
change ¼ 16.7, P ¼ 0.02) and sleeping disorders (n ¼ 18, HL                 Capecitabine has demonstrated consistently high single-agent
median change ¼ 16.7, P ¼ 0.05). Besides this early improvement,          activity and a favourable safety profile in taxane and anthracycline

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                                                                     Capecitabine in HRPC
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                  pretreated metastatic breast cancer (Blum et al, 1999, 2001;                     orally twice daily and to adapt dosages in cases of decreased
                  Fumoleau et al, 2001; Talbot et al, 2002) and improved overall                   creatinine clearance.
                  survival when added to docetaxel in the anthracycline-failure                       These results, although not directly comparable, are not
                  setting (O’Shaughnessy et al, 2002). In addition, randomised phase               substantially different from those of many other phase II trials
                  III trials comparing the efficacy and tolerability of 3-weekly                   in HRPC, such as our previous trials with gemcitabine or
                  intermittent capecitabine with i.v. bolus 5-FU/LV as first-line                  vinorelbine. However, they do not match the higher response
                  treatment of advanced colorectal cancer showed that capecitabine                 rates reported with docetaxel (Picus and Schultz, 1999) alone or in
                  was more active than 5-FU/LV in the induction of tumour                          combinations with estramustine (Petrylak et al, 1999) or other
                  response, and at least equivalent in terms of time to progression                agents targeting microtubule functions, such as vinblastine (Hudes
                  and overall survival (Hoff et al, 2001; Van Cutsem et al, 2001;                  et al, 1999).
                  Twelves, 2002). In addition to the extensive experience with                        Overall, the QL results indicate that capecitabine was relatively
                  capecitabine in patients with breast and colorectal cancer, the drug             well tolerated. In particular, there was no worsening of QL by
                  has been investigated in a variety of other cancers, such as                     short-term toxicity. The improvement in several QL measures over
Clinical




                  pancreatic carcinoma (Hess et al, 2003), whereas there is only a                 the first 8 days may reflect the beneficial impact of the pain
                  single recent case report (El-Rayes et al, 2003) describing an                   treatment and general support given by the treating physician at
                  impressive response to capecitabine in a patient with HRPC.                      baseline, because we do not expect a beneficial effect of
                     Experience with 5-FU in patients with HRPC has been mixed                     chemotherapy on tumour load at this early time point. However,
                  with no responses seen in phase II trials with 5-FU and leucovorin               considering the whole observation period, there was no overall
                  given as bolus injections (Singh et al, 1992), high dose infusions               improvement in patient- or physician-rated pain. Similarly, the QL
                  every 2 weeks (Atkins et al, 1996) or continuous infusion over 5                 measures did not suggest an overall improvement during
                  days (Kuzel et al, 1993). However, 5-FU given as a continuous                    capecitabine treatment. This is an indication of limited palliation
                  infusion of 300 mg m2 (Hansen et al, 1991) showed a significant                 as described in our previous trial of vinorelbine (Morant et al,
                  palliative effect. In prostatic carcinoma, there are significantly               2002b), which showed a comparable rate of clinical benefit (23%).
                  higher levels of TP (Mori et al, 2000), which is likely to result in                In summary, capecitabine monotherapy has proven to be a
                  higher levels of 5-FU in tumour tissue following administration of               substance with some activity in patients with HRPC and with
                  capecitabine. The previous benefit of a continuous low dose                      generally good tolerability. Careful clinical supervision by an
                  infusion of 5-FU combined with increased drug accumulation in                    experienced oncologist is, however, necessary, because potentially
                  tumour tissue provided the rationale for this phase II trial.                    life-threatening complications, such as stomatitis, leukopenia or
                     In this first phase II trial of capecitabine in HRPC, the drug has            diarrhoea may develop, necessitating treatment interruption or
                  demonstrated a confirmed PSA response rate of 12% (three of 25                   dose reduction.
                  patients) and a mean response duration of 20 weeks (12, 17 and 32                   The activity of capecitabine in this patient population is limited
                  weeks). In addition, two further minor PSA responses were seen.                  concerning both PSA response and clinical benefit. Hence,
                  Comparison of PSA values before and after the start of                           capecitabine cannot be recommended as a single first-line drug
                  chemotherapy shows that the slope of rising PSA values became                    in patients with metastatic HRPC, and we do not think that it is
                  less steep in the majority of patients, even if there were no                    worthwhile to investigate capecitabine monotherapy in a phase III
                  responses (Figure 3). This temporary stabilisation of disease                    trial. Whether combinations of capecitabine with noncytotoxic
                  translates into a median time to progression of 12 weeks and a                   agents or other cytostatic drugs, such as docetaxel or vinorelbine,
                  median time to treatment failure of 9 weeks.                                     which are combination regimens with proven efficacy in breast
                     Subjective toxicity of capecitabine was mild in the majority of               carcinoma, will also be useful in this patient population, will
                  the patients. The most common clinical treatment-related adverse                 require further investigation.
                  events (grades 2, 3 or 4) were nausea (32%), hand – foot syndrome
                  (32%) and diarrhoea (16%). Anaemia was the most commonly
                  observed haematological toxicity (40%), although no grade 4                      ACKNOWLEDGEMENTS
                  haematological toxicity was recorded. Diarrhoea and mucositis
                  were observed in two of the three patients who died during the                   The trial was supported by a grant from Roche Pharma Schweiz.
                  trial. Considering the observed toxicity and the frequent dose                   Preliminary results of this phase II trial have been presented at
                  reduction, we recommend a lower starting dose of 1000 mg m2                     ASCO 2002 (Morant et al, 2002a).



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                     EXHIBIT AA
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 Mead Johnson
 ONCOLOGY PRODUCTS                                                                                       2/10/00


 L Only

 TAXOL7
 (paclitaxel)
 INJECTION
                                                                WARNING
  TAXOL7 (paclitaxel) should be administered under the supervision of a physician experienced in the use of cancer chemotherapeutic
  agents. Appropriate management of complications is possible only when adequate diagnostic and treatment facilities are readily
  available.
    Anaphylaxis and severe hypersensitivity reactions characterized by dyspnea and hypotension requiring treatment, angioedema, and
  generalized urticaria have occurred in 2-4% of patients receiving TAXOL in clinical trials. Fatal reactions have occurred in patients
  despite premedication. All patients should be pretreated with corticosteriods, diphenhydramine, and H2 antagonists. (See DOSAGE AND
  ADMINISTRATION section.) Patients who experience severe hypersensitivity reactions to TAXOL should not be rechallenged with the drug.
     TAXOL therapy should not be given to patients with solid tumors who have baseline neutrophil counts of less than 1500 cells/mm3 and
  should not be given to patients with AIDS-related Kaposi =s sarcoma if the baseline neutrophil count is less than 1000 cells/mm3. In order
  to monitor the occurrence of bone marrow suppression, primarily neutropenia, which may be severe and result in infection, it is
  recommended that frequent peripheral blood cell counts be performed on all patients receiving TAXOL.



 DESCRIPTION
 TAXOL (paclitaxel) Injection is a clear colorless to slightly yellow viscous solution.                          It is supplied as a
 nonaqueous solution intended for dilution with a suitable parenteral fluid prior to intravenous infusion. TAXOL
 is available in 30 mg (5 mL), 100 mg (16.7 mL), and 300 mg (50 mL) multidose vials. Each mL of sterile
 nonpyrogenic solution contains 6 mg paclitaxel, 527 mg of purified Cremophor7 EL* (polyoxyethylated castor
 oil) and 49.7% (v/v) dehydrated alcohol, USP.
           Paclitaxel is a natural product with antitumor activity. TAXOL (paclitaxel) is obtained via a semi-
 synthetic process from Taxus baccata. The chemical name for paclitaxel is 5 ,20-Epoxy-1,2 ,4,7 ,10 ,13 -
 hexahydroxytax-11-en-9-one 4, 10-diacetate 2-benzoate 13-ester with (2R,3S)-N-benzoyl-3-phenylisoserine.




 _____________________________________
 *Cremophor7 EL is the registered trademark of BASF Aktiengesellschaft.
  Cremophor7 EL is further purified by a Bristol-Myers Squibb Company proprietary process before use.




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                                                                                                      AVENTIS EXHIBIT 2093
                                                                                                      Mylan v. Aventis, IPR2016-00712
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           Paclitaxel has the following structural formula:


                                 (SEE CURRENTLY APPROVED PACKAGE INSERT)


           Paclitaxel is a white to off-white crystalline powder with the empirical formula C47H51NO14 and a
 molecular weight of 853.9. It is highly lipophilic, insoluble in water, and melts at around 216-217NC.
 CLINICAL PHARMACOLOGY
 Paclitaxel is a novel antimicrotubule agent that promotes the assembly of microtubules from tubulin dimers and
 stabilizes microtubules by preventing depolymerization. This stability results in the inhibition of the normal
 dynamic reorganization of the microtubule network that is essential for vital interphase and mitotic cellular
 functions. In addition, paclitaxel induces abnormal arrays or Abundles@ of microtubules throughout the cell cycle
 and multiple asters of microtubules during mitosis.
           Following intravenous administration of TAXOL, paclitaxel plasma concentrations declined in a biphasic
 manner. The initial rapid decline represents distribution to the peripheral compartment and elimination of the
 drug. The later phase is due, in part, to a relatively slow efflux of paclitaxel from the peripheral compartment.
           Pharmacokinetic parameters of paclitaxel following 3- and 24-hour infusions of TAXOL at dose levels
 of 135 and 175 mg/m2 were determined in a Phase 3 randomized study in ovarian cancer patients and are
 summarized in the following table:

                                           TABLE 1
                      SUMMARY OF PHARMACOKINETIC PARAMETERS - MEAN VALUES

       Dose             Infusion               N                CMAX             AUC(0-4)    T-HALF     CL T
      (mg/m 2)         Duration (h)        (patients)         (ng/mL)           (ng@h/mL)      (h)    (L/h/m2)

        135                24                  2                  195                 6300     52.7    21.7
        175                24                  4                  365                 7993     15.7    23.8
        135                 3                  7                 2170                 7952     13.1    17.7
        175                 3                  5                 3650                15007     20.2    12.2


 CMAX=Maximum plasma concentration
 AUC(0-4) = Area under the plasma concentration-time curve from time 0 to infinity
 CL T = Total body clearance



           It appeared that with the 24-hour infusion of TAXOL, a 30% increase in dose (135 mg/m2 versus 175
 mg/m2) increased the CMAX by 87%, whereas the AUC(0-4) remained proportional. However, with a 3-hour
 infusion, for a 30% increase in dose, the CMAX and AUC(0-4) were increased by 68% and 89%, respectively. The
 mean apparent volume of distribution at steady state, with the 24-hour infusion of TAXOL, ranged from 227 to
 688 L/m2, indicating extensive extravascular distribution and/or tissue binding of paclitaxel.
           The pharmacokinetics of paclitaxel were also evaluated in adult cancer patients who received single
 doses of 15-135 mg/m2 given by 1-hour infusions (n=15), 30-275 mg/m2 given by 6-hour infusions (n=36), and
 200-275 mg/m2 given by 24-hour infusions (n=54) in Phase 1 & 2 studies. Values for CLT and volume of


                                                                  2
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 distribution were consistent with the findings in the Phase 3 study. The pharmacokinetics of TAXOL in patients
 with AIDS-related Kaposi=s sarcoma have not been studied.
         In vitro studies of binding to human serum proteins, using paclitaxel concentrations ranging from 0.1
 to 50    g/mL, indicate that between 89-98% of drug is bound; the presence of cimetidine, ranitidine,
 dexamethasone, or diphenhydramine did not affect protein binding of paclitaxel.
         After intravenous administration of 15-275 mg/m2 doses of TAXOL as 1-, 6-, or 24-hour infusions, mean
 values for cumulative urinary recovery of unchanged drug ranged from 1.3% to 12.6% of the dose, indicating
 extensive non-renal clearance. In five patients administered a 225 or 250 mg/m2 dose of radiolabeled TAXOL
 as a 3-hour infusion, a mean of 71% of the radioactivity was excreted in the feces in 120 hours, and 14% was
 recovered in the urine. Total recovery of radioactivity ranged from 56% to 101% of the dose. Paclitaxel
 represented a mean of 5% of the administered radioactivity recovered in the feces, while metabolites, primarily
 6 -hydroxypaclitaxel, accounted for the balance. In vitro studies with human liver microsomes and tissue
 slices showed that paclitaxel was metabolized primarily to 6 -hydroxypaclitaxel by the cytochrome P450
 isozyme CYP2C8; and to two minor metabolites, 3'-p-hydroxypaclitaxel and 6 ,3'-p-dihydroxypaclitaxel, by
 CYP3A4. In vitro, the metabolism of paclitaxel to 6 -hydroxypaclitaxel was inhibited by a number of agents
 (ketoconazole, verapamil, diazepam, quinidine, dexamethasone, cyclosporin, teniposide, etoposide, and
 vincristine), but the concentrations used exceeded those found in vivo following normal therapeutic doses.
 Testosterone, 17 -ethinyl estradiol, retinoic acid, and quercetin, a specific inhibitor of CYP2C8, also inhibited
 the formation of 6 -hydroxypaclitaxel in vitro. The pharmacokinetics of paclitaxel may also be altered in vivo
 as a result of interactions with compounds that are substrates, inducers, or inhibitors of CYP2C8 and/or
 CYP3A4. (See PRECAUTIONS: Drug Interactions section.) The effect of renal or hepatic dysfunction on the
 disposition of paclitaxel has not been investigated.
         Possible interactions of paclitaxel with concomitantly administered medications have not been formally
 investigated.

 CLINICAL STUDIES
 Ovarian Carcinoma
 First-Line Data: The safety and efficacy of TAXOL followed by cisplatin in patients with advanced ovarian cancer
 and no prior chemotherapy were evaluated in two Phase 3 multicenter, randomized, controlled trials. In an
 Intergroup study led by the European Organization for Research and Treatment of Cancer involving the
 Scandinavian Group NOCOVA, the National Cancer Institute of Canada, and the Scottish Group, 680 patients
 with Stage II B-C, III, or IV disease (optimally or non-optimally debulked) received either TAXOL 175 mg/m2 infused
 over 3 hours followed by cisplatin 75 mg/m2 (Tc) or cyclophosphamide 750 mg/m 2 followed by cisplatin 75 mg/m2
 (Cc) for a median of six courses. Although the protocol allowed further therapy, only 15% received both drugs
 for 9 or more courses. In a study conducted by the Gynecological Oncology Group (GOG), 410 patients with
 Stage III or IV disease (>1 cm residual disease after staging laparotomy or distant metastases) received either



                                                         3
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 TAXOL 135 mg/m2 infused over 24 hours followed by cisplatin 75 mg/m2 or cyclophosphamide 750 mg/m2
 followed by cisplatin 75 mg/m2 for six courses.
         In both studies, patients treated with TAXOL in combination with cisplatin had significantly higher
 response rate, longer time to progression, and longer survival time compared with standard therapy. These
 differences were also significant for the subset of patients in the Intergroup study with non-optimally debulked
 disease, although the study was not fully powered for subset analyses (Tables 2A and 2B). Kaplan-Meier
 survival curves for each study are shown in Figures 1 and 2.


                                                    TABLE 2A
                            EFFICACY IN THE PHASE 3 FIRST-LINE OVARIAN CARCINOMA STUDIES
                                                      Intergroup                                       GOG-111
                                            (non-optimally debulked subset)
                                         T175/3 a                       C750a            T135/24 a                     C750a
                                           c75                           c75                c75                         c75
                                         (n=218)                       (n=227)            (n=196)                     (n=214)

        $ Clinical Responseb             (n=153)                         (n=153)         (n=113)                      (n=127)
          ---rate (percent)                58                              43              62                           48
          ---p-valuec                                     0.016                                            0.04

        $Time to Progression
         ---median (months)                13.2                            9.9             16.6                        13.0
         ---p-valuec                                     0.0060                                           0.0008
             ---hazard ratioc                              0.76                                            0.70
                                                       0.62 – 0.92                                      0.56 – 0.86
               ---95% CIc


        $ Survival
          ---median (months)               29.5                            21.9            35.5                        24.2
          ---p-valuec                                     0.0057                                          0.0002
             ---hazard ratioc                              0.73                                            0.64
                                                        0.58 – 0.91                                     0.50 – 0.81
               ---95% CIc
         a
             TAXOL dose in mg/m 2/infusion duration in hours; cyclophosphamide and cisplatin doses in mg/m 2.
         b
             Among patients with measurable disease only.
         c
             Unstratified for the Intergroup Study, Stratified for Study GOG-111.



                                               TABLE 2B
                 EFFICACY IN THE PHASE 3 FIRST-LINE OVARIAN CARCINOMA INTERGROUP STUDY

                                         T175/3 a                         C750a
                                           c75                             c75
                                         (n=342)                         (n=338)

        $ Clinical Responseb             (n=162)                         (n=161)
          ---rate (percent)                59                              45
          ---p-valuec                                     0.014

        $Time to Progression
         ---median (months)                15.3                            11.5
         ---p-valuec                                     0.0005
             ---hazard ratioc                              0.74
                                                       0.63 – 0.88
               ---95% CIc


        $ Survival
          ---median (months)               35.6                            25.9


                                                                  4
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           ---p-valuec                                                          0.0016
           ---hazard ratio   c                                                   0.73
                                                                              0.60 – 0.89
             ---95% CIc
       a
           TAXOL dose in mg/m 2/infusion duration in hours; cyclophosphamide and cisplatin doses in mg/m 2.
       b
           Among patients with measurable disease only.
       c
           Unstratified.



                                                                        FIGURE 1
                                                          SURVIVAL: Cc VERSUS Tc (INTERGROUP)




                                                         1                                              Cc              Tc
                                                                                      N                 338            342
                                                                                      No. events        220            183
                                                        0.8
                                 PROPORTION SURVIVING




                                                                                      HR (95% CI)        0.73 (0.60-0.89)


                                                        0.6
                                                                       Cc                                      Tc
                                                        0.4


                                                        0.2
                                                                                     NumberatRisk
                                                                  Tc    292          219        122              0
                                                                  Cc    266          178         94              4
                                                         0

                                                              0         1             2             3               4        5
                                                                                          YEARS




                                                                             FIGURE 2
                                                                  SURVIVAL: Cc VERSUS Tc (GOG-111)




                                                                                          5
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                                             1                                     Cc              Tc
                                                                 N                 214            196

                    PROPORTION SURVIVING
                                                                 No. events        152            114
                                           0.8                   HR (95% CI)         0.64 (0.50-0.81)


                                           0.6
                                                          Cc                              Tc

                                           0.4


                                           0.2
                                                                 Number at Risk
                                                     Tc    168   128          73            17
                                                     Cc    162   106          52             7
                                             0
                                                 0         1     2             3               4        5
                                                                     YEARS




                                                                     6
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          The adverse event profile for patients receiving TAXOL in combination with cisplatin in these studies
  was qualitatively consistent with that seen for the pooled analysis of data from 812 patients treated with single-
 agent TAXOL in 10 clinical studies. These adverse events and adverse events from the Phase 3 first-line ovarian
 carcinoma studies are described in the ADVERSE REACTIONS section in tabular (Tables 9 and 10) and
 narrative form.
          Second-Line Data: Data from five Phase 1 & 2 clinical studies (189 patients), a multicenter randomized
 Phase 3 study (407 patients), as well as an interim analysis of data from more than 300 patients enrolled in a
 treatment referral center program were used in support of the use of TAXOL in patients who have failed initial
 or subsequent chemotherapy for metastatic carcinoma of the ovary. Two of the Phase 2 studies (92 patients)
 utilized an initial dose of 135 to 170 mg/m2 in most patients (>90%) administered over 24 hours by continuous
 infusion. Response rates in these two studies were 22% (95% Cl:11 to 37%) and 30% (95% Cl: 18 to 46%)
 with a total of 6 complete and 18 partial responses in 92 patients. The median duration of overall response in
 these two studies measured from the first day of treatment was 7.2 months (range: 3.5-15.8 months) and 7.5
 months (range: 5.3-17.4 months), respectively. The median survival was 8.1 months (range: 0.2-36.7 months)
 and 15.9 months (range: 1.8-34.5 + months).
          The Phase 3 study had a bifactorial design and compared the efficacy and safety of TAXOL (paclitaxel),
 administered at two different doses (135 or 175 mg/m2) and schedules (3- or 24-hour infusion). The overall
 response rate for the 407 patients was 16.2% (95% Cl: 12.8 to 20.2%), with 6 complete and 60 partial
 responses. Duration of response, measured from the first day of treatment was 8.3 months (range: 3.2-21.6
 months). Median time to progression was 3.7 months (range 0.1+ - 25.1+ months). Median survival was 11.5
 months (range: 0.2-26.3 + months).




                                                         7
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            Response rates, median survival and median time to progression for the 4 arms are given in the
 following table.
                                                     TABLE 3
                    EFFICACY IN THE PHASE 3 SECOND-LINE OVARIAN CARCINOMA STUDY
                                    175/3             175/24                 135/3                135/24
                                    (n=96)            (n=106)                (n=99)               (n=106)

  $     Response
      ---rate (percent)               14.6              21.7                  15.2                  13.2
      ---95% Confidence Interval   (8.5-23.6)        (14.5-31.0)           (9.0-24.1)            (7.7-21.5)


  $     Time to Progression
      ---median (months)              4.4                4.2                   3.4                   2.8
      ---95% Confidence Interval   (3.0-5.6)          (3.5-5.1)             (2.8-4.2)             (1.9-4.0)


  $      Survival
      ---median (months)              11.5              11.8                  13.1                  10.7
      ---95% Confidence Interval   (8.4-14.4)        (8.9-14.6)            (9.1-14.6)            (8.1-13.6)




            Analyses were performed as planned by the bifactorial study design described in the protocol, by
 comparing the two doses (135 or 175 mg/m2) irrespective of the schedule (3 or 24 hours) and the two schedules
 irrespective of dose. Patients receiving the 175 mg/m2 dose had a response rate similar to that for those
 receiving the 135 mg/m2 dose: 18% vs. 14% (p=0.28). No difference in response rate was detected when
 comparing the 3-hour with the 24-hour infusion: 15% vs. 17% (p=0.50). Patients receiving the 175 mg/m2 dose
 of TAXOL had a longer time to progression than those receiving the 135 mg/m2 dose: median 4.2 vs. 3.1 months
 (p=0.03).    The median time to progression for patients receiving the 3-hour vs. the 24-hour infusion was 4.0
 months vs. 3.7 months, respectively. Median survival was 11.6 months in patients receiving the 175 mg/m2 dose
 of TAXOL and 11.0 months in patients receiving the 135 mg/m2 dose (p=0.92). Median survival was 11.7 months
 for patients receiving the 3-hour infusion of TAXOL and 11.2 months for patients receiving the 24-hour infusion
 (p=0.91). These statistical analyses should be viewed with caution because of the multiple comparisons made.
            TAXOL remained active in patients who had developed resistance to platinum-containing therapy
 (defined as tumor progression while on, or tumor relapse within 6 months from completion of, a platinum
 containing regimen) with response rates of 14% in the Phase 3 study and 31% in the Phase 1 & 2 clinical
 studies.
            The adverse event profile in this Phase 3 study was consistent with that seen for the pooled analysis
 of data from 812 patients treated in 10 clinical studies. These adverse events and adverse events from the
 Phase 3 second-line ovarian carcinoma study are described in the ADVERSE REACTIONS section in tabular
 (Tables 9 and 11) and narrative form.
            The results of this randomized study support the use of TAXOL at doses of 135 to 175 mg/m2,


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 administered by a 3-hour intravenous infusion. The same doses administered by 24-hour infusion were more
 toxic. However, the study had insufficient power to determine whether a particular dose and schedule produced
 superior efficacy.
 Breast Carcinoma
 Adjuvant Therapy
 A Phase 3 intergroup study (Cancer and Leukemia Group B [CALGB], Eastern Cooperative Oncology Group
 [ECOG], North Central Cancer Treatment Group [NCCTG], and Southwest Oncology Group [SWOG])
 randomized 3170 patients with node-positive breast carcinoma to adjuvant therapy with TAXOL or to no further
 chemotherapy following four courses of doxorubicin and cyclophosphamide (AC) . This multicenter trial was
 conducted in women with histologically positive lymph nodes following either a mastectomy or segmental
 mastectomy and nodal dissections. The 3 x 2 factorial study was designed to assess the efficacy and safety
 of three different dose levels of doxorubicin (A) and to evaluate the effect of the addition of TAXOL administered
 following the completion of AC therapy. After stratification for the number of positive lymph nodes (1-3, 4-9, or
 10+), patients were randomized to receive cyclophosphamide at a dose of 600 mg/m2 and doxorubicin at doses
 of either 60 mg/m2 (on day 1), 75 mg/m2 (in two divided doses on days 1 and 2), or 90 mg/m2 (in two divided
 doses on days 1 and 2 with prophylactic G-CSF support and ciprofloxacin) every 3 weeks for four courses and
 either TAXOL 175 mg/m2 as a 3-hour infusion every 3 weeks for four additional courses or no additional
 chemotherapy. Patients whose tumors were positive were to receive subsequent tamoxifen treatment (20 mg
 daily for 5 years); patients who received segmental mastectomies prior to study were to receive breast irradiation
 after recovery from treatment-related toxicities.
          At the time of the current analysis, median follow-up was 30.1 months. Of the 2066 patients who were
 hormone receptor positive, 93% received tamoxifen. The primary analyses of disease-free survival and overall
 survival used multivariate Cox models, which included TAXOL administration, doxorubicin dose, number of
 positive lymph nodes, tumor size, menopausal status, and estrogen receptor status as factors. Based on the
 model for disease-free survival, patients receiving AC followed by TAXOL had a 22% reduction
 in the risk of disease recurrence compared to patients randomized to AC alone (Hazard Ratio[HR] = 0.78, 95%
 CI 0.67-0.91, p=0.0022). They also had a 26% reduction in the risk of death (HR=0.74, 95% CI 0.60-0.92,
 p=0.0065). For disease-free survival and overall survival, p values were not adjusted for interim analyses.
 Kaplan-Meier curves are shown in Figures 3 and 4. Increasing the dose of doxorubicin higher than 60 mg/m2
 had no effect on either disease-free survival or overall survival.




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                                                             FIGURE 3
                                              DISEASE-FREE SURVIVAL: AC VERSUS AC + T


                                1
     PROPORTION DISEASE FREE




                                                                                      AC+T
                               0.8
                                                                  AC

                               0.6                           AC           AC+T

                                                N            1551         1570
                                                No. events    341          283
                               0.4              HR
                                                (95% CI)
                                                                     0.78
                                                                  (0.67-0.91)

                                                              Number at Risk
                               0.2       AC+T       1471      876               332          21

                                         AC         1401      819               321          10
                                0
                                     0              1         2                 3            4
                                                             YEARS
                                                          FIGURE 4
                                                 SURVIVAL: AC VERSUS AC + T




                                                                  10
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                                1


                               0.8
        PROPORTION SURVIVING




                               0.6


                               0.4


                               0.2


                                0
                                     0             1        2                  3          4
                                                           YEARS


                                                                                AC+T
 Subset analyses. Subsets defined by variables of known prognostic importance in adjuvant breast carcinoma
 were examined, including number of positive lymph
                                                 ACnodes, tumor size, hormone receptor status, and


                                                              AC              AC+T
                                              N              1551             1570
                                              No. events      192              150
                                              HR                    0.74
                                              (95% CI)          (0.60-0.92)


                                                            Number at Risk

                                         AC+T      1534    1016               426         35

                                         AC        1496     962               410         25


 menopausal status. Such analyses must be interpreted with care, as the most secure finding is the overall
 study result. In general, a reduction in hazard similar to the overall reduction was seen with TAXOL for both
 disease-free and overall survival in all of the larger subsets with one exception; patients with receptor-positive
 tumors had smaller reduction in hazard (HR=0.92) for disease-free survival with TAXOL than other groups.
 Results of subset analyses are shown in Table 4.


                                                            11
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                                       12
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                                                      TABLE 4
                               SUBSET ANALYSES -- ADJUVANT BREAST CARCINOMA STUDY
                                                             Disease-Free Survival                   Overall Survival
                                          No. of         No. of          Hazard Ratio         No. of              Hazard Ratio
          Patient Subset                 Patients      Recurrences         (95% CI)           Deaths                (95% CI)
 • No. of Positive Nodes
     1-3                                  1449             221                 0.72            107                   0.76
                                                                           (0.55-0.94)                            (0.52-1.12)
        4-9                               1310             274                 0.78            148                   0.66
                                                                            (0.61-0.99                            (0.47-0.91)
        10+                                360             129                 0.93             87                   0.90
                                                                           (0.66.1.31)                            (0.59-1.36)
 •• Tumor Size (cm)
      ≤2                                  1096             153                0.79              67                   0.73
                                                                           (0.57-1.08)                            (0.45-1.18)
     > 2 and ≤ 5                          1611             358                0.79             201                   0.74
                                                                           (0.64-0.97)                            (0.56-0.98)
        >5                                 397             111                0.75              72                   0.73
                                                                           (0.51-1.08)                            (0.46-1.16)

 •• Menopausal Status
     Pre                                  1929             374                0.83             187                   0.72
                                                                           (0.67-1.01)                            (0.54-0.97)
        Post                              1183             250                0.73             155                   0.77
                                                                           (0.57-0.93)                            (0.56-1.06)
 •• Receptor Status
      Positivea                           2066             293                0.92              67                   0.83
                                                                           (0.73-1.16)                            (0.59-1.18)
        Negative/Unknown b                1055             331                0.68             216                   0.71
                                                                           (0.55-0.85)                            (0.54-0.93)
 a
     Positive for either estrogen or progesterone receptors.
 b
     Negative or missing for both estrogen and progesterone receptors (both missing: n=15).




               These retrospective subgroup analyses suggest that the beneficial effect of TAXOL is clearly
 established in the receptor-negative subgroup, but the benefit in receptor-positive patients is not yet clear. With
 respect to menopausal status, the benefit of TAXOL is consistent (see Table 4 and Figures 5-8).




                                                                    13
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                                           FIGURE 5
                 DISEASE-FREE SURVIVAL - RECEPTOR STATUS NEGATIVE/UNKNOWN
                                      AC VERSUS AC+T



                                         1


                                        0.8                             AC+T
              PROPORTION DISEASE FREE




                                                         AC
                                        0.6
                                                                AC       AC+T
                                                  N             533       522
                                        0.4       No. events    192       139
                                                  HR                 0.68
                                                  (95% CI)        (0.55-0.85)
                                        0.2                    Number at Risk
                                                  AC+T   469    259       106   4
                                                  AC     440    242        90   4
                                         0
                                              0           1      2        3     4
                                                                YEARS




                                                                14
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                                                      FIGURE 6
                                  DISEASE-FREE SURVIVAL - RECEPTOR STATUS POSITIVE
                                                  AC VERSUS AC+T



                                 1
                                                                         AC+T
                                                     AC
                                0.8
      PROPORTION DISEASE FREE




                                0.6                             AC        AC+T
                                             N                 1018       1048
                                             No. events         149        144
                                0.4          HR                       0.92
                                             (95% CI)             (0.73-1.16)

                                0.2                   Number at Risk
                                      AC+T    1002     617       226             17
                                      AC       961     577       231              6
                                 0
                                      0         1          2             3       4
                                                          YEARS




                                                                    15
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                                                               FIGURE 7
                                                DISEASE-FREE SURVIVAL - PREMENOPAUSAL
                                                           AC VERSUS AC+T


                                       1
                                                                             AC+T
                                      0.8
            PROPORTION DISEASE FREE




                                                        AC


                                      0.6                              AC      AC+T
                                                    N                  966      963
                                                    No. events         201      173
                                      0.4           HR                     0.83
                                                    (95% CI)            (0.67-1.01)

                                      0.2                        Number at Risk
                                                AC+T    905       570       221         13
                                                AC      883       529       224          4
                                       0
                                            0            1         2           3        4
                                                                  YEARS




                                                                       16
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                                                           FIGURE 8
                                           DISEASE-FREE SURVIVAL - POSTMENOPAUSAL
                                                       AC VERSUS AC+T


                                  1
                                                                  AC+T

                                 0.8              AC
       PROPORTION DISEASE FREE




                                 0.6                              AC      AC+T
                                               N                  580      603
                                               No. events         140      110
                                 0.4           HR                     0.73
                                               (95% CI)            (0.57-0.93)
                                 0.2                        Number at Risk
                                           AC+T    562       304       111          8
                                           AC      514       289        97          6
                                  0
                                       0           1          2            3        4
                                                             YEARS




                                                                         17
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  The adverse event profile for the patients who received TAXOL subsequent to AC was consistent with that seen
  in the pooled analysis of data from 812 patients (Table 9) treated with single-agent TAXOL in 10 clinical studies.
  These adverse events are described in the ADVERSE REACTIONS section in tabular (Tables 9 and 12) and
  narrative form.
  After Failure of Initial Chemotherapy
  Data from 83 patients accrued in three Phase 2 open label studies and from 471 patients enrolled in a Phase
  3 randomized study were available to support the use of TAXOL in patients with metastatic breast carcinoma.
  Phase 2 open label studies: Two studies were conducted in 53 patients previously treated with a maximum of
  one prior chemotherapeutic regimen. TAXOL was administered in these two trials as a 24-hour infusion at initial
  doses of 250 mg/m2 (with G-CSF support) or 200 mg/m2. The response rates were 57% (95% Cl: 37 to 75%)
  and 52% (95% Cl: 32 to 72%), respectively. The third Phase 2 study was conducted in extensively pretreated
  patients who had failed anthracycline therapy and who had received a minimum of two chemotherapy regimens
  for the treatment of metastatic disease. The dose of TAXOL was 200 mg/m2 as a 24-hour infusion with G-CSF
  support. Nine of 30 patients achieved a partial response, for a response rate of 30% (95% Cl: 15 to 50%).
  Phase 3 randomized study: This multicenter trial was conducted in patients previously treated with one or two
  regimens of chemotherapy. Patients were randomized to receive TAXOL (paclitaxel) at a dose of either 175
  mg/m2 or 135 mg/m2 given as a 3-hour infusion. In the 471 patients enrolled, 60% had symptomatic disease
  with impaired performance status at study entry, and 73% had visceral metastases. These patients had failed
  prior chemotherapy either in the adjuvant setting (30%), the metastatic setting (39%), or both (31%). Sixty-
  seven percent of the patients had been previously exposed to anthracyclines and 23% of them had disease
  considered resistant to this class of agents.
          The overall response rate for the 454 evaluable patients was 26% (95% Cl: 22 to 30%), with 17
  complete and 99 partial responses. The median duration of response, measured from the first day of treatment,
  was 8.1 months (range: 3.4-18.1 + months). Overall for the 471 patients, the median time to progression was
  3.5 months (range: 0.03-17.1 months). Median survival was 11.7 months (range: 0-18.9 months).




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           Response rates, median survival and median time to progression for the 2 arms are given in the
  following table.
                                                     TABLE 5
               EFFICACY IN BREAST CANCER AFTER FAILURE OF INITIAL CHEMOTHERAPY
                        OR WITHIN 6 MONTHS OF ADJUVANT CHEMOTHERAPY
                                                                175/3                   135/3
                                                               (n=235)                 (n=236)

                $     Response
                     ---rate (percent)                           28                      22
                     ---p-value                                               0.135

                $     Time to Progression
                     ---median (months)                         4.2                     3.0
                     ---p-value                                               0.027

                $     Survival
                     ---median (months)                         11.7                    10.5
                     ---p-value                                               0.321




           The adverse event profile of the patients who received single-agent TAXOL in the Phase 3 study was
  consistent with that seen for the pooled analysis of data from 812 patients treated in 10 clinical studies. These
  adverse events and adverse events from the Phase 3 breast carcinoma study are described in the ADVERSE
  REACTIONS section in tabular (Tables 9 and 13) and narrative form.
  Non-Small Cell Lung Carcinoma (NSCLC)
  In a Phase 3 open label randomized study conducted by the ECOG, 599 patients were randomized to either
  TAXOL (T) 135 mg/m2 as a 24-hour infusion in combination with cisplatin (c) 75 mg/m2, TAXOL (T) 250 mg/m2
  as a 24-hour infusion in combination with cisplatin (c) 75 mg/m2 with G-CSF support, or cisplatin (c) 75 mg/m2
  on day 1, followed by etoposide (VP) 100 mg/m2 on days 1, 2, and 3 (control).
           Response rates, median time to progression, median survival, and one-year survival rates are given in
  the following table. The reported p-values have not been adjusted for multiple comparisons. There were
  statistically significant differences favoring each of the TAXOL plus cisplatin arms for response rate and time
  to tumor progression. There was no statistically significant difference in survival between either TAXOL plus
  cisplatin arm and the cisplatin plus etoposide arm.




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                                                   TABLE 6
                       EFFICACY PARAMETERS IN THE PHASE 3 FIRST-LINE NSCLC STUDY
                                                         T135/24                   T250/24    VP100 a
                                                           c75                       c75        c75
                                                         (n=198)                   (n=201)    (n=200)

         $ Response
           ---rate (percent)                                  25                      23         12
           ---p-valueb                                      0.001                   <0.001

         $ Time to Progression
           ---median (months)                                4.3                      4.9       2.7
           ---p-valueb                                      0.05                     0.004

         $ Survival
           ---median (months)                                9.3                     10.0       7.4
           ---p-valueb                                      0.12                     0.08

         $ One-Year Survival
           ---percent of patients                            36                       40         32
           a                           2
               Etoposide (VP) 100 mg/m was administered IV on days 1, 2, and 3.
           b
               Compared to cisplatin/etoposide.



           In the ECOG study, the Functional Assessment of Cancer Therapy-Lung (FACT-L) questionnaire had
  seven subscales that measured subjective assessment of treatment. Of the seven, the Lung Cancer Specific
  Symptoms subscale favored the TAXOL 135 mg/m2/24 hour plus cisplatin arm compared to the
  cisplatin/etoposide arm. For all other factors, there was no difference in the treatment groups.
           The adverse event profile for patients who received TAXOL in combination with cisplatin in this study
  was generally consistent with that seen for the pooled analysis of data from 812 patients treated with single-
  agent TAXOL in 10 clinical studies. These adverse events and adverse events from the Phase 3 first-line NSCLC
  study are described in the ADVERSE REACTIONS section in tabular (Tables 9 and 14) and narrative form.
  AIDS-Related Kaposi's Sarcoma
  Data from two Phase 2 open label studies support the use of TAXOL as second-line therapy in patients with
  AIDS-related Kaposi=s sarcoma. Fifty-nine of the 85 patients enrolled in these studies had previously received
  systemic therapy, including interferon alpha (32%), DaunoXome7 (31%), DOXIL7 (2%), and doxorubicin
  containing chemotherapy (42%), with 64% having received prior anthracyclines. Eighty-five percent of the
  pretreated patients had progressed on, or could not tolerate, prior systemic therapy.
           In Study CA139-174 patients received TAXOL at 135 mg/m2 as a 3-hour infusion every 3 weeks
  (intended dose intensity 45 mg/m2/week). If no dose-limiting toxicity was observed, patients were to receive 155
  mg/m2 and 175 mg/ m2 in subsequent courses. Hematopoietic growth factors were not to be used initially. In
  Study CA139-281 patients received TAXOL at 100 mg/m2 as a 3-hour infusion every 2 weeks (intended


  _____________________________________
  DaunoXome7 is a registered trademark of NeXstar Pharmaceuticals, Incorporated.
  DOXIL7 is a registered trademark of Sequus Pharmaceuticals, Incorporated.




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  dose intensity 50 mg/m2/week). In this study patients could be receiving hematopoietic growth factors before
  the start of TAXOL therapy, or this support was to be initiated as indicated; the dose of TAXOL was not
  increased. The dose intensity of TAXOL used in this patient population was lower than the dose intensity
  recommended for other solid tumors.
          All patients had widespread and poor risk disease. Applying the ACTG staging criteria to patients with
  prior systemic therapy, 93% were poor risk for extent of disease (T1), 88% had a CD4 count <200 cells/mm3
  (I1), and 97% had poor risk considering their systemic illness (S 1).
          All patients in Study CA139-174 had a Karnofsky performance status of 80 or 90 at baseline; in Study
  CA139-281, there were 26 (46%) patients with a Karnofsky performance status of 70 or worse at baseline.
                                                    TABLE 7
                                       EXTENT OF DISEASE AT STUDY ENTRY
                                                                  Percent of Patients

                                                                Prior Systemic Therapy
                                                                        (n=59)

                Visceral + edema + oral + cutaneous                       42
                Edema or lymph nodes
                    oral + cutaneous                                      41
                Oral + cutaneous                                          10
                Cutaneous Only                                             7




          Although the planned dose intensity in the two studies was slightly different (45 mg/m2/week in Study
  CA139-174 and 50 mg/m2/week in Study CA139-281), delivered dose intensity was 38-39 mg/m2/week in both
  studies, with a similar range (20-24 to 51-61).
          Efficacy: The efficacy of TAXOL was evaluated by assessing cutaneous tumor response according to
  the amended ACTG criteria and by seeking evidence of clinical benefit in patients in six domains of symptoms
  and/or conditions that are commonly related to AIDS-related Kaposi=s sarcoma.
          Cutaneous Tumor Response (Amended ACTG Criteria): The objective response rate was 59% (95%
  CI: 46% to 72%) (35 of 59 patients) in patients with prior systemic therapy. Cutaneous responses were
  primarily defined as flattening of more than 50% of previously raised lesions.
                                                          TABLE 8
                           OVERALL BEST RESPONSE (AMENDED ACTG CRITERIA)
                                                                 Percent of Patients

                                                               Prior Systemic Therapy
                                                                          (n=59)

                       Complete response                                    3
                       Partial response                                    56
                       Stable disease                                      29
                       Progression                                           8
                       Early death/toxicity                                  3




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          The median time to response was 8.1 weeks and the median duration of response measured from the
  first day of treatment was 10.4 months (95% CI: 7.0 to 11.0 months) for the patients who had previously received
  systemic therapy. The median time to progression was 6.2 months (95% CI: 4.6 to 8.7 months).
          Additional Clinical Benefit: Most data on patient benefit were assessed retrospectively (plans for such
  analyses were not included in the study protocols). Nonetheless, clinical descriptions and photographs
  indicated clear benefit in some patients, including instances of improved pulmonary function in patients with
  pulmonary involvement, improved ambulation, resolution of ulcers, and decreased analgesic requirements in
  patients with KS involving the feet and resolution of facial lesions and edema in patients with KS involving the
  face, extremities, and genitalia.
          Safety: The adverse event profile of TAXOL administered to patients with advanced HIV disease and
  poor-risk AIDS-related Kaposi=s sarcoma was generally similar to that seen in the pooled analysis of data from
  812 patients with solid tumors. These adverse events and adverse events from the Phase 2 second-line
  Kaposi=s sarcoma studies are described in the ADVERSE REACTIONS section in tabular (Tables 9 and 15) and
  narrative form. In this immunosuppressed patient population, however, a lower dose intensity of TAXOL and
  supportive therapy including hematopoietic growth factors in patients with severe neutropenia are recommended.
  Patients with AIDS-related Kaposi=s sarcoma may have more severe hematologic toxicities than patients with
  solid tumors.

  INDICATIONS
  TAXOL is indicated as first-line and subsequent therapy for the treatment of advanced carcinoma of the ovary.
  As first-line therapy, TAXOL is indicated in combination with cisplatin.
          TAXOL is indicated for the adjuvant treatment of node-positive breast cancer administered sequentially
  to standard doxorubicin-containing combination chemotherapy. In the clinical trial, there was an overall favorable
  effect on disease-free and overall survival in the total population of patients with receptor-positive and receptor-
  negative tumors, but the benefit has been specifically demonstrated by available data (median follow-up 30
  months) only in the patients with estrogen and progesterone receptor negative tumors. (See CLINICAL
  STUDIES: Breast Carcinoma section.)
          TAXOL is indicated for the treatment of breast cancer after failure of combination chemotherapy for
  metastatic disease or relapse within 6 months of adjuvant chemotherapy. Prior therapy should have included
  an anthracycline unless clinically contraindicated.
          TAXOL, in combination with cisplatin, is indicated for the first-line treatment of non-small cell lung
  cancer in patients who are not candidates for potentially curative surgery and/or radiation therapy.
          TAXOL is indicated for the second-line treatment of AIDS-related Kaposi=s sarcoma.

  CONTRAINDICATIONS
  TAXOL is contraindicated in patients who have a history of hypersensitivity reactions to TAXOL or other drugs
  formulated in Cremophor7 EL (polyoxyethylated castor oil).


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          TAXOL should not be used in patients with solid tumors who have baseline neutrophil counts of <1500
  cells/mm3 or in patients with AIDS-related Kaposi=s sarcoma with baseline neutrophil counts of <1000
  cells/mm3.
  WARNINGS
  Anaphylaxis and severe hypersensitivity reactions characterized by dyspnea and hypotension requiring
  treatment, angioedema, and generalized urticaria have occurred in 2-4% of patients receiving TAXOL in clinical
  trials. Fatal reactions have occurred in patients despite premedication. All patients should be pretreated with
  corticosteroids, diphenhydramine, and H2 antagonists. (See DOSAGE AND ADMINISTRATION section.)
  Patients who experience severe hypersensitivity reactions to TAXOL should not be rechallenged with the drug.
          Bone marrow suppression (primarily neutropenia) is dose-dependent and is the dose-limiting toxicity.
  Neutrophil nadirs occurred at a median of 11 days. TAXOL should not be administered to patients with baseline
  neutrophil counts of less than 1500 cells/mm3 (<1000 cells/mm3 for patients with KS). Frequent monitoring of
  blood counts should be instituted during TAXOL treatment. Patients should not be re-treated
  with subsequent cycles of TAXOL until neutrophils recover to a level >1500 cells/mm3 (>1000 cells/mm3 for
  patients with KS) and platelets recover to a level >100,000 cells/mm3.
          Severe conduction abnormalities have been documented in <1% of patients during TAXOL therapy and
  in some cases requiring pacemaker placement. If patients develop significant conduction abnormalities during
  TAXOL infusion, appropriate therapy should be administered and continuous cardiac monitoring should be
  performed during subsequent therapy with TAXOL.
  Pregnancy
  TAXOL can cause fetal harm when administered to a pregnant woman. Administration of paclitaxel during the
  period of organogenesis to rabbits at doses of 3.0 mg/kg/day (about 0.2 the daily maximum recommended
  human dose on a mg/m2 basis) caused embryo- and fetotoxicity, as indicated by intrauterine mortality,
  increased resorptions and increased fetal deaths. Maternal toxicity was also observed at this dose. No
  teratogenic effects were observed at 1.0 mg/kg/day (about 1/15 the daily maximum recommended human dose
  on a mg/m2 basis); teratogenic potential could not be assessed at higher doses due to extensive fetal mortality.
          There are no adequate and well-controlled studies in pregnant women. If TAXOL is used during
  pregnancy, or if the patient becomes pregnant while receiving this drug, the patient should be apprised of the
  potential hazard to the fetus. Women of childbearing potential should be advised to avoid becoming pregnant.

  PRECAUTIONS
  Contact of the undiluted concentrate with plasticized polyvinyl chloride (PVC) equipment or devices used to
  prepare solutions for infusion is not recommended. In order to minimize patient exposure to the plasticizer
  DEHP [di-(2-ethylhexyl)phthalate], which may be leached from PVC infusion bags or sets, diluted TAXOL
  solutions should preferably be stored in bottles (glass, polypropylene) or plastic bags (polypropylene, polyolefin)
  and administered through polyethylene-lined administration sets.


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            TAXOL should be administered through an in-line filter with a microporous membrane not greater than
  0.22 microns. Use of filter devices such as IVEX-27 filters which incorporate short inlet and outlet PVC-coated
  tubing has not resulted in significant leaching of DEHP.
  Drug Interactions: In a Phase 1 trial using escalating doses of TAXOL (110-200 mg/m2) and cisplatin (50 or
  75 mg/m2) given as sequential infusions, myelosuppression was more profound when TAXOL was given after
  cisplatin than with the alternate sequence (i.e. TAXOL before cisplatin). Pharmacokinetic data from these
  patients demonstrated a decrease in paclitaxel clearance of approximately 33% when TAXOL was administered
  following cisplatin.
            The metabolism of TAXOL is catalyzed by cytochrome P450 isoenzymes CYP2C8 and CYP3A4. In
  the absence of formal clinical drug interaction studies, caution should be exercised when administering TAXOL
  concomitantly with known substrates or inhibitors of the cytochrome P450 isoenzymes CYP2C8 and CYP3A4.
  (See CLINICAL PHARMACOLOGY section.)
            Potential interactions between TAXOL, a substrate of CYP3A4 and protease inhibitors (ritonavir,
  saquinavir, indinavir, and nelfinavir), which are substrates and/or inhibitors of CYP3A4 have not been evaluated
  in clinical trials.
            Reports in the literature suggest that plasma levels of doxorubicin (and its active metabolite
  doxorubicinol) may be increased when paclitaxel and doxorubicin are used in combination.
  Hematology: TAXOL therapy should not be administered to patients with baseline neutrophil counts of less
  than 1500 cells/mm3. In order to monitor the occurrence of myelotoxicity, it is recommended that frequent
  peripheral blood cell counts be performed on all patients receiving TAXOL. Patients should not be re-treated
  with subsequent cycles of TAXOL until neutrophils recover to a level >1500 cells/mm 3 and platelets recover to
  a level >100,000 cells/mm3. In the case of severe neutropenia (<500 cells/mm3 for seven days or more)
  during a course of TAXOL therapy, a 20% reduction in dose               for subsequent courses of therapy is
  recommended.
            For patients with advanced HIV disease and poor-risk AIDS-related Kaposi=s sarcoma, TAXOL, at the
  recommended dose for this disease, can be initiated and repeated if the neutrophil count is at least 1000
  cells/mm3.
  Hypersensitivity Reactions: Patients with a history of severe hypersensitivity reactions to products containing
  Cremophor7 EL (e.g. cyclosporin for injection concentrate and teniposide for injection concentrate) should not
  be treated with TAXOL. In order to avoid the occurrence of severe hypersensitivity reactions, all patients treated
  with TAXOL should be premedicated with corticosteroids (such as dexamethasone), diphenhydramine and H2
  antagonists (such as cimetidine or ranitidine). Minor symptoms such as flushing, skin reactions, dyspnea,
  hypotension or tachycardia do not require interruption of therapy.        However, severe reactions, such as
  hypotension requiring treatment, dyspnea requiring bronchodilators, angioedema or generalized urticaria require
  immediate discontinuation of TAXOL and aggressive symptomatic therapy. Patients who have developed severe



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  hypersensitivity reactions should not be rechallenged with TAXOL.
  Cardiovascular: Hypotension, bradycardia, and hypertension have been observed during administration of
  TAXOL, but generally do not require treatment.          Occasionally TAXOL infusions must be interrupted or
  discontinued because of initial or recurrent hypertension. Frequent vital sign monitoring, particularly during
  the first hour of TAXOL infusion, is recommended. Continuous cardiac monitoring is not required except for
  patients with serious conduction abnormalities. (See WARNINGS section.)
  Nervous System: Although the occurrence of peripheral neuropathy is frequent, the development of severe
  symptomatology is unusual and requires a dose reduction of 20% for all subsequent courses of TAXOL.
           TAXOL contains dehydrated alcohol USP, 396 mg/mL; consideration should be given to possible CNS
  and other effects of alcohol. (See PRECAUTIONS: Pediatric Use section.)
  Hepatic: There is evidence that the toxicity of TAXOL is enhanced in patients with elevated liver enzymes.
  Caution should be exercised when administering TAXOL to patients with moderate to severe hepatic impairment
  and dose adjustments should be considered.
  Injection Site Reaction: Injection site reactions, including reactions secondary to extravasation, were usually
  mild and consisted of erythema, tenderness, skin discoloration, or swelling at the injection site. These
  reactions have been observed more frequently with the 24-hour infusion than with the 3-hour infusion.
  Recurrence of skin reactions at a site of previous extravasation following administration of TAXOL at a different
  site, i.e., Arecall@, has been reported rarely.
           Rare reports of more severe events such as phlebitis, cellulitis, induration, skin exfoliation, necrosis and
  fibrosis have been received as part of the continuing surveillance of TAXOL safety. In some cases the onset of
  the injection site reaction either occurred during a prolonged infusion or was delayed by a week to ten days.
           A specific treatment for extravasation reactions is unknown at this time. Given the possibility of
  extravasation, it is advisable to closely monitor the infusion site for possible infiltration during drug
  administration.
  Carcinogenesis, Mutagenesis, Impairment of Fertility: The carcinogenic potential of TAXOL (paclitaxel) has
  not been studied.
           Paclitaxel has been shown to be clastogenic in vitro (chromosome aberrations in human lymphocytes)
  and in vivo (micronucleus test in mice). Paclitaxel was not mutagenic in the Ames test or the CHO/HGPRT
  gene mutation assay.
           Administration of paclitaxel prior to and during mating produced impairment of fertility in male and
  female rats at doses equal to or greater than 1 mg/kg/day (about 0.04 the daily maximum recommended
  human dose on a mg/m2 basis). At this dose, paclitaxel caused reduced fertility and reproductive indices, and
  increased embryo- and fetotoxicity. (See WARNINGS section.)
  Pregnancy: Pregnancy ACategory D.@ (See WARNINGS section.)




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  Nursing Mothers: It is not known whether the drug is excreted in human milk. Following intravenous
  administration of carbon-14 labeled TAXOL to rats on days 9 to 10 postpartum, concentrations of radioactivity
  in milk were higher than in plasma and declined in parallel with the plasma concentrations. Because many
  drugs are excreted in human milk and because of the potential for serious adverse reactions in nursing infants,
  it is recommended that nursing be discontinued when receiving TAXOL therapy.
  Pediatric Use: The safety and effectiveness of TAXOL in pediatric patients have not been established.
          There have been reports of central nervous system (CNS) toxicity (rarely associated with death) in a
  clinical trial in pediatric patients in which TAXOL was infused intravenously over 3 hours at doses ranging from
  350 mg/m2 to 420 mg/m2. The toxicity is most likely attributable to the high dose of the ethanol component
  of the TAXOL vehicle given over a short infusion time. The use of concomitant antihistamines may intensify this
  effect. Although a direct effect of the paclitaxel itself cannot be discounted, the high doses
  used in this study (over twice the recommended adult dosage) must be considered in assessing the safety of
  TAXOL for use in this population.

  ADVERSE REACTIONS
  Pooled Analysis of Adverse Event Experiences from Single-Agent Studies
  Data in the following table are based on the experience of 812 patients (493 with ovarian carcinoma and 319 with
  breast carcinoma) enrolled in 10 studies who received single-agent TAXOL. Two hundred and seventy-five
  patients were treated in eight Phase 2 studies with TAXOL doses ranging from 135 to 300 mg/m2 administered
  over 24 hours (in four of these studies, G-CSF was administered as hematopoietic support). Three hundred
  and one patients were treated in the randomized Phase 3 ovarian carcinoma study which compared two doses
  (135 or 175 mg/m2) and two schedules (3 or 24 hours) of TAXOL. Two hundred and
  thirty-six patients with breast carcinoma received TAXOL (135 or 175 mg/m2) administered over 3 hours in a
  controlled study.




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                                            TABLE 9
                  SUMMARY a OF ADVERSE EVENTS IN PATIENTS WITH SOLID TUMORS
                                 RECEIVING SINGLE-AGENT TAXOL
                                                                                 Percent of Patients
                                                                                      (n=812)

                   $ Bone Marrow
                     ---Neutropenia           <2000/mm3                                  90
                                               < 500/mm 3                                52
                          ---Leukopenia        <4000/mm3                                 90
                                                <1000/mm 3                               17
                          ---Thrombocytopenia       <100,000/mm 3                        20
                                                     < 50,000/mm 3                        7
                         ---Anemia       <11 g/dL                                        78
                                          < 8 g/dL                                       16
                          ---Infections                                                  30
                          ---Bleeding                                                    14
                          ---Red Cell Transfusions                                       25
                          ---Platelet Transfusions                                        2
                   $      Hypersensitivity Reactionb
                          ---All                                                         41
                          ---SevereH                                                      2
                   $      Cardiovascular
                          ---Vital Sign Changesc
                          ---Bradycardia (n=537)                                          3
                          ---Hypotension (n=532)                                         12
                          ---Significant Cardiovascular Events                            1
                   $$      Abnormal ECG
                          ---All Pts                                                     23
                          ---Pts with normal baseline (n=559)                            14
                   $      Peripheral Neuropathy
                          ---Any symptoms                                                60
                          ---Severe symptomsH                                             3
                   $      Myalgia/Arthralgia
                          ---Any symptoms                                                60
                          ---Severe symptomsH                                             8
                   $      Gastrointestinal
                          ---Nausea and vomiting
                                                                                         52
                          ---Diarrhea
                                                                                         38
                          ---Mucositis
                                                                                         31
                   $      Alopecia
                                                                                         87
                   $      Hepatic (Pts with normal baseline and on study data)
                          ---Bilirubin elevations (n=765)
                                                                                          7
                          ---Alkaline phosphatase elevations (n=575)
                                                                                         22
                        ---AST (SGOT) elevations (n=591)
                                                                                         19
                   $      Injection Site Reaction
                                                                                         13
                   a
                     Based on worst course analysis.
                   b
                     All patients received premedication.
                   c
                     During the first 3 hours of infusion.
                   H Severe events are defined as at least Grade III toxicity.


  None of the observed toxicities were clearly influenced by age.

  Disease-Specific Adverse Event Experiences
  First-Line Ovary in Combination: For the 1084 patients who were evaluable for safety in the Phase 3 first-line
  ovary combination therapy studies, Table 10 shows the incidence of important adverse events. For both studies,
  the analysis of safety was based on all courses of therapy (six courses for the GOG-111 study and up to nine
  courses for the Intergroup study).



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                                                TABLE 10
                    FREQUENCY a OF IMPORTANT ADVERSE EVENTS IN THE PHASE 3 FIRST-LINE
                                       OVARIAN CARCINOMA STUDIES
                                                                                 Percent of Patients
                                                                   Intergroup                                      GOG-111
                                                        T175/3 b                  C750c                T135/24 b              C750c
                                                          c75c                     c75c                   c75c                 c75c
                                                        (n=339)                  (n=336)                (n=196)              (n=213)

   $$        Bone Marrow
            ---Neutropenia
            <2000/mm 3                                    91 d                     95 d                    96                   92
            <500/mm 3                                     33 d                     43 d                    81 d                 58 d
            ---Thrombocytopenia
            <100,000/mm 3e                                21 d                     33 d                     26                   30
            <50,000/mm 3                                   3d                       7d                      10                    9
            ---Anemia
            <11 g/dL f                                    96                       97                      88                    86
            < 8 g/dL                                      3d                       8d                      13                     9
            ---Infections                                 25                       27                      21                    15
            ---Febrile Neutropenia                         4                        7                      15 d                  4d
   $         Hypersensitivity Reaction
            ---All                                        11 d                     6d                      8 d,g                 1 d,g
            ---SevereH                                     1                       1                       3 d,g                ---d,g
   $     Neurotoxicityh
          ---Any symptoms                                 87 d                    52 d                      25                   20
         ---Severe symptomsH                              21 d                     2d                       3d                   ---d
   $     Nausea and Vomiting
          ---Any symptoms                                 88                       93                       65                   69
         ---Severe symptomsH                              18                       24                       10                   11
   $      Myalgia/Arthralgia
         ---Any symptoms                                  60 d                    27 d                      9d                   2d
         ---Severe symptomsH                               6d                      1d                       1                    ---
   $      Diarrhea
         ---Any symptoms                                  37                       29                      16 d                  8d
         ---Severe symptomsH                               2                        3                       4                    1
   $     Asthenia
         ---Any symptoms                                  NC                       NC                      17 d                 10 d
         ---Severe symptomsH                              NC                       NC                       1                    1
   $$      Alopecia
         ---Any symptoms                                  96 d                    89 d                     55 d                 37 d
        ---Severe symptoms                                51 d                    21 d                      6                    8

        a
          Based on worst course analysis.
        b
          TAXOL (T) dose in mg/m 2/infusion duration in hours.
        c
          Cyclophosphamide (C) or cisplatin (c) dose in mg/m2.
        d
          p<0.05 by Fisher exact test.
        e
          <130,000/mm 3 in the intergroup study.
        f
           <12 g/dL in the Intergroup study.
        g
          All patients received premedication.
        h
          In the GOG-111 study, neurotoxicity was collected as peripheral neuropathy and in the Intergroup study, neurotoxicity was
               collected as either neuromotor or neurosensory symptoms.
        H Severe events are defined as at least Grade III toxicity.
        NC Not Collected




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  Second-Line Ovary: For the 403 patients who received single-agent TAXOL in the Phase 3 second-line ovarian
  carcinoma study, the following table shows the incidence of important adverse events.
                                            TABLE 11
               FREQUENCY a OF IMPORTANT ADVERSE EVENTS IN THE PHASE 3 SECOND-LINE
                                    OVARIAN CARCINOMA STUDY

                                                                               Percent of Patients

                                                                 175/3 b    175/24 b          135/3 b   135/24 b
                                                                 (n=95)     (n=105)           (n=98)    (n=105)

   $     Bone Marrow
       ---Neutropenia                        <2000/mm 3                78     98                78            98
                                              <500/mm 3                27     75                14            67
       ---Thrombocytopenia                  <100,000/mm 3               4     18                 8             6
                                            <50,000/mm 3                1      7                 2             1
       ---Anemia                              <11 g/dL                84      90                68            88
                                               <8 g/dL                11      12                 6            10
       ---Infections                                                  26      29                20            18

   $    Hypersensitivity Reactionc
       ---All                                                         41      45                38            45
       ---SevereH                                                      2       0                 2             1

   $    Peripheral Neuropathy
       ---Any symptoms                                                63      60                55            42
       ---Severe symptomsH                                             1       2                 0             0

   $     Mucositis
       ---Any symptoms                                                17      35               21             25
       ---Severe symptomsH                                             0       3                0              2


   a
    Based on worst course analysis.
   b
    TAXOL dose in mg/m 2/infusion duration in hours.
   C
    All patients received premedication.
   H Severe events are defined as at least Grade III toxicity.


            Myelosuppression was dose and schedule related, with the schedule effect being more prominent. The
  development of severe hypersensitivity reactions (HSRs) was rare; 1% of the patients and 0.2% of the courses
  overall. There was no apparent dose or schedule effect seen for the HSRs. Peripheral neuropathy was clearly
  dose-related, but schedule did not appear to affect the incidence.




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  Adjuvant Breast: For the Phase 3 adjuvant breast carcinoma study, the following table shows the incidence
  of important severe adverse events for the 3121 patients (total population) who were evaluable for safety as well
  as for a group of 325 patients (early population) who, per the study protocol, were monitored more intensively
  that other patients.


                                              TABLE 12
                         FREQUENCY a OF IMPORTANT SEVERE b ADVERSE EVENTS IN THE
                         PHASE 3 ADJUVANT BREAST CARCINOMA STUDY
                                                                                   Percent of Patients
                                                                   Early Population                      Total Population
                                                               ACc                ACc                ACc                ACc
                                                                            followed by T d                       followed by T d
                                                             (n=166)            (n=159)           (n=1551)           (n=1570)
           •• Bone Marrowe
              —Neutropenia
               < 500/mm 3                                        79                       76                         48                          50
              —Thrombocytopenia
               < 50,000/mm 3                                     27                       25                         11                          11
              —Anemia
               < 8 g/dL                                          17                       21                         8                            8
              —Infections                                         6                       14                         5                            6
              —Fever Without Infection                            --                       3                         <1                           1
           •• Hypersensitivity Reactionf                          1                        4                         1                            2
           •• Cardiovascular Events                               1                        2                         1                            2
           •• Neuromotor Toxicity                                 1                        1                         <1                           1
           •• Neurosensory Toxicity                               --                       3                         <1                           3
           •• Myalgia/Arthralgia                                  --                       2                         <1                           2
           •• Nausea/Vomiting                                    13                       18                         8                            9
           •• Mucositis                                          13                        4                         6                            5
       a   Based on worst course analysis.
       b   Severe events are defined as at least Grade III toxicity.
       c   Patients received 600 mg/m2 cyclophosphamide and doxorubicin (AC) at doses of either 60 mg/m2,75 mg/m2,or 90 mg/m2 (with prophylactic G-CSF support and
           ciprofloxacin), every 3 weeks for four courses.
       d   TAXOL (T) following four courses of AC at a dose of 175 mg/m2/3 hours every 3 weeks for four courses.
       e   The incidence of febrile neutropenia was not reported in this study.
       f   All patients were to receive premedication.




             The incidence of an adverse event for the total population likely represents an underestimation
  of the actual incidence given that safety data were collected differently based on enrollment cohort. However,
  since safety data were collected consistently across regimens, the safety of the sequential addition of TAXOL
  following AC therapy may be compared with AC therapy alone. Compared to patients who received AC alone,
  patients who received AC followed by TAXOL experienced more Grade III/IV neurosensory toxicity, more Grade
  III/IV myalgia/arthralgia, more Grade III/IV neurologic pain (5% vs 1%), more Grade III/IV flu-like symptoms (5%
  vs 3%), and more Grade III/IV hyperglycemia (3% vs 1%). During the additional four courses of treatment with
  TAXOL, two deaths (0.1%) were attributed to treatment. During TAXOL treatment, Grade IV neutropenia was
  reported for 15% of patients, Grade II/III neurosensory toxicity for 15%, Grade II/III myalgias for 23%, and
  alopecia for 46%.
             The incidences of severe hematologic toxicities, infections, mucositis, and cardiovascular events
  increased with higher doses of doxorubicin.




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  Breast Cancer After Failure of Initial Chemotherapy: For the 458 patients who received single-agent
  TAXOL in the Phase 3 breast carcinoma study, the following table shows the incidence of important adverse
  events by treatment arm (each arm was administered by a 3-hour infusion).


                                                              TABLE 13

                  FREQUENCY a OF IMPORTANT ADVERSE EVENTS IN THE PHASE 3 STUDY
                     OF BREAST CANCER AFTER FAILURE OF INITIAL CHEMOTHERAPY
                       OR WITHIN 6 MONTHS OF ADJUVANT CHEMOTHERAPY

                                                                                Percent of Patients


                                                                             175/3 b            135/3 b
                                                                            (n=229)            (n=229)

                  $     Bone Marrow
                      ---Neutropenia                         <2000/mm 3       90                  81
                                                              <500/mm 3       28                  19
                      ---Thrombocytopenia                   <100,000/mm 3     11                   7
                                                            <50,000/mm 3       3                   2
                      ---Anemia                               <11 g/dL        55                  47
                                                              <8 g/dL          4                   2
                      ---Infections
                                                                              23                  15
                      ---Febrile Neutropenia
                                                                               2                   2

                  $    Hypersensitivity Reactionc
                      ---All
                                                                              36                  31
                      ---SevereH
                                                                               0                  <1

                  $    Peripheral Neuropathy
                       ---Any symptoms
                                                                              70                  46
                      ---Severe symptomsH
                                                                               7                   3
                  $    Mucositis
                      ---Any symptoms
                                                                              23                  17
                      ---Severe symptomsH
                                                                               3                  <1
              a
                Based on worst course analysis.
              b
                TAXOL dose in mg/m 2/infusion duration in hours.
              C
                All patients received premedication.
              H Severe events are defined as at least Grade III toxicity.



          Myelosuppression and peripheral neuropathy were dose related. There was one severe hypersensitivity
  reaction (HSR) observed at the dose of 135 mg/m2.
  First-Line NSCLC in Combination: In the study conducted by the Eastern Cooperative Oncology Group
  (ECOG), patients were randomized to either TAXOL (T) 135 mg/m2 as a 24-hour infusion in combination with
  cisplatin (c) 75 mg/m2, TAXOL (T) 250 mg/m2 as a 24-hour infusion in combination with cisplatin (c) 75 mg/m2
  with G-CSF support, or cisplatin (c) 75 mg/m2 on day 1, followed by etoposide (VP) 100 mg/m2 on days 1, 2,
  and 3 (control).




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  The following table shows the incidence of important adverse events.


                                                             TABLE 14
                                            FREQUENCY a OF IMPORTANT ADVERSE EVENTS
                                             IN THE PHASE 3 STUDY FOR FIRST-LINE NSCLC

                                                                                        Percent of Patients


                                                                        T135/24b                T250/24c                VP100d
                                                                          c75                     c75                     c75
                                                                        (n=195)                 (n=197)                 (n=196)

                          $$     Bone Marrow
                                 ---Neutropenia
                                             <2000/mm 3                    89                       86                    84
                                             < 500/mm 3                    74 e                     65                    55
                                 ---Thrombocytopenia
                                             < normal                      48                       68                    62
                                             < 50,000/mm 3                  6                       12                    16
                                 ---Anemia
                                             < normal                      94                       96                    95
                                             < 8 g/dL                      22                       19                    28
                                 ---Infections                             38                       31                    35
                          $$    Hypersensitivity Reactionf
                                 ---All                                    16                       27                    13
                                 ---SevereH                                 1                       4e                     1
                          $$      Arthralgia/Myalgia
                               ---Any symptoms                             21 e                     42 e                  9
                                ---Severe symptomsH                         3                       11                    1
                          $$     Nausea/Vomiting
                                ---Any symptoms                            85                       87                    81
                                ---Severe symptomsH                        27                       29                    22
                          $     Mucositis
                                ---Any symptoms                            18                       28                    16
                                ---Severe symptomsH                         1                        4                     2
                          $$    Neuromotor Toxicity
                                ---Any symptoms                            37                       47                    44
                                ---Severe symptomsH                         6                       12                     7
                          $$    Neurosensory Toxicity
                                ---Any symptoms
                                                                           48                       61                    25
                                ---Severe symptomsH
                                                                           13                       28 e                   8
                          $$     Cardiovascular Events
                                ---Any symptoms
                                                                           33                       39                    24
                                ---Severe symptomsH
                                                                           13                       12                     8

                      a
                       Based on worst course analysis.
                      b
                       TAXOL (T) dose in mg/m2/infusion duration in hours; cisplatin (c) dose in mg/m2.
                      c
                       TAXOL dose in mg/m2/infusion duration in hours with G-CSF support; cisplatin dose in mg/m2.
                     d
                       Etoposide (VP) dose in mg/m2 was administered IV on days 1, 2, and 3; cisplatin dose in mg/m2.
                     e
                       p<0.05.
                     f
                       All patients received premedication.
                     HSevere events are defined as at least Grade III toxicity.


          Toxicity was generally more severe in the high-dose TAXOL treatment arm (T250/c75) than in the low-
  dose TAXOL arm (T135/c75). Compared to the cisplatin/etoposide arm, patients in the low-dose TAXOL arm
  experienced more arthralgia/myalgia of any grade and more severe neutropenia. The incidence of febrile
  neutropenia was not reported in this study.
  Kaposi = s Sarcoma: The following table shows the frequency of important adverse events in the 85 patients


                                                                 32
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  with KS treated with two different single-agent TAXOL regimens.
                                                             TABLE 15
                                  FREQUENCY a OF IMPORTANT ADVERSE EVENTS IN THE
                                      AIDS-RELATED KAPOSI=S SARCOMA STUDIES

                                                                                         Percent of Patients

                                                                            Study CA139-174                     Study CA139-281
                                                                           TAXOL 135/3 b q 3 wk                TAXOL 100/3 b q 2 wk
                                                                                 (n=29)                              (n=56)

                 $ Bone Marrow
                     ---Neutropenia
                            <2000/mm 3                                            100                                  95
                            < 500/mm 3                                             76                                  35
                     ---Thrombocytopenia
                            <100,000/mm 3                                          52                                  27
                            < 50,000/mm 3                                          17                                   5
                     ---Anemia
                            <11 g/dL                                               86                                  73
                            < 8 g/dL                                               34                                  25
                     ---Febrile Neutropenia                                        55                                   9
                 $$ Opportunistic Infection
                     ---Any                                                        76                                  54
                     ---Cytomegalovirus                                            45                                  27
                     ---Herpes Simplex                                             38                                  11
                     ---Pneumocystis carinii                                       14                                  21
                    ---M. avium intracellulare                                     24                                   4
                     ---Candidiasis, esophageal                                      7                                  9
                     ---Cryptosporidiosis                                            7                                  7
                     ---Cryptococcal meningitis                                      3                                  2
                     ---Leukoencephalopathy                                        ---                                  2
                 $$ Hypersensitivity Reactionc
                     ---All                                                        14                                   9
                 $ Cardiovascular
                     ---Hypotension                                                17                                    9
                     ---Bradycardia                                                 3                                   ---
                 $ Peripheral Neuropathy
                     ---Any
                                                                                   79                                  46
                     ---Severe H
                                                                                   10                                   2
                 $ Myalgia/Arthralgia
                     ---Any
                                                                                   93                                  48
                     ---Severe H
                                                                                   14                                  16
                 $ Gastrointestinal
                     ---Nausea and Vomiting
                                                                                   69                                  70
                     ---Diarrhea
                                                                                   90                                  73
                     ---Mucositis
                                                                                   45                                  20
                 $ Renal (creatinine elevation)
                     ---Any
                     ---Severe H                                                   34                                  18
                 $ Discontinuation for drug toxicity                                7                                   5
                                                                                    7                                  16

             a
               Based on worst course analysis.
             b
               TAXOL dose in mg/m 2/infusion duration in hours.
              C
               All patients received premedication.
             H Severe events are defined as at least Grade III toxicity.



          As demonstrated in this table, toxicity was more pronounced in the study utilizing TAXOL at a dose
  of 135 mg/m2 every 3 weeks than in the study utilizing TAXOL at a dose of 100 mg/m2 every 2 weeks. Notably,
  severe neutropenia (76% versus 35%), febrile neutropenia (55% versus 9%), and opportunistic infections (76%

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  versus 54%) were more common with the former dose and schedule. The differences between the two studies
  with respect to dose escalation and use of hematopoietic growth factors, as described above, should be taken
  into account. (See CLINICAL STUDIES: AIDS-Related Kaposi = s Sarcoma section.) Note also that only
  26% of the 85 patients in these studies received concomitant treatment with protease inhibitors, whose effect
  on paclitaxel metabolism has not yet been studied.
  Adverse Event Experiences by Body System
  Unless otherwise noted, the following discussion refers to the overall safety database of 812 patients with solid
  tumors treated with single-agent TAXOL in clinical studies. Toxicities that occurred with greater severity or
  frequency in previously untreated patients with ovarian carcinoma or NSCLC who received TAXOL in combination
  with cisplatin or in patients with breast cancer who received TAXOL after doxorubicin/cyclophosphamide in the
  adjuvant setting and that occurred with a difference that was clinically significant in these populations are also
  described. The frequency and severity of important adverse events for the Phase 3 ovarian carcinoma, breast
  carcinoma, NSCLC, and the Phase 2 Kaposi's sarcoma studies are presented above in tabular form by
  treatment arm. In addition, rare events have been reported from postmarketing experience or from other clinical
  studies. The frequency and severity of adverse events have been generally similar for patients receiving TAXOL
  for the treatment of ovarian, breast, or lung carcinoma or Kaposi=s sarcoma, but patients with AIDS-related
  Kaposi=s sarcoma may have more frequent and severe hematologic toxicity, infections, and febrile neutropenia.
  These patients require a lower dose intensity and supportive care. (See CLINICAL STUDIES: AIDS-Related
  Kaposi = s Sarcoma section.) Toxicities that were observed only in or were noted to have occurred with greater
  severity in the population with Kaposi=s sarcoma and that occurred with a difference that was clinically
  significant in this population are described.
  Hematologic: Bone marrow suppression was the major dose-limiting toxicity of TAXOL. Neutropenia, the most
  important hematologic toxicity, was dose and schedule dependent and was generally rapidly reversible.
  Among patients treated in the Phase 3 second-line ovarian study with a 3-hour infusion, neutrophil counts
  declined below 500 cells/mm3 in 14% of the patients treated with a dose of 135 mg/m2 compared to 27% at a
  dose of 175 mg/ m2 (p=0.05). In the same study, severe neutropenia (<500 cells/mm3) was more frequent with
  the 24-hour than with the 3-hour infusion; infusion duration had a greater impact on myelosuppression than dose.
  Neutropenia did not appear to increase with cumulative exposure and did not appear to be more frequent nor
  more severe for patients previously treated with radiation therapy.
          In the study where TAXOL was administered to patients with ovarian carcinoma at a dose of 135
  mg/m2/24 hours in combination with cisplatin versus the control arm of cyclophosphamide plus cisplatin, the
  incidences of grade IV neutropenia and of febrile neutropenia were significantly greater in the TAXOL plus
  cisplatin arm than in the control arm. Grade IV neutropenia occurred in 81% on the TAXOL plus cisplatin arm
  versus 58% on the cyclophosphamide plus cisplatin arm, and febrile neutropenia occurred in 15% and 4%
  respectively. On the TAXOL/cisplatin arm, there were 35/1074 (3%) courses with fever in which Grade IV



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  neutropenia was reported at some time during the course.           When TAXOL followed by         cisplatin was
  administered to patients with advanced NSCLC in the ECOG study, the incidences of Grade IV neutropenia
  were 74% (TAXOL 135 mg/m2/24 hours followed by cisplatin) and 65% (TAXOL 250 mg/m2/24 hours followed
  by cisplatin and G-CSF) compared with 55% in patients who received cisplatin/etoposide.
          Fever was frequent (12% of all treatment courses). Infectious episodes occurred in 30% of all patients
  and 9% of all courses; these episodes were fatal in 1% of all patients, and included sepsis, pneumonia and
  peritonitis. In the Phase 3 second-line ovarian study, infectious episodes were reported in 20% and 26% of the
  patients treated with a dose of 135 mg/m2 or 175 mg/m2 given as 3-hour infusions, respectively. Urinary tract
  infections and upper respiratory tract infections were the most frequently reported infectious complications. In
  the immunosuppressed patient population with advanced HIV disease and poor-risk AIDS-related Kaposi=s
  sarcoma, 61% of the patients reported at least one opportunistic infection. (See CLINICAL STUDIES: AIDS-
  Related Kaposi = s Sarcoma section.) The use of supportive therapy, including G-CSF, is recommended for
  patients who have experienced severe neutropenia. (See DOSAGE AND ADMINISTRATION section.)
          Thrombocytopenia was uncommon, and almost never severe (<50,000 cells/mm3). Twenty percent of
  the patients experienced a drop in their platelet count below 100,000 cells/mm3 at least once while on treatment;
  7% had a platelet count <50,000 cells/mm3 at the time of their worst nadir. Bleeding episodes were reported
  in 4% of all courses and by 14% of all patients, but most of the hemorrhagic episodes were localized and the
  frequency of these events was unrelated to the TAXOL dose and schedule. In the Phase 3 second-line ovarian
  study, bleeding episodes were reported in 10% of the patients; no patients treated with the 3-hour infusion
  received platelet transfusions. In the adjuvant breast carcinoma trial, the incidence of severe thrombocytopenia
  and platelet transfusions increased with higher doses of doxorubicin.
          Anemia (Hb<11 g/dL) was observed in 78% of all patients and was severe (Hb<8 g/dL) in 16% of the
  cases. No consistent relationship between dose or schedule and the frequency of anemia was observed.
  Among all patients with normal baseline hemoglobin, 69% became anemic on study but only 7% had severe
  anemia. Red cell transfusions were required in 25% of all patients and in 12% of those with normal baseline
  hemoglobin levels.
  Hypersensitivity Reactions (HSRs): All patients received premedication prior to TAXOL (see WARNINGS and
  PRECAUTIONS: Hypersensitivity Reactions sections). The frequency and severity of HSRs were not affected
  by the dose or schedule of TAXOL administration. In the Phase 3 second-line ovarian study, the 3-hour infusion
  was not associated with a greater increase in HSRs when compared to the 24-hour infusion.
  Hypersensitivity reactions were observed in 20% of all courses and in 41% of all patients. These reactions were
  severe in less than 2% of the patients and 1% of the courses. No severe reactions were observed after course
  3 and severe symptoms occurred generally within the first hour of TAXOL infusion. The most frequent symptoms
  observed during these severe reactions were dyspnea, flushing, chest pain and tachycardia.
          The minor hypersensitivity reactions consisted mostly of flushing (28%), rash (12%), hypotension (4%),



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  dyspnea (2%), tachycardia (2%) and hypertension (1%). The frequency of hypersensitivity reactions remained
  relatively stable during the entire treatment period.
          Rare reports of chills and reports of back pain in association with hypersensitivity reactions have been
  received as part of the continuing surveillance of TAXOL safety.
  Cardiovascular: Hypotension, during the first 3 hours of infusion, occurred in 12% of all patients and 3% of all
  courses administered. Bradycardia, during the first 3 hours of infusion, occurred in 3% of all patients and 1%
  of all courses. In the Phase 3 second-line ovarian study, neither dose nor schedule had an effect on the
  frequency of hypotension and bradycardia. These vital sign changes most often caused no symptoms and
  required neither specific therapy nor treatment discontinuation. The frequency of hypotension and bradycardia
  were not influenced by prior anthracycline therapy.
          Significant cardiovascular events possibly related to single-agent TAXOL occurred in approximately 1%
  of all patients. These events included syncope, rhythm abnormalities, hypertension and venous thrombosis.
  One of the patients with syncope treated with TAXOL at 175 mg/m2 over 24 hours had progressive hypotension
  and died. The arrhythmias included asymptomatic ventricular tachycardia, bigeminy, and complete AV block
  requiring pacemaker placement. Among patients with NSCLC treated with TAXOL in combination with cisplatin
  in the Phase 3 study, significant cardiovascular events occurred in 12-13%. This apparent increase in
  cardiovascular events is possibly due to an increase in cardiovascular risk factors in patients with lung cancer.
          Electrocardiogram (ECG) abnormalities were common among patients at baseline. ECG abnormalities
  on study did not usually result in symptoms, were not dose-limiting, and required no intervention. ECG
  abnormalities were noted in 23% of all patients. Among patients with a normal ECG prior to study entry, 14%
  of all patients developed an abnormal tracing while on study. The most frequently reported ECG modifications
  were non-specific repolarization abnormalities, sinus bradycardia, sinus tachycardia and premature beats.
  Among patients with normal ECGs at baseline, prior therapy with anthracyclines did not influence the frequency
  of ECG abnormalities.
          Cases of myocardial infarction have been reported rarely. Congestive heart failure has been reported
  typically in patients who have received other chemotherapy, notably anthracyclines. (See PRECAUTIONS:
  Drug Interactions section.)
          Rare reports of atrial fibrillation and supraventricular tachycardia have been received as part of the
  continuing surveillance of TAXOL safety.
  Respiratory: Rare reports of interstitial pneumonia, lung fibrosis and pulmonary embolism have been received
  as part of the continuing surveillance of TAXOL safety. Rare reports of radiation pneumonitis have been received
  in patients receiving concurrent radiotherapy.




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  Neurologic: The assessment of neurologic toxicity was conducted differently among the studies as evident
  from the data reported in each individual study (see Tables 9 -15). Moreover, the frequency and severity of
  neurologic manifestations were influenced by prior and/or concomitant therapy with neurotoxic agents.
          In general, the frequency and severity of neurologic manifestations were dose-dependent in patients
  receiving single-agent TAXOL. Peripheral neuropathy was observed in 60% of all patients (3% severe) and in
  52% (2% severe) of the patients without pre-existing neuropathy. The frequency of peripheral neuropathy
  increased with cumulative dose. Neurologic symptoms were observed in 27% of the patients after the first
  course of treatment and in 34-51% from course 2 to 10. Peripheral neuropathy was the cause of TAXOL
  discontinuation in 1% of all patients. Sensory symptoms have usually improved or resolved within several
  months of TAXOL discontinuation.        Pre-existing neuropathies resulting from prior therapies are not a
  contraindication for TAXOL therapy.
          In the Intergroup first-line ovarian carcinoma study (see Table 10), neurotoxicity included reports of
  neuromotor and neurosensory events. The regimen with Taxol 175 mg/m2 given by 3-hour infusion plus cisplatin
  75 mg/m2 resulted in a greater incidence of neurotoxicity and severe neurotoxicity than the regimen containing
  cyclophosphamide and cisplatin, 87% (21% severe) versus 52% (2% severe) respectively. The duration of grade
  III or IV neurotoxicity cannot be determined with precision for the Intergroup study since the resolution dates of
  adverse events were not collected in the case report forms for this trial and complete follow-up documentation
  was available only in a minority of these patients. In the GOG first-line ovarian carcinoma study, neurotoxicity
  was reported as peripheral neuropathy. The regimen with Taxol 135 mg/m2 given by 24-hour infusion plus
  cisplatin 75 mg/m2 resulted in an incidence of neurotoxicity that was similar to the regimen containing
  cyclophosphamide plus cisplatin, 25% (3% severe) versus 20% (0% severe) respectively.                Cross-study
  comparison of neurotoxicity in the Intergroup and GOG trials suggests that when TAXOL is given in combination
  with cisplatin 75 mg/m2, the incidence of severe neurotoxicity is more common at a TAXOL dose of 175 mg/m2
  given by 3-hour infusion (21%) than at a dose of 135 mg/m2 given by 24-hour infusion (3%).
          In patients with NSCLC, administration of TAXOL followed by cisplatin resulted in a greater incidence
  of severe neurotoxicity compared to the incidence in patients with ovarian or breast cancer treated with single-
  agent TAXOL. Severe neurosensory symptoms were noted in 13% of NSCLC patients receiving TAXOL 135
  mg/m2 by 24-hour infusion followed by cisplatin 75 mg/m2 and 8% of NSCLC patients receiving
  cisplatin/etoposide (see Table 14).
          Other than peripheral neuropathy, serious neurologic events following TAXOL administration have
  been rare (<1%) and have included grand mal seizures, syncope, ataxia and neuroencephalopathy.
          Rare reports of autonomic neuropathy resulting in paralytic ileus have been received as part of the
  continuing surveillance of TAXOL safety. Optic nerve and/or visual disturbances (scintillating scotomata) have
  also been reported, particularly in patients who have received higher doses than those recommended. These
  effects generally have been reversible. However, rare reports in the literature of abnormal visual evoked



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  potentials in patients have suggested persistent optic nerve damage.
  Arthralgia/Myalgia: There was no consistent relationship between dose or schedule of TAXOL and the
  frequency or severity of arthralgia/myalgia. Sixty percent of all patients treated experienced arthralgia/myalgia;
  8% experienced severe symptoms. The symptoms were usually transient, occurred two or three days after
  TAXOL administration, and resolved within a few days. The frequency and severity of musculoskeletal
  symptoms remained unchanged throughout the treatment period.
  Hepatic: No relationship was observed between liver function abnormalities and either dose or schedule of
  TAXOL administration. Among patients with normal baseline liver function 7%, 22% and 19% had elevations
  in bilirubin, alkaline phosphatase and AST (SGOT), respectively. Prolonged exposure to TAXOL was not
  associated with cumulative hepatic toxicity.
           Rare reports of hepatic necrosis and hepatic encephalopathy leading to death have been received as
  part of the continuing surveillance of TAXOL safety.
  Renal: Among the patients treated for Kaposi=s sarcoma with TAXOL, five patients had renal toxicity of grade
  III or IV severity. One patient with suspected HIV nephropathy of grade IV severity had to discontinue therapy.
  The other four patients had renal insufficiency with reversible elevations of serum creatinine.
  Gastrointestinal (GI): Nausea/vomiting, diarrhea and mucositis were reported by 52%, 38% and 31% of all
  patients, respectively.   These manifestations were usually mild to moderate.          Mucositis was schedule
  dependent and occurred more frequently with the 24-hour than with the 3-hour infusion.
           In patients with poor-risk AIDS-related Kaposi=s sarcoma, nausea/vomiting, diarrhea, and mucositis
  were reported by 69%, 79% and 28% of patients, respectively. One third of patients with Kaposi=s sarcoma
  complained of diarrhea prior to study start. (See CLINICAL STUDIES: Aids-Related Kaposi = s Sarcoma
  section.)
           In the first-line Phase 3 ovarian carcinoma studies, the incidence of nausea and vomiting when TAXOL
  was administered in combination with cisplatin appeared to be greater compared with the database for single-
  agent TAXOL in ovarian and breast carcinoma. In addition, diarrhea of any grade was reported more frequently
  compared to the control arm, but there was no difference for severe diarrhea in these studies.
           Rare reports of intestinal obstruction, intestinal perforation, pancreatitis, ischemic colitis, and
  dehydration have been received as part of the continuing surveillance of TAXOL safety. Rare reports of
  neutropenic enterocolitis (typhlitis), despite the coadministration of G-CSF, were observed in patients treated
  with TAXOL alone and in combination with other chemotherapeutic agents.
  Injection Site Reaction: Injection site reactions, including reactions secondary to extravasation, were usually
  mild and consisted of erythema, tenderness, skin discoloration, or swelling at the injection site. These
  reactions have been observed more frequently with the 24-hour infusion than with the 3-hour infusion.
  Recurrence of skin reactions at a site of previous extravasation following administration of TAXOL at a different
  site, i.e., Arecall@, has been reported rarely.



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          Rare reports of more severe events such as phlebitis, cellulitis, induration, skin exfoliation, necrosis and
  fibrosis have been received as part of the continuing surveillance of TAXOL safety. In some cases the onset of
  the injection site reaction either occurred during a prolonged infusion or was delayed by a week to ten days.
          A specific treatment for extravasation reactions is unknown at this time. Given the possibility of
  extravasation, it is advisable to closely monitor the infusion site for possible infiltration during drug
  administration.
  Other Clinical Events: Alopecia was observed in almost all (87%) of the patients. Transient skin changes due
  to TAXOL-related hypersensitivity reactions have been observed, but no other skin toxicities were significantly
  associated with TAXOL administration. Nail changes (changes in pigmentation or discoloration of nail bed) were
  uncommon (2%). Edema was reported in 21% of all patients (17% of those without baseline edema); only 1%
  had severe edema and none of these patients required treatment discontinuation. Edema was most commonly
  focal and disease-related. Edema was observed in 5% of all courses for patients with normal baseline and did
  not increase with time on study.
          Rare reports of skin abnormalities related to radiation recall as well as reports of maculopapular rash
  and pruritus have been received as part of the continuing surveillance of TAXOL safety.
          Reports of asthenia and malaise have been received as part of the continuing surveillance of TAXOL
  safety. In the Phase 3 trial of TAXOL 135 mg/m2 over 24 hours in combination with cisplatin as first-line therapy
  of ovarian cancer, asthenia was reported in 17% of the patients, significantly greater than the 10% incidence
  observed in the control arm of cyclophosphamide/cisplatin.
  Accidental Exposure: Upon inhalation, dyspnea, chest pain, burning eyes, sore throat and nausea have been
  reported. Following topical exposure, events have included tingling, burning and redness.
  OVERDOSAGE
  There is no known antidote for TAXOL overdosage. The primary anticipated complications of overdosage would
  consist of bone marrow suppression, peripheral neurotoxicity and mucositis. Overdoses in pediatric patients
  may be associated with acute ethanol toxicity (see Precautions: Pediatric Use section).
  DOSAGE AND ADMINISTRATION
  Note: Contact of the undiluted concentrate with plasticized PVC equipment or devices used to prepare solutions
  for infusion is not recommended. In order to minimize patient exposure to the plasticizer DEHP [di-(2-
  ethylhexyl)phthalate], which may be leached from PVC infusion bags or sets, diluted TAXOL solutions should
  be stored in bottles (glass, polypropylene) or plastic bags (polypropylene, polyolefin) and administered through
  polyethylene-lined administration sets.
          All patients should be premedicated prior to TAXOL administration in order to prevent severe
  hypersensitivity reactions. Such premedication may consist of dexamethasone 20 mg PO administered
  approximately 12 and 6 hours before TAXOL, diphenhydramine (or its equivalent) 50 mg I.V. 30 to 60 minutes
  prior to TAXOL, and cimetidine (300 mg) or ranitidine (50 mg) I.V. 30 to 60 minutes before TAXOL.



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           For patients with carcinoma of the ovary, the following regimens are recommended (see
  CLINICAL STUDIES: Ovarian Carcinoma section):
  1) For previously untreated patients with carcinoma of the ovary, one of the following recommended regimens
      may be given every 3 weeks. In selecting the appropriate regimen, differences in toxicities should be
      considered (see Table 10 in ADVERSE REACTIONS: Disease-Specific Adverse Event Experiences
      section).
      a.   TAXOL administered intravenously over 3 hours at a dose of 175 mg/m2 followed by cisplatin at a dose
           of 75 mg/m2; or
      b.   TAXOL administered intravenously over 24 hours at a dose of 135 mg/m 2 followed by cisplatin at a dose
           of 75 mg/m2.
  2) In patients previously treated with chemotherapy for carcinoma of the ovary, TAXOL has been used at
      several doses and schedules; however, the optimal regimen is not yet clear. The recommended regimen
      is TAXOL 135 mg/m2 or 175 mg/m2 administered intravenously over 3 hours every 3 weeks.


           For patients with carcinoma of the breast, the following regimens are recommended (see CLINICAL
  STUDIES: Breast Carcinoma section):
           1) For the adjuvant treatment of node-positive breast cancer, the recommended regimen is TAXOL,
               at a dose of 175 mg/m2 intravenously over 3 hours every 3 weeks for four courses administered
               sequentially to doxorubicin-containing combination chemotherapy. The clinical trial used four
               courses of doxorubicin and cyclophosphamide (see CLINICAL STUDIES: Breast Carcinoma
               section).
           2) After failure of initial chemotherapy for metastatic disease or relapse within 6 months of adjuvant
               chemotherapy, TAXOL at a dose of 175 mg/m2 administered intravenously over 3 hours every 3
               weeks has been shown to be effective.
           For patients with non-small cell lung carcinoma, the recommended regimen, given every 3 weeks,
  is TAXOL administered intravenously over 24 hours at a dose of 135 mg/m2 followed by cisplatin, 75 mg/m2.
           For patients with AIDS-related Kaposi = s sarcoma, TAXOL administered at a dose of 135 mg/m2 given
  intravenously over 3 hours every 3 weeks or at a dose of 100 mg/m2 given intravenously over 3 hours every 2
  weeks is recommended (dose intensity 45-50 mg/m2/week). In the two clinical trials evaluating these schedules
  (see CLINICAL STUDIES: AIDS-related Kaposi = s Sarcoma section), the former schedule (135 mg/m2 every
  3 weeks) was more toxic than the latter. In addition, all patients with low performance status were treated with
  the latter schedule (100 mg/m2 every 2 weeks).
           Based upon the immunosuppression in patients with advanced HIV disease, the following modifications
  are recommended in these patients:
           1) Reduce the dose of dexamethasone as one of the three premedication drugs to 10 mg PO (instead



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              of 20 mg PO);
           2) Initiate or repeat treatment with TAXOL only if the neutrophil count is at least 1000 cells/mm3;
           3) Reduce the dose of subsequent courses of TAXOL by 20% for patients who experience severe
              neutropenia (neutrophil <500 cells/mm3 for a week or longer); and
           4) Initiate concomitant hematopoietic growth factor (G-CSF) as clinically indicated.
           For the therapy of patients with solid tumors (ovary, breast, and NSCLC), courses of TAXOL should not
  be repeated until the neutrophil count is at least 1500 cells/mm3 and the platelet count is at least 100,000
  cells/mm3. TAXOL should not be given to patients with AIDS-related Kaposi=s sarcoma if the baseline or
  subsequent neutrophil count is less than 1000 cells/mm3.         Patients who experience severe neutropenia
                              3
  (neutrophil <500 cells/mm for a week or longer) or severe peripheral neuropathy during TAXOL therapy should
  have dosage reduced by 20% for subsequent courses of TAXOL. The incidence of neurotoxicity and the severity
  of neutropenia increase with dose.
  Preparation and Administration Precautions
  TAXOL is a cytotoxic anticancer drug and, as with other potentially toxic compounds, caution should be
  exercised in handling TAXOL. The use of gloves is recommended. If TAXOL solution contacts the skin, wash
  the skin immediately and thoroughly with soap and water. Following topical exposure, events have included
  tingling, burning and redness. If TAXOL contacts mucous membranes, the membranes should be flushed
  thoroughly with water. Upon inhalation, dyspnea, chest pain, burning eyes, sore throat and nausea have been
  reported.
           Given the possibility of extravasation, it is advisable to closely monitor the infusion site for possible
  infiltration during drug administration (see PRECAUTIONS: Injection Site Reaction section).
  Preparation for Intravenous Administration
  TAXOL (paclitaxel) Injection must be diluted prior to infusion. TAXOL should be diluted in 0.9% Sodium Chloride
  Injection, USP, 5% Dextrose injection, USP, 5% Dextrose and 0.9% Sodium Chloride Injection, USP or 5%
  Dextrose in Ringer=s Injection to a final concentration of 0.3 to 1.2 mg/mL. The solutions are physically and
  chemically stable for up to 27 hours at ambient temperature
  (approximately 25E C) and room lighting conditions. Parenteral drug products should be inspected visually for
  particulate matter and discoloration prior to administration whenever solution and container permit.
           Upon preparation, solutions may show haziness, which is attributed to the formulation vehicle. No
  significant losses in potency have been noted following simulated delivery of the solution through I.V. tubing
  containing an in-line (0.22 micron) filter.
           Data collected for the presence of the extractable plasticizer DEHP [di-(2-ethylhexyl)phthalate] show
  that levels increase with time and concentration when dilutions are prepared in PVC containers. Consequently,
  the use of plasticized PVC containers and administration sets is not recommended. TAXOL
  solutions should be prepared and stored in glass, polypropylene, or polyolefin containers. Non-PVC containing



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  administration sets, such as those which are polyethylene-lined, should be used.
           TAXOL should be administered through an in-line filter with a microporous membrane not greater than
  0.22 microns. Use of filter devices such as IVEX-27 filters which incorporate short inlet and outlet PVC-coated
  tubing has not resulted in significant leaching of DEHP.
           The Chemo Dispensing PinJ device or similar devices with spikes should not be used with vials of
  TAXOL since they can cause the stopper to collapse resulting in loss of sterile integrity of the TAXOL solution.
  Stability
  Unopened vials of TAXOL (paclitaxel) Injection are stable until the date indicated on the package when stored
  between 20E-25EC (68E-77EF), in the original package. Neither freezing nor refrigeration adversely affects the
  stability of the product. Upon refrigeration components in the TAXOL vial may precipitate, but will redissolve
  upon reaching room temperature with little or no agitation. There is no impact on product quality under these
  circumstances. If the solution remains cloudy or if an insoluble precipitate is noted, the vial should be
  discarded. Solutions for infusion prepared as recommended are stable at ambient temperature (approximately
  25EC) and lighting conditions for up to 27 hours.


  HOW SUPPLIED
  NDC 0015-3475-30          30 mg/5 mL multidose vial individually packaged in a carton.
  NDC 0015-3476-30         100 mg/16.7 mL multidose vial individually packaged in a carton.
  NDC 0015-3479-11         300 mg/50 mL multidose vial individually packaged in a carton.
  Storage
  Store the vials in original cartons between 20E-25EC (68E-77EF). Retain in the original package to protect from
  light.
  Handling and Disposal
  Procedures for proper handling and disposal of anticancer drugs should be considered. Several guidelines on
  this subject have been published1-7. There is no general agreement that all of the procedures recommended in
  the guidelines are necessary or appropriate.



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  Chemo Dispensing PinJ is a trademark of B. Braun Medical Incorporated.




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                                                               Princeton, New Jersey 08543
                                                                           U.S.A.




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                      EXHIBIT BB
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    E f fi c a c y a n d S a f e t y o f T r a s t u z u m a b a s a S i n g l e A g e n t i n
    First-Line Treatment of HER2-Overexpressing Metastatic
                                       Breast Cancer

      By Charles L. Vogel, Melody A. Cobleigh, Debu Tripathy, John C. Gutheil, Lyndsay N. Harris, Louis Fehrenbacher,
       Dennis J. Slamon, Maureen Murphy, William F. Novotny, Michael Burchmore, Steven Shak, Stanford J. Stewart,
                                                   and Michael Press


     Purpose: To evaluate the efficacy and safety of first-           (FISH) analysis were 34% (95% CI, 23.9% to 45.7%) and
  line, single-agent trastuzumab in women with HER2-                  7% (95% CI, 0.8% to 22.8%), respectively. Seventeen
  overexpressing metastatic breast cancer.                            (57%) of 30 patients with an objective response and 22
     Patients and Methods: One hundred fourteen women                 (51%) of 43 patients with clinical benefit had not expe-
  with HER2-overexpressing metastatic breast cancer were              rienced disease progression at follow-up at 12 months
  randomized to receive first-line treatment with trastu-             or later. The most common treatment-related adverse
  zumab 4 mg/kg loading dose, followed by 2 mg/kg                     events were chills (25% of patients), asthenia (23%),
  weekly, or a higher 8 mg/kg loading dose, followed by 4             fever (22%), pain (18%), and nausea (14%). Cardiac
  mg/kg weekly.                                                       dysfunction occurred in two patients (2%); both had
     Results: The objective response rate was 26% (95%                histories of cardiac disease and did not require addi-
  confidence interval [CI], 18.2% to 34.4%), with seven               tional intervention after discontinuation of trastu-
  complete and 23 partial responses. Response rates in                zumab. There was no clear evidence of a dose-response
  111 assessable patients with 3ⴙ and 2ⴙ HER2 overex-                 relationship for response, survival, or adverse events.
  pression by immunohistochemistry (IHC) were 35%                        Conclusion: Single-agent trastuzumab is active and
  (95% CI, 24.4% to 44.7%) and none (95% CI, 0% to                    well tolerated as first-line treatment of women with
  15.5%), respectively. The clinical benefit rates in assess-         metastatic breast cancer with HER2 3ⴙ overexpression
  able patients with 3ⴙ and 2ⴙ HER2 overexpression                    by IHC or gene amplification by FISH.
  were 48% and 7%, respectively. The response rates in                   J Clin Oncol 20:719-726. © 2002 by American
  108 assessable patients with and without HER2 gene                  Society of Clinical Oncology.
  amplification by fluorescence in situ hybridization


       HE HUMAN EPIDERMAL growth factor receptor 2                    treatment in women who did not wish to receive cytotoxic
  T     (HER2) gene encodes a 185-kd transmembrane gly-
  coprotein receptor (p185HER2) and is amplified in approxi-
                                                                      chemotherapy for metastatic breast cancer. The study was
                                                                      designed as a preliminary exploration of the utility of a
  mately 25% to 30% of human breast cancers.1,2 When                  higher dose of trastuzumab compared with the dose judged
  amplified, the gene produces high levels of HER2 cell-              to be optimal on the basis of preclinical activity estimates
  surface receptor expression.3 Patients whose tumors dem-            and phase I pharmacokinetic data.
  onstrate HER2 gene amplification and protein overexpres-
  sion have an inferior prognosis manifested by shorter
  disease-free and overall survival.2-4
     Trastuzumab is a recombinant monoclonal antibody that
  was developed to recognize p185HER2. The antibody was
  humanized to minimize the immunogenicity associated with               From University of Miami School of Medicine, Comprehensive
                                                                      Cancer Research Group Inc, and Columbia Cancer Research Network
  murine monoclonal antibodies and maximize the potential
                                                                      of Florida, Miami, FL; Rush-Presbyterian-St Luke’s Medical Center,
  for recruiting endogenous immune effector cells.5 The               Chicago, IL; University of California, San Francisco/Mount Zion
  results of a large phase II trial6 indicate that trastuzumab        Cancer Center, San Francisco; Sidney Kimmel Cancer Center, San
  monotherapy is active against HER2-overexpressing breast            Diego; Kaiser Permanente, Vallejo; University of California Los
  cancer in women who have been previously treated with               Angeles School of Medicine and University of Southern California
                                                                      School of Medicine, Los Angeles; Genentech, Inc, South San Fran-
  chemotherapy for metastatic disease. Additionally, the re-          cisco, CA; and Duke University Medical Center, Durham, NC.
  sults of a phase III trial7 indicate that trastuzumab signifi-         Submitted November 30, 2000; accepted September 18, 2001.
  cantly enhances the activity of first-line chemotherapy and            Supported by a grant from Genentech, Inc. M.F.P. was supported by
  provides a survival advantage to women with HER2-                   grant no. CA48780 from the National Cancer Institute, Bethesda, MD.
                                                                         Address reprint requests to Charles L. Vogel, MD, 600 South Pine
  overexpressing breast cancer. We conducted a randomized,            Island Rd, Suite 104, Plantation, FL 33324.
  single-blind, multicenter study to evaluate the activity and           © 2002 by American Society of Clinical Oncology.
  safety of two dose levels of trastuzumab as a first-line               0732-183X/02/2003-719/$20.00



  Journal of Clinical Oncology, Vol 20, No 3 (February 1), 2002: pp 719-726                                                         719

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                                                                                                AVENTIS EXHIBIT 2095
                                                                                                Mylan v. Aventis, IPR2016-00712
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                    PATIENTS AND METHODS                                         The secondary end points were duration of response, time to disease
                                                                              progression, survival, and quality of life (QOL). The duration of
 Patients                                                                     response was defined as the time from first response to disease
                                                                              progression. Time to onset of response was defined as time from
    Women with progressive, bidimensionally measurable, HER2-over-
                                                                              randomization to the initial partial or complete response. Time to
 expressing metastatic breast cancer who had not received cytotoxic
                                                                              disease progression was defined as the time from randomization to
 chemotherapy for metastatic disease were eligible for this study. HER2
                                                                              documented disease progression, death, or addition of excluded therapy
 expression was determined by a central core research laboratory
                                                                              (eg, immunotherapy, chemotherapy, hormonal therapy, or radiother-
 (Laboratory Corporation of America, Research Triangle Park, NC)
                                                                              apy) and was censored at the last date of contact for patients whose
 using sequential immunohistochemistry (IHC) analysis with two mu-
                                                                              disease did not progress. Survival was defined as the time from
 rine monoclonal antibodies, 4D5 and CB11. Eligibility required scores
                                                                              randomization to death and was censored at the date of last contact for
 of 2⫹ (weak to moderate) or 3⫹ (strong) complete membrane staining
                                                                              patients who were alive.
 in more than 10% of tumor cells with either antibody.
                                                                                 A complete physical examination, clinical assessment, analysis of
    Patients were excluded if they had received radiotherapy within 2
                                                                              vital signs, chest x-rays, and laboratory tests were performed at
 weeks. Patients were also excluded if they had bilateral breast cancer;
                                                                              predetermined intervals and at study termination. Blood samples were
 brain or leptomeningeal metastatic disease; bone metastases as the only
                                                                              collected at predetermined intervals for measurement of antibody to the
 disease site; metastases to more than 30% of the hepatic parenchyma;
                                                                              Fab and Fc regions of recombinant human monoclonal antibody HER2
 other malignancy not curatively treated; clinically significant cardiac
                                                                              by enzyme-linked immunosorbent assay (ELISA).
 disease, infection, bleeding disorder, abnormal pulmonary function, or
                                                                                 Adverse events were noted throughout the study and classified as
 other significant medical condition; Karnofsky performance status of
                                                                              mild, moderate, or severe. A mild adverse event was defined as
 less than 70%; life expectancy of less than 6 months; leukopenia
                                                                              annoying but not affecting baseline status or hindering the patient’s
 (ⱕ 3,500/␮L), granulocytopenia (ⱕ 1,500/␮L), thrombocytopenia
                                                                              normal functioning level. A moderate adverse event was uncomfortable
 (ⱕ 100,000/␮L), or anemia (ⱕ 10 g/dL); or hypercalcemia (ⱖ 11
                                                                              and impaired normal function but was not hazardous to health. A severe
 mg/dL). Pregnant or nursing patients were excluded. Informed consent
                                                                              adverse event caused severe discomfort, severely limited or prevented
 was obtained and documented in writing before study entry. This study
                                                                              normal function, and was a definite hazard to health. The European
 was performed after approval by local human investigations committees.
                                                                              Organization for Research and Treatment of Cancer’s Quality of Life
 Antibody Administration                                                      C30 questionnaire with the module for breast cancer (BR-23)8 was used to
                                                                              assess QOL at baseline, every 12 weeks, and at study termination.
    Trastuzumab (Herceptin) was supplied by Genentech, Inc (South San            A retrospective analysis was performed in the subset of patients who
 Francisco, CA) and was administered intravenously in the outpatient          had available tissue samples to determine gene amplification by
 setting. Patients were randomized to receive one of two dosing               fluorescence in situ hybridization (PathVysion fluorescence in situ
 regimens by a method that balanced distribution within study centers;        hybridization [FISH] assay; Vysis, Inc, Downers Grove, IL). This
 patients, but not investigators, were blinded to dose. Patients received     laboratory analysis was conducted without access to any demographic
 a standard loading dose of 4 mg/kg followed by 2 mg/kg weekly or a           or outcome data.
 higher loading dose of 8 mg/kg followed by 4 mg/kg weekly.
 Randomization was used to ensure that estimates of the efficacy
 outcomes within each dose level would not be biased by assigning
                                                                              Statistical Analysis
 patients with worse prognosis to the higher dose group.                         This study was designed to explore the activity and tolerability of
    The infusion was initially administered over 90 minutes. If it was well   trastuzumab at two dose levels in patients who had not previously
 tolerated, subsequent infusion periods were shortened to 30 minutes. The     received treatment. No formal statistical comparisons were made
 weekly maintenance dose was continued until disease progression.             between the two dose groups. The total sample size was set at 100
                                                                              patients. This sample size allowed estimation of the response rate to
 Assessments                                                                  within a standard error of 5%. The final analysis of efficacy and safety
    The investigators assessed the primary end point of objective tumor       was performed 18 months after enrollment of the last patient. The
 response at 8, 16, and 24 weeks and then every 12 weeks. No                  median duration of follow-up for all patients was 19 months (range, 1.2
 independent assessments of response or progression by an external            to 45.9 months). Demographic and baseline characteristics were sum-
 committee were made in this study. Complete response was defined as          marized by descriptive statistics. ␹2 test for 2 ⫻ 2 or 2 ⫻ 3 tables was
 the disappearance of all radiographically or visually apparent tumor;        used to compare the distribution of baseline characteristics between
 complete response in the skin or chest wall was confirmed by biopsy.         patients receiving the 2 and 4 mg/kg doses.
 Partial response was defined by a ⱖ 50% decrease in the sum of the              Response rates were calculated in all enrolled patients (intent-to-treat
 products of the perpendicular diameters of all measurable lesions.           analysis), in assessable patients (ie, all patients who received at least
 Complete and partial responses were confirmed 4 weeks after the initial      one dose of therapy and underwent tumor evaluation after baseline),
 response determination. Minor response was defined as a 25% to 49%           and in subsets of assessable patients defined by baseline risk factors.
 decrease in the sum of the products of the perpendicular diameters of        Confidence intervals were computed using the normal approximation to
 all measurable lesions. For partial and minor response, no new lesions       the binomial distribution. Time to onset of objective response and
 appeared and no existing lesions progressed. Stable disease was defined      duration of response were evaluated in patients with complete or partial
 as no change greater than 25% in the size of measurable lesions and no       responses. The median time to onset of objective response was
 appearance of new lesions. Disease progression was defined as a 25%          calculated. Duration of response, time to disease progression, and
 or greater increase in any measurable lesion or the appearance of a new      survival were evaluated by Kaplan-Meier survival methodology. Ad-
 lesion. Clinical benefit was defined post hoc as complete, partial, or       verse events were summarized by descriptive statistics in all patients
 minor response or stable disease longer than 6 months.                       who received at least one dose of trastuzumab.




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 ACTIVITY OF FIRST-LINE TRASTUZUMAB                                                                                                  721

    QOL data were evaluated in patients with baseline and at least one       objective response rate of 26% (95% confidence interval
 follow-up assessment. The primary analysis was a repeated-measures          [CI], 18.2% to 34.4%). An additional 13 patients had a
 analysis of variance (ANOVA) on the global QOL score and four
                                                                             minor response or stable disease for longer than 6 months
 functioning scales (ie, fatigue and physical, emotional, and social
 functions). Scale scores were calculated, and missing data after the last   for a clinical benefit (complete response ⫹ partial response
 available assessment were imputed by carrying forward the last              ⫹ minor response ⫹ stable disease ⬎ 6 months) rate of 38%
 observation to the end of the 48-week study period.9 For the analysis of    (95% CI, 28.8% to 46.9%). Three patients were not assess-
 total exposure up to week 48, the worst possible score was assigned to      able because of lack of metastatic breast cancer (n ⫽ 1),
 patients who died before week 48.
                                                                             patient-requested study removal after one dose of trastu-
                                RESULTS                                      zumab (n ⫽ 1), and patient-requested study removal after
                                                                             four doses and no postbaseline tumor evaluation (n ⫽ 1). In
 Patients                                                                    assessable patients, there were seven complete and 22
    Investigators enrolled 114 patients who had HER2 over-                   partial responses for an objective response rate of 26%
 expression at the 2⫹ or 3⫹ level and had not previously                     (95% CI, 18.0% to 34.3%).
 received cytotoxic chemotherapy for their metastatic breast                    Responses were observed in many subsets of assessable
 cancer in this multi-institutional study, which was con-                    patients (Table 2). Response rates were similar regardless of
 ducted at 18 centers in the United States (n ⫽ 17) and                      the dose of trastuzumab. Responses also occurred in patients
 Canada (n ⫽ 1). The actual enrollment exceeded the                          with hormone receptor–positive and hormone receptor–
 planned enrollment, because several patients were undergo-                  negative tumors, lung or liver metastases, disease-free
 ing review of their pathologic material at the predetermined                interval of 12 months or less and more than 12 months, and
 closure date. All patients who tested positive for HER2                     previous adjuvant doxorubicin or transplant. However, re-
 overexpression were allowed to enter the study. Reasons for                 sponses were seen only in patients whose tumors overex-
 study discontinuation were disease progression (n ⫽ 89                      pressed HER2 at the 3⫹ level and not at the 2⫹ level.
 [78%]), patient request (n ⫽ 11 [10%]), adverse event (n ⫽                     A significant number of censored observations, attribut-
 2 [2%]), noncompliance (n ⫽ 1 [1%]), and study closure (n                   able to nonprogression at longer than 12 months of follow-
 ⫽ 11 [10%]). Protocol violations consisted of continuation                  up, preclude an accurate assessment of the median duration
 of trastuzumab after disease progression and initiation of                  of response and the time to disease progression in the
 chemotherapy (n ⫽ 8 [7%]), bone-only metastases (n ⫽ 2                      responding group. Seventeen (57%) of 30 patients with an
 [2%]), Karnofsky performance status of 60 (n ⫽ 2 [2%]),                     objective response and 22 (51%) of 43 patients with clinical
 lack of distant metastases (n ⫽ 1 [1%]), and noncompliance                  benefit had not experienced disease progression at longer
 (n ⫽ 1 [1%]). There were also minor eligibility exceptions,                 than 12 months of follow-up.
 such as prestudy assessment outside protocol-specified win-                    The median time to disease progression was similar for
 dows, lack of pulmonary function testing or abnormal                        patients treated with trastuzumab 4 or 2 mg/kg weekly (3.8
 results, and metastatic disease not histologically confirmed.               months [95% CI, 2.4 to 5.5 months] v 3.5 months [95% CI,
 Patients were fairly evenly distributed between the two dose                3.3 to 5.1 months]). The median duration of survival for all
 groups on the basis of protocol violations and baseline                     enrolled patients was 24.4 months (95% CI, 16.9 to 31.7
 demographic features (Table 1). Overall, 65 patients (57%)                  months), which included 49 censored observations for
 received previous hormonal treatment, 42 patients (37%) as                  patients who were alive (n ⫽ 46) or lost to follow-up (n ⫽
 adjuvant therapy and 48 patients (42%) for metastatic                       3). The median duration of survival was similar for patients
 disease. The mean loading dose for patients randomized to                   who received trastuzumab 4 or 2 mg/kg weekly (25.8
 receive the standard dose was 4 mg/kg (range, 3.0 to 4.2                    months [95% CI, 13.3 to 34.7 months] v 22.9 months [95%
 mg/kg) followed by 2 mg/kg weekly (range, 1.8 to 2.1                        CI, 16.0 to 37.1 months]) (Fig 1).
 mg/kg). The mean loading dose for patients randomized to
 receive the higher dose was 8 mg/kg (range, 7.4 to 8.4                      Retrospective HER2 Gene Amplification Analysis
 mg/kg) followed by 4 mg/kg weekly (range, 3.5 to 4.4                           A retrospective analysis of tumor HER2 gene amplifica-
 mg/kg). The median number of doses received was 16                          tion was performed on archived pathology slides, which
 (range, one to 162 doses). The median number of missed                      were available from a total of 111 patients, including 108
 doses was one.                                                              who were assessable. The response rate was 34% (95% CI,
                                                                             23.9% to 45.7%) in patients whose tumors amplified HER2
 Efficacy                                                                    compared with 7% (95% CI, 0.8% to 22.8%) in those whose
   In the intent-to-treat analysis of all enrolled patients, there           tumors did not (Table 2). The median time to progression
 were seven complete and 23 partial responses, for an                        was 4.9 months (95% CI, 3.4 to 8.0 months) in patients




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                                                       Table 1.   Patient Characteristics
                                       Trastuzumab 2 mg/kg (n ⫽ 59)               Trastuzumab 4 mg/kg (n ⫽ 55)          Total (N ⫽ 114)
                                       No. Patients/                             No. Patients/                   No. Patients/
           Characteristic              No. Analyzed               %              No. Analyzed               %    No. Analyzed             %

 Age, years
   Mean ⫾ SD                                     54 ⫾ 13.6                                  54 ⫾ 14.9                      54 ⫾ 14.2
   Range                                           28-86                                      30-83                          28-86
 Karnofsky score
   90 to 100                                44                    75                  40                   73         84                  74
   80                                        8                    14                   9                   16         17                  15
   ⱕ 70                                      5                     8                   6                   11         11                  10
   Not reported                              2                     3                             0                     2                   2
 Estrogen receptor status
   Positive                                 22                    37                  30                   55         52                  46
   Negative                                 33                    56                  24                   44         57                  50
   Not reported                              4                     7                   1                    2          5                   4
 Progesterone receptor status
   Positive                                 21                    36                  25                   45         46                  40
   Negative                                 33                    56                  27                   49         60                  53
   Not reported                              5                     8                   3                    5          8                   7
 HER2 overexpression
   IHC 2⫹                                   13                    22                  14                   25         27                  24
   IHC 3⫹                                   46                    78                  41                   75         87                  76
 HER2 amplification
   FISH⫹                                    40                    68                  42                   76         82                  72
   FISH⫺                                    17                    29                  12                   22         29                  25
   Sample not available                      2                     3                   1                    2          3                   3
 No. lymph nodes at diagnosis
   None                                      9                    15                  12                   22         21                  18
   1 to 9                                   28                    47                  23                   42         51                  45
   ⱖ 10                                     11                    19                   9                   16         20                  18
   Not reported                             11                    19                  11                   20         22                  19
 Disease-free interval*
   ⱕ 12 months                              23                    39                   9                   16         32                  28
   12 to 24 months                          14                    24                  22                   40         36                  32
   ⬎ 24 months                              21                    36                  24                   44         45                  39
   Not reported                              1                     2                             0                     1                   1
 No. metastatic sites
   1 or 2                                   40                    68                  38                   69         78                  68
   3 or 4                                   17                    29                  17                   31         34                  30
   ⱖ5                                        1                     2                             0                     1                   1
   Not reported                              1                     2                             0                     1                   1
 Metastatic site†
   Lung or liver                            34                    58                  42                   76         76                  67
   Other                                    25                    42                  13                   24         38                  33
 Adjuvant therapy
   Chemotherapy                             41                    69                  36                   65         77                  68
   Anthracycline                            31                    53                  26                   47         57                  50
   Radiotherapy                             29                    49                  23                   42         52                  46
   Hormonal therapy                         20                    34                  22                   40         42                  37
   Stem-cell transplantation                 8                    14                   6                   11         14                  12

   *P ⬍ .02.
   †P ⬍ .05.




 whose tumors amplified HER2 compared with 1.7 months                      weeks 12, 24, 36, and 48. Improvements were seen in global
 (95% CI, 1.5 to 3.3 months) in those whose tumors did not                 QOL and the fatigue subscale; these changes were evaluated
 (Fig 2).                                                                  by repeated-measures ANOVA. When patients were strati-
                                                                           fied according to response, responders tended to show im-
 QOL                                                                       provements in each of the five subscales at week 12, which
    Seventy-four patients completed the QOL questionnaire                  gradually declined over the next 36 weeks. In contrast, nonre-
 at baseline and at week 12. The scores for each of the five               sponders showed slight deterioration at week 12 and additional
 subscales were generally unchanged between baseline and                   deterioration with each follow-up assessment.




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 ACTIVITY OF FIRST-LINE TRASTUZUMAB                                                                                                              723

                                                      Table 2.   Tumor Response in Assessable Patients

                                                                               Objective Response                            Clinical Benefit*

                    Subset                                          No.                             %                  No.                        %

 All assessable patients, n ⫽ 111 (95% CI)                          29                       26 (18.0-34.3)            42                         38
 Trastuzumab
    2 mg/kg weekly, n ⫽ 58 (95% CI)                                 14                       24 (13.1-35.2)            20                         34
    4 mg/kg weekly, n ⫽ 53 (95% CI)                                 15                       28 (16.2-40.4)            22                         42
 Estrogen receptor
    Positive, n ⫽ 52                                                12                       23                        19                         36
    Negative, n ⫽ 54                                                16                       30                        21                         39
 Progesterone receptor
    Positive, n ⫽ 46                                                10                       22                        16                         35
    Negative, n ⫽ 57                                                18                       32                        24                         42
 Lung or liver metastases, n ⫽ 74                                   16                       22                        24                         32
 Disease-free interval
    ⱕ 12 months, n ⫽ 30                                              6                       20                         9                         30
    ⬎ 12 months, n ⫽ 81                                             23                       28                        33                         41
 Previous adjuvant doxorubicin, n ⫽ 57                              18                       32                        23                         41
 Previous transplant, n ⫽ 14                                         5                       36                         6                         43
 HER2
    3⫹, n ⫽ 84                                                      29                       35                        40                         48
    2⫹, n ⫽ 27                                                       0                        0                         2                          7
 FISH
    Positive, n ⫽ 79                                                27                       34                        38                         48
    Negative, n ⫽ 29                                                 2                        7                         3                         10

   *Clinical benefit ⫽ complete, partial, or minor response or stable disease ⬎ 6 months.




 Safety                                                                           pancytopenia (n ⫽ 1 [1%]), thrombocytopenia (n ⫽ 1
                                                                                  [1%]), and hypercalcemia (n ⫽ 1 [1%]). No patients had
    All 114 patients who received at least one dose of                            detectable levels of antibodies against trastuzumab.
 trastuzumab were included in the analysis of safety. Ad-                            Reports of serious cardiac events in other trials6,7
 verse events occurred in all but one patient (99%). When                         prompted a retrospective analysis of all cardiac events
 events were limited to those that the investigator considered                    associated with any trastuzumab trial by an independent,
 to be possibly or probably related to treatment (hereafter,                      blinded cardiac review and evaluation committee. Cardiac
 treatment-related events), 87 patients (76%) experienced at                      dysfunction was defined as congestive heart failure, cardio-
 least one adverse event.                                                         myopathy, or a decrease in ejection fraction (⬎ 10%
    The most common treatment-related adverse events were                         points). Of six patients referred to the cardiac review and
 chills (n ⫽ 28 [25%]), asthenia (n ⫽ 26 [23%]), fever (n ⫽                       evaluation committee, three were considered to have cardiac
 25 [22%]), pain (n ⫽ 21 [18%]), and nausea (n ⫽ 16                               dysfunction. The first patient had a history of myocardial
 [14%]). Most treatment-related adverse events were mild to                       infarction, previous anthracycline therapy, and baseline
 moderate in intensity; only 10 patients (9%) had severe                          left-ventricular ejection fraction (LVEF) of 35% to 40%.
 events. Infusion-related side effects were much more com-                        After 1 year of trastuzumab therapy, her LVEF was 31%
 mon with the first infusion and less likely with subsequent                      while withholding cardiac drugs. The second patient had a
 infusions. The only severe treatment-related adverse events                      history of hypertension and coronary and cerebrovascular
 that occurred in more than one patient were pain (n ⫽ 2                          disease. After 28 weeks of trastuzumab, bilateral atrial and
 [2%]) and asthenia (n ⫽ 3 [3%]). There was no statistically                      right ventricular enlargement and tricuspid regurgitation
 significant association between trastuzumab dose and the                         were noted; subsequently, intermittent pleural effusions
 occurrence of adverse events (Table 3). However, numerical                       developed. Trastuzumab was discontinued in both of these
 increases in fever, chills, and dyspnea in the higher dose                       patients, and no additional intervention was required for
 group suggest that some dose-effect relationship may exist.                      cardiac events. The third patient had reduction in LVEF
    Severe laboratory abnormalities were uncommon and                             after relief of pericardial tamponade, which was attributed
 included anemia (n ⫽ 2 [2%]), leukopenia (n ⫽ 2 [2%]),                           to breast cancer.




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                                                                               determined by the response evaluation committee and 20%
                                                                               determined by investigators, median response duration of 9
                                                                               months, and median survival of 13 months.6 The collective
                                                                               results of these trials justify additional exploration of
                                                                               trastuzumab as first-line therapy to determine whether its
                                                                               optimal use is earlier in the course of metastatic disease.
                                                                                  The present trial targeted a patient population similar to
                                                                               that of the phase III trial in which patients were randomized
                                                                               to receive chemotherapy with or without trastuzumab as
                                                                               first-line therapy.7 In that trial, chemotherapy consisted of
                                                                               an anthracycline and cyclophosphamide (AC) or, if patients
                                                                               had previously received adjuvant anthracycline therapy,
                                                                               paclitaxel. The response rate was 42% for AC alone in
                                                                               anthracycline-naive patients and 17% for paclitaxel in
                                                                               anthracycline-exposed patients; the response rate was
                                                                               higher when trastuzumab was added to AC (56%, P ⫽ .02)
                                                                               or paclitaxel (41%, P ⫽ .001). The median duration of
                                                                               survival was 25.1 months for trastuzumab and chemother-
                                                                               apy, 26.8 months for trastuzumab and AC, and 22.1 months
                                                                               for trastuzumab and paclitaxel. Compared with the survival
   Fig 1. Kaplan-Meier plot of the duration of survival by trastuzumab dose    findings from the present trial (24 months [95% CI, 16.9 to
 in all enrolled patients. No statistically significant difference was noted   31.7 months]), these results suggest that patients do not
 between the two groups.
                                                                               incur a major survival disadvantage if they receive trastu-
                                                                               zumab alone as first-line therapy for metastatic disease. Of
                                                                               course, conclusions based on cross-study comparisons are
                              DISCUSSION
    The results of this trial indicate that trastuzumab is active
 as a single agent and produces durable objective responses
 in women with HER2-overexpressing breast cancer who
 have not previously received chemotherapy for their meta-
 static disease. The response rate was 26%; the clinical
 benefit rate was 38% in all assessable patients and 48% in
 the subset whose tumors overexpressed HER2 at the 3⫹
 level by IHC. Although an accurate assessment of the
 median duration of response was not possible because of
 censoring, 57% of the responding patients were known to be
 free of disease progression at 12 months or more of
 follow-up, underscoring the durability of the responses.
 These findings are noteworthy in view of the poor prognosis
 in this population.2-4,10 In addition, patients had lung or liver
 metastases (67%) because of the requirement for bidimen-
 sionally measurable disease. Furthermore, most patients had
 received adjuvant chemotherapy (68%), which included an
 anthracycline (50%) or high-dose therapy with stem-cell
 rescue (12%).
    This trial was designed as a companion to the pivotal
 trials of trastuzumab in women with HER2-overexpressing
 breast cancer. In one of these pivotal trials, trastuzumab was                   Fig 2. Kaplan-Meier estimates of time to disease progression in 111
 administered as a single agent to 222 patients with previ-                    assessable patients with HER2 overexpression by IHC, 79 with HER2 gene
                                                                               amplification by FISH, and 29 without HER2 gene amplification. Time to
 ously treated metastatic breast cancer in a phase II study.6 In               disease progression for FISHⴙ patients was significantly longer than for
 that study, trastuzumab produced response rates of 15%                        FISHⴚ patients (P < .0001).




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       Table 3.   Adverse Events in > 20% of 114 Patients Treated With at Least One Dose of Trastuzumab, Including Those Not Related to Treatment
                                                 Trastuzumab 2 mg/kg (n ⫽ 59)                                       Trastuzumab 4 mg/kg (n ⫽ 55)
                                           Any                                  Severe                        Any                                  Severe
    Type of Response               No.                %                No.                %            No.               %                No.                 %

 Any                                58               98                                                55               100
 Any treatment-related              40               68                                                47                85
 Pain                               35               59                 5                 8            32                58                5                  9
 Asthenia                           31               53                 4                 7            32                58                4                  7
 Nausea                             22               37                 2                 3            26                47                1                  2
 Fever                              21               36                 1                 2            25                45                          0
 Headache                           17               29                 2                 3            21                38                1                  2
 Chills                             13               22                           0                    22                40                1                  2
 Infection                          21               36                           0                    14                25                1                  2
 Diarrhea                           21               36                 1                 2            13                24                3                  5
 Rash                               12               20                           0                    21                38                          0
 Vomiting                           15               25                 1                 2            18                33                2                  4
 Abdominal pain                     15               25                 1                 2            18                33                2                  4
 Back pain                          12               20                 3                 5            19                35                4                  7
 Cough                              16               27                           0                    14                25                          0
 Chest pain                         15               25                 2                 3            11                20                1                  2
 Peripheral edema                   13               22                           0                    12                22                          0
 Dyspnea                             9               15                           0                    14                25                1                  2




 limited by the potential for bias, regardless of the similari-                       adverse events occurred after the first infusion and became
 ties of their study populations.                                                     much less frequent after the second and subsequent infu-
    The higher dose of trastuzumab showed no apparent                                 sions. These acute, infusion-related events were character-
 benefit over the standard dose based on the efficacy end                             ized by chills, fever, and nausea. There was no clear
 points in this relatively small trial. Objective responses were                      evidence of a relationship between dose and the severity or
 seen in patients with different prognostic factors, such as                          frequency of adverse events. QOL did not diminish during
 hormone receptor status, site of metastases, duration of                             treatment with trastuzumab and, in fact, seemed to improve
 disease-free interval, and previous adjuvant therapy. In                             in patients who had objective responses. Similar findings
 contrast, objective responses were not detected in the subset                        were seen in patients who received single-agent trastu-
 of patients whose tumors overexpressed HER2 at the 2⫹                                zumab for previously treated metastatic breast cancer.6
 level. Objective responses have been detected in this subset                            The most clinically significant adverse event attributed to
 of patients in other studies,6,7 but the response rates were                         trastuzumab has been cardiac dysfunction.6,7 In a blinded,
 consistently lower than in those with HER2 overexpression                            retrospective analysis of all cardiac events in the present
 at the 3⫹ level.                                                                     trial, an independent committee determined that three pa-
    A retrospective analysis was performed to explore the                             tients had cardiac events. Two of the three patients had
 correlation between HER2 gene amplification by FISH and                              histories of significant cardiac disease, and one had received
 clinical outcome.11 The 34% response rate in the subset of                           adjuvant anthracycline therapy. The cardiac event in the
 assessable patients with gene amplification was noteworthy                           third patient was attributed to underlying breast cancer.
 because it approached the response rate associated with                              After discontinuation of trastuzumab, none of these patients
 first-line chemotherapy with or without trastuzumab.7 The                            required additional intervention for cardiac events. In other
 data from this and the trastuzumab pivotal trials6,7 suggest                         trials, signs and symptoms usually responded to standard
 that FISH is a superior method for selecting patients likely                         medical therapy for congestive heart failure.6,7 An analysis
 to benefit from trastuzumab therapy.                                                 of cardiac events in all trials involving trastuzumab is
    The safety profile of trastuzumab is different from that of                       underway in an effort to identify risk factors.
 most standard chemotherapy agents. Toxicities typically                                 The present results (the preliminary findings of which
 associated with chemotherapy, such as alopecia, stomatitis,                          were originally published in abstract form12-14) have led to
 and bone marrow suppression, occurred in less than 10% of                            randomized clinical trials designed to additionally assess the
 patients in this trial (data not shown) and may or may not                           optimal clinical use of trastuzumab as first-line treatment of
 have been related to treatment. In this and previous trastu-                         patients with metastatic breast cancer. These trials will
 zumab trials,6,7 most of the common, treatment-related                               provide important information regarding the sequence of




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 therapies that provides maximal efficacy and preserves the                                     ACKNOWLEDGMENT
 QOL. In conclusion, single-agent trastuzumab is an active
                                                                           We thank the principal investigators (see Appendix), Ivonne Villa-
 and well tolerated option for first-line treatment of women             lobos, Jian-Yuan Zhou, MD, Wen-Hsiang Wen, MD, PhD, Yongtian
 who have metastatic breast cancer with 3⫹ HER2 overex-                  (Brandon) Li, MD, Jennifer Stepcic, Phillips Group Oncology Com-
 pression by IHC or with gene amplification by FISH.                     munications, and Cindy W. Hamilton.


                                                                   APPENDIX

                                           The appendix is available online at www.jco.org.

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 Phase II study of oral bis (aceto) ammine dichloro (cyclohexamine) platinum
 (IV) (JM-216, BMS-182751) given daily x 5 in hormone refractory prostate
 cancer (HRPC)

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 Key words: Hormone refractory prostate cancer (HRPC), JM-216 (BMS-18751, Satraplatin), Phase II Open-label study,
 Prostate-specific antigen (PSA)


 Summary
 JM-216 is an orally bioavailable platinum compound with activity against many tumor models. The objective of this
 study was to determine the safety profile and anti-tumor activity of JM-216 in patients with hormone refractory prostate
 cancer (HRPC) when given orally daily × 5 days. In this open label phase II study JM-216 was administered orally
 at the dose of 120 mg/m2 /d for 5 days every 4 weeks. Patients continued on the therapy until evidence of disease
 progression or intolerable toxicity developed. Dose escalation and de-escalation were allowed according to patient’s
 tolerance. Thirty-nine patients were enrolled onto the study and received a total of 155 courses (median 2, range 1–16)
 of JM-216. Dose delays (77% of courses) and dose reductions (31% of courses) were common and were mainly due
 to myelosupression. Treatment was discontinued in 5 patients due to treatment related toxicities. One patient developed
 myelodysplastic syndrome 11 months after the start of treatment. The most frequent grade III or higher adverse events
 included thrombocytopenia (54%), neutropenia (52%), anemia (24%) nausea (13%), vomiting (16%) and diarrhea (28%).
 PSA response was assessed in 32 patients, 10 (26%) had partial response, 14 (36%) had stable disease while PSA
 progression was seen in 8 (21%) patients. Of 20 (54%) patients with measurable disease two patients had a documented
 partial response. Although JM-216 had moderate activity in HRPC when given on daily basis for 5 days, it is associated
 with significant treatment related toxicities in this patient population.


 Introduction                                                            benefit [2]. Due to the use of differing response and entry
                                                                         criteria the comparison of objective advantage obtained
 Metastatic prostate cancer remains the second leading                   from the use of these cytotoxic agents is difficult to assess
 cause of male cancer deaths in the United States of Amer-               [3, 4]. Nonetheless objective response rate (i.e. reduc-
 ica with estimated 28, 900 deaths in the year 2003 [1].                 tion in measurable disease including complete and partial
 Although androgen deprivation is the mainstay of treat-                 response) remains less than 10% with most of these reg-
 ment in metastatic prostate cancer it is generally consid-              imens [5]. Although no evidence was available in favor
 ered palliative and all patients eventually become resis-               of chemotherapy improving the survival in HRPC recent
 tant to hormonal therapy. Once prostate cancer becomes                  trials have demonstrated encouraging results in symptom
 hormone refractory, the prognosis is dismal with a me-                  palliation, response rate and quality of life [6].
 dian overall survival generally demonstrated to be less                    JM-216, (BMS-182751, Satraplatin), {bis (aceto) am-
 than one year [2]. To date none of the several clinical                 mine dichloro (cyclohexamine) platinum (IV)}, is a novel
 trails evaluating experimental chemotherapeutic and or                  platinum analog that can be administered orally on a daily
 hormonal regimens in hormone refractory prostate can-                   basis [7]. JM-216 has shown antitumor activity compara-
 cer (HRPC) patients had demonstrated a definite survival                ble to that of cisplatin or carboplatin in human ovarian




                                                                                                   AVENTIS EXHIBIT 2110
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   carcinoma xenograft and murine sarcoma models [8]. It           Patients were required to have adequate bone marrow re-
   has also shown antitumor selectivity far superior to that       serve, renal and hepatic function. Sexually active, fertile
   observed for cisplatin or carboplatin against murine plas-      patients were required to use effective birth control meth-
   macytoma in the in vivo preclinical studies [9]. Although       ods while receiving study drug. Individuals were excluded
   phase I studies of JM-216 as a single agent have evalu-         if they were diagnosed with a serious concurrent uncon-
   ated three administration schedules, daily dose for 5 con-      trolled medical disorder; a history of major gastrointesti-
   secutive days, every three weeks was the recommended            nal surgery or pathology likely to influence absorption;
   schedule for further studies due to ease of administration      and a history or prior malignancy except appropriately
   and best tolerability [10]. Utilizing this schedule the dose-   treated localized epithelial skin cancer.
   limiting toxicities included thrombocytopenia, and diar-           Pretreatment evaluation included a history and physical
   rhea and the maximum tolerated dose (MTD) was 100–              examination including height, weight, performance sta-
   140 mg/m2 /d. The most frequent reasons for treatment           tus, and symptom review. Pretreatment testing included
   discontinuations due to an adverse effect were hemato-          an EKG, chest X-ray, pain assessment, and tumor assess-
   logic and/or gastrointestinal toxicities. The recommended       ment. Laboratory tests required within 14 days of initial
   phase II dose using the daily times 5 days schedule was         treatment included the following: complete blood count
   100–120 mg/m2 /d every three to four weeks [10, 11]. Mul-       (CBC), blood chemistry profile, urinalysis, PSA and cre-
   tiple phase I/II trials have evaluated the role of cisplatin    atinine clearance in case of abnormal serum creatinine.
   and carboplatin, either as single agent or in combination       While receiving treatment, weekly CBC was obtained.
   with other cytotoxic agents, in HRPC [12–18]. The ob-           History and physical examination, pain assessment, blood
   jective response rate to single agent cisplatin ranged 0 to     chemistry profile, urinalysis and PSA were required prior
   19% in these trials and was comparable to that seen with        to each treatment cycle. Repeat creatinine clearance val-
   other chemotherapeutic agents in HRPC [14–18]. Car-             ues were obtained if the serum creatinine rose to above
   boplatin in combination with pactlitaxel and estramustine       the upper normal limit. Chest X-ray and EKG were re-
   phosphate (TEC) has shown significant antitumor activity        peated as clinically indicated. Toxicity assessment was
   (45% response rate in patients with measurable disease)         performed at every clinic visit using National Cancer In-
   [12, 13]. Based on these results, ease of daily oral admin-     stitute common toxicity criteria (version 1). Tumor re-
   istration and the need for improved therapy for HRPC a          assessment was required prior to every other course and
   phase II study of JM-216 in the treatment of HRPC was           as clinically indicated.
   undertaken. The objectives of the study were to deter-
   mine the anti-tumor activity of JM-216 in the treatment
   of HRPC, and to evaluate the safety profile of this unique      Treatment
   agent in this patient population and schedule proposed.
                                                                   JM-216 was provided by Bristol-Myers Squibb Pharma-
                                                                   ceutical Research Institute in capsules of 10 mg, 50 mg,
                                                                   and 200 mg. JM-216 was initiated at 120 mg/m2 /d for five
   Patients and methods
                                                                   days, repeated every three weeks. The dose interval was
                                                                   amended to every four weeks after the first five patients
   Patient eligibility and evaluation
                                                                   experienced delayed hematologic recovery. Dose escala-
   From December 1995 to October 1998 patients with histo-         tion or de-escalation was allowed according to preplanned
   logically confirmed metastatic prostatic adenocarcinoma,        dose adjustment schema that is shown in Table 1. Patients
   who had disease progression despite one or more hor-            were allowed to continue treatment as long as clinical
   monal therapies, and after anti-androgen withdrawal were        benefit was observed, in the absence of disease progres-
   enrolled in the study. Both measurable and evaluable pa-        sion and/or intolerable toxicities. Reasons for termination
   tients were eligible for the study provided progression of
   disease could be objectively established. Progression was       Table 1.   Schema for planned dose adjustments
   demonstrated by worsening disease on bone scan or other
                                                                   Toxicity                                         Dose adjustmenta
   objective measures including bone X-ray, CAT scan and
   magnetic resonance imaging (MRI). Isolated increase in          ≤Grade 1 hematological toxicityb                 Escalate to next level
   Prostate Specific Antigen (PSA) was not considered suf-         Equal to grade II hematological toxicity         No change
   ficient evidence of disease progression. Patients were re-      ≥Grade II hematological toxicity                 Reduce one level
                                                                     or 25–50% reduction in creatinine clearance
   quired to have ECOG performance status of 0–2, and a
   life expectancy of at least 6 months. No prior cytotoxic        a Dose levels: − 2 = 80 mg/m2 /d, − 1 = 100 mg/m2 /d,0 = 120 mg/m2 /d,

   chemotherapy (including suramin) or large field radiation       + 1 = 140 mg/m2 /d, + 2 = Do not exceed 140 mg/m2 /d.
                                                                   b According to CTC version 1.
   (greater than 30% of marrow bearing area) was allowed.
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   included toxicity, disease progression, patient request,      stage two would begin with the accrual of 15 additional
   non-compliance, or physician decision.                        patients to estimate the effectiveness of JM-216 in this pa-
                                                                 tient population. If more than 7 responses were observed,
                                                                 the regimen was concluded to be promising. Tabulations
   Evaluation                                                    and descriptive statistics were used to analyze patient
                                                                 characteristics, drug efficacy, drug safety and laboratory
   Evaluation for progression of disease or response to
                                                                 observations.
   chemotherapy was performed using physical examina-
   tion, bone scans, bone X-rays, and other appropriate imag-
   ing techniques and PSA levels. Measurable disease was
                                                                 Results
   defined as lesions measurable in two perpendicular diam-
   eters. A complete response (CR) in patients with measur-
                                                                 The pretreatment characteristics of patients entered into
   able disease consisted of complete disappearance of all
                                                                 this trial are listed in Table 1. Thirty-nine patients were
   tumor lesions and of all signs and symptoms of disease
                                                                 registered from December 1995 to October 1998. All pa-
   for at least four weeks from the date of documentation
                                                                 tients initiated treatment at a dose of 120 mg/m2 /day and
   of the complete response. A partial response (PR) among
                                                                 received a total of 155 courses of JM-216 (median 2, range
   patients with measurable disease consisted of a decrease
                                                                 1–16). The original protocol required that the chemother-
   by more than 50% in the sum of the products of the two
                                                                 apy be given for five consecutive days every 21 days.
   largest perpendicular diameters of all measurable lesions
                                                                 The protocol was amended in July 1996, to reflect the
   as determined by two consecutive observations, at least
                                                                 discovery of late hematologic nadirs occurring at approx-
   four weeks apart. Stable disease was defined as failure to
                                                                 imately day 21 of each course. The cycle length was then
   observe either a CR or PR, in the absence of progressive
                                                                 changed to every 28 days. Dose delays were common
   disease (PD), as determined by two consecutive observa-
                                                                 and occurred in 88 (77%) of 116 courses delivered sub-
   tions at least four weeks apart. Progressive disease was
                                                                 sequent to the first course and the median number of days
   determined by an increase in size by at least 25% of any
                                                                 between courses was 38 (range 21–72 days). The ma-
   measurable or evaluable lesion, and/or the appearance of
                                                                 jority of courses were delayed due to the late recovery
   new lesions or the occurrence of malignant pleural effu-
                                                                 from hematologic toxicity. Dose reductions occurred fre-
   sion or ascites.
                                                                 quently and reasons for dose reduction included cytopenia
      A complete PSA response was defined as PSA values
                                                                 in 23 patients and an increase in creatinine in 2 patients. Of
   within institutional normal range provided there was no
                                                                 37 patients who received a minimum of two courses, 22
   disease progression during or before the response period.
                                                                 (59%) patients required at least one dose reduction during
   Partial PSA response consisted of PSA values that had
                                                                 their treatment. Dose reductions occurred in 36 (31%) of
   decreased by at least 50% of their baseline values, without
                                                                 116 courses administered subsequent to the first course.
   disease progression during or before the response period.
                                                                 However, 10 (26%) patients who received a minimum
   A stable PSA response was defined as PSA values that are
                                                                 of two courses, were dose escalated to 140 mg/m2 /day
   less than 50% from the baseline value, provided there is no
                                                                 at some point in time during their therapy. Permanent
   CR, PR or PD, during or before the response period. PSA
                                                                 dose discontinuation occurred in 5 patients. Three had el-
   progression was determined by PSA values with atleast
                                                                 evated liver function tests and one each had leukopenia
   a 50% increase from the nadir value. Assessment of PSA
                                                                 and thrombocytopenia.
   response required two consecutive PSA values at least
                                                                    Hematologic toxicities are summarized in Table 2. Me-
   28 days apart for each of the circumstances (CR, PR, and
                                                                 dian time to hematologic nadir during evaluation of all
   PD)
                                                                 courses was day 27 for hemoglobin (range 2–154); day 22
                                                                 for absolute neutrophil count (range 2–45) and day 24 for
   Statistical methods                                           platelet count (range 2–108). Fourteen patients required
                                                                 transfusions for anemia or thrombocytopenia at some time
   The original study incorporated a two-stage accrual de-       during their course of treatment. Approximately 88% of
   sign to allow early termination should preliminary results    patients had abnormal lymphocyte values at the initia-
   indicates that treatment has minimal activity or unaccept-    tion of the study with 95% of patients developing grade 3
   able toxicity in this population. Objective response rate     lymphopenia during the treatment phase. One patient de-
   was the primary endpoint of the study. However, the de-       veloped a latent myelodysplastic syndrome (MDS) with
   cision to continue the trial was based on overall evidence    complex karyotype (including 7q-) on cytogenetic analy-
   of response including both objective response and PSA         sis approximately eleven months after his treatment.
   response. Fifteen evaluable patients were to enter into          Non-hematological toxicities were mostly grade I or
   the study initially; if 2–4 responses were observed, then     II and included nausea (95%), asthenia (90%), diarrhea
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              Table 2.   Patient characteristics                         Table 3. Grade 3 or higher toxicities according to
                                                                         CTC version 1
              Characteristics                  N = 39
                                                                         Toxicity                    % of Patients, N = 39
              Age
                Median (years)                 69                        Hematologic
                Range                          47–82                       Anemia                    24
              Performance status                                           Leukopenia                41
                0                              16 (41%)                    Neutropenia               52
                1                              22 (56%)                    Lymphopenia               95
                Not Reported                    1 (3%)                     Thrombocytopenia          54
              PSA                                                        Gastrointestinal
                Median (ng/L)                  117.7                       Diarrhea                  28
                Range                          4.3–1497.8                  Vomiting                  13
                                                                           Nausea                    16
              Time from diagnosis
                                                                           Elevated Liver enzymes    10
                Median (months)                55
                Range                          <1–116                    Renal                        0
              Bone metastases
                Present                        33 (85%)
                Absent                          6 (15%)
                                                                  remained stable for the duration of treatment. PSA values
              Prior therapy
                Radiation                      24 (61%)           were measured at the time of each chemotherapy admin-
                Hormone therapy                39 (100%)          istration. Thirty-two patients had all PSA values available
                Orchiectomy                    12                 for response assessment. A complete PSA response or a
                LHRH agonist                   29                 partial PSA response was measured in 10 (26%) patients,
                Anti-androgen                  35
                                                                  stable disease was noted in 14 (36%) patients while PSA
                Estrogen                        6
                                                                  progression occurred in 8 (20%) patients. PSA response
                                                                  could not be evaluated in 7 (18%) patients due to the miss-
                                                                  ing values. Treatment was discontinued in many patients
   (87%), anorexia (69%), vomiting (51%) constipation             before the documentation of PSA progression due to tox-
   (44%), chills (38%), myalgia (36%), dysgeusia (33%),           icity and other reasons, 14 (35%) patients enrolled in the
   dizziness (33%), and headache (31%). As summarized in          study had documented PSA progression during the treat-
   Table 2 Gastrointestinal toxicities were significant, with     ment period. The median survival for the whole cohort is
   Grade 3 or higher nausea, vomiting and diarrhea noted          16.7 months (95% confidence interval 9.3–19.2 months).
   in 13, 16 and 28% of the patients respectively. Approxi-       The median PSA response duration was 3.8 months while
   mately one-third of patients had an elevation of ALT, AST,     median progression-free survival was 7.7 months in 32 as-
   or total bilirubin from baseline at some point during treat-   sessable patients.
   ment. Most elevations were grade 1or II, transient, tended
   to occur soon after the course of treatment and recurred
   in some cases upon re-challenge with JM-216. Grade 3           Discussion
   or higher abnormalities of liver related enzymes occurred
   in 4 patients and treatment was discontinued in three pa-      JM-216 (BMS-182751, Satraplatin) is a novel orally
   tients. Abnormalities of liver enzymes were uniformly re-      bioavalible platinum analog that had demonstrated anti-
   versible in all cases on discontinuation of therapy. Renal     tumor activity comparable with parentrally administered
   toxicities were mild and infrequent with only two patients     cisplatin or carboplatin in both in vitro and in vivo stud-
   requiring dose delays and reductions secondary to renal        ies. Although phase II studies in small cell lung cancer
   function abnormalities. Seventeen patients reported a to-      JM-216 has shown considerable promise as first line ther-
   tal of 35 hospitalizations during the course of this study.    apy [19], its antitumor activity in refractory cervical and
   Twelve of these hospitalizations were believed related to      non-small cell lung cancers is at best modest [20, 21].
   study drug toxicity. Treatment were discontinued due to        Its role as a radiation sensitizer and in combination with
   progressive disease in 19 (49%) patients, treatment related    other drugs has been evaluated in small studies [22, 23].
   toxicity in 13 (33%) patients and upon patient’s request       The overall response rate including objective and PSA re-
   in 5 (13%) cases.                                              sponse (excluding stable disease) was 26% in this study.
      Twenty patients (54%) had measurable disease. Two           Stable disease was observed in another 36% of the patients
   patients, one with liver metastasis had a documented par-      demonstrating modest anti-tumor activity of JM-216 in
   tial response. The remaining 18 patients did not have any      HRPC comparable to that observed for other cytotoxic
   measurable response to treatment, in 7 patients the disease    agents in this setting.
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                                                                                                                                     83

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                     EXHIBIT DD
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           UNITED STATES PATENT AND TRADEMARK OFFICE
                          ________________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                         ________________

                     MYLAN LABORATORIES LIMITED
                                Petitioner,
                                     v.
                         AVENTIS PHARMA S.A.
                              Patent Owner.
                            ________________

                              Case IPR2016-00712
                            U.S. Patent No. 8,927,592
                               ________________



            DECLARATION OF ALTON OLIVER SARTOR, M.D.




                                                               Aventis Exhibit 2176
                                                   Mylan v. Aventis, IPR 2016-00712
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  I.        QUALIFICATIONS
       1.    I am the same Dr. Sartor who submitted a declaration under 37 C.F.R.

  § 1.132 during the prosecution of U.S. Patent Application No. 13/456,720, which I

  understand issued as U.S. Patent No. 8,927,592 (the “’592 patent”). Exh. 1004 at

  164-222.

       2.    I am a medical oncologist that has specialized in the research and treatment

  of prostate cancer for more than 25 years. I am the Laborde Professor of Cancer

  Research in the Medicine and Urology Departments and the Assistant Dean for

  Oncology at the Tulane University School of Medicine.

       3.    I received my M.D. from Tulane University in 1982. I completed an

  internship at the University of Pennsylvania before training in internal medicine at

  Tulane University School of Medicine. I then completed a fellowship at the

  National Cancer Institute (“NCI”) in Bethesda, Maryland in 1989. From 1989-

  1990 I was a Senior Staff Fellow at the Laboratory of Cellular Development and

  Oncology, National Institutes of Dental Research before serving as a Senior

  Investigator at the NCI until 1993.

       4.    In 1993 I returned to Louisiana to serve as Associate Professor of Medicine

  at the Louisiana State University (“LSU”) Medical School in Shreveport, L.A. and

  then moved to the LSU Health Sciences Center in New Orleans, L.A. in 1998 as

  the Patricia Powers Strong Professor of Oncology, Stanley S. Scott Cancer Center

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  Director, and Hematology/Oncology Section Chief. I became the Co-Director of

  the Louisiana Cancer Research Consortium at its origin in 2002.

     5.   In 2006 I left LSU and joined the Lank Center for Genitourinary Oncology

  at the Dana Farber Cancer Research Institute and Harvard Medical School. In

  2008 I joined Tulane University where I am currently Medical Director and

  Associate Director for Clinical Programs of the Tulane Cancer Center. Further

  information regarding my academic background and work experience can be found

  in my curriculum vitae, a copy of which is submitted separately as Exhibit 2180.

     6.   During the course of my career, my interests have focused on treating

  prostate cancer, particularly in patients who have failed initial therapy. I have

  published more than 300 scholarly articles, including many on clinical trials of

  agents to treat prostate cancer. These publications have been cited more than

  15,000 times per Google Scholar.

     7.   I have been appointed to numerous scientific committees. I am currently

  serving as Chairman of the Tulane Cancer Center Strategic Planning Committee;

  Medical Chair of the Genitourinary Committee of NRG Oncology (the world’s

  largest radiation oncology research group); and served as an FDA Public

  Workshop Panelist in 2013 on Clinical Trial Design Issues - Drug & Device

  Development for Localized Prostate Cancer. I was previously chairman of the



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  Integration Panel for the Department of Defense’s Congressional Directed Medical

  Research Program in Prostate Cancer.

     8.   I have served on the editorial boards of scientific journals such as The

  Prostate, Urology, and Personalized Medicine in Oncology. I am currently Editor-

  in-Chief of the Clinical Genitourinary Cancer journal.

     9.   I have given hundreds of invited lectures and presentations at meetings

  around the world including at ASCO (American Society of Clinical Oncology),

  ASCO Genitourinary Cancers (“ASCO GU”), and ESMO (European Society of

  Medical Oncology) meetings. I have also consulted with various pharmaceutical

  companies including Johnson & Johnson, Sanofi, Novartis, GlaxoSmithKline,

  Pfizer, Bayer, Dendron, and OncoGenex.

     10. I was a principal investigator (“PI”) or co-PI on numerous prospective

  international clinical trials evaluating new therapies for patients with advanced

  prostate cancer, including five pivotal trials that have led to FDA approvals. I have

  also served as Data Monitoring Committee Chair for four phase III pivotal trials

  for FDA approval in prostate and renal cell cancer.

     11. I was a co-PI on the TROPIC phase III study comparing cabazitaxel plus

  prednisone to mitoxantrone plus prednisone in patients with metastatic castration-

  resistant prostate cancer (“mCRPC”) previously treated with a docetaxel-

  containing treatment, a study sponsored by Sanofi. I was also the co-PI on another

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  phase III clinical trial of cabazitaxel, known as FIRSTANA, also sponsored by

  Sanofi.

     12. I continue to treat patients at the Tulane Cancer Center and Urology Multi-

  Disciplinary Clinic. I see approximately 40-50 patients per week with urologic

  malignancies. Currently about 1000 patients are under my care, mostly with

  prostate cancer. From 2005-2016, I have been named one of the “Best Doctors in

  America” by Best Doctors, Inc.

     13. I have significant experience in the clinical evaluation of cancer

  treatments, evaluation of novel treatments for patients with prostate cancer that

  have failed initial therapies, and treatment of patients with advanced prostate

  cancer. I have administered docetaxel therapy to my prostate cancer patients since

  the approval of Taxotere® in 2004. I have also administered cabazitaxel therapy to

  patients progressing after docetaxel therapy since the approval of Jevtana® in 2010.

  Therefore, I believe that I am qualified to render the opinions set forth in this

  declaration.

     14. I am being compensated for my time spent in connection with this matter

  at a rate of $500.00 per hour. My compensation does not depend on the outcome

  of this proceeding or the conclusions in this report. I have no financial interest in

  the ’592 patent.



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  II.      SCOPE OF ASSIGNMENT AND APPROACH
        15. I have been retained as an expert on behalf of Patent Owner Aventis

  Pharma S.A. (“Aventis”) to provide information and opinions to the Patent Trial

  and Appeal Board (“the Board”) to assist in the determination of the validity of the

  claims of the ’592 patent for which a Petition for Inter Partes Review (“IPR”) has

  been filed by Mylan Laboratories Ltd. (“Mylan”) and instituted.

        16. Specifically, counsel for Aventis asked me to respond to arguments made

  by Mylan’s expert Dr. Rahul Seth regarding the validity of Claims 1-5 and 7-30 in

  view of certain prior art references (Exh. 1002), to provide my opinions on the

  validity of these claims of the ’592 patent as well as proposed new claims 31-34,

  and to provide my opinions regarding the meaning of certain terms in proposed

  new claims 31-34.

        17. I have been informed by counsel and understand that the analysis of

  whether a patent is obvious is performed from the perspective of a person of

  ordinary skill in the art at the time of the patented invention. I understand the

  relevant timeframe for the patented invention of the ’592 patent is October 2009,

  January 2010, and June 2010.1




  1
   I understand that certain claims of the ’592 patent have different filing dates. My
  opinions do not change whether the dates are October 2009, January 2010, or June
  2010.
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     18. A list of documents that I relied on in connection with the development of

  my opinions set forth in this declaration is attached as Appendix 1. I have also

  reviewed the declaration of Dr. Seth and the documents cited therein.

     19. To the extent that I am presented with new information concerning the

  subject matter of this declaration or affecting any of my assumptions, I reserve the

  right to supplement this declaration accordingly.


  III.   APPLICABLE STANDARDS AND CONTROLLING PRINCIPLES

         A.    Interpreting Patent Claims
     20. I have been asked to provide my opinion as to the meaning of terms in

  Claims 1, 27, and proposed Claim 31. I have been informed by counsel and

  understand that I should interpret the claims from the point of view of a person of

  ordinary skill in the art and that my interpretation should be consistent with the

  broadest reasonable construction in light of the patent.

         B.    Obviousness
     21. I have been informed by counsel and understand that an issued patent

  claim is invalid as obvious if it can be shown that the differences between the

  patented subject matter and the prior art are such that the subject matter as a whole

  would have been obvious, at the time the invention was made, to a person having

  ordinary skill in the art. I understand that for an invention that is composed of



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  several elements, it is not enough to demonstrate that each was independently

  known in the art.

     22. I have been informed by counsel and understand that when the question is

  whether it would have been obvious to combine elements in the prior art, the Board

  will determine whether there was a reason to combine the elements in the manner

  claimed by the patent at issue. I also understand that it must be shown that a

  person of ordinary skill in the art would have had a reasonable expectation of

  success in combining the prior art references.

     23. I have been informed by counsel and understand that relevant

  considerations include the level of ordinary skill in the art; the scope and content of

  the prior art; differences between the prior art and the claims at issue; and the so-

  called objective secondary factors of nonobviousness. Secondary factors of

  nonobviousness may include, for example, evidence of unexpected results,

  commercial success, long felt but unmet needs, failure of others, and praise of

  others.

     24. I have been informed by counsel and understand that, in order to evaluate

  the obviousness of any claim of the ’592 patent over a given prior art combination,

  I should analyze whether the prior art references, including collectively in

  combination, disclose each and every element of the allegedly invalid claim as



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  those references are read by the person of ordinary skill in the art at the time of the

  invention.

     25. I have been informed by counsel and understand that in this proceeding,

  the burden of proving that the ’592 patent is obvious falls on the Petitioner, here

  Mylan. I also understand that Mylan must prove that the claims are obvious by a

  “preponderance of the evidence,” which I understand to mean more likely than not.

     26. I understand for Aventis’s motion to amend the ’592 patent to add Claims

  31-34, the burden is on Aventis to demonstrate that the claims are patentable.

        C.     Person of Ordinary Skill in the Art
     27. I have been informed by counsel and understand that the “person of

  ordinary skill in the art” or a “POSA” is a hypothetical person who is presumed to

  be familiar with the relevant scientific field and its literature at the time of

  invention. This hypothetical person is also a person of ordinary creativity capable

  of understanding the scientific principles applicable to the pertinent field.

     28. The specification and claims of the ’592 patent relate to methods of

  treating and increasing the survival of a patient with prostate cancer that has

  progressed during or after docetaxel therapy by administering 20-25 mg/m2 of

  cabazitaxel in combination with a corticoid, and the clinical studies of therapies for

  prostate cancer. It is my opinion that the person of ordinary skill in the art in the

  field of the ’592 patent would be an oncologist or a medical doctor specializing in

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  oncology with experience treating prostate cancer patients, including treating

  patients with metastatic prostate cancer. The skilled person would also have

  experience evaluating new therapies for prostate cancer. He or she would also

  have access to information regarding mechanisms of drug resistance and

  pharmacokinetics.

     29. Based on my training and experience, I believe I am (and was as of

  October 2009, January 2010, and June 2010) a person of greater than ordinary skill

  in the relevant art, which permits me to give an opinion about the qualifications of

  one of ordinary skill at the time of the invention.

     30. Dr. Seth defines the person of ordinary skill in the art differently, in that he

  includes specific pieces of information that such a person would have, and makes

  assumptions about what a person would do with cabazitaxel and a corticoid. Exh.

  1002 at ¶ 40.

     31. My opinions stated in this declaration would be the same if rendered from

  the perspective of a person of ordinary skill in the art as described by Dr. Seth.


  IV.   BACKGROUND ON THE DEVELOPMENT OF METASTATIC
        CASTRATION RESISTANT PROSTATE CANCER
     32. Cancer that has spread beyond the prostate is called “metastatic.” By

  October 2009, it was well known that metastatic prostate cancer is typically treated

  with hormone-based therapy to lower or block the hormones that promote prostate


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  cancer growth. Mackinnon et al., Molecular Biology Underlying the Clinical

  Heterogeneity of Prostate Cancer, An Update, 133 Arch. Pathol. Lab. Med. 1033-

  40 (2009) (Exh. 2025) at 1034. This was commonly referred to as androgen

  ablation, androgen suppression, or androgen deprivation.

     33. The first hormonal therapy was typically surgical or medical castration to

  drastically reduce the levels of testosterone. See id. Castration will generally

  provide an improvement in tumor volume and symptoms the patient may have, but

  it is not curative.

     34. When a patient’s cancer worsens despite castrate levels of testosterone, the

  cancer is referred to as castration resistant prostate cancer or “CRPC.” “CRPC” is

  commonly used today, but this condition was also previously referred to in the

  literature as hormone-refractory, castration-recurrent, and androgen independent

  prostate cancer. The ’592 patent uses castration resistant and hormone-refractory

  interchangeably. Exh. 1001 at col. 4, ll. 4-5.

     35. As of October 2009, it was understood that most men with metastatic

  prostate cancer progressed to castration resistant prostate cancer, commonly

  referred to as “mCRPC.” Pienta & Smith, Advances in Prostate Cancer

  Chemotherapy: A New Era Begins, 55 CA Cancer J. Clin. 300-18 (2005) (“Pienta

  & Smith”) (Exh. 2083) at 300. mCRPC was an incurable condition; therefore, the



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  goals of therapy were to improve quality of life through symptom control and to

  attempt prolongation of life.

      36. Prior to 2004, it was largely believed that mCRPC was not responsive to

  chemotherapy, and no therapy had been shown to prolong life in these patients. Id.

  at 302-03. Mitoxantrone in combination with a corticosteroid was approved for

  mCRPC based on two clinical studies showing an improvement in palliative (i.e.,

  pain) response, one with hydrocortisone and the other with prednisone.2 August

  2008 Novantrone® Label (Exh. 2111) at 9-12. Mitoxantrone therapy has never

  been shown to prolong life in mCRPC patients. See id.

      37. In 2004 the FDA approved docetaxel in combination with prednisone for

  mCRPC after two phase III clinical trials, one in combination with estramustine

  and the other in combination with prednisone, demonstrated a statistically

  significant increase in overall survival as compared to mitoxantrone in

  combination with prednisone. Exh. 2083 at 304-07; Beardsley & Chi, Systemic

  Therapy After First-Line Docetaxel in Metastatic Castration-Resistant Prostate

  Cancer, 2 Curr. Opin. Support. Palliat. Care 161-66 (2008) (“Beardsley”) (Exh.

  1022) at 161. As of October 2009, chemotherapy with docetaxel was generally

  reserved for patients with mCRPC. See, e.g., NCCN Guidelines for Prostate

  Cancer V.2 2009 (“NCCN Prostate”) (Exh. 2077) at CabRef0002927; Affidavit of
  2
   Hydrocortisone and prednisone are both corticosteroids, also referred to as
  corticoids.
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  Christopher Butler, Office Manager at the Internet Archive & Exhibit A (Exh.

  2142) at 1-2, 126-72.3

      38. Although the approval of docetaxel was a breakthrough therapy for

  mCRPC because it was the first therapy to provide a survival benefit, it was known

  that patients’ cancers will eventually progress after docetaxel therapy because of

  drug resistance. Rosenberg et al., Activity of Second-Line Chemotherapy in

  Docetaxel-Refractory Hormone-Refractory Prostate Cancer Patients, Randomized

  Phase 2 Study of Ixabepilone or Mitoxantrone and Prednisone, 110(3) Cancer 556-

  63 (2007) (Exh. 1027) at 557.

      39. As of 2009, there were no options to prolong the life of patients with

  prostate cancer progressing after docetaxel. As such, despite the fact that it did not

  prolong the life of patients, mitoxantrone became the community standard for a

  patient that progressed during or after docetaxel because of its palliative benefits.

  See id. Docetaxel retreatment was occasionally tried for prostate cancer patients

  who had responded well to docetaxel the first time they received it. Exh. 1022 at

  3
    The National Comprehensive Cancer Network or NCCN is “an alliance of 27 of
  the world’s leading cancer centers” that develops guidelines “detailing the
  sequential management decisions and interventions that currently apply to 97
  percent of cancers affecting patients in the United States.” About the NCCN
  Clinical Practice Guidelines in Oncology (NCCN Guidelines®), National
  Comprehensive Cancer Network, https://www.nccn.org/professionals/default.aspx
  (last visited Nov. 10, 2016) (Exh. 2138). The NCCN Guidelines are a resource
  that physicians rely on because it presents recommendations “based on the best
  evidence available at the time they are derived.” Id.
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  162. Such docetaxel retreatment had not been shown to prolong life, especially for

  patients who progressed during or shortly after first-line docetaxel.4 Thus, the need

  for a new therapy that prolonged life was “urgent.” Id. at 161.


  V.      CLAIM CONSTRUCTION
       40. I understand that the Board has construed the following terms that are

  applicable to my analysis of the ’592 patent (Paper 9 at 10):

        • In Claim 1, “A method for treating a patient” is not a limitation of the claim,

           but if it is, it means “a method intended to benefit a patient.”

        • In Claim 27, “A method of increasing the survival of a patient” is not a

           limitation of the claim, but if it is, it means “a method intended to increase

           the survival of a patient.”

       41. My opinions set forth below in Section VI on Nonobviousness apply the

  Board’s claim construction assuming the above language of Claims 1 and 27 is not

  a limitation.


  VI.     NONOBVIOUSNESS
       42. Dr. Seth’s opinion that Claims 1-5 and 7-30 were obvious to the POSA in

  2009 relies on four principle bases: the fact that cabazitaxel was a taxane like


  4
   “First-line” refers to docetaxel being the first therapy given to the patient after
  developing mCRPC. Second-line therapy refers to a therapy that is given after the
  patient has worsened on the first-line therapy.
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  docetaxel with preclinical activity; partial responses in two prostate cancer patients

  in phase I clinical testing; phase II data in breast cancer; and the existence of the

  phase III TROPIC study. Exh. 1002 at ¶¶ 66-77, 121-22, 133, 171-72, 184.

     43. I disagree with Dr. Seth’s assertions as to each of these bases, whether

  considered alone or in combination. Dr. Seth’s assertions are often unsupported

  and rely on hindsight and selective information, and furthermore in my opinion are

  not shared by the POSA.

     44. When the full scope of the art is considered, including the clinical

  development of other taxanes, the relatively limited data available for cabazitaxel,

  the unpredictability of phase III oncology trials, the wide variety of failed attempts

  at treating advanced prostate cancer, and the uncertainty surrounding the use of

  corticoids, a POSA in October 2009 would not have been motivated to treat

  patients with prostate cancer worsening during or after docetaxel with cabazitaxel

  with a reasonable expectation of success, particularly not in terms of prolonging

  survival.

     45. Most importantly, a POSA would not select a therapy for a patient in a

  clinical setting without expecting the therapeutic benefits of the regimen to

  outweigh the risks. These patients had already been given docetaxel, a therapy

  known to cause side effects in many patients, and a previous chemotherapy

  regimen can lead to issues in tolerability of future chemotherapies. This is

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  especially true for a chemotherapy for which side effects have been observed.

  Docetaxel is a cytotoxic chemotherapy that is known to cause, for example,

  diarrhea, nausea, hair loss, fatigue, neutropenia,5 febrile neutropenia, and sensory

  neuropathy. Tannock, et al., Docetaxel Plus Prednisone or Mitoxantrone Plus

  Prednisone for Advanced Prostate Cancer, 351 New Eng. J. Med. 1502-12 (2004)

  (Exh. 1013) at Table 4. Some of these side effects can be life-threatening.

  Diarrhea, for instance, can lead to the need for parenteral support for dehydration,

  hemodynamic collapse, and death; febrile neutropenia can cause life-threatening

  sepsis and death; and sensory neuropathy can lead to permanent sensory loss that

  interferes with function, and death. Common Toxicity Criteria (CTC) Version 2.0

  (Apr. 30, 1999) (Exh. 2181) at 11, 16, 20; National Cancer Institute, Common

  Toxicity Criteria Manual Version 2.0 (June 1, 1999) (Exh. 2229) at 2 (defining

  Grade 4 as “[l]ife-threatening or disabling adverse event” and grade 5 as “[d]eath

  related to adverse event”). In a phase III study of docetaxel in patients with

  advanced, hormone-refractory prostate cancer, a patient in the docetaxel group

  died from sepsis. Exh. 1013 at 1509. Cabazitaxel was also known to have caused

  side effects, including neutropenia, diarrhea, fatigue, nausea, and vomiting. Mita

  et al., Phase I and Pharmacokinetic Study of XRP6258 (RPR 116258A), a Novel

  Taxane, Administered as a 1-Hour Infusion Every 3 Weeks in Patients with
  5
    Neutropenia is a low level of neutrophils, a type of white blood cell that is used to
  fight infection in the body.
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  Advanced Solid Tumors, 15(2) Clin. Cancer Res. 723-30 (2009) (“Mita”) (Exh.

  1012) at Table 4; Pivot et al., A Multicenter Phase II Study of XRP6258

  Administered as a 1-H I.V. Infusion Every 3 Weeks in Taxane-Resistant Metastatic

  Breast Cancer Patients, 19 Annals of Oncol. 1547-52 (2008) (“Pivot”) (Exh. 1010)

  at Table 2. Thus, a person of ordinary skill would not choose another potentially

  toxic medication for a patient previously treated with docetaxel without knowing

  that the medicine provides therapeutic benefits outweighing these risks. In other

  words, a person of ordinary skill would need clinical data showing that the

  medicine provides a specific clinical benefit to the patient, such as those described

  in the specification of the ’592 patent, because otherwise the patient would be

  unnecessarily exposed to potential harm, especially in the case where the

  administration of a drug can lead to death. Exh. 1001 at col. 3, ll. 24-29.

     46. Claim 1 recites treating a patient, not performing a study to determine if

  the regimen will be useful. A clinical study of a new agent requires informed

  consent from the patient because it is not known yet whether the medicine is likely

  to benefit the patient. Joffe et al., Quality of Informed Consent in Cancer Clinical

  Trials: A Cross Sectional Survey, 358 The Lancet 1772-77 (2001) (Exh. 2113) at

  1772. In a study examining informed consent in clinical studies, providers were

  asked whether they agreed, disagreed, or were unsure about the statement, “There



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  may not be a direct medical benefit to [the patient] from [his/her] participation in

  this clinical trial.” Id. at 1775. 95% of providers agreed with this statement. Id.

     47. Informed consent, therefore typically includes explaining that a purpose of

  the clinical trial is to benefit future patients. See id. at 1776. The informed consent

  form provided by Sanofi to the investigators of the TROPIC study, for example,




         Minimum Information Required for Written Subject Information,

  XRP6258/EFC6193, 1-8 (Oct. 16, 2006) (Exh. 2182) at 6.




                     Id. When a person of ordinary skill is treating his or her patients,

  formal informed consent is not required because the regimen is selected based on

  clinical data.


         A.        The Taxane Status and Preclinical Data for Cabazitaxel Did Not
                   Indicate That It Would Be Useful to Treat Patients Who Had
                   Already Failed Another Taxane
     48. Dr. Seth’s reliance on the fact that cabazitaxel is a taxane coupled with

  preclinical activity against cell lines resistant to other taxanes to support his



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  obviousness assertions is hindsight-driven and not representative of a POSA’s

  understanding at the time. See Exh. 1002 at ¶¶ 64, 68, 73, 77, 95, 121, 123.

       49. A POSA would simply not have had a sufficient basis to expect that

  cabazitaxel would provide a clinical benefit to patients who were not responsive or

  no longer responding to another taxane, docetaxel, based on preclinical data and

  structural similarity, especially considering the complexity of docetaxel resistance.

                1.    A POSA Would Not Have Shared Dr. Seth’s Oversimplified
                      View of Docetaxel Resistance
       50. Dr. Seth ignores the complexity of docetaxel resistance by suggesting that

  a POSA would assume cabazitaxel could overcome docetaxel resistance in prostate

  cancer patients by overcoming resistance caused by the p-glycoprotein efflux

  pump (“PGP”).6 See Exh. 1002 at ¶¶ 63, 77, 95, 121, 171. But, by October 2009,

  it was understood that taxane resistance is a complicated phenomenon involving

  different possible mechanisms including overexpression of multidrug efflux pumps

  such as PGP, alterations in tubulin, alterations in various signaling pathways,

  alterations in the cell cycle, and alterations in the control of apoptosis.7 Galletti et

  al., Paclitaxel and Docetaxel Resistance: Molecular Mechanisms and

  6
   PGP is a protein that pumps drugs out of cells, preventing drug accumulation and
  activity. PGP is associated with multidrug resistance (“MDR”), “a term used to
  describe the ability of drug-resistant tumors to exhibit simultaneous resistance to a
  number of structurally and functionally unrelated chemotherapeutic agents.” Exh.
  1020 at 921.
  7
      Apoptosis is programmed cell death.
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  Development of New Generation Taxanes, 2 ChemMedChem 920-42 (2007)

  (“Galletti”) (Exh. 1020) at 939. Accordingly, a POSA would not have been solely

  focused on PGP as a means to overcome docetaxel resistance.

     51. First, a POSA would recognize that PGP had been identified by in vitro

  studies, but its clinical importance had not been established, and even to this day

  that is the case. See Exh. 1020 at 923, 939; Attard et al., Update on Tubulin-

  Binding Agents, 54 Pathologie Biologie 72-84 (2006) (“Attard”) (Exh. 1021) at 73.

  In fact, it was well known that cell cultures are typically not representative of the

  clinical situation. See Exh. 1020 at 939; Exh. 1021 at 73; Cabral, Factors

  Determining Cellular Mechanisms of Resistance to Antimitotic Drugs, 4 Drug

  Resistance Updates 3-8 (2001) (“Cabral”) (Exh. 2009) at 3. Cabral reports that the

  ways in which cell culture models of resistance are developed can change the

  resultant resistance mechanisms observed. Exh. 2009 at 3. This calls into question

  data reported in different cell line studies. Even in 2013, Vrignaud et al. stated that

  resistance to taxanes in humans had not been fully elucidated and that clinical data

  suggested different resistance mechanisms than those seen in cell lines. Vrignaud

  et al., Preclinical Antitumor Activity of Cabazitaxel, a Semisynthetic Taxane Active

  in Taxane-Resistant Tumors, 19(11) Clin. Cancer Res. 2973-83 (2013) (Exh. 2096)

  at 2974.



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     52. Second, Cabral reports that in his studies using single-step selections for

  paclitaxel resistance, which he states “should reveal resistance mechanisms that are

  most clinically relevant,” most cell lines developed altered microtubule stability,

  and less than 10% were multidrug resistant, i.e., most cell lines were not

  overexpressing the PGP pump. Exh. 2009 at 3-4. This is in contrast to multiple

  step procedures to develop drug-resistant cell lines that tended to overexpress PGP.

  Id. at 3. Cabral also reports that drugs affected by multidrug resistance are not all

  the same; “one cannot a priori assume that a resistance mechanism identified for a

  particular drug will apply equally to all drugs within the same class.” Id. at 5.

  Cabral concludes that for paclitaxel and other drugs that promote microtubule

  assembly, “tubulin mutations should be seen most frequently.” Id. This means a

  POSA would have expected tubulin mutations to have a larger role in clinical

  docetaxel resistance as compared to PGP.

     53. Third, Galletti et al. also reported in 2007 that the contribution of distinct

  resistance phenotypes and their role in the clinical setting had not been fully

  evaluated, but it was becoming increasingly clear that “resistance can often be

  mediated by more than one mechanism in a single cell at the same time.” Exh.

  1020 at 939; see also Exh. 2096 at 2980 (“[R]esistance appears not to be mediated

  by a single mechanism.”). Thus, a POSA would have understood that multiple

  mechanisms of resistance to docetaxel could be present in a single cell, and

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  certainly within a single patient. Accordingly, a POSA would have believed that

  even if a compound overcame PGP-mediated docetaxel resistance in preclinical

  studies, it would not be expected to overcome clinical docetaxel resistance because

  other mechanisms of resistance would still exist.

     54. Lastly, to the extent a POSA was focused on PGP, it was also known that

  cabazitaxel is a substrate for this efflux pump. See Exh. 1012 at 723. Mita

  reported that cabazitaxel did not retain activity against the Calc18/TXT and

  P388/VCR tumors that had higher expression of the RNA coding for PGP (ABCB1

  mRNA). Id. at 724. Thus, a POSA focused on PGP would not have expected

  cabazitaxel to be able to overcome PGP-mediated docetaxel resistance.

               2.     A POSA Would Not Have Expected Similar
                      Pharmacological Properties in All Taxanes Based on
                      Structural Analogy
     55. Dr. Seth lumps all taxanes together “as a class” that he claims is “effective

  against both breast and prostate cancer.” Exh. 1002 at ¶ 73. Dr. Seth provides no

  support for that assertion other than the fact that docetaxel was ultimately approved

  in breast and prostate cancer. Dr. Seth also states that the positive phase III results

  of docetaxel plus prednisone in mCRPC would suggest that cabazitaxel, “a taxane

  very structurally similar to docetaxel,” would also benefit mCRPC patients and

  increase survival. Exh. 1002 at ¶¶ 121, 133, 184. This assertion is irrelevant here

  because the phase III study of docetaxel plus prednisone was in patients with a

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  different type of prostate cancer (docetaxel-naïve) than that to which the claims of

  the ‘592 patent are directed.

     56. The sheer number of taxane compounds made and tested in the art that

  were never successful in the clinic, or never even reached the clinical research

  stage, informed a POSA that all taxanes cannot be grouped together as active in the

  same cancer types. For example, Sanofi alone synthesized and screened 450

  taxane compounds, yet only cabazitaxel became a commercial product. Vrignaud

  et al., Preclinical Profile of Cabazitaxel, 8 Drug Des. Devel. & Ther. 1851-67

  (2014) (Exh. 2183) at 1852. It was also known that at least Bristol Myers Squibb,

  Bayer, Wyeth, and Daiichi Sankyo were working with new taxane compounds, yet

  none of these other new taxanes were clinically successful despite having activity

  against taxane resistant cell lines. See Kingston, Tubulin-Interactive Natural

  Products as Anticancer Agents, 72 J. Nat. Prod. 507-15 (2009) (“Kingston”) (Exh.

  2184) at 511; Exh. 1020 at 934.

     57. Simply put, different taxanes were understood to be unique compounds

  with different properties, and a POSA would not have assumed they were all the

  same. A POSA understood that the taxane status of cabazitaxel was not sufficient

  to expect efficacy in prostate cancer worsening during or after docetaxel because it

  was known that there had been a large number of taxanes tested preclinically and



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  clinically that were never successful therapies for any cancer, let alone taxane-

  resistant cancers.

     58. Dr. Kingston published a review of natural anticancer agents that interact

  with assembly of tubulin into microtubules that were in clinical trials. Exh. 2184

  at 507. Kingston identifies four taxanes in phase III clinical studies, and five new

  compounds in phase II clinical studies, but none of these drugs apart from

  cabazitaxel has ever been approved in any indication. See id. at 511. Kingston

  also identifies four compounds that had been in phase I-II trials that were no longer

  in clinical development. Id. Similarly, the Galletti paper discusses over sixty

  taxanes, with nine identified in clinical development, but only cabazitaxel was

  ultimately clinically successful. See generally Exh. 1020 and at Table 1. Two

  important examples discussed by Kingston are particularly illustrative: larotaxel

  and milataxel.

     59. Larotaxel was another taxane developed by Sanofi that had similar

  preclinical test results as cabazitaxel with respect to docetaxel-resistant cell lines.

  Exh. 1021 at 75; Sessa et al., Phase I Clinical and Pharmacokinetic Studies of the

  Taxoid Derivative RPR 109881A Administered as a 1-Hour or 3-Hour Infusion in

  Patients with Advanced Solid Tumors, 13 Annals of Oncol. 1140-50 (2002) (Exh.

  2185) at 1140; Diéras et al., Phase II Multicenter Study of Larotaxel (XRP9881), a

  Novel Taxoid, in Patients with Metastatic Breast Cancer Who Previously Received

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  Taxane-Based Therapy, 19 Annals of Oncol. 1255-60 (2008) (“Diéras I”) (Exh.

  2015) at 1255. Both compounds “were selected on the basis of their minimal

  affinity for P-gp and greater penetration of the blood-brain barrier.” Exh. 1021 at

  75. Both drugs were reported to have “activity in MDR+ [multidrug resistant]

  cells and greater in vitro potency than docetaxel.” Id. Pivot reports that both

  cabazitaxel and larotaxel “showed an in vivo spectrum of antitumor efficacy on

  most docetaxel-sensitive, –refractory or –resistant models, such as B16/TXT

  melanoma.” Exh. 1010 at 1547-48.

     60. This preclinical data was not sufficient to give a POSA a reasonable

  expectation of either larotaxel’s or cabazitaxel’s success in clinical trials, though.

  While, as Dr. Seth states, Attard does describe cabazitaxel, larotaxel, DJ-927, and

  BMS-275183 as “show[ing] improvements on the limitations of these two

  currently approved taxanes as evidenced, to a varying degree, by higher therapeutic

  indices, activity against resistant tumors, improved penetration across the blood-

  brain barrier and greater water solubility,” it is not clear which of these

  improvements apply to which compound and to what degree. Exh. 1021 at 74; see

  Exh. 1002 at ¶ 66.

     61. Attard also concludes that despite these preclinical results, “the

  fundamental mechanism of the anticancer activity of these new taxanes remains

  unchanged and they are unlikely to make a dramatic impact on patient outcome,”

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  and that “[o]ne may question the value of developing novel tubulin-binding drugs

  since major improvements on currently approved drugs are unlikely.” Exh. 1021

  at 76, 81. Thus, contrary to Dr. Seth’s assertions, Attard would have discouraged a

  POSA from using another taxane like larotaxel or cabazitaxel to treat patients who

  had already failed another taxane.

     62. Similarly, Carlson wrote in 2008 that Sanofi “reports advantages of these

  new taxanes [cabazitaxel and larotaxel] that include activity against taxane-,

  doxorubicin- and vinblastine-resistant tumor cell lines, decreased multi-drug

  resistance (MDR) sensitivity and brain penetration, but there is very little

  published data to support these claims.” Carlson, New Tubulin Targeting Agents

  Currently in Clinical Development, 17(5) Expert Opin. Investig. Drugs 707-22

  (2008) (“Carlson”) (Exh. 2186) at 708. These notes of caution on drawing

  conclusions based on larotaxel’s preclinical data were well-reasoned since this

  preclinical data failed to predict efficacy and a manageable side effect profile in

  larger patient populations. See discussion below in ¶¶ 63-65. Carlson also notes

  the existence of the phase III TROPIC study, but reports that larotaxel was

  “undergoing a more extensive clinical development campaign than [cabazitaxel].”

  Exh. 2186 at 708. The mere existence of this phase III study with cabazitaxel

  would not have provided a reasonable expectation to a POSA that cabazitaxel

  would be effective and tolerable in patients with mCRPC previously treated with

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  docetaxel. See discussion below at Section D.

       63. In a phase III study of larotaxel versus 5-FU in patients with pancreatic

  cancer, larotaxel did not prolong overall survival. Van Cutsem et al., A Phase III

  Study Comparing Larotaxel to 5-FU (Continuous Intravenous 5-FU or

  Capecitabine) in Patients with Advanced Pancreatic Cancer (APC) Previously

  Treated with a Gemcitabine Containing Regimen, 21(6S) Annals of Oncol. Oral

  Presentations O-0007 (July 2010) (Exh. 2123). Patients treated with larotaxel had

  a higher incidence of toxicities, including diarrhea, alopecia, sensory neuropathy,

  myalgia, and neutropenia than patients treated with 5-FU. Id. The main

  hematological toxicities in patients treated with larotaxel were grade 3-4

  neutropenia and complicated neutropenia. Id.

       64. Larotaxel also failed to show superiority to capecitabine in a phase III

  study in metastatic breast cancer patients progressing after taxane and

  anthracycline therapy. Sanofi-Aventis SEC Form 20-F (Dec. 31, 2006), available

  at

  http://www.sec.gov/Archives/edgar/data/1121404/000119312507072848/d20f.htm

  (Exh. 2134) at 45/305. The progression free survival was longer in the

  capecitabine group, but overall survival was not statistically different between the

  study arms. A Randomized, Open-Label, Phase 3 Study of Larotaxel IV Every 3

  Weeks Versus Capecitabine (Xeloda®) Tablets Twice Daily for 2 Weeks in 3-Week

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  Cycles in Patients with Metastatic Breast Cancer (MBC) Progressing After

  Taxanes and Anthracycline Therapy (EFC6089), available at

  http://en.sanofi.com/img/content/study/EFC6089_summary.pdf (last visited Nov.

  17, 2016) (“EFC6089 Summary”) (Exh. 2003) at 3. Larotaxel had higher

  incidence of neutropenia and more permanent withdrawals from treatment due to

  an adverse event. Id. at 4-5.

     65. During the conduct of a phase III study of larotaxel in combination with

  cisplatin in patients with locally advanced/metastatic bladder cancer, the data

  monitoring committee recommended reducing the dose of larotaxel and cisplatin in

  part due to the incidence of toxicity, mainly infections. Sternberg et al., Larotaxel

  with Cisplatin in the First-Line Treatment of Locally Advanced/Metastatic

  Urothelial Tract or Bladder Cancer: A Randomized, Active-Controlled, Phase III

  Trial (CILAB), 85 Oncology 208-15 (2013) (Exh. 2036) at 210-11. In light of the

  necessary dose adjustment and the lack of larotaxel efficacy versus comparators in

  the phase III trials in pancreatic cancer and breast cancer, “it was deemed unlikely

  that the [bladder cancer] trial would meet its primary efficacy endpoint.” Id. at

  211. The study was terminated early. The collected data indicated that treatment

  with the larotaxel arm was associated with worse progression free survival than the

  comparator; there was no difference in overall survival. Id. at 213.



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     66. Milataxel is another example of a taxane with the reported ability to

  overcome PGP- based resistance to paclitaxel and docetaxel that, despite favorable

  preclinical and early clinical data, ultimately proved disappointing and was never

  approved in any indication. See Ramanathan et al., A Phase II Study of Milataxel:

  A Novel Taxane Analogue in Previously Treated Patients with Advanced

  Colorectal Cancer, 61 Cancer Chemother. Pharmacol. 453-58 (2008)

  (“Ramanathan”) (Exh. 2084) at 454. Despite “excellent” preclinical activity in

  models for colon cancer and objective responses in phase I-II studies in both breast

  cancer and non-small cell lung cancer patients, a phase II study of patients with

  chemotherapy treated metastatic colorectal cancer showed no objective responses

  coupled with life threatening side effects (six patients developed neutropenic

  sepsis, with two dying as a result). Id. at 453-54, 457. The authors noted that the

  mechanisms for taxane resistance remain unclear and suggested that preclinical

  and xenograft models “are poor predictors of clinical activity in colon cancer.” Id.

  at 457.

     67. Epothilone D (KOS-862) is another interesting example. Like taxanes, the

  mechanism of anticancer activity for epothilones is microtubule stabilization. Exh.

  1022 at 163. Epothilone D was shown to be more potent than paclitaxel in PGP-

  overexpressing cell lines that demonstrated multidrug resistant activity, to be active

  in androgen independent human prostate cancer cell lines, and to have antitumor

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  activity in xenograft models that were resistant to paclitaxel. Beer et al., Phase II

  Study of KOS-862 in Patients with Metastatic Androgen Independent Prostate

  Cancer Previously Treated with Docetaxel, 25 Invest. New Drugs 565-70 (2007)

  (Exh. 2187) at 566. A phase I study reported “signs of antitumor activity”

  including a bladder cancer patient with shrinkage of primary nodal disease and a

  prostate cancer patient with a 25% decrease in PSA. Holen et al., Phase I Study

  Using Continuous Intravenous (CI) KOS-862 (Epothilone D) in Patients with Solid

  Tumors, 22(14S) J. Clin. Oncol. Abstr. 2024 (2004) (Exh. 2188). Yet in a phase II

  study of mCRPC patients that had progressed after docetaxel therapy, only 5.3% (2

  patients) had a PSA decline, and no patient with measurable disease had a partial

  response. Exh. 2187 at 565-66. Further, more than 70% of patients had an adverse

  event that led to dose delay, reduction, or discontinuation. Id. at 565. The authors

  questioned the value of targeting microtubules in docetaxel-treated mCRPC

  patients, particularly for epothilones. See id. at 569. Development of Epothilone-

  D was discontinued after failing to meet efficacy endpoint in the prostate cancer

  study as well as a non-small cell lung cancer study. Williams, Discontinued Drugs

  in 2007: Oncology Drugs, 17(12) Expert Opin. Invest. Drugs 1791-816 (2008)

  (Exh. 2195) at 1815.

     68. These clinical results demonstrate that preclinical models with taxanes are

  poor indicators of clinical success and that a taxane can show some activity in one

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  type of cancer, but not in others. The failed clinical development of larotaxel,

  milataxel, and epothilone D in addition to the compounds disclosed by Galletti and

  Kingston, would have indicated to a POSA that of the various taxanes that may

  enter clinical development, very few will be successful. As described in a 2004

  FDA report, a new compound entering clinical development was only estimated to

  have an 8% chance of reaching the market. U.S. FDA, Challenge and Opportunity

  on the Critical Path to New Medical Products, 1-31 (Mar. 2004) (Exh. 2189) at 8.

  And many other compounds never even made it to clinical development.

  Therefore, in my opinion, a POSA clearly would not have formed expectations

  regarding future clinical efficacy based on the preclinical data reported for

  cabazitaxel or the fact that cabazitaxel was a taxane.

     69. The surprising clinical activity of cabazitaxel in combination with

  prednisone in patients who had already failed docetaxel further demonstrates that

  all taxanes cannot be grouped together as similarly effective in the same

  conditions. If, as Dr. Seth suggests, cabazitaxel was expected to act similarly to

  docetaxel because it had the same microtubule binding mechanism of action, a

  POSA would not have expected the claimed cabazitaxel regimen to provide a

  meaningful clinical benefit to patients post-docetaxel. See e.g., Exh. 1021 at 76

  (cabazitaxel was “unlikely to make a dramatic impact on patient outcome” because

  “the fundamental mechanism of the anticancer activity . . . remains unchanged”).

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  Therefore, Dr. Seth’s reliance on the survival benefit that docetaxel was shown to

  provide in docetaxel-naïve mCRPC patents to suggest that cabazitaxel therapy

  would also increase overall survival (Exh. 1002 at ¶¶ 121, 133, 184) is misleading

  and incorrect because the claims require treating or increasing the survival of

  different patients: patients that had already progressed during or after docetaxel

  therapy.

        B.     Phase I Data Reported in Attard and Mita Would Not Have
               Provided a POSA with a Reasonable Expectation of Success
     70. In October 2009, the only data on the use of cabazitaxel in patients with

  prostate cancer that had progressed during or after treatment with docetaxel was

  the phase I study reported in Mita in which two prostate cancer patients had a

  partial response to cabazitaxel without a corticoid, but only a single patient was

  refractory to docetaxel. Exh. 1012 at 727. Attard’s discussion of phase I studies

  with cabazitaxel cites to Mita. Exh. 1021 at 75. A POSA would not have viewed

  the partial response in this single docetaxel-refractory patient sufficient to

  reasonably expect that cabazitaxel would provide a clinical benefit to patients that

  had progressed during or after treatment with docetaxel, especially prolonging the

  life of these patients. Attard and Mita provided little to no support for such an

  expectation as Dr. Seth suggests.

     71. The primary purpose of phase I clinical studies is to evaluate drug toxicity

  and dosing schedules by determining the maximum tolerated dose and the
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  recommended schedule for phase II studies, which are the studies directed to

  evaluating efficacy in specific tumor types. Mokbel, Concise Notes in Oncology

  for MRCP and MRCS (3d ed. 2005) (“Mokbel”) (Exh. 2073) at 7. The objectives

  of the Mita study were, for example, to characterize the toxicities of cabazitaxel

  without premedication, determine the maximum tolerated dose and recommended

  dose for phase II studies, characterize the pharmacokinetic profile of cabazitaxel,

  and document preliminary evidence of antitumor activity. Exh. 1012 at 724.

     72. Phase I studies therefore are not designed, nor expected to provide

  evidence of efficacy in any particular type of cancer. That is especially the case

  where, as in Mita, patients with a variety of tumor types are included.

     73. In Mita, evidence of anti-cancer activity due to cabazitaxel was reported in

  only two prostate cancer patients with confirmed partial responses. Exh. 1012 at

  727. The first patient was an 80-year-old male with prostate cancer metastatic to

  the liver and bones whose disease had progressed through castration, bicalutamide,

  diethylstilbestrol, and mitoxantrone and prednisone. Id. He declined further

  treatment after his sixth course, presumably because of tolerance issues. Id. I note

  that he had not been previously treated with docetaxel. See id.

     74. The second patient was a 50-year-old male with hormone- and docetaxel-

  refractory prostate cancer metastatic to bone and iliac lymph nodes. Id.

  Progressive disease was noted after eight courses. Id.

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     75. I note that both of these patients had objectively measurable tumors, which

  is relatively uncommon in mCRPC patients. Exh. 1012 at 727; Exh. 2083 at 303.

  Most patients with metastatic prostate cancer have bone metastases that are not

  objectively measurable. Exh. 2083 at 303. This means that it is not possible in

  most metastatic prostate cancer patients to track disease improvement or

  progression by measuring the size of the tumor over time. The osteoblastic

  reaction in prostate cancer bone metastases is “unmatched by any other type of

  cancer.” Id. at 300. Pienta & Smith noted that “[c]ontroversy existed as to

  whether these patients with soft tissue disease were representative of advanced

  prostate cancer patients in general who only had metastases to bone.” Id. at 303.

     76.    The single docetaxel-refractory patient with a partial response is

  essentially a case study with cabazitaxel. The response could reflect certain

  qualities in the patient’s particular cancer that would not extend to other docetaxel-

  refractory prostate cancer patients. In fact, Mita acknowledges that the

  “preliminary antitumor activity reported” still “needs to be confirmed.” Exh. 1012

  at 729. Similarly, Attard comments that Mita indicates only that cabazitaxel “may

  overcome some forms of paclitaxel tumour resistance.” Exh. 1021 at 75.

     77. A principle reason why results from a single patient with docetaxel-

  refractory mCRPC cannot be extrapolated to other patients with that condition is

  that mCRPC is a particularly heterogeneous disease. See Exh. 2025 at 1033; Exh.

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  2083 at 316. This means that within a patient there are a variety of different types

  of cancer cells and that there are differences between patients. See Exh. 2025 at

  1033; Exh. 2083 at 315-16; see also Exh. 2009 at 3 (“Tumor cells from patients are

  frequently very heterogeneous . . . .”). The heterogeneity of advanced prostate

  cancer makes it difficult to generalize from one patient to another or from one

  patient to a population of patients, particularly without a large clinical study

  expected to contain a spectrum of diverse cancer types. Further, in my opinion, it

  is generally accepted that single cases cannot be generalized to broad populations

  of patients with solid tumors.

     78. Additionally, there were various proposed mechanisms by which prostate

  cancer could become castration resistant. Exh. 2083 at 300-02; Exh. 2025 at 1034-

  35. Potential mutations included production of more androgen receptors, increased

  sensitivity of androgen receptors, androgen receptors becoming less specific, and

  development of parallel survival pathways relying on proteins other than

  androgens and androgen receptors. Id.

     79. It was also well known that cancer involved heterogeneous cancer cells

  and multiple normal cell types interacting with the tumor cells. Exh. 2083 at 316.

  As noted by Pienta & Smith, “[t]he pliability of cancer cells to mutate into several

  different phenotypes in an attempt to find one that will survive and colonize at the

  metastatic site is a tremendous hurdle to overcome in the pursuit of better cancer

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  therapies.” Id. This heterogeneity would have prevented a POSA from

  generalizing from Attard and Mita to expect that cabazitaxel would be beneficial in

  a broader class of patients with prostate cancer progressing during or after

  docetaxel therapy.

      80. Also, while both patients in Mita with a partial response had reported

  reductions in prostate-specific antigen (“PSA”) levels (Exh. 1012 at 727), it was

  well known, as discussed below, that PSA reductions were of questionable value,

  not necessarily indicative of the efficacy of a treatment, and may not reflect disease

  progression with certain agents.8 Kaur et al. noted that PSA concentration can

  fluctuate by various factors independent of antitumor effect. Kaur et al., Suramin’s

  Development: What Did We Learn?, 20 Investig. New Drugs 209-19 (2002) (Exh.

  2020) at 217. And, Beardsley noted that PSA may not reflect disease progression

  with vascular endothelial growth factor receptor targeting agents. Exh. 1022 at

  164.

      81. Beer et al. stated that “it is worthwhile to consider the limitations of the

  PSA response as a predictor of a survival benefit.” Beer et al., Double-Blinded

  Randomized Study of High-Dose Calcitriol Plus Docetaxel Compared with

  Placebo Plus Docetaxel in Androgen-Independent Prostate Cancer: A Report from
  8
   PSA is a protein produced by cells of the prostate gland that is often elevated in
  men with prostate cancer. A number of benign conditions can also cause a man’s
  PSA levels to rise, such as benign prostatic hyperplasia (enlargement of the
  prostate).
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  the ASCENT Investigators, 25(6) J. Clin. Oncol. 669-74 (2007) (Exh. 2006) at 673.

  For example, statistically significant improvements in PSA responses in mCRPC

  patients receiving weekly docetaxel did not translate to improvements in overall

  survival. Tannock et al., Docetaxel plus Prednisone or Mitoxantrone plus

  Prednisone for Advanced Prostate Cancer, 351 N. Eng. J. Med. 1502-12 (2004)

  (“Tannock 2004”) (Exh. 1013) at 1507, Table 3.

     82. The mitoxantrone label accordingly stated that “the clinical significance of

  a fall in prostate-specific antigen (PSA) concentrations after chemotherapy is

  unclear.” Exh. 2111 at 11; see also September 2007 Taxotere® Label (Exh. 1024)

  at 45-46 (no PSA data reported). Likewise, the more than 50% PSA reductions

  reported in 33% of patients in a Phase II study receiving mitoxantrone plus

  prednisone as compared to the 9% of patients receiving only prednisone did not

  translate to a difference in overall survival in a Phase III trial. Exh. 2111 at 10-11.

     83. In fact, Susan Halabi, myself and others analyzed PSA levels in the phase

  III trial of cabazitaxel in combination with prednisone in men with mCRPC who

  previously received docetaxel, and reported in a peer-reviewed manuscript that

  “surrogacy for any PSA-based endpoint could not be demonstrated.” Halabi et al.,

  Prostate-Specific Antigen Changes as Surrogate for Overall Survival in Men with

  Metastatic Castration-Resistant Prostate Cancer Treated with Second-Line

  Chemotherapy, 31(31) J. Clin. Oncol. 3944-50 (2013) (Exh. 2126) at 3944.

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      84. Ramiah et al. in 2008 discussed the “challenge to select the ideal

  intermediate endpoint to gauge the efficacy of novel agents.” Ramiah et al.,

  Clinical Endpoints for Drug Development in Prostate Cancer, 18 Curr. Opin. Urol.

  303-08 (2008) (“Ramiah”) (Exh. 2030) at 307. Ramiah et al. noted the “lack of

  proven surrogates, the heterogeneity of PFS [progression free survival] definitions,

  the unknown effects of novel agents on PSA production, and the variability in

  patient-reported outcomes make many of these endpoints problematic.” Id.

      85. Since the approval of docetaxel, the primary endpoint for most regulatory

  approvals for mCRPC in the United States has been overall survival. D’Amico,

  US Food and Drug Administration Approval of Drugs for the Treatment of

  Prostate Cancer: A New Era Has Begun, 32(4) J. Clin. Oncol. 362-64 (2014) (Exh.

  2125) at 362-63, Table 1.9

      86. By October 2009, overall survival had been generally accepted as the

  established, objective, and most important way to determine that drugs for mCRPC

  were meaningfully benefiting patients. As Ramiah et al. stated in 2008, “the only

  validated phase III endpoint in advanced prostate cancer, particularly CRPC, is

  overall survival.” Exh. 2030 at 307. Thus, tumor responses in the minority of




  9
    The exception is denosumab, also approved for osteoporosis, which is used to
  decrease the rate of skeletal-related events in bone-metastatic CRPC patients. This
  is a palliative benefit and does not influence survival.
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  patients that had measurable disease and changes in PSA levels were, and are still,

  not surrogates for overall survival. See id.

       87. For an incurable condition, a chemotherapy drug that temporarily shrinks

  the tumor or causes a decline in PSA was of questionable value if it did not

  prolong the lives of patients, especially considering that cancer therapies were

  expected to have side effects that were often serious. There were already options

  for purely palliative care such as mitoxantrone. Thus, a POSA was looking for a

  therapy to prolong life.

       88. A POSA would also understand that a single partial response is not

  sufficient to determine whether cabazitaxel would have had a risk-benefit ratio

  such that it would have been considered a treatment for prostate cancer that has

  worsened during or after docetaxel therapy, let alone provide an expectation of

  increased survival. Although the docetaxel-refractory partial responder received a

  25 mg/m2 dose of cabazitaxel, Mita reported that three out of seven subjects

  experienced dose limiting toxicities at this dose. Exh. 1012 at 726-27. In light of

  these hematological toxicities, Mita recommended proceeding with a lower dose in

  phase II studies.10 Id. at 726. Thus, Mita would have raised questions about the

  risk-benefit ratio of a 25 mg/m2 dose. In fact, another phase I study of cabazitaxel
  10
    I note, however, that Mita provides no data on the activity of a 20 mg/m2 dose of
  cabazitaxel in patients with prostate cancer that had progressed during or after
  docetaxel therapy. Mita also does not disclose discontinuing cabazitaxel therapy
  when neutrophils reach 1,500 cells/mm3 or lower.
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  reported a toxic death from septic shock with grade 4 neutropenia despite use of G-

  CSF11 after 3 cycles at 30 mg/m2. Lortholary et al., Phase I and Pharmacokinetics

  (PK) Study of RPR 116258A Given as a 1-Hour Infusion in Patients (Pts) with

  Advanced Solid Tumors, 6 (Suppl) Clin. Cancer Res. 4579s-80s (abstr. 569) (Nov.

  2000) (“Lortholary”) (Exh. 2147) at CabRef0002896. And, Attard noted that with

  respect to both cabazitaxel and larotaxel, the anticancer activity is limited by

  myelosuppression. Exh. 1021 at 75.12

       89. In my opinion, occasional phase I responses clearly cannot be used to

  reasonably expect phase III success. Most drugs fail between phase I and phase

  III. See, e.g., Kola & Landis, Can the Pharmaceutical Industry Reduce Attrition

  Rates?, 3 Nature Revs. Drug Discovery 711-15 (2004) (“Kola & Landis”) (Exh.

  2021) at 712 (more than 70% of oncology drugs fail at phase II); Booth et al, From

  the Analyst’s Couch: Oncology’s Trials, 2 Nature Revs. Drug Discovery 609-10

  (2003) (“Booth”) (Exh. 1015) at 610 (less than 40% of oncology drugs from top

  fifteen pharmaceutical companies survive phase II).

       90. For example, phase I studies of larotaxel reported objective responses in

  several tumor types, including three in lung cancer. Zatloukal et al., Randomized

  11
    G-CSF or granulocyte-colony stimulating factor is a protein used to help the
  body make more white blood cells to fight infection.
  12
    Myelosuppression is a reduction in bone marrow. Bone marrow is responsible
  for the production of certain blood cells, including white blood cells responsible
  for providing immunity. Myelosuppression presents an increased risk of infection.
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  Multicenter Phase II Study of Larotaxel (XRP9881) in Combination with Cisplatin

  or Gemcitabine as First-Line Chemotherapy in Nonirradiable Stage IIIB or Stage

  IV Non-Small Cell Lung Cancer, 3(8) J. Thorac. Oncol. 894-901 (2008) (Exh.

  2045) at 895. Following early clinical data demonstrating “good activity” and

  “manageable toxicity,” three phase III studies involving larotaxel were initiated.

  See Diéras et al., Larotaxel (L) in Combination with Trastuzumab in Patients with

  HER2 + Metastatic Breast Cancer (MBC): Interim Analysis of an Open Phase II

  Label Study, 26(15S) J. Clin. Oncol. (Meeting Abstracts) Suppl. 1070 (May 2008)

  (“Diéras II”) (Exh. 2101). Yet, as noted above, larotaxel failed in three phase III

  studies and was never approved by the FDA.

     91. A POSA would have understood that even phase II data in prostate cancer

  was not sufficient to reasonably expect success in a phase III prostate cancer study.

  As discussed below, many drugs tested in phase II clinical studies with multiple

  prostate cancer patients responding as measured by a reduction in tumor size or

  decrease in PSA levels failed in randomized phase III clinical studies to prolong

  survival and were considered failures to people of skill in the art.

     92. A POSA in 2009 would have understood that phase III mCRPC clinical

  studies were unpredictable and generally should not be conducted prior to the

  conduct of at least one phase II study that had met a prespecified rationally

  selected primary endpoint and a predefined metric of success. See, e.g.,

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  Antonarakis & Eisenberger, Phase III Trials with Docetaxel-Based Combinations

  for Metastatic Castration-Resistant Prostate Cancer: Time to Learn from Past

  Experiences, 31(14) J. Clin. Oncol. 1709-12 (2013) (Exh. 2004) at 1711. In fact,

  in a retrospective paper discussing eight failed phase III clinical studies in patients

  with mCRPC, Antonarakis & Eisenberger stated in 2013 that predicting a positive

  phase III study was an “impossible endeavor.” Id.

     93. I was one of the principal investigators along with Johann de Bono of the

  phase III TROPIC study. In light of the minimal clinical data on the use of

  cabazitaxel for prostate cancer, it was a challenge to get the study off the ground at

  the Lank Center for Genitourinary Oncology when I was on the faculty at Harvard.

  I received pushback because some thought there was insufficient data with

  cabazitaxel in prostate cancer to safely move forward with a phase III study.

     94. By 2006, more than 200 compounds had entered clinical development for

  use in advanced prostate cancer, but no therapy other than docetaxel had been

  shown to extend overall survival. Armstrong & Carducci, New Drugs in Prostate

  Cancer, 16 Curr. Opin. Urol. 138-45 (2006) (Exh. 2148) at 138. I discuss a select

  list of failed candidates below.

     95. Suramin is a polysulphonated napthylurea that was evaluated in numerous

  prostate cancer studies. Exh. 2020 at 209-10. In a phase I prostate cancer study,

  77% of patients had a 50% or more decline in PSA. Id. at 210. In a phase II study

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  of 38 patients with androgen-independent prostate cancer, three exhibited complete

  responses, three exhibited partial responses for a response rate13 of 15%, and

  thirteen patients had PSA declines of 75% or more. Id. Suramin in combination

  with hydrocortisone was compared in a phase III trial to hydrocortisone plus

  placebo in patients with androgen independent prostate cancer. Id. at 210. There

  were statistically significant pain relief and PSA advantages, but no prolongation

  of survival and some problems with toxicity. Id. Ultimately, suramin was not

  recommended for approval by the FDA. Id.

       96. Atrasentan is a selective endothelin-receptor antagonist that decreased PSA

  ranging from 4% to 47% in 5 of 11 prostate cancer patients who had at least two

  observations in a phase I study. Carducci et al., Atrasentan, an Endothelin-

  Receptor Antagonist for Refractory Adenocarcinomas: Safety and

  Pharmacokinetics, 20(8) J. Clin. Oncol. 2171-80 (2002) (Exh. 2190) at 2172,

  2176. Another phase I study in patients with hormone refractory prostate cancer

  reported one patient with a 50% decrease in PSA. Fujisaka et al., Phase 1 Study of

  Atrasentan (ABT627), Novel Endothelin Receptor-A Antagonist, in Japanese

  Patients with Hormone Refractory Prostate Cancer, 24(18S) J. Clin. Oncol.

  (Abstr. 14602) (2006) (Exh. 2191). In a phase II mCRPC study, atrasentan

  13
    Response rate, tumor response rate, and objective response rate are used
  interchangeably in clinical studies to describe the percentage of patients whose
  cancer shrinks or disappears during the study.
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  demonstrated a significant effect on PSA, bone alkaline phosphatase, and other

  markers of bone remodeling. Carducci et al., A Phase 3 Randomized Controlled

  Trial of the Efficacy and Safety of Atrasentan in Men with Metastatic Hormone-

  Refractory Prostate Cancer, 110(9) Cancer 1959-66 (2007) (Exh. 2010) at 1960.

  The phase II trial also reported a nonsignificant trend in delaying disease

  progression. Id. A phase III trial of atrasentan compared to placebo in mCRPC

  reported no effect on the time to disease progression and no increase in overall

  survival. Id. at 1962-63. Atrasentan in combination with docetaxel was later

  evaluated in a phase III clinical trial in mCRPC patients versus docetaxel plus

  placebo, which did not show an increase in overall survival or progression free

  survival, despite “reasonable activity” in a phase I/II study of the combination.

  Quinn et al., Docetaxel and Atrasentan Versus Docetaxel and Placebo for Men

  with Advanced Castration-Resistant Prostate Cancer (SWOG S0421): A

  Randomized Phase 3 Trial, 14 Lancet 893-900 (2013) (Exh. 2192) at 893-94.

     97. A phase I study of satraplatin reported a partial response in a patient with

  recurrent ovarian cancer and significant falls in plasma tumor markers in two other

  patients. McKeage et al., A Phase I and Pharmacology Study of an Oral Platinum

  Complex, JM216: Dose-Dependent Pharmacokinetics with Single-Dose

  Administration, 36 Cancer Chemother. Pharmacol. 451-8 (1995) (Exh. 2193) at

  451. Another phase I study reported a hormone-resistant metastatic prostate cancer

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  patient that had failed anthracyclines, etoposide and 5-FU infusion with “complete

  relief of tumour pain due to retroperitoneal nodes with no further need of

  analgesics after the first two cycles.” Sessa et al., Phase I Clinical and

  Pharmacokinetic Study of the Oral Platinum Analogue JM216 Given Daily for 14

  Days, 9 Annals of Oncol. 1315-22 (1998) (Exh. 2194) at 1319. A phase II mCRPC

  study of satraplatin “demonstrated activity and an acceptable toxicity profile in

  patients with CRPC.” Exh. 1022 at 162; see also Latif et al., Phase II Study of

  Oral Bis(Aceto) Ammine Dichloro (Cyclohexamine) Platinum (IV) (JM-216, BMS-

  1892751) Given Daily X5 in Hormone Refractory Prostate Cancer (HRPC), 23

  Investig. New Drugs 79-84 (2005) (Exh. 2110) at 79, 82 (reporting a 26% PSA

  response rate and a 10% tumor response rate in patients with measurable disease).

  Yet, the phase III SPARC trial of satraplatin plus prednisone compared to placebo

  plus prednisone in men with CRPC progressing after treatment with one prior

  cytotoxic chemotherapy failed to increase overall survival, despite a significantly

  better PSA response rate. Exh. 1022 at 162-63. Beardsley reports that there was a

  statistically significant increase in progression free survival (“PFS”), but “the

  clinical significance of this difference in PFS is open to interpretation.” Id.

  Satraplatin did not receive regulatory approval for prostate cancer.

     98. DN-101 is a high dose oral formulation of calcitriol that was studied in

  combination with docetaxel as compared to docetaxel plus placebo in a

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  randomized phase II mCRPC trial. Exh. 2006 at 669-70. The phase II trial

  reported a “promising improvement” in overall survival and overall no increase in

  toxicity. Id. at 672. The DN-101 arm had PSA response rates of 63% and tumor

  response rates of 29% in patients with measurable disease, which the publication

  authors found “compelling.” Id. at 671-73. However, in a subsequent phase III

  trial in mCRPC comparing DN-101 plus docetaxel to the standard docetaxel

  regimen (ASCENT-2), the DN-101 arm did not produce increased overall survival

  versus docetaxel alone, and in fact there were more deaths in the DN-101 arm.

  Williams, Discontinued Drugs in 2008: Oncology Drugs, 18(11) Expert Opin.

  Investig. Drugs 1581-94 (2009) (Exh. 2043) at 1593; Novacea, Inc. SEC Form 8-K

  (April 4, 2008), available at

  http://www.sec.gov/Archives/edgar/data/1178711/000119312508077953/d8k.htm

  (Exh. 2127) at 2 (“In November 2007, Novacea and Schering terminated the

  ASCENT-2 trial of Asentar™ due to an unexplained imbalance of deaths between

  the treatment and control arms of the trial.”).

     99. At the 2010 annual meeting of ASCO, Ian Tannock, M.D., Ph.D. was

  quoted as saying, “[w]hat we can learn from ASCENT-2 is that even large

  randomized phase II trials may be poor predictors of results in phase III.” Susman,

  ASCO: Calcitriol Fails in ASCENT-2 Prostate CA Trial, MedPage Today (June 9,

  2010), http://www.medpagetoday.com/MeetingCoverage/ASCO/20575 (Exh.

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  2037). A POSA considering the results of ASCENT-2 would have reached the

  same conclusion by October 2009.

     100. GVAX is a platform using two prostate cancer cell lines, PC-3 and

  LNCaP, designed to induce the immune system to kill prostate cancer cells. Small

  et al., Granulocyte Macrophage Colony-Stimulating Factor-Secreting Allogeneic

  Cellular Immunotherapy for Hormone-Refractory Prostate Cancer, 13(13) Clin.

  Cancer Res. 3883-91 (2007) (Exh. 2034) at 3884, 3888. A phase I/II trial of

  GVAX in mCRPC reported one complete response, 11% of patients (6 patients)

  with PSA decreases of more than 25%, and an increase in overall survival as

  compared to the predicted survival, which the publication authors described as

  “potential for efficacy with only minor toxicity.” Id. at 3885, 3888, 3890. Another

  phase I/II study of GVAX in mCRPC reported an increase in overall survival as

  compared to the predicted survival leading to the initiation of two phase III trials,

  both of which were terminated prematurely. Higano et al., Phase 1/2 Dose-

  Escalation Study of a GM-CSF-Secreting, Allogeneic, Cellular Immunotherapy for

  Metastatic Hormone-Refractory Prostate Cancer, 113(5) Cancer 975-84 (2008)

  (Exh. 2018) at 983; Mulcahy, Phase 3 Trial of Immunotherapy for Metastatic

  Prostate Cancer Terminated, Medscape (Oct. 17, 2008),

  http://www.medscape.com/viewarticle/582220_print (Exh. 2027) at 1. The

  VITAL-1 study comparing GVAX in asymptomatic mCRPC patients to docetaxel

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  plus prednisone was terminated after a futility analysis indicated it was unlikely

  that the primary endpoint of an improvement in survival would be met. Exh. 2027

  at 1. The VITAL-2 study comparing GVAX plus docetaxel to docetaxel plus

  prednisone in symptomatic mCRPC was also terminated after a reported imbalance

  of deaths, meaning that more deaths occurred in the GVAX arm of the study. Id.

                        *                   *                   *

     101. The multiple failed phase III studies discussed above that were based on

  more data than was available for cabazitaxel in prostate cancer prior to the

  TROPIC study demonstrate the unpredictability in the art and that a POSA would

  not have had a reasonable expectation of success that cabazitaxel in combination

  with a corticoid could treat prostate cancer that had progressed during or after

  docetaxel therapy based on the limited disclosure of Mita and Attard.

     102. The success rate for CRPC studies between the approval of docetaxel and

  October 2009 was abysmal. The only medication shown to prolong overall

  survival in advanced prostate cancer patients between the approval of docetaxel in

  2004 and the filing date of the ’592 patent was Provenge® (sipuleucel), which was

  an entirely different approach to therapy than cabazitaxel. Provenge® is an

  immunotherapy that manipulates a patient’s cells to fight the prostate cancer.

  Provenge® Label (Exh. 2196) at 10. Interestingly, with respect to phase II studies

  in CRPC, Provenge® was reported to have “minimal activity,” and two phase II/III

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  studies failed to show a statistically significant time to progression, the primary

  endpoints. Antonarakis et al., Novel Targeted Therapeutics for Metastatic

  Castration-Resistant Prostate Cancer, 291(1) Cancer Lett. 1-13 (2010),

  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4029098/ (published online

  August 29, 2009) at 13 (Exh. 2232). Provenge® was approved only for

  asymptomatic or minimally symptomatic mCRPC and the pivotal study was

  limited to asymptomatic or minimally symptomatic mCRPC. Exh. 2196 at 1, 12.

  Provenge® was not approved for patients progressing during or after docetaxel,

  who as a group would have been more symptomatic than docetaxel-naïve patients.

     103. Unfortunately, the disappointing failures in phase III prostate cancer

  studies continued well after the filing date of the ’592 patent.

     104. Avastin® (bevacizumab) is a humanized antibody targeting vascular

  endothelial growth factor (“VEGF”) that was evaluated in a phase II study in

  combination with docetaxel in mCRPC patients previously treated with docetaxel.

  Di Lorenzo et al., Combination of Bevacizumab and Docetaxel in Docetaxel-

  Pretreated Hormone-Refractory Prostate Cancer: A Phase 2 Study, 54 Eur. Urol.

  1089-96 (2008) (Exh. 2014) at 1090. The phase II study reported three objective

  responses out of eight patients with measurable disease (objective response rate of

  37.5%) and eleven major PSA responses (55%); the authors concluded that the

  combination was “active and well tolerated.” Id. at 1089, 1092-93. The authors of

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  the phase II study also noted the continuing need for a second line treatment after

  docetaxel and the testing of several regimens in that setting with no approvals. See

  id. at 1092-93. A phase III trial of Avastin® in combination with docetaxel and

  prednisone compared to docetaxel in combination with prednisone in CRPC failed

  to meet the primary endpoint of improving overall survival. Genentech Provides

  Update on Phase III Study of Avastin in Men with Late Stage Prostate Cancer

  (March 12, 2010), Business Wire,

  http://www.businesswire.com/news/home/20100311007023/en/Genentech-Update-

  Phase-III-Study-Avastin-Men (Exh. 2114) at 1.14

       105. Sunitinib is an inhibitor of vascular endothelial growth factor receptors,

  platelet-derived growth factor receptors, and other receptor tyrosine kinases that

  was evaluated in multiple phase II trials in progressive mCRPC, including after

  treatment with docetaxel. Michaelson et al., Randomized, Placebo-Controlled,

  Phase III Trial of Sunitinib Plus Prednisone Versus Prednisone Alone in

  Progressive, Metastatic, Castration-Resistant Prostate Cancer, 32(2) J. Clin.

  Oncol. 76-83 (2014) (Exh. 2026) at 76-77. A phase II mCRPC post-docetaxel

  study of sunitinib reported 12.1% of patients with PSA declines of 50% or more

  and 11.1% of measurable disease patients with a tumor response. Sonpavde et al.,

  14
     Avastin® was already approved at the time for colorectal cancer, breast cancer,
  non-small cell lung cancer, kidney cancer, and advanced brain cancer. Exh. 2019
  at 3-4.
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  Sunitinib Malate for Metastatic Castration-Resistant Prostate Cancer Following

  Docetaxel-Based Chemotherapy, 21 Annals of Oncol. 319-24 (2010) (Exh. 2107)

  at 319. The phase II trials reporting PSA responses, tumor shrinkage, and an

  acceptable safety profile led to a phase III trial of sunitinib plus prednisone

  compared to placebo plus prednisone in patients with mCRPC progressing after

  docetaxel therapy. Exh. 2026 at 77.15 No differences in overall survival in the

  phase III study were observed. Id. at 79. Patients on the sunitinib arm had a

  greater number of treatment related adverse events and more stopped therapy due

  to side effects. Id. at 78-80.

       106. Yervoy® (ipilimumab) is a human antibody targeting cytotoxic T-

  lymphocyte antigen-4 (“CTLA-4”) that was evaluated in phase II studies in

  mCRPC. Slovin et al., Ipilimumab Alone or in Combination with Radiotherapy in

  Metastatic Castration-Resistant Prostate Cancer: Results from an Open-Label,

  Multicenter Phase I/II Study, 24 Annals of Oncol. 1813-21 (2013) (Exh. 2033) at

  1813. A phase I/II study of Yervoy® alone or in combination with radiotherapy in

  mCRPC reported one complete response and 16% of patients with a PSA decline

  of at least 50%. Id. at 1813, 1816. Another phase II study comparing Yervoy® as

  a single agent to combination therapy with docetaxel in CRPC patients reported

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    At the time, Sutent® (sunitinib) was already approved for advanced renal cell
  carcinoma, gastrointestinal stromal tumor, and pancreatic neuroendocrine tumors.
  Exh. 2067 at 76-77.
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  three patients in each arm with a PSA decrease of more than 50% and concluded

  that further studies in prostate cancer were warranted. Small et al., Randomized

  Phase II Study Comparing 4 Monthly Doses of Ipilimumab (MDX-010) as a Single

  Agent or in Combination with a Single Dose of Docetaxel in Patients with

  Hormone-Refractory Prostate Cancer, 24(18S) J. Clin. Oncol. (Meeting Abstracts)

  S4609 (June 2006) (Exh. 2122). A phase III study comparing Yervoy® to placebo

  following radiation in patients with advanced mCRPC who had previously

  received treatment with docetaxel failed to meet the primary endpoint of an

  increase in overall survival. Bristol-Myers Squibb Reports Results for Phase 3

  Trial of Yervoy® (Ipilimumab) in Previously-Treated Castration Resistant Prostate

  Cancer, Business Wire NewsHQ Press Release (Sept. 12, 2013),

  http://news.bms.com/press-release/rd-news/bristol-myers-squibb-reports-results-

  phase-3-trial-yervoy-ipilimumab-previousl (2008) (Exh. 2008) at 1.16

       107. Custirsen is an antisense oligonucleotide targeting expression of the

  clusterin gene that was evaluated in mCRPC studies. Zielinski & Chi, Custirsen

  (OGX-011): A Second-Generation Antisense Inhibitor of Clusterin in Development

  for the Treatment of Prostate Cancer, 8(10) Future Oncol. 1239-51 (2012) (Exh.

  2046) at 1239. A phase I study in various tumor types in combination with

  docetaxel reported two patients (6%) with a partial tumor response and 40% of
  16
    Yervoy® was already approved for unresectable or metastatic melanoma. Exh.
  2008 at 1.
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  prostate cancer patients with a PSA response. Id. at 1244. A phase II study of

  custirsen in combination with docetaxel and prednisone compared to docetaxel

  plus prednisone “demonstrated a survival advantage for patients receiving the

  combination.” Id. at 1239, 1245. Another phase II mCRPC study of custirsen in

  combination with docetaxel or mitoxantrone reported a 15% partial response rate

  for the docetaxel arm and a PSA response rate of 40%. Id. at 1246, Table 4. Yet a

  phase III study of custirsen in combination with docetaxel and prednisone

  compared to docetaxel and prednisone alone for patients with mCRPC did not

  show an increase in overall survival. OncoGenex Announces Top-Line Survival

  Results of Phase 3 SYNERGY Trial Evaluating Custirsen for Metastatic Castrate-

  Resistant Prostate Cancer, Acquire Media Press Release (Apr. 28, 2014),

  http://ir.oncogenex.com/releasedetail.cfm?ReleaseID=842949 (Exh. 2029).

     108. Orteronel is a hormonal therapy that inhibits an enzyme important for

  androgen synthesis. Van Hook et al., Orteronel for the Treatment of Prostate

  Cancer, 10(5) Future Oncol. 803-11 (2014) (Exh. 2041) at 803. A phase I/II

  mCRPC study of orteronel at various doses, some with prednisone, reported PSA

  declines of at least 50% in 41-63% of patients depending on dose and inclusion of

  prednisone. Id. at 806-07, Table 1. A phase II study of orteronel plus docetaxel

  and prednisone in mCRPC reported an objective response rate of 56% and a PSA

  decline of at least 50% in 72% of patients, while a phase II non-metastatic CRPC

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  study of orteronel alone reported PSA declines of at least 50% in 76% of patients.

  Id. at 806. Despite these results, a phase III trial of orteronel plus prednisone

  versus placebo plus prednisone in mCRPC progressing after docetaxel did not

  show an improvement in overall survival. Id. at 808. A second phase III study in

  chemotherapy naïve mCRPC also failed to show a statistically significant

  improvement in overall survival for orteronel. Takeda Announces Termination of

  Orteronel (TAK-700) Development for Prostate Cancer in Japan, U.S.A. and

  Europe, Takeda News Release (June 19, 2014),

  http://www.takeda.com/news/2014/20140619_6615.html (Exh. 2038) at 1.

     109. Antonarakis and Eisenberger discuss eight failed phase III clinical trials in

  patients with mCRPC of different combination therapies with docetaxel, including

  trials involving four drugs that were not already discussed above: aflibercept,

  zibotentan, dasatinib, and lenalidomide. Exh. 2004 at 1709-10.

     110. In summary, a POSA would have been familiar with the heterogeneity of

  this advanced prostate cancer, the complexity of resistance to hormone and

  docetaxel therapy, and the difficulty in measuring treatment response that led to a

  wide variety of drugs failing in expensive phase III clinical studies despite showing

  responses in tumor size and PSA reduction in phase II studies in the same

  indication. In the context of initiating a phase III study, it is remarkable and

  unusual to go forward when the only clinical data in the population of interest is a

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  single partial response. A POSA reviewing Attard and Mita, alone or in

  combination with the other references cited by Dr. Seth, would have been left with

  great uncertainty as to whether cabazitaxel in combination with a corticoid would

  be a successful treatment for prostate cancer patients worsening during or after

  docetaxel. Indeed, despite the phase I data reported in Attard, the authors

  concluded that cabazitaxel was unlikely to make a dramatic impact on patient

  outcome. Exh. 1021 at 76.


        C.     A POSA Would Not Have Had a Reasonable Expectation of
               Success Based on the Phase II Breast Cancer Data Reported in
               Beardsley and Pivot
     111. Because there was no phase II data for cabazitaxel in prostate cancer of

  any kind, let alone prostate cancer progressing during or after docetaxel therapy,

  Dr. Seth relies on the phase II study of cabazitaxel in breast cancer described in

  Beardsley and Pivot to support his assertion that the asserted claims were obvious.

  See, e.g., Exh. 1002 at ¶¶ 71-77, 133, 165-67. In my opinion, Beardsley and Pivot

  would not have provided a reasonable expectation of success with cabazitaxel in

  the treatment of patients with prostate cancer worsening during or after docetaxel

  for several reasons discussed below.

     112. By 2009, it was well understood that a phase II study evaluates the efficacy

  of a drug for a particular indication. EMA, ICH Topic E8 General Considerations

  for Clinical Trials (1998) (Exh. 2056) at 9. Accordingly patients are selected with

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  specific tumor types. Exh. 2073 at 7. Even the Ratain & Sargent reference cited

  by Dr. Seth notes that a negative phase II trial should lead to discontinuation of

  that agent for the “specific indication” that failed. Ratain & Sargent, Optimising

  the Design of Phase II Oncology Trials: The Importance of Randomization, 45

  Eur. J. Cancer 275-280 (2009) (Exh. 1029) at 277. Thus, a phase II study is

  generally required to determine whether an agent is effective in a particular type of

  patient, and a person of ordinary skill would not generalize from activity in one

  type of cancer in a phase II trial to activity in a different type of cancer.

     113. Even in the context of docetaxel, it was known that docetaxel was active in

  preclinical models against some tumors but not others, showing that it is not

  possible to generalize on its activity. Bissery et al., Experimental Antitumor

  Activity of Taxotere (RP 56976, NSC 628503), a Taxol Analogue, 51 Cancer

  Research 4845-52 (1991) (Exh. 2050) at 4851. “These results underline the well-

  known fact that each independently arising tumor is a unique biological entity with

  its own pattern of chemosensitivity.” Id.

               1.     Objective Tumor Responses in Early Non-Prostate Cancer
                      Studies Did Not Provide a Reasonable Expectation of
                      Success in Further Prostate Cancer Studies
     114. Dr. Seth uses the El-Maraghi reference to assert that a 10% objective

  response rate in any cancer is predictive of phase III success and regulatory

  approval, and therefore the 14% response rate reported in Beardsley and Pivot

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  “would have been understood by a person of ordinary skill as a significant

  indicator of likely success” in the TROPIC study. Exh. 1002 at ¶ 71. I disagree

  with his analysis because it is not supported by the El-Maraghi paper and is

  contradicted by the conspicuous lack of phase III successes in prostate cancer.

     115. El-Maraghi & Eisenhauer, Review of Phase II Trial Designs Used in

  Studies of Molecular Targeted Agents: Outcomes and Predictors of Success in

  Phase III, 26(8) J. Clin. Oncol. 1346-54 (2008) (“El-Maraghi”) (Exh. 1023)

  examines phase II studies of 19 targeted agents, not cytotoxic drugs. Targeted

  agents act on a particular target in a cancer cell that tends to distinguish the cancer

  cell from noncancer cells. Cytotoxic agents (traditional chemotherapy) are

  generally toxic to cells that are dividing. Cabazitaxel and docetaxel are cytotoxic

  chemotherapy, not targeted agents.

     116. El-Maraghi differentiates objective response (in a tumor) from PSA

  changes, so it is not clear whether PSA responses are included in the analysis, and

  if so how. Exh. 1023 at 1349. As previously noted, most patients with metastatic

  prostate cancer do not have measurable disease, and therefore objective tumor

  response cannot be measured. See Exh. 2083 at 303.

     117. I also note that El-Maraghi was unable to determine tumor-specific patterns

  in response rates and regulatory approval because the numbers were too small to

  apply statistics. Exh. 1023 at 1350. Therefore El-Maraghi does not provide

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  information specific to breast or prostate cancer, and certainly not whether a

  certain response rate in breast cancer can be used to reasonably expect clinical

  success in prostate cancer.

     118. Dr. Seth says that El-Maraghi shows that agents with response rates at 10%

  or higher received regulatory approval. Exh. 1002 at ¶ 71. None of the agents

  from Table 5 that received regulatory approval were for prostate cancer. Exh.

  1023 at 1351-52; January 2008 Herceptin® Label (Exh. 2063) at 2; April 2009

  Tarceva® Label (Exh. 2092) at 2; April 2004 Iressa® Label (Exh. 2065) at 7; April

  2008 Sutent® Label (Exh. 2090) at 2; July 2009 Avastin® Label (Exh. 2019) at 3-

  4; November 2007 Nexavar® Label (Exh. 2197) at 2; May 2009 Gleevec® Label

  (Exh. 2198) at 3; July 2009 Erbitux® Label (Exh. 2199) at 2-3; May 2007 Torisel®

  Label (Exh. 2200) at 2.

     119. Although El-Maraghi describes sunitinib as having an overall response rate

  of more than 20%, as noted above, sunitinib failed in a phase III study in

  comparison to prednisone in mCRPC patients post-docetaxel with “poor” patient

  tolerability. Exh. 1004 at 176.

     120. Trasutuzmab is reported in El-Maraghi as having a response rate over 10%

  and was approved as a single agent for HER2-overexpressing metastatic breast

  cancer patients who have received chemotherapy. Exh. 2063 at 2. But, a phase II

  single agent study in hormone refractory prostate cancer reported “poor efficacy.”

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  Ziada et al., The Use of Trastuzumab in the Treatment of Hormone Refractory

  Prostate cancer; Phase II Trial, 60 The Prostate 332-37 (2004) (Exh. 2099) at 332.

     121. Similarly gefitinib was reported in El-Maraghi as having a response rate of

  10% or higher and received regulatory approval for non-small cell lung cancer.

  Exh. 2065 at 7. Yet gefitinib was found inactive in prostate cancer. Canil et al.,

  Randomized Phase II Study of Two Doses of Gefitnib in Hormone-Refractory

  Prostate Cancer: A Trial of the National Cancer Institute of Canada –Clinical

  Trials Group, 23(3) J. Clin. Oncol. 455-60 (2005) (Exh. 2104) at 455; Small et al.,

  A Phase II Trial of Gefitinib in Patients with Non-Metastatic Hormone-Refractory

  Prostate Cancer, 100 BJU Int’l 765-69 (2007) (Exh. 2112) at 765.

     122. Also as noted above, despite FDA approval in other indications,

  bevacizumab proved to be disappointing in CRPC after a phase III study in

  combination with docetaxel and prednisone as compared to docetaxel with

  prednisone failed to demonstrate an improvement in overall survival. Exh. 2114.

     123. Similarly, imatinib, also included in Table 5 of El-Maraghi was approved

  for use in adult patients with unresectable, recurrent and/or metastatic

  dermatofibrosarcoma protuberans at a dose of 400 mg orally twice daily, yet a

  phase II study of imatinib at the same dose in prostate cancer with nonmetastatic

  recurrent disease found a “lack of significant efficacy as measured by changes in

  PSA” and “pronounced toxicities leading to early closure of [the] trial.” Exh. 2198

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  at 3; Lin et al., A Phase II Trial of Imatinib Mesylate in Patients with Biochemical

  Relapse of Prostate Cancer After Definitive Local Therapy, 98 BJU Int’l 763-69

  (2006) (Exh. 2201) at 767. The prostate cancer study authors concluded that

  “further study of single-agent imatinib at [400 mg] cannot be recommended” in

  this patient population. Id. at 767.

     124. Therefore, El-Maraghi does not show that a 10% response rate in a phase II

  study can be used to reasonably expect regulatory approval or efficacy in phase III

  prostate cancer studies, or that a 10% response rate in a phase II study for non-

  prostate cancer patients leads to a reasonable expectation of phase III success in

  prostate cancer.

     125. When the focus is narrowed to cytotoxic agents, the story is similar. Many

  cytotoxic therapies were approved in other indications, but had disappointing

  results in prostate cancer, making it unlikely that a POSA would reasonably expect

  activity in prostate cancer based on phase II results in another cancer.

     126. For example, capecitabine, which was approved by the FDA as a

  monotherapy in metastatic breast cancer resistant to both paclitaxel and an

  anthracycline-containing regimen, showed only “limited” activity as a single agent

  in a phase II mCRPC study, and researchers concluded that it was “not worthwhile

  to investigate capecitabine monotherapy in a phase III trial.” February 2003

  Xeloda® Label (Exh. 2098) at 14; Morant et al., Capecitabine in Hormone-

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  Resistant Metastatic Prostatic Carcinoma – a Phase II Trial, 90 Brit. J. Cancer

  1312-17 (2004) (Exh. 2074) at 1312, 1316.

     127. Irinotecan likewise did not show “significant activity” in a phase II trial in

  patients with hormone-refractory prostate cancer at a dose of 125 mg/m2 weekly,

  despite irinotecan having been approved by the FDA at the same dose and schedule

  for treatment of metastatic colon or rectum cancer both in combination with 5-

  fluorouracil and leucovorin and as a single agent following fluorouracil-based

  therapy. July 2006 Camptosar® Label (Exh. 2202) at 16, 31; Reese et al., A Phase

  II Trial of Irinotecan in Hormone-Refractory Prostate Cancer, 16 Investig. New

  Drugs 353-59 (1998) (Exh. 2203) at 353-54.

     128. Similarly, pemetrexed (LY231514), which was approved by the FDA as a

  single agent in locally advanced or metastatic nonsquamous non-small cell lung

  cancer after prior chemotherapy, showed “discouraging” results as a single agent in

  terms of activity and toxicity in hormone-refractory prostate cancer in a phase II

  study, and it was recommended that “[n]o further studies of this drug should be

  performed in CRPC patients.” September 2008 Alimta® Label (Exh. 2204) at 2;

  Caffo et al., Pemetrexed as Second-Line Chemotherapy For Castration-Resistant

  Prostate Cancer After Docetaxel Failure: Results from a Phase II Study, 31 Urol.

  Oncol. 180-86 (2013) (Exh. 2205) at 180.



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     129. Topotecan was approved in combination with cisplatin for advanced

  cervical cancer, and as a monotherapy for second-line treatment of small cell lung

  cancer and metastatic carcinoma of the ovary after chemotherapy, yet was found in

  a phase II study to be “ineffective in the management of hormone-refractory

  prostate cancer.” June 2006 Hycamtin® Label (Exh. 2206) at 8; Klein et al.,

  SWOG-9510: Evaluation of Topotecan in Hormone Refractory Prostate Cancer: A

  Southwest Oncology Group Study, 52(4) The Prostate 264-68 (2002) (Exh. 2207)

  at 264.

     130. And gemcitabine, which was approved by the FDA in combination with

  paclitaxel for first-line treatment of metastatic breast cancer after failure of prior

  anthracyclines, failed to show efficacy in prostate cancer in combination with

  docetaxel. April 2006 Gemzar® Label (Exh. 2208) at 9; Garcia et al., Gemcitabine

  and Docetaxel in Metastatic, Castrate-Resistant Prostate Cancer, 117 Cancer 752-

  57 (2011) (Exh. 2209) at 756-57. A phase II study in metastatic castration resistant

  prostate cancer concluded that the combination of gemcitabine and docetaxel failed

  to yield clinical benefits beyond those achieved by use of docetaxel as a single

  agent, at the cost of significant toxicities, leading the researchers to recommend

  against further development of this combination. Id.




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     131. These phase II-III failures in prostate cancer studies clearly demonstrate

  that objective responses in early non-prostate cancer clinical trials do not provide a

  reasonable expectation of success in further studies in prostate cancer.

     132. Ratain analyzed the usefulness of phase II results to predict drug approval

  in 2005, and concluded that oncology trials have “a relatively low positive

  predictive value.” Ratain, Phase II Oncology Trials: Let’s Be Positive, 11(16)

  Clin. Cancer Res. 5661-62 (2005) (Exh. 2145) at 5661. Ratain looked at 26 breast

  cancer studies and found that for those studies that had an overall response rate

  greater than 10%, the positive predictive value was only 25%, and that for studies

  with an overall response rate of greater than 20%, the positive predictive value was

  still less than 50%. Id. at 5662. The overall response rate in Pivot, which

  evaluated metastatic breast cancer patients, was 14%. According to Ratain, this

  suggested to a POSA that the positive predictive value of a phase III study in breast

  cancer based on this overall response rate was around 25%. Indeed, the only

  conclusion Pivot draws from the 14% response rate is that the results of the study

  “justify further clinical testing.” Exh. 1010 at 1551. Pivot does not make any

  predictions of future study results and does not set forth any expectations of

  success in further studies. There is simply no reason that a POSA would read more

  into the results in Pivot beyond those results justifying further studies, especially



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  when considering the potential efficacy of cabazitaxel in a different type of tumor

  than metastatic breast cancer.

     133. Ratain and Sargent also urge that single-arm, non-randomized trials like

  Pivot “should be the exception, not the rule” in oncology trials. Exh. 1029 at 277.

  According to the authors, single-arm phase II trials “generate ‘false’ hope [due to]

  inter-trial variability in end-point success rates,” and the choice of a different

  endpoint in a phase II trial compared to a phase III trial is “problematic, as

  response rate has been repeatedly shown to be a poor surrogate for . . . time-to-

  event end-points [like overall survival].” Id. at 278. Single-arm trials also

  “hinder[ ] the ability to judge the toxicity relative to control, to consider alternate

  end-points that may be more sensitive to the treatment effect, and to estimate the

  effect size relative to control,” which impacts later determination of sample size

  and endpoint selection in any subsequent phase III trials. Id. at 276. In addition,

  Ratain and Sargent advise that non-randomized trials “should never be used if

  there is uncertainty regarding the optimal dose.” Id. at 277. Given these concerns,

  Pivot, an open-label, single-arm study, with no data from previous phase II studies,

  and with differing recommendations regarding dose from phase I studies, would

  not provide a POSA with a reasonable expectation of success in a phase III trial in

  a different cancer type. See Exh. 2037 and above at ¶ 99 (noting that “even large

  randomized phase II trials may be poor predictors of results in phase III”).

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               2.    A POSA Would Not Extrapolate from Results in Breast
                     Cancer to Prostate Cancer
     134. Contrary to Dr. Seth’s assertions, a POSA would not rely on results in

  breast cancer studies to reasonably expect activity in prostate cancer. Breast

  cancer and prostate cancer are different conditions involving different tissue types.

  And, like prostate cancer, breast cancer was reported to be “a very heterogeneous

  malignancy, expressing a considerable variation in genomic aberrations.” Wiechec

  & Hansen, The Effect of Genetic Variability on Drug Response in Conventional

  Breast Cancer Treatment, 625 Eur. J. Pharmacol. 122-30 (2009) (Exh. 2042) at

  122. The heterogeneity within prostate and breast cancers is complicated further

  when examining patients that have progressed on hormone-based therapy and

  further progressed during or after taxane therapy because the cancer has evolved

  multiple times. See, e.g., Exh. 2083 at 316 (“[C]ancer has developed multiple

  methods centering on genetic mutation to promote self-survival and

  perpetuation.”).

     135. A review of the NCCN Guidelines for breast and prostate cancer also show

  that they are analyzed differently. Breast cancer is broken down into categories

  including ductal, lobular, mixed, metaplastic, tubular, and colloid. See, e.g.,

  NCCN Guidelines Breast Cancer V.1.2009 (Exh. 2076) at 13; Exh. 2142 at 1-125.

  Prostate cancer is not similarly analyzed. Breast cancer also has particular

  subgroups with molecular signatures that determine which medications should be
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  prescribed. See, e.g., id. For example, breast cancer patients are broken down into

  estrogen receptor and/or progesterone receptor status as well as HER2 status before

  determining systemic treatment. Id. Prostate cancer patients are not divided in a

  similar way.

     136. Unfortunately as of October 2009 there were no molecular signatures by

  which to select appropriate medications for prostate cancer. As noted by Taylor et

  al. in 2010, large-scale projects into other cancers, including breast, had provided

  insights into molecular classification, but prostate cancer had presented “special

  challenges” and “robust subtypes of prostate cancer with different prognoses” had

  not been identified. Taylor et al., Integrative Genomic Profiling of Human

  Prostate Cancer, 18(1) Cancer Cell 11-22 (2010) (Exh. 2124) at 11-12.

     137. By October 2009, a POSA also clearly understood that breast and prostate

  cancers are treated differently. Systemic chemotherapy was only recommended for

  patients with castration resistant or hormone refractory, metastatic prostate cancer.

  See, e.g., Exh. 2077 at 6-11, 36-37. For breast cancer, however, the 2009 NCCN

  Guidelines recommended chemotherapy with or without endocrine therapy in the

  adjuvant and preoperative setting even where the cancer may not be metastatic.

  Exh. 2076 at 14-17, 20, 23. Where chemotherapy and endocrine therapy are used

  in the adjuvant setting for breast cancer, it was recommended to administer

  chemotherapy before the endocrine therapy. Id. at 14 n.S, 15 n.S. For metastatic

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  disease, the 2009 NCCN Guidelines for breast cancer suggested chemotherapy

  instead of endocrine therapy for certain patients. Id. at 26-28.

     138. A POSA also understood that different systemic therapies were used to

  treat prostate and breast cancer. The 2009 NCCN Guidelines for prostate cancer

  recommended docetaxel in combination with prednisone or estramustine,

  mitoxantrone with prednisone, cisplatin/etoposide, and carboplatin/etoposide. Exh.

  2077 at 11, 18. For breast cancer, the 2009 NCCN Guidelines recommended a

  number of chemotherapy regimens, including docetaxel alone or in combination

  with doxorubicin and cyclophosphamide, and agents not recommended for prostate

  cancer: paclitaxel, doxorubicin, epirubicin, capecitabine, gemcitabine,

  cyclophosphamide, vinblastine, fluorouracil, ixabepilone, vinorelbine, and

  combinations thereof. Exh. 2076 at 39-43, 46-49.

     139. A breast cancer patient and a prostate cancer patient that have both

  progressed during or after treatment with docetaxel therapy are also likely to have

  received different medications previously. For example, the breast cancer patient

  may not have received a hormonal therapy depending on their hormone receptor

  status, but may have received an anthracycline or capecitabine. Exh. 2076 at 46,

  49 (anthracyclines and capecitabine are preferred single agents). These differences

  can affect how a patient responds to and tolerates subsequent treatments.



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     140. Ixabepilone is interesting because it is an epothilone, which like

  cabazitaxel is a tubulin binding agent, which was shown to be effective in breast

  cancer patients resistant or refractory to taxane therapy. October 2007 Ixempra®

  Label (Exh. 2066) at 1, 19. Despite two phase II studies in prostate cancer with

  PSA response rates of 17% and 22%, ixabepilone resulted in “significant toxicity

  and a low level of activity” in chemotherapy-pretreated prostate cancer

  populations. Exh. 1022 at 163. Ixabepilone has not been approved for prostate

  cancer or entered into a phase III prostate cancer study.

     141. Capecitabine was approved as a single agent for metastatic breast cancer

  resistant to both paclitaxel and anthracycline chemotherapy, but a phase II study in

  mCRPC concluded that single agent capecitabine activity was “limited” and did

  not merit additional investigation. Exh. 2098 at 14; Exh. 2074 at 1312, 1316.

     142. Trastuzumab was approved as a single agent for HER2-overexpressing

  metastatic breast cancer patients who have received chemotherapy, but a single

  agent trial in hormone refractory prostate cancer reported “poor efficacy.” Exh.

  2063 at 2; Exh. 2099 at 332.

     143. Pertuzumab is approved for metastatic breast cancer in combination with

  trastuzumab and docetaxel, yet failed to produce responses in hormone-refractory

  prostate cancer patients in a phase II study. June 2012 Perjeta® Label (Exh. 2082)

  at 1; de Bono et al., Open-Label Phase II Study Evaluating the Efficacy and Safety

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  of Two Doses of Pertuzumab in Castrate Chemotherapy-Naïve Patients with

  Hormone-Refractory Prostate Cancer, 25(3) J. Clin. Oncol. 257-62 (2007) (“de

  Bono 2007”) (Exh. 2054) at 257. The authors of the prostate cancer study noted

  that pertuzumab had previously demonstrated activity as a single agent in

  refractory or recurrent ovarian cancer. Exh. 2054 at 260. They also reported that

  the serum concentrations of drug were in excess of levels at which anticancer

  activity was reported in preclinical androgen-depleted prostate cancer models, yet

  no clinically significant antitumor activity occurred in the 68 mCRPC patients. Id.

  de Bono 2007 therefore further demonstrates the failure of preclinical models to

  allow a POSA to reasonably expect meaningful activity in mCRPC patients.

        144. The references Dr. Seth cites to suggest similarities between breast and

  prostate cancer would not have been understood by a POSA to overcome or

  diminish the well understood differences discussed above. See Exh. 1002 at ¶¶ 75-

  76.

        145. The Gayther reference cited by Dr. Seth studies whether mutations in

  BRCA1 and BRCA2 contribute to familial prostate cancer. Gayther et al., The

  Frequency of Germ-Line Mutations in the Breast Cancer Predisposition Genes

  BRCA1 and BRCA2 in Familial Prostate Cancer, 60 Cancer Res. 4513-18 (2000)

  (“Gayther”) (Exh. 1028). But only a small percentage of prostate cancer is

  considered familial or inherited. Mononen et al., Two Percent of Finnish Prostate

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  Cancer Patients Have a Germ-Line Mutation in the Hormone-Binding Domain of

  the Androgen Receptor Gene, 60 Cancer Research 6479-81 (2000) (Exh. 2105) at

  6479 (“[u]p to 5-10%”). Gayther reports that mutations in BRCA1 do not

  contribute significantly, but that some prostate cancer families harbor germ-line

  mutations in the BRCA2 gene. Exh. 1028 at 4517. Gayther does not discuss

  therapies for breast or prostate cancer.

     146. Similarly, the Zhu reference discusses whether some prostate cancer cases

  could be caused by disruption of the circadian cycle, but does not discuss therapies

  for breast or prostate cancer. Zhu et al., Does “Clock” Matter in Prostate Cancer,

  15(1) Cancer Epidemiol. Biomarkers Prev. 3-5 (2006) (Exh. 1034).

     147. The Hospers reference cited by Dr. Seth is a review paper on the use of

  positron emission tomography to detect hormone receptor expression. Hospers et

  al., PET Imaging of Steroid Receptor Expression in Breast and Prostate Cancer,

  14 Current Pharm. Des. 3020-32 (2008) (“Hospers”) (Exh. 1033). Hospers notes

  that breast and prostate cancer are examples of hormone dependent tumors and

  describes development of hormone resistance for each. Exh. 1033 at 3020-22.

  Hospers does not discuss whether the same therapies could be used for both breast

  and prostate cancer, and more importantly, cabazitaxel is not a hormonal therapy.




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               3.    A POSA Would Not Have Reasonably Expected Activity in
                     Prostate Cancer Based on a 14% Tumor Response Rate in
                     Breast Cancer
     148. Dr. Seth refers to the 14% objective tumor response rate reported in Pivot

  and Beardsley as “positive” (Exh. 1002 at ¶¶ 70-71), but a POSA would have been

  aware of many other studies with similar or higher response rates that failed to

  predict whether a drug would prolong survival. See Exh. 2145 at 5661 (noting

  “low positive predictive value” of phase II oncology studies), Table 1 (positive

  predictive value for phase II breast cancer studies less than 50% even when

  ORR>20%).

     149. Larotaxel is an informative example of where seemingly positive phase II

  studies were not predictive of phase III success in the same indication or any

  indication. Larotaxel was evaluated in a phase II metastatic breast cancer study in

  patients previously treated with a taxane in which patients were stratified by their

  resistance to the prior taxane therapy. Exh. 2015 at 1255-56. In the non-resistant

  group, the overall tumor response rate was 42%, and in the resistant group the

  overall response rate was 19%. Id. at 1257. One taxane-resistant patient (of 67

  treated, 43 per protocol) exhibited a complete response, and 12 resistant patients

  exhibited a partial response. Id. at 1257, Table 3. The safety profile was reported

  as “similar to that of the taxanes.” Id. at 1259. Neutropenia and diarrhea were

  some of the most significant toxicities. Id. at 1258-59.

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     150. At the 2008 ASCO annual meeting, an interim analysis of a phase II trial

  evaluating larotaxel in combination with trastuzumab in patients with metastatic

  breast cancer reported “good activity in pretreated [patients] with high tumor

  burden” and “manageable toxicity.” Exh. 2101.

     151. Yet larotaxel failed to provide a benefit in overall survival as compared to

  capecitabine in metastatic breast cancer patients previously treated with a taxane in

  Sanofi’s phase III study. Exh. 2003 at 3. A higher tumor response rate in phase II

  studies than that reported by Pivot, 19% versus 14%, failed to translate to an

  overall survival benefit.

     152. In a phase II study of larotaxel in combination with cisplatin or

  gemcitabine as a first line therapy in non-small cell lung cancer, the response rates

  were 26.7% and 18.2% respectively. Exh. 2045 at 894, 897. The authors

  concluded that both “combinations were effective and manageable, however all

  measured efficacy parameters (response rate, progression free survival, and

  survival) seemed to favor the combination with cisplatin.” Id. at 894. Yet as noted

  above, larotaxel failed to produce a survival benefit in pancreatic or bladder cancer,

  indicating that these phase II response rates in breast and lung cancer were not

  predictive of success in any type of cancer.

     153. Contrary to Dr. Seth’s assertions (Exh. 1002 at ¶ 77), the fact that the

  breast cancer patients in Pivot were taxane-resistant does not provide enough

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  information to a person of ordinary skill to expect similar activity in taxane-

  resistant prostate cancer patients. Takeda et al. developed two paclitaxel-resistant

  prostate cancer cell lines and studied the mechanisms of resistance. Takeda et al.,

  The Establishment of Two Paclitaxel-Resistant Prostate Cancer Cell Lines and the

  Mechanisms of Paclitaxel Resistance with Two Cell Lines, 67 The Prostate 955-67

  (2007) (Exh. 2091) at 956. The PC-3-TxR cell line had many genes with altered

  expression patterns that were different from those seen in paclitaxel-resistant breast

  cancer cells, “suggesting that different mechanisms are involved in becoming

  paclitaxel-resistance in different cancers.” Id. at 965. Thus, it was not clear that a

  drug that could overcome docetaxel resistance in breast cancer would similarly

  overcome docetaxel resistance in prostate cancer.

     154. Pivot was not a randomized controlled study, and therefore could not have

  analyzed overall survival of the breast cancer patients. And, although Pivot states

  that cabazitaxel “appears to be active in docetaxel- or paclitaxel-resistant breast

  cancer,” Pivot does not state that cabazitaxel is expected to be active in other types

  of taxane-resistant cancers. Exh. 1010 at 1551. Pivot merely states that the results

  “justify further clinical testing.” Id. Thus, a POSA could not have used Pivot to

  reasonably expect cabazitaxel to prolong the lives of prostate cancer patients.

  Even if a POSA were to consider objective tumor responses in breast cancer

  patients that were required to have measurable disease (Exh. 1010 at 1548) to be

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  indicative of objective tumor responses in prostate cancer, which a POSA would

  not, tumor responses were not validated surrogates for overall survival in CRPC.

  Exh. 2030 at 307.

     155. Furthermore, I note that even in phase II prostate cancer studies, many

  agents produced response rates greater than 14% either by objective tumor

  responses or by PSA responses, yet failed to produce an overall survival benefit.

  For example, a phase II study with suramin reported a tumor response rate of 15%

  and a PSA response rate of 34%; a phase II study with DN-101 in combination

  with docetaxel reported 29% of patients with a tumor response and a PSA response

  rate of 63%; a phase II study with satraplatin reported 10% of patients with a tumor

  response and 26% of patients with a PSA response; a phase II study of

  bevacizumab in combination with docetaxel reported a tumor response rate of

  37.5% and 55% of patients with a major PSA response; a phase II study of

  custirsen in combination with docetaxel reported a 15% tumor response rate and a

  PSA response rate of 40%; and a phase II study of orteronel plus docetaxel

  reported a tumor response rate of 56% and PSA responses in 72% of patients.

  Above at ¶¶ 95, 97-99, 104, 107-08. Yet, in phase III prostate cancer studies, none

  of these drugs increased overall survival. These failures demonstrate that a POSA

  would have given little to no weight to Pivot’s 14% tumor response rate. See Exh.

  2145 at 5661-62; discussion above at ¶ 132.

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          D.     The Mere Existence of a Phase III Trial Would Not Have
                 Provided a POSA with a Reasonable Expectation of Success
       156. Dr. Seth relies heavily on the existence of the phase III TROPIC study in

  Winquist, Beardsley, and the TROPIC Listing to support his argument that a

  POSA would have been motivated to perform the methods of the asserted claims

  with a reasonable expectation of success. See, e.g., Exh. 1002 at ¶¶ 70, 72, 120,

  122, 172. One of Dr. Seth’s primary arguments is that phase III clinical trials are

  only conducted because of a reasonable expectation of success, because otherwise

  the costs would not be justifiable. Id. at ¶ 224. I strongly disagree.

       157. Phase III studies are typically performed after a phase II trial in the same

  patient type that showed activity. But, people of skill in the art knew that Sanofi

  had not performed a phase II study in prostate cancer. See, e.g., Exh. 1022 at 163

  (noting that no phase II CRPC study was performed).

       158. A POSA would have viewed the initiation of a phase III study without

  phase II results in those patients as a relatively risky endeavor because of the

  multiple failed phase III CRPC studies discussed above with phase II prostate

  cancer data.17 In light of the single phase I response in a docetaxel-refractory


  17
     Beardsley stated that “given its activity in the docetaxel refractory setting” of the
  phase II study in breast cancer, cabazitaxel was being investigated in a phase III
  trial “comparing 3-weekly XRP6258 with prednisone to mitoxantrone with
  prednisone in patients with castrate resistant metastatic prostate cancer previously
  treated with docetaxel-containing treatment.” Exh. 1022 at 163. Beardsley is a
  review article by Dr. Kim N. Chi and Dr. Emma K. Beardsley, both from the BC
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  prostate cancer patient reported in Mita and no phase II study in prostate cancer, a

  POSA would not have viewed the TROPIC trial as more promising than other

  phase III trials that had failed.

     159. As of 2009, it was known that patients with mCRPC are a generally

  difficult population of patients to treat due to their age, their performance status,

  and the presence of comorbidities. A publication by Greene et al. in 2005

  describes the average prostate cancer patient as 65 years old, overweight, and with

  an average of 1-2 comorbidities, and this is consistent with my experience with this

  group of patients. Greene et al., Who is the Average Patient Presenting with

  Prostate Cancer?, 66(5 Suppl.) Urology 76-82 (2005) (Exh. 2210) at 81. In

  treating patients with prostate cancer, I have found the advanced age, low

  performance status, and presence of comorbidities to lead to toxicity and

  tolerability issues and, in some cases, to discontinuation of a therapy. Through

  conversations with colleagues and attendance at meetings and conferences, I




  Cancer Agency in Vancouver, describing research developments on a wide variety
  of different approaches to treating mCRPC. A POSA would recognize that Drs.
  Chi and Beardsley are speculating as to why a phase III trial was initiated in
  prostate cancer. Further, the art cited by Dr. Seth does not indicate that the
  TROPIC study had completed enrollment or analysis was complete, only that the
  study was still recruiting and ongoing. Recruitment issues can affect the design
  and outcomes of a study. For example, low recruitment in the Phase II study of
  cabazitaxel in metastatic breast cancer led to a protocol amendment which stopped
  two out of the three planned arms of the study. Exh. 1010 at 1548-49.
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  believe other doctors have faced the same difficulties with their prostate cancer

  patients.

     160. It was also well known by October 2009 that oncology drugs have a lower

  than average success rate in phase III trials as compared to other therapeutic areas.

  Exh. 1015 at 609. It had been reported that “[p]hase II trials in oncology do not

  show significant predictability for Phase III outcomes.” Id. at 610.

     161. The inordinate number of phase III failures in CRPC discussed above in

  ¶¶ 94-100, 149, 151 demonstrates that the existence of a phase III study in

  advanced castration resistant prostate cancer was not indicative of success because

  they all failed to produce the desired outcome, an increase in overall survival.

     162. The desired increase in overall survival these studies failed to show was

  imperative because mCRPC was an incurable condition. The hope was to have

  these patients live longer or live better, i.e., more comfortably. With respect to

  quality of life, most if not all cytotoxic therapies like cabazitaxel were known to

  and/or were expected to cause toxicities.

     163. Docetaxel for example, was known to cause nausea, diarrhea, peripheral

  edema, hair loss, fatigue, neutropenia, and sensory neuropathy among other

  adverse events. Exh. 1013 at Table 4. Cabazitaxel was reported in Mita to cause

  grade 4 neutropenia in 42% of courses and diarrhea in 52% of patients. Exh. 1012

  at 726. Mita does not report an improvement in pain or quality of life for the

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  single docetaxel-refractory prostate cancer patient with a partial response. Id. at

  727. Lortholary reported a death due to sepsis, but no information regarding an

  improvement in pain or quality of life. Exh. 2147 at CabRef0002896. Pivot

  reported grade 3-4 neutropenia in 73% of patients, but again no information

  regarding reduction in pain or improvement in quality of life. Exh. 1010 at 1550.18

  Neutropenia can be a serious condition, and even “life-threatening,” as the

  decrease in a patient’s neutrophil levels makes them susceptible to infection with a

  diminished ability to fight the infection off. Exh. 2229 at 2. To justify giving

  patients previously on docetaxel another therapy that will have its own toxicities in

  a clinical setting potentially leading to death, a POSA would have to expect either

  a substantial improvement in quality of life or pain, or a survival benefit from the

  therapy. Otherwise a POSA would not have been motivated to use the therapy.

  For a therapy that was not expected to provide a substantial palliative benefit in

  quality of life where the benefits were expected to outweigh the risks, a statistically

  significant increase in overall survival could justify the risk of side effects with the

  benefit of prolonging life.

       164. In light of the side effects reported for cabazitaxel in phase I and II studies,

  a POSA would not have been motivated to administer cabazitaxel to provide a

  palliative benefit to help patients to live more comfortably. See Exh. 1012 at 726-
  18
    Pivot does not disclose discontinuing cabazitaxel therapy when neutrophil levels
  fell to 1,500 cells/mm3.
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  27; Exh. 1010 at 1550; Exh. 2147 at CabRef0002896. It was also known that the

  primary endpoint of the TROPIC study was overall survival, not pain response or

  another symptom-based endpoint. See, e.g., Winquist et al., Open Clinical Uro-

  oncology Trials in Canada, Canadian J. Oncol. 15(1), 3942-49 (2008)

  (“Winquist”) (Exh. 1009) at 3948.




                                                                        2006-06-29

  Email, Ann Staten, FDA to Linda Gustavson, Sanofi (enclosing signed meeting

  minutes from End of Phase II Meeting of 2006-06-28) (Exh. 2211) at 3.

     165. Additionally, a POSA could not have had a reasonable expectation with

  respect to cabazitaxel prolonging overall survival because there was no data in any

  type of cancer relating to survival, and the only data in prostate cancer progressing

  during or after docetaxel therapy was a single partial response from Mita, where

  responses in tumor size and PSA were not validated surrogates for overall survival.

  See Exh. 2030 at 307. Because there was no expectation that cabazitaxel would

  increase overall survival, a POSA would not have been motivated to administer

  cabazitaxel in combination with a corticoid to the claimed patients with a

  reasonable expectation of success.



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     166. Dr. Seth speculates that a company would not perform a phase III study

  without an expectation of success. Exh. 1002 at ¶ 224. But, the failed clinical

  studies in prostate cancer discussed above at ¶¶ 94-100 demonstrate that the

  existence of a phase III study was not indicative of success.

     167. For example, as discussed above Sanofi was faced with three failed phase

  III studies with the compound larotaxel. I also note that another phase III study of

  cabazitaxel on which I was a principal investigator failed to meet its primary

  endpoint. The FIRSTANA study compared 20 and 25 mg/m2 of cabazitaxel to 75

  mg/m2 of docetaxel every three weeks, all in combination with prednisone in

  patients with mCRPC. Sartor et al., Cabazitaxel vs. Docetaxel in Chemotherapy-

  Naïve (CN) Patients with Metastatic Castration-Resistant Prostate Cancer

  (mCRPC): A Three Arm Phase III Study (FIRSTANA), 34 J. Clin. Oncol. Abstr.

  5006 (2016) (Exh. 2212). The study failed to meet its primary endpoint because

  the cabazitaxel arms did not demonstrate superior overall survival as compared to

  docetaxel. Id. Simply having a company run a phase III clinical trial does not

  provide a reasonable expectation of success.

     168. Furthermore, atrasentan was developed by Abbot, Sutent® (sunitinib) was

  developed by Pfizer, Avastin® (bevacizumab) was developed by Genentech,

  Yervoy® (ipilimumab) was developed by Bristol Myers Squibb, and orteronel was

  developed by Takeda. These were all large companies initiating phase III studies

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  in CRPC that failed. In light of these failures it cannot be said that phase III

  success rates for prostate cancer studies were anywhere near the 60% for oncology

  generally that Dr. Seth relies on from Booth. Contra Exh. 1002 at ¶ 221.

  Moreover, this 60% success rate from Booth is based on studies conducted

  between 1991 and 2001. Exh. 1015 at 610. Booth notes that even in 2003, “with

  better available treatments,” the FDA had moved “aggressively towards clinical

  endpoints such as survival, which are exceedingly tough to prove in populations

  with refractory, progressive tumours.” Id. at 609. Hard clinical endpoints like

  survival are “higher regulatory hurdles,” and “increase the likelihood of clinical

  attrition.” Id. Thus, these data are not representative of success rates in 2009,

  especially in a clinical study like TROPIC, which evaluated patients with

  refractory, progressive tumors with a primary endpoint of overall survival. See

  also Exh. 2037 and above at ¶ 99 (noting that “even large randomized phase II

  trials may be poor predictors of results in phase III”).

     169. I have acted as a principal investigator in numerous clinical trials. The

  decision whether or not to conduct a phase III clinical trial is unique for each

  company and for each drug. While it is unlikely that the FDA would allow a phase

  III trial to proceed if there were serious safety concerns that could not be addressed

  by a planned interim analysis, the existence of a phase III trial does not indicate

  whether the regimen being studied will be effective, particularly in a situation such

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  as advanced prostate cancer where the phase II endpoints of tumor response and

  PSA reduction were not validated surrogates for overall survival.

     170. Dr. Seth also indicates that the fact that the TROPIC Listing shows the

  study as recruiting patients in 2008 despite starting in 2006 provides a reasonable

  expectation that the study would be successful. Exh. 1002 at ¶ 122. But this only

  shows that the study had not been prematurely terminated by August 2008. A

  person of ordinary skill could not infer that the study was positive.

     171. What Dr. Seth does not consider is that pharmaceutical companies run

  phase III studies in oncology because of the great need for new therapies to treat

  dying patients. Pharmaceutical companies take the risk of running a phase III

  study with the understanding that if the study is successful, they will provide hope

  for these patients. Thus, they are willing to conduct phase III studies even though

  the outcome is anything but predictable and the likelihood of success is low. This

  is particularly true for the treatment of prostate cancer patients that had progressed

  during or after docetaxel therapy where there was no option available. These

  circumstances explain why so many companies took the risk of running a phase III

  study in advanced prostate cancer (although ultimately unsuccessful), and why a

  POSA would not have reasonably expected success for cabazitaxel in prostate

  cancer simply based on the fact that Sanofi was performing the TROPIC study.



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        E.       A POSA Would Not Have Been Motivated to Use a 25 mg/m2 Dose
                 of Cabazitaxel
     172. Although Winquist identifies a 25 mg/m2 dose of cabazitaxel, the dose

  Mita recommended for further study was 20 mg/m2 because three of seven subjects

  experienced dose limiting toxicities at 25 mg/m2 including febrile neutropenia and

  protracted grade 4 neutropenia. Exh. 1009 at 3948; Exh. 1012 at 726. This would

  have raised questions to a POSA about the risk for toxicities of a 25 mg/m2 dose of

  cabazitaxel.

     173. Similarly, in Pivot only 28% of patients were able to have dose escalation

  to 25 mg/m2 because they did not experience a significant adverse event during

  cycle 1 at 20 mg/m2. Exh. 1010 at 1548, 1550. These results indicate that the

  majority of patients in Pivot experienced a significant adverse event at cycle 1 with

  a 20 mg/m2 dose. This would have given a POSA some toxicity concerns about

  using cabazitaxel clinically, especially at a higher dose of 25 mg/m2. A therapy

  that shrinks tumors but is unacceptably toxic would not have been a therapy at all.

     174. I also note that the FDA recommended dose of docetaxel for breast cancer

  was 60-100 mg/m2 in the non-adjuvant setting, yet the recommended dose for

  prostate cancer was 75 mg/m2. September 2007 Taxotere® Label (Exh. 1024) at 3-

  4. The Taxotere® labeling reported two randomized clinical trials comparing

  docetaxel to another therapy in locally advanced or metastatic breast cancer at a

  100 mg/m2 dose every three weeks, yet the two phase III clinical studies of
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  docetaxel in prostate cancer evaluated a 60 mg/m2 and 75 mg/m2 dose. Id. at 37-

  39, 45; Exh. 2083 at 305, Table 1. This disparity suggests that a POSA would

  scale the dose of cabazitaxel down from the breast cancer study to prostate cancer,

  not up to 25 mg/m2.

        F.     Dr. Seth Has Not Sufficiently Shown Why a POSA Would Use
               Prednisone
     175. Dr. Seth asserts that administration of a taxane in combination with

  prednisone for treating prostate cancer was well established by 2009. Exh. 1002 at

  ¶ 129. Yet, the only example he discusses is the combination of docetaxel and

  prednisone. Id. Paclitaxel was not indicated for prostate cancer or in combination

  with prednisone. Exh. 2077 at 18; Taxol® Label (Exh. 2093) at 22. Dr. Seth is

  also incorrect that there was a report of successful treatment with cabazitaxel in

  combination with prednisone in Attard. Exh. 1002 at ¶ 129. The phase I study

  reported in Attard and Mita was of cabazitaxel alone. Exh. 1012 at 724.

     176. As noted above, the only data on the use of cabazitaxel in prostate cancer

  was of cabazitaxel alone, not in combination with a corticoid. A POSA would

  have been aware that docetaxel was also shown to provide an overall survival

  benefit in a phase III mCRPC study in combination with estramustine and without

  prednisone. Exh. 2083 at 304-05. The NCCN Guidelines in 2009 also

  recommended docetaxel in combination with estramustine. Exh. 2077 at 18. There

  was no study comparing docetaxel therapy in mCRPC with and without
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  prednisone; thus it was not clear whether prednisone would provide a benefit when

  used in combination with cabazitaxel.

     177. A POSA would have been aware that mitoxantrone was also prescribed in

  combination with hydrocortisone. Exh. 2111 at 11-12, 14. A phase III study of

  mitoxantrone in combination with 40 mg per day of oral hydrocortisone

  demonstrated palliative benefits. Id. at 11-12. Hydrocortisone had also been used

  as a control in prostate cancer clinical studies. For example, the phase III clinical

  study of suramin in androgen independent prostate cancer was in combination with

  hydrocortisone as compared to placebo plus hydrocortisone. Exh. 2020 at 210.

     178. Dr. Seth focuses on the palliative role of prednisone in the Tannock 2004

  paper to suggest a motivation to use prednisone in combination with cabazitaxel.

  Exh. 1002 at ¶¶ 153, 210. Although Tannock et al. in 1989 reported on a phase II

  study of low-dose prednisone (7.5 to 10 mg daily) in mCRPC patients with

  symptomatic bone metastases and reported pain relief in some patients, the relief of

  symptoms seen in 32% of patients was described as transient. Tannock et al.,

  Treatment of Metastatic Prostate Cancer with Low-Dose Prednisone: Evaluation

  of Pain and Quality of Life as Pragmatic Indices of Response, 7(5) J. Clin. Oncol.

  590-97 (1989) (“Tannock 1989”) (Exh. 2214) at 590, 594-95. Tannock 1989

  suggested that the pain responses were due in part to suppression of adrenal



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  androgens, but notes that “all patients ultimately progress to a state of hormone

  nonresponsiveness.” Id. at 596.

     179. The transient palliative response is noteworthy because the claimed patient

  who has progressed during or after treatment with docetaxel had already been

  taking prednisone with the prior docetaxel regimen. Furthermore, like any

  medication, long term use of corticosteroids was known to have the risk of

  detrimental side effect such as osteoporosis, muscle weakness, hypertension, and

  increased requirements for insulin in diabetics. April 2008 Prednisone Label (Exh.

  2146) at 5. Osteoporosis is a concern because long-term androgen deprivation

  therapy for prostate cancer was also associated with osteoporosis and increased

  risk of clinical fractures. See Exh. 2077 at 29. It was understood that androgen

  deprivation continued throughout therapy with docetaxel and would be continued

  with cabazitaxel therapy. See id. at 36.

     180. Steroid use was also associated with an increased risk of infection; the

  prednisone label states that infections with any type of pathogen “may be

  associated with the use of corticosteroids alone or in combination with other

  immunosuppressive agents that affect cellular immunity, humoral immunity, or

  neutrophil function.” Exh. 2146 at 3. The potential impact on immunity is an

  important consideration because cabazitaxel use was reported to cause neutropenia,



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  a drop in neutrophil levels that increased the risk of infection. See Exh. 1012 at

  726; Exh. 1010 at 1550.

     181. Adverse reactions for prednisone also included gastrointestinal problems

  such as ulcers with possible perforation and hemorrhage. Exh. 2146 at 5. The

  prednisone label also instructed caution when using the drug in patients with

  ulcerative colitis. Id. Cabazitaxel was reported to cause nausea, diarrhea, and

  vomiting in the phase I-II studies. Exh. 1010 at 1550; Exh. 1012 at 728. Mita

  noted that gastrointestinal toxicities were more common for cabazitaxel as

  compared to other taxanes in preclinical use. Exh. 1012 at 728. Accordingly, a

  POSA might have had some concern about combining prednisone with cabazitaxel

  with respect to gastrointestinal toxicities. That concern would have been

  exacerbated for patients that were taking non-steroidal anti-inflammatory drugs

  (“NSAIDs”) such as ibuprofen for pain relief. Esper & Redman, Supportive Care,

  Pain Management, and Quality of Life in Advanced Prostate Cancer, 26(2)

  Urologic Clinics of N. Am. 375-89 (1999) (Exh. 2215) at 383 (noting that steroids

  should not be used in addition to NSAIDs because of risk of increased

  gastrointestinal toxicities). NSAIDs are commonly used for management of cancer

  bone pain, which is common amongst mCRPC patients. Id. at 380-81.




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     182. Therefore, a POSA would have considered the possibility that combining

  prednisone with cabazitaxel would only add prednisone’s adverse effects without

  providing an additional palliative benefit.

     183. Furthermore, it was known that prednisone could be prescribed at doses

  other than 10 mg/day. For example the Tannock 1989 paper also included a 7.5

  mg/day dose. Exh. 2214 at 590. The label for prednisone stated that the initial

  dose can vary from 5 mg to 60 mg per day. Exh. 2146 at 5. The label also

  discussed alternate day therapy, where twice the usual daily dose is administered

  every other day. Id. at 6. This model is specifically described for patients

  requiring long-term therapy to minimize undesirable effects. Id.


        G.     A POSA Would Not Have Had a Reasonable Expectation That
               Cabazitaxel in Combination with a Corticoid Would Provide a
               Survival Benefit in Patients Worsening During or After Docetaxel
               Therapy
     184. I disagree with Dr. Seth’s opinion (Exh. 1002 at ¶¶ 121, 133) that a POSA

  would have had a reasonable expectation of success in improving the survival of a

  docetaxel-refractory prostate cancer patient by administering cabazitaxel in

  combination with a corticoid. As discussed above, by October 2009 prostate

  cancer progressing during or after docetaxel therapy was known to be a

  particularly challenging and unpredictable indication. The disease was understood

  to be heterogeneous, with multiple possible avenues for progressing on hormone


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  and docetaxel therapy. Above at ¶¶ 79, 134. The field was also littered with

  multiple phase III studies that failed to show an improvement in overall survival

  despite PSA and/or tumor responses in phase II prostate cancer studies, leading

  physicians to call for more thorough screening of drugs before phase III studies

  were initiated and identification of new biomarkers. See Exh. 2030 at 306-07. At

  the time, no therapy had been shown to prolong survival in patients with prostate

  cancer worsening during or after docetaxel therapy.

     185. The results of the TROPIC study were therefore surprising and

  unexpected, even to me when I first reviewed the data. There was virtually no data

  on the use of cabazitaxel in prostate cancer after docetaxel and no data on the

  combination of cabazitaxel and prednisone. And, it was particularly unexpected

  that cabazitaxel would prolong life in patients that had already failed another drug

  in the same taxane class: docetaxel.

     186. In the TROPIC study, cabazitaxel in combination with prednisone

  provided a statistically significant increase in overall survival in patients with

  mCRPC that had progressed during or after treatment with docetaxel as compared

  to palliative mitoxantrone therapy, as well as statistically significantly longer

  progression-free survival, and higher tumor response rates and PSA response rates.

  See, e.g., Exh. 1001 at Table 1.



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     187. I presented the results of the TROPIC study at the ASCO genitourinary

  symposium in March 2010. I have been attending ASCO meetings and ASCO GU

  meetings for years. These meetings draw a variety of experts and practitioners

  who perform research in and treat genitourinary cancers. The typical reaction to

  the TROPIC results was one of surprise and praise. Cabazitaxel in combination

  with prednisone was the first regimen shown to prolong the lives of prostate cancer

  patients who had progressed during or after docetaxel therapy. Practitioners who

  had been aware of the existence of the study were surprised by the results. As

  noted above, there was some difficulty even initiating the TROPIC study when I

  was on the faculty at Harvard in 2007 because the evidence was considered too

  preliminary by certain individuals at the institution.

     188. The positive TROPIC results were particularly unexpected given the lack

  of phase II data for cabazitaxel in prostate cancer. As can be seen from the failed

  phase III studies discussed above, it was extremely difficult to reasonably expect a

  compound to provide an increase in overall survival or other clinically meaningful

  benefit without unreasonable toxicities even after positive phase II results in the

  same indication. See above at ¶¶ 63-67, 94-100, 107-08, 149-50. Thus, a POSA

  would not have reasonably expected phase II tumor responses in breast cancer,

  such as reported in Pivot or referred to in Beardsley, to translate into a survival

  benefit in prostate cancer progressing after docetaxel. As discussed in more detail

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  above, a POSA understood that there were important differences between breast

  and prostate cancer such that one could not jump from small amounts of data in

  one cancer to reasonably expect survival benefits in the other. Above at Section

  VI.C. Thus, at the time of the invention of the ’592 patent, there was no phase II

  data that could have led to a reasonable expectation of increased survival

  associated with cabazitaxel treatment in patients with prostate cancer that had

  progressed during or after docetaxel therapy.

     189. Kola & Landis reported that oncology drugs have a failure rate in phase II

  clinical trials of more than 70%. Exh. 2021 at 712. This is important to consider

  in light of the fact that there was no phase II study for cabazitaxel in prostate

  cancer.

     190. Thus, a POSA had no reasonable expectation that cabazitaxel in

  combination with a corticoid would prolong overall survival in prostate cancer

  patients that had failed docetaxel therapy. Therefore, in light of the fact that, as

  noted above, a POSA would not have been motivated to give cabazitaxel in

  combination with a corticoid for palliative care because of potential toxicities,

  there was no motivation to give 20-25 mg/m2 of cabazitaxel in combination with a

  corticoid to prostate cancer patients, or mCRPC patients, that had progressed

  during or after docetaxel with a reasonable expectation of success. See above at

  ¶¶ 172-84.

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        H.     Objective Indicia of Nonobviousness Support the Nonobviousness
               of Claims 1-5, 7-30
     191. My opinion about the nonobviousness of the asserted claims of the ’592

  patent is further supported by objective evidence on secondary considerations as

  discussed below.

     192. The clinical use of Jevtana®, as described in the FDA-approved labeling,

  is an embodiment of at least claims 1-3, 5, and 7-30 of the ’592 patent. The

  clinical use of Jevtana® falls within independent claims 1 and 27 and dependent

  claims 2, 5, 12-26, and 28-30, because Jevtana® is indicated for patients with

  hormone-refractory metastatic prostate cancer previously treated with a docetaxel-

  containing regimen, and the label instructs that 25 mg/m2 of Jevtana® should be

  given every three weeks in combination with 10 mg of oral prednisone daily.

  Jevtana® September 2016 Label (Exh. 2150) at 1. The label also describes the

  results of the TROPIC study, which evaluated 755 patients with hormone-

  refractory metastatic prostate cancer previously treated with docetaxel. Id. at 19-

  20. Patients were randomized to receive either 25 mg/m2 Jevtana® every three

  weeks with 10 mg/day oral prednisone, or 12 mg/m2 mitoxantrone every three

  weeks with 10 mg/day oral prednisone. Id. at 19. The results of the study as

  described in the label showed statistically significant increases in overall survival,

  progression free survival, prostate specific antigen response rates, and tumor

  response rates in the Jevtana® plus prednisone arm as compared to the
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  mitoxantrone plus prednisone arm. Id. at 19-20; de Bono et al., Prednisone Plus

  Cabazitaxel or Mitoxantrone for Metastatic Castration-Resistant Prostate Cancer

  Progressing After Docetaxel Treatment: A Randomised Open-Label Trial, 376

  Lancet 1147-54 (2010) (Exh. 2055) at 1152.

     193. With respect to Claims, 15, 21, 26, and 30, the Jevtana® label also

  recommends reducing the dose of Jevtana® to 20 mg/m2 if certain adverse reactions

  occur and reports that dose reductions to 20 mg/m2 occurred in 12% of Jevtana®-

  treated patients in the TROPIC study. Exh. 2150 at 4, 10.

     194. The clinical use of Jevtana® falls within claims 10 and 11 as well, because

  the label tells doctors to perform frequent blood cell counts to monitor neutropenia,

  and states that Jevtana® is contraindicated where neutrophil counts are less than or

  equal to 1,500 cells/mm3. Id. at 3-4. Finally, the clinical use of Jevtana® is an

  embodiment of Claims 7-9, because the label reports that administering 25 mg/m2

  of Jevtana® over one hour every three weeks results in a mean AUC of 991

  ng·h/mL (CV 34%), a mean Cmax of 226 ng·h/mL (CV 107%), and a plasma

  clearance of 48.5 L/h (CV 39%). Id. at 16-17.

     195. Claim 3 also covers the clinical use of Jevtana® as the label shows that the

  active pharmaceutical ingredient of Jevtana® is an acetone solvate. Id. at 15.

               1.    There Was a Long Felt but Unmet Need
     196. I have been informed by counsel and I understand that a long-felt but

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  unsolved need demonstrates that an invention is not obvious if there is objective

  evidence that the art recognized the problem for a long period of time without

  solution, the long-felt need was not satisfied by another earlier invention, and the

  claimed invention satisfies the long-felt need.

     197. Prostate cancer is the second leading cause of male cancer deaths in the

  United States. American Cancer Society, Cancer Facts & Figures 2009 (Exh.

  2047) at 19; Exh. 2025 at 1033.

     198. A POSA recognized the need for a treatment option that would increase

  overall survival for patients with prostate cancer that had progressed during or after

  treatment with docetaxel. In 2004, docetaxel and prednisone received FDA

  approval for the treatment of metastatic, hormone-refractory prostate cancer,

  providing the first chemotherapeutic treatment to prolong the lives of these

  patients. Dagher et al., Approval Summary: Docetaxel in Combination with

  Prednisone for the Treatment of Androgen-Independent Hormone-Refractory

  Prostate Cancer, 10 Clinical Cancer Research 8147-51 (2004) (Exh. 2216) at

  8147, 8150-51. However, for reasons that are to this day not well understood, it

  had long been known that patients will become resistant to and progress during or

  after docetaxel. See, e.g., Exh. 2216 at 8150; Exh. 1021 at 73; Exh. 1020 at 921-

  22. It was well recognized that prior to the approval of Jevtana® there were no

  accepted systematic treatment options for this patient population beyond putatively

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  palliative care. Exh. 1022 at 165; Berthold et al., Docetaxel Plus Prednisone or

  Mitoxantrone Plus Prednisone for Advanced Prostate Cancer: Updated Survival in

  the TAX 327 Study, 26(2) J. Clin. Oncology 242-45 (2008) (Exh. 2217) at 245.

     199. By 2008 Beardsley described the need for treatment options for patients

  with CRPC that had progressed during or after treatment with docetaxel as

  “urgent.” Exh. 1022 at 161. As acknowledged in a press release following the

  approval of Jevtana® by the FDA, “[f]or many years, treatment of advanced

  hormone refractory prostate cancer after docetaxel-containing therapy has

  remained an unmet medical need.” July 19, 2010 Sanofi-aventis Press Release

  (Exh. 2218) at 1 (quoting Debasish Roychowdhury, M.D., Senior Vice President,

  Global Oncology, sanofi-aventis).

     200. Jevtana® met this long-felt need because it was “the first to show a survival

  benefit to patients with metastatic hormone refractory prostate cancer after failure

  of docetaxel (taxotere) based therapy.” Malhotra et al., Cabazitaxel: A Novel Drug

  for Hormone-Refractory Prostate Cancer, 13(2) Mini Rev. Med. Chem. 1-6 (2013)

  (“Malhotra”) (Exh. 2071) at 1. Richard Pazdur, M.D., director of the Office of

  Oncology Drug Products, part of the FDA’s Center for Drug Evaluation and

  Research, stated in a press release about the approval of Jevtana® that “[p]atients

  have few therapeutic options in this disease setting,” and that the FDA was able to



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  “expedit[e] the availability of this drug to men with prostate cancer.” June 17, 2010

  FDA News Release (Exh. 2059) at 1.

     201. The FDA’s review of Jevtana® under the priority review program, which

  provides for expedited review “for drugs that may offer major advances in

  treatment, or provide a treatment when no adequate therapy exists,” confirms the

  failure of others to meet this need. Id. Despite an expected expedited review time

  of six months, Jevtana® was approved in only 11 weeks. Id.

     202. To this day, Jevtana® is the only chemotherapy that prolongs overall

  survival of prostate cancer patients progressing during or after therapy with

  docetaxel.


               2.    Failure of Others
     203. I have been informed by counsel and I understand that the failure of others

  to fulfill an unmet need that the patent in question purports to meet can weigh in

  favor of non-obviousness.

     204. Given the long-felt need discussed above in Section VI.H.1, a number of

  companies tried to develop a treatment for patients with advanced prostate cancer,

  but none of them showed a survival benefit. For instance, between 2002 and 2014

  a considerable number of drugs, including suramin, satraplatin, atrasentan, DN-

  101, GVAX, bevacizumab, sunitinib, ipilimumab, custirsen, orteronel, aflibercept,

  zibotentan, dasatinib, and lenalidomide failed to show an improvement in overall

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  survival, despite producing objective responses in tumor size or PSA reduction in

  phase II prostate cancer studies. See above at ¶¶ 94-100, 107-09. Sunitinib,

  ipilimumab, satraplatin, and orteronel all failed in prostate cancer specifically

  previously treated with chemotherapy. Id.

     205. Galletti described a multitude of compounds aimed at overcoming taxane

  resistance, but none of those compounds proved successful prior to October 2009.

     206. Beardsley similarly described drugs in development for CRPC progressing

  after docetaxel, but none of those approaches were successful prior to October

  2009. With respect to the tubulin binding compounds epothilones, Beardsley states

  that “[d]espite much initial enthusiasm . . . in this chemotherapy-pretreated

  population both ixabepilone and KOS-862 have resulted in significant toxicity and

  a low level of activity.” Exh. 1022 at 163.

     207. Prior to the approval of Jevtana®, scientists had worked for years to

  develop new drugs that could overcome resistance to docetaxel. Exh. 2096 at 2973

  (“During the last 2 decades, considerable efforts have been made to understand,

  and develop new agents to overcome, taxane resistance.”). As discussed above,

  the taxane larotaxel, which was also selected for development to overcome taxane

  resistance (Exh. 1021 at 75), showed promise in phase I-II studies in several tumor

  types, but was found ineffective in phase III trials in three different indications.

  See above at ¶¶ 63-65, 149-51. Milataxel and epothilone D were other microtubule

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  stabilizing compounds aimed at overcoming docetaxel resistance that faltered in

  the clinic and have not been approved. See Exh. 2084 at 453-54; above at ¶¶ 66-

  67.

                 3.     Unexpected Results
        208. I have been informed by counsel and I understand that an unexpected result

  such as a superior property that a POSA would find surprising or unexpected

  suggests that patent claims are non-obvious.


                        a.    It Was Unexpected That Cabazitaxel Would Provide
                              a Statistically Significant Survival Benefit
        209. As discussed above in Section VI.G, it was unexpected that cabazitaxel in

  combination with a corticoid would provide a statistically significant increase in

  overall survival as compared to palliative mitoxantrone therapy.

        210. It was particularly surprising that patients who progressed during docetaxel

  therapy received a statistically significant increase in overall survival with

  cabazitaxel as compared to mitoxantrone therapy. Exh. 1001 at Table 2, col. 11, ll.

  39-41 (“Benefit was also seen in the third of patients who were docetaxel-

  refractory and had progressed during docetaxel therapy.”). None of the literature

  discussed by Dr. Seth indicated that patients who failed to respond to docetaxel

  would live longer when given another taxane therapy.




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                     b.     It Was Unexpected That Cabazitaxel Therapy Would
                            Produce Less Peripheral Neuropathy and Other Side
                            Effects Than Docetaxel Therapy
     211. It was further unexpected that cabazitaxel therapy would exhibit lower

  incidence of peripheral neuropathies and other side effects than docetaxel therapy.

     212. Peripheral neuropathies are a well-known side effect of taxanes, including

  docetaxel. See, e.g., Malik et al., Cabazitaxel (Cbz) + Prednisone (P) in Patients

  (pts) with Metastatic Castration-Resistant Prostate Cancer (mCRPC) Previously

  Treated with Docetaxel (D): Interim Results from Compassionate Use-Programme

  (CUP) and Early Access Programme, Poster at ESMO Vienna (Sept. 28, 2012-Oct.

  2, 2012) (Exh. 2219). Analysis of the interim results of a study of cabazitaxel plus

  prednisone in patients with mCRPC previously treated with docetaxel reported that

  “peripheral neuropathy was reported less frequently in this study (sensory 3.0%;

  motor 5.0%) than reported with other taxanes, and Cbz did not appear to worsen

  pre-existing neuropathy.” Id. In contrast, Tannock 2004 reported that 30% of

  patients receiving docetaxel every three weeks developed sensory neuropathy.

  Exh. 1013 at 1509, Table 4.

     213. In addition, a study comparing the side effects experienced by patients

  taking cabazitaxel in the TROPIC study to those taking docetaxel in two phase III

  docetaxel studies found cabazitaxel to have significantly lower rates of neuropathy

  (40.8% v. 27.8%), alopecia (52.2% v. 10.0%), nail changes (27.0% v. 3.5%), and

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  dysgeusia (19.5% v. 11.1%).19 Omlin et al., Analysis of Side Effect Profile of

  Alopecia, Nail Changes, Peripheral Neuropathy, and Dysgeusia in Prostate

  Cancer Patients Treated With Docetaxel and Cabazitaxel, 13(4) Clin. Genitourin.

  Cancer, 1-4 (2015) (Exh. 2220) at 2. Although the authors noted that these side

  effects are not life-threatening, they can be a major burden on patients, potentially

  leading to dose reductions or early termination of treatment. Id. at 1. It was

  unexpected that cabazitaxel would produce a lower incidence of neuropathy and

  other side effects.

       214. Because of the different side effect profiles, it has been reported that some

  patients prefer cabazitaxel in combination with prednisone to docetaxel in

  combination with prednisone in regards to general tolerance, specifically

  peripheral neuropathy, nail changes, and asthenia.20 An on-going clinical study on

  patient preference between cabazitaxel and docetaxel in the first-line setting states:

                 Taxotere and Jevtana have different toxicity profiles.
                 Many patients who are receiving Jevtana for second-line
                 treatment indicate they prefer this agent over Taxotere
                 with regards to the general tolerance (namely peripheral
                 neuropathy, nail changes, asthenia). This was not
                 expected since Jevtana in post-Taxotere setting was
                 associated with more grade 3-4 adverse events such as
                 febrile neutropenia and diarrhea than Taxotere in first-
                 line setting.

  19
    Dysgeusia is a condition that alters a patient’s taste, wherein the patient will
  have a persistent foul, rancid, or metallic taste.
  20
       Asthenia is a loss of strength or weakness.
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  Clinicaltrials.gov, Patient Preference Between Cabazitaxel and Docetaxel in

  Metastatic Castrate-resistant Prostate Cancer (CABA-DOC),

  https://clinicaltrials.gov/ct2/show/study/NCT02044354 (last visited Dec. 21, 2016)

  (Exh. 2221). Thus, it was further unexpected that some patients would prefer

  cabazitaxel and prednisone to docetaxel and prednisone in regards to general

  tolerance.


               4.    Praise of Others
     215. I have been informed by counsel and I understand that evidence of industry

  praise or appreciation by contemporaries skilled in the field of the invention can

  weigh in favor of a finding of non-obviousness.

     216. Jevtana® was positively received by physicians as the first therapy to

  prolong life in patients worsening after docetaxel. The quick approval by the FDA

  demonstrates how well this new method of treatment was received. Dr. Richard

  Pazdur of the FDA stated that the “FDA was able to review and approve the

  application for Jevtana® in 11 weeks, expediting the availability of this drug to men

  with prostate cancer.” Exh. 2059 at 1.

     217. Articles and press releases also praise Jevtana® for finally filling an unmet

  medical need. For example, an article described the development of cabazitaxel as

  a “major success in second line chemotherapy for advanced prostate cancer”



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  because treatment with cabazitaxel showed an increase in overall survival. Exh.

  2071 at 1.

     218. Others praised Jevtana® for giving men with prostate cancer more time to

  live and for allowing these men to “carry on doing the things they enjoy despite

  their cancer.” Hope, ‘Last Hope’ Drug for Prostate Cancer Patients Is Axed from

  the NHS, in a Move Doctors Call a ‘Travesty’, Daily Mail (Jan. 9, 2015),

  http://www.dailymail.co.uk/health/article-2903235/Last-hope-drug-prostate-

  cancer-patients-axed-NHS-doctors-call-travesty.html (Exh. 2115) at 2. Similarly,

  others praised Jevtana® for “provid[ing] patients with a better chance of survival

  when dealing with such a difficult illness.” New Hope in Advanced Prostate

  Cancer: Alberta, Saskatchewan and Ontario Fund Coverage for Jevtana®

  [Cabazitaxel], CNW Press Release (Oct. 4, 2012), http://www.newswire.ca/news-

  releases/new-hope-in-advanced-prostate-cancer-alberta-saskatchewan-and-ontario-

  fund-coverage-for-jevtana-cabazitaxel-510872201.html (Exh. 2222) (quoting Bob

  Shiell, Executive Director, Prostate Cancer Canada Network (PCCN) Calgary).

               5.    Commercial Success
     219. I understand that commercial success and acceptance in the industry are

  also factors that suggest an invention is not obvious. I understand that the

  December 23, 2016 Declaration of Michael E. Tate (Exh. 2149) concludes that

  Jevtana®’s total U.S. sales and share of the post-docetaxel mCRPC market are

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  evidence of its commercial success and market acceptance. In my opinion,

  Jevtana®’s success is attributable to the inventions claimed in the ’592 patent,

  which reflect the results of the TROPIC study that led to FDA approval.

       220. I also understand from counsel that nine other companies, the defendants in

  the co-pending district court litigation, are seeking approval to market a version of

  Jevtana®.

       221. I have been prescribing Jevtana® since its approval in 2010 to patients with

  prostate cancer that has progressed during or after treatment with docetaxel. I

  prescribe Jevtana® therapy for the clinical benefits that it provides to these patients,

  most importantly for prolonging life as demonstrated in the TROPIC study as

  compared to palliative mitoxantrone therapy. Through my participation in

  advisory boards, conferences, and discussions with colleagues, I believe that other

  physicians prescribe Jevtana® for the same reason.

       222. Since the approval of Jevtana®, two new therapies that act on hormones

  have been approved for the treatment of mCRPC, Zytiga® (abiraterone) and

  Xtandi® (enzalutamide). These are oral therapies that are prescribed by oncologists

  and urologists.21 They are more convenient and have less toxicity than

  chemotherapy. Although abiraterone and enzalutamide act on the hormone-axis,

  they are reserved for patients who have worsened after initial hormone therapy.
  21
    In general, chemotherapy agents such as Jevtana® and Taxotere® (docetaxel) are
  prescribed by oncologists. Urologists generally do not prescribe chemotherapy.
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  These two compounds are sometimes referred to as advanced or targeted hormone

  therapies.

     223. Jevtana® remains the only chemotherapy approved for patients after

  docetaxel that prolongs life.


  VII. AVENTIS’S MOTION TO AMEND
     224. I understand that Aventis is proposing the following substitute claims if the

  Board finds claims 27-30 of the ’592 patent invalid:

     225. Claim 31. (substitute for Claim 27, if found unpatentable) A method of

  increasing survival comprising administering to a patient in need thereof (i) an

  antihistamine, (ii) a corticoid, (iii) an H2 antagonist, and (iv) a dose of 20 to 25

  mg/m2 of cabazitaxel, or a hydrate or solvate thereof, wherein said antihistamine,

  said corticoid, and said H2 antagonist are administered prior to said dose of 20 to

  25 mg/m2 of cabazitaxel, or hydrate or solvate thereof, in combination with

  prednisone or prednisolone, wherein said patient has castration resistant or

  hormone refractory, metastatic prostate cancer that has progressed during or after

  treatment with docetaxel.

     226. Claim 32. (substitute for Claim 28, if found unpatentable) The method

  according to claim 31, where the cabazitaxel, or hydrate or solvate thereof, is

  administered at a dose of 25 mg/m2.



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     227. Claim 33. (substitute for Claim 29, if found unpatentable) The method

  according to claim 31, comprising repeating the administration of said

  antihistamine, said corticoid, said H2 antagonist, and said cabazitaxel, or hydrate or

  solvate thereof, as a new cycle every 3 weeks.

     228. Claim 34. (substitute for Claim 30, if found unpatentable) The method

  according to claim 31, where the cabazitaxel, or hydrate or solvate thereof, is

  administered at a dose of 20 mg/m2.

     229. For all the reasons discussed above in Section VI describing why original

  independent Claim 27 is nonobvious, and for the additional reasons discussed

  below, it is my opinion that proposed Claims 31-34 are not obvious. None of the

  literature that I am aware of disclosed or indicated that 20-25 mg/m2 of cabazitaxel

  in combination with prednisone would prolong survival of mCRPC patients that

  had progressed during or after docetaxel. A POSA also would not have been

  motivated to utilize a premedication regimen comprising an antihistamine, a

  corticoid, and an H2 antagonist because (i) no prior art disclosed using this

  premedication regimen with cabazitaxel, (ii) it was concluded from a phase I study

  (Mita) that cabazitazel does not require a premedication, (iii) cabazitaxel was

  reported to cause less hypersensitivity reactions and fluid retention than docetaxel

  and paclitaxel, (iv) cabazitaxel could be formulated in polysorbate 80, (v)



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  cabazitaxel was given in lower doses than docetaxel, (vi) and the prior art taught

  away from using H2 antagonists as premedication.22


          A.    Claim Construction

                1.      “A method for increasing survival”
       230. One of the primary goals of treating prostate cancer is prolonging life. A

  therapy is accepted by a POSA as prolonging life if it has been shown to provide a

  statistically significant increase in overall survival as compared to no therapy or a

  palliative therapy.

       231. Overall survival is the key endpoint for clinical studies of new prostate

  cancer drugs, particularly in the second-line post-docetaxel setting. See Exh. 2030

  at 306. Overall survival is measured by a large, randomized and controlled clinical

  study. See, e.g., Armstrong & George, New Drug Development in Metastatic

  Prostate Cancer, 26 Urologic Oncology: Seminars & Original Investigations 430-

  37 (2008) (Exh. 2005) at 431 (discussing power necessary to detect an overall

  survival advantage); Pazdur, Endpoints for Assessing Drug Activity in Clinical

  Trials, 13 (suppl. 2) The Oncologist 19-21 (2008) (Exh. 2080) at 19-20.

       232. Example 1 of the ’592 patent describes a clinical trial in which cabazitaxel

  plus prednisone was shown to provide a statistically significant increase in overall


  22
    My opinions do not change if the time frame is October 2009, January 2010, or
  June 2010.
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  survival compared to palliative mitoxantrone therapy in mCRPC patients that had

  progressed during or after docetaxel therapy. Exh. 1001 at Example 1.

     233. Thus, based on my reading of the claims, the specification of the ‘592

  patent including Example 1, and my knowledge in the field, a POSA would

  understand “a method of increasing survival” in claim 31 to mean “a method for

  prolonging the life of a patient as compared to no therapy or to a palliative

  therapy.”

               2.    “antihistamine,” “corticoid,” and “H2 Antagonist”
     234. By October 2009, antihistamines, corticoids, and H2 antagonists were well-

  understood classes of drugs to people of ordinary skill in the art. The patent does

  not define these terms in a way other than would be commonly recognized by a

  POSA.

     235. While “antihistamine” can include an agent that blocks any histamine

  receptor, it is common to use this term to describe only the drugs that block the H1

  histamine receptors, which are used in the treatment of allergy symptoms. See

  PDR Medial Dictionary (2d ed. 2000) (Exh. 2223) at 3. The ’592 patent, for

  example, uses “antihistamine” to describe H1 antihistamines such as

  diphenhydramine and dexcholorpheniramine, but uses “H2 antagonists” to describe

  drugs that specifically target the H2 histamine receptor. See e.g., Exh. 1001 at col.

  6, ll. 56-59, col. 7, ll. 19-22; Ruitenbeek et al., Histamine H1-Receptor Blockages

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  in Humans Affects Psychomotor Performance But Not Memory, 22(6) J.

  Psychopharmacol. 663-72 (2008) (Exh. 2213) at 664; Passalacqua et al., The

  Clinical Safety of H1-Receptor Antagonists, An EAACI Position Paper, 51 Allergy

  666-75 (1996) (Exh. 2144) at 667.

     236. H2 antagonists are a class of drugs that block the H2 histamine receptor.

  Ranitidine is an example of an H2 antagonist.

     237. Corticoids, also referred to as corticosteroids, are steroids produced in the

  adrenal cortex, as well as the synthetic analogues of these steroids. See Exh. 2223

  at 4. Examples include dexamethasone, prednisone, prednisolone, and

  hydrocortisone.

        B.     No Prior Art Disclosed a Method for Prolonging the Life of a
               Patient with mCRPC that had Progressed During or After
               Docetaxel Treatment Comprising Administering 20-25 mg/m2 of
               Cabazitaxel in Combination with Prednisone
     238. I am not aware of any literature disclosing whether cabazitaxel in

  combination with prednisone would prolong the life of mCRPC patients that had

  worsened during or after docetaxel therapy. As discussed above in Section VI.D,

  Winquist and the TROPIC Listing merely disclosed the existence of a phase III

  study designed to determine whether or not the cabazitaxel arm of the study

  provided an overall survival benefit as compared to palliative mitoxantrone

  therapy.



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     239. Also, as discussed above in Section VI.D, the existence of the study itself

  did not allow a POSA to reasonably expect the outcome in view of the limited data

  available for cabazitaxel in prostate cancer, the lack of a phase II study in prostate

  cancer, the unpredictability of treating advanced prostate cancer, and the

  multitudes of failed phase III studies to show an overall survival benefit. With

  respect to the 25 mg/m2 dose of cabazitaxel required by Claim 32, a POSA would

  have had concerns about toxicity at that dose in light of the neutropenia reported in

  Mita and Pivot, discussed above in Section VI.E. For all the reasons discussed

  above in Section VI, a POSA would not have reasonably expected that cabazitaxel

  in combination with prednisone would increase survival in the claimed patients by

  January 2010.

     240. I further note that the clinical use of Jevtana® is an embodiment of Claims

  31-34 for the reasons noted above in paragraphs 192-95 and because the label for

  Jevtana® includes a premedication regimen before each dose of cabazitaxel of an

  antihistamine, a corticoid, and an H2 antagonist. Exh. 2150 at 1. Therefore the

  objective indicia of nonobviousness described in Section VI.H above apply equally

  to Claims 31-34. It was unexpected that the claimed methods would provide an

  increase in overall survival, Jevtana® met a long-felt need in the art where others

  had failed, there has been praise for Jevtana®, and the product has been



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  commercially successful because of the benefits provided by the claimed methods,

  notably increasing overall survival. See above at Section VI.H.

        C.     The Prior Art Does Not Teach the Use of a Premedication
               Regimen of an Antihistamine, a Corticoid, and an H2 Antagonist
               with Cabazitaxel in Combination with Prednisone
     241. I am not aware of any literature disclosing the use of a three component

  premedication of an antihistamine, a corticoid, and an H2 antagonist for cabazitaxel

  in combination with prednisone. While premedications were known in the art to

  prevent or lessen the incidence of hypersensitivity reactions and fluid retention for

  other intravenous drugs, Mita touted the convenience of administering cabazitaxel

  with no premedication being necessary. Exh. 1012 at 729. For the reasons

  discussed below, a POSA would not have been motivated by the prior art as a

  whole to use an antihistamine, a corticoid, and H2 antagonist with cabazitaxel

  therapy.

               1.     None of the Cabazitaxel Prior Art References Suggested
                      Using the Claimed Three Component Premedication
     242. Typically, the aim of premedication regimens is to prevent or lessen the

  incidence of hypersensitivity reactions, or allergic reactions, that a patient may

  have to the intravenous administration of a drug. Corticoids are also known in the

  art for their use in the prevention of fluid retention in patients.

  Exh. 1024 at 5, 13. H2 antagonists inhibit the production of gastric acid, and

  prevent gastric acid-related side effects including stomach ulcers and acid reflux.

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  Exh. 2223 at 3; Deakin & Williams, Histamine H2-Receptor Antagonists in Peptic

  Ulcer Disease, Efficacy in Healing Peptic Ulcers, 44(5) Drugs 709-19 (1992)

  (Exh. 2228) at 710.

       243. In Mita, no prophylactic, premedication treatment to prevent

  hypersensitivity or nausea and vomiting was administered for the first course of

  cabazitaxel, and corticosteroids were not permitted as a prophylactic for nausea or

  vomiting. Exh. 1012 at 724.

       244. Only two patients “experienced grade 1 hypersensitivity reactions,

  characterized by flushing, dizziness, and chest tightness, which did not reoccur on

  retreatment in the absence of premedication.” Id. at 727.23 This indicates that the

  reactions were transient and that no patients received premedication to prevent or

  counteract hypersensitivity reactions. Eight patients in Mita had prostate cancer.

  Id. at 725.

       245. Mita further notes that no severe hypersensitivity reactions or fluid

  retention was observed. Id. at 728. Mita concludes that the low incidence of fluid

  retention “favors” cabazitaxel. Id. at 729.

       246. Most significantly, Mita states, “Based on the results of this study,

  [cabazitaxel] administration does not require premedication, thus resulting in

  significant administration and convenience advantages.” Id.
  23
    A grade 1 hypersensitivity reaction means a transient rash with a fever less than
  100.4º F. Exh. 2181 at 1.
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       247. Another phase I study of cabazitaxel (Lortholary) used only a 5 mg IV

  dose of dexchloropheniramine (an antihistamine) for premedication and did not

  report hypersensitivity reactions. Exh. 2147 at CabRef0002895-896.

       248. Another phase I study examining administration of cabazitaxel every week

  for four weeks of a five week cycle (Fumoleau) did not utilize a premedication, yet

  reported that “[o]nly 3 cases of mild hypersensitivity reaction (gr 1) were

  observed.” Fumoleau et al., Phase I and Pharmacokinetics (PK) Study of RPR

  116258A Given as a Weekly 1-Hour Infusion at Day 1, Day 8, Day 15, Day 22

  Every 5 Weeks in Patients (pts) with Advanced Solid Tumors, 7(11) Clin. Cancer

  Res. 3710s (2001) (Exh. 2224) at 2.

       249. The phase II study of cabazitaxel in metastatic breast cancer patients

  utilized an IV antihistamine anti-H1 premedication. Exh. 1010 at 1548. Corticoid

  premedication was not required. Hypersensitivity reactions were reported in 1% of

  treatment cycles, with grade 3-5 hypersensitivity reactions occurring in 4% of

  patients. Id. at 1550.

       250. Fluid retention was reported in 9% of patients (8% peripheral edema, 1%

  pleural effusion),24 but no severe adverse event occurred for fluid retention. Id.

  Pivot does not discuss utilizing a three component premedication for cabazitaxel or

  expanding on the antihistamine premedication used in the study.
  24
    Peripheral edema is an accumulation of fluid that causes swelling, typically in
  the lower limbs. Pleural effusion is an abnormal amount of fluid around the lungs.
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     251. Thus, the prior art concerning the clinical data on the use of cabazitaxel, as

  a whole, does not suggest that premedication was necessary for the safe

  administration of cabazitaxel.


               2.    A POSA Would Not Have Used The Premedication
                     Regimens For Docetaxel or Paclitaxel Based On The Prior
                     Art
     252. A POSA in October 2009 would have understood that the levels of

  hypersensitivity reactions seen with cabazitaxel with no premedication or only an

  antihistamine were lower than reported for docetaxel with three doses of oral

  dexamethasone. A POSA at the time would also have understood that cabazitaxel

  without steroids produced far less fluid retention than docetaxel with a

  dexamethasone premedication.

     253. The Taxotere® (docetaxel) label describes a premedication of only oral

  dexamethasone given at 12, 3, and 1 hours before docetaxel, but not an

  antihistamine or H2 antagonist. Exh. 1024 at 1. This premedication was given to

  prevent hypersensitivity reactions and fluid retention. Exh. 1024 at 5, 13. The

  Taxotere® label reported that despite a multiple day premedication with

  corticosteroids, fluid retention occurred in 64% of breast cancer patients, with

  severe fluid retention occurring in 6.5%. Exh. 1024 at 15. Without premedication,

  fluid retention was observed in 59.7% of patients, and was severe in 8.9%. Id.

  The label also reported that with a 3-day premedication, 15.2% of breast cancer

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  patients reported hypersensitivity reactions, with 2.2% of reactions being severe.

  Id. Without premedication, 17.6% of breast cancer patients experienced

  hypersensitivity reactions, and 2.6% of these were severe. Id.

     254. As discussed above, the phase I trials of cabazitaxel observed little or no

  hypersensitivity reactions and fluid retention. Mita reported no severe

  hypersensitivity reactions or fluid retention using no premedication, Lortholary

  reported no hypersensitivity reactions with only an antihistamine as premedication,

  and Fumoleau reported only 3 cases of mild hypersensitivity reactions with no

  premedication. Exh. 1012 at 729; Exh. 2147 at CabRef0002895-96; Exh. 2244 at

  2. In phase II, only 4% of patients observed in Pivot experienced Grades 3-5

  hypersensitivity reactions following an antihistamine premedication, and no severe

  incidences of fluid retention were observed. Based on a comparison to Taxotere®,

  a POSA would not have been motivated to use a corticoid premedication with

  cabazitaxel. This is especially true given the apparent lack of prevention of

  hypersensitivity and fluid retention afforded by the 3-day premedication regimen

  for the patients in the docetaxel breast cancer study. Exh. 1024 at 15. Such

  premedication regimens can be inconvenient, cumbersome, and potentially

  expensive to a patient.

     255. In addition, the Taxotere® label had a black box warning that it was

  contraindicated in patients with a history of severe hypersensitivity reactions to

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  drugs formulated with polysorbate 80. Exh. 1024 at 1. However, docetaxel was

  indicated at a much higher dose (75 mg/m2) than doses of cabazitaxel being studied

  at the time (20-25 mg/m2). Exh. 1024 at 1; Exh. 1010 at 1548. Therefore, since it

  was known that the ratio of drug to polysorbate 80 is the same for the two drugs

  (40 mg/mL), a POSA would have understood that patients administered 20-25

  mg/m2 cabazitaxel would receive roughly one third the amount of polysorbate 80

  as compared to a cycle of docetaxel administration. Exh. 1024 at 53; Exh. 1012 at

  724. Thus, a POSA would have been less concerned about administering

  cabazitaxel in a polysorbate 80 formulation than administering docetaxel in a

  polysorbate 80 formulation in terms of hypersensitivity from the intravenous

  formulation.

     256. The Taxol® label describes a premedication regimen of 20 mg of

  dexamethasone (a corticoid) administered orally 12 and 6 hours before Taxol®

  administration, the antihistamine diphenhydramine 50 mg by IV 30 to 60 minutes

  before Taxol®, and an H2 antagonist (either cimetidine 300 mg or ranitidine 50 mg)

  by IV 30 to 60 minutes prior to Taxol®. Exh. 2093 at 39. The label also reports

  that 41% of patients with solid tumors receiving single-agent Taxol® had

  hypersensitivity reactions despite receiving premedication. Id. at 27. This high

  rate of observed hypersensitivity reactions was commonly attributed to the

  surfactant used to dissolve paclitaxel, Cremophor EL. Straub et al., Intravenous

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  Hydrophobic Drug Delivery: A Porous Particle Formulation of Paclitaxel (AI-

  850), 22(3) Pharm. Res. 347-55 (2005) (Exh. 2089) at 347. As noted in Mita,

  however, cabazitaxel does not require Cremophor and “therefore, results in

  reduced incidence of hypersensivity reaction[s].” Exh. 1012 at 729. Therefore, the

  POSA would not have had the specific concern over hypersensitivity reactions

  with paclitaxel due to Cremophor for cabazitaxel administration.

                3.     The Prior Art Teaches Away From
                       Premedication with H2 Antagonists
       257. H2 antagonists have been long known in the art to inhibit histamine-

  stimulated gastric acid secretion. Exh. 2223 at 3; Exh. 2228 at 710. They are used

  in the treatment of duodenal and gastric ulcerations and reflux oesophagitis.25 Id.

  Even as early as 1992, H2 antagonists were reported to heal between 77 and 92% of

  duodenal ulcers at four weeks, and to heal between 75 and 88% of gastric ulcers at

  eight weeks. Exh. 2228 at 709. The phase I and phase II studies of cabazitaxel,

  however, did not report adverse events relating to gastric acidity, such as ulcers or

  perforation. See Exh. 1010 at 1550; Exh 1012 at 727; Exh. 2147 at

  CabRef0002896; Exh. 2224 at 2.

       258. H2 antagonists, however, were also known to potentially result in

  “problems with drug interactions.” Exh. 2228 at 715. For example, a study


  25
    Reflux oesophagitis is an inflammation of the esophagus due to reflux of
  stomach acid.
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  reported in 2009 suggested that premedicating patients with H2 antagonists before

  docetaxel therapy increases the risk of a potential side effect of docetaxel, palmar

  plantar erythrodysethesia, or hand-foot syndrome. H2 Blockers Increase Risk of

  Docetaxel-Induced Skin Toxicity, 4 Reactions 1257 (June 20, 2009) (Exh. 2227).

  Kawaguchi et al. surveyed physicians from 22 institutions who reported on 989

  breast cancer patients, and found that the use of H2 antagonists as premedication

  for docetaxel statistically significantly increased the incidence of hand-foot

  syndrome. Id. 19.6% of patients given an H2 antagonist experienced hand-foot

  syndrome, while only 8.8% of patients that did not receive an H2 antagonist

  experienced this side effect. Id.

     259. Hand-foot syndrome can progress to a “burning pain in conjunction with

  well-defined swelling” and reddening of the skin on the palms of the hands and the

  soles of the feet. Nagore et al., Antineoplastic Therapy-Induced Palmar Plantar

  Erythrodysesthesia (‘Hand-Foot’) Syndrome, Incidence, Recognition and

  Management, 1(4) Am. J Clin. Dermatol. 225-34 (2000) (Exh. 2226) at 226-27.

  Patients may experience restriction of fine movements, due to swelling and

  tenderness. Id. at 227. In some cases, the effects of hand-foot syndrome can

  continue even after the patient has ceased chemotherapy. Id. There is no proven

  effective treatment for this side effect, and for some patients the only option is a

  reduction in dosage of their current chemotherapy or a complete discontinuation of

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  the regimen. Id. at 231. For this reason, hand-foot syndrome is considered to be a

  “dose-limiting factor.” Id. at 228.

     260. By 2009, skin toxicities such as hand-foot syndrome, were known in the

  art to be adverse events related to treatment with docetaxel. In some reports, as

  many as 50-75% of patients receiving docetaxel had been reported to experience

  skin toxicities. Id. at 231.

     261. The Taxotere® label states that “[s]evere hand and foot syndrome has been

  reported,” and instructs physicians to reduce the dose of docetaxel from 75 mg/m2

  to 60 mg/m2 if severe or cumulative cutaneous reactions are observed in prostate

  cancer patients. Exh. 1024 at 6, 31. The Patient Counseling Information tells

  patients that a rash “occurs commonly but is severe in about 5%” of patients,

  usually on the hands and feet. Id. at 56. I note that H2 antagonists are not included

  in the premedication regimen in the Taxotere® label. See Exh. 1024 at 1, 5.

     262. In light of the potential increase in skin toxicity with H2 antagonists, a

  POSA would not have sought to add such agents to a premedication regimen

  without an identified need that would outweigh those risks. Because there was no

  such identified need in the cabazitaxel prior art, a POSA would not have employed

  the claimed premedication regimen in Claim 31, which includes an H2 antagonist.




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     VIII. Declaration
          I declare that all statements made herein on my own knowledge are true

  and that all statements made on information and belief are believed to be true, and

  further, that these statements were made with the knowledge that willful false

  statements and the like so made are punishable by fine or imprisonment, or both

  under Section 1001 of Title 18 of the United States Code.




  Dated: December 22, 2016                      By:____
                                                    Alton Oliver Sartor, M.D.




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                       APPENDIX 1 LIST OF EXHIBITS

  Aventis                                  Description
  Exhibit No.

  2003          A Randomized, Open Label, Phase 3 Study of Larotaxel IV every 3

                Weeks Versus Capecitabine (Xeloda) Tablets Twice Daily for 2

                Weeks in 3-Week Cycles in Patients with Metastatic Cancer (MBC)

                Progressing After Taxanes and Anthracycline Therapy (EFC6089),

                available at EFC6089_summary.pdf.

  2004          Antonarakis & Eisenberger, Phase III Trials with Docetaxel-Based

                Combinations for Metastatic Castration-Resistant Prostate Cancer:

                Time to Learn From Past Experiences, 31(14) J. Clin. Oncol. 1709-

                12 (2013).

  2005          Armstrong & George, New Drug Development in Metastatic

                Prostate Cancer, 26(4) Urologic Oncol.: Seminars & Original

                Investigations 430-37 (2008).

  2006          Beer et al., Double-Blinded Randomized Study of High-Dose

                Calcitriol plus Docetaxel Compared with Placebo plus Docetaxel

                in Androgen-Independent Prostate Cancer: A Report from the

                ASCENT Investigators, 25(6) J. Clin. Oncol. 669-74 (2007).




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  2008          Bristol-Myers Squibb Reports Results for Phase 3 Trial of Yervoy®

                (Ipilimumab) in Previously-Treated Castration Resistant Prostate

                Cancer, Business Wire News HQ Press Release (September 12,

                2013), available at http://news.bms.com/press-release/rd-

                news/Bristol-myers-squibb-reports-results-Phase-3- trial-yervoy-

                ipilimumab-previousl.

  2009          Cabral, Factors Determining Cellular Mechanisms of Resistance to

                Antimitotic Drugs, 4(1) Drug Resistance Updates 3-8 (2001).

  2010          Carducci et al., A Phase 3 Randomized Controlled Trial of the

                Efficacy and Safety of Atrasentan in Men with Metastatic Hormone-

                Refractory Prostate Cancer, 110(9) Cancer 1959-66 (2007).

  2014          Di Lorenzo et al., Combination of Bevacizumab and Docetaxel in

                Docetaxel-Pretreated Hormone-Refractory Prostate Cancer: A

                Phase 2 Study, 54(5) Eur. Urol. 1089-96 (2008).

  2015          Dieras et al., Phase II Multicenter Study of Larotaxel (XRP9881), a

                Novel Taxoid, in Patients with Metastatic Breast Cancer Who

                Previously Received Taxane-Based Therapy, 19(7) Annals of

                Oncol. 1255-60 (2008).

  2018          Higano et al., Phase 1/2 Dose-Escalation Study of a GM-CSF-



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                Secreting, Allogeneic, Cellular Immunotherapy for Metastatic

                Hormone-Refractory Prostate Cancer, 113(5) Cancer 975-84

                (2008).

  2019          July 2009 Avastin® Label.

  2020          Kaur et al., Suramin 's Development: What Did We Learn?, 20(2)

                Investigational New Drugs 209-19 (2002).

  2021          Kola & Landis, Can the Pharmaceutical Industry Reduce Attrition

                Rates?, 3(8) Nature Revs. Drug Discovery 711-15 (2004).

  2025          Mackinnon et al., Molecular Biology Underlying the Clinical

                Heterogeneity of Prostate Cancer: An Update, 133(7) Arch. Pathol.

                Lab. Med. 1033-40 (2009).

  2026          Michaelson et al., Randomized, Placebo-Controlled, Phase III Trial

                of Sunitinib plus Prednisone Versus Prednisone Alone in

                Progressive Metastatic, Castration-Resistant Prostate Cancer,

                32(2) J. Clin. Oncol. 76-83 (2014).

  2027          Mulcahy, Phase 3 Trial of Immunotherapy for Metastatic Prostate

                Cancer Terminated, Medscape (October 17, 2008), available at

                http://www.medscape.com/viewarticle/582220_print.

  2029          OncoGenex Announces Top-Line Survival Results of Phase 3



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                SYNERGY Trial Evaluating Custirsen for Metastatic Castrate-

                Resistant Prostate Cancer, Acquire Media Press Release (April 28,

                2014), available at http://ir.oncogenex.com/releasedetail.cfm

                ?ReleaseID=842949.

  2030          Ramiah et al., Clinical Endpoints for Drug Development in

                Prostate Cancer, 18(3) Curr. Opin. Urol. 303-08 (2008).

  2033          Slovin et al., Ipilimumab Alone or in Combination with

                Radiotherapy in Metastatic Castration-Resistant Prostate Cancer:

                Results from an Open-Label, Multicenter Phase I/II Study, 24(7)

                Annals of Oncol. 1813-21 (2013).

  2034          Small et al., Granulocyte Macrophage Colony-Stimulating Factor

                Secreting Allogeneic Cellular Immunotherapy for Hormone-

                Refractory Prostate Cancer, 13(13) Clin. Cancer Res. 3883-91

                (2007).

  2036          Sternberg et al., Larotaxel with Cisplatin in the First-Line

                Treatment of Locally Advanced/Metastatic Urothelial Tract or

                Bladder Cancer: A Randomized, Active-Controlled, Phase III Trial

                (CILAB), 85(4) Oncology 208-15 (2013).

  2037          Susman, ASCO: Calcitriol Fails in ASCENT-2 Prostate CA Trial,



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                MedPage Today (June 9, 2010), available at

                http://www.medpagetoday.com/MeetingCoverage/ASCO/20575.

  2038          Takeda Announces Termination of Orteronel (TAK-700)

                Development for Prostate Cancer in Japan, U.S.A. and Europe,

                Takeda Latest News Release (June 19, 2014), available at

                http://www.takeda.com/news/2014/20140619_6615.html.

  2039          Gupta, US Patent Application Publication No. 2012/0301425.

  2040          Van Cutsem et al., A Phase III Study Comparing Larotaxel to 5-FU

                (Continuous Intravenous 5-FU or Capecitabine) in Patients with

                Advanced Pancreatic Cancer (APC) Previously Treated with a

                Gemcitabine Containing Regimen, 21(6S) Annals of Oncol. Oral

                Presentations 0-007 (July 2010).

  2043          Williams, Discontinued Drugs in 2008: Oncology Drugs, 18(11)

                Expert Opin. Investig. Drugs 1581-94 (2009).

  2045          Zatloukal et al., Randomized Multicenter Phase II Study of

                Larotaxel (XRP9881) in Combination with Cisplatin or

                Gemcitabine as First-Line Chemotherapy in Nonirradiable Stage

                IIIB or Stage IV Non-Small Cell Lung Cancer, 3(8) J. Thorac.

                Oncol. 894-901 (2008).



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  2046          Zielinski & Chi, Custirsen (OGX-01 I): A Second-Generation

                Antisense Inhibitor of Clusterin in Development for the Treatment

                of Prostate Cancer, 8(10) Future Oncol. 1239-51 (2012).

  2047          American Cancer Society, Cancer Facts & Figures 2009.

  2050          Bissery et al., Experimental Antitumor Activity of Taxotere (RP

                56976, NSC 628503), a Taxol Analogue, 51(18) Cancer Res. 4845-

                52 (1991).

  2054          De Bono et al., Open-Label Phase II Study Evaluating the Efficacy

                and Safety of Two Doses of Pertuzumab in Castrate Chemotherapy-

                Naive Patients with Hormone-Refractory Prostate Cancer, 25(3) J.

                Clin. Oncol. 257-62 (2007).

  2055          De Bono et al., Prednisone plus Cabazitaxel or Mitoxantrone for

                Metastatic Castration-Resistant Prostate Cancer Progressing after

                Docetaxel Treatment: a Randomized Open-Label Trial, 376(9747)

                Lancet 1147-54 (2010).

  2056          European Medicine Agency, ICH Topic E8 General Considerations

                for Clinical Trials (March 1998).

  2059          FDA News Release, FDA Approves New Treatment for Advanced

                Prostate Cancer (June 17, 2010).


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  2063          January 2008 Herceptin® Label.

  2065          July 2004 Iressa® Label.

  2066          October 2007 Ixempra® Label.

  2067          June 2015 Jevtana® Label.

  2071          Malhotra et al., Cabazitaxel: a Novel Drug for Hormone-

                Refractory Prostate Cancer, 13(2) Mini Revs. Med. Chem. 1-6

                (2013).

  2073          Mokbel, Concise Notes in Oncology for MRCP and MRCS, 6-7

                (2005).

  2074          Morant et al., Capecitabine in Hormone-Resistant Metastatic

                Prostatic Carcinoma – a Phase II Trial, 90(7) Br. J. Cancer 1312–

                17 (2004).

  2076          NCCN Clinical Practice Guidelines in Oncology: Breast Cancer

                V.1.2009.

  2077          NCCN Clinical Practice Guidelines in Oncology: Prostate Cancer

                V.2.2009.

  2080          Pazdur, Endpoints for Assessing Drug Activity in Clinical Trials,

                13(suppl 2) The Oncologist 19-21 (2008).

  2082          June 2012 Perjeta® Label.



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  2083          Pienta & Smith, Advances in Prostate Cancer Chemotherapy: A

                New Era Begins, 55(5) CA Cancer J. Clin. 300-18 (2005).

  2084          Ramanathan et al., A Phase II Study of Milataxel: a Novel Taxane

                Analogue in Previously Treated Patients with Advanced Colorectal

                Cancer, 61(3) Cancer Chemother. Pharmacol. 453-58 (2008).

  2089          Straub et al., Intravenous Hydrophobic Drug Delivery: A Porous

                Particle Formulation of Paclitaxel (AI-850), 22(3) Pharm Res. 347-

                55 (2005).

  2090          April 2008 Sutent® Label.

  2091          Takeda et al., The Establishment of Two Paclitaxel-Resistant

                Prostate Cancer Cell Lines and the Mechanisms of Paclitaxel

                Resistance with Two Cell Lines, 67(9) The Prostate 955-67 (2007).

  2092          April 2009 Tarceva® Label.

  2093          February 2000 Taxol® Label.

  2096          Vrignaud et al., Preclinical Antitumor Activity of Cabazitaxel, a

                Semisynthetic Taxane Active in Taxane-Resistant Tumors, 19(11)

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  2099          Ziada et al., The Use of Trastuzumab in the Treatment of Hormone



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                Refractory Prostate Cancer; Phase II Trial, 60(4) The Prostate

                332-37 (2004).

  2101          Dieras et al., Larotaxel (L) in Combination with Trastuzumab in

                Patients with Her2+ Metastatic Breast Cancer (MBC): Interim

                Analysis of an Open Phase II Label Study, 26(15S) J. Clin. Oncol.

                1070 (2008).

  2104          Canil et al., Randomized Phase II Study of Two Doses of Gefitinib

                in Hormone-Refractory Prostate Cancer: A Trial of the National

                Cancer Institute of Canada –Clinical Trials Group, 23(3) J. Clin.

                Oncol. 455-60 (2005).

  2105          Mononen et al., Two Percent of Finnish Prostate Cancer Patients

                Have a Germ-Line Mutation in the Hormone-Binding Domain of

                the Androgen Receptor Gene, 60(22) Cancer Research 6471-81

                (2000).

  2107          Sonpavde et al., Sunitinib Malate for Metastatic Castration-

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     Open Access Full Text Article                                                                                                                                                                                    Review

 Preclinical profile of cabazitaxel


                                              This article was published in the following Dove Press journal:
                                              Drug Design, Development and Therapy
                                              13 October 2014
                                              Number of times this article has been viewed



 Patricia Vrignaud 1                          Abstract: First-generation taxanes have changed the treatment paradigm for a wide variety
 Dorothée Semiond 2                           of cancers, but innate or acquired resistance frequently limits their use. Cabazitaxel is a novel
 Veronique Benning 2                          second-generation taxane developed to overcome such resistance. In vitro, cabazitaxel showed
 Eric Beys 2                                  similar antiproliferative activity to docetaxel in taxane-sensitive cell lines and markedly greater
 Hervé Bouchard 3                             activity in cell lines resistant to taxanes. In vivo, cabazitaxel demonstrated excellent antitumor
                                              activity in a broad spectrum of docetaxel-sensitive tumor xenografts, including a castration-
 Sunil Gupta 4
                                              resistant prostate tumor xenograft, HID28, where cabazitaxel exhibited greater efficacy than
 1
   Sanofi Oncology, Vitry-sur-Seine,
                                              docetaxel. Importantly, cabazitaxel was also active against tumors with innate or acquired
 France; 2Sanofi DSAR, Alfortville,
 France; 3Sanofi LGCR, Vitry-sur-             resistance to docetaxel, suggesting therapeutic potential for patients progressing following
 Seine, France; 4Sanofi Oncology,             taxane treatment and those with docetaxel-refractory tumors. In patients with tumors of the
 Cambridge, MA, USA
                                              central nervous system (CNS), and in patients with pediatric tumors, therapeutic success with
                                              first-generation taxanes has been limited. Cabazitaxel demonstrated greater antitumor activity
                                              than docetaxel in xenograft models of CNS disease and pediatric tumors, suggesting potential
                                              clinical utility in these special patient populations. Based on therapeutic synergism observed
                                              in an in vivo tumor model, cabazitaxel is also being investigated clinically in combination
                                              with cisplatin. Nonclinical evaluation of the safety of cabazitaxel in a range of animal species
                                              showed largely reversible changes in the bone marrow, lymphoid system, gastrointestinal tract,
                                              and male reproductive system. Preclinical safety signals of cabazitaxel were consistent with
                                              the previously reported safety profiles of paclitaxel and docetaxel. Clinical observations with
                                              cabazitaxel were consistent with preclinical results, and cabazitaxel is indicated, in combination
                                              with prednisone, for the treatment of patients with hormone-refractory metastatic prostate cancer
                                              previously treated with docetaxel. In conclusion, the demonstrated activity of cabazitaxel in
                                              tumors with innate or acquired resistance to docetaxel, CNS tumors, and pediatric tumors made
                                              this agent a candidate for further clinical evaluation in a broader range of patient populations
                                              compared with first-generation taxanes.
                                              Keywords: XRP6258, CNS tumors, mCRPC, pediatric tumor, taxane resistance, xenograft


                                              Introduction
                                              Since the initial approval of paclitaxel (Taxol®; Bristol-Myers Squibb, New York City,
                                              NY, USA) in 1992,1,2 the first-generation taxanes paclitaxel and docetaxel (Taxotere®;
                                              Sanofi, Paris, France) have altered the treatment paradigm for a wide variety of solid
                                              tumors, including breast, lung, prostate, gastric, and ovarian cancers.3,4 Despite dem-
 Correspondence: Patricia Vrignaud
 Sanofi Oncology, 13 quai Jules Guesde,
                                              onstrating significant antitumor activity as monotherapy or in combination regimens,
 Vitry-sur-Seine, 94403 Cedex, France         clinical use of first-generation taxanes is frequently limited by innate or acquired
 Tel +33 1 58 93 36 29
 Fax +33 1 58 93 34 71
                                              resistance.5–7 In prostate cancer, the majority of patients will eventually acquire resis-
 Email patricia.vrignaud77@gmail.com          tance to docetaxel therapy.8


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                                                                                                                                                                             Mylan v. Aventis IPR2016-00712
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    Cabazitaxel (Jevtana ®, Sanofi) is a novel second-              however, it is worth noting that these are yet to be validated
generation semisynthetic taxane that was identif ied                in patient samples, and their clinical relevance is not fully
through a preclinical screen of 450 molecules derived               understood.6,7 In preclinical studies, resistance commonly
from 10-­deacetylbaccatin-III, with the aim of identifying          results from overexpression of members of the ATP-binding
a compound with activity in both taxane-sensitive and               cassette family of transporters, of which P-glycoprotein,
taxane-resistant tumors.9 In the pivotal Phase III TROPIC           encoded by the multidrug resistance gene (ATP-binding
study (NCT00417079), cabazitaxel combined with predni-              cassette, sub-family B [MDR/TAP], member 1; ABCB1), is
sone significantly extended overall survival compared with          the best known.20 Docetaxel and paclitaxel are substrates of
mitoxantrone plus prednisone in patients with metastatic            P-glycoprotein, which acts as a drug efflux pump, decreas-
castration-resistant prostate cancer (mCRPC) previously             ing intracellular drug levels and limiting cytotoxicity.6,7,21,22
treated with a docetaxel-containing regimen.10 This led to          Resistance may also arise from spontaneously acquired
cabazitaxel’s approval in 2010, in combination with predni-         mutations in tubulin, the cellular target of taxanes, resulting
sone, for the treatment of patients with hormone-refractory         in changes to the tubulin binding site or altered microtubule
metastatic prostate cancer who have previously received             dynamics.6,7,23
docetaxel-based therapy.11,12                                            Clinical data suggest that additional mechanisms may
    This review article presents an overview of the preclinical     contribute to taxane resistance in patients, including the
properties of cabazitaxel, including its development, mecha-        altered expression of specific tubulin isotypes,17 and expres-
nism of action, antitumor activity in a range of in vitro and       sion or binding of microtubule-regulatory proteins,18 loss of
in vivo tumor models, pharmacokinetics (PK), and metabolic          functional p53,16 dysfunctional regulation of apoptotic and
and toxicity profiles, as well as a summary of its clinical         intracellular signaling (eg, HER2 overexpression),19 and
development.                                                        decreased tumor cell permeability.24
                                                                         A number of potential predictive markers for taxane
Taxanes’ mechanism of action                                        ­r esistance have been identified, including the mitotic
and resistance mechanisms                                            spindle checkpoint proteins Aurora A, BUBR1, MAD2, and
Mechanism of action                                                  synuclein-γ, and cell cycle proteins such as BRCA1;18 however,
Taxanes are microtubule inhibitors that induce cellular              conflicting results have been reported clinically.24
apoptosis through the stabilization of microtubules.7 Micro-             The development of alternative therapies able to over-
tubules are major components of the cytoskeleton, with               come taxane resistance has been the focus of considerable
critical roles in a variety of cellular processes including          attention.
maintenance of cell shape, intracellular transport, cell signal-
ing, and cell division.7,13–15 It is this pivotal role in mitosis   Cabazitaxel development
that makes microtubules a key cellular target for anticancer        Paclitaxel and docetaxel are semisynthetic derivatives of
therapeutics.7                                                      10-deacetylbaccatin-III,25,26 a natural paclitaxel precursor
    Microtubules are highly dynamic polymers of tubulin,            molecule that can be extracted easily and sustainably from
continually undergoing assembly and disassembly within the          the needles of the European yew tree (Figure 1).26 In light
cell. Taxanes inhibit microtubule function by binding to tubu-      of the clinical limitations that result from taxane resistance,
lin molecules, promoting their polymerization, and stabilizing      a large-scale preclinical screening process was undertaken
microtubules. Suppression of microtubule dynamics leads to          that aimed to identify a taxane derivative with equivalent
a block in mitosis and, ultimately, tumor cell death.7,13,14        efficacy to docetaxel in docetaxel-sensitive tumors, but
                                                                    greater activity than docetaxel in tumors that are docetaxel-
Resistance mechanisms                                               resistant.9
Innate or acquired resistance to first-generation taxanes is            In total, 450 candidate molecules were designed and
frequently observed in different tumor types, resulting in          generated for preclinical assessment, based on preclinical
treatment failure. Multiple potential mechanisms of taxane          comparative structure–activity relationships of paclitaxel
resistance have been identified in preclinical studies, and         and docetaxel. Structural modifications initially focused on
it is likely that several of these contribute to a resistant        the side chain, as this was considered critical for potency,
phenotype.6,7,16–19                                                 with subsequent modifications to other functional groups
    Two mechanisms in particular have frequently been               within the baccatin moiety.9 The antitumor potential of the
associated with the development of resistance to taxanes;           taxane derivatives was assessed over three stages: in vitro

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  Dovepress                                                                                                                        Preclinical profile of cabazitaxel


                       A

                                                                                                        HO          O
                                                                                                                                OH

                                                                                                             10
                                                Side chain
                                                attachment                              HO      13
                                                  at C-13

                                                                                                                                            O
                                                                                                                           H
                                                                                                   HO
                                                                                                                               OCOCH3

                                                                                                                  OCOC6H5




                       B                                         O                                      HO          O
                                                                                                                                   OH

                                                         O             NH
                                                                                    O


                                                                                         O

                                                                                                                        H                   O
                                                                             OH
                                                                                                   HO
                                                                                                                               OCOCH3

                                                                                                                  OCOC6H5


                       C
                                                      Side chain                                        Baccatin moiety


                                                             O                               H3C                                        CH3
                                                                                                        O          O
                                                                                                                               O

                                                       O             NH                                     10
                                                                                  O
                                                                                                                               7

                                                                                        O
                                                                                                                       H                  O
                                                                          OH
                                                                                                 HO
                                                                                                                            OCOCH3
                                                                                                                 OCOC6H5

  Figure 1 Chemical structure of 10-deacetylbaccatin III, docetaxel, and cabazitaxel.
  Notes: (A) 10-deacetylbaccatin III. (B) Docetaxel. (C) Cabazitaxel.




  activity against microtubules; in vitro activity in resistant                          B16 tumor, to allow evaluation of the taxane derivatives in
  cell lines; and in vivo activity in a tumor model.24 The in                            a clinically relevant setting. This model mimics the clinical
  vivo assessments included evaluation in a B16/TXT mela-                                development of docetaxel resistance, where tumors initially
  noma resistance model, which was developed through repeat                              respond to treatment, but develop resistance progressively
  exposure to docetaxel in mice bearing the docetaxel-sensitive                          over time.24

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    Initial attempts to modify the C-3′N–Boc and C-3′ phenyl          indicating that cabazitaxel has a cytotoxic mechanism of action
groups within the side chain of docetaxel resulted in derivatives     similar to that of docetaxel.24
demonstrating either reduced in vitro potency or failure to
improve activity in docetaxel-resistant cell lines (Figure S1).9,27   Antiproliferative activity
Alterations to the C-2/C-4 and oxetane ring regions of the bac-       In cell lines sensitive to chemotherapy, cabazitaxel had similar
catin moiety were also evaluated, but failed to increase activity     antiproliferative activity to docetaxel, achieving comparable
in the in vitro and/or in vivo resistance models.9                    50% inhibitory concentration (IC50) values across a range of
    Cabazitaxel is a dimethyl derivative of docetaxel, bear-          murine and human cell types (0.004–0.041 µmol/L for cabazi-
ing methoxy groups in place of hydroxyl groups at posi-               taxel versus 0.008–0.079 µmol/L for docetaxel) (Table 1).24
tions C-7 and C-10 (Figure 1).9 In both docetaxel-sensitive               In a panel of cell lines bearing acquired resistance to
and docetaxel-resistant cell lines, these structural altera-          taxanes or to the chemotherapeutic agents doxorubicin, vin-
tions resulted in the greatest increase in in vitro potency,          cristine, or vinblastine, cabazitaxel showed markedly greater
without significantly increasing toxicity at the maximum              antiproliferative activity than docetaxel (IC50 ranged from
tolerated dose, in contrast to other C-7/C-10 modifications           0.016–0.414 µmol/L for cabazitaxel versus 0.17–4.01 µmol/L
(Figure S1).9 These modifications confer two advantages               for docetaxel).24 Resistance factors, an indication of the dif-
on cabazitaxel over docetaxel. Firstly, cabazitaxel, which is         ference in drug concentrations needed to inhibit resistant
a P-glycoprotein substrate, has a higher lipophilicity than           versus sensitive/parental cell lines, ranged from 2–10 for
docetaxel (logP 3.9 versus 3.2),9,28 resulting from the con-          cabazitaxel and 5–59 for docetaxel in these P-glycoprotein-
version of two secondary alcohols to more lipophilic ethers.          expressing cell lines (Table 1).24
This may result in increased cell penetration through passive             In murine and human cell lines with resistance mecha-
influx, consequently leading to better activity in resistant cell     nisms other than P-glycoprotein overexpression, no cross-
lines where permeability of the plasma membrane may be                resistance to cabazitaxel was observed.24
altered.24,28–30 This hypothesis was recently confirmed in an
experiment in which drug uptake into MCF7 breast adeno-               In vivo activity
carcinoma cells, which do not overexpress P-glycoprotein,             Plasma pharmacokinetics
was faster for cabazitaxel than for docetaxel.31 Secondly,            The PK profile of cabazitaxel was evaluated in healthy and
cabazitaxel has an improved ability to cross the blood–brain          tumor-bearing mice, and healthy rats and dogs (Table 2)
barrier (BBB) compared with docetaxel, offering potential             (Sanofi, data on file, 2010).
benefit in patients with tumors of the central nervous system
(CNS).9,29,32,33                                                      Absorption
    Accordingly, during the screening of taxane derivatives           Exposure to cabazitaxel increased with dose after single or
and subsequent preclinical evaluation, cabazitaxel has                repeated intravenous (IV) administration in all species. The
demonstrated equivalent efficacy to docetaxel for stabiliz-           increase in exposure was approximately dose-proportional
ing microtubules in vitro, greater potency than docetaxel in          in mice and more than dose-proportional in rats and dogs.
cell lines resistant to taxanes and other chemotherapeutics,          No plasma accumulation was observed in mice, rats, or dogs
activity superior to docetaxel in in vivo CNS disease models,         after administration every 5 days, weekly, or every 3 weeks.
broad-spectrum antitumor activity against a range of murine           No sex effect was observed in rats and dogs (Sanofi, data
and human tumors, and in vivo activity in tumor models that           on file, 2010).
are not sensitive, or are poorly sensitive, to docetaxel.9,24,33
                                                                      Distribution
In vitro activity                                                     Plasma protein binding of cabazitaxel was very high in mice
Microtubule stabilization                                             (99.3%) and high in rats (95.5%), rabbits (91.4%), dogs
Cabazitaxel has shown equivalent potency to docetaxel for             (97.1%), and humans (91.9%) (Sanofi, data on file, 2010).
stabilization of microtubules in vitro. Both cabazitaxel and          Following a single IV administration, cabazitaxel exhibited
docetaxel induced a similar reduction in lag time for tubulin         a very large volume of distribution at steady state in both
assembly (lag time to 50% aggregation 0–0.1 µmol/L) and stabi-        healthy (2.5–3.7 L/kg) and tumor-bearing mice (8.8 L/kg),
lization of microtubules against cold-induced depolymerization        in rats (22.7 L/kg), and in dogs (3.3–14.5 L/kg) (Sanofi, data
(concentration producing 50% cell killing 0.1–0.25 µmol/L),           on file, 2010).



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  Table 1 In vitro antiproliferative effects of cabazitaxel and docetaxel against sensitive and P-glycoprotein-expressing resistant cell
  lines
  Cell line                                             Mean IC50, μmol/L ± SD                             Resistance factora                                     ABCB1
                                                        Docetaxel               Cabazitaxel                Docetaxel                Cabazitaxel                   mRNA levelb

  P388 murine leukemia                                  0.079±0.004             0.041±0.017                -                        -                             -
  P388/DOX                                               4.01±0.280             0.414±0.036                51                       10                            +++
  P388 murine leukemia                                  0.039±0.012             0.013±0.005                -                        -                             -
  P388/TXT                                              0.188±0.022             0.024±0.015                5                        2                             ++
  P388 murine leukemia                                  0.039±0.012             0.013±0.005                -                        -                             -
  P388/VCR                                              0.227±0.038             0.024±0.003                6                        2                             ++
  HL60 human leukemia                                   0.031±0.004             0.022±0.010                -                        -                             -
  HL60/TAX                                              0.250±0.110             0.060±0.029                8                        3                             ++
  Calc18 human breast adenocarcinoma                    0.008±0.002             0.004±0.002                -                        -                             -
  Calc18/TXT                                            0.170±0.040             0.016±0.004                21                       4                             ++
  KB human epidermoid carcinoma                         0.042±0.021             0.035±0.026                -                        -                             -
  KBV1                                                  2.480±0.120             0.270±0.013                59                       8                             ++++
  Notes: Cells were incubated for 96 hours at 37°C in liquid medium with drugs at different concentrations. Viability was assessed by neutral red, with the mean of at least
  three results obtained. aResistance factor = IC50 (resistant)/IC50 (parental) from the same experiment; brelative expression obtained from Northern blot experiments using
  the human ABCB1 gene as probe. Reprinted by permission from the American Association for Cancer Research: Vrignaud P, Sémiond D, Lejeune P, et al. Preclinical antitumor
  activity of cabazitaxel, a semi-synthetic taxane active in taxane-resistant tumors. Clin Cancer Res. 2013;19:2973–2983, doi: 10.1158/1078-0432.CCR-12-3146.24
  Abbreviations: ABCB1, ATP-binding cassette, sub-family B, member 1; Calc18/TXT, Calc18 human breast adenocarcinoma resistant to docetaxel; HL60/TAX, HL60 human
  leukemia resistant to paclitaxel; IC50, 50% inhibitory concentration; KBV1, KB human epidermoid carcinoma resistant to vinblastine; P388/DOX, P388 murine leukemia
  resistant to doxorubicin; P388/TXT, P388 murine leukemia resistant to docetaxel; P388/VCR, P388 murine leukemia resistant to vincristine; SD, standard deviation.



      The PK of cabazitaxel was also evaluated in mice                                     the entire experimental period (168 hours). ­Concentrations
  bearing advanced-stage ( 400 mm 3 ) mammar y                                            of cabazitaxel above the cellular antiproliferative IC50 were
  MA16/C adenocarcinomas.24 Cabazitaxel was adminis-                                       sustained for 24 hours in the plasma and for 96 hours in
  tered at the highest nontoxic dose (HNTD) of 40 mg/kg.                                   tumor tissue.24
  Drug uptake into the tumor was both rapid and sustained,                                     Brain distribution of cabazitaxel was assessed in mice,
  with maximum drug concentrations in tumor tissue reached                                 rats, and dogs. Cabazitaxel penetrated rapidly in the brain,
  within 15 minutes, and a 40-fold greater concentration of                                with similar relative exposure between brain and blood across
  cabazitaxel within the tumor versus plasma after 48 hours                                the different species.33
  (Figure 2).24
      In this model, exposure to cabazitaxel was 1.6-times greater                         Metabolism
  in the tumor compared with plasma during the 48 hours fol-                               Cabazitaxel metabolism has been compared across mul-
  lowing treatment administration, and 2.9-times greater over                              tiple species. In vivo, cabazitaxel was the major circulating

  Table 2 Pharmacokinetic parameters of cabazitaxel in normal and tumor-bearing mice, rats, and dogs
  Species                        Sex         Dose            Number of                 Infusion         Cmax            AUC                  CL                  Vss        t1/2
                                 (M/F)       (mg/kg)         administrations           duration         (ng/mL)         (ng ⋅ h/mL)          (L/hr/kg)           (L/kg)     (hr)
  Normal mice                    F           5               1                         1h               2,728           4,468                1.1                 2.5        5.1
                                             10              1                         1h               4,805           11,211               0.9                 2.7        7.4
                                             15              1                         1h               6,072           13,460               1.1                 3.7        7.6
                                 F           5               5a                        1h               4,421           6,881                0.7                 2.1        4.9
                                             10              5a                        1h               6,478           17,497               0.6                 1.1        5.5
                                             15              5a                        1h               6,504           13,489               1.1                 2.8        7.5
  Tumor-bearing mouse            F           40              1                         45 s             23,784          24,113               1.7                 8.8        26.0
  Rat                            M           2.5             1                         1h               477             522                  4.8                 22.7       10.1
  Dog                            M           0.5             1                         72–91 m          65              95                   5.3                 14.5       4.3
                                 F           0.5             1                         72–91 m          97              101                  5.2                 12.8       3.2
                                 M           1               1                         72–91 m          164             230                  4.4                 9.5        3.8
                                 F           1               1                         72–91 m          360             417                  2.5                 3.3        3.0
  Notes: aEvery 3 weeks. Sanofi, data on file, 2013.
  Abbreviations: AUC, area under the concentration–time curve; CL, clearance; Cmax, maximum plasma concentration; F, female; M, male; t1/2, half-life; Vss, steady-state volume
  of distribution.




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                            105                                                              Plasma          the dose). In contrast, unchanged cabazitaxel was the major
                                                                                             Tumor           circulating compound in plasma in all species, including
Cabazitaxel concentration


                            104                                                                              humans, accounting for 65% of the total radioactivity area
    (ng/mL or ng/g)



                                                                                                             under the curve.34
                            103

                                                                                                             Excretion
                            102
                                                                                                             The PK of cabazitaxel following a single IV infusion in
                            101
                                                                                                             normal mice, tumor-bearing mice, and in dogs is generally
                                                                                                             characterized by a biphasic elimination (Sanofi, data on file,
                            100                                                                              2010). Plasma clearance was high in rats (4.8 L/h/kg) and dogs
                                  0     10      20      30      40 50 60       70   80       90    100       (2.5–5.3 L/h/kg) and moderate in normal (0.9–1.1 L/h/kg)
                                                                  Time (h)
                                                                                                             and tumor-bearing mice (1.7 L/h/kg), compared with respec-
Figure 2 Pharmacokinetics of 40 mg/kg cabazitaxel (highest nontoxic dose) in
                                                                                                             tive hepatic blood flow. The terminal half-life was moderately
plasma and tumor tissues in mice.
Note: Reprinted by permission from the American Association for Cancer                                       long in dogs (3.0 to 4.3 hours), long in normal mice (5.1–7.6
Research: Vrignaud P, Sémiond D, Lejeune P, et al. Preclinical antitumor activity of
cabazitaxel, a semi-synthetic taxane active in taxane-resistant tumors. Clin Cancer
                                                                                                             hours) and rats (10 hours), and extremely long in tumor-
Res. 2013;19:2973–2983, doi: 10.1158/1078-0432.CCR-12-3146.24                                                bearing mice (26 hours). It should be noted that a higher
compound in all species including humans (65% of the                                                        dose was given to tumor-bearing mice, which was reflected
total radioactivity area under the curve). Cabazitaxel under-                                                in quantifiable levels occurring at later sampling times than
goes extensive biotransformation, with less than 2.5% of the                                                 in normal mice (Sanofi, data on file, 2010).
administered dose excreted unchanged in studies of mice,                                                         Cabazitaxel excretion was nearly complete (91%–95%
rats, dogs, and humans. The two main metabolic pathways,                                                     of the administered dose) in mice, rats, and dogs, and radio-
accounting for 40%, 54%, and 45% of the dose excreted in                                                     activity was largely excreted in the feces in all three species
humans, dogs, and mice, respectively, corresponded to two                                                    (87%–91% of the administered dose), with minimal excretion
O-demethylations at the C-7 and C-10 positions, one leading                                                  via the urinary route (1%–4%). In bile-duct-cannulated male
to 7-O-demethyl-cabazitaxel (pathway B) and the other to                                                     rats, radioactivity was mainly excreted via the biliary route,
10-O-demethyl-cabazitaxel (pathway A) (Figure 3; Table 3).                                                   accounting for 65% of the administered dose within 48 hours.
In male and female rats, the main pathway corresponded                                                       Similarly, in humans the majority of the radioactivity was
to t-butyl-hydroxylation on the lateral chain (pathway C),                                                   recovered in feces (around 76% of the administered dose),
accounting for 49%–55% of the dose excreted. This pathway                                                    with 4% of the dose found in urine.34
was also abundant in mice, representing 41% of the dose, and                                                     In summary, the disposition of cabazitaxel was assessed
was found in humans (21% of the dose). Another pathway                                                       in a range of animal species, and the distribution, metabolic
consisting of the cleavage of the parent drug (pathway D)                                                    pathways, and elimination processes documented in ani-
was very minor in all species, including humans (0.3% of                                                    mals are consistent with those observed in humans (Sanofi,

                                                                                                                   Pathway A 10-O demethylation
                                                                                        Pathway D cleavage                               Pathway B 7-O demethylation




                                                                                         O                       H3C   O         O         CH3
                                                                                                                                       O
                                                                                    O         NH                           10
                                                                                                         O
                                   Pathway C hydroxylation                                                                             7

                                                                                                             O
                                                                                                                                  H          O
                                                                                                   OH             HO
                                                                                                                                    OCOCH3
                                                                                                                                OCOC6H5
                                                                                Lateral chain                            Taxane ring


Figure 3 Proposed schematic of the principal metabolic pathways of cabazitaxel.




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  Table 3 Relative contribution of different metabolic pathways to                                (complete response [CR]) and 83% long-term tumor-free
  cabazitaxel metabolism across species                                                           survival (TFS).24
  Pathway                                % of administered dose                                       Cabazitaxel was compared with docetaxel and abiraterone
                                         Mouse        Rat     Rat         Dog         Human       acetate (a specific inhibitor of CYP17) in a patient-derived
                                         Female       Male    Female      Male        Male and    prostate tumor xenograft with induced resistance to castration
                                                                                      female
                                                                                                  (HID28). At equivalent dose levels (20 mg/kg), cabazitaxel
  Pathway A                              16.4         9.8     5.7         19.7        16.2
  (10-O-demethylation)
                                                                                                  demonstrated greater antitumor efficacy than docetaxel.38
  Pathway B                              28.4         15.1    12.7        34.7        24.2        Cabazitaxel inhibited tumor growth with a percentage tumor
  (7-O-demethylation)                                                                             volume change (calculated as the percentage ratio between
  Pathway C                              40.5         49.3    54.8        12.6        20.9        the mean tumor volume of a treated and a control group)
  (hydroxylation on
  lateral chain)
                                                                                                  of 1.4% at Day 35 compared with 16.7% for docetaxel
  Pathway D (cleavage)                   0.1          0.1     0.3         0.3         Trace       (Figure 4).38 Complete and partial remissions, respectively,
  Note: Sanofi, data on file, 2010.                                                               were achieved in six out of ten and four out of ten mice
                                                                                                  receiving cabazitaxel, and in one out of ten and two out
  data on file, 2010). Thus, the animals studied are likely to                                    of ten mice treated with docetaxel.38 No antitumor activity
  represent good models for the disposition of cabazitaxel in                                     was demonstrated with abiraterone acetate (50 mg/kg orally
  humans. The finding that unchanged cabazitaxel is the main                                      administered daily for 21 days).38 These data provide support
  circulating compound in plasma indicates that analysis of                                       for the clinical development of cabazitaxel for the first-line
  the parent drug is appropriate for PK and pharmacodynam-                                        treatment of mCRPC.
  ics studies of cabazitaxel.
                                                                                                  Docetaxel-sensitive models
  Antitumor activity                                                                              Cabazitaxel demonstrated broad-spectrum activity in murine
  Prostate cancer models                                                                          and human xenograft models (Table 4). Excellent antitumor
  The efficacy of taxanes in prostate cancer, in addition to                                      activity was observed in murine B16 melanoma, colon adeno-
  their impact on cell division, may in part relate to inhibitory                                 carcinoma C51, and mammary adenocarcinoma MA16/C and
  effects on androgen receptor signaling.35–37 In mice bear-                                      MA17/A tumors.24 In a range of advanced disease models,
  ing a docetaxel-sensitive cell line-derived castrate-resistant                                  including human colon HCT 116 and HT-29, lung A549 and
  prostate cancer xenograft (DU145), cabazitaxel was found to                                     NCI-H460, pancreas MIA PaCa-2, head and neck SR475,
  be highly active, inducing 100% complete tumor regressions                                      and kidney Caki-1 xenografts, administration of cabazitaxel


                                 2,000                                                                    Vehicle (once every 3 weeks)
            Tumor volume (mm3)




                                                                                                          Docetaxel 20 mg/kg (once every 3 weeks)
               (mean ± SEM)




                                 1,500                                                                    Cabazitaxel 20 mg/kg (once every 3 weeks)
                                                                                                          Cabazitaxel 15 mg/kg (once every 3 weeks)
                                 1,000                                                                    Abiraterone 50 mg/kg (daily for 21 days)


                                  500


                                    0
                                         0        7          14      21          28          35   42    49
                                                                          Days

                                                                            Vehicle, cabazitaxel 15 and 20 mg/kg, and docetaxel 20 mg/kg
                                                                            treatments (Day 0 and Day 21)
                                                                            Abiraterone 50 mg/kg treatments (Day 0 to Day 20)

  Figure 4 Antitumor activity of cabazitaxel, docetaxel, and abiraterone in a docetaxel-sensitive hormone-refractory prostate cancer xenograft model.
  Note: Sanofi, data on file, 2012.
  Abbreviation: SEM, standard error of the mean.




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Table 4 Dose–response antitumor activity of cabazitaxel and docetaxel in mice bearing murine and human docetaxel-sensitive and
-resistant tumors
Tumor type                              Cabazitaxel                                                             Docetaxel
                                        Total HNTD,             Log                CR            TFS            Total HNTD,                Log                CR            TFS
                                        mg/kg                   cell killa                                      mg/kg                      cell killa
Murine tumors
  B16 melanoma                          60                      2.1                NA            0/5            60                         1.7                NA            0/5
  B16/TXT melanoma                      60                      1.3                NA            0/5            60                         0.6                NA            0/5
  Colon C38                             60                      –                  5/5           5/5            60                         3.1                0/5           0/5
  Colon C51                             45                      2.6                NA            0/5            45                         3.1                NA            0/5
  Pancreas P03                          60                      –                  5/5           4/5            ND                         ND                 ND            ND
  Pancreas P02                          60                      0.8                NA            0/5            ND                         ND                 ND            ND
  Mammary MA16/C                        40                      3.7                4/5           0/5            ND                         ND                 ND            ND
  Mammary MA17/A                        36                      3.9                NA            0/5            ND                         ND                 ND            ND
  Lung 3LL                              58.5                    1.2                NA            0/5            ND                         ND                 ND            ND
Human tumors
  Prostate DU 145                       48.0                    –                  6/6           5/6            ND                         ND                 ND            ND
  Colon HCT 116                         36.0                    3.4                7/7           2/7            ND                         ND                 ND            ND
  Colon HT-29                           22.2                    2.0                6/6           0/6            96.6b                      3.4                6/6           0/6
  Colon HCT-8                           28.0                    1.9                0/5           0/5            50b                        0.8                0/5           0/5
  Pancreas MIA PaCa-2                   48.0                    –                  6/6           6/6            75b                        –                  6/6           6/6
  Breast Calc18                         61.5                    3.4                NA            5/8            ND                         ND                 ND            ND
  Breast Calc18/TXT                     38.1                    0.5                NA            0/8            ND                         ND                 ND            ND
  Breast UISO BCA-1                     45.0                    .6                 NA            0/5            45                         0.6                NA            0/5
  Lung NCI-H460                         24.0                    2.7                2/6           0/6            ND                         ND                 ND            ND
  Lung A549                             36.0                    2.2                2/6           0/6            96.6b                      1.9                0/5           0/5
  Gastric N87                           73.2                    .6                 NA            1/8            73.2                       4.5                NA            1/8
  Gastric GXF-209                       37.2                    1.4                0/8           0/8            23.1                       0.5                0/8           0/8
  Head and neck SR475                   42.0                    –                  6/6           6/6            45b                        2.5                1/6           0/6
  Kidney Caki-1                         24.0                    1.7                5/6           0/6            64.4b                      1.4                2/5           0/5
Notes: Murine tumors were originally obtained and then maintained in the same syngenic mouse strain for MA17/A (C3H/HeN) and C51 (BALB/c), and in B6D2F1 mice for
the C57BL/6 syngenic tumors. Human tumors were grafted in immunocompromised mice. aDefinition of antitumor activity (log cell kill = tumor growth delay/3.32 × tumor
doubling time): log cell kill total ,0.7= inactive, .2.8= highly active; bthe dose–response pattern for docetaxel was different from that of cabazitaxel in the following studies:
HT-29, A549, and Caki-1 studies – 51.9, 32.2, 20, and 12.4 mg/kg per injection; HCT-8, MIA PaCa-2, and SR475 studies – 41.7, 25, and 15 mg/kg per injection. Adapted by
permission from the American Association for Cancer Research: Vrignaud P, Sémiond D, Lejeune P, et al. Preclinical antitumor activity of cabazitaxel, a semi-synthetic taxane
active in taxane-resistant tumors. Clin Cancer Res. 2013;19:2973–2983, doi: 10.1158/1078-0432.CCR-12-3146.24
Abbreviations: CR, complete regression; HNTD, highest nontoxic dose; NA, not available as treatment conducted on early-stage disease; ND, not determined in the same
study; TFS, long-term tumor-free survivors.



achieved CR. In seven of eleven such models, CR levels were                                melanoma to docetaxel at the HNTD (60 mg/kg per ­passage),
100%. In seven models, CR resulted in TFS at study comple-                                 with a total of 27 passages over 17 months required to obtain
tion, with 80 to 100% TFS in five of them.24                                               a fully docetaxel-resistant tumor. Cabazitaxel demonstrated
    In most cases, the antitumor activity of cabazitaxel was                               antitumor activity against B16/TXT, which does not over-
similar to that of docetaxel, as assessed by log cell kill values                          express P‑glycoprotein, but was not active against the
derived from measurements of tumor growth (log cell kill =                                 P‑glycoprotein-overexpressing tumor Calc18/TXT in which
tumor growth delay/3.32× tumor doubling time).24 Despite                                   docetaxel resistance was induced in vitro.24
this, docetaxel induced CR in just four of seven evaluable                                      Interestingly, cabazitaxel showed activity against a number of
xenograft models (human colon HCT-29, pancreas MIA                                         murine and human xenograft models bearing innate resistance to
PaCa-2, head and neck SR475, and kidney Caki-1), and                                       docetaxel, including the human breast tumor UISO BCA-1. In
TFS at study completion was only observed in mice bearing                                  this early-stage model, cabazitaxel achieved a log cell kill value
human pancreas MIA PaCa-2 xenografts.                                                      of greater than 6, compared with 0.6 with docetaxel. Moreover,
                                                                                           docetaxel did not delay tumor growth at its HNTD (15 mg/kg
Models resistant or poorly sensitive to docetaxel                                          per injection; log cell kill 0.6, P0.5), whereas cabazitaxel was
Cabazitaxel was evaluated in the B16/TXT acquired-                                         highly active both at its HNTD (15 mg/kg per injection; log cell
­r esistance model, which was developed by repeatedly                                      kill 6, P=0.0016) and at the dose level below (9.3 mg/kg per
 exposing mice bearing the docetaxel-sensitive murine B16                                  injection; log cell kill 4.4, P=0.0016).24



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      Taken together, these findings made cabazitaxel a can-             In situ brain perfusion using wild-type mice also demon-
  didate for further clinical evaluation in patients who have        strated a two- to threefold greater brain penetration with caba-
  relapsed following taxane treatment, as well as in those with      zitaxel than with paclitaxel or docetaxel (unpublished data).47
  innately docetaxel-refractory tumors.24                                Based on these results, the potential of cabazitaxel to be
                                                                     an effective agent against CNS tumors should be evaluated
  Special populations                                                further in clinical trials.
  CNS tumors
  The activity of first-generation taxanes in patients with          Pediatric patients
  tumors of the CNS is limited,39–43 due to poor penetration         First-generation taxanes, despite showing activity in pre-
  of these drugs across the BBB under normal physiologic             clinical pediatric sarcoma models,48 have achieved limited
  conditions.44,45 This is a result of both the physical barrier     success in clinical trials in pediatric tumors,49–52 and their
  formed by brain endothelial cell tight junctions at the BBB44      efficacy has never been fully established. The potential
  and the expression of a range of efflux transporters, including    utility of cabazitaxel in pediatric patients has been investi-
  P-glycoprotein and other members of the multidrug resistance       gated using cell-line derived and patient-derived pediatric
  protein family, that limit uptake of transporter substrates into   sarcoma xenograft models. In five of six such models,
  the brain to protect brain tissue from toxic insult.44–46          cabazitaxel induced significantly greater tumor growth
      Preclinical data suggest that uptake of cabazitaxel into       inhibition and tumor regression compared with equivalent
  the brain is greater than that observed with first-generation      doses of docetaxel.33 A Phase I dose-escalation study evalu-
  taxanes, potentially resulting from saturation of an efflux pro-   ating cabazitaxel in pediatric patients with refractory solid
  cess at the BBB.33,47 Cabazitaxel uptake across the BBB was        tumors, including tumors of the CNS, is currently ongoing
  threefold higher in P-glycoprotein-deficient mice compared         (NCT01751308).53
  with control mice, suggesting that efflux from the brain may
  be mediated by P-glycoprotein, amongst other transporters.47       Combination chemotherapy
  Further evidence of saturation of an efflux process at the         Docetaxel or paclitaxel in combination with cisplatin have
  BBB was provided by the observation that brain exposure            shown improved efficacy compared with cisplatin-based
  increased nonproportionally at doses of cabazitaxel greater        therapy alone, or with alternative cisplatin- or taxane-
  than 10 µg/mL.47                                                   based combination regimens. Improved outcomes with
      PK analyses of the CNS have shown that cabazitaxel is          such approaches have been documented in multiple tumor
  able to rapidly penetrate the brains of mice, rats, and dogs       types.54–57 Both docetaxel and paclitaxel are indicated, in
  following IV infusion. In mice bearing advanced MA16/C             combination with cisplatin, for the treatment of a variety of
  tumors grafted subcutaneously, the maximum drug con-               solid tumors.4,58
  centration reached within the brain was considerably lower              To evaluate preclinically whether cabazitaxel in combina-
  than in subcutaneous tumor tissue or plasma. However, due          tion with cisplatin may offer enhanced antitumor activity over
  to the more sustained presence of cabazitaxel in the brain,        monotherapy, this combination was assessed in a murine C51
  overall exposure was 2.3-fold and 3.7-fold greater than in         colon adenocarcinoma xenograft model, which was selected
  tumor tissue and plasma, respectively, at 0–48 hours.33 The        based on its platinum sensitivity.33,59 The combination of caba-
  relationship between blood and brain exposure was highly           zitaxel and cisplatin showed greater antitumor activity than
  consistent across the three animal species, suggesting that a      either agent alone, although the combination toxicity index
  similar relationship may also be seen in humans.33                 of this preclinical combination is low, requiring a reduction in
      Studies using in vivo CNS disease models demonstrated          dose of 50%–65% versus the single agent dose to avoid addi-
  greater activity for cabazitaxel than docetaxel. Cabazitaxel       tional toxicity.33 This indicates that reduced dosages could
  had enhanced antitumor activity compared with docetaxel in         be administered in future if required. Therapeutic synergism
  two human intracranial glioblastoma xenograft models when          was observed regardless of the sequence of administration,
  compared at their respective HNTDs, as shown by greater            with the two agents given simultaneously or sequentially, of
  increases in life span.33 Superior activity with cabazitaxel       either cabazitaxel followed by cisplatin or cisplatin followed
  was observed both at early stages of tumor growth, before          by cabazitaxel.33
  the BBB is disrupted, and during advanced stages, consistent            The preclinical assessment of cabazitaxel with other poten-
  with an inherently enhanced ability to penetrate the brain.33      tially synergistic chemotherapeutics is also warranted.


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    Cabazitaxel in combination with cisplatin has been inves-                         such as neutropenia and gastrointestinal disorders such as
tigated in a Phase I clinical trial in patients with advanced                         diarrhea, nausea, and vomiting.11 Organs with lower epi-
solid tumors (NCT00925743). Stable disease was observed                               thelial tissue turnover were affected in a few instances. In
in a high proportion of patients, and the combination had a                           particular, an increased incidence of mitotic figures or single
manageable safety profile consistent with that of a platinum/                         cell necrosis was observed in the liver, adrenal gland, uterus,
taxane combination.60 A Phase I/II study that aimed to                                and eyes (Sanofi, data on file, 2010). The effects observed
determine the maximum tolerated dose, safety, and PK of                               with cabazitaxel on tissues with high and low cell turnover
cabazitaxel in combination with gemcitabine, however,                                 resembled those reported for other taxane anticancer drugs
was terminated following extensive dose-limiting toxicities                           (Sanofi, data on file, 2010).
(NCT01001221).61                                                                           Adverse reactions with possible clinical relevance
                                                                                      included arteriolar/periarteriolar necrosis in the liver, bile
Safety                                                                                duct hyperplasia, and hepatocellular necrosis (Sanofi, data
The safety of cabazitaxel was investigated in a series of non-                        on file, 2010). In clinical studies with cabazitaxel, transient
clinical studies that included general toxicology assessments                         increases in bilirubin and transaminase levels as well as liver
with a wide variety of administration schedules in mice, rats,                        injuries have been occasionally reported (Sanofi, data on file,
and dogs, as well as genotoxicity evaluation using in vitro and                       2010). In the light of these observations, a potential impact
in vivo tests, in vivo fertility and embryofetal toxicity studies                     on the liver is being investigated further in an ongoing Phase
in rats and/or rabbits, and a comprehensive range of safety                           I trial of cabazitaxel in patients with advanced solid tumors
pharmacology assays (Sanofi, data on file, 2010).                                     and varying degrees of hepatic impairment (NCT01140607).
    General toxicology evaluation comprised single-dose                               (Sanofi, data on file, 2013).
and 5-day studies, single-cycle (weekly administration)                                    Similar to what has been reported with other taxanes,25,62,63
and 4-week (daily administration) studies, and 5-, 10-, and                           peripheral neurotoxicity was observed in rodent models fol-
13-cycle studies entailing one administration every 3 weeks                           lowing treatment with cabazitaxel (Table 7). Sciatic nerve
(Sanofi, data on file, 2010). The main toxicity parameters of                         degeneration occurred in mice following treatment with
cabazitaxel in general toxicology studies are summarized in                           a variety of dosing regimens ranging from single-dose to
Table 5 (Sanofi, data on file, 2010).                                                 five-cycle administration, and in rats in the single-dose and
    As expected for an antimitotic agent, cabazitaxel pre-                            ten-cycle studies. In mice, these changes were not reversible
dominantly affected tissues with a high cell turnover in rats                         at 10 or 20 weeks after single administration (Sanofi, data
and dogs. The no observable effect levels for the main target                         on file, 2010). In the clinical setting, cases of peripheral
organs are presented in Table 6. Microscopic alterations                              neuropathy, peripheral sensory neuropathy (eg, paraesthesias,
were observed in the bone marrow (resulting in decreased                              dysesthesias), and peripheral motor neuropathy have been
circulating white blood cell count), lymphoid system, gas-                            observed in patients receiving cabazitaxel.11 Cross-study
trointestinal tract, and male reproductive system. In multiple                        comparisons suggest, however, that the incidence and sever-
cycle assessments in rats, alopecia correlating with cell                             ity of peripheral neuropathy may be lower with cabazitaxel
degeneration was also seen. Most of these changes were                                compared with other taxanes.10,64–69
reversible and were considered compatible with 3-weekly                                    Central neurotoxicity characterized by degenerative
administration (Sanofi, data on file, 2010). The findings are                         changes to the brain and cervical spinal cord has also been
consistent with cabazitaxel’s clinical adverse event profile,                         reported in mice following cabazitaxel treatment (Table 7),
which is characterized primarily by hematologic disorders                             but was not observed in rats or dogs (Sanofi, data on file,

Table 5 Cabazitaxel preclinical toxicology data summary: main toxicity parameters (mg/kg/day) in mice, rats, and dogs
Dosing regimen              Single-dose                         5-day                            Weekly                  Five-cycle         Ten-cycle         13-cycle
Parameters                  Mice          Rats           Dogs   Mice     Rats        Dogs        Mice        Dogs        Mice               Rats              Dogs
LD                          40            5              1      3        1           0.2         30          0.325       .30                5                 .0.5
HNLD                        30            2.5            0.5    1        0.5         0.1         15          0.225       .30                1                 .0.5
HNSTD                       NA            2.5            0.5    NA       0.5         0.1         NA          0.225       NA                 1                 0.5
STD10                       40            NA             NA     3        NA          NA          5–15        NA          NA                 NA                NA
Notes: A cycle consisted of one administration every 3 weeks. Sanofi, data on file, 2010.
Abbreviations: HNLD, highest non-lethal dose; HNSTD, highest non-severely toxic dose; LD, lethal dose; NA, not available; STD10, severely toxic dose for 10% of animals.




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  Table 6 Cabazitaxel preclinical toxicology data summary: NOEL (mg/kg/day) for main target organs in rat and dog toxicity studies
  Dosing regimen                          Single-dose                         5-day                           Weekly                  Ten-cycle                    13-cycle
  Tissues affected                        Rats              Dogs              Rats             Dogs           Dogs                    Rats                         Dogs
  Hematology                              ,2.5              0.25              0.25             ,0.025         0.125                   ,1                           0.25
  Bone marrow                             ,2.5              0.5               0.25             .0.1           0.225                   ,1                           0.25
  Lymphoid system                         2.5               0.5               0.5              .0.1           0.225                   ,1                           0.25
  Gastro intestinal tract                 2.5               0.5               0.5              0.05           0.225                   ,1                           0.1
  Male reproductive system                5                 0.5               ,0.25            0.05           0.125                   ,1                           0.25
  Liver                                   NA                ,0.25             NA               0.1            0.225                   5                            .0.5
  Notes: A cycle consisted of one administration every 3 weeks. Sanofi, data on file, 2010.
  Abbreviations: NA, not available; NOEL, no-observable effect level.



  2010). In radiolabeling studies, a good correlation between                             Administration during early gestation in pregnant rats led to
  the localization of brain lesions (vacuoles) and radioactivity                          fetal death and low fetal weight associated with a delay in
  levels was observed, with both concentrated around the ven-                             skeletal ossification. Drug exposures in these studies were
  tricles (Figure 5), suggesting that these effects were related                          lower than those in humans receiving clinically relevant doses
  to cabazitaxel treatment (Sanofi, data on file, 2010). Similar                          of cabazitaxel. Thus, cabazitaxel is not recommended for use
  degenerative changes were observed in the brains of mice                                in pregnant women or those of childbearing age who are not
  treated with IV paclitaxel.70                                                           using contraception (Sanofi, data on file, 2010).11
      Partially reversible eye disorders, characterized by                                    In a series of safety pharmacology assays, no physi-
  mild subcapsular lens fiber swelling or degeneration, were                              ologically relevant effects were observed in the CNS,
  observed in rats following administration of the highest                                respiratory, gastrointestinal, renal, and cardiovascular
  dose level of 20/10 mg/kg in the ten-cycle toxicity study,                              systems after IV administration of cabazitaxel (Sanofi,
  but not at lower doses. Such adverse events have not been                               data on file, 2010). Overall, preclinical safety signals of
  noted in clinical trials, but may have some relevance to                                cabazitaxel were consistent with the previously reported
  clinical use and are under active surveillance (Sanofi, data                            safety profiles of paclitaxel and docetaxel.25,62,63 In terms
  on file, 2010).11                                                                       of dose levels, the highest non-lethal doses observed in the
      In investigations of genotoxicity, cabazitaxel did not                              single-dose toxicity studies conducted in mice, rats, and
  induce mutations in the bacterial reverse mutation (Ames) test.                         dogs with cabazitaxel and docetaxel were approximately
  Other genotoxicity observations included an increased num-                              3- to 4-times lower with cabazitaxel than with docetaxel
  ber of polyploid cells in the in vitro chromosome aberration                            (Table 8) (Sanofi, data on file, 2013). This aligns perfectly
  test, and an increase in micronuclei in the in vivo rat bone                            with the recommended clinical dose of cabazitaxel (25 mg/
  marrow micronucleus test. These were consistent with the                                m2), which is approximately 3- to 4-times lower than that
  pharmacologic activity of a microtubule depolymerization                                of docetaxel (75–100 mg/m2).
  inhibitor, and have been observed previously with paclitaxel
  (Sanofi, data on file, 2010).71                                                         Clinical development
      Cabazitaxel did not affect the mating performance or                                The safety and efficacy of cabazitaxel have been evaluated
  fertility of male or female rats, but did result in degenera-                           in a number of clinical studies,10,72–76 including the pivotal
  tion of the male reproductive system after repeated dosing.                             randomized Phase III TROPIC study that led to the approval


  Table 7 Cabazitaxel preclinical toxicology data summary: NOEL (mg/kg/day) for central and peripheral neurotoxicity in mice and
  rats
  Dosing regimen                                  Mice                                                                              Rats
  Parameters                                      Single-dose                   5-day         Weekly        Five-cycle              Single-dose                Ten-cycle
  Duration of infusion                            1 min            1 hr         1 min         1 min         1 hr                    1 min                      1 hr
  NOEL for peripheral neurotoxicity               10               15           3             5             5                       ,2.5                       ,1
  NOEL for central neurotoxicity                  10               10           .7            5             10                      .10                        .10/20
  Notes: A cycle consisted of one administration every 3 weeks. Sanofi, data on file, 2010.
  Abbreviation: NOEL, no-observable effect level.




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A                   Brain                                                           activity of cabazitaxel in a wide range of docetaxel-resistant
                                                                                    cell lines and tumor xenografts.24
                                                  Ventricle
                                                                                         In two Phase I dose-finding studies, cabazitaxel was
                                                                                    administered to patients with advanced solid tumors as a
                                                                                    1-hour infusion every 3 weeks.72,74 In both of these studies, the
                                                  Vacuoles
                                                                                    dose-limiting toxicities were hematologic toxicity (primarily
                                                                                    neutropenia) and diarrhea, and similar cabazitaxel dosing
          Control           Cabazitaxel
                                                                                    was recommended for subsequent clinical investigations
B                                                                                   (20 mg/m2 and 25 mg/m2).
                                                                                         The clinical PK profile of cabazitaxel is similar to that
                                                                                    of docetaxel, displaying linear PK over tested dose ranges
              Cerebellum
                                                                                    and a triphasic elimination profile.9,62,72,74 A population PK
                                                                                    model for cabazitaxel was developed using pooled data from
                                                                Cerebrum
                                                                                    170 patients who participated in five Phase I–III clinical
                                                                                    trials,78 which revealed a PK profile comprising rapid initial
                                                                                    and intermediate phases (population half-lives of 4.4 minutes
                                                                                    and 1.6 hours, respectively) followed by a long terminal
                                                                                    phase (population half-life = 95.1 hours).9,10,72–75 Compared
                                                                                    with docetaxel, cabazitaxel demonstrated a longer terminal
                                                                                    half-life, higher plasma clearance (population PK estimate
         Fourth ventricle
                                     Lateral ventricle
                                                                                    48.5 L/h; 26.4 L/h/m2 for a median body surface area [BSA]
                                                                                    of 1.84 m2), and greater mean volume of distribution at
                                                                                    steady state (population PK estimate 4,870 L; 2,640 L/m2
                                                                                    for a median BSA of 1.84 m2).9,78
                                                                                         Population PK modeling has shown that a three-
Figure 5 Mouse brain histopathology and autoradiography.                            ­c ompartment structural kinetic model with first-order
Notes: (A) Brain histopathology of control mouse and treated mouse following a
single intravenous infusion of cabazitaxel at 30 mg/kg. (B) Autoradioluminography
                                                                                     elimination from the central compartment best fits the
at 0.25 hours in female CD2F1/CrlBR mouse brain following a single 45-second         concentration–time prof ile of both cabazitaxel 78 and
intravenous infusion of 14C-cabazitaxel at 15 mg/m2. Sanofi, data on file, 1999.
                                                                                     docetaxel.79 However, PK modeling (using estimates of pop-
                                                                                     ulation intercompartmental constants) showed the presence
of cabazitaxel for the treatment of patients with mCRPC who                          of a deeper peripheral compartment for cabazitaxel than for
had previously received docetaxel therapy.10–12                                      docetaxel. This deeper compartment is in slow equilibrium
    Several Phase I/II clinical studies were conducted in                            with the central compartment and was the main contributor
patients with advanced solid tumors who had previously                               to the very large steady-state volume of distribution and very
received chemotherapy and in patients with metastatic breast                         long elimination half-life of cabazitaxel. These data suggest
cancer previously treated with taxane therapy.10,72–75,77 Results                    that cabazitaxel is eliminated more slowly than docetaxel.
indicated that cabazitaxel had an acceptable safety profile and                      Mass balance studies in humans suggested that excretion
possible antitumor activity in patients with prior exposure                          is slightly slower for cabazitaxel (76% of the administered
to taxanes. These clinical observations were consistent with                         dose of 14C was recovered in feces, with only approximately
preclinical studies that showed the marked antiproliferative                         4% recovered in the urine over 2 weeks)34 than for docetaxel
                                                                                     (80% of the administered dose of 14C was excreted in the
Table 8 Comparison of HNLDs (mg/kg) in single-dose toxicity                          feces, with approximately 5% recovered in the urine over
studies in mice, rats, and dogs with cabazitaxel and docetaxel
                                                                                     7 days).80 However, the reported slower elimination/excretion
                                HNLD as single dose (mg/kg)                          profile observed for cabazitaxel has no appreciable impact on
                                Mice                     Rats              Dogs
                                                                                     observed adverse events, as there is no evidence of delayed
Cabazitaxel                     30                       2.5               0.5
                                                                                     or cumulative toxicity with cabazitaxel administration.
Docetaxel                       95                       10                1.5
Note: Sanofi, data on file, 2013.
                                                                                         The population data showed that BSA was the only evalu-
Abbreviation: HNLD, highest non-lethal dose.                                         ated factor that impacted cabazitaxel PK, with no need for



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  dose alteration in special populations (based on age, sex, race,    were more likely to have a dose reduction (12% versus 4%)
  and mild-to-moderate renal impairment).9,78 Furthermore,            or treatment delay (28% versus 15%).10 The most frequent
  concurrent administration of cabazitaxel with prednisone or         cause of treatment-related death in the cabazitaxel arm was
  prednisolone (unpublished data), or with capecitabine, did          neutropenia and associated complications,10 and, as such,
  not impact its PK profile.9,76                                      proactive management of hematologic adverse events is
                                                                      recommended.9,11,12 Prophylactic use of granulocyte colony-
  Phase III TROPIC study                                              stimulating factor (G-CSF) was not permitted in the TROPIC
  Based on the promising results reported from early-phase clini-     study, but may also be beneficial for the management of
  cal studies, including antitumor activity in docetaxel-refractory   neutropenia.9,11,12 Indeed, in global compassionate-use and
  mCRPC, cabazitaxel was compared with mitoxantrone in a ran-         early-access programs for cabazitaxel, in which G-CSF
  domized open-label Phase III trial (TROPIC; NCT00417079)            use was recommended as per American Society of Clinical
  in 755 patients with mCRPC that had progressed on previous          Oncology (ASCO) guidelines,81 a similar incidence of neu-
  docetaxel-based therapy.10,74,75 Patients were randomized to        tropenic complications in patients with prophylactic G-CSF
  cabazitaxel IV 25 mg/m2 (n=378) or mitoxantrone 12 mg/m2            use and in patients without G-CSF use at baseline suggests
  (n=377) administered every 3 weeks, both in combination with        that adequate risk mitigation of such hematological adverse
  oral prednisone (or prednisolone) 10 mg daily.10                    events can be achieved with G-CSF in patients at risk of
      Patients receiving cabazitaxel plus prednisone/­                developing neutropenia.82
  prednisolone had a significantly longer median overall                  Based on the positive results from this study, cabazitaxel
  survival compared with mitoxantrone (15.1 months versus             was approved for use in combination with prednisone by the
  12.7 months), corresponding to a 30% reduction in the risk of       US Food and Drugs Administration, European Medicines
  death (hazard ratio 0.70, 95% confidence interval 0.59–0.83;        Agency, and other national health authorities for the treat-
  P0.0001);10 this was the first demonstration of a survival         ment of patients with metastatic hormone-refractory prostate
  advantage for any agent in the second-line setting. The             cancer previously treated with a docetaxel-containing treat-
  cabazitaxel arm also experienced longer median progression-         ment regimen.11,12
  free survival (2.8 months versus 1.4 months; hazard ratio
  0.74, 95% confidence interval 0.64–0.86; P0.0001) and a            Conclusion
  higher rate of objective tumor response (14.4% versus 4.4%;         Cabazitaxel may have clinical potential in a broader range
  P=0.0005) and prostate-specific antigen response (39.2%             of patient populations compared with first-generation tax-
  versus 17.8%; P=0.0002).                                            anes, as shown by demonstrated in vivo antitumor activity
      The most common adverse events associated with                  in tumors with innate or acquired resistance to docetaxel,
  cabazitaxel were hematologic, with grade 3 neutropenia,            CNS tumors, and pediatric tumors. In clinical studies to
  leukopenia, and anemia occurring in 82%, 68%, and 11%               date, cabazitaxel confirmed its antitumor activity and dem-
  of patients, respectively. Diarrhea (6%) was the most fre-          onstrated a safety profile that can be managed well with
  quent nonhematologic grade 3 adverse event.10 Peripheral           appropriate therapy, and this has been confirmed in real-
  neuropathy, an adverse event observed in preclinical studies        world safety studies. Results from the Phase III TROPIC
  of taxanes in rodents as well as in clinical studies of other       trial led to the approval of cabazitaxel in patients with
  taxanes (Sanofi, data on file, 2010),25,62,63 occurred in 14% of    mCRPC who have received prior docetaxel‑based therapy. As
  patients receiving cabazitaxel; however, grade 3 peripheral         such, cabazitaxel is one of the increasing number of agents
  neuropathy was rare, occurring in just three patients (1%).10       available for the treatment of mCRPC. While the optimal
  This compares favorably with first-generation taxanes,              sequence of agents is yet to be definitively determined, given
  with reported incidence of grade 3/4 sensory neuropathy of          the favorable efficacy and tolerability profile of cabazitaxel,
  0%–7% for docetaxel and 2%–33% for paclitaxel in Phase III          it is likely to continue to play a considerable role in the
  clinical studies in a number of tumor types.64–69 If neuropathy     mCRPC treatment paradigm.
  develops, treatment should be delayed until the improvement             Cabazitaxel is also under clinical investigation in a
  of symptoms, and dose reduction is recommended for per-             number of studies and indications, including in the Phase III
  sistent cases of grade 2 severity.11 More patients receiving       PROSELICA trial, which is evaluating a reduced dose of
  cabazitaxel died within 30 days of the last infusion compared       cabazitaxel (20 mg/m2) compared with the standard dose
  with mitoxantrone (5% versus 2%), and patients in this arm          25 mg/m2 (NCT01308580), and the Phase III FIRSTANA


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  Supplementary material

                                                               C10-ethers most favorable on RCL
                                                              Longer alkyl ether � Toxicity increased

                                                                                                                C7-ethers most favorable on RCL
                                                                 O                  CH3
                                                                                                      CH3       C7-esters less active than docetaxel
                          C3'-Boc replacement                                       O         O
                                                                                                  O
                                                             O       NH   O
                          � Activity decreased
                                                                              O
                                                                      OH                      H
                            C3'-phenyl replacement                                HO                     O
                                                                                   O      O       O             Oxetane modification
                            � Activity modulation
                              with no gain on RCL                                                               � Activity decreased
                                                                                                  O
                                                           Cabazitaxel
                                                                                                        C2-benzoate / C4-acetate modification
                                                                                                        � Activity modulation with no gain on RCL

  Figure S1 Structure–activity relationships for cabazitaxel.
  Note: Adapted by permission from John Wiley and Sons © 2013 Wiley-VCH Verlag GmbH & Co. KGaA: Bouchard H, Semiond D, Risse ML, Vrignaud P. Novel taxanes:
  Cabazitaxel case study. In: Fischer J, Ganellin CR, Rotella DP, edi­tors. Analogue-Based Drug Discovery III, first edition.Weinheim, Germany. Wiley-VCH Verlag GmbH &
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  Abbreviation: RCL, resistant cell line.




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                      EXHIBIT FF
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1                                                                             HY:LXX
2                                                            PRESCRIBING INFORMATION
3    HYCAMTIN®
4    (topotecan hydrochloride)
5    For Injection
6    FOR INTRAVENOUS USE

 7   WARNING
 8      HYCAMTIN (topotecan hydrochloride) for Injection should be administered under the
 9   supervision of a physician experienced in the use of cancer chemotherapeutic agents.
10   Appropriate management of complications is possible only when adequate diagnostic and
11   treatment facilities are readily available.
12      Therapy with HYCAMTIN should not be given to patients with baseline neutrophil counts of
13   less than 1,500 cells/mm3. In order to monitor the occurrence of bone marrow suppression,
14   primarily neutropenia, which may be severe and result in infection and death, frequent peripheral
15   blood cell counts should be performed on all patients receiving HYCAMTIN.

16   DESCRIPTION
17      HYCAMTIN (topotecan hydrochloride) is a semi-synthetic derivative of camptothecin and is
18   an anti-tumor drug with topoisomerase I-inhibitory activity.
19      HYCAMTIN for Injection is supplied as a sterile lyophilized, buffered, light yellow to
20   greenish powder available in single-dose vials. Each vial contains topotecan hydrochloride
21   equivalent to 4 mg of topotecan as free base. The reconstituted solution ranges in color from
22   yellow to yellow-green and is intended for administration by intravenous infusion.
23      Inactive ingredients are mannitol, 48 mg, and tartaric acid, 20 mg. Hydrochloric acid and
24   sodium hydroxide may be used to adjust the pH. The solution pH ranges from 2.5 to 3.5.
25      The chemical name for topotecan hydrochloride is (S)-10-[(dimethylamino)methyl]-4-ethyl-
26   4,9-dihydroxy-1H-pyrano[3’,4’:6,7] indolizino [1,2-b]quinoline-3,14-(4H,12H)-dione
27   monohydrochloride. It has the molecular formula C23H23N3O5•HCl and a molecular weight of
28   457.9.
29      Topotecan hydrochloride has the following structural formula:




30
31     It is soluble in water and melts with decomposition at 213° to 218°C.




                                                     1

                                                                            AVENTIS EXHIBIT 2206
                                                                            Mylan v. Aventis IPR2016-00712
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32     CLINICAL PHARMACOLOGY
33     Mechanism of Action: Topoisomerase I relieves torsional strain in DNA by inducing
34     reversible single strand breaks. Topotecan binds to the topoisomerase I-DNA complex and
35     prevents religation of these single strand breaks. The cytotoxicity of topotecan is thought to be
36     due to double strand DNA damage produced during DNA synthesis, when replication enzymes
37     interact with the ternary complex formed by topotecan, topoisomerase I, and DNA. Mammalian
38     cells cannot efficiently repair these double strand breaks.
39     Pharmacokinetics: The pharmacokinetics of topotecan have been evaluated in cancer patients
40     following doses of 0.5 to 1.5 mg/m2 administered as a 30-minute infusion. Topotecan exhibits
41     multiexponential pharmacokinetics with a terminal half-life of 2 to 3 hours. Total exposure
42     (AUC) is approximately dose-proportional. Binding of topotecan to plasma proteins is about
43     35%.
44        Metabolism and Elimination: Topotecan undergoes a reversible pH dependent hydrolysis
45     of its lactone moiety; it is the lactone form that is pharmacologically active. At pH ≤4, the
46     lactone is exclusively present, whereas the ring-opened hydroxy-acid form predominates at
47     physiologic pH. In vitro studies in human liver microsomes indicate topotecan is metabolized to
48     an N-demethylated metabolite. The mean metabolite:parent AUC ratio was about 3% for total
49     topotecan and topotecan lactone following IV administration.
50        Renal clearance is an important determinant of topotecan elimination (see Special
51     Populations: Renal Impairment).
52        In a mass balance/excretion study in 4 patients with solid tumors, the overall recovery of total
53     topotecan and its N-desmethyl metabolite in urine and feces over 9 days averaged 73.4 ± 2.3% of
54     the administered IV dose. Mean values of 50.8 ± 2.9% as total topotecan and 3.1 ± 1.0% as N-
55     desmethyl topotecan were excreted in the urine following IV administration. Fecal elimination of
56     total topotecan accounted for 17.9 ± 3.6% while fecal elimination of N-desmethyl topotecan was
57     1.7 ±0.6%. An O-glucuronidation metabolite of topotecan and N-desmethyl topotecan has been
58     identified in the urine. These metabolites, topotecan-O-glucuronide and N-desmethyl topotecan-
59     O-glucuronide, were less than 2% of the administered dose.
60     Special Populations: Gender: The overall mean topotecan plasma clearance in male patients
61     was approximately 24% higher than that in female patients, largely reflecting difference in body
62     size.
63        Geriatrics: Topotecan pharmacokinetics have not been specifically studied in an elderly
64     population, but population pharmacokinetic analysis in female patients did not identify age as a
65     significant factor. Decreased renal clearance, which is common in the elderly, is a more
66     important determinant of topotecan clearance (see PRECAUTIONS and DOSAGE AND
67     ADMINISTRATION).
68        Race: The effect of race on topotecan pharmacokinetics has not been studied.
69        Renal Impairment: In patients with mild renal impairment (creatinine clearance of 40 to
70     60 mL/min.), topotecan plasma clearance was decreased to about 67% of the value in patients
71     with normal renal function. In patients with moderate renal impairment (Clcr of 20 to


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 72     39 mL/min.), topotecan plasma clearance was reduced to about 34% of the value in control
 73     patients, with an increase in half-life. Mean half-life, estimated in 3 renally impaired patients,
 74     was about 5.0 hours. Dosage adjustment is recommended for these patients (see DOSAGE AND
 75     ADMINISTRATION).
 76        Hepatic Impairment: Plasma clearance in patients with hepatic impairment (serum
 77     bilirubin levels between 1.7 and 15.0 mg/dL) was decreased to about 67% of the value in patients
 78     without hepatic impairment. Topotecan half-life increased slightly, from 2.0 hours to 2.5 hours,
 79     but these hepatically impaired patients tolerated the usual recommended topotecan dosage
 80     regimen (see DOSAGE AND ADMINISTRATION).
 81     Drug Interactions: Pharmacokinetic studies of the interaction of topotecan with concomitantly
 82     administered medications have not been formally investigated. In vitro inhibition studies using
 83     marker substrates known to be metabolized by human P450 CYP1A2, CYP2A6, CYP2C8/9,
 84     CYP2C19, CYP2D6, CYP2E, CYP3A, or CYP4A or dihydropyrimidine dehydrogenase indicate
 85     that the activities of these enzymes were not altered by topotecan. Enzyme inhibition by
 86     topotecan has not been evaluated in vivo.
 87        Administration of cisplatin (60 or 75 mg/m2 on Day 1) before topotecan (0.75 mg/m2/day on
 88     Days 1-5 in 9 patients with ovarian cancer had no significant effect on the Cmax and AUC of
 89     total topotecan.
 90        Topotecan had no effect on the pharmacokinetics of free platinum in 15 patients with ovarian
 91     cancer who were administered cisplatin 50 mg/m2 (n = 9) or 75 mg/m2 (n = 6) on day 2 after
 92     paclitaxel 110 mg/m2 on day 1 before topotecan 0.3 mg/m2 IV daily on days 2-6. Topotecan had
 93     no effect on dose-normalized (60 mg/m2) Cmax values of free platimun in 13 patients with ovarian
 94     cancer who were administered 60 mg/m2 (n = 10) or 75 mg/m2 (n = 3) cisplatin on day 1 before
 95     topotecan 0.75 mg/m2 IV daily on days 1-5.
 96        No pharmacokinetic data are available following topotecan (0.75 mg/m2/day for 3 consecutive
 97     days) and cisplatin (50 mg/m2/day on day 1) in patients with cervical cancer.
 98     Pharmacodynamics: The dose-limiting toxicity of topotecan is leukopenia. White blood cell
 99     count decreases with increasing topotecan dose or topotecan AUC. When topotecan is
100     administered at a dose of 1.5 mg/m2/day for 5 days, an 80% to 90% decrease in white blood cell
101     count at nadir is typically observed after the first cycle of therapy.

102     CLINICAL STUDIES
103     Ovarian Cancer: HYCAMTIN was studied in 2 clinical trials of 223 patients given topotecan
104     with metastatic ovarian carcinoma. All patients had disease that had recurred on, or was
105     unresponsive to, a platinum-containing regimen. Patients in these 2 studies received an initial
106     dose of 1.5 mg/m2 given by intravenous infusion over 30 minutes for 5 consecutive days, starting
107     on day 1 of a 21-day course.
108        One study was a randomized trial of 112 patients treated with HYCAMTIN (1.5 mg/m2/day ×
109     5 days starting on day 1 of a 21-day course) and 114 patients treated with paclitaxel (175 mg/m2
110     over 3 hours on day 1 of a 21-day course). All patients had recurrent ovarian cancer after a



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111     platinum-containing regimen or had not responded to at least 1 prior platinum-containing
112     regimen. Patients who did not respond to the study therapy, or who progressed, could be given
113     the alternative treatment.
114        Response rates, response duration, and time to progression are shown in Table 1.
115
116     Table 1. Efficacy of HYCAMTIN Versus Paclitaxel in Ovarian Cancer
                                                           HYCAMTIN                   Paclitaxel
         Parameter                                            (n = 112)                (n = 114)
         Complete response rate                                  5%                       3%
         Partial response rate                                   16%                      11%
         Overall response rate                                   21%                      14%
         95% Confidence interval                             13 to 28%                 8 to 20%
                            (p-value)                                        (0.20)
                            *
         Response duration (weeks)                              n = 23                   n = 16
         Median                                                  25.9                     21.6
         95% Confidence interval                            22.1 to 32.9             16.0 to 34.0
         hazard-ratio
           (HYCAMTIN:paclitaxel)                                              0.78
                            (p-value)                                        (0.48)
         Time to progression (weeks)
         Median                                                  18.9                     14.7
         95% Confidence interval                            12.1 to 23.6             11.9 to 18.3
         hazard-ratio
           (HYCAMTIN:paclitaxel)                                              0.76
                            (p-value)                                        (0.07)
         Survival (weeks)
         Median                                                  63.0                     53.0
         95% Confidence interval                            46.6 to 71.9             42.3 to 68.7
         hazard-ratio
           (HYCAMTIN:paclitaxel)                                              0.97
                            (p-value)                                        (0.87)
117     * The calculation for duration of response was based on the interval between first response and
118       time to progression.
119
120        The median time to response was 7.6 weeks (range 3.1 to 21.7) with HYCAMTIN compared
121     to 6.0 weeks (range 2.4 to 18.1) with paclitaxel. Consequently, the efficacy of HYCAMTIN may
122     not be achieved if patients are withdrawn from treatment prematurely.
123        In the crossover phase, 8 of 61 (13%) patients who received HYCAMTIN after paclitaxel had
124     a partial response and 5 of 49 (10%) patients who received paclitaxel after HYCAMTIN had a
125     response (2 complete responses).


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126        HYCAMTIN was active in ovarian cancer patients who had developed resistance to
127     platinum-containing therapy, defined as tumor progression while on, or tumor relapse within
128     6 months after completion of, a platinum-containing regimen. One complete and 6 partial
129     responses were seen in 60 patients, for a response rate of 12%. In the same study, there were no
130     complete responders and 4 partial responders on the paclitaxel arm, for a response rate of 7%.
131        HYCAMTIN was also studied in an open-label, non-comparative trial in 111 patients with
132     recurrent ovarian cancer after treatment with a platinum-containing regimen, or who had not
133     responded to 1 prior platinum-containing regimen. The response rate was 14% (95% CI = 7% to
134     20%). The median duration of response was 22 weeks (range 4.6 to 41.9 weeks). The time to
135     progression was 11.3 weeks (range 0.7 to 72.1 weeks). The median survival was 67.9 weeks
136     (range 1.4 to 112.9 weeks).
137     Small Cell Lung Cancer: HYCAMTIN was studied in 426 patients with recurrent or
138     progressive small cell lung cancer in 1 randomized, comparative study and in 3 single-arm
139     studies.
140        Randomized Comparative Study: In a randomized, comparative, Phase 3 trial,
141     107 patients were treated with HYCAMTIN (1.5 mg/m2/day × 5 days starting on day 1 of a
142     21-day course) and 104 patients were treated with CAV (1,000 mg/m2 cyclophosphamide,
143     45 mg/m2 doxorubicin, 2 mg vincristine administered sequentially on day 1 of a 21-day course).
144     All patients were considered sensitive to first-line chemotherapy (responders who then
145     subsequently progressed ≥60 days after completion of first-line therapy). A total of 77% of
146     patients treated with HYCAMTIN and 79% of patients treated with CAV received
147     platinum/etoposide with or without other agents as first-line chemotherapy.
148        Response rates, response duration, time to progression, and survival are shown in Table 2.
149




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150     Table 2. Efficacy of HYCAMTIN Versus CAV (cyclophosphamide-doxorubicin-vincristine)
151     in Small Cell Lung Cancer Patients Sensitive to First-Line Chemotherapy
                                                             HYCAMTIN                       CAV
          Parameter                                            (n = 107)                 (n = 104)
          Complete response rate                                   0%                        1%
          Partial response rate                                   24%                       17%
          Overall response rate                                   24%                       18%
          Difference in overall response rates                                  6%
          95% Confidence interval of the difference                        (–6 to 18%)
                             *
          Response duration (weeks)                              n = 26                    n = 19
          Median                                                  14.4                      15.3
          95% Confidence interval                             13.1 to 18.0              13.1 to 23.1
          hazard-ratio
            (HYCAMTIN:CAV) (95% CI)                                     1.42 (0.73 to 2.76)
                             (p-value)                                         (0.30)
          Time to progression (weeks)
          Median                                                  13.3                      12.3
          95% Confidence interval                             11.4 to 16.4              11.0 to 14.1
          hazard-ratio
            (HYCAMTIN:CAV) (95% CI)                                     0.92 (0.69 to 1.22)
                             (p-value)                                         (0.55)
          Survival (weeks)
          Median                                                  25.0                      24.7
          95% Confidence interval                             20.6 to 29.6              21.7 to 30.3
          hazard-ratio
            (HYCAMTIN:CAV) (95% CI)                                     1.04 (0.78 to 1.39)
                             (p-value)                                         (0.80)
        *
152        The calculation for duration of response was based on the interval between first response and
153        time to progression.
154
155        The time to response was similar in both arms: HYCAMTIN median of 6 weeks (range 2.4 to
156     15.7) versus CAV median 6 weeks (range 5.1 to 18.1).
157        Changes on a disease-related symptom scale in patients who received HYCAMTIN or who
158     received CAV are presented in Table 3. It should be noted that not all patients had all symptoms,
159     nor did all patients respond to all questions. Each symptom was rated on a 4-category scale with
160     an improvement defined as a change in 1 category from baseline sustained over 2 courses.
161     Limitations in interpretation of the rating scale and responses preclude formal statistical analysis.
162




                                                          6
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163     Table 3. Percentage of Patients With Symptom Improvement*: HYCAMTIN Versus CAV
164     in Patients With Small Cell Lung Cancer
                                                   HYCAMTIN                           CAV
                                                      (n = 107)                     (n = 104)
                                                   †                              †
          Symptom                                n              (%)             n             (%)
          Shortness of breath                    68             (28)            61             (7)
          Interference with daily activity       67             (27)            63            (11)
          Fatigue                                70             (23)            65             (9)
          Hoarseness                             40             (33)            38            (13)
          Cough                                  69             (25)            61            (15)
          Insomnia                               57             (33)            53            (19)
          Anorexia                               56             (32)            57            (16)
          Chest pain                             44             (25)            41            (17)
          Hemoptysis                             15             (27)            12            (33)
        *
165         Defined as improvement sustained over at least 2 courses compared to baseline.
        †
166         Number of patients with baseline and at least 1 post-baseline assessment.
167
168         Single-Arm Studies: HYCAMTIN was also studied in 3 open-label, non-comparative trials
169     in a total of 319 patients with recurrent or progressive small cell lung cancer after treatment with
170     first-line chemotherapy. In all 3 studies, patients were stratified as either sensitive (responders
171     who then subsequently progressed ≥90 days after completion of first-line therapy) or refractory
172     (no response to first-line chemotherapy or who responded to first-line therapy and then
173     progressed within 90 days of completing first-line therapy). Response rates ranged from 11% to
174     31% for sensitive patients and 2% to 7% for refractory patients. Median time to progression and
175     median survival were similar in all 3 studies and the comparative study.
176     Cervical Cancer: In a comparative trial, 147 eligible women were randomized to HYCAMTIN
177     (0.75 mg/m2/day IV over 30 minutes × 3 consecutive days starting on day 1 of a 21-day course)
178     plus cisplatin (50 mg/m2 on day 1) and 146 eligible women were randomized to cisplatin
179     (50 mg/m2 IV on day 1 of a 21-day course). All patients had histologically confirmed Stage IV-
180     B, recurrent, or persistent carcinoma of the cervix considered not amenable to curative treatment
181     with surgery and/or radiation. Fifty six percent (56%) of patients treated with HYCAMTIN plus
182     cisplatin and 56% of patients treated with cisplatin had received prior cisplatin with or without
183     other agents as first-line chemotherapy.
184         Median survival of eligible patients in the HYCAMTIN plus cisplatin treatment arm was 9.4
185     months (95% CI: 7.9 to 11.9) compared to 6.5 months (95% CI: 5.8 to 8.8) among patients
186     randomized to cisplatin alone with a log rank p-value of 0.033 (significance level was 0.044 after
187     adjusting for the interim analysis). The unadjusted hazard ratio for overall survival was 0.76
188     (95% CI: 0.59 to 0.98).
189



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190     Figure 1. Overall Survival Curves Comparing HYCAMTIN plus Cisplatin versus Cisplatin
191     Monotherapy in Cervical Cancer Patients




192
193

194     INDICATIONS AND USAGE
195       HYCAMTIN is indicated for the treatment of:
196     • metastatic carcinoma of the ovary after failure of initial or subsequent chemotherapy.
197     • small cell lung cancer sensitive disease after failure of first-line chemotherapy. In clinical
198        studies submitted to support approval, sensitive disease was defined as disease responding to
199        chemotherapy but subsequently progressing at least 60 days (in the Phase 3 study) or at least
200        90 days (in the Phase 2 studies) after chemotherapy (see CLINICAL STUDIES).
201       HYCAMTIN in combination with cisplatin is indicated for the treatment of:
202     • stage IV-B, recurrent, or persistent carcinoma of the cervix which is not amenable to curative
203        treatment with surgery and/or radiation therapy.

204     CONTRAINDICATIONS
205        HYCAMTIN is contraindicated in patients who have a history of hypersensitivity reactions to
206     topotecan or to any of its ingredients. HYCAMTIN should not be used in patients who are


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207     pregnant or breast-feeding, or those with severe bone marrow depression.

208     WARNINGS
209        Bone marrow suppression (primarily neutropenia) is the dose-limiting toxicity of
210     HYCAMTIN. Neutropenia is not cumulative over time. The following data on
211     myelosuppression is based on:
212         • the combined experience of 879 patients with metastatic ovarian cancer or small cell lung
213             cancer treated with HYCAMTIN monotherapy at a dose of 1.5 mg/m2/day x 5 days.
214         • the experience of 140 patients with cervical cancer randomized to receive HYCAMTIN
215             0.75 mg/m2/day on days 1, 2, and 3 plus cisplatin 50 mg/m2 on day 1.
216     Neutropenia:
217         • Ovarian and small cell lung cancer experience: Grade 4 neutropenia (<500 cells/mm3)
218             was most common during course 1 of treatment (60% of patients) and occurred in 39% of
219             all courses, with a median duration of 7 days. The nadir neutrophil count occurred at a
220             median of 12 days. Therapy-related sepsis or febrile neutropenia occurred in 23% of
221             patients, and sepsis was fatal in 1%.
222         • Cervical cancer experience: Grade 3 and grade 4 neutropenia affected 26% and 48% of
223             patients, respectively.
224     Thrombocytopenia:
225         • Ovarian and small cell lung cancer experience: Grade 4 thrombocytopenia
226             (<25,000/mm3) occurred in 27% of patients and in 9% of courses, with a median duration
227             of 5 days and platelet nadir at a median of 15 days. Platelet transfusions were given to
228             15% of patients in 4% of courses.
229         • Cervical cancer experience: Grade 3 and grade 4 thrombocytopenia affected 26% and 7%
230             of patients, respectively.
231     Anemia:
232         • Ovarian and small cell lung cancer experience: Grade 3/4 anemia (<8 g/dL) occurred in
233             37% of patients and in 14% of courses. Median nadir was at day 15. Transfusions were
234             needed in 52% of patients in 22% of courses.
235         • Cervical cancer experience: Grade 3 and grade 4 anemia affected 34% and 6% of
236             patients, respectively.
237        In ovarian cancer, the overall treatment-related death rate was 1%. In the comparative study in
238     small cell lung cancer, however, the treatment-related death rates were 5% for HYCAMTIN and
239     4% for CAV.
240     Monitoring of Bone Marrow Function: HYCAMTIN should be administered only in
241     patients with adequate bone marrow reserves, including baseline neutrophil count of at least
242     1,500 cells/mm3 and platelet count at least 100,000/mm3. Frequent monitoring of peripheral
243     blood cell counts should be instituted during treatment with HYCAMTIN. Patients should not be
244     treated with subsequent courses of HYCAMTIN until neutrophils recover to >1,000 cells/mm3,
245     platelets recover to >100,000 cells/mm3, and hemoglobin levels recover to 9.0 g/dL (with



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246     transfusion if necessary). Severe myelotoxicity has been reported when HYCAMTIN is used in
247     combination with cisplatin (see Drug Interactions).
248     Pregnancy: HYCAMTIN may cause fetal harm when administered to a pregnant woman. The
249     effects of topotecan on pregnant women have not been studied. If topotecan is used during a
250     patient’s pregnancy, or if a patient becomes pregnant while taking topotecan, she should be
251     warned of the potential hazard to the fetus. Fecund women should be warned to avoid becoming
252     pregnant. In rabbits, a dose of 0.10 mg/kg/day (about equal to the clinical dose on a mg/m2 basis)
253     given on days 6 through 20 of gestation caused maternal toxicity, embryolethality, and reduced
254     fetal body weight. In the rat, a dose of 0.23 mg/kg/day (about equal to the clinical dose on a
255     mg/m2 basis) given for 14 days before mating through gestation day 6 caused fetal resorption,
256     microphthalmia, pre-implant loss, and mild maternal toxicity. A dose of 0.10 mg/kg/day (about
257     half the clinical dose on a mg/m2 basis) given to rats on days 6 through 17 of gestation caused an
258     increase in post-implantation mortality. This dose also caused an increase in total fetal
259     malformations. The most frequent malformations were of the eye (microphthalmia,
260     anophthalmia, rosette formation of the retina, coloboma of the retina, ectopic orbit), brain
261     (dilated lateral and third ventricles), skull, and vertebrae.

262     PRECAUTIONS
263     General: Inadvertent extravasation with HYCAMTIN has been associated only with mild local
264     reactions such as erythema and bruising.
265     Information for Patients: As with other chemotherapeutic agents, HYCAMTIN may cause
266     asthenia or fatigue; if these symptoms occur, caution should be observed when driving or
267     operating machinery.
268     Hematology: Monitoring of bone marrow function is essential (see WARNINGS and
269     DOSAGE AND ADMINISTRATION).
270     Carcinogenesis, Mutagenesis, Impairment of Fertility: Carcinogenicity testing of
271     topotecan has not been performed. Topotecan, however, is known to be genotoxic to mammalian
272     cells and is a probable carcinogen. Topotecan was mutagenic to L5178Y mouse lymphoma cells
273     and clastogenic to cultured human lymphocytes with and without metabolic activation. It was
274     also clastogenic to mouse bone marrow. Topotecan did not cause mutations in bacterial cells.
275     Drug Interactions: Concomitant administration of G-CSF can prolong the duration of
276     neutropenia, so if G-CSF is to be used, it should not be initiated until day 6 of the course of
277     therapy, 24 hours after completion of treatment with HYCAMTIN.
278        Myelosuppression was more severe when HYCAMTIN, at a dose of 1.25 mg/m2/day ×
279     5 days, was given in combination with cisplatin at a dose of 50 mg/m2 in Phase 1 studies. In one
280     study, 1 of 3 patients had severe neutropenia for 12 days and a second patient died with
281     neutropenic sepsis.
282        Greater myelosuppression is also likely to be seen when HYCAMTIN is used in combination
283     with other cytotoxic agents, thereby necessitating a dose reduction. However, when combining
284     HYCAMTIN with platinum agents (e.g., cisplatin or carboplatin), a distinct sequence-dependent



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285     interaction on myelosuppression has been reported. Coadministration of a platinum agent on
286     day 1 of HYCAMTIN dosing required lower doses of each agent compared to coadministration
287     on day 5 of the HYCAMTIN dosing schedule.
288        For information on the pharmacokinetics, efficacy, safety, and dosing of HYCAMTIN at a
289     dose of 0.75 mg/m2/day days 1, 2, and 3 in combination with cisplatin 50 mg/m2 on day 1 for
290     cervical cancer, see CLINICAL PHARMACOLOGY, CLINICAL STUDIES, ADVERSE
291     REACTIONS, and DOSAGE AND ADMINISTRATION.
292     Pregnancy: Pregnancy Category D. (See WARNINGS.)
293     Nursing Mothers: It is not known whether the drug is excreted in human milk. Breast-feeding
294     should be discontinued when women are receiving HYCAMTIN (see
295     CONTRAINDICATIONS).
296     Pediatric Use: Safety and effectiveness in pediatric patients have not been established.
297     Geriatric Use: Of the 879 patients with metastatic ovarian cancer or small cell lung cancer in
298     clinical studies of HYCAMTIN, 32% (n = 281) were 65 years of age and older, while 3.8%
299     (n = 33) were 75 years of age and older. Of the 140 patients with stage IVB, relapsed, or
300     refractory cervical cancer in clinical studies of HYCAMTIN who received HYCAMTIN plus
301     cisplatin in the randomized clinical trial, 6% (n = 9) were 65 years of age and older, while 3%
302     (n = 4) were 75 years of age and older. No overall differences in effectiveness or safety were
303     observed between these patients and younger adult patients, and other reported clinical
304     experience has not identified differences in responses between the elderly and younger adult
305     patients, but greater sensitivity of some older individuals cannot be ruled out.
306        There were no apparent differences in the pharmacokinetics of topotecan in elderly patients,
307     once the age-related decrease in renal function was considered (see CLINICAL
308     PHARMACOLOGY).
309        This drug is known to be substantially excreted by the kidney, and the risk of toxic reactions
310     to this drug may be greater in patients with impaired renal function. Because elderly patients are
311     more likely to have decreased renal function, care should be taken in dose selection, and it may
312     be useful to monitor renal function (see DOSAGE AND ADMINISTRATION).

313     ADVERSE REACTIONS
314     Ovarian Cancer and Small Cell Lung Cancer: Data in the following section are based on
315     the combined experience of 453 patients with metastatic ovarian carcinoma, and 426 patients
316     with small cell lung cancer treated with HYCAMTIN. Table 5 lists the principal hematologic
317     toxicities, and Table 6 lists non-hematologic toxicities occurring in at least 15% of patients.
318




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319     Table 5. Summary of Hematologic Adverse Events in Patients Receiving HYCAMTIN
                                                   Patients                Courses
                                                    n = 879                n = 4124
         Hematologic Adverse Event               % Incidence             % Incidence
         Neutropenia
           <1,500 cells/mm3                             97                     81
                            3
           <500 cells/mm                                78                     39
         Leukopenia
           <3,000 cells/mm3                             97                     80
                              3
           <1,000 cells/mm                              32                     11
         Thrombocytopenia
           <75,000/mm3                                  69                     42
                         3
           <25,000/mm                                   27                      9
         Anemia
           <10 g/dL                                     89                     71
           <8 g/dL                                      37                     14
         Platelet transfusions                          15                      4
         RBC transfusions                               52                     22
320




                                               12
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321     Table 6. Summary of Non-hematologic Adverse Events in Patients Receiving HYCAMTIN
                                                          All Grades                 Grade 3                  Grade 4
                                                         % Incidence               % Incidence              % Incidence
          Non-hematologic                            n = 879    n = 4124       n = 879    n = 4124      n = 879    n = 4124
          Adverse Event                              Patients Courses          Patients Courses         Patients Courses
          Infections and infestations
              Sepsis or pyrexia/infection with         43              15           NR          NR           23          7
          neutropenia*
          Metabolism and nutrition disorders
              Anorexia                                  19              9           2            1          <1         <1
          Nervous system disorders
              Headache                                  18              7            1          <1          <1           0
          Respiratory, thoracic, and mediastinal
          disorders
              Dyspnea                                   22            11             5           2           3           1
              Coughing                                  15              7           1           <1           0           0
          Gastrointestinal disorders
              Nausea                                     64            42            7            2           1         <1
              Vomiting                                  45            22            4            1           1         <1
              Diarrhea                                  32            14             3           1           1         <1
              Constipation                              29            15             2           1           1         <1
              Abdominal pain                            22            10             2           1           2         <1
              Stomatitis                                18              8            1          <1          <1         <1
          Skin and subcutaneous tissue
          disorders
              Alopecia                                  49            54          NA           NA          NA         NA
              Rash†                                     16              6           1           <1           0           0
          General disorders and administrative
          site conditions
              Fatigue                                   29            22             5           2           0           0
              Pyrexia                                   28            11            1           <1          <1         <1
              Pain‡                                     23            11            2            1           1         <1
              Asthenia                                  25            13            4            1           2         <1
322     NA = Not applicable
323     NR = Not reported separately
        *
324         Does not include Grade 1 sepsis or pyrexia.
        †
325         Rash also includes pruritus, rash erythematous, urticaria, dermatitis, bullous eruption, and maculopapular rash.
        ‡
326         Pain includes body pain, back pain, and skeletal pain.
327
328       Premedications were not routinely used in these clinical studies.
329     Hematologic: (See WARNINGS.)
330     Nervous System Disorders: Headache (18% of patients) was the most frequently reported
331     neurologic toxicity. Paresthesia occurred in 7% of patients but was generally grade 1.
332     Respiratory, Thoracic, and Mediastinal Disorders: The incidence of grade 3/4 dyspnea
333     was 4% in ovarian cancer patients and 12% in small cell lung cancer patients.
334     Gastrointestinal Disorders: The incidence of nausea was 64% (8% grade 3/4), and vomiting
335     occurred in 45% (6% grade 3/4) of patients (see Table 5). The prophylactic use of antiemetics
336     was not routine in patients treated with HYCAMTIN. Thirty-two percent of patients had diarrhea
337     (4% grade 3/4), 29% constipation (2% grade 3/4), and 22% had abdominal pain (4% grade 3/4).


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338     Grade 3/4 abdominal pain was 6% in ovarian cancer patients and 2% in small cell lung cancer
339     patients.
340     Skin and Subcutaneous Tissue Disorders: Total alopecia (grade 2) occurred in 31% of
341     patients.
342     Hepatobiliary Disorders: Grade 1 transient elevations in hepatic enzymes occurred in 8% of
343     patients. Greater elevations, grade 3/4, occurred in 4%. Grade 3/4 elevated bilirubin occurred in
344     <2% of patients.
345        Table 7 shows the grade 3/4 hematologic and major non-hematologic adverse events in the
346     topotecan/paclitaxel comparator trial in ovarian cancer.
347




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348     Table 7. Comparative Toxicity Profiles for Ovarian Cancer Patients Randomized to
349     Receive HYCAMTIN or Paclitaxel
                                                                      HYCAMTIN             Paclitaxel
                                                             Patients      Courses   Patients     Courses
         Adverse Event                                       n = 112       n = 597   n = 114      n = 589
         Hematologic Grade 3/4                                    %          %         %                %
         Grade 4 neutropenia
          (<500 cells/mm3)                                       80         36        21            9
         Grade 3/4 anemia
          (Hgb <8 g/dL)                                          41         16         6            2
         Grade 4 thrombocytopenia
          (<25,000 plts/mm3)                                     27         10         3           <1
         Pyrexia/Grade 4 neutropenia                             23          6         4            1
         Non-hematologic Grade 3/4                               %          %         %            %
         Infections and infestations
            Documented sepsis                                     5         1          2           <1
            Death related to sepsis                               2        NA          0          NA
         Metabolism and nutrition disorders
           Anorexia                                               4          1         0            0
         Nervous system disorders
           Headache                                               1         <1         2            1
         Respiratory, thoracic, and mediastinal disorders
            Dyspnea                                               6          2         5            1
         Gastrointestinal disorders
           Abdominal pain                                         5          1         4            1
           Constipation                                           5          1         0            0
           Diarrhea                                               6          2         1           <1
           Intestinal obstruction                                 5          1         4            1
           Nausea                                                10          3         2           <1
           Stomatitis                                             1         <1         1           <1
           Vomiting                                              10          2         3           <1
         Hepatobiliary Disorders
           Hepatic enzymes increased*                             1         <1         1           <1
         Skin and subcutaneous tissue disorders
            Rash†                                                 0          0         1           <1
         Musculoskeletal, connective tissue, and bone
         disorders
            Arthralgia                                           1          <1         3           <1
         General disorders and administrative site
         conditions
            Fatigue                                               7          2         6            2
            Malaise                                               2         <1         2           <1


                                                            15
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               Asthenia                                                     5         2              3             1
               Chest pain                                                   2        <1              1            <1
               Myalgia                                                      0         0              3             2
               Pain‡                                                        5         1              7             2
        *
350          Increased hepatic enzymes includes increased SGOT/AST, increased SGPT/ALT, and increased hepatic
351          enzymes.
        †
352          Rash also includes pruritus, rash erythematous, urticaria, dermatitis, bullous eruption, and maculopapular rash.
        ‡
353          Pain includes body pain, skeletal pain, and back pain.
354
355        Premedications were not routinely used in patients randomized to HYCAMTIN, whereas
356     patients receiving paclitaxel received routine pretreatment with corticosteroids,
357     diphenhydramine, and histamine receptor type 2 blockers.
358        Table 8 shows the grade 3/4 hematologic and major non-hematologic adverse events in the
359     topotecan/CAV comparator trial in small cell lung cancer.
360
361     Table 8. Comparative Toxicity Profiles for Small Cell Lung Cancer Patients Randomized
362     to Receive HYCAMTIN or CAV
                                                                          HYCAMTIN                          CAV
                                                                      Patients  Courses          Patients         Courses
            Adverse Event                                             n = 107   n = 446          n = 104          n = 359
            Hematologic Grade 3/4                                       %         %                %                %
            Grade 4 neutropenia
              (<500 cells/mm3)                                             70         38             72             51
            Grade 3/4 anemia
              (Hgb <8 g/dL)                                                42         18             20             7
            Grade 4 thrombocytopenia
              (<25,000 plts/mm3)                                           29         10             5              1
            Pyrexia/Grade 4 neutropenia                                    28          9             26             13
            Non-hematologic Grade 3/4                                      %          %              %              %
            Infections and infestations
               Documented sepsis                                           5          1              5               1
               Death related to sepsis                                     3         NA              1              NA
            Metabolism and nutrition disorders
               Anorexia                                                    3          1              4               2
            Nervous system disorders
               Headache                                                    0          0              2              <1
            Respiratory, thoracic, and mediastinal
            disorders
               Dyspnea                                                     9          5              14             7
               Coughing                                                    2          1              0              0
               Pneumonia                                                   8          2              6              2
            Gastrointestinal disorders
               Abdominal pain                                              6          1              4               2



                                                                      16
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               Constipation                                                1          <1             0              0
               Diarrhea                                                    1          <1             0              0
               Nausea                                                      8           2             6              2
               Stomatitis                                                  2          <1             1             <1
               Vomiting                                                    3          <1             3              1
            Hepatobiliary Disorders
               Increased hepatic enzymes*                                  1          <1             0              0
            Skin and subcutaneous tissue disorders
               Rash†                                                       1          <1             1             <1
            General disorders and administrative site
            conditions
               Fatigue                                                     6          4              10             3
               Asthenia                                                    9          4              7              2
               Pain‡                                                       5          2              7              4
        *
363          Increased hepatic enzymes includes increased SGOT/AST, increased SGPT/ALT, and increased hepatic
364          enzymes.
        †
365          Rash also includes pruritus, rash erythematous, urticaria, dermatitis, bullous eruption, and maculopapular rash.
        ‡
366          Pain includes body pain, skeletal pain, and back pain.
367
368        Premedications were not routinely used in patients randomized to HYCAMTIN, whereas
369     patients receiving CAV received routine pretreatment with corticosteroids, diphenhydramine,
370     and histamine receptor type 2 blockers.
371     Cervical Cancer: In the HYCAMTIN plus cisplatin versus cisplatin comparative trial in
372     cervical cancer patients, the most common dose-limiting toxicity was myelosuppression. Table 9
373     shows the hematologic adverse events and Table 10 shows the non-hematologic adverse events
374     in cervical cancer patients.
375




                                                                      17
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376     Table 9. Hematologic Adverse Events in Cervical Cancer Patients Treated with
377     HYCAMTIN Plus Cisplatin or Cisplatin Monotherapy*
                                                         HYCAMTIN Plus             Cisplatin
          Hematologic Adverse Event                      Cisplatin (n = 140)       (n = 144)
          Anemia
            All grades (Hgb <12 g/dL)                        131 (94%)            130 (90%)
            Grade 3 (Hgb <8-6.5 g/dL)                         47 (34%)             28 (19%)
            Grade 4 (Hgb <6.5 g/dL)                            9 (6% )               5 (3%)
          Leukopenia
            All grades (<3,800 cells/mm3)                    128 (91%)             43 (30%)
                                             3
            Grade 3 (<2,000-1,000 cells/mm )                  58 (41%)               1 (1%)
                                       3
            Grade 4 (<1,000 cells/mm )                        35 (25%)               0 (0%)
          Neutropenia
            All-grades (<2,000 cells/mm3)                    125 (89%)             28 (19%)
                                           3
            Grade 3 (<1,000-500 cells/mm )                    36 (26%)               1 (1%)
                                     3
            Grade 4 (<500 cells/mm )                          67 (48%)               1 (1%)
          Thrombocytopenia
            All grades (<130,000 cells/mm3)                  104 (74%)             21 (15%)
                                               3
            Grade 3 (<50,000-10,000 cells/mm )                36 (26%)               5 (3%)
                                         3
            Grade 4 (<10,000 cells/mm )                       10 (7%)                0 (0%)
        *
378        Includes patients who were eligible and treated.
379




                                                  18
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380     Table 10. Non-hematologic Adverse Events Experienced by ≥5% of Cervical Cancer
381     Patients Treated with HYCAMTIN Plus Cisplatin or Cisplatin Monotherapy*
                                                     HYCAMTIN Plus Cisplatin                                 Cisplatin
                                                                  n = 140                                    n = 144
                                                              †                                          †
            Adverse Event                        All Grades        Grade 3     Grade 4      All Grades         Grade 3   Grade 4
            General disorders and
            administrative site conditions
               Constitutional‡                    96 (69%)         11 (8%)         0         89 (62%)         17 (12%)     0
                   §
               Pain                               82 (59%)        28 (20%)      3 (2%)       72 (50%)         18 (13%)   5 (3%)
            Gastrointestinal disorders
               Vomiting                           56 (40%)        20 (14%)      2 (1%)       53 (37%)          13 (9%)      0
               Nausea                             77 (55%)        18 (13%)      2 (1%)       79 (55%)          13 (9%)      0
               Stomatitis-pharyngitis               8 (6%)         1 (<1%)         0             0                0         0
               Other                              88 (63%)        16 (11%)      4 (3%)       80 (56%)          12 (8%)   3 (2%)
            Dermatology                           67 (48%)         1 (<1%)         0         29 (20%)             0         0
            Metabolic-Laboratory                  55 (39%)         13 (9%)      7 (5%)       44 (31%)         14 (10%)   1 (<1%)
            Genitourinary                         51 (36%)         9 (6%)       9 (6%)       49 (34%)          7 (5%)    7 (5%)
            Nervous system disorders
               Neuropathy                           4 (3%)         1 (<1%)         0           3 (2%)          1 (<1%)      0
               Other                              49 (35%)         3 (2%)      1 (<1%)       43 (30%)          7 (5%)    2 (1%)
            Infection-febrile neutropenia         39 (28%)        21 (15%)      5 (4%)       26 (18%)          11 (8%)      0
            Cardiovascular                        35 (25%)         7 (5%)       6 (4%)       22 (15%)          8 (6%)    3 (2%)
            Hepatic                               34 (24%)         5 (4%)       2 (1%)       23 (16%)          2 (1%)      0
            Pulmonary                             24 (17%)         4 (3%)          0         23 (16%)          5 (3%)    3 (2%)
            Vascular disorders
               Hemorrhage                         21 (15%)         8 (6%)      1 (<1%)       20 (14%)          3 (2%)    1 (<1%)
               Coagulation                          8 (6%)         4 (3%)       3 (2%)        10 (7%)          7 (5%)      0
            Musculoskeletal                       19 (14%)         3 (2%)          0           7 (5%)          1 (<1%)   1 (<1%)
            Allergy-Immunology                      8 (6%)         2 (1%)      1 (<1%)         4 (3%)             0      1 (<1%)
            Endocrine                               8 (6%)            0            0           4 (3%)          2 (1%)      0
            Sexual reproduction function            7 (5%)            0            0          10 (7%)          1 (<1%)     0
         Ocular-visual                      7 (5%)            0                    0           7 (5%)          1 (<1%)      0
382     Data were collected using NCI Common Toxicity Criteria, v. 2.0.
        *
383           Includes patients who were eligible and treated.
        †
384           Grades 1 through 4 only. There were 3 patients who experienced grade 5 deaths with investigator-designated
385           attribution. One was a grade 5 hemorrhage in which the drug-related thrombocytopenia aggravated the event. A
386           second patient experienced bowel obstruction, cardiac arrest, pleural effusion and respiratory failure which were
387           not treatment related but probably aggravated by treatment. A third patient experienced a pulmonary embolism
388           and adult respiratory distress syndrome, the latter was indirectly treatment-related.



                                                                     19
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        ‡
389         Constitutional includes fatigue (lethargy, malaise, asthenia), fever (in the absence of neutropenia), rigors, chills
390         sweating, and weight gain or loss.
        §
391         Pain includes abdominal pain or cramping, arthralgia, bone pain, chest pain (non-cardiac and non-pleuritic),
392         dysmenorrhea, dyspareunia, earache, headache, hepatic pain, myalgia, neuropathic pain, pain due to radiation,
393         pelvic pain, pleuritic pain, rectal or perirectal pain, and tumor pain.
394
395     Postmarketing Reports of Adverse Events: Reports of adverse events in patients taking
396     HYCAMTIN received after market introduction, which are not listed above, include the
397     following:
398        Blood and Lymphatic System Disorders: Rare: Severe bleeding (in association with
399     thrombocytopenia).
400        Immune System Disorders: Infrequent: Allergic manifestations; rare: Anaphylactoid
401     reactions.
402        Skin and Subcutaneous Tissue Disorders: Rare: Angioedema, severe dermatitis,
403     severe pruritus.

404     OVERDOSAGE
405        There is no known antidote for overdosage with HYCAMTIN. The primary anticipated
406     complication of overdosage would consist of bone marrow suppression.
407        One patient on a single-dose regimen of 17.5 mg/m2 given on day 1 of a 21-day cycle had
408     received a single dose of 35 mg/m2. This patient experienced severe neutropenia (nadir of
409     320/mm3) 14 days later but recovered without incident.
410        The LD10 in mice receiving single intravenous infusions of HYCAMTIN was 75 mg/m2 (CI
411     95%: 47 to 97).

412     DOSAGE AND ADMINISTRATION
413     Ovarian Cancer and Small Cell Lung Cancer: Prior to administration of the first course of
414     HYCAMTIN, patients must have a baseline neutrophil count of >1,500 cells/mm3 and a platelet
415     count of >100,000 cells/mm3 The recommended dose of HYCAMTIN is 1.5 mg/m2 by
416     intravenous infusion over 30 minutes daily for 5 consecutive days, starting on day 1 of a 21-day
417     course.
418        In the absence of tumor progression, a minimum of 4 courses is recommended because tumor
419     response may be delayed. The median time to response in 3 ovarian clinical trials was 9 to
420     12 weeks, and median time to response in 4 small cell lung cancer trials was 5 to 7 weeks.
421        In the event of severe neutropenia during any course, the dose should be reduced by
422     0.25 mg/m2 (to 1.25 mg/m2) for subsequent courses. Doses should be similarly reduced if the
423     platelet count falls below 25,000 cells/mm3. Alternatively, in the event of severe neutropenia,
424     G-CSF may be administered following the subsequent course (before resorting to dose reduction)
425     starting from day 6 of the course (24 hours after completion of topotecan administration).
426     Cervical Cancer: Prior to administration of the first course of HYCAMTIN, patients must
427     have a baseline absolute neutrophil count of >1,500 cells/mm3 and a platelet count of >100,000
428     cells/mm3. The recommended dose of HYCAMTIN is 0.75 mg/m2 by intravenous infusion over


                                                                   20
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429     30 minutes daily on days 1, 2, and 3; followed by cisplatin 50 mg/m2 by intravenous infusion on
430     day 1 repeated every 21 days (a 21-day course).
431        Dosage adjustments for subsequent courses of HYCAMTIN in combination with cisplatin are
432     specific for each drug.
433     • In the event of severe febrile neutropenia (defined as <1,000 cells/mm3 with temperature of
434          38.0°C or 100.4°F), the dose of HYCAMTIN should be reduced by 20% to 0.60 mg/m2 for
435          subsequent courses. Doses of HYCAMTIN should be similarly reduced (by 20% to
436          0.60 mg/m2) if the platelet count falls below 10,000 cells/mm3. Alternatively, in the event of
437          severe febrile neutropenia, G-CSF may be administered following the subsequent course
438          (before resorting to dose reduction) starting from day 4 of the course (24 hours after
439          completion of administration of HYCAMTIN). If febrile neutropenia occurs despite the use
440          of G-CSF, the dose of HYCAMTIN should be reduced by another 20% to 0.45 mg/m2 for
441          subsequent courses.
442     • See manufacturer’s prescribing information for cisplatin administration and hydration
443          guidelines and for cisplatin dosage adjustment in the event of hematologic toxicity.
444     Adjustment of Dose in Special Populations: Hepatic Impairment: No dosage
445     adjustment appears to be required for treating patients with impaired hepatic function (plasma
446     bilirubin >1.5 to <10 mg/dL).
447        Renal Functional Impairment: No dosage adjustment of HYCAMTIN appears to be
448     required for treating patients with mild renal impairment (Clcr 40 to 60 mL/min.). Dosage
449     adjustment of HYCAMTIN to 0.75 mg/m2 is recommended for patients with moderate renal
450     impairment (20 to 39 mL/min.). Insufficient data are available in patients with severe renal
451     impairment to provide a dosage recommendation for HYCAMTIN.
452        HYCAMTIN in combination with cisplatin for the treatment of cervical cancer should only be
453     initiated in patients with serum creatinine ≤1.5 mg/dL. In the clinical trial, cisplatin was
454     discontinued for a serum creatinine >1.5 mg/dL. Insufficient data are available regarding
455     continuing monotherapy with HYCAMTIN after cisplatin discontinuation in patients with
456     cervical cancer.
457        Elderly Patients: No dosage adjustment appears to be needed in the elderly other than
458     adjustments related to renal function (see CLINICAL PHARMACOLOGY and
459     PRECAUTIONS).

460     PREPARATION FOR ADMINISTRATION
461     Precautions: HYCAMTIN is a cytotoxic anticancer drug. As with other potentially toxic
462     compounds, HYCAMTIN should be prepared under a vertical laminar flow hood while wearing
463     gloves and protective clothing. If HYCAMTIN solution contacts the skin, wash the skin
464     immediately and thoroughly with soap and water. If HYCAMTIN contacts mucous membranes,
465     flush thoroughly with water.
466     Preparation for Intravenous Administration: Each HYCAMTIN 4-mg vial is
467     reconstituted with 4 mL Sterile Water for Injection. Then the appropriate volume of the



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468     reconstituted solution is diluted in either 0.9% Sodium Chloride Intravenous Infusion or 5%
469     Dextrose Intravenous Infusion prior to administration.
470        Because the lyophilized dosage form contains no antibacterial preservative, the reconstituted
471     product should be used immediately.

472     STABILITY
473        Unopened vials of HYCAMTIN are stable until the date indicated on the package when stored
474     between 20° and 25°C (68° and 77°F) [see USP] and protected from light in the original
475     package. Because the vials contain no preservative, contents should be used immediately after
476     reconstitution.
477        Reconstituted vials of HYCAMTIN diluted for infusion are stable at approximately 20° to
478     25°C (68° to 77°F) and ambient lighting conditions for 24 hours.

479     HOW SUPPLIED
480        HYCAMTIN for Injection is supplied in 4-mg (free base) single-dose vials.
481     NDC 0007-4201-01 (package of 1)
482     NDC 0007-4201-05 (package of 5)
483     Storage: Store the vials protected from light in the original cartons at controlled room
484     temperature between 20° and 25°C (68° and 77°F) [see USP].
485     Handling and Disposal: Procedures for proper handling and disposal of anticancer drugs
486     should be used. Several guidelines on this subject have been published.1-8 There is no general
487     agreement that all of the procedures recommended in the guidelines are necessary or appropriate.

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509


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                     EXHIBIT GG
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                                                                                        The Prostate 52:264 ^268 (2002)




           SWOG-9510: Evaluation of Topotecan in Hormone
          Refractory Prostate Cancer: A Southwest Oncology
                             Group Study
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               BACKGROUND. Prostate cancer is the most common malignancy in American men, and as
               many as 70% of those initially treated for localized disease will ultimately progress and be
               considered candidates to receive therapy for metastatic cancer [1,2]. Although most will
               respond initially to hormone manipulation, essentially all will fail and require additional
               therapy. No standard chemotherapy approach has been shown to prolong survival signifi-
               cantly, and new agents are desperately needed. Topotecan is a new topoisomerase-1 inhibitor
               whose early investigation suggested possible activity in hormone-refractory prostate cancer.
               METHODS. In this phase II trial, patients having failed one or two prior androgen ablative
               therapies were treated with 21-day continuous intravenous infusions of topotecan at a dose of
               0.5 mg/m2 per day every 28 days.
               RESULTS. Twenty-six eligible patients were entered on the study. There were no confirmed
               tumor responses. Median survival was 9 months. The most common toxicities were
               hematologic, with 8 of 24 assessable patients experiencing grade 4 toxicity.
               CONCLUSION. Topotecan infusions at this dose are ineffective in the management of
               hormone-refractory prostate cancer. Prostate 52: 264–268, 2002. # 2002 Wiley-Liss, Inc.

               KEY WORDS:      hormone refractory prostate cancer; topotecan; clinical trial




                  INTRODUCTION
   Prostate cancer is the most common malignancy in             Grant sponsor: National Cancer Institute; Grant numbers: DHHS:
American men and kills approximately 40,000 patients            CA38926, CA32102, CA04919, CA46113, CA20319, CA35431,
each year. Although many men with this tumor will               CA63844, CA35281, CA58861, CA37981, CA45807, CA96429,
have an indolent course and succumb to other pro-               CA12213, CA45560, CA14028, CA76462.
cesses, a large percentage will present with or develop         *Correspondence to: Catherine E. Klein, Denver VAMC, Medical
                                                                Oncology 11B, 1055 Clermont Street, Denver, CO 80220-3808.
metastatic disease after initial therapy and would              E-mail: catherine.klein@med.va.gov
benefit from effective therapy to control metastatic            Received 15 August 2001; Accepted 29 March 2002
disease and its debilitating symptoms [1,2]. In the vast        DOI 10.1002/pros.10118


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                                                                                         AVENTIS EXHIBIT 2207
                                                                                         Mylan v. Aventis IPR2016-00712
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                                                                               Topotecan in Prostate Cancer       265

 majority of such patients, androgen deprivation dra-          topotecan in the treatment of hormone-refractory
 matically improves symptoms and lowers prostate               prostate cancer.
 specific antigen (PSA), but unequivocal evidence that
 endocrine therapy prolongs survival is lacking, and                       PATIENTS AND METHODS
 cure is not a reasonable expectation. The median dura-
 tion of response to androgen ablation is 12–18 months,                         Patient Population
 at which time essentially all responders relapse.                Patients with a SWOG criteria performance status
 Second-line hormonal therapy benefits the minority            of 0–2 and a histologic diagnosis of metastatic adeno-
 of patients. PSA decline or symptom improvement is            carcinoma of the prostate unresponsive or refractory
 documented in 20–25% of men after withdrawal of               to hormone therapy were eligible for the study. They
 antiandrogens, administration of megestrol acetate,           must have failed at least one, but not more than two,
 glucocorticoids, bicalutamide, and ketoconazole, but          prior androgen ablative therapies, and PSA must have
 no survival increase has been documented after any            risen after 1 month after cessation of all hormone
 second-line endocrine therapy [3–5].                          therapy other than maintenance leuprolide. Patients
    Clinical trials of conventional cytotoxic chemother-       were required to have bidimensionally measurable or
 apeutic agents in the treatment of hormone-refractory         evaluable disease. Baseline PSA  20 was considered
 prostate cancer have been disappointing. Yagoda and           evaluable disease. No prior chemotherapeutic agents
 Petrylak [6] reviewed 26 studies completed between            or biologic response modifiers and no concomitant
 1988 and 1991 and found an overall response rate of           radiotherapy were permitted. Eligible patients were
 only approximately 9%, and no indication of any               required to have adequate organ function as defined
 prolongation in average survival. More recent studies         by a granulocyte count > 1,500 mm3 and platelet count
 have combined the most promising of the single                of > 100,000 mm3, normal hepatic function, and a
 agents, including mitoxantrone, estramustine, and tax-        serum creatinine < 1.6 mg/dl. Prior radiation was
 anes. Although these reports suggest that combination         allowed if it encompassed less than 25% of the bone
 chemotherapy may increase the response rate among             marrow volume and had to be completed at least
 hormone-refractory prostate cancer patients, no cur-          3 weeks before entry on the study. Patients with prior
 rent treatment clearly improves survival to any mean-         nonskin malignancies were excluded. All patients
 ingful extent [7,8].                                          gave written, informed consent.
    Topotecan is a semisynthetic analogue of camp-
 tothecin, a plant alkaloid derived from the stem wood                            Treatment Plan
 of the Chinese tree Camptotheca acuminata. Its mecha-
 nism of action is the inhibition of the enzyme topo-             After insertion of a semipermanent venous access
 isomerase I, important in DNA replication where it            device, topotecan was administered as a continuous
 produces reversible single-strand breaks to relieve the       intravenous infusion of 0.5 mg/m2 per day for 21 days,
 torsional strain ahead of the replication fork, allowing      followed by a 7-day rest period. Treatment cycles were
 the free replicating DNA strand to proceed.                   continued at 28-day intervals until disease progression
    In preclinical studies, topotecan demonstrated             (after a minimum of two cycles), unacceptable toxicity,
 activity in chemorefractory murine colon carcinomas,          or patient decision to withdraw. All patients were
 in B16 melanoma, Lewis lung carcinoma and L1210               followed until death.
 leukemia [9,10]. In human tumor cloning assays, it has
 activity against ovary, breast, renal, gastric, and lung                             Toxicity
 carcinoma cells [11,12]. Early data suggest that the            Toxicity was evaluated according to the standard
 drug activity is more related to target enzyme level          Southwest Oncology Group criteria.
 rather than to cell proliferative rate, an indication that
 slower-growing prostate cancer might be susceptible
                                                                                Dose Modif|cations
 to topotecan administration [13]. Phase I studies have
 indicated that topotecan has activity in ovarian, non-           Infusions were suspended for the rest of the cycle
 small cell lung cancer, colorectal, renal cancer, and acute   for ANC < 1,000 mm3, platelet count of < 50,000 mm3,
 leukemia, other tumors often regarded as chemorefrac-         unresolvable Grade 3 toxicity or any Grade 4 toxicity.
 tory [14,15]. Consistent with its known S-phase–specific      Routine, prophylactic use of colony stimulating factors
 mechanism of action, drug delivery by continuous              was prohibited. Dose reduction to 0.4 mg/m2 per day
 infusion in these models is more effective than short-        was undertaken for nadir ANC < 500/mm3, platelet
 term administration [16]. Consequently the South-             count < 50,000/mm3 or any Grade 3 or greater toxicity.
 west Oncology Group initiated a phase II trial to assess      If, after dose reduction, nadir ANC was again
 the activity of continuous intravenous infusion of            < 500/mm3 or platelet count was <50,000/mm3, the
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patient was withdrawn from the protocol therapy. No
                                                             TABLE I. Baseline Demographics for 25 Evaluable
dose escalation was permitted.                               Patients*

                       Study Design                          Median age (range) years               68        (54–83)
                                                             Median PSA (range) ng/ml              135       (20–3724)
   Initially 20 patients were to be accrued. If at least     Mean hematocrit (range)                35.2    (25.2–46.5)
one of the first 20 patients responded, then an addi-        Mean Gleason score (range)              7.2       (6–10)
tional 20 patients would be accrued. Five or more            Gleason score 8–10 (%)                 11          (44)
responses out of 40 patients would be considered evi-        Visceral involvement (%)                6          (24)
dence warranting further study of the regimen, pro-          Performance status 0–1(%)              21          (84)
                                                             Prior orchiectomy (%)                  15          (60)
vided other factors such as toxicity and survival also
                                                             >1 prior hormone (%)                    8          (32)
appeared favorable. This design has a significance
                                                             Prior radiation (%)                    16          (64)
level of 5% and a power of 92%.
                                                             *PSA, prostate specific antigen.
                   Response Criteria
   Response to treatment was assessed after every            chest radiograph was obtained; and one patient did
cycle with PSA level and after every second cycle with       not have a testosterone level obtained within 28 days
radiologic evaluation. Standard solid tumor response         of registration.
criteria were used. Complete response was defined as            The median age was 68.0 years (range, 54–83 years).
the total disappearance of all measurable and evalu-         Eighteen patients were white, 4 were African
able disease, with no new disease, no disease-related        American, 2 were Hispanic, and 1 was Asian. Twenty-
symptoms and no evidence of nonevaluable disease,            one patients had a performance status of 0–1, 4 had
including the resolution of all abnormal serum               performance status of 2. Six patients had visceral
markers and lab values. PSA must have declined               involvement. Median PSA was 135 ng/ml (range, 20–
to < 4.0 ng/ml.                                              3724 ng/ml).
   Partial response was defined only in those with
measurable disease and required a 50% or greater
decrease from baseline in the sum of products of                                      Treatment
perpendicular diameters of all measurable disease, no           Fifteen patients were removed from treatment for
progression of evaluable disease, and no appearance          progressive disease, 7 because of unacceptable toxi-
of new disease.                                              city, 1 patient refused to continue therapy, and
   Progression was defined as a 50% increase or an           2 patients died while on study from causes not
increase of 10 cm2 (whichever was smaller) in the sum        believed to be treatment-related. (One died of heart
of products of all measurable lesions over the smallest      failure 1 day after starting therapy. He had triple vessel
sum obtained, clear worsening of evaluable disease,          coronary disease. The other died of progressive dis-
reappearance of any lesion which had disappeared,            ease.) Of the 15 patients removed from treatment for
the appearance of any new lesion or a 50% increase           progression, 3 had rise in PSA as the only indication of
over minimum PSA obtained. PSA  4ng/ml after                worsening disease. Thirteen patients completed at
previous normalization was also considered to be             least two cycles of therapy (range, 1–6).
progression.

                                                                                        Toxicity
                        RESULTS
                                                                Twenty-four patients could be assessed for toxicity.
                  Demographic Data
                                                             The one patient not assessable for toxicity is the eligible
   A total of 31 patients were entered on the trial          and evaluable patient who died of heart failure 1 day
between November 1, 1996, and January 1, 1998. Of            after initiating therapy, hence no toxicity notation was
these patients, five were ineligible and one was not         done. There were no treatment-related deaths. Eight
analyzable because no protocol treatment was ever            patients experienced grade 4 toxicity (1 epistaxis,
received, for a total of 25 patients to be included in the   6 granulocytopenia, and 1 leukopenia without granu-
analysis of this study (Table I). Patients were ineligible   locytopenia). Eleven patients experienced grade 3 toxi-
for the following reasons: rising PSA in the 42 days         city as their worst grade: most commonly anemia
before registration was not documented in two                (9 patients), thrombocytopenia (8 patients), leukope-
patients; PSA level was obtained over 42 days before         nia (7 patients), and 1 each experienced hematuria,
registration in one patient; in one patient, no prestudy     confusion, infection, and nausea (Table II).
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                                                                              Topotecan in Prostate Cancer               267

                                                            0.5 mg/m2 per day to men with hormone-refractory
 TABLE II. Number of Patients and Degree of Toxicity
                                                            prostate cancer is of no therapeutic benefit and is
                                       Grade                associated with significant, largely hematologic toxi-
                                                            city. The median survival of 9 months in this group,
 Toxicity                      1/2             3       4    somewhat less than seen in similar contemporary
                                                            series, further indicates that topotecan offered no signi-
 Alopecia                       3            0         0
 Anemia                        14            9         0    ficant benefit. A review of the demographic features of
 Confusion                     23            1         0    our patient population at study entry does not reveal
 Diarrhea                      32            0         0    an obvious explanation for the poor response rate seen
 Epistaxis                      2            0         1    in this study. Median age, Gleason score, and intensity
 Fatigue                       13            0         0    of prior therapy are in line with prior SWOG trials.
 Fever                          5            0         0    However, ours is not the first study failing to demon-
 Hematuria                      1            1         0    strate topotecan activity in the treatment of hormone
 Leukopenia                    10            7         5    refractory prostate cancer. Hudes et al. evaluated
 Nausea                        13            1         0    30-min infusions daily for 5 consecutive days in
 Neutropenia                    4            3         6
                                                            37 patients. One response was seen in the first
 Stomatitis                     4            0         0
                                                            14 patients treated, allowing continued accrual, but
 Thrombocytopenia               9            8         0
 Vomiting                       7            0         0    the final reported response rate was only 2.9% [13].
 Weakness                       3            0         0       As anticipated, the major toxicity from topotecan
 Max grade any toxicity         5           11         8    infusion in our study was hematologic. Nearly two
                                                            thirds of assessable patients experienced grade 3 or
                                                            4 hematologic toxicity. Six of 40 administered cycles
                                                            (16%) required dose modification or delay in treat-
                          Response                          ment. Whether growth factor support would allow
                                                            better adherence to treatment dose and schedule is
    Nine patients had inadequate tumor-response
                                                            unknown. One published report of a Phase I study
 assessment and are considered nonresponders. Five
                                                            allowing granulocyte colony stimulating factors sup-
 patients had stable disease, no patient had a docu-
                                                            port in conjunction with 5-daily 30-min topotecan
 mented complete or partial response. Four patients
                                                            infusions, suggests it would not [14]. The relatively
 (16%) had a decline of PSA by 50% from baseline. Only
                                                            young age of our population (median, 68 years) and
 one of these patients had stable disease by standard
                                                            their overall good performance status would indicate
 response criteria. At the time of reporting, all but one
                                                            that patient selection was not an important variable in
 patient have died. The median survival for the group
                                                            our inability to demonstrate activity of topotecan in
 was 9 months.
                                                            this setting. The large number of patients whose re-
                                                            sponse was not adequately assessed is troubling and
                     DISCUSSION
                                                            not readily explained. The baseline demographic fea-
    Effective therapy for hormone-refractory prostate       tures of this group are not significantly different from
 cancer has been elusive; progress in this area has been    the others. Several were removed from the study for
 hampered by a dearth of effective agents and by the        early toxicity before tumor assessment was required. It
 inherent difficulty in measuring tumor response in the     is also possible that the logistics of the study treatment
 majority of prostate cancer patients whose evident         and evaluation with an unfamiliar drug may have
 metastatic disease is limited to bony structures. Re-      been overly burdensome for either the treating physi-
 cently, however, reports have indicated that change in     cians or the patients themselves.
 serum PSA is a reliable indicator of tumor response in        Based on our results, we conclude that topotecan
 patients with hormone refractory prostate cancer [17].     administered as a 21-day continuous infusion every
 In addition, a variety of new agents have been eval-       28 days is an ineffective and moderately toxic treat-
 uated in these patients, and response rates have been      ment for patients with hormone refractory prostate
 encouraging [18,19].                                       cancer.
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                     EXHIBIT HH
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                                                                                                         1

 1                                                                                B1.0 NL 4063 AMP
                                                               ®
 2                                           GEMZAR
 3                                     (GEMCITABINE HCl)
 4                                       FOR INJECTION
 5                                          DESCRIPTION
 6    Gemzar® (gemcitabine HCl) is a nucleoside analogue that exhibits antitumor activity.
 7   Gemcitabine HCl is 2´-deoxy-2´,2´-difluorocytidine monohydrochloride (β-isomer).
 8    The structural formula is as follows:
                                                        NH 2 •HCl

                                                                   N


                                      HO                   N           O
                                                   O
                                                       F

                                             H
                                                OH        F
 9     The empirical formula for gemcitabine HCl is C9H11F2N3O4 • HCl. It has a molecular weight
10   of 299.66.
11     Gemcitabine HCl is a white to off-white solid. It is soluble in water, slightly soluble in
12   methanol, and practically insoluble in ethanol and polar organic solvents.
13     The clinical formulation is supplied in a sterile form for intravenous use only. Vials of Gemzar
14   contain either 200 mg or 1 g of gemcitabine HCl (expressed as free base) formulated with
15   mannitol (200 mg or 1 g, respectively) and sodium acetate (12.5 mg or 62.5 mg, respectively) as
16   a sterile lyophilized powder. Hydrochloric acid and/or sodium hydroxide may have been added
17   for pH adjustment.
18                                    CLINICAL PHARMACOLOGY
19     Gemcitabine exhibits cell phase specificity, primarily killing cells undergoing DNA synthesis
20   (S-phase) and also blocking the progression of cells through the G1/S-phase boundary.
21   Gemcitabine is metabolized intracellularly by nucleoside kinases to the active
22   diphosphate (dFdCDP) and triphosphate (dFdCTP) nucleosides. The cytotoxic effect of
23   gemcitabine is attributed to a combination of two actions of the diphosphate and the triphosphate
24   nucleosides, which leads to inhibition of DNA synthesis. First, gemcitabine diphosphate inhibits
25   ribonucleotide reductase, which is responsible for catalyzing the reactions that generate the
26   deoxynucleoside triphosphates for DNA synthesis. Inhibition of this enzyme by the diphosphate
27   nucleoside causes a reduction in the concentrations of deoxynucleotides, including dCTP.
28   Second, gemcitabine triphosphate competes with dCTP for incorporation into DNA. The
29   reduction in the intracellular concentration of dCTP (by the action of the diphosphate) enhances
30   the incorporation of gemcitabine triphosphate into DNA (self-potentiation). After the
31   gemcitabine nucleotide is incorporated into DNA, only one additional nucleotide is added to the
32   growing DNA strands. After this addition, there is inhibition of further DNA synthesis. DNA
33   polymerase epsilon is unable to remove the gemcitabine nucleotide and repair the growing DNA
34   strands (masked chain termination). In CEM T lymphoblastoid cells, gemcitabine induces
35   internucleosomal DNA fragmentation, one of the characteristics of programmed cell death.

                                                                             AVENTIS EXHIBIT 2208
                                                                             Mylan v. Aventis IPR2016-00712
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                                                                                                          2

36       Gemcitabine demonstrated dose-dependent synergistic activity with cisplatin in vitro. No
37     effect of cisplatin on gemcitabine triphosphate accumulation or DNA double-strand breaks was
38     observed. In vivo, gemcitabine showed activity in combination with cisplatin against the LX-1
39     and CALU-6 human lung xenografts, but minimal activity was seen with the NCI-H460 or
40     NCI-H520 xenografts. Gemcitabine was synergistic with cisplatin in the Lewis lung murine
41     xenograft. Sequential exposure to gemcitabine 4 hours before cisplatin produced the greatest
42     interaction.
43       Human Pharmacokinetics — Gemcitabine disposition was studied in 5 patients who received a
44     single 1000 mg/m2/30 minute infusion of radiolabeled drug. Within one (1) week, 92% to
45     98% of the dose was recovered, almost entirely in the urine. Gemcitabine (<10%) and the
46     inactive uracil metabolite, 2´-deoxy-2´,2´-difluorouridine (dFdU), accounted for 99% of the
47     excreted dose. The metabolite dFdU is also found in plasma. Gemcitabine plasma protein
48     binding is negligible.
49       The pharmacokinetics of gemcitabine were examined in 353 patients, about 2/3 men, with
50     various solid tumors. Pharmacokinetic parameters were derived using data from patients treated
51     for varying durations of therapy given weekly with periodic rest weeks and using both short
52     infusions (<70 minutes) and long infusions (70 to 285 minutes). The total Gemzar dose varied
53     from 500 to 3600 mg/m2.
54       Gemcitabine pharmacokinetics are linear and are described by a 2-compartment model.
55     Population pharmacokinetic analyses of combined single and multiple dose studies showed that
56     the volume of distribution of gemcitabine was significantly influenced by duration of infusion
57     and gender. Clearance was affected by age and gender. Differences in either clearance or volume
58     of distribution based on patient characteristics or the duration of infusion result in changes in
59     half-life and plasma concentrations. Table 1 shows plasma clearance and half-life of gemcitabine
60     following short infusions for typical patients by age and gender.
61
                    Table 1: Gemcitabine Clearance and Half-Life for the “Typical” Patient
                 Age           Clearance        Clearance          Half-Lifea        Half-Lifea
                                 Men             Women                Men              Women
                               (L/hr/m2)        (L/hr/m2)            (min)              (min)
                 29              92.2              69.4                42                49
                 45              75.7              57.0                48                57
                 65              55.1              41.5                61                73
                 79              40.7              30.7                79                94
62     a
           Half-life for patients receiving a short infusion (<70 min).
63
64       Gemcitabine half-life for short infusions ranged from 32 to 94 minutes, and the value for long
65     infusions varied from 245 to 638 minutes, depending on age and gender, reflecting a greatly
66     increased volume of distribution with longer infusions. The lower clearance in women and the
67     elderly results in higher concentrations of gemcitabine for any given dose.
68       The volume of distribution was increased with infusion length. Volume of distribution of
69     gemcitabine was 50 L/m2 following infusions lasting <70 minutes, indicating that gemcitabine,
70     after short infusions, is not extensively distributed into tissues. For long infusions, the volume of
71     distribution rose to 370 L/m2, reflecting slow equilibration of gemcitabine within the tissue
72     compartment.
73       The maximum plasma concentrations of dFdU (inactive metabolite) were achieved up to
74     30 minutes after discontinuation of the infusions and the metabolite is excreted in urine without
75     undergoing further biotransformation. The metabolite did not accumulate with weekly dosing,
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                                                                                                                         3

 76     but its elimination is dependent on renal excretion, and could accumulate with decreased renal
 77     function.
 78       The effects of significant renal or hepatic insufficiency on the disposition of gemcitabine have
 79     not been assessed.
 80       The active metabolite, gemcitabine triphosphate, can be extracted from peripheral blood
 81     mononuclear cells. The half-life of the terminal phase for gemcitabine triphosphate from
 82     mononuclear cells ranges from 1.7 to 19.4 hours.
 83       Drug Interactions — When Gemzar (1250 mg/m2 on Days 1 and 8) and cisplatin (75 mg/m2 on
 84     Day 1) were administered in NSCLC patients, the clearance of gemcitabine on Day 1 was
 85     128 L/hr/m2 and on Day 8 was 107 L/hr/m2. The clearance of cisplatin in the same study was
 86     reported to be 3.94 mL/min/m2 with a corresponding half-life of 134 hours (see Drug
 87     Interactions under PRECAUTIONS).
 88                                          CLINICAL STUDIES
 89       Breast Cancer — Data from a multi-national, randomized Phase 3 study (529 patients) support
 90     the use of Gemzar in combination with paclitaxel for treatment of breast cancer patients who
 91     have received prior adjuvant/neoadjuvant anthracycline chemotherapy unless clinically
 92     contraindicated. Gemzar 1250 mg/m2 was administered on Days 1 and 8 of a 21-day cycle with
 93     paclitaxel 175 mg/m2 administered prior to Gemzar on Day 1 of each cycle. Single-agent
 94     paclitaxel 175 mg/m2 was administered on Day 1 of each 21-day cycle as the control arm.
 95       The addition of Gemzar to paclitaxel resulted in statistically significant improvement in time to
 96     documented disease progression and overall response rate compared to monotherapy with
 97     paclitaxel as shown in Table 2 and Figure 1. Further, there was a strong trend toward improved
 98     survival for the group given Gemzar based on an interim survival analysis.
 99
                     Table 2: Gemzar Plus Paclitaxel Versus Paclitaxel in Breast Cancer
                                          Gemzar/Paclitaxel         Paclitaxel
        Number of patients                       267                    262
        Median age, years                         53                     52
         Range                                26 to 83               26 to 75
        Metastatic disease                      97.0%                 96.9%
                      a
        Baseline KPS ≥90                        70.4%                 74.4%
        Number of tumor sites
         1-2                                    56.6%                 58.8%
         ≥3                                     43.4%                 41.2%
        Visceral disease                        73.4%                 72.9%
        Prior anthracycline                     96.6%                 95.8%

        Time to Documented Disease                                                                          p<0.0001
        Progressionb
         Median (95%, C.I.), months                    5.2 (4.2, 5.6)           2.9 (2.6, 3.7)
         Hazard Ratio (95% C.I.)                                0.650 (0.524, 0.805)                        p<0.0001
        Overall Response Rateb                                                                              p<0.0001
         (95%, C.I.)                                40.8% (34.9, 46.7)         22.1% (17.1, 27.2)
100     a
            Karnofsky Performance Status.
101     b
            These represent reconciliation of investigator and Independent Review Committee assessments according to a
102         predefined algorithm.
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                                                                                                        4

103
104




105
106        Figure 1: Kaplan-Meier Curve of Time to Documented Disease Progression in Gemzar
107                   plus Paclitaxel versus Paclitaxel Breast Cancer Study (N=529).
108
109       Non-Small Cell Lung Cancer (NSCLC) — Data from 2 randomized clinical studies
110     (657 patients) support the use of Gemzar in combination with cisplatin for the first-line treatment
111     of patients with locally advanced or metastatic NSCLC.
112       Gemzar plus cisplatin versus cisplatin: This study was conducted in Europe, the US, and
113     Canada in 522 patients with inoperable Stage IIIA, IIIB, or IV NSCLC who had not received
114     prior chemotherapy. Gemzar 1000 mg/m2 was administered on Days 1, 8, and 15 of a 28-day
115     cycle with cisplatin 100 mg/m2 administered on Day 1 of each cycle. Single-agent cisplatin
116     100 mg/m2 was administered on Day 1 of each 28-day cycle. The primary endpoint was survival.
117     Patient demographics are shown in Table 3. An imbalance with regard to histology was observed
118     with 48% of patients on the cisplatin arm and 37% of patients on the Gemzar plus cisplatin arm
119     having adenocarcinoma.
120       The Kaplan-Meier survival curve is shown in Figure 2. Median survival time on the Gemzar
121     plus cisplatin arm was 9.0 months compared to 7.6 months on the single-agent cisplatin arm
122     (Logrank p=0.008, two-sided). Median time to disease progression was 5.2 months on the
123     Gemzar plus cisplatin arm compared to 3.7 months on the cisplatin arm (Logrank p=0.009,
124     two-sided). The objective response rate on the Gemzar plus cisplatin arm was 26% compared to
125     10% with cisplatin (Fisher’s Exact p<0.0001, two-sided). No difference between treatment arms
126     with regard to duration of response was observed.
127       Gemzar plus cisplatin versus etoposide plus cisplatin: A second, multi-center, study in
128     Stage IIIB or IV NSCLC randomized 135 patients to Gemzar 1250 mg/m2 on Days 1 and 8, and
129     cisplatin 100 mg/m2 on Day 1 of a 21-day cycle or to etoposide 100 mg/m2 I.V. on Days 1, 2,
130     and 3 and cisplatin 100 mg/m2 on Day 1 on a 21-day cycle (Table 3).
131       There was no significant difference in survival between the two treatment arms (Logrank
132     p=0.18, two-sided). The median survival was 8.7 months for the Gemzar plus cisplatin arm
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                                                                                                        5

133     versus 7.0 months for the etoposide plus cisplatin arm. Median time to disease progression for
134     the Gemzar plus cisplatin arm was 5.0 months compared to 4.1 months on the etoposide plus
135     cisplatin arm (Logrank p=0.015, two-sided). The objective response rate for the Gemzar plus
136     cisplatin arm was 33% compared to 14% on the etoposide plus cisplatin arm (Fisher’s Exact
137     p=0.01, two-sided).
138       Quality of Life (QOL): QOL was a secondary endpoint in both randomized studies. In the
139     Gemzar plus cisplatin versus cisplatin study, QOL was measured using the FACT-L, which
140     assessed physical, social, emotional and functional well-being, and lung cancer symptoms. In the
141     study of Gemzar plus cisplatin versus etoposide plus cisplatin, QOL was measured using the
142     EORTC QLQ-C30 and LC13, which assessed physical and psychological functioning and
143     symptoms related to both lung cancer and its treatment. In both studies no significant differences
144     were observed in QOL between the Gemzar plus cisplatin arm and the comparator arm.
145


                              0.9
                                                              Median Survival         1-Year Survival
                                                    Gem / Cis 9.0 months              39%
                              0.8                   Cis       7.6 months              28 %

                              0.7                                          Test Statistic p-value
                                                                           Logrank        0.008
                              0.6                                          Wilcoxon       0.018
                Survival
                              0.5
                probability
                                                                            Gemcitabine/Cisplatin
                              0.4
                                                                            (N=260)
                              0.3
                                        Cisplatin
                              0.2
                                        (N=262)

                              0.1



                              0.0
                                    0       5       10       15       20         25



                                            Survival time (months)
146
                  Figure 2: Kaplan-Meier Survival Curve in Gemzar plus Cisplatin versus
                                    Cisplatin NSCLC Study (N=522).
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                                                                                                                          6

147
         Table 3: Randomized Trials of Combination Therapy with Gemzar plus Cisplatin in NSCLC
       Trial                               28-day Schedulea               21-day Scheduleb
       Treatment Arm               Gemzar/ Cisplatin               Gemzar/ Cisplatin/
                                   Cisplatin                      Cisplatin Etoposide
       Number of patients            260         262                  69          66
        Male                         182         186                  64          61
        Female                         78         76                   5           5
       Median age, years               62         63                  58          60
        Range                      36 to 88    35 to 79            33 to 76    35 to 75
       Stage IIIA                      7%         7%                 N/A         N/A
       Stage IIIB                    26%        23%                 48%         52%
       Stage IV                      67%        70%                 52%         49%
                    c
       Baseline KPS 70 to 80         41%        44%                 45%         52%
       Baseline KPSc 90 to 100       57%        55%                 55%         49%
148
       Survival                                                            P=0.008                                       p=0.18
        Median, months                          9.0           7.6                            8.7            7.0
        (95%, C.I.) months                   8.2, 11.0      6.6, 8.8                      7.8, 10.1       6.0, 9.7
       Time to Disease                                                     P=0.009                                      p=0.015
       Progression
        Median, months                         5.2            3.7                            5.0            4.1
        (95%, C.I.) months                   4.2, 5.7       3.0, 4.3                       4.2, 6.4       2.4, 4.5
       Tumor Response                         26%            10%         p<0.0001d          33%            14%          p=0.01d
149     a
          28-day schedule — Gemzar plus cisplatin: Gemzar 1000 mg/m2 on Days 1, 8, and 15 and cisplatin 100 mg/m2 on
150                       Day 1 every 28 days; Single-agent cisplatin: cisplatin 100 mg/m2 on Day 1 every 28 days.
151     b
          21-day schedule — Gemzar plus cisplatin: Gemzar 1250 mg/m2 on Days 1 and 8 and cisplatin 100 mg/m2 on
152       Day 1
153                       every 21 days; Etoposide plus Cisplatin: cisplatin 100 mg/m2 on Day 1 and I.V. etoposide
154                       100 mg/m2 on Days 1, 2, and 3 every 21 days.
155     c
          Karnofsky Performance Status.
156     d
          p-value for tumor response was calculated using the two-sided Fisher’s exact test for difference in binomial
157       proportions. All other p-values were calculated using the Logrank test for difference in overall time to an event.
158     N/A Not applicable.
159
160       Pancreatic Cancer — Data from 2 clinical trials evaluated the use of Gemzar in patients with
161     locally advanced or metastatic pancreatic cancer. The first trial compared Gemzar to
162     5-Fluorouracil (5-FU) in patients who had received no prior chemotherapy. A second trial
163     studied the use of Gemzar in pancreatic cancer patients previously treated with 5-FU or a
164     5-FU-containing regimen. In both studies, the first cycle of Gemzar was administered
165     intravenously at a dose of 1000 mg/m2 over 30 minutes once weekly for up to 7 weeks (or until
166     toxicity necessitated holding a dose) followed by a week of rest from treatment with Gemzar.
167     Subsequent cycles consisted of injections once weekly for 3 consecutive weeks out of every
168     4 weeks.
169       The primary efficacy parameter in these studies was “clinical benefit response,” which is a
170     measure of clinical improvement based on analgesic consumption, pain intensity, performance
171     status, and weight change. Definitions for improvement in these variables were formulated
172     prospectively during the design of the 2 trials. A patient was considered a clinical benefit
173     responder if either:
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                                                                                                       7

174       i)   the patient showed a ≥50% reduction in pain intensity (Memorial Pain Assessment Card)
175            or analgesic consumption, or a 20-point or greater improvement in performance status
176            (Karnofsky Performance Scale) for a period of at least 4 consecutive weeks, without
177            showing any sustained worsening in any of the other parameters. Sustained worsening
178            was defined as 4 consecutive weeks with either any increase in pain intensity or analgesic
179            consumption or a 20-point decrease in performance status occurring during the first
180            12 weeks of therapy.
181       OR:
182       ii) the patient was stable on all of the aforementioned parameters, and showed a marked,
183            sustained weight gain (≥7% increase maintained for ≥4 weeks) not due to fluid
184            accumulation.
185       The first study was a multi-center (17 sites in US and Canada), prospective, single-blinded,
186     two-arm, randomized, comparison of Gemzar and 5-FU in patients with locally advanced or
187     metastatic pancreatic cancer who had received no prior treatment with chemotherapy. 5-FU was
188     administered intravenously at a weekly dose of 600 mg/m2 for 30 minutes. The results from this
189     randomized trial are shown in Table 4. Patients treated with Gemzar had statistically significant
190     increases in clinical benefit response, survival, and time to disease progression compared to
191     5-FU. The Kaplan-Meier curve for survival is shown in Figure 3. No confirmed objective tumor
192     responses were observed with either treatment.
193
                           Table 4: Gemzar Versus 5-FU in Pancreatic Cancer
                                          Gemzar                  5-FU
        Number of patients                   63                     63
         Male                                34                     34
         Female                              29                     29
        Median age                        62 years               61 years
         Range                            37 to 79               36 to 77
        Stage IV disease                   71.4%                  76.2%
                     a
        Baseline KPS ≤70                   69.8%                  68.3%
194
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                                                                                                                                8

        Clinical benefit response                                        22.2%                         4.8%          p=0.004
                                                                        (Nc=14)                       (N=3)
        Survival                                                                                                     p=0.0009
         Median                                                        5.7 months                   4.2 months
         6-month probabilityb                                         (N=30) 46%                   (N=19) 29%
         9-month probabilityb                                         (N=14) 24%                    (N=4) 5%
         1-year probabilityb                                           (N=9) 18%                    (N=2) 2%
         Range                                                     0.2 to 18.6 months          0.4 to 15.1+ months
         95% C.I. of the median                                    4.7 to 6.9 months            3.1 to 5.1 months
        Time to Disease Progression                                                                                  p=0.0013
         Median                                                        2.1 months                   0.9 months
         Range                                                     0.1+ to 9.4 months          0.1 to 12.0+ months
         95% C.I. of the median                                     1.9 to 3.4 months           0.9 to 1.1 months
195     a
          Karnofsky Performance Status.
196     b
          Kaplan-Meier estimates.
197     c
          N=number of patients.
198     + No progression at last visit; remains alive.
199     The p-value for clinical benefit response was calculated using the two-sided test for difference in binomial
200       proportions. All other p-values were calculated using the Logrank test for difference in overall time to an event.
201
202       Clinical benefit response was achieved by 14 patients treated with Gemzar and 3 patients
203     treated with 5-FU. One patient on the Gemzar arm showed improvement in all 3 primary
204     parameters (pain intensity, analgesic consumption, and performance status). Eleven patients on
205     the Gemzar arm and 2 patients on the 5-FU arm showed improvement in analgesic consumption
206     and/or pain intensity with stable performance status. Two patients on the Gemzar arm showed
207     improvement in analgesic consumption or pain intensity with improvement in performance
208     status. One patient on the 5-FU arm was stable with regard to pain intensity and analgesic
209     consumption with improvement in performance status. No patient on either arm achieved a
210     clinical benefit response based on weight gain.
211
                                                         1.0

                                                         0.9

                                                         0.8

                                                         0.7
                                    Fraction Surviving




                                                         0.6

                                                         0.5

                                                         0.4
                                                                                      Gemzar
                                                         0.3
                                                                      5-FU
                                                         0.2

                                                         0.1

                                                         0.0
                                                               0        4          8        12       16       20
                                                                            Survival Time (months)
212
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                                                                                                         9

213                                Figure 3: Kaplan-Meier Survival Curve.
214
215       The second trial was a multi-center (17 US and Canadian centers), open-label study of Gemzar
216     in 63 patients with advanced pancreatic cancer previously treated with 5-FU or a
217     5-FU-containing regimen. The study showed a clinical benefit response rate of 27% and median
218     survival of 3.9 months.
219       Other Clinical Studies — When Gemzar was administered more frequently than once weekly
220     or with infusions longer than 60 minutes, increased toxicity was observed. Results of a Phase 1
221     study of Gemzar to assess the maximum tolerated dose (MTD) on a daily x 5 schedule showed
222     that patients developed significant hypotension and severe flu-like symptoms that were
223     intolerable at doses above 10 mg/m2. The incidence and severity of these events were
224     dose-related. Other Phase 1 studies using a twice-weekly schedule reached MTDs of only
225     65 mg/m2 (30-minute infusion) and 150 mg/m2 (5-minute bolus). The dose-limiting toxicities
226     were thrombocytopenia and flu-like symptoms, particularly asthenia. In a Phase 1 study to assess
227     the maximum tolerated infusion time, clinically significant toxicity, defined as
228     myelosuppression, was seen with weekly doses of 300 mg/m2 at or above a 270-minute infusion
229     time. The half-life of gemcitabine is influenced by the length of the infusion (see CLINICAL
230     PHARMACOLOGY) and the toxicity appears to be increased if Gemzar is administered more
231     frequently than once weekly or with infusions longer than 60 minutes (see WARNINGS).
232                                      INDICATIONS AND USAGE
233     Therapeutic Indications
234        Breast Cancer — Gemzar in combination with paclitaxel is indicated for the first-line
235     treatment of patients with metastatic breast cancer after failure of prior anthracycline-containing
236     adjuvant chemotherapy, unless anthracyclines were clinically contraindicated.
237        Non-Small Cell Lung Cancer — Gemzar is indicated in combination with cisplatin for the
238     first-line treatment of patients with inoperable, locally advanced (Stage IIIA or IIIB), or
239     metastatic (Stage IV) non-small cell lung cancer.
240        Pancreatic Cancer — Gemzar is indicated as first-line treatment for patients with locally
241     advanced (nonresectable Stage II or Stage III) or metastatic (Stage IV) adenocarcinoma of the
242     pancreas. Gemzar is indicated for patients previously treated with 5-FU.
243                                        CONTRAINDICATION
244       Gemzar is contraindicated in those patients with a known hypersensitivity to the drug (see
245     Allergic under ADVERSE REACTIONS).
246                                                WARNINGS
247       Caution — Prolongation of the infusion time beyond 60 minutes and more frequent than
248     weekly dosing have been shown to increase toxicity (see CLINICAL STUDIES).
249       Hematology — Gemzar can suppress bone marrow function as manifested by leukopenia,
250     thrombocytopenia, and anemia (see ADVERSE REACTIONS), and myelosuppression is
251     usually the dose-limiting toxicity. Patients should be monitored for myelosuppression during
252     therapy. See DOSAGE AND ADMINISTRATION for recommended dose adjustments.
253       Pulmonary — Pulmonary toxicity has been reported with the use of Gemzar. In cases of severe
254     lung toxicity, Gemzar therapy should be discontinued immediately and appropriate supportive
255     care measures instituted (see Pulmonary under Single-Agent Use and under Post-marketing
256     experience in ADVERSE REACTIONS section).
257       Renal — Hemolytic Uremic Syndrome (HUS) and/or renal failure have been reported
258     following one or more doses of Gemzar. Renal failure leading to death or requiring dialysis,
259     despite discontinuation of therapy, has been rarely reported. The majority of the cases of renal
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260     failure leading to death were due to HUS (see Renal under Single-Agent Use and under
261     Post-marketing experience in ADVERSE REACTIONS section).
262       Hepatic — Serious hepatotoxicity, including liver failure and death, has been reported very
263     rarely in patients receiving Gemzar alone or in combination with other potentially hepatotoxic
264     drugs (see Hepatic under Single-Agent Use and under Post-marketing experience in
265     ADVERSE REACTIONS section).
266       Pregnancy — Pregnancy Category D. Gemzar can cause fetal harm when administered to a
267     pregnant woman. Gemcitabine is embryotoxic causing fetal malformations (cleft palate,
268     incomplete ossification) at doses of 1.5 mg/kg/day in mice (about 1/200 the recommended
269     human dose on a mg/m2 basis). Gemcitabine is fetotoxic causing fetal malformations (fused
270     pulmonary artery, absence of gall bladder) at doses of 0.1 mg/kg/day in rabbits (about 1/600 the
271     recommended human dose on a mg/m2 basis). Embryotoxicity was characterized by decreased
272     fetal viability, reduced live litter sizes, and developmental delays. There are no studies of
273     Gemzar in pregnant women. If Gemzar is used during pregnancy, or if the patient becomes
274     pregnant while taking Gemzar, the patient should be apprised of the potential hazard to the fetus.
275                                              PRECAUTIONS
276        General — Patients receiving therapy with Gemzar should be monitored closely by a
277     physician experienced in the use of cancer chemotherapeutic agents. Most adverse events are
278     reversible and do not need to result in discontinuation, although doses may need to be withheld
279     or reduced. There was a greater tendency in women, especially older women, not to proceed to
280     the next cycle.
281        Laboratory Tests — Patients receiving Gemzar should be monitored prior to each dose with a
282     complete blood count (CBC), including differential and platelet count. Suspension or
283     modification of therapy should be considered when marrow suppression is detected (see
284     DOSAGE AND ADMINISTRATION).
285        Laboratory evaluation of renal and hepatic function should be performed prior to initiation of
286     therapy and periodically thereafter (see WARNINGS).
287        Carcinogenesis, Mutagenesis, Impairment of Fertility — Long-term animal studies to evaluate
288     the carcinogenic potential of Gemzar have not been conducted. Gemcitabine induced forward
289     mutations in vitro in a mouse lymphoma (L5178Y) assay and was clastogenic in an in vivo
290     mouse micronucleus assay. Gemcitabine was negative when tested using the Ames, in vivo sister
291     chromatid exchange, and in vitro chromosomal aberration assays, and did not cause unscheduled
292     DNA synthesis in vitro. Gemcitabine I.P. doses of 0.5 mg/kg/day (about 1/700 the human dose
293     on a mg/m2 basis) in male mice had an effect on fertility with moderate to severe
294     hypospermatogenesis, decreased fertility, and decreased implantations. In female mice, fertility
295     was not affected but maternal toxicities were observed at 1.5 mg/kg/day I.V. (about 1/200 the
296     human dose on a mg/m2 basis) and fetotoxicity or embryolethality was observed at
297     0.25 mg/kg/day I.V. (about 1/1300 the human dose on a mg/m2 basis).
298        Pregnancy — Category D. See WARNINGS.
299        Nursing Mothers — It is not known whether Gemzar or its metabolites are excreted in human
300     milk. Because many drugs are excreted in human milk and because of the potential for serious
301     adverse reactions from Gemzar in nursing infants, the mother should be warned and a decision
302     should be made whether to discontinue nursing or to discontinue the drug, taking into account
303     the importance of the drug to the mother and the potential risk to the infant.
304        Elderly Patients — Gemzar clearance is affected by age (see CLINICAL
305     PHARMACOLOGY). There is no evidence, however, that unusual dose adjustments,
306     (i.e., other than those already recommended in the DOSAGE AND ADMINISTRATION
307     section) are necessary in patients over 65, and in general, adverse reaction rates in the
308     single-agent safety database of 979 patients were similar in patients above and below 65.
309     Grade 3/4 thrombocytopenia was more common in the elderly.
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310        Gender — Gemzar clearance is affected by gender (see CLINICAL PHARMACOLOGY).
311     In the single-agent safety database (N=979 patients), however, there is no evidence that unusual
312     dose adjustments (i.e., other than those already recommended in the DOSAGE AND
313     ADMINISTRATION section) are necessary in women. In general, in single-agent studies of
314     Gemzar, adverse reaction rates were similar in men and women, but women, especially older
315     women, were more likely not to proceed to a subsequent cycle and to experience Grade 3/4
316     neutropenia and thrombocytopenia.
317        Pediatric Patients — The effectiveness of Gemzar in pediatric patients has not been
318     demonstrated. Gemzar was evaluated in a Phase 1 trial in pediatric patients with refractory
319     leukemia and determined that the maximum tolerated dose was 10 mg/m2/min for 360 minutes
320     three times weekly followed by a one week rest period. Gemzar was also evaluated in a Phase 2
321     trial in patients with relapsed acute lymphoblastic leukemia (22 patients) and acute myelogenous
322     leukemia (10 patients) using 10 mg/m2/min for 360 minutes three times weekly followed by a
323     one week rest period. Toxicities observed included bone marrow suppression, febrile
324     neutropenia, elevation of serum transaminases, nausea, and rash/desquamation, which were
325     similar to those reported in adults. No meaningful clinical activity was observed in this Phase 2
326     trial.
327        Patients with Renal or Hepatic Impairment — Gemzar should be used with caution in patients
328     with preexisting renal impairment or hepatic insufficiency. Gemzar has not been studied in
329     patients with significant renal or hepatic impairment.
330        Drug Interactions — No specific drug interaction studies have been conducted. For
331     information on the pharmacokinetics of Gemzar and cisplatin in combination, see Drug
332     Interactions under CLINICAL PHARMACOLOGY section.
333        Radiation Therapy — Safe and effective regimens for the administration of Gemzar with
334     therapeutic doses of radiation have not yet been determined.
335                                           ADVERSE REACTIONS
336       Gemzar has been used in a wide variety of malignancies, both as a single-agent and in
337     combination with other cytotoxic drugs.
338       Single-Agent Use: Myelosuppression is the principal dose-limiting toxicity with Gemzar
339     therapy. Dosage adjustments for hematologic toxicity are frequently needed and are described in
340     the DOSAGE AND ADMINISTRATION section.
341       The data in Table 5 are based on 979 patients receiving Gemzar as a single-agent administered
342     weekly as a 30-minute infusion for treatment of a wide variety of malignancies. The Gemzar
343     starting doses ranged from 800 to 1250 mg/m2. Data are also shown for the subset of patients
344     with pancreatic cancer treated in 5 clinical studies. The frequency of all grades and severe (WHO
345     Grade 3 or 4) adverse events were generally similar in the single-agent safety database of
346     979 patients and the subset of patients with pancreatic cancer. Adverse reactions reported in the
347     single-agent safety database resulted in discontinuation of Gemzar therapy in about 10% of
348     patients. In the comparative trial in pancreatic cancer, the discontinuation rate for adverse
349     reactions was 14.3% for the gemcitabine arm and 4.8% for the 5-FU arm.
350       All WHO-graded laboratory events are listed in Table 5, regardless of causality.
351     Non-laboratory adverse events listed in Table 5 or discussed below were those reported,
352     regardless of causality, for at least 10% of all patients, except the categories of Extravasation,
353     Allergic, and Cardiovascular and certain specific events under the Renal, Pulmonary, and
354     Infection categories. Table 6 presents the data from the comparative trial of Gemzar and 5-FU in
355     pancreatic cancer for the same adverse events as those in Table 5, regardless of incidence.
356
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        Table 5: Selected WHO-Graded Adverse Events in Patients Receiving Single-Agent Gemzar
                                     WHO Grades (% incidence)
                                    All Patientsa       Pancreatic Cancer     Discontinuations
                                                             Patientsb              (%)c
                                All     Grade Grade    All     Grade Grade           All
                               Grades     3        4  Grades      3      4         Patients
        Laboratoryd
         Hematologic
          Anemia                 68       7        1    73        8      2           <1
          Leukopenia             62       9       <1    64        8      1           <1
          Neutropenia            63      19       6     61       17     7             -
          Thrombocytopenia       24       4       1     36        7     <1           <1
         Hepatic                                                                     <1
          ALT                    68       8        2    72       10      1
          AST                    67       6        2    78       12      5
          Alkaline Phosphatase   55       7       2     77       16     4
          Bilirubin              13       2       <1    26       6      2
         Renal                                                                       <1
          Proteinuria            45      <1       0     32      <1      0
          Hematuria              35      <1       0     23       0      0
          BUN                    16       0        0    15        0      0
          Creatinine              8      <1       0      6       0      0
        Non-laboratorye
         Nausea and Vomiting     69      13        1    71       10      2           <1
         Pain                    48       9       <1    42        6     <1           <1
         Fever                   41       2        0    38        2      0           <1
         Rash                    30      <1        0    28      <1       0           <1
         Dyspnea                 23       3       <1    10        0     <1           <1
         Constipation            23       1       <1    31       3      <1            0
         Diarrhea                19       1       0     30       3      0             0
         Hemorrhage              17      <1       <1     4       2      <1           <1
         Infection               16       1       <1    10        2     <1           <1
         Alopecia                15      <1       0     16        0     0             0
         Stomatitis              11      <1       0     10      <1      0            <1
         Somnolence              11      <1       <1    11        2     <1           <1
         Paresthesias            10      <1       0     10      <1      0             0
357     Grade based on criteria from the World Health Organization (WHO).
358     a
          N=699-974; all patients with laboratory or non-laboratory data.
359     b
          N=161-241; all pancreatic cancer patients with laboratory or non-laboratory data.
360     c
          N=979.
361     d
          Regardless of causality.
362     e
          Table includes non-laboratory data with incidence for all patients ≥10%. For approximately 60% of the patients,
363       non-laboratory events were graded only if assessed to be possibly drug-related.
364
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                                                                                                   13

         Table 6: Selected WHO-Graded Adverse Events from Comparative Trial of Gemzar and
                                     5-FU in Pancreatic Cancer
                                    WHO Grades (% incidence)
                                          Gemzara                        5-FUb
                                  All       Grade     Grade     All      Grade     Grade
                                Grades        3          4     Grades       3         4
                    c
        Laboratory
         Hematologic
          Anemia                  65          7          3       45         0         0
          Leukopenia              71         10          0       15         2         0
          Neutropenia             62         19          7       18         2         3
          Thrombocytopenia        47         10          0       15         2         0
         Hepatic
          ALT                     72          8          2       38         0         0
          AST                     72         10          2       52         2         0
          Alkaline Phosphatase    71         16          0       64        10         3
          Bilirubin               16          2          2       25         6         3
         Renal
          Proteinuria             10          0          0       2          0         0
          Hematuria               13          0          0        0         0         0
          BUN                      8          0          0       10         0         0
          Creatinine               2          0          0        0         0         0
        Non-laboratoryd
         Nausea and Vomiting      64         10          3       58         5         0
         Pain                     10          2          0        7         0         0
         Fever                    30          0          0       16         0         0
         Rash                     24          0          0       13         0         0
         Dyspnea                   6          0          0        3         0         0
         Constipation             10          3          0       11         2         0
         Diarrhea                 24          2          0       31         5         0
         Hemorrhage                0          0          0        2         0         0
         Infection                 8          0          0        3         2         0
         Alopecia                 18          0          0       16         0         0
         Stomatitis               14          0          0       15         0         0
         Somnolence                5          2          0        7         2         0
         Paresthesias              2          0          0        2         0         0
365     Grade based on criteria from the World Health Organization (WHO).
366     a
          N=58-63; all Gemzar patients with laboratory or non-laboratory data.
367     b
          N=61-63; all 5-FU patients with laboratory or non-laboratory data.
368     c
          Regardless of causality.
369     d
          Non-laboratory events were graded only if assessed to be possibly drug-related.
370
371       Hematologic — In studies in pancreatic cancer myelosuppression is the dose-limiting toxicity
372     with Gemzar, but <1% of patients discontinued therapy for either anemia, leukopenia, or
373     thrombocytopenia. Red blood cell transfusions were required by 19% of patients. The incidence
374     of sepsis was less than 1%. Petechiae or mild blood loss (hemorrhage), from any cause, was
375     reported in 16% of patients; less than 1% of patients required platelet transfusions. Patients
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                                                                                                      14

376     should be monitored for myelosuppression during Gemzar therapy and dosage modified or
377     suspended according to the degree of hematologic toxicity (see DOSAGE AND
378     ADMINISTRATION).
379       Gastrointestinal — Nausea and vomiting were commonly reported (69%) but were usually of
380     mild to moderate severity. Severe nausea and vomiting (WHO Grade 3/4) occurred in <15% of
381     patients. Diarrhea was reported by 19% of patients, and stomatitis by 11% of patients.
382       Hepatic — In clinical trials, Gemzar was associated with transient elevations of one or both
383     serum transaminases in approximately 70% of patients, but there was no evidence of increasing
384     hepatic toxicity with either longer duration of exposure to Gemzar or with greater total
385     cumulative dose. Serious hepatotoxicity, including liver failure and death, has been reported very
386     rarely in patients receiving Gemzar alone or in combination with other potentially hepatotoxic
387     drugs (see Hepatic under Post-marketing experience).
388       Renal — In clinical trials, mild proteinuria and hematuria were commonly reported. Clinical
389     findings consistent with the Hemolytic Uremic Syndrome (HUS) were reported in 6 of
390     2429 patients (0.25%) receiving Gemzar in clinical trials. Four patients developed HUS on
391     Gemzar therapy, 2 immediately post-therapy. The diagnosis of HUS should be considered if the
392     patient develops anemia with evidence of microangiopathic hemolysis, elevation of bilirubin or
393     LDH, reticulocytosis, severe thrombocytopenia, and/or evidence of renal failure (elevation of
394     serum creatinine or BUN). Gemzar therapy should be discontinued immediately. Renal failure
395     may not be reversible even with discontinuation of therapy and dialysis may be required (see
396     Renal under Post-marketing experience).
397       Fever — The overall incidence of fever was 41%. This is in contrast to the incidence of
398     infection (16%) and indicates that Gemzar may cause fever in the absence of clinical infection.
399     Fever was frequently associated with other flu-like symptoms and was usually mild and
400     clinically manageable.
401       Rash — Rash was reported in 30% of patients. The rash was typically a macular or finely
402     granular maculopapular pruritic eruption of mild to moderate severity involving the trunk and
403     extremities. Pruritus was reported for 13% of patients.
404       Pulmonary  In clinical trials, dyspnea, unrelated to underlying disease, has been reported in
405     association with Gemzar therapy. Dyspnea was occasionally accompanied by bronchospasm.
406     Pulmonary toxicity has been reported with the use of Gemzar (see Pulmonary under
407     Post-marketing experience). The etiology of these effects is unknown. If such effects develop,
408     Gemzar should be discontinued. Early use of supportive care measures may help ameliorate
409     these conditions.
410       Edema — Edema (13%), peripheral edema (20%), and generalized edema (<1%) were
411     reported. Less than 1% of patients discontinued due to edema.
412       Flu-like Symptoms — “Flu syndrome” was reported for 19% of patients. Individual symptoms
413     of fever, asthenia, anorexia, headache, cough, chills, and myalgia were commonly reported.
414     Fever and asthenia were also reported frequently as isolated symptoms. Insomnia, rhinitis,
415     sweating, and malaise were reported infrequently. Less than 1% of patients discontinued due to
416     flu-like symptoms.
417       Infection — Infections were reported for 16% of patients. Sepsis was rarely reported (<1%).
418       Alopecia — Hair loss, usually minimal, was reported by 15% of patients.
419       Neurotoxicity — There was a 10% incidence of mild paresthesias and a <1% rate of severe
420     paresthesias.
421       Extravasation — Injection-site related events were reported for 4% of patients. There were no
422     reports of injection site necrosis. Gemzar is not a vesicant.
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                                                                                                      15

423       Allergic — Bronchospasm was reported for less than 2% of patients. Anaphylactoid reaction
424     has been reported rarely. Gemzar should not be administered to patients with a known
425     hypersensitivity to this drug (see CONTRAINDICATION).
426       Cardiovascular — During clinical trials, 2% of patients discontinued therapy with Gemzar due
427     to cardiovascular events such as myocardial infarction, cerebrovascular accident, arrhythmia,
428     and hypertension. Many of these patients had a prior history of cardiovascular disease (see
429     Cardiovascular under Post-marketing experience).
430       Combination Use in Non-Small Cell Lung Cancer: In the Gemzar plus cisplatin vs. cisplatin
431     study, dose adjustments occurred with 35% of Gemzar injections and 17% of cisplatin injections
432     on the combination arm, versus 6% on the cisplatin-only arm. Dose adjustments were required in
433     greater than 90% of patients on the combination, versus 16% on cisplatin. Study discontinuations
434     for possibly drug-related adverse events occurred in 15% of patients on the combination arm and
435     8% of patients on the cisplatin arm. With a median of 4 cycles of Gemzar plus cisplatin
436     treatment, 94 of 262 patients (36%) experienced a total of 149 hospitalizations due to possibly
437     treatment-related adverse events. With a median of 2 cycles of cisplatin treatment, 61 of
438     260 patients (23%) experienced 78 hospitalizations due to possibly treatment-related adverse
439     events.
440       In the Gemzar plus cisplatin vs. etoposide plus cisplatin study, dose adjustments occurred with
441     20% of Gemzar injections and 16% of cisplatin injections in the Gemzar plus cisplatin arm
442     compared with 20% of etoposide injections and 15% of cisplatin injections in the etoposide plus
443     cisplatin arm. With a median of 5 cycles of Gemzar plus cisplatin treatment, 15 of 69
444     patients (22%) experienced 15 hospitalizations due to possibly treatment-related adverse events.
445     With a median of 4 cycles of etoposide plus cisplatin treatment, 18 of 66 patients (27%)
446     experienced 22 hospitalizations due to possibly treatment-related adverse events. In patients who
447     completed more than one cycle, dose adjustments were reported in 81% of the Gemzar plus
448     cisplatin patients, compared with 68% on the etoposide plus cisplatin arm. Study
449     discontinuations for possibly drug-related adverse events occurred in 14% of patients on the
450     Gemzar plus cisplatin arm and in 8% of patients on the etoposide plus cisplatin arm. The
451     incidence of myelosuppression was increased in frequency with Gemzar plus cisplatin
452     treatment (∼90%) compared to that with the Gemzar monotherapy (∼60%). With combination
453     therapy Gemzar dosage adjustments for hematologic toxicity were required more often while
454     cisplatin dose adjustments were less frequently required.
455       Table 7 presents the safety data from the Gemzar plus cisplatin vs. cisplatin study in non-small
456     cell lung cancer. The NCI Common Toxicity Criteria (CTC) were used. The two-drug
457     combination was more myelosuppressive with 4 (1.5%) possibly treatment-related deaths,
458     including 3 resulting from myelosuppression with infection and 1 case of renal failure associated
459     with pancytopenia and infection. No deaths due to treatment were reported on the cisplatin arm.
460     Nine cases of febrile neutropenia were reported on the combination therapy arm compared to
461     2 on the cisplatin arm. More patients required RBC and platelet transfusions on the Gemzar plus
462     cisplatin arm.
463       Myelosuppression occurred more frequently on the combination arm, and in 4 possibly
464     treatment-related deaths myelosuppression was observed. Sepsis was reported in 4% of patients
465     on the Gemzar plus cisplatin arm compared to 1% on the cisplatin arm. Platelet transfusions
466     were required in 21% of patients on the combination arm and <1% of patients on the cisplatin
467     arm. Hemorrhagic events occurred in 14% of patients on the combination arm and 4% on the
468     cisplatin arm. However, severe hemorrhagic events were rare. Red blood cell transfusions were
469     required in 39% of the patients on the Gemzar plus cisplatin arm, versus 13% on the cisplatin
470     arm. The data suggest cumulative anemia with continued Gemzar plus cisplatin use.
471       Nausea and vomiting despite the use of antiemetics occurred slightly more often with Gemzar
472     plus cisplatin therapy (78%) than with cisplatin alone (71%). In studies with single-agent
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                                                                                                     16

473     Gemzar, a lower incidence of nausea and vomiting (58% to 69%) was reported. Renal function
474     abnormalities, hypomagnesemia, neuromotor, neurocortical, and neurocerebellar toxicity
475     occurred more often with Gemzar plus cisplatin than with cisplatin monotherapy. Neurohearing
476     toxicity was similar on both arms.
477       Cardiac dysrrhythmias of Grade 3 or greater were reported in 7 (3%) patients treated with
478     Gemzar plus cisplatin compared to one (<1%) Grade 3 dysrrhythmia reported with cisplatin
479     therapy. Hypomagnesemia and hypokalemia were associated with one Grade 4 arrhythmia on the
480     Gemzar plus cisplatin combination arm.
481       Table 8 presents data from the randomized study of Gemzar plus cisplatin versus etoposide
482     plus cisplatin in 135 patients with NSCLC for the same WHO-graded adverse events as those in
483     Table 6. One death (1.5%) was reported on the Gemzar plus cisplatin arm due to febrile
484     neutropenia associated with renal failure which was possibly treatment-related. No deaths related
485     to treatment occurred on the etoposide plus cisplatin arm. The overall incidence of Grade 4
486     neutropenia on the Gemzar plus cisplatin arm was less than on the etoposide plus cisplatin
487     arm (28% vs. 56%). Sepsis was experienced by 2% of patients on both treatment arms. Grade 3
488     anemia and Grade 3/4 thrombocytopenia were more common on the Gemzar plus cisplatin arm.
489     RBC transfusions were given to 29% of the patients who received Gemzar plus cisplatin vs. 21%
490     of patients who received etoposide plus cisplatin. Platelet transfusions were given to 3% of the
491     patients who received Gemzar plus cisplatin vs. 8% of patients who received etoposide plus
492     cisplatin. Grade 3/4 nausea and vomiting were also more common on the Gemzar plus cisplatin
493     arm. On the Gemzar plus cisplatin arm, 7% of participants were hospitalized due to febrile
494     neutropenia compared to 12% on the etoposide plus cisplatin arm. More than twice as many
495     patients had dose reductions or omissions of a scheduled dose of Gemzar as compared to
496     etoposide, which may explain the differences in the incidence of neutropenia and febrile
497     neutropenia between treatment arms. Flu syndrome was reported by 3% of patients on the
498     Gemzar plus cisplatin arm with none reported on the comparator arm. Eight patients (12%) on
499     the Gemzar plus cisplatin arm reported edema compared to 1 patient (2%) on the etoposide plus
500     cisplatin arm.
501
         Table 7: Selected CTC-Graded Adverse Events from Comparative Trial of Gemzar plus
                             Cisplatin versus Single-Agent Cisplatin in NSCLC
                                         CTC Grades (% incidence)
                                        Gemzar plus Cisplatina               Cisplatinb
                                       All       Grade     Grade        All    Grade    Grade
                                     Grades        3         4        Grades     3        4
                    c
        Laboratory
         Hematologic
          Anemia                       89         22         3          67       6        1
          RBC Transfusiond             39                               13
          Leukopenia                   82         35        11          25       2        1
          Neutropenia                  79         22        35          20       3        1
          Thrombocytopenia             85         25        25          13       3        1
          Platelet Transfusionsd       21                               <1
          Lymphocytes                  75         25        18          51      12        5
         Hepatic
          Transaminase                 22          2         1          10       1        0
          Alkaline Phosphatase         19          1         0          13       0        0
         Renal
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                                                                                                                      17

          Proteinuria                         23             0            0             18            0            0
          Hematuria                           15             0             0            13            0             0
          Creatinine                          38             4            <1            31            2            <1
         Other Laboratory
          Hyperglycemia                       30             4             0            23            3             0
          Hypomagnesemia                      30             4             3            17            2             0
          Hypocalcemia                        18             2             0             7            0            <1
        Non-laboratorye
         Nausea                               93            25             2            87           20            <1
         Vomiting                             78            11            12            71           10             9
         Alopecia                             53             1            0             33           0              0
         Neuro Motor                          35            12            0             15           3              0
         Constipation                         28            3             0             21           0             0
         Neuro Hearing                        25            6             0             21           6              0
         Diarrhea                             24            2             2             13           0              0
         Neuro Sensory                        23            1             0             18           1             0
         Infection                            18            3             2             12           1              0
         Fever                                16             0             0             5           0              0
         Neuro Cortical                       16            3             1             9            1             0
         Neuro Mood                           16             1             0            10            1             0
         Local                                15             0             0             6           0              0
         Neuro Headache                       14             0             0             7            0             0
         Stomatitis                           14            1             0             5            0             0
         Hemorrhage                           14             1             0             4           0              0
         Dyspnea                              12             4             3            11            3             2
         Hypotension                          12             1             0             7           1              0
         Rash                                 11             0             0             3            0             0
502     Grade based on Common Toxicity Criteria (CTC). Table includes data for adverse events with incidence ≥10% in
503       either arm.
504     a
          N=217-253; all Gemzar plus cisplatin patients with laboratory or non-laboratory data. Gemzar at 1000 mg/m2 on
505       Days 1, 8, and 15 and cisplatin at 100 mg/m2 on Day 1 every 28 days.
506     b
          N=213-248; all cisplatin patients with laboratory or non-laboratory data. Cisplatin at 100 mg/m2 on Day 1 every
507       28 days.
508     c
          Regardless of causality.
509     d
          Percent of patients receiving transfusions. Percent transfusions are not CTC-graded events.
510     e
          Non-laboratory events were graded only if assessed to be possibly drug-related.
511
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                                                                                                                        18

         Table 8: Selected WHO-Graded Adverse Events from Comparative Trial of Gemzar plus
                             Cisplatin versus Etoposide plus Cisplatin in NSCLC
                                         WHO Grades (% incidence)
                                         Gemzar plus Cisplatina          Etoposide plus Cisplatinb
                                         All      Grade      Grade        All     Grade      Grade
                                       Grades       3          4        Grades       3          4
                    c
        Laboratory
         Hematologic
          Anemia                         88        22          0          77        13          2
                             d
          RBC Transfusions               29                               21
          Leukopenia                     86        26          3          87        36          7
          Neutropenia                    88        36         28          87        20         56
          Thrombocytopenia               81        39         16          45         8          5
                                d
          Platelet Transfusions           3                                8
         Hepatic
          ALT                             6         0          0          12         0          0
          AST                             3         0          0          11         0          0
          Alkaline Phosphatase           16         0          0          11         0          0
          Bilirubin                       0         0          0           0         0          0
         Renal
          Proteinuria                    12         0          0           5        0           0
          Hematuria                      22         0          0          10         0          0
          BUN                             6         0          0           4         0          0
          Creatinine                      2         0          0           2        0           0
                        e,f
        Non-laboratory
         Nausea and Vomiting             96        35          4          86        19          7
         Fever                            6         0          0           3         0          0
         Rash                            10         0          0           3         0          0
         Dyspnea                          1         0          1           3         0          0
         Constipation                    17         0          0          15        0           0
         Diarrhea                        14         1          1          13        0           2
         Hemorrhage                       9         0          3           3         0          3
         Infection                       28         3          1          21         8          0
         Alopecia                        77        13          0          92        51          0
         Stomatitis                      20         4          0          18        2           0
         Somnolence                       3         0          0           3         2          0
         Paresthesias                    38         0          0          16        2           0
512     Grade based on criteria from the World Health Organization (WHO).
513     a
          N=67-69; all Gemzar plus cisplatin patients with laboratory or non-laboratory data. Gemzar at 1250 mg/m2 on
514       Days 1 and 8 and cisplatin at 100 mg/m2 on Day 1 every 21 days.
515     b
          N=57-63; all cisplatin plus etoposide patients with laboratory or non-laboratory data. Cisplatin at 100 mg/m2 on
516       Day 1 and I.V. etoposide at 100 mg/m2 on Days 1, 2, and 3 every 21 days.
517     c
          Regardless of causality.
518     d
          Percent of patients receiving transfusions. Percent transfusions are not WHO-graded events.
519     e
          Non-laboratory events were graded only if assessed to be possibly drug-related.
520     f
          Pain data were not collected.
521
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                                                                                                     19

522       Combination Use in Breast Cancer: In the Gemzar plus paclitaxel versus paclitaxel study,
523     dose reductions occurred with 8% of Gemzar injections and 5% of paclitaxel injections on the
524     combination arm, versus 2% on the paclitaxel arm. On the combination arm, 7% of Gemzar
525     doses were omitted and <1% of paclitaxel doses were omitted, compared to <1% of paclitaxel
526     doses on the paclitaxel arm. A total of 18 patients (7%) on the Gemzar plus paclitaxel arm and
527     12 (5%) on the paclitaxel arm discontinued the study because of adverse events. There were
528     two deaths on study or within 30 days after study drug discontinuation that were possibly
529     drug-related, one on each arm.
530       Table 9 presents the safety data occurrences of ≥10% (all grades) from the Gemzar plus
531     paclitaxel versus paclitaxel study in breast cancer.
532
            Table 9: Adverse Events from Comparative Trial of Gemzar plus Paclitaxel versus
                                Single-Agent Paclitaxel in Breast Cancera
                                       CTC Grades (% incidence)
                                        Gemzar plus Paclitaxel             Paclitaxel
                                               (N=262)                      (N=259)
                                        All     Grade      Grade      All    Grade      Grade
                                      Grades       3         4      Grades     3           4
                    b
        Laboratory
         Hematologic
          Anemia                        69         6         1        51       3          <1
          Neutropenia                   69        31        17        31       4          7
          Thrombocytopenia              26         5        <1         7      <1          <1
          Leukopenia                    21        10         1        12       2           0
         Hepatobiliary
          ALT                           18         5        <1         6      <1           0
          AST                           16         2         0         5      <1           0
        Non-laboratoryc
         Alopecia                       90        14         4        92      19           3
         Neuropathy-sensory             64         5        <1        58       3          0
         Nausea                         50         1         0        31       2           0
         Fatigue                        40         6        <1        28       1          <1
         Myalgia                        33         4         0        33       3          <1
         Vomiting                       29         2         0        15       2          0
         Arthralgia                     24         3         0        22       2          <1
         Diarrhea                       20         3         0        13       2          0
         Anorexia                       17         0         0        12      <1          0
         Neuropathy-motor               15         2        <1        10      <1           0
         Stomatitis/pharyngitis         13         1        <1         8      <1          0
         Fever                          13        <1         0         3       0           0
         Constipation                   11        <1         0        12       0          0
         Bone pain                      11         2         0        10      <1          0
         Pain-other                     11        <1         0         8      <1          0
         Rash/desquamation              11        <1        <1         5       0          0
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                                                                                                       20
533     a
            Grade based on Common Toxicity Criteria (CTC) Version 2.0 (all grades ≥10%).
534     b
            Regardless of causality.
535     c
            Non-laboratory events were graded only if assessed to be possibly drug-related.
536
537       The following are the clinically relevant adverse events that occurred in >1% and <10% (all
538     grades) of patients on either arm. In parentheses are the incidences of Grade 3 and 4 adverse
539     events (Gemzar plus paclitaxel versus paclitaxel): febrile neutropenia (5.0% versus 1.2%),
540     infection (0.8% versus 0.8%), dyspnea (1.9% versus 0), and allergic reaction/hypersensitivity
541     (0 versus 0.8%).
542       No differences in the incidence of laboratory and non-laboratory events were observed in
543     patients 65 years or older, as compared to patients younger than 65.
544       Post-marketing experience: The following adverse events have been identified during
545     post-approval use of Gemzar. These events have occurred after Gemzar single-agent use and
546     Gemzar in combination with other cytotoxic agents. Decisions to include these events are based
547     on the seriousness of the event, frequency of reporting, or potential causal connection to Gemzar.
548       Cardiovascular — Congestive heart failure and myocardial infarction have been reported very
549     rarely with the use of Gemzar. Arrhythmias, predominantly supraventricular in nature, have been
550     reported very rarely.
551       Vascular Disorders — Vascular toxicity reported with Gemzar includes clinical signs of
552     vasculitis, which has been reported very rarely. Gangrene has also been reported very rarely.
553       Skin — Cellulitis and non-serious injection site reactions in the absence of extravasation have
554     been rarely reported.
555       Hepatic — Serious hepatotoxicity including liver failure and death has been reported very
556     rarely in patients receiving Gemzar alone or in combination with other potentially hepatotoxic
557     drugs.
558       Pulmonary — Parenchymal toxicity, including interstitial pneumonitis, pulmonary fibrosis,
559     pulmonary edema, and adult respiratory distress syndrome (ARDS), has been reported rarely
560     following one or more doses of Gemzar administered to patients with various malignancies.
561     Some patients experienced the onset of pulmonary symptoms up to 2 weeks after the last Gemzar
562     dose. Respiratory failure and death occurred very rarely in some patients despite discontinuation
563     of therapy.
564       Renal — Hemolytic-Uremic Syndrome (HUS) and/or renal failure have been reported
565     following one or more doses of Gemzar. Renal failure leading to death or requiring dialysis,
566     despite discontinuation of therapy, has been rarely reported. The majority of the cases of renal
567     failure leading to death were due to HUS.
568                                              OVERDOSAGE
569       There is no known antidote for overdoses of Gemzar. Myelosuppression, paresthesias, and
570     severe rash were the principal toxicities seen when a single dose as high as 5700 mg/m2 was
571     administered by I.V. infusion over 30 minutes every 2 weeks to several patients in a Phase 1
572     study. In the event of suspected overdose, the patient should be monitored with appropriate
573     blood counts and should receive supportive therapy, as necessary.
574                                   DOSAGE AND ADMINISTRATION
575         Gemzar is for intravenous use only.
576     Adults
577     Single-Agent Use:
578       Pancreatic Cancer  Gemzar should be administered by intravenous infusion at a dose of
579     1000 mg/m2 over 30 minutes once weekly for up to 7 weeks (or until toxicity necessitates
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                                                                                                       21

580     reducing or holding a dose), followed by a week of rest from treatment. Subsequent cycles
581     should consist of infusions once weekly for 3 consecutive weeks out of every 4 weeks.
582       Dose Modifications  Dosage adjustment is based upon the degree of hematologic toxicity
583     experienced by the patient (see WARNINGS). Clearance in women and the elderly is reduced
584     and women were somewhat less able to progress to subsequent cycles (see Human
585     Pharmacokinetics under CLINICAL PHARMACOLOGY and PRECAUTIONS).
586       Patients receiving Gemzar should be monitored prior to each dose with a complete blood
587     count (CBC), including differential and platelet count. If marrow suppression is detected,
588     therapy should be modified or suspended according to the guidelines in Table 10.
589
                                  Table 10: Dosage Reduction Guidelines
         Absolute granulocyte count              Platelet count                     % of full dose
                 (x 106/L)                         (x 106/L)
                   ≥1000             and           ≥100,000                              100
                  500-999             or         50,000-99,000                            75
                   <500               or            <50,000                              Hold
590
591       Laboratory evaluation of renal and hepatic function, including transaminases and serum
592     creatinine, should be performed prior to initiation of therapy and periodically thereafter. Gemzar
593     should be administered with caution in patients with evidence of significant renal or hepatic
594     impairment.
595       Patients treated with Gemzar who complete an entire cycle of therapy may have the dose for
596     subsequent cycles increased by 25%, provided that the absolute granulocyte count (AGC) and
597     platelet nadirs exceed 1500 x 106/L and 100,000 x 106/L, respectively, and if non-hematologic
598     toxicity has not been greater than WHO Grade 1. If patients tolerate the subsequent course of
599     Gemzar at the increased dose, the dose for the next cycle can be further increased by 20%,
600     provided again that the AGC and platelet nadirs exceed 1500 x 106/L and 100,000 x 106/L,
601     respectively, and that non-hematologic toxicity has not been greater than WHO Grade 1.
602     Combination Use:
603       Non-Small Cell Lung Cancer  Two schedules have been investigated and the optimum
604     schedule has not been determined (see CLINICAL STUDIES). With the 4-week schedule,
605     Gemzar should be administered intravenously at 1000 mg/m2 over 30 minutes on Days 1, 8, and
606     15 of each 28-day cycle. Cisplatin should be administered intravenously at 100 mg/m2 on Day 1
607     after the infusion of Gemzar. With the 3-week schedule, Gemzar should be administered
608     intravenously at 1250 mg/m2 over 30 minutes on Days 1 and 8 of each 21-day cycle. Cisplatin at
609     a dose of 100 mg/m2 should be administered intravenously after the infusion of Gemzar on
610     Day 1. See prescribing information for cisplatin administration and hydration guidelines.
611       Dose Modifications  Dosage adjustments for hematologic toxicity may be required for
612     Gemzar and for cisplatin. Gemzar dosage adjustment for hematological toxicity is based on the
613     granulocyte and platelet counts taken on the day of therapy. Patients receiving Gemzar should be
614     monitored prior to each dose with a complete blood count (CBC), including differential and
615     platelet counts. If marrow suppression is detected, therapy should be modified or suspended
616     according to the guidelines in Table 10. For cisplatin dosage adjustment, see manufacturer’s
617     prescribing information.
618       In general, for severe (Grade 3 or 4) non-hematological toxicity, except alopecia and
619     nausea/vomiting, therapy with Gemzar plus cisplatin should be held or decreased by 50%
620     depending on the judgment of the treating physician. During combination therapy with cisplatin,
621     serum creatinine, serum potassium, serum calcium, and serum magnesium should be carefully
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                                                                                                        22

622     monitored (Grade 3/4 serum creatinine toxicity for Gemzar plus cisplatin was 5% versus 2% for
623     cisplatin alone).
624       Breast Cancer — Gemzar should be administered intravenously at a dose of 1250 mg/m2 over
625     30 minutes on Days 1 and 8 of each 21-day cycle. Paclitaxel should be administered at
626     175 mg/m2 on Day 1 as a 3-hour intravenous infusion before Gemzar administration. Patients
627     should be monitored prior to each dose with a complete blood count, including differential
628     counts. Patients should have an absolute granulocyte count ≥1500 x 106/L and a platelet count
629     ≥100,000 x 106/L prior to each cycle.
630       Dose Modifications — Gemzar dosage adjustments for hematological toxicity is based on the
631     granulocyte and platelet counts taken on Day 8 of therapy. If marrow suppression is detected,
632     Gemzar dosage should be modified according to the guidelines in Table 11.
633
                             Table 11: Day 8 Dosage Reduction Guidelines for
                                  Gemzar in Combination with Paclitaxel
         Absolute granulocyte count              Platelet count              % of full dose
                 (x 106/L)                         (x 106/L)
                   ≥1200              and           >75,000                       100
                1000-1199              or        50,000-75,000                    75
                  700-999             and           ≥50,000                        50
                   <700                or           <50,000                      Hold
634
635       In general, for severe (Grade 3 or 4) non-hematological toxicity, except alopecia and
636     nausea/vomiting, therapy with Gemzar should be held or decreased by 50% depending on the
637     judgment of the treating physician. For paclitaxel dosage adjustment, see manufacturer’s
638     prescribing information.
639       Gemzar may be administered on an outpatient basis.
640       Instructions for Use/Handling  The recommended diluent for reconstitution of Gemzar is
641     0.9% Sodium Chloride Injection without preservatives. Due to solubility considerations, the
642     maximum concentration for Gemzar upon reconstitution is 40 mg/mL. Reconstitution at
643     concentrations greater than 40 mg/mL may result in incomplete dissolution, and should be
644     avoided.
645       To reconstitute, add 5 mL of 0.9% Sodium Chloride Injection to the 200-mg vial or 25 mL of
646     0.9% Sodium Chloride Injection to the 1-g vial. Shake to dissolve. These dilutions each yield a
647     gemcitabine concentration of 38 mg/mL which includes accounting for the displacement volume
648     of the lyophilized powder (0.26 mL for the 200-mg vial or 1.3 mL for the 1-g vial). The total
649     volume upon reconstitution will be 5.26 mL or 26.3 mL, respectively. Complete withdrawal of
650     the vial contents will provide 200 mg or 1 g of gemcitabine, respectively. The appropriate
651     amount of drug may be administered as prepared or further diluted with 0.9% Sodium Chloride
652     Injection to concentrations as low as 0.1 mg/mL.
653       Reconstituted Gemzar is a clear, colorless to light straw-colored solution. After reconstitution
654     with 0.9% Sodium Chloride Injection, the pH of the resulting solution lies in the range of 2.7
655     to 3.3. The solution should be inspected visually for particulate matter and discoloration, prior to
656     administration, whenever solution or container permit. If particulate matter or discoloration is
657     found, do not administer.
658       When prepared as directed, Gemzar solutions are stable for 24 hours at controlled room
659     temperature 20° to 25°C (68° to 77°F) [See USP]. Discard unused portion. Solutions of
660     reconstituted Gemzar should not be refrigerated, as crystallization may occur.
661       The compatibility of Gemzar with other drugs has not been studied. No incompatibilities have
662     been observed with infusion bottles or polyvinyl chloride bags and administration sets.
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                                                                                                     23

663       Unopened vials of Gemzar are stable until the expiration date indicated on the package when
664     stored at controlled room temperature 20° to 25°C (68° to 77°F) [See USP].
665       Caution should be exercised in handling and preparing Gemzar solutions. The use of gloves is
666     recommended. If Gemzar solution contacts the skin or mucosa, immediately wash the skin
667     thoroughly with soap and water or rinse the mucosa with copious amounts of water. Although
668     acute dermal irritation has not been observed in animal studies, 2 of 3 rabbits exhibited
669     drug-related systemic toxicities (death, hypoactivity, nasal discharge, shallow breathing) due to
670     dermal absorption.
671       Procedures for proper handling and disposal of anti-cancer drugs should be considered. Several
672     guidelines on this subject have been published.1-8 There is no general agreement that all of the
673     procedures recommended in the guidelines are necessary or appropriate.
674                                           HOW SUPPLIED
675     Vials:
676      200 mg white, lyophilized powder in a 10-mL size sterile single use vial (No. 7501)
677          NDC 0002-7501-01
678      1 g white, lyophilized powder in a 50-mL size sterile single use vial (No. 7502)
679          NDC 0002-7502-01
680
681       Store at controlled room temperature (20° to 25°C) (68° to 77°F). The USP has defined
682     controlled room temperature as “A temperature maintained thermostatically that encompasses
683     the usual and customary working environment of 20° to 25°C (68° to 77°F); that results in a
684     mean kinetic temperature calculated to be not more than 25°C; and that allows for excursions
685     between 15° and 30°C (59° and 86°F) that are experienced in pharmacies, hospitals, and
686     warehouses.”
687                                              REFERENCES
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705
706     Literature revised Month,dd,yyyy
707
708                                        Eli Lilly and Company
709                                     Indianapolis, IN 46285, USA
710     B1.0 NL 4063 AMP                                                     PRINTED IN USA
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                        EXHIBIT II
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                                   PUBLIC VERSION          AVENTIS EXHIBIT 2211
                                                           Mylan v. Aventis IPR2016-00712
                                         1
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                          TELECON MEETING MINUTES

       MEETING DATE: June 28, 2006

       INDINDA: 50,139; 56,999
       Meeting Request Submission Date: May 1, 2006 (N215); May 5, 2006 (N085)
       Briefing Document Submission Date: May 23, 2006(N219); May 25, 2006 (N086)

       DRUG: RPR9881A and XRP6258

       SPAN SORIAPPLI CANT: Sanofi-Aventis Pharmaceuticals

       TYPE of MEETING/TELECON:

           I. End of phase 2

          2. Proposed Indication: Treatment of HRPC previously treated with a Taxotere containing
             regimen;


       FDA PARTICIPANTS:
       Robert Justice, MD, Director, Division of Drug Oncology Products
       Aim Farrell, MD, Acting Deputy Director
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       Martin Cohen, M.D., Medical Reviewer
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       Hun Ke, PhD, Statistician
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       Gene Williams, PhD, Clinical Pharmacology Reviewer
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       Jennifer Wells, Pancreatic Cancer Patient Representative


       INDUSTRY PARTICIPANTS:




                                             PUBLIC VERSION
                                                   2
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       IND 50,139
       IND 56,999
       Page 2 of 4
       Hichem Chakroun, Ph.D., Director, Project Direction
       Avinash Desai, M.D., Director, Clinical Development
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       Oncology

       BACKGROUND:                Following the FDA internal meetings, responses to the sponsor's
       questions were sent via e-mail (see attachments). On June 26, 2006, the sponsor requested that
       both meetings be combined into one and requested a teleconference. The discussion points are
       identified in italics below.

       MEETING/TELECON OBJECTIVES:

       To discuss the development plan for the treatment of fIRPC previously treated with a Taxotere
       containing regimen



       QUESTIONS for DISCUSSION with FDA RESPONSE and DECISIONS
       REACHED:
       Sanofi-Aventis; We agree to have overall survival as the single, primary endpoint for both Phase
       III registration trials, for XRP9881 and for XRP6258. We seek clarification from FDA on the
       following issues:

          1. We appreciate the FDA's detailed guidance on




             Discussion: If the study fails on survival, there will be no approval. If you win on
             survival, any secondary endpoints would have to be convincing to be included in the
             label. Given the unblinded nature of the trial, these secondary endpoints are unlikely to
             be included in the label.

          2. We appreciate the FDA's comments on the pain endpoint in the XRP6258 response #5.
             We wish to gain any additional recommendations FDA has that would help maximize the
             potential for labeling statements for our secondary clinical endpoint of pain response




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              endpoint using a similar approach as used for approval of mitoxantrone for treatment of
              HRPC?

              Discussion: See our response to question #1.

           3. In reference to XRP6258 response #4 on PFS, what advice can the FDA provide to
              strengthen the PFS endpoint that would allow this endpoint to be considered a secondary
              endpoint supportive of labeling statements versus an exploratory endpoint?

              Discussion: See our response to question #1 and there are two problems with PFS as an
              endpoint: PSA inclusion and measuring progression in bone only disease.

           4. We acknowledge the FDA comments on XRP6258 response #7 and propose to request a
              separate meeting with FDA to discuss the adequacy of the overall planned PK program
              and address the questions raised by the FDA. However, at this time, we wish to obtain
              FDA agreement with our proposed pharmacokinetic strategy for our Phase III clinical
              protocol in HRPC patients. We propose to implement sparse sampling in as many
              patients as possible at cycle 1 in the Phase III protocol, EFC6193, in order to assess the
              PK profile in this population, assuming no effect of the first dose of prednisone on PK, of
              XRP6258 and to investigate PK/PD relationships for safety and efficacy. In addition, 25
              patients will be sampled at cycle 2 in order to assess the effect of repeated
              administrations of prednisone on the PK of XRP6258. Does the FDA agree with this
              proposal for our Phase III HRPC protocol?

              FDA Response: Yes




       ACTION ITEMS:

       Sanofi-Aventis will respond in writing to the FDA responses sent June 22, 2006.

                                                   Concurrence Chair:




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       Ann Staten, Project Manager                        John Johnson, MD
                                                          Medical Team Leader Team
       Attachment: FDA responses to sponsor's questions
                   Regulatory Bullets




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        IND 56,999 XRP6258
        EOP2 meeting minutes
        HRPC

        Questions


           1. Does the FDA agree that the proposed patient population for study EFC6193 is
              adequately defined and suitable for a comparator-controlled Phase III study with
              marketing approval intent?

              FDA Response: Yes. However, please clarify the following inclusion criteria found on
              page 2/11 of the briefing book "Previously irradiated lesions, primary prostate lesion
              and bone lesions are excluded".

           2. Does the FDA agree that mitoxantrone in combination with prednisone is an
              appropriate comparator for this Phase III, randomized, comparator controlled trial?

              FDA Response: Yes. However, MIP therapy can be administered for 12 cycles
              (cumulative dose — 140 mern2). The dose proposed for the pivotal study (6 cycles of 12
              mg/m2, total 72 mg/m2) represents half the total dose permitted for mitoxantrone.


           3. Does the FDA agree that one Phase III trial, EFC6193, is adequate to support a
              marketing application for full approval provided this trial demonstrates a clear benefit
              in survival for XRP6258 in combination with prednisone compared to mitoxantrone in
              combination with prednisone?

              FDA Response: Possibly depending on the results. For a single randomized trial to
              support an NDA, the trial should be well designed, well conducted, internally consistent
              and provide statistically persuasive efficacy fmdings so that a second trial would be
              ethically or practically impossible to perform. If an improvement in survival is
              demonstrated, a single trial may be adequate. However, if the regulatory endpoint is
              pain improvement then a second controlled study would be required.


          4, Does the FDA agree with the definition of the composite secondary endpoint, PFS,
             defined as meeting at least one of the criteria below?
                 • Tumor progression as defined by RECIST
                 • PSA Progression that is 25% increased over baseline or over nadir
                 • Death due to any cause

              FDA Response: We consider this endpoint to be exploratory and will not be considered
              supportive for an approval or for labeling.




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        IND 56,999 XRP6258
        EOP2 meeting minutes
        HRPC


           5. Does the FDA agree that the protocol defined pain response provides supportive
               evidence of clinical benefit and supportive evidence for potential labeling?

              FDA Response: No.

              I. We recommend that you submit the final version of the PPI and the AS in the exact
                  format it is administered in your protocol with instructions on how the instrument
                  will be administered, directions explaining how scores will be derived, and how the
                  statistical analyses will be applied.
             2. Open-Iabel data are only appropriate for labeling if results are convincing and
                  conclusive.
             3. Pain intensity should be assessed at screening, and then continued eligibility by pain
                 score should be verified at baseline (i.e. before randomization/dosing),
             4. Pain intensity should then be recorded daily, over the duration of the trial. There
                 should also be evidence of efficacy over the entire duration of treatment.
             5. Pain relief and "rate of pain relief' are not accepted efficacy endpoints in analgesic
                 trials intended to support marketing of a product.
             6. Assessment of the "worst pain" will provide more reliable results than "average
                 pain" over 24 hours.
             7. Use of a known analgesic for rescue is acceptable (and recommended to reduce the
                 number of placebo dropouts). The maximum amount of rescue should be pre-
                 specified. The statistical analysis plan should describe how the use of rescue
                 medication will be incorporated into the primary analysis.
             8. Evidence that a palliative pain response defined as > 2 point reduction from baseline
                 with no increase in analgesic score or a reduction of at least 50% in the analgesic
                 score with no increase in the pain score must be provided to use this endpoint to
                 support labeling or promotional claims.
             9. Additional documentation of the development and validity of the PRO instrument
                 designed for HRMPC (e.g., for a "TTSW" or "improvement in tumor related
                 symptoms" claim) will be required for this type of claim to be included in labeling.
                 (See Draft Guidance for Industry- Patient-Reported Outcome Measures: Use in
                 Medical Product Development to Support Labeling Claims).


          6. If XRP6258 does not demonstrate a survival benefit but demonstrates superior clinical
             benefit in pain response defined as a two point or greater reduction from baseline
             median PPI with no concomitant increase in analgesic score OR a reduction of at least
             50% in analgesic use from baseline mean AS with no concomitant increase in pain,
             does the FDA agree that demonstration of superior pain response could support the
             potential marketing approval of XRP6258? (If FDA agrees, sponsor will consider
             power calculation and sample size accordingly)

             FDA Response: No. If you want to claim benefit based on pain relief then you have to
             design the study with pain intensity as a co-primary endpoint with survival and
             adequate allocation of alpha. In addition, a second study would be required to support a
             pain intensity claim. Any improvement in pain will be weighed against toxicity. We




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        EOP2 meeting minutes
        HRPC

              discourage you from attempting to salvage a failed survival study based on pain
              intensity in an open label study and for reasons listed in our response to question #5.



           7. Does the FDA agree that the completed pharmacokinetics and the proposed population
               pharmacokinetic analysis are adequate to support a marketing application for the
               proposed indication: treatment of hormone refractory prostate cancer patients who have
               relapsed during or following Taxotere based therapy?


              FDA Response: In order to maximize the ability to discern exposure-response
              relationships, we recommend that you perform pharmacokinetics sampling in all
              patients, rather than the planned subset of patients, in the efficacy and safety studies.

              We cannot comment on the overall adequacy of the planned program, as we lack
              answers to the numbered questions, below. These questions assume that FDA review of
              the preliminary data presented in the submission would agree with the conclusions of
              the Sponsor.

              1. For pathways that contribute more than 25% of the clearance, we recommend that
                 studies of the ability of inhibitors and inducers (if applicable) to alter the
                 pharmacokinetics of the new drug be performed. Do you plan to perform in vivo
                 drug interaction studies of the ability of a CYP3A4 inhibitor, a CYP3A4 inducer,
                 and a CYP2C8 inhibitor to alter XPR6258 concentrations?

              2. Based on in vitro data, are CYPs 1A2, 2C9, 2C19, and 2D6 likely each responsible
                 for less than 25% of the in vivo elimination of XPR6258? If no, do you plan to
                 perform in vivo drug interaction studies of the ability of inhibitors and inducers to
                 alter XPR6258 concentrations? If yes, what are the designs of the planned studies?

             3. Given that I/Ki for in vitro inhibition of CYP3A4 by XPR6258 exceeds 0.1, do you
                plan to perform an in vivo drug interaction study of the ability of XPR6258 to
                change concentrations of a reference CYP3A4 substrate? If yes, what is the design
                of the planned study?

              4. Is I/Ki for in vitro inhibition of CYPs 1A2, 2C8 and 2C19 by XPR6258 less than
                 0.1? If no, do you plan to perform one or more in vivo studies of the ability of
                 XPR6258 to alter concentrations of the relevant reference CYP substrates? If yes,
                 what are the designs of the planned studies?

             5. Does XPR6258 act as a CYP inducer in vitro? If yes, do you plan to perform one or
                more in vivo studies of the ability of XPR6258 to alter concentrations of reference
                CYP substrates? If yes, what are the designs of the planned studies?




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        IND 56,999 XRP6258
        EOP2 meeting minutes
        HRPC

               6. Does XPR6258 act as a substrate or inhibitor of transporters in vitro? If yes, do you
                  plan to perform in vivo studies with inhibitors or substrates? If yes, what are the
                  designs of the planned studies?

               7. If the results of the mass balance study show that 25% or more of elimination is
                  renal, we recommend that a pharmacokinetic study in patients with renal
                  impairment be performed. If the mass balance study shows that 25% or more of
                  elimination is renal, do you plan to perform a pharmacokinetic study in patients
                  with renal impairment? If yes, what will the design of the study be?

               8. What is the design of the planned study in patients with hepatic impairment?

               We recommend that you submit a summary that addresses the above questions and
               schedule a meeting to answer the question of the adequacy of the overall planned
               program.

        Additional FDA comments:

        1. Please provide information regarding the responses observed in patients with prostate
           cancer using this compound.

       2. We remind you that you cannot claim efficacy based on the interim futility analysis. If you
          do conduct an efficacy overall survival interim analysis then you must adjust for alpha.

       3. We recommend that you consider stratifying by measurable vs. non-measurable disease at
          randomization.




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          FINAL PROTOCOLS

            Please refer to the December 1999 DRAFT "Guidance for Industry - Special Protocol
            Assessment" (posted on the Internet 2/8/2000) and submit final protocol(s) to the IND for
            FDA review as a REQUEST FOR SPECIAL PROTOCOL ASSESSMENT (SPA) in
            bolded block letters at the top of your cover letter. Also, the cover letter should clearly
            state the type of protocol being submitted (i.e., clinical) and include a reference to this
            EOP2 meeting. A sample case report form (CRF) should be included. 10 desk copies of
            this SPA should be submitted directly to the project manager.

            Since we would like to use our ODAC consultant for this protocol review, and their
            clearance takes several weeks, we would appreciate any lead-in time you could give us as
            to when the SPA will be submitted. You should also be aware that our using a consultant
            extends the due date on these SPAs till 45 days after we receive the consultant's written
            comments.

          SUBMISSION OF CLINICAL TRIALS TO NIH PUBLIC ACCESS DATA BASE

            Section 113 of the Food and Drug Modernization Act (Modernization Act) amends 42
            U.S.C. 282 and requires the establishment of a public resource for information on studies
            of drugs for serious or life-threatening diseases conducted under FDA's Investigational
            New Drug (IND) regulations (21 CFR part 312). The National Institutes of Health (NIH)
            through its National Library of Medicine (NLM), and with input from the FDA and
            others, developed the Clinical Trials Data Bank, as required by the Modernization Act.

            FDA has made available a final guidance to implement Section 113 of the Modernization
            Act. The guidance describes the type of information to submit and how to submit
            information to the Clinical Trials Data Bank. The guidance entitled "Information
            Program on Clinical Trials for Serious or Life-Threatening Diseases and Conditions" was
            made available on March 18, 2002. It is accessible through the Internet at
            http://www.fda.gov/cder/guidance/4856fnl.htin

            The clinical trial information for the Clinical Trials Data Bank should include the purpose
            of the trial, the patient eligibility criteria, the location of the trial sites and, a contact for
            patients wanting to enroll in the trial. The data fields and their definitions are available in
            the Protocol Registration System at http://prsinfo.clinicaltrials.gov/. Protocols listed in
            this system by will be made available to the public on the Internet at


            If you have any questions, contact Theresa Toigo at (301) 827-4460 or
            113trials@oc.fda.gov.




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          FINANCIAL DISCLOSURE FINAL RULE

            We remind you of the requirement to collect the information on all studies that the FDA
            relies on to establish that the product is effective and any study in which a single
            investigator makes a significant contribution to demonstration of safety.

            Please refer to the March 20, 2001 "Guidance for Industry:• Financial Disclosure By
            Clinical Investigators" (posted on the Internet 3/27/2001) at
            http://www.fda.gov/oc/guidarice/financialdis.html.

          PEDIATRIC RESEARCH EQUITY ACT (PREA)

            All applications for new active ingredients, new dosage forms, new indications, new
            routes of administration, and new dosing regimens are required to contain an assessment
            of the safety and effectiveness of the product in pediatric patients unless this requirement
            is waived or deferred. We encourage you to submit a pediatric plan that describes
            development of your product in the pediatric population where it may be used. In any
            event, we hope you will decide to submit a pediatric plan and conduct the appropriate
            pediatric studies to provide important information on the safe and effective use of this
            drug in the relevant pediatric populations.


         PEDIATRIC EXCLUSIVITY

            Pediatric studies conducted under the terms of section 505A of the Federal Food, Drug,
            and Cosmetic Act may result in additional marketing exclusivity for certain products.
            You should refer to the Guidance for Industry on Qualifying for Pediatric Exclusivity
            (available on our web site at www.fda.gov/cder/pediatric) for details. If you wish to
            qualify for pediatric exclusivity you should submit a "Proposed Pediatric Study Request".
            FDA generally does not consider studies submitted to an NDA before issuance of a
            Written Request as responsive to the Written Request. Applicants should obtain a
            Written Request before submitting pediatric studies to an NDA.


         DEMOGRAPHICS

            In response to a final rule published 2-11-98, the regulations 21 CFR 314.50(d)(5)(v) and
            314.50(d)(5)(vi)(a) were amended to require sponsors to present safety and effectiveness
            data "by gender, age, and racial subgroups" in an NDA. Therefore, as you are gathering
            your data and compiling your NDA, we request that you include this analysis. To assist
            you in this regard, the following table is a suggestion for presentation of the numeric
            patient demographic information. This data, as well as the pertinent analyses, should be
            provided in the NDA.

            Please provide information for each category listed below from the primary safety
            database excluding PK studies.




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                            NUMBER                      NUMBER                    NUMBER
           CATE             EXPOSED                     EXPOSED                   EXPOSED To
           GORY             To STUDY                    To STUDY                  STUDY DRUG
                            DRUG                        DRUG
           Gen- Males                     All                        Females
           der                            Females                    >50

           Age:    0-<1                   >1 Mo.-‹                   >2-<12
                   Mo.                    2Year
                   12-16                  17-64                      >65

           Race: White                    Black                      Asian
                 Other


       CHEMIST RY

       Prior to initiating pivotal clinical studies, we request a complete, updated submission of
       chemistry, manufacturing and controls (CMC). Please refer to the appropriate CDER guidelines
       for assistance in preparing this submission. At the time of this submission, we strongly urge you
       to request a meeting to discuss CMC issues, e.g., impurity profile, stability protocols, approaches
       to specifications, and attributes, packages, etc.

       QT Evaluation

       In your clinical development program, you will need to address the clinical evaluation of the
       potential for QTIQTc interval prolongation (see ICH E14). In oncology, alternative proposals to
       the "TQT" study may be appropriate. Please plan to address this issue early in development.




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        JOURNAL OF CLINICAL ONCOLOGY                                                        O R I G I N A L             R E P O R T




                                            Docetaxel Plus Prednisone or Mitoxantrone Plus
                                            Prednisone for Advanced Prostate Cancer: Updated Survival
                                            in the TAX 327 Study
                                            Dominik R. Berthold, Gregory R. Pond, Freidele Soban, Ronald de Wit, Mario Eisenberger, and Ian F. Tannock
From the Princess Margaret Hospital
                                                                                  A   B    S    T   R   A   C    T
and University of Toronto, Toronto,
Ontario, Canada; Erasmus University
Medical Center, Rotterdam, the Nether-      Purpose
lands; and Sydney Kimmel Comprehen-         The TAX 327 study compared docetaxel administered every 3 weeks (D3), weekly docetaxel (D1),
sive Cancer Center, Johns Hopkins           and mitoxantrone (M), each with prednisone (P), in 1,006 men with metastatic hormone-resistant
University, Baltimore, MD.                  prostate cancer (HRPC). The original analysis, undertaken in August 2003 when 557 deaths had
Submitted May 1, 2007; accepted             occurred, showed significantly better survival and response rates for pain, prostate-specific
October 3, 2007.                            antigen (PSA), and quality of life for D3P when compared with MP. Here, we report an updated
Authors’ disclosures of potential con-      analysis of survival.
flicts of interest and author contribu-
                                            Methods
tions are found at the end of this
                                            Investigators were asked to provide the date of death or last follow-up for all participants who
article.
                                            were alive in August 2003.
Corresponding author: Ian F. Tannock,
MD, PhD, FRCPC, Princess Margaret           Results
Hospital, 610 University Ave, Toronto,      By March 2007, data on 310 additional deaths were obtained (total ⫽ 867 deaths). The survival
ON, M5G 2M9, Canada; e-mail:                benefit of D3P compared with MP has persisted with extended follow-up (P ⫽ .004). Median
ian.tannock@uhn.on.ca.                      survival time was 19.2 months (95% CI, 17.5 to 21.3 months) in the D3P arm, 17.8 months (95%
© 2008 by American Society of Clinical      CI, 16.2 to 19.2 months) in the D1P arm, and 16.3 months (95% CI, 14.3 to 17.9 months) in the
Oncology                                    MP arm. More patients survived ⱖ 3 years in the D3P and D1P arms (18.6% and 16.6%,
0732-183X/08/2602-242/$20.00                respectively) compared with the MP arm (13.5%). Similar trends in survival between treatment
DOI: 10.1200/JCO.2007.12.4008
                                            arms were seen for men greater than and less than 65 years of age, for those with and without
                                            pain at baseline, and for those with baseline PSA greater than and less than the median value of
                                            115 ng/mL.
                                            Conclusion
                                            The present analysis confirms that survival of men with metastatic HRPC is significantly longer
                                            after treatment with D3P than with MP. Consistent results are observed across subgroups
                                            of patients.

                                            J Clin Oncol 26:242-245. © 2008 by American Society of Clinical Oncology

                                                                                                    treated with MP compared with prednisone alone.
                                                              INTRODUCTION
                                                                                                    No survival benefit was detected in trials comparing
                                            Men with advanced prostate cancer are usually           mitoxantrone plus corticosteroids with corticoste-
                                            treated with androgen ablation therapies. Most men      roids alone, although the studies were not powered
                                            respond initially to hormonal treatment, but their      to detect small differences in survival.1,2
                                            disease evolves and becomes resistant to further hor-        In 2004, reports of the TAX 327 and Southwest
                                            monal therapy. Metastases, particularly to bone and     Oncology Group 99-16 studies showed significant
                                            lymph nodes, are frequent in men with hormone-          survival benefit when docetaxel-based treatment
                                            refractory prostate cancer (HRPC). Men with             was compared with mitoxantrone for men with
                                            HRPC frequently have pain and other symptoms            metastatic HRPC.3,4 The TAX 327 study randomly
                                            leading to impairment of quality of life (QOL).         assigned 1,006 men with metastatic HRPC to receive
                                                 Prostate cancer was considered resistant to        docetaxel 75 mg/m2 administered every 3 weeks
                                            chemotherapy until the mid-1990s, when mitox-           (D3P), docetaxel 30 mg/m2 administered weekly for
                                            antrone with prednisone (MP) was shown in a Ca-         5 of 6 weeks (D1P), or mitoxantrone 12 mg/m2
                                            nadian study to have a role in the palliative           every 3 weeks (MP), each with prednisone 5 mg
                                            treatment of metastatic HRPC.1 Men with HRPC            twice daily. The study showed significantly longer
                                            experienced an improvement in pain and QOL if           survival for the D3P arm compared with MP,

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                                     Copyright © 2008 American Society of Clinical Oncology. All rights reserved.
                                                                                                                AVENTIS EXHIBIT 2217
                                                                                                                Mylan v. Aventis IPR2016-00712
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                                                                     TAX 327 Study: Survival Update



although significant differences were not found for the D1P arm. The
D3P arm also showed better palliation, with a higher probability of                                           1.0
                                                                                                                                                           Docetaxel 3-weekly
pain and QOL response (and prostate-specific antigen [PSA] re-                                                                                             Docetaxel weekly
sponse) compared with MP. At the time of the initial analysis in                                              0.8                                          Mitoxantrone




                                                                                          Proportion Alive
August 2003, 557 of 1,006 participants in the trial had died.3 Here, we
report an updated survival analysis of the TAX 327 study. We also                                             0.6
provide results for patient subgroups that were defined according to
baseline characteristics.                                                                                     0.4


                                                                                                              0.2
                                    METHODS

Details of eligibility and exclusion criteria are provided in the initial report.3 In
                                                                                                                0          1        2         3       4           5    6           7
brief, men with metastatic prostate cancer were eligible if there was clinical or
radiologic evidence of progressive disease or three increasing values of serum                                                                Time (years)
PSA, despite primary androgen deprivation. No previous therapy with cyto-
toxic agents except estramustine was permitted. Patients were required not to             Fig 1. Overall survival data from March 2007, with 867 deaths among 1,006
have other major medical conditions and were stratified by presence or ab-              randomly assigned patients.
sence of significant baseline pain and by Karnofsky performance status (KPS;
required to be ⱖ 70%).
       Physical examination and radiologic investigations, including computed           months in the D3P arm, 17.8 months in the D1P arm, and 16.3
tomography and bone scanning, were performed at baseline, along with blood              months in the MP arm. When compared with the previous analysis,
tests, including serum PSA. Pain was self-reported using the Present Pain               the difference in median survival between the D3P and MP arms has
Intensity (PPI) scale from the McGill-Melzack questionnaire.5 Participants              increased slightly to 2.9 months, the hazard ratio (HR) has changed
kept a pain diary, and the daily analgesic intake was summed to give an                 minimally, and the P value is slightly stronger (P ⫽ .004). The differ-
Analgesic Score (AS) by assigning 4 points for a standard dose of narcotic              ence in survival between the D1P and MP arms remains nonsignifi-
analgesics and 1 point for a standard dose of non-narcotic analgesics; patients
were regarded as having substantial pain if the baseline PPI was ⱖ 2 or AS ⱖ 10.
                                                                                        cant (P ⫽ .09). The percentages of patients who survived for more
QOL was assessed with the Functional Assessment of Cancer Therapy–Pros-                 than 3 years in the D3P, D1P, and MP arms were 18.6%, 16.8%, and
tate (FACT-P) questionnaire.6 The maximum score is 156 points, indicating               13.5%, respectively (Table 1).
excellent QOL. Minimally symptomatic patients were defined by a near nor-
                                                                                        Subgroup Analyses
mal level of QOL (FACT-P score ⬎ 128), minimal pain (PPI ⬍ 2), and low
analgesic consumption (AS ⬍ 10). Treatment was planned for up to 10 cycles                   Median survival times and 95% CIs for the defined subgroups as
of 3 weeks for the D3P arm and up to five cycles of 6 weeks for the D1P arm.            a function of treatment arm are shown as a Forrest plot in Figure 2.
Patients were evaluated for pain, QOL, and serum PSA every 3 weeks. They
were observed until progression of disease, severe adverse event, or withdrawal
of consent. Investigators were required to observe patients until death.                                     Table 1. Survival of Men Treated With D3P, D1P, or MP: Initial and
       The present update of survival has been undertaken by contacting inves-                                                          Updated Data
tigators and requesting the last date of follow-up or date of death of their                                        Data            D3P (n ⫽ 335)   D1P (n ⫽ 334)     MP (n ⫽ 337)
patients. Ethics board approval was reactivated in centers where the approval
for the TAX 327 study had expired.                                                       Original data, 2003
       Overall survival was analyzed using the Kaplan-Meier method, and com-               Patients who died
parisons between treatment arms were performed using the log-rank test; the                   No.                                       166               190              201
D1P and D3P arms were compared individually with the MP arm. Exploratory                      %                                          50                57               60
subgroup analyses were also performed for patients separated on the basis of               Survival time, months
age, PSA at baseline, presence or absence of visceral disease, KPS, and levels of             Median                                    18.9             17.4            16.5
pain and QOL at baseline. For continuous outcomes (eg, age, PSA, and FACT-                    Range                                   17.0-21.2        15.7-19.0       14.4-18.6
P), patients were grouped by the median value. All randomly assigned patients              Hazard ratio                                 0.76             0.91
were included in the analysis of survival, and all randomly assigned patients                 95% CI                                 0.62 to 0.94     0.75 to 1.11
with available baseline data were included in the subgroup analyses. All statis-           P                                            .009              .36
tical tests were two-sided.                                                              Updated data, 2006-2007
                                                                                           Patients who died
                                                                                              No.                                       285               285              297
                                                                                              %                                          85.1              85.3             88.1
                                    RESULTS
                                                                                           Survival time, months
                                                                                              Median                                    19.2             17.8            16.3
Overall Survival                                                                              Range                                   17.5-21.3        16.2-19.2       14.3-17.9
                                                                                           Hazard ratio                                 0.79             0.87
      The study included 1,006 patients from 24 countries, and the
                                                                                              95% CI                                 0.67 to 0.93     0.74 to 1.02
initial survival analysis was performed in August 2003 when 557                            P                                            .004             .086
deaths had occurred. By March 2007, 310 additional deaths were                           Survival ⬎ 3 years
recorded, resulting in a total of 867 deaths; 111 patients have been lost                  3-year survival rate, %                       18.6              16.8             13.5
to follow-up, and 28 patients were alive with a last follow-up date                      Abbreviations: D3P, docetaxel administered every 3 weeks plus prednisone;
within the previous year. Updated survival curves are shown in Figure                   D1P, weekly docetaxel plus prednisone; MP, mitoxantrone plus prednisone.
1, and details are listed in Table 1. The median survival time was 19.2

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                                                                      Berthold et al




  Subgroup                 n     Median OS
      All patients       1,006     17.8

                                                                                                 3-weekly
      Age ≤ 68            504      17.6
                                                                                                 Weekly
      Age ≥ 69            502      18.1


  No pain                 550      21.3
  Pain                    456      14.2                                                                             Fig 2. Survival among various subgroups
                                                                                                                 treated on the TAX 327 trial. At left are the
                                                                                                                 subgroups defined in this exploratory analysis,
  KPS ≤ 80%               410      13.5                                                                          the number of patients in each subgroup, and
  KPS ≥ 90%               595      21.0                                                                          their median survival time in months, indepen-
                                                                                                                 dent of treatment. At right is a Forrest plot
                                                                                                                 showing the median hazard ratios and their
  FACT-P < 109            408      14.8
                                                                                                                 95% CIs for survival on the docetaxel arms
  FACT-P ≥ 109            407      19.8                                                                          compared with the mitoxantrone arm. OS,
                                                                                                                 overall survival; KPS, Karnofsky performance
  No visceral Dz          777      18.9                                                                          status; FACT-P, Functional Assessment of
  Visceral Dz             229      13.1                                                                          Cancer Therapy–Prostate; Dz, disease; PSA,
                                                                                                                 prostate-specific antigen.

  PSA < 115               507      20.4
  PSA ≥ 115               499      14.8



                                          0.5       0.7         0.9     1.0   1.1          1.3          1.5

                                                  Hazard Ratio (compared to mitoxantrone)


Similar trends in survival between treatment arms were seen for pa-            for D3P compared with MP is now 2.9 months (P ⫽ .004, HR ⫽ 0.79).
tients greater than and less than the median age of 68 years. The HRs          Treatment with D1P did not lead to a significant survival benefit
for younger and older patients were 0.81 and 0.77, respectively, for           compared with MP. Although differences in median survival are rel-
D3P compared with MP. Similar results were found when using a                  atively small, they are accompanied by improvement in pain control
more extreme age cutoff of 75 years (HR ⫽ 0.80 for older patients).            and QOL and are clinically meaningful.
     In the TAX 327 study, the median serum PSA at baseline was 115                  As expected, patients with visceral disease, pain, poorer perfor-
ng/mL. Among patients with lower and higher PSA levels at baseline, the        mance status, and higher values of baseline PSA had shorter survival
HRs were 0.83 and 0.73, respectively, indicating similar benefits of D3P       times. In general, the survival benefit for patients randomly assigned to
compared with MP for patients with a greater or lesser burden of disease.      the D3P arm compared with the MP arm was consistent across sub-
     The presence of visceral involvement is a known adverse prog-             groups, adding support to the primary result. Therefore, the earlier
nostic factor for men with metastatic prostate cancer when compared            mentioned factors are indicators of poor prognosis but not predictors
with patients with only bone and/or nodal disease. In the present              of response.
study, the 22% of patients with visceral disease died on average 6                   As described previously, men treated with weekly docetaxel were
months earlier than those without visceral metastases. The HR was              more likely to experience early deterioration of QOL.7 This result,
0.87 for the subgroup of men with visceral metastases when compar-
                                                                               either because of progression of disease or toxicity as a result of treat-
ing D3P with MP.
                                                                               ment, and the continuing evidence that this treatment does not lead to
     Patients with a KPS ⱖ 90% lived approximately 8 months longer
                                                                               a significant improvement in survival compared with treatment with
than patients with a KPS ⱕ 80%; however, the HRs for these groups were
                                                                               mitoxantrone indicate that the weekly docetaxel schedule should not
similar at 0.75 and 0.82, respectively, for D3P compared with MP.
                                                                               be adopted, with the possible exception of patients who are at high risk
     There were 456 patients with substantial pain at baseline (defined
                                                                               of neutropenic fever.
by PPI ⱖ 2 and/or AS ⱖ 10), and survival time was shorter for those
                                                                                     In contrast to the earlier Canadian study1 that evaluated mitox-
with pain. The HRs for patients without and with pain were 0.73 and
                                                                               antrone, the TAX 327 trial has included patients with and without
0.85, respectively, for D3P compared with MP.
                                                                               symptoms. In general, the chances of prolonging survival with D3P
     Men with better or worse QOL, as indicated by their FACT-P
                                                                               seemed similar among patients with higher and lower disease burden
score at baseline, had HRs of 0.92 and 0.66, respectively, when treated
                                                                               as indicated by level of serum PSA, the presence or absence of substan-
with D3P compared with MP. For minimally symptomatic patients
                                                                               tial pain, and the QOL or performance score. This analysis does not
(FACT-P score ⬎ 128, PPI ⬍ 2, and AS ⬍ 10), the trend for survival
                                                                               address whether docetaxel should be used in patients with minimal
benefit was maintained for D3P compared with MP.
                                                                               symptoms or whether it is appropriate to defer treatment until more
                                                                               symptoms occur. However, considering the similar benefit among
                                  DISCUSSION                                   subgroups and the potential for QOL to deteriorate as a result of
                                                                               disease progression, it seems reasonable to offer treatment to patients
This updated survival analysis of the TAX 327 study is consistent with         with symptoms and to those who are likely to develop symptoms in
the previously reported results. The difference in median survival time        the near future, based on the burden of disease and the PSA doubling

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                                                                  TAX 327 Study: Survival Update



time. There is no established second-line therapy for men with HRPC                   ASCO’s conflict of interest policy, please refer to the Author Disclosure
who experience progression after docetaxel therapy, but several trials                Declaration and the Disclosures of Potential Conflicts of Interest section in
are evaluating new agents. The number of patients fit enough for                      Information for Contributors.
                                                                                      Employment or Leadership Position: None Consultant or Advisory
second-line therapy is likely to increase if first-line therapy with do-              Role: Mario Eisenberger, Sanofi-Aventis (C), Saphire (C), Ipsen (C)
cetaxel is initiated earlier in the course of disease, but potential benefits         Stock Ownership: None Honoraria: None Research Funding: Mario
of early treatment must be counterbalanced by the potential toxicity of               Eisenberger, Sanonfi-Aventis, Celgene, Centocor, Cytogen, Novartis; Ian
treatment. Also, future studies should evaluate the cost effectiveness of             F. Tannock, Sanofi-Aventis Expert Testimony: None Other
docetaxel and other new treatments for men with prostate cancer.                      Remuneration: None
     In conclusion, docetaxel administered every 3 weeks with pred-
nisone remains the preferred treatment option for most patients with                                            AUTHOR CONTRIBUTIONS
metastatic HRPC. The consistency of results among subgroups indi-
cates rigorous data.                                                                  Conception and design: Dominik R. Berthold, Ronald de Wit, Mario
                                                                                      Eisenberger, Ian F. Tannock
                                                                                      Financial support: Ian F. Tannock
         AUTHORS’ DISCLOSURES OF POTENTIAL CONFLICTS                                  Provision of study materials or patients: Dominik R. Berthold, Freidele
                         OF INTEREST                                                  Soban, Ronald de Wit, Mario Eisenberger, Ian F. Tannock
                                                                                      Collection and assembly of data: Freidele Soban, Ronald de Wit, Mario
Although all authors completed the disclosure declaration, the following              Eisenberger, Ian F. Tannock
author(s) indicated a financial or other interest that is relevant to the subject     Data analysis and interpretation: Dominik R. Berthold, Gregory R.
matter under consideration in this article. Certain relationships marked              Pond, Ian F. Tannock
with a “U” are those for which no compensation was received; those                    Manuscript writing: Dominik R. Berthold, Ian F. Tannock
relationships marked with a “C” were compensated. For a detailed                      Final approval of manuscript: Dominik R. Berthold, Gregory R. Pond,
description of the disclosure categories, or for more information about               Freidele Soban, Ronald de Wit, Mario Eisenberger, Ian F. Tannock

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                                                        Acknowledgment
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                                                   version (via Adobe® Reader®).




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                                                      èð                                                                                               ²ãè                                                                                                    ² ã ïí                                                                                                                   ×² ¬±¬¿´ô èîî °¿¬·»²¬- øèçòìû÷ »¨°»®·»²½»¼ ¿² ßÛ øÌ¿¾´» ê÷å ±º ¬¸»-»ô
                                                                                                                                                                                                                                                                            ¬¸» ÝËÐñÛßÐ                                                                                                ëðòëû ©»®                                                                                                   Þ¿-»´·²» -¬¿¬«-ö Ð±-¬ó¾¿-»´·²» -¬¿¬«-ô               Þ¿-»´·²» -¬¿¬«-ö Ð±-¬ó¾¿-»´·²» -¬¿¬«-ô
                                                      éð                                                                                                                                                                                                                                                                                                                                                                                                                                           Ò ã çïç          ² øû÷                                Ò ã çïç          ² øû÷
                                                      êð
                                                                                                                                                                                                                                                                                                                                                                                       Ñª»®¿´´ô ìï °¿¬·»²¬- øìòëû÷ »¨°»®·»²½»¼ ßÛ- ´»¿¼·²¹ ¬± ¼»¿¬¸ øÌ¿¾´» ê÷ô
                                                                                                                                                                                                                                                                                                                                ÝËÐñÛßÐ                 ÌÎÑÐ×Ý øÝ¾¦Ð ¿®³÷ ïö           îï øîòíû÷ ±º ©¸±³ ¼·»¼ ¼«» ¬± ¿² ßÛ ¬¸¿¬ ¬¸» ·²ª»-¬·¹¿¬±® ¾»´·»ª»¼ ¬±
                                                                                                                                                                                                                                                         Ù»®³¿²§
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Ù®¿¼» ðô ² ã çïì Ù®¿¼» ð               èèé øçéòð÷     Ù®¿¼» ðô ² ã çïé      Ù®¿¼» ð          èéï øçëòð÷
                                                                                                                                                        Í°¿·²                                                                                                                                                                    Ò ã çïç                     Ò ã íéè
                                                      ëð                                                                                               ² ã ïíè                                                                                           ² ã ïîï                                                                                                                       ¾» ®»´¿¬»¼ ¬± Ý¾¦Ð ¬®»¿¬³»²¬ ø¬¸» ³±-¬ ½±³³±² ¾»·²¹ ²»«¬®±°»²·½
                                                      ìð                                                                                                                                                                                                                                                                                                                               -»°-·-ô °²»«³±²·¿ô -»°-·-ô -»°¬·½ -¸±½µô °¿²½§¬±°»²·¿ ¿²¼ ³«´¬·ó±®¹¿²                                                             Ù®¿¼» ï           îí øîòë÷                            Ù®¿¼» ï           íí øíòê÷
                                                                                                                                                                                                                                                                             Ó»¼·¿² ½«³«´¿¬·ª» ¼±-» ±º ´¿-¬                                                                            º¿·´«®»ô ¿´´ ±½½«®®·²¹ ·² î °¿¬·»²¬- »¿½¸÷ò
                                                                                                                                                                                                                                                                                                                                    êððòð                          ëéêòê
                                                      íð                                                                                                         Í´±ª»²·¿                                                                                                    ¼±½»¬¿¨»´ ¿¼³·²·-¬®¿¬·±²ô³¹ñ³n
                                                                                                                                                                  ²ãî                                                                      Ù®»»½»                                                                                                              øîîòðíðèçòð÷




                 Ð®±¾¿¾·´·¬§ ±º ±ª»®¿´´ -«®ª·ª¿´ô û
                                                                                                                                                                                                                                                                                                                                                                                        ß ¬±¬¿´ ±º ïð °¿¬·»²¬- øïòïû÷ ¼·»¼ ¼«» ¬± ¼·-»¿-» °®±¹®»--·±²ò                                                                  Ù®¿¼» î            ì øðòì÷                            Ù®¿¼» î           ïî øïòí÷
                                                      îð                                                                                                                                                                                   ² ã îè                            ø®¿²¹»÷
                                                            ØÎ ðòéðå çëû Ý× ðòëç
                                                                                ðòèí                                                                             Ð±®¬«¹¿´
                                                            Ô±¹ó®¿²µ Ð ä ðòðððï                                                                                   ² ã ïí                                                                    Ø«²¹¿®§
                                                      ïð                                                                                                               Ð±´¿²¼                                                                ²ãí                                                                                                                                                                                                                                                                                                                               Ù®¿¼» í            ï øðòï÷
                                                                                                                                                                         ² ã ë Ð»®«   Ò»¬¸»®´¿²¼-                          ×®»´¿²¼ ×²¼·¿                                     Ó»¼·¿² ¬·³» º®±³ ´¿-¬ ¼±½»¬¿¨»´                                                                         Ì¿¾´» êò ß¼ª»®-» »ª»²¬-
                                                                                                                                                                               ²ãì       ²ã ìè                    ×¬¿´§     ²ãë ²ãî                                                                        
                                                                                                                                                                                                                                                                                                           y
                                                                                                                                                                                                                                                                                                                                     ëòë
                       ð                                                                                                                                                                                                                                                                                                                                             ìòï
                                                                                                                                                                                Ò±®©¿§                           ² ã çð
                          ð                                         ê            ïî             ïè             îì            íð                                                                   Ô»¾¿²±²                                                                                                                                                                                                                                                                                          Ù®¿¼» ïô ² ã ë        Ù®¿¼» ï           ë øïðð÷       Ù®¿¼» ïô ² ã ï        Ù®¿¼» ï           ï øïðð÷
                                                                                                                                                                                 ²ã îð Ó»¨·½±                                                                                ³±²¬¸- ø®¿²¹»÷
        Ò«³¾»® ¿¬ ®·-µ                                                                                                                                                                              ²ãé                                                                                                                                                                                                                                                                         Ð¿¬·»²¬-
                                                                                       Ó±²¬¸-                                                                                             ²ãê                                                                                                                                                                                         ßÛô ² øû÷
        Ó·¬±¨¿²¬®±²»     íéé                                       íðð           ïèè            êé             ïï            ï                                                           Ô«¨»³¾±«®¹   Õ±®»¿ô Î»°«¾´·½ ±º                                                                                                                                                                                                                                                        Ò ã çïç
        Ý¿¾¿¦·¬¿¨»´      íéè                                       íîï           îíï            çð             îè            ì                                                               ²ãï            ²ãè                                                                                                                                                                                                                                                                                                                                          Ù®¿¼» îô ² ã ï        Ù®¿¼» î           ï øïðð÷
                                                                                                                                                                                                                                                                             Ì·³» º®±³ ´¿-¬ ¼±½»¬¿¨»´ ¼±-»
                                                                                                                                                                                                                                                                             ¬± °®±¹®»--·±² ¾§ ¬·³» ·²¬»®ª¿´ô                                                                         ß²§ ßÛ ø¿´´ ¹®¿¼»÷                                                                    èîî øèçòì÷             ö Þ¿-»´·²» »ª»²¬- ©»®» ¬¸±-» ®»°±®¬»¼ °®·±® ¬± ¬®»¿¬³»²¬ øÊ·-·¬ ã ð÷å                        »
   ×² ¿² «°¼¿¬»¼ -«®ª·ª¿´ ¿²¿´§-·- ø½«¬ ±ººæ ïð Ó¿®½¸ îðïð÷ô ¬¸» °®±¾¿¾·´·¬§                                                                  Ð¿¬·»²¬ ¾¿-»´·²» ¿²¼ ¼·-»¿-» ½¸¿®¿½¬»®·-¬·½- ¿®» -¸±©² ·² Ì¿¾´» îò                                                             ² øû÷öö                                                                                                                                                                                                               ¬®»¿¬³»²¬ó»³»®¹»²¬ ßÛ- ±® °®»ó¬®»¿¬³»²¬ ßÛ- -¬·´´ ±²¹±·²¹ ¼«®·²¹ ¬®»¿¬³»²¬ øÊ·-·¬ â ð÷å °¿¬·»²¬-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       »¿¬³»²¬ ©»®» ¿--·¹²»¼ ¬¸» -¿³» ¹®¿¼» ¿-
                                                                                                                                               Ó»¼·¿² °¿¬·»²¬ ¿¹» ©¿- êè §»¿®-ô ©·¬¸ ïçë øîïòîû÷ °¿¬·»²¬-                                                                                                                                                                                                                                                                  ìêì øëðòë÷             ¾¿-»´·²» ¹®¿¼»ò
   ³·¬±¨¿²¬®±²» õ °®»¼²·-±²» øÓÐ÷òì                                                                                                                                                                                                                                             Ð®±¹®»--·±² ¼«®·²¹ ´¿-¬ ¼±½»¬¿¨»´
                                                                                                                                                                                                                                                                                                                                 ïëí øïêòè÷                      ïïë øíðòì÷
                                                                                                                                             Ð¿¬·»²¬- ·² ¬¸·- -¬«¼§ ¿°°»¿®                                                                                                     ®»¹·³»²                                                                                               ß²§ °±--·¾´§ ¬®»¿¬³»²¬ó®»´¿¬»¼ö ßÛ                                                    éìç øèïòë÷
        ½±³°¿--·±²¿¬»ó«-» °®±¹®¿³³» øÝËÐ÷ ¿²¼ ¿² »¿®´§ó¿½½»--                                                                                 øÌ¿¾´» î÷ò                                                                                                                                                                                                                                                                                                                                          Ü·-½«--·±² ¿²¼ ½±²½´«-·±²-
                                                                                                                                                                                                                                                                                ä í ³±²¬¸- -·²½» ´¿-¬ ¼±½»¬¿¨»´
        °®±¹®¿³³» øÛßÐå ÒÝÌðïîëìîéç÷ò                                                                                                         Ì¸» ³±-¬ ½±³³±² -·¬»- ±º ³»¬¿-¬¿-»- ©»®» ¾±²» ø² ã èìí ÅçïòéûÃ÷ô                                                                                                                   íðî øííòï÷                      ïëè øìïòè÷           ß²§ -»®·±«- ßÛ                                                                        îçì øíîòð÷
                                                                                                                                                                                                                                                                                ¼±-»
   Û²®±´³»²¬ ·² ¬¸» ÝËÐ ¿²¼ ÛßÐ ±°»²»¼ ·² îðïð ¿²¼ ·- ±²¹±·²¹ò                                                                                ´§³°¸ ²±¼»- ø®»¹·±²¿´ ² ã îéì ÅîçòçûÃ ¿²¼ ¼·-¬¿²¬ ² ã îëé ÅîèòðûÃ÷ô                                                                                                                                                                                                                                                                                   Ø»®» ©» °®»-»²¬ -¿º»¬§ ¼¿¬¿ º®±³ ¬¸» «-» ±º Ý¾¦Ð ·² ®±«¬·²» ½´·²·½¿´
                                                                                                                                              ´«²¹ ø² ã ïðí ÅïïòîûÃ÷ô °»´ª·- ø² ã ïðî ÅïïòïûÃ÷ ¿²¼ ´·ª»® ø² ã çï ÅçòçûÃ÷ò                                                       íê ³±²¬¸­ ­·²½» ´¿­¬ ¼±½»¬¿¨»´                                                                       ß²§ ßÛ ´»¿¼·²¹ ¬± ¼»¿¬¸                                                                   ìï øìòë÷            °®¿½¬·½» -»¬¬·²¹- ¿½®±-- ¬¸» ¹´±¾»ô ©¸·½¸ ½±³°´»³»²¬- »¨·-¬·²¹
   Ì¸·- °±-¬»® °®                                                                                                                                                                                                                                                                                                                ïëí øïêòè÷                      ëè øïëòí÷                                                                                                                          °«¾´·-¸»¼ ¼¿¬¿ ±² ¬¸» -¿º»¬§ ±º Ý¾¦ò
   ¬®»¿¬³»²¬ ·² ¬¸» ÝËÐ ¿²¼ ÛßÐ °®±¹®¿³³»- ±² ±® ¾»º±®» íï ß«¹«-¬ îðïïò                                                                                                                                                                                                         ¼±­»
                                                                                                                                           Ì¿¾´» îò Ð¿¬·»²¬ ¾¿-»´·²» ¿²¼ ¼·-»¿-» ½¸¿®¿½¬»®·-¬·½- º±®                                                                                                                                                                                   Ð±--·¾´§ ®»´¿¬»¼ ¬± -¬«¼§ ¼®«¹ö                                                          îï øîòí÷            ßÛ- ¿--±½·¿¬»¼ ©·¬¸ Ý¾¦Ð ¬®»¿¬³»²¬ ©»®» ½´·²·½¿´´§ ³¿²¿¹»¿¾´»ò Ì¸»
                                                                                                                                           °¿¬·»²¬- »²®±´´»¼ ·² ¬¸» ÝËÐñÛßÐ                                                                                                                                                      íðì øííòí÷                      ìì øïïòê÷                                                                                                                          ®¿¬» ±º º»¾®·´» ²»«¬®±°»²·¿ ·² ¬¸» ÝËÐñÛßÐ ©¿- ´±©»® ¬¸¿² ±¾-»®ª»¼ ·²
Ñ¾¶»½¬·ª»-                                                                                                                                                                                                                                                                      ¼±-»                                                                                                  ß²§ ßÛ ´»¿¼·²¹ ¬± Ý¾¦ ¼·-½±²¬·²«¿¬·±²                                                 ïìî øïëòë÷              ¬¸» ÌÎÑÐ×Ý -¬«¼§ øÝËÐñÛßÐæ êòîûå ÌÎÑÐ×Ýæ èû÷ôï °±--·¾´§ ¼«» ¬± ¬¸»
                                                                                                                                                                                                           ÝËÐñÛßÐ                          ÌÎÑÐ×Ý øÝ¾¦Ð ¿®³÷ïö             ö Ð¿¬·»²¬ ¬®»¿¬³»²¬ ¸·-¬±®§ ·- ¿´-± °®»-»²¬»¼ º±® °¿¬·»²¬- ·² ¬¸» Ý¾¦Ð ¿®³ ±º ¬¸» ÌÎÑÐ×Ý ¬®·¿´ô º±®                                                                                                                     «-» ±º ÙóÝÍÚ ¿- °®±°¸§´¿¨·- ø°»® ßÍÝÑ ¹«·¼¿²½»÷ò
                                                                                                                                                                                                                                                                                                                                                                                     ö ß- ¶«¼¹»¼ ¾§ ¬¸» °®·³¿®§ ·²ª»-¬·¹¿¬±®ò
   Ð®·³¿®§æ ¬± ¿´´±© °¿¬·»²¬- ©·¬¸ ³ÝÎÐÝ ©¸±-» ¼·-»¿-» ¸¿- °®±¹®»--»¼                                                                                                                                       Ò ã çïç                              Ò ã íéè                    ®»º»®»²½» ±²´§                                                                                           ßÛ ã ¿¼ª»®-» »ª»²¬å Ý¾¦ ã ½¿¾¿¦·¬¿¨»´                                                                          ß -·³·´¿®´§ ´±© ®¿¬» ±º º»¾®·´» ²»«¬®±°»²·¿ ·² °¿¬·»²¬- ©·¬¸ ¿²¼ ©·¬¸±«¬
                                                                                                                                                                                                                                                                            
   ¼«®·²¹ ±® ¿º¬»® ¼±½»¬¿¨»´ ¬®»¿¬³»²¬ô ¿²¼ ©¸± ¸¿ª» -·³·´¿® ¼·-»¿-» ¿²¼                                                                                                                                                                                                      íí °¿¬·»²¬- ³·--·²¹ øÝËÐñÛßÐ÷å ê °¿¬·»²¬- ³·--·²¹ øÝËÐñÛßÐ÷ô ï °¿¬·»²¬ ³·--·²¹ øÌÎÑÐ×Ý÷å
                                                                                                                                                                                                                                                                            y                                                                                                                                                                                                                       °®±°¸§´¿½¬·½ ÙóÝÍÚ «-» ·² Ý§½´» ï øîòíû ¿²¼ îòéûô ®»-°»½¬·ª»´§÷
                                                                                                                                             Ó»¼·¿² ¿¹»ô §»¿®- ø®¿²¹»÷                                    êèòð øìí
                                                                                                                                                                                                                  èç÷                                 êèòð øìê
                                                                                                                                                                                                                                                              çî÷             Ú±® ÌÎÑÐ×Ýô ¬·³» º®±³ ´¿-¬ ¼±-» ±º ¼±½»¬¿¨»´ ¬± ®¿²¼±³·-¿¬·±²å öö é °¿¬·»²¬- ³·--·²¹ øÝËÐñÛßÐ÷ô
   ¾¿-»´·²» ½¸¿®¿½¬»®·-¬·½- ¬± ¬¸±-» »ª¿´«¿¬»¼ ·² ¬¸» ÌÎÑÐ×Ý ¬®·¿´ô ¿½½»--                                                                                                                                                                                                  í °¿¬·»²¬- ³·--·²¹ øÌÎÑÐ×Ý÷ò                                                                               Ì¸» ³±-¬ ½±³³±²´§ ®»°±®¬»¼ ßÛ- ©»®» ¼·¿®®¸±»¿ô º¿¬·¹«» ¿²¼ ²¿«-»¿                                            ·²¼·½¿¬»- ¿°°®
   ¬± Ý¾¦ ¾»º±®» ·¬ ·- ½±³³»®½·¿´´§ ¿ª¿·´¿¾´»ò                                                                                               ß¹» ¹®±«°ô §»¿®-ô ² øû÷                                                                                                                                                                                                                   øÌ¿¾´» é÷ò
                                                                                                                                                                                                                                                                            Ý¾¦Ð ã ½¿¾¿¦·¬¿¨»´ °´«- °®»¼²·-±²»å ÝËÐ ã ½±³°¿--·±²¿¬»ó«-» °®±¹®¿³³»å                                                                                                                                                  º±® º»¾®·´» ²»«¬®±°»²·¿ ©¿- »ºº»½¬·ª»ò
   Í»½±²¼¿®§æ ¬± ¼±½«³»²¬ ¬¸» ±ª»®¿´´ -¿º»¬§ ±º Ý¾¦ ·² ¬¸»-» °¿¬·»²¬-ò                                                                        ä êë                                                          îèí øíðòè÷                                  ïíí øíëòë÷          ÛßÐ ã »¿®´§ó¿½½»-- °®±¹®¿³³»ò
                                                                                                                                              êë
                                                                                                                                                éë                                                          ììï øìèòð÷                                  ïéê øìêòê÷
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Ð»®·°¸»®¿´ ²»«®±°¿¬¸§ ©¿- ®»°±®¬»¼ ´»-- º®»¯«»²¬´§ ·² ¬¸·- -¬«¼§
                                                                                                                                                                                                                                                                                                 »¿¬³»²¬ ½§½´»ô ¿®±«²¼ ¸¿´º ¬¸» °¿¬·»²¬- ®»½»·ª»¼ ÙóÝÍÚô                               ·²ª»-¬·¹¿¬±®- ½±²-·¼»®»¼ ¬± ¾» ®»´¿¬»¼ ¬± Ý¾¦Ð ¬®»¿¬³»²¬ò                                                    ø-»²-±®§æ íòðûå ³±¬±®æ ëòðû÷ ¬¸¿² ®»°±®¬»¼ ©·¬¸ ±¬¸»® ¬¿¨¿²»-ê ¿²¼
                                                                                                                                                                                                            ïçë øîïòî÷                                   êç øïèòí÷
Ó»¬¸±¼-                                                                                                                                                                                                                                                                         ¬¸» ³¿¶±®·¬§ ¿- °®±°¸§´¿½¬·½ «-» øÌ¿¾´» ì÷ò ß -·³·´¿® °¿¬¬»®² ©¿- ±¾-»®ª»¼                              Ì¸» ³±­¬ ½±³³±² ®»´¿¬»¼ Ù®¿¼» í   ì ßÛ­ ©»®» ²»«¬®±°»²·¿                                                  Ý¾¦ ¼·¼ ²±¬ ¿°°»¿® ¬± ©±®-»² °®»ó»¨·-¬·²¹ ²»«®±°¿¬¸§ò
                                                                                                                                             ÛÝÑÙ ÐÍô ² øû÷
                                                                                                                                                                                                                                                                                ¿½®±-- ¿´´ ½§½´»-ò                                                                                       øïéòíû÷ô ´»«µ±°»²·¿ øéòïû÷ô ¿²¼ º»¾®·´» ²»«¬®±°»²·¿ øêòîû÷ò
                                                                                                                                              ð
                                                                                                                                               ï                                                            èîê øçðòð÷                                  íëð øçîòê÷
Í¬«¼§ ¼»-·¹²                                                                                                                                                                                                                                                                    ×² °¿¬·»²¬- ®»½»·ª·²¹ °®±°¸§´¿½¬·½ ÙóÝÍÚ ¿¬ Ý§½´» ïô ¬¸» ·²½·¼»²½» ±º º»¾®·´»                           Ú»¾®·´» ²»«¬®±°»²·¿ ©¿- ®»°±®¬»¼ ·² êòîû ±º °¿¬·»²¬-ò
                                                                                                                                              î                                                              çî øïðòð÷                                   îè øéòì÷                                                                                                                                                                                                                                 ß½µ²±©´»¼¹»³»²¬-
   Ý¾¦ îë ³¹ñ³î ×Ê »ª»®§ í ©»»µ- õ °®»¼²·-±²»ñ°®»¼²·-±´±²» ïð ³¹                                                                                                                                                                                                                ²»«¬®±°»²·¿ ©¿- îòíû øçñíèí °¿¬·»²¬-÷ô ½±³°¿®»¼ ©·¬¸ îòéû øïîñíèí
   ±®¿´ô ¼¿·´§ò                                                                                                                              Ó»¼·¿² ¬·³» -·²½» ·²·¬·¿´
                                                                                                                                             ¼·¿¹²±-·- ¬± ·²½´«-·±²ô ³±²¬¸-                            ëèòë øëòí
                                                                                                                                                                                                                îíêòè÷                                        Òß                °¿¬·»²¬-÷ ·² °¿¬·»²¬- ©·¬¸±«¬ °®±°¸§´¿½¬·½ ÙóÝÍÚ ¿¬ Ý§½´» ïò                                         Ì¿¾´» é                                                                                                        Ì¸» ¿«¬¸±®- ©±«´¼ ´·µ» ¬± ¬¸¿²µ ¿²¼ ¿½µ²±©´»¼¹» ¬¸» º±´´±©·²¹ °»±°´»æ
    Ë-» ±º ¹®¿²«´±½§¬» ½±´±²§ó-¬·³«´¿¬·²¹ º¿½¬±® øÙóÝÍÚ÷ ¿¼³·²·-¬»®»¼                                                                       ø®¿²¹»÷                                                                                                                                                                                                                                                                                                                                                °¿®¬·½·°¿¬·²¹ °¿¬·»²¬- ¿²¼ ¬¸»·® º¿³·´·»-
        ¿- °»® ßÍÝÑ ¹«·¼¿²½»òë                                                                                                                                                                                                                                              Ì¿¾´» ìò ÙóÝÍÚ «-»                                                                                                                                               ß´´ó¹®¿¼» ßÛ-ô                Ù®¿¼» íì ßÛ­ô
                                                                                                                                             Ó»¼·¿² ¬·³» -·²½» ³ÝÎÐÝ                                                                                                                                                                                                                                                                              ² øû÷                        ² øû÷                 -¬«¼§ ½±ó·²ª»-¬·¹¿¬±®- ¿²¼ ®»-»¿®½¸ ½±±®¼·²¿¬±®-ò
   Ð¿¬·»²¬- ¿®» ¬®»¿¬»¼ «²¬·´ ¼·-»¿-» °®±¹®»--·±²ô ¼»¿¬¸ô «²¿½½»°¬¿¾´»                                                                       ¼·¿¹²±-·- ¬± ·²½´«-·±²ô ³±²¬¸-                            îïòð øðòí
                                                                                                                                                                                                                ïêêòï÷                                        Òß
   ¬±¨·½·¬§ô °¸§­·½·¿² ­ ¼»½·­·±² ±® °¿¬·»²¬­ ®»º«­¿´ ±º º«®¬¸»® ¬®»¿¬³»²¬ò                                                                ø®¿²¹»÷y                                                                                                                                                                                                                                                                                                                                               Ì¸·- -¬«¼§ ·- -°±²-±®                         »½»·ª»¼ »¼·¬±®·¿´ ¿²¼
                                                                                                                                                                                                                                                                             ÙóÝÍÚ ¿¼³·²·-¬®¿¬·±²ô ² øû÷                              Ý§½´» ï                     ß´´ ½§½´»-          Ü·¿®®¸±»¿                                                  íìì øíéòì÷                        íî øíòë÷
   ×² Ù»®³¿²§ô °¿¬·»²¬- ½±«´¼ -©·¬½¸ ¬± ½±³³»®½·¿´´§ ¿ª¿·´¿¾´» Ý¾¦ ±²½»                                                                      Í·¬»- ·²ª±´ª»¼ô ² øû÷öö
   ¿ª¿·´¿¾´»ô ¿- °»® ´±½¿´ ®»¹«´¿¬·±²-ò
                                                                                                                                              Þ±²»                                                          èìí øçïòé÷                                  íðí øèðòè÷           Ð¿¬·»²¬- ©¸± ®»½»·ª»¼ ÙóÝÍÚ                              ìêê øëðòé÷                   ëëê øêðòë÷         Ú¿¬·¹«»                                                    îìç øîéòï÷                        íê øíòç÷
   Õ»§ »´·¹·¾·´·¬§ ½®·¬»®·¿ ¿®» °®»-»²¬»¼ ·² Ì¿¾´» ïò                                                                                         Î»¹·±²¿´ ´§³°¸ ²±¼»-                                          îéì øîçòç÷                                   éí øïçòë÷
                                                                                                                                              Ü·-¬¿²¬ ´§³°¸ ²±¼»-                                           îëé øîèòð÷                                  ïíí øíëòë÷           Ð®±°¸§´¿½¬·½ö                                            íèí øìïòé÷                   ìçê øëìòð÷         Ò¿«-»¿                                                     îïç øîíòè÷                        ç øïòð÷
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Ì¿¾´» ïò Õ»§ »´·¹·¾·´·¬§ ½®·¬»®·¿
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                                    2018-1203

              United States Court of Appeals
                  for the Federal Circuit

                             AVENTIS PHARMA S.A.,

                                                           Appellant,

                                        – v. –

                      MYLAN LABORATORIES LIMITED,

                                                           Appellee.



         On Appeal from the United States Patent and Trademark Office, Patent
          Trial and Appeal Board in Inter Partes Review No. IPR2016-00712

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                           CERTIFICATE OF INTEREST

   UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

              Aventis Pharma S.A.,          v.   Mylan Laboratories Limited,
                     Appellant                              Appellee

                                  Case No. 2018-1203

  Counsel for Appellant Aventis Pharma S.A. certifies the following:

  1. The full name of the party represented by me is:

     Aventis Pharma S.A.

  2. The name of the real party in interest (only including any real party in interest
  not identified in Question 3) represented by me is:

     Aventis Pharma S.A.

     Sanofi-Aventis U.S. LLC

  3. All parent corporations and any publicly held companies that own 10 percent or
  more of the stock of the party represented by me are:

     sanofi-aventis Amérique du Nord

     Aventis, Inc.

     Sanofi

  4. The names of all law firms and the partners or associates that appeared for the
  party or amicus now represented by me in the trial court or agency or are expected
  to appear in this court (and who have not or will not enter an appearance in this
  case) are:

  Jason A. Leonard, Fitzpatrick, Cella, Harper & Scinto
  Joshua I. Rothman, Fitzpatrick, Cella, Harper & Scinto




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  5. The title and number of any case known to counsel to be pending in this or any
  other court or agency that will directly affect or be directly affected by this court’s
  decision in the pending appeal. See Fed. Cir. R. 47.4(a)(5) and 47.5(b).

  Sanofi-Aventis U.S. LLC et al. v. Fresenius Kabi USA, LLC, Consolidated C.A. No.
  14-07869 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Mylan Laboratories
  Limited, C.A. No. 15-03392 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v.
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  Aventis U.S. LLC et al. v. BPI Labs, LLC et al., C.A. No. 15-02521 (MAS)(LHG);
  Sanofi-Aventis U.S. LLC et al. v. Apotex Corp. et al., C.A. No. 15-01835
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  Inc., C.A. No. 15-01836 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Actavis
  LLC et al., C.A. No. 15-03107 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Dr.
  Reddy's Laboratories, Inc. et al., C.A. No. 15-02522 (MAS)(LHG); and Sanofi-
  Aventis U.S. LLC et al. v. Glenmark Pharmaceuticals, Inc., USA et al., C.A. No.
  15-02523 (MAS)(LHG)

                                                  /s/ William E. Solander
  Date: March 15, 2018                            Signature of counsel

                                                  William E. Solander
  Cc: Opposing Counsel of Record                  Printed name of counsel




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                          TABLE OF ABBREVIATIONS

  Parties:
  Mylan              Mylan Laboratories Limited (“Petitioner” in IPR2016-00712)
  Aventis            Aventis Pharma S.A. (“Patent Owner” in IPR2016-00712)

  Citations:
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  Terms:
  Board              Patent Trial and Appeal Board
  DRmCRPC            docetaxel-resistant metastatic castration-resistant prostate
                     cancer
  FDA                United States Food and Drug Administration
  HSR                hypersensitivity reaction
  IPR                inter partes review
  POSA               person of ordinary skill in the art
  PSA                prostate specific antigen
  SOF                Statement of Facts

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                     Docetaxel as Initial Chemotherapy for Metastatic Breast
                     Cancer, 14(1), 58-65 (Jan. 1996) (Appx5625-5632)

  Lortholary         A. Lortholary et al., Phase I and Pharmacokinetics (PK) Study
                     of RPR 116258A Given as 1-Hour Infusion in Patient (pts) with
                     Advanced Solid Tumor, CLIN. CANCER RES. 6(Suppl.), 4579s
                     (Abstract #569) (Nov. 2000) (Appx14665-14667)

  Mita               Alain C. Mita et al., Phase I and Pharmacokinetic Study of
                     XRP6258 (RPR116258A), a Novel Taxane, Administered as a


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                     1-Hour Infusion Every 3 Weeks in Patients with Advanced Solid
                     Tumors, CLINICAL CANCER RESEARCH 2009:15(2), 723-730
                     (Jan. 15, 2009) (Appx4224-4231)

  Motion             Aventis’s Contingent Motion to Amend (Appx651-683)

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                  Guidelines, NCCN PRACTICE GUIDELINES IN ONCOLOGY,
                  V.3.2008 (Appx5583-5613)

  Pivot              X. Pivot et al., A Multicenter Phase II Study of XRP6258
                     Administered as a 1-H I.V. Infusion Every 3 Weeks in Taxane-
                     Resistant Metastatic Breast Cancer Patients, ANNALS OF
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  Takenaka           Atsushi Takenaka et al., Combination Chemotherapy with
                     Weekly Docetaxel and Estramustine for Hormone Refractory
                     Prostate Cancer in Japanese Patients, INTERNATIONAL
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  Tannock            Ian F. Tannock et al., Docetaxel Plus Prednisone or
                     Mitoxantrone Plus Prednisone for Advanced Prostate Cancer,
                     NEW ENGLAND JOURNAL OF MEDICINE, 351(15), 1502-12 (Oct.
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                     Mitoxantrone Plus Prednisone in Hormone Refractory
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  Trudeau            Maureen Trudeau et al., Docetaxel in Patients with Metastatic
                     Breast Cancer: A Phase II Study of the National Cancer
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                     (Appx5618-5624)

  Winquist           Eric Winquist et al., Open Clinical Uro-Oncology Trials in
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                       STATEMENT OF RELATED CASES
        The undersigned counsel for Appellant states that the following proceedings

  in the United States District Court for the District of New Jersey involved the

  patent at issue in this appeal, U.S. Patent No. 8,927,592:

  Sanofi-Aventis U.S. LLC et al. v. Fresenius Kabi USA, LLC, Consolidated C.A. No.
  14-07869 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Mylan Laboratories
  Limited, C.A. No. 15-03392 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v.
  Fresenius Kabi USA, LLC, C.A. No. 15-02631 (MAS)(LHG); Sanofi-Aventis U.S.
  LLC et al. v. Accord Healthcare, Inc., C.A. No. 15-02520 (MAS)(LHG); Sanofi-
  Aventis U.S. LLC et al. v. BPI Labs, LLC et al., C.A. No. 15-02521 (MAS)(LHG);
  Sanofi-Aventis U.S. LLC et al. v. Apotex Corp. et al., C.A. No. 15-01835
  (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Breckenridge Pharmaceutical,
  Inc., C.A. No. 15-01836 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Actavis
  LLC et al., C.A. No. 15-03107 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Dr.
  Reddy's Laboratories, Inc. et al., C.A. No. 15-02522 (MAS)(LHG); and Sanofi-
  Aventis U.S. LLC et al. v. Glenmark Pharmaceuticals, Inc., USA et al., C.A. No.
  15-02523 (MAS)(LHG)


        Counsel for Appellant certifies that no other appeal in or from IPR2016-

  00712 was previously before this or any other Appellate Court.


   Dated: March 15, 2018                /s/ William E. Solander     _
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                        STATEMENT OF JURISDICTION

        On September 21, 2017, the Patent Trial and Appeal Board (“Board”) issued

  a Final Written Decision pursuant to 35 U.S.C. § 318(a) in IPR2016-00712.

  Appx1-84.    Aventis timely noticed appeal of the Final Written Decision on

  November 17, 2017. Appx1597-1601; 35 U.S.C. §§ 142, 319. This Court has

  jurisdiction pursuant to 28 U.S.C. § 1295(a)(4)(A) and 35 U.S.C. § 141(c).




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                            STATEMENT OF THE ISSUES

        1.     Whether the Board erred in construing the preamble of proposed

  substitute claims 31-34 as non-limiting, where the preamble provides antecedent

  basis for the claim term “to a patient in need thereof” and was expressly relied on

  for patentability over the prior art.

        2.     Whether the Board erred in denying Aventis’s Contingent Motion to

  Amend by holding proposed substitute claims 31-34 obvious over the prior art

  where the record evidence demonstrates that a person of ordinary skill in the art:

               (a) would not have had a reasonable expectation of success of

        increasing patient survival with the claimed methods and, therefore, would

        not have been motivated to practice the claimed methods with an intent to

        prolong the lives of the claimed patients; and

               (b) would not have been motivated to practice the claimed three-

        component premedication regimen when administering cabazitaxel in

        combination with prednisone.

        3.     Whether the Board erred in denying Aventis’s Contingent Motion to

  Amend by placing the burden of proving patentability of the proposed substitute

  claims on Aventis.




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                            STATEMENT OF THE CASE

          Appellant Aventis owns U.S. Patent No. 8,927,592, which covers an FDA-

  approved method of using cabazitaxel to treat prostate cancer patients whose

  disease has progressed during or after treatment with docetaxel.

          On petition by Mylan, the Board instituted an inter partes review (“IPR”) of

  claims 1–5 and 7–30 of the ’592 patent. Thereafter, Aventis filed a Contingent

  Motion to Amend claims 27–30 (“Motion”), supported in part by the Declaration

  of its expert, Dr. A. Oliver Sartor. Mylan filed an Opposition, supported in part by

  the Declaration of its expert, Dr. Rahul Seth. An oral hearing was held on June 13,

  2017.

          On September 21, 2017, the Board issued a Final Written Decision finding

  that Mylan had shown by a preponderance of the evidence that claims 1–5 and 7–

  30 of the ’592 patent are unpatentable and denying Aventis’s Motion. Appx1-84.

  Aventis now appeals the Board’s denial of its Motion.




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                             STATEMENT OF FACTS

  I.    The ’592 Patent Invention
        Prostate cancer that has become metastatic and castration-resistant (i.e.,

  worsens despite hormone therapy) is considered incurable. Appx10539-10540.

  By 2006, more than 200 compounds had entered clinical development for

  treatment of advanced prostate cancer, but only docetaxel had been shown to

  prolong survival. Appx14668. Unfortunately, over time, nearly all patients with

  metastatic castration-resistant prostate cancer (“mCRPC”) develop resistance to

  docetaxel. Appx4458. Prior to January 2010,1 the prognosis for a patient with

  mCRPC that became docetaxel-resistant (“DRmCRPC”) was poor, since there

  were no available treatments to prolong life. Appx4458, Appx14942-14943. At

  that time, prostate cancer was the second leading cause of male cancer deaths in

  the United States, with thousands of men dying every year despite receiving

  docetaxel therapy. Appx10799, Appx10952. Thus, the need for treatment options

  for these patients was considered “urgent.” Appx4332.

        The ’592 patent is directed to treatment of these same patients with

  DRmCRPC.       The inventions disclosed the ’592 patent came after Aventis


  1
    January 2010 corresponds to the earliest effective filing date for the proposed
  substitute claims. Appx656, Appx968. As noted by the Board, whether the
  proposed substitute claims are entitled to this date should have no bearing on the
  questions presented. Appx4.



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  extensively analyzed the results of its large-scale TROPIC clinical trial, the first

  study ever to show that a chemotherapy, specifically cabazitaxel in combination

  with prednisone, could prolong the lives of patients with DRmCRPC. As detailed

  below, the proposed substitute claims of the ’592 patent cover the use of

  cabazitaxel at specific doses in combination with prednisone and with a

  premedication regimen to treat patients with DRmCRPC with the intent of

  prolonging those patients’ lives.


  II.   The Proposed Substitute Claims
               Aventis proposed substitute claims 31-34 in the Motion. Appx681-

  682. Claim 31, proposed as a substitute for original claim 27, is reproduced below,

  with strikethroughs showing the subject matter deleted from claim 27, and

  underlining showing the subject matter added.

               31. A method of increasing [the] survival [of a patient]
               comprising administering to a patient in need thereof (i)
               an antihistamine, (ii) a corticoid, (iii) an H2 antagonist,
               and (iv) a dose of 20 to 25 mg/m2 of cabazitaxel, or a
               hydrate or solvate thereof, wherein said antihistamine,
               said corticoid, and said H2 antagonist are administered
               prior to said dose of 20 to 25 mg/m2 of cabazitaxel, or
               hydrate or solvate thereof, in combination with
               prednisone or prednisolone, wherein said patient has
               [with a] castration resistant or hormone refractory,
               metastatic prostate cancer that has progressed during or
               after treatment with docetaxel [, comprising
               administering a dose of 20 to 25 mg/m2 of cabazitaxel, or
               a hydrate or solvate thereof, to the patient in combination
               with prednisone or prednisolone].


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        The proposed substitute claims include two important narrowing

  amendments.     First, the claims require the administration of a premedication

  regimen, namely an antihistamine, a corticoid, and an H2 antagonist prior to the

  administration of cabazitaxel. Second, the claims require that those drugs, in

  addition to cabazitaxel and prednisone, be administered to a “patient in need” of a

  method of increasing survival. Claim 32 is further narrowed to a 25 mg/m2 dose of

  cabazitaxel, while claim 34 is directed to a 20 mg/m2 dose of cabazitaxel.

  Appx681-682. Claim 33 recites repeating the administration of the antihistamine,

  corticoid, H2 antagonist, and cabazitaxel as a new cycle every three weeks.

  Appx681-682.

        The Board determined that the only claim language requiring construction

  was “[a] method of increasing survival comprising administering to a patient in

  need thereof.” Appx69. Aventis proposed that the preamble “[a] method of

  increasing survival” is limiting claim language because it is a statement of

  intentional purpose for performing the claimed method in accordance with

  precedent of this Court. Appx661. Thus, Aventis proposed that the disputed claim

  language means “a method that prolongs the life of a patient as compared to no

  treatment or palliative treatment” (i.e., the method must be performed with the

  intention of prolonging the life of a patient). Appx661-662. Aventis also noted

  that “Aventis is expressly amending the language of claim 27 to add the preamble



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  as a limitation of the claim . . . .” Appx662. Aventis thereby clearly disavowed

  from the scope of the proposed claims, any administration of the claimed method

  with an intent other than prolonging the lives of the claimed patients.

         The Board rejected Aventis’s proposed construction and held that “[t]o the

  extent the preamble in substitute claim 31 may be considered limiting at all, it

  refers only to a patient in need of increased survival.” Appx72-73. Based in part

  on that erroneous construction, the Board found the proposed substitute claims

  obvious and denied Aventis’s motion. Appx73-74, Appx80.


  III.   The Prior Art Did Not Teach or Suggest That 20 to 25 mg/m2 of
         Cabazitaxel in Combination with Prednisone Would Increase Survival
         in Patients with DRmCRPC
         Under Aventis’s proposed construction of substitute claims 31-34, a person

  of ordinary skill in the art (“POSA”) as of January 2010 would not have had a

  reasonable expectation that the claimed methods would prolong the lives of

  patients with DRmCRPC as compared to no treatment or palliative treatment. In

  particular, as detailed below, there was no evidence in the prior art suggesting that

  cabazitaxel could prolong survival, and there were numerous other therapies that

  shrunk prostate cancer tumors or reduced prostate specific antigen (“PSA”) levels

  (a blood marker for prostate cancer), but did not extend patients’ lives.

         The Board principally based its decision on a study of cabazitaxel in breast

  cancer (the Pivot study); however, that study would not have informed a POSA


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  about cabazitaxel’s efficacy in increasing survival in patients with prostate cancer.

  Nor would knowledge that the TROPIC study was being carried out inform a

  POSA whether that study ultimately would demonstrate cabazitaxel’s efficacy in

  increasing survival.

        A.     There Is No Cabazitaxel Survival Data in the Prior Art
        As of January 2010, little was known about the use of cabazitaxel in patients

  with DRmCRPC. Cabazitaxel had been tested in three phase I clinical studies in

  patients having a variety of cancer types (Mita, Lortholary, and Fumoleau), and in

  a small phase II study in patients with metastatic breast cancer (Pivot). Appx4214-

  4215, Appx4224, Appx14666-14667, Appx15914. The three phase I studies were

  uncontrolled studies, meaning cabazitaxel was not compared to a placebo or

  another chemotherapy. Appx4224-4226, Appx14666-14667, Appx15914. Also,

  like phase I studies generally, these studies were not designed to evaluate the

  efficacy of cabazitaxel in any particular indication, or its effect on patient survival,

  which can only be measured in a comparative study.                    Appx4224-4226,

  Appx14666-14667,        Appx15914,        Appx11466-11467,         Appx14962-14963,

  Appx15036, Appx15220 (152:6-12, Mylan’s expert Dr. Seth agreeing that the

  phase I Mita study was not designed to determine the efficacy of cabazitaxel in a

  specific patient population).

        The only data in patients with DRmCRPC is in the Mita study, wherein a



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  single patient with DRmCRPC received cabazitaxel at a 25 mg/m2 dose and

  experienced a partial tumor response (a shrinkage of the tumor observable by a

  scan) and PSA reduction.2 Appx4228, Appx14962. However, a POSA would not

  have considered tumor responses and PSA reductions to be validated surrogates for

  overall survival in mCRPC (i.e., it was known at the time that tumor responses and

  PSA reductions do not consistently correlate with increased survival). Appx10635

  (“[O]verall survival remains the necessary primary endpoint in phase III clinical

  trials in men with CRPC, given the uncertain validity of other surrogate measures

  for clinical benefit.”), Appx10824, Appx15162 (94:7-16, Dr. Seth agreeing that

  there are no surrogates for overall survival). This lack of correlation compounded

  the uncertainty stemming from the fact that antitumor activity was observed in

  only a single patient.

        The phase II Pivot study, conducted in patients with metastatic breast cancer,

  also was uncontrolled and, therefore, contained no comparative survival data.

  Appx4214-4215. Pivot reports that median patient survival on cabazitaxel was

  12.3 months but does not conclude that cabazitaxel had any positive impact on


  2
    Mita reported a partial response in a second patient. Appx4228. However,
  because this patient was not docetaxel-resistant, his partial response would have
  been of limited relevance to a POSA considering whether cabazitaxel could
  increase survival in a patient with DRmCRPC. Appx14962. No confirmed partial
  responses were reported in the remaining twenty-three patients, six of whom also
  had prostate cancer. Appx4226, Appx4228.


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  patient survival as compared to other therapies, nor could it have without a

  comparative arm. Appx4218, Appx11466. Similarly, as discussed below, the 14%

  response rate (partial tumor shrinkage) reported in Pivot (Appx4218) provides little

  information as to whether the studied treatment improved survival in the treated

  breast cancer population, let alone for patients with DRmCRPC.

        B.      A POSA Would Not Have Expected Increased Survival Based on
                Tumor or PSA Reductions
        By 2010, a large number of potential prostate cancer therapies that were

  reported to reduce tumor size and PSA levels in phase I/II studies nonetheless

  failed to prolong overall survival in subsequent phase III studies. Knowledge of

  these failed studies would have confirmed in a POSA’s mind that the tumor

  shrinkage and reduction in PSA levels seen in Mita and Pivot would not have

  taught a POSA that cabazitaxel therapy prolongs the life of patients with

  DRmCRPC. These therapies, which failed to improve survival of patients with

  mCRPC in phase III studies, included:

              Suramin, which reduced PSA levels in phase I/II studies and led to six

  patients having partial or complete tumor responses. Appx10774-10775.

              Satraplatin, for which an mCRPC patient in a phase I study

  experienced complete relief of tumor pain. Appx15542. In a subsequent phase II

  CRPC study, 10 patients had a PSA response to satraplatin, and 2 patients had

  tumor reductions. Appx11838, Appx4333-4334.


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            Atrasentan, which reduced PSA levels in six patients in phase I/II

  mCRPC studies.       Appx15510, Appx15515, Appx15520, Appx10666-10667,

  Appx10670.

            DN-101 plus docetaxel, which increased PSA response rate as

  compared to docetaxel plus placebo with a “promising improvement” in survival

  and no increase in toxicity.        Appx10642, Appx10645-10646, Appx10919,

  Appx11961.

            GVAX, which resulted in a reported complete response in one patient

  and PSA decreases in six other patients in phase I/II mCRPC studies. Appx10846,

  Appx10850, Appx10852, Appx10739, Appx10747, Appx10815.

        Tellingly, many of these studies had more patients with tumor or PSA

  responses than were reported in the prior art for cabazitaxel in prostate cancer, yet

  none of the studied therapies were later shown to increase survival in patients with

  mCRPC. Indeed, as Dr. Seth candidly admitted, “tumor response rates do not

  translate into overall survival.” Appx16253 (52:14-16).

        Given the disconnect between overall survival and measures of efficacy like

  tumor shrinkage and PSA response, it was well understood by 2010 that a large-

  scale, controlled clinical study was necessary to determine whether a therapy

  prolonged survival. See Appx11466-11467, Appx10635, Appx15036. As Dr. Seth

  testified, “Every man’s prostate cancer is not the same. That’s why we have to do


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  large studies to see if there’s an overall response survival for a large group of

  people.” Appx16311 (110:17-19).

        C.       A POSA Would Not Have Expected Increased Survival in Men
                 with Prostate Cancer Based on Data from the Uncontrolled Pivot
                 Study in Women with Breast Cancer
        As Dr. Seth acknowledged, the Pivot breast cancer study was not designed

  to evaluate the efficacy of cabazitaxel in patients with DRmCRPC. Appx15220-

  15221 (152:20-153:4). Phase II studies provide efficacy information only for the

  particular patients tested. Appx11093, Appx11271, Appx14985-14986. As such, a

  POSA would not have relied on phase II data in breast cancer patients to

  reasonably predict benefits to prostate cancer patients. Appx14985-14986.

        Prostate and breast tissues are distinct tissue types that respond to therapy

  differently.    Appx14995-14997.     As of January 2010, numerous therapies

  recommended for breast cancer had been tested and found ineffective in men with

  prostate cancer. Appx11325-11328, Appx11332-11335, Appx11419, Appx11426,

  Appx4334, Appx11169, Appx11692, Appx11272-11276, Appx11144, Appx11718,

  Appx11479, Appx11071, Appx14996-14997. And, even though the Pivot patients

  had a taxane-resistant form of breast cancer, a POSA would have known that

  prostate cancer and breast cancer may develop taxane resistance through different

  biological mechanisms. Appx11565, Appx15002-15003. For these reasons, a

  POSA would not have formed an expectation of increased survival in patients with



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  DRmCRPC based on the antitumor activity observed in patients with taxane-

  resistant breast cancer in Pivot. This is consistent with the testimony of Dr. Seth

  regarding the tumor response rate for larotaxel, another taxane, in taxane-resistant

  breast cancer that was higher than the rate observed in Pivot. Appx10714. Dr.

  Seth acknowledged that a POSA who was aware of larotaxel’s breast cancer data

  would still not have been able to predict whether larotaxel would increase survival

  in patients with DRmCRPC: “I can only say that if a POSA read this in 2009 and

  said, oh, well, this worked in breast cancer pretty well, could this work in prostate

  cancer? Yeah, it could. Its likelihood it’s going to be successful or not, we have

  no idea.”    Appx16310-16311 (109:9-110:1) (emphasis added).           This lack of

  predictability would have been even greater for cabazitaxel, which had a lower

  breast cancer response rate (14% v. 19%). Appx4217-4218, Appx10714.

        Furthermore, according to a 2005 analysis, there is only a 25% “positive

  predictive value” for a breast cancer study with an objective response rate higher

  than 10%, as was reported for cabazitaxel in Pivot (14%). Appx4214, Appx14653-

  14654. A POSA would have understood this to mean that a phase III breast cancer

  study investigating whether a method increases survival would have only a 25%

  chance of success. Appx14654, Appx15152 (84:6-18), Appx15155 (87:10-18),

  Appx14993-14994. Significantly, these three-to-one odds of failure for the same

  tumor type (breast) undermine any assertion that success would have been



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  predictable for a different tumor type (prostate).

        D.       A POSA Would Not Have Expected Increased Survival Based on
                 the Mere Existence of the TROPIC Study
        Against the backdrop of the numerous phase III studies in which drugs failed

  to prolong survival of patients with mCRPC (despite seemingly positive phase I/II

  studies that necessarily preceded permission to engage in those larger phase III

  studies), a POSA would have required a controlled study of cabazitaxel in

  DRmCRPC to reasonably expect that cabazitaxel would prolong survival in those

  patients. As Dr. Seth testified, a POSA who was aware of the data from Mita and

  Pivot would have looked for a larger study on the use of cabazitaxel to characterize

  the benefits versus risks of cabazitaxel in DRmCRPC patients.           Appx15221

  (153:12-25).

        The mere fact that such a study (TROPIC) was ongoing as of January 2010

  (as disclosed in the Winquist and TROPIC Listing publications) would not have

  informed a POSA as to whether cabazitaxel therapy would increase survival.

  Appx15010-15012. Winquist and the TROPIC Listing state only that the primary

  endpoint of the TROPIC study was overall survival, i.e., that the study was

  designed to determine whether cabazitaxel in combination with prednisone

  prolongs the lives of patients with DRmCRPC as compared to mitoxantrone

  therapy, and did not report any results. Appx4203, Appx4212, Appx15253-15255

  (185:24-187:4) (Dr. Seth testifying that the TROPIC study was to “determine


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  ultimately what is better” between cabazitaxel and palliative mitoxantrone

  therapy).

        Importantly, developing treatments for mCRPC was and is particularly

  difficult and unpredictable, as evidenced by the numerous phase III failures

  described above. Appx15018-15019; supra Statement of Facts (“SOF”) Section

  III.B. As Dr. Seth agreed, even today, mCRPC is “a very difficult disease to treat.”

  Appx15085 (17:17-24); see also Appx16311-16312 (110:20-111:7) (Dr. Seth

  testifying that “[w]e have no . . . clue” why two of his patients in GVAX studies

  responded well, while the drug did not work for other patients). As noted above,

  by 2006, more than 200 compounds had entered clinical development for use in

  advanced prostate cancer, but none other than docetaxel was shown to increase

  overall survival. Appx14668. Even after the ’592 patent was filed, the graveyard

  of mCRPC therapies continued to grow as study after study failed to show a

  survival benefit. Appx14979-14984. The evidence is therefore overwhelming that

  mere knowledge of an ongoing study to determine overall survival would not have

  provided a POSA with a reasonable expectation of success with respect to that

  outcome.

        Many relevant real-world facts here, including that the TROPIC study was

  met with skepticism before it was initiated and that experts found the TROPIC

  results surprising after they were released, provide objective evidence that the



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  TROPIC results were unexpected. For instance, Dr. Sartor, a principal investigator

  on TROPIC, experienced difficulties initiating that study because there was so

  little data on the use, let alone the efficacy, of cabazitaxel in prostate cancer.

  Appx14972, Appx15020. Tellingly, Dr. Sartor was surprised when he reviewed

  the TROPIC data for the first time and learned when he presented the results

  publicly that “[p]ractitioners who had been aware of the existence of the study

  were surprised by the results.” Appx15019-15020. This initial skepticism and

  subsequent surprise at the TROPIC results makes sense given that even in 2013,

  predicting a positive phase III study was “an impossible endeavor.” Appx10632.

        As the Board acknowledged, the unexpected outcome of TROPIC and the

  significance of its results is also evidenced by the FDA’s grant of fast-track review

  and approval of Jevtana®, the drug product containing cabazitaxel. Appx49. As

  the first therapy to show a survival benefit in patients previously treated with

  docetaxel, cabazitaxel in combination with prednisone thereby met a long-felt need

  which others had failed to meet. Appx15888 (need known by 2004), Appx4332-

  4337 (discussing variety of approaches for “urgent” need), Appx11257,

  Appx15023-15028, Appx47-48.


  IV.   A POSA Would Not Have Been Motivated to Employ the Claimed
        Premedication Regimen Prior to Cabazitaxel Administration
        Proposed substitute claims 31-34 require the administration of a



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  premedication regimen prior to administration of cabazitaxel comprising (i) an

  antihistamine, (ii) a corticosteroid, and (iii) an H2 antagonist.     Premedication

  regimens are employed to either reduce or lessen the incidence of side effects

  associated with intravenous administration of certain drugs (e.g., allergic responses

  referred to in the art as hypersensitivity reactions (“HSRs”)). Appx15040-15041.

        A.     The Cabazitaxel Prior Art Did Not Suggest a Need for
               Premedication with Cabazitaxel
        In light of the available clinical data on cabazitaxel, a POSA in January 2010

  would not have been motivated to premedicate patients prior to cabazitaxel

  administration. In Mita and Fumoleau, no premedication was given and no severe

  HSRs occurred. Appx4225, Appx4228-4229, Appx15914, Appx15041-15042. In

  fact, Mita was specifically designed to “characterize the toxicities of [cabazitaxel]

  administered without premedication,” among other objectives. Appx4225. And

  Mita concluded that, “[b]ased on the results of this study, [cabazitaxel]

  administration does not require premedication, thus resulting in significant

  administration and convenience advantages.” Appx4230 (emphasis added). Mita

  further notes that the “low incidence of fluid retention . . . also favors

  [cabazitaxel].” 3 Appx4230.


  3
   Fluid retention is another side effect associated with some chemotherapies and
  part of the reason for the use of premedication with docetaxel. Appx4351,
  Appx15043.



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        In the phase I Lortholary study, where cabazitaxel was given following an

  antihistamine premedication, no HSRs or fluid retention were reported.

  Appx14666-14667. Similarly, an antihistamine premedication was used in the

  phase II Pivot breast cancer study (Appx4215) where HSRs occurred in only 1% of

  treatment cycles, and grade 3-5 adverse events were “rare.” 4 Appx4217. Pivot

  reported no severe fluid retention adverse events (Appx4217) and does not discuss

  additional premedications. Appx4218; see also Appx15042.

        Thus, because nothing in the cabazitaxel art suggested a need for additional

  premedication, a POSA would not have been motivated to utilize the three-

  component premedication of the proposed substitute claims prior to cabazitaxel

  administration. If anything, the prior art suggested that no premedication, or a

  different regimen than is recited in the proposed claims, would have been desired.

  Appx4230.

        B.     The Taxol® Label Would Not Have Motivated a POSA to Employ
               the Claimed Premedication
        The FDA-approved label for Taxol® (paclitaxel) states that patients should

  be given the three-component premedication regimen of the substitute claims prior

  to administration. Appx11588. However, the Taxol® premedication regimen is


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   The National Cancer Institute has common toxicity criteria for adverse events,
  with Grade 1 being the mildest and Grade 5 the most severe. Appx4226,
  Appx4216-4217.


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  necessitated by the extremely high levels of HSRs reported with paclitaxel

  administration (41%, even with premedication), which were attributable to the

  presence of the surfactant Cremophor in the Taxol® formulation. Appx11588,

  Appx11614, Appx11537, Appx15916, Appx15933 (no premedication required for

  paclitaxel formulated without Cremophor). In contrast, as Mita noted, cabazitaxel

  formulations “do[] not require Cremophor and, therefore, result[] in reduced

  incidence of hypersensitivity reaction.” Appx4230. For this reason, and given that

  HSR incidents for cabazitaxel either without a premedication or with only an

  antihistamine premedication were far lower (between 0-6% of patients) than the

  41% HSR rate for Taxol® with a three-component premedication (Appx11614), a

  POSA would not have been motivated to use that same three-component

  premedication regimen for cabazitaxel. Appx15045-15046.

        C.     Outdated Docetaxel Studies Would Not Have Motivated a POSA
               to Employ the Claimed Premedication Regimen over the Single-
               Component FDA-Approved Regimen for Docetaxel
        Even assuming a POSA would have considered using a premedication

  regimen for cabazitaxel, that POSA would have looked to the regimen used for the

  FDA-approved drug Taxotere® (docetaxel), which unlike Taxol®, was formulated

  using the same polysorbate surfactant used in cabazitaxel formulations.

  Appx4230, Appx4356. However, a POSA turning to docetaxel would not have

  looked at the outdated docetaxel studies relied upon by the Board. Rather, the



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  POSA would have looked to the FDA-approved premedication regimen for

  docetaxel, which would have led away from use of the premedication regimen of

  the substitute claims with cabazitaxel.

        For administration of docetaxel, premedication with a single-drug, the

  corticoid dexamethasone, is required by the FDA to reduce HSRs and fluid

  retention. Appx4351. However, a POSA would have understood as of January

  2010 that the levels of HSRs and fluid retention associated with docetaxel were far

  greater than those observed with cabazitaxel. Appx15043-15044. For example,

  HSRs were reported in 15.2% of patients with breast cancer in a phase III

  docetaxel study even after receiving a three-day premedication regimen.

  Appx4360-4361.       In contrast, after a single injection of an antihistamine

  premedication, only 6% of patients experienced any grade of HSRs in the Pivot

  metastatic breast cancer study of cabazitaxel. Appx4217. Also, in the docetaxel

  breast cancer study, the overall incidence of fluid retention was 64.1%, with 6.5%

  characterized as severe. Appx4361. In Pivot, only 9% of patients experienced

  fluid retention, with no severe cases reported. Appx4217; see also Appx15042.

        A POSA also would have understood that the lower incidence of HSRs and

  fluid retention associated with cabazitaxel as compared to docetaxel was due in

  part to the relative potency of the drugs.      According to the FDA-approved

  Taxotere® label, HSRs from docetaxel administration were due in part to the



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  presence of polysorbate in the formulation. Appx4347, Appx4356, Appx4381. A

  POSA would have known that although cabazitaxel was also formulated with

  polysorbate in the same concentration, cabazitaxel was studied at the time at doses

  of 20-25 mg/m2, much less than the FDA-approved docetaxel doses of 75 mg/m2.

  Appx4347, Appx4381, Appx4225. Accordingly, a POSA would have understood

  that a patient would receive only approximately one-third of the amount of

  polysorbate with cabazitaxel as compared to the amount of polysorbate a patient

  would have received with docetaxel. Appx15044-15045. If anything, a POSA

  would have concluded from the foregoing that either no premedication was needed

  for cabazitaxel, consistent with the teaching of Mita or, if premedication was

  needed, a corticoid alone would suffice.

        Moreover, by definition, all patients being given cabazitaxel according to the

  proposed substitute claims have previously been treated with docetaxel, which

  likely would have been administered with the FDA-approved premedication

  regimen of dexamethasone alone.       Therefore, a POSA would not have been

  motivated to administer additional drugs such as an antihistamine or H2 antagonist

  prior to cabazitaxel in view of the lessened risk of HSRs from cabazitaxel as

  compared to the docetaxel they were previously taking. Appx4217, Appx4230,

  Appx4360-4361, Appx15183 (115:18-19). Indeed, Dr. Seth testified that a POSA




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  would have instead used dexamethasone alone.             Appx15181 (113:2-15),

  Appx15186-15187 (118:13-119:5).

        D.     The Prior Art Did Not Teach or Suggest
               the Use of H2 Antagonists with Cabazitaxel
        The three-component regimen of the proposed substitute claims includes an

  H2 antagonist, which is typically used to prevent conditions associated with

  increased stomach acid, such as reflux or stomach ulcers, which sometimes occur

  in chemotherapy patients. Appx15911, Appx15955, Appx15046. However, these

  conditions were not reported to be associated with cabazitaxel.       Appx15046,

  Appx16332 (131:12-22). Therefore, a POSA would not have perceived a need for

  an H2 antagonist with cabazitaxel to prevent adverse events associated with high

  levels of stomach acid. Appx15046, Appx15048.

        Furthermore, a POSA would have known that the Taxotere® (docetaxel)

  label did not recommend H2 antagonists as a premedication. Appx4347. To the

  contrary, a 2009 report suggested that premedication with H2 antagonists before

  docetaxel treatment was associated with an increased risk of hand and foot

  syndrome, a painful condition sometimes caused by chemotherapy for which there

  is no proven effective treatment.        Appx15943, Appx15949, Appx15953,

  Appx15047-15048.

        Thus, a POSA would not have increased the risk of hand and foot syndrome

  by administering an H2 antagonist to cabazitaxel patients absent a specific reason


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  to do so. Appx15048. Yet, as discussed above, there was no suggestion in the

  prior art to administer an H2 antagonist prior to cabazitaxel.




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                          SUMMARY OF THE ARGUMENT
          The Board committed multiple legal errors, and several of its critical factual

  findings were not supported by substantial evidence.

          First, the Board improperly found the preamble of the proposed substitute

  claims non-limiting in contravention of longstanding case law from this Court.

  There are two reasons why the preamble of the proposed substitute claims is a

  claim limitation:

          (1) the preamble reference to “increasing survival” forms the antecedent

  basis for “a patient in need thereof” in the body of the claim.       This Court and

  numerous district courts have found a preamble to be limiting where the phrase “in

  need thereof” was used in claims nearly identical to the proposed substitute claims

  here;

          (2) Aventis unambiguously relied on the preamble to overcome prior art, a

  circumstance which this Court has repeatedly held renders a preamble limiting.

          Significantly here, for the proposed substitute claims to be found obvious,

  the properly construed preamble limitation requires that the prior art teach a POSA

  that the claimed therapy would increase the survival of patients with DRmCRPC

  such that a POSA would practice the claimed method with the intent of prolonging

  those patients’ lives. And, Mylan essentially conceded that there was no evidence

  that cabazitaxel could achieve this benefit. Thus, the proposed substitute claims



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  are nonobvious and should be allowed.

        Second, the Board relied on improper hindsight in selecting the references it

  used to find obvious the premedication limitations of the amended claims. At the

  time of the invention, two taxane drugs had been used to treat prostate cancer.

  Taxol (paclitaxel), the first FDA-approved taxane, was administered using a

  three-drug premedication regimen to counteract adverse reactions caused by an

  inactive excipient (Cremophor) in the formulation. Taxotere (docetaxel), the

  other taxane used as of January 2010, was administered at that time according to its

  FDA-approved label. That label specified a single premedication consisting of the

  corticoid dexamethasone, because docetaxel formulations did not contain the

  Cremophor found in Taxol. Noting that the three-drug premedication regimen of

  the amended claims is the same as for Taxol, and had been used with docetaxel in

  three older studies, the Board found that a POSA would have been motivated by

  mere knowledge of that regimen to use it with cabazitaxel. But knowledge alone

  cannot provide motivation, especially in the circumstances here where: (1)

  cabazitaxel is not formulated with Cremophor; (2) the three-drug premedication of

  the older docetaxel studies had long been superseded by the single-drug regimen

  found in the FDA label for docetaxel; and (3) prior art studies of cabazitaxel itself

  taught that no premedication would be needed. The Board’s finding that the

  premedication limitations were obvious should be reversed and the amended


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  claims should be allowed.

        Third, the Board’s obviousness finding for claim 34, which is limited to a

  dose of 20 mg/m2, is not supported by substantial evidence. The Board so held

  despite the admission of Mylan’s expert Dr. Seth that a POSA would not have

  considered using a 20 mg/m2 dose even after publication of the TROPIC study,

  during which 20 mg/m2 was safely administered to some patients. If a POSA who

  had the TROPIC results would not have considered using a 20 mg/m2 dose, that

  POSA clearly would not have done so in January 2010 before the TROPIC results

  were available.

        Lastly, the Board erred in placing the burden on Aventis to show that the

  amended claims were patentable. While Aventis submits that each of the Board’s

  three errors described above compel reversal of its decision and allowance of one

  or all of the amended claims, at minimum, this Court should remand for further

  proceedings using the proper burden of proof.




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                STANDARD OF REVIEW AND RELEVANT LAW
         This Court reviews the Board’s factual determinations for substantial

  evidence, and its legal determinations, such as claim construction, de novo. In re

  Van Os, 844 F.3d 1359, 1360 (Fed. Cir. 2017). “Substantial evidence is something

  less than the weight of the evidence but more than a mere scintilla of evidence,”

  meaning that “[i]t is such relevant evidence as a reasonable mind might accept as

  adequate to support a conclusion.” In re NuVasive, Inc., 842 F.3d 1376, 1379-80

  (Fed. Cir. 2016) (internal quotation marks and citations omitted). The substantial

  evidence standard requires “an examination of the record as a whole, taking into

  consideration evidence that both justifies and detracts from the agency’s decision.”

  In re Zurko, 258 F.3d 1379, 1384 (Fed. Cir. 2001) (internal quotation marks and

  citations omitted).

        The Board must also provide an adequate “‘evidentiary basis for its

  findings,’” In re NuVasive, 842 F.3d at 1382 (quoting In re Lee, 277 F.3d 1338,

  1344 (Fed. Cir. 2002)), and must “articulate a satisfactory explanation for its action

  including a rational connection between the facts found and the choice made.” Id.

  (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

  43 (1983)). These requirements are meant to ensure that this Court can exercise

  effective judicial review of the Board’s decision under the Administrative

  Procedure Act. PersonalWeb Techs., LLC v. Apple, Inc., 848 F.3d 987, 992 (Fed.



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  Cir. 2017). “[T]he orderly functioning of the process of review requires that the

  grounds upon which the administrative agency acted be clearly disclosed and

  adequately sustained.” SEC v. Chenery Corp., 318 U.S. 80, 94 (1943). Thus, for

  core factual findings in determining patentability, “the Board cannot simply reach

  conclusions based on its own understanding or experience.” In re Zurko, 258 F.3d

  at 1386. “Rather, the Board must point to some concrete evidence in the record in

  support of these findings. To hold otherwise would render the process of appellate

  review for substantial evidence on the record a meaningless exercise.” Id.

        In Aqua Products, Inc. v. Matal, this Court ruled that the patent owner in an

  IPR does not bear the burden of proof on the patentability of its proposed substitute

  claims. 872 F.3d 1290, 1327 (Fed. Cir. 2017) (“[T]he PTO may not place [the]

  burden [of persuasion] on the patentee.”). Rather, the petitioner bears the burden

  of proving that the proposed substitute claims are unpatentable “by a

  preponderance of the evidence.”       Id. at 1306 (internal quotation marks and

  citations omitted).




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                                    ARGUMENT

  I.    By Rejecting the Limiting Effect of the Preamble, the Board
        Misconstrued the Proposed Substitute Claims
        The preamble of original claim 27 recites: “A method of increasing the

  survival of a patient with a castration resistant or hormone refractory, metastatic

  prostate cancer that has progressed during or after treatment with docetaxel.”

  Appx202. Aventis argued that this entire preamble should limit the claim because,

  among other reasons, (1) the preamble provided an antecedent basis for a term in

  body of the claim, (2) the specification demonstrated that the preamble recited an

  essential aspect of the invention, and (3) to overcome prior art during prosecution,

  Aventis relied multiple times on the unexpected finding of increased survival in

  TROPIC in light of the lack of survival data in the prior art. Appx316-319.

        However, the Board held that the preamble language that described the

  patients’ disease state was limiting, but that “a method of increasing the survival”

  was not. Appx395-397. The Board based its determination to split the effect of

  the preamble in this manner largely on its assertion that the survival component of

  the preamble “does not result in a manipulative difference in the claimed method

  steps.” Appx395-397 (quoting Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc.,

  246 F.3d 1368, 1375-76 (Fed. Cir. 2001)).             Also, although the Board

  acknowledged that “Patent Applicants relied on evidence of therapeutic efficacy to

  argue that the claims were not obvious,” the Board found that Aventis did not


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  explicitly rely on the preamble language itself, which thus was not a limitation.

  Appx396-397.

        Partly in response to the Board’s claim construction, Aventis drafted

  proposed substitute claims 31-34 relying on this Court’s controlling decisions in

  Jansen and Rapoport (discussed below). Pursuant to those cases, “increasing

  survival” in the amended preamble was limiting because the body of the claim

  referred to a patient “in need” of the claimed method of increased survival.

  Appx661. Aventis also expressly noted in its Motion that it was amending and

  relying on the preamble to overcome prior art cited by Mylan and the Board.

  Appx662. Nonetheless, the Board found yet again that “increasing survival” was

  non-limiting and distinguished Jansen as decided under the Phillips claim

  construction standard instead of the “broadest reasonable claim interpretation” IPR

  standard.    Appx70-73.      The Board similarly rejected Aventis’s disclaimer.

  Appx72. In the alternative, the Board held that if the preamble of proposed

  substitute claim 31 was limiting, it referred simply to a patient who needs

  increased survival. Appx72-73.

        As set forth below, the Board erred by (1) failing to properly apply Jansen

  and Rapoport, (2) ignoring Aventis’s clear and unmistakable reliance on

  “increasing survival” to overcome prior art, and (3) proffering an alternative

  construction that is not reasonable in light of the specification.



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        A.     Jansen and Rapoport Are Controlling
        This Court long-ago held that where a method preamble sets forth the

  method’s objective, and the claim body directs the method be performed on a

  human “in need,” the preamble is a statement of intentional purpose for how the

  method is to be performed, and is therefore limiting. Jansen v. Rexall Sundown

  Inc., 342 F.3d 1329, 1333 (Fed. Cir. 2003). In Jansen, the claimed “method of

  treating or preventing macrocytic-megaloblastic anemia” was performed on a

  human “in need thereof.” Id. at 1330. As this Court explained, “thereof” referred

  to the antecedent treatment or prevention of macrocytic-megaloblastic anemia

  recited in the preamble, such that the preamble was a limitation. Id. at 1333.

  Consequently, any use of the method without intending such treatment or

  prevention was outside the scope of the claim. Id. at 1333-34; see also Rapoport v.

  Dement, 254 F.3d 1053, 1059-60 (Fed. Cir. 2001) (“Moreover, without treating the

  phrase ‘treatment of sleep apneas’ as a claim limitation, the phrase ‘to a patient in

  need of such treatment’ would not have a proper antecedent basis.”).

        This holding of Jansen squarely applies here.         The body of proposed

  substitute claim 31 refers to administering a treatment “to a patient in need

  thereof.” “Thereof” in the body of the claim refers to the antecedent “[a] method

  of increasing survival” in the preamble, indicating that that the preamble is

  required to give “life and meaning” to the claim. Jansen, 342 F.3d at 1333-1334.



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  Therefore, the preamble is a limitation, and any use of the claimed method with

  any intention other than to increase the survival of the specified patients falls

  outside the scope of the proposed substitute claims.

        The Board erred by distinguishing Jansen on grounds that “it was an

  infringement case that required the court to construe the subject claim ‘so as to

  sustain [its] validity, if possible.’” Appx70. The Jansen Court never mentioned an

  interest in sustaining validity in reaching its claim construction, and that principle

  is a legal proposition of “limited utility.” Phillips v. AWH Corp., 415 F.3d 1303,

  1328 (Fed. Cir. 2005) (en banc). To the contrary, this Court based its holding on

  the preamble language together with the claim language “to a human in need

  thereof” which “compel[led] the claim construction arrived at by both the district

  court and this court.” Jansen, 342 F.3d at 1333.

        The Board’s opinion that Jansen is distinguishable based on prosecution

  history estoppel issues present in that case is likewise misplaced. Appx70. Like

  this case, the language at issue in Jansen was in the claim itself, i.e., a person “in

  need.” 342 F.3d at 1333. Although the prosecution history “bolstered” Jansen’s

  conclusion that the preamble was limiting, that was not the determining factor. See

  id.

        Because the language of the Jansen claim “compelled” a limiting

  construction, the rule requiring that a claim in IPR proceedings be given its



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  broadest reasonable interpretation does not change the analysis of the issue here.

  Neither here, nor in Jansen, did the patentee seek a particular construction that is

  narrower than the preamble’s meaning in light of the specification.5 Rather, as the

  Jansen Court noted, treating a preamble “as a limitation if it gives ‘life and

  meaning’ to the claim” is a “rule.” 342 F.3d at 1333 (quoting Kropa v. Robie, 187

  F.2d 150, 152 (C.C.P.A. 1951)).

        Moreover, under the guise of the broadest reasonable interpretation standard,

  the Board appears to preclude a limiting preamble no matter how clearly an

  applicant relied on that preamble for patentability, or how necessary the preamble

  is to give life and meaning to the claim. Such a blanket rule of claim construction

  is unreasonable as it is inconsistent with this Court’s long-standing precedent that

  clear statements limiting claims create a disavowal of scope (discussed below) and

  that preambles are limiting when necessary to give life to the claims. See SAS

  Inst., Inc., 825 F.3d at 1348 (“While we have endorsed the Board’s use of the

  broadest reasonable interpretation standard in IPR proceedings, we also take care

  to not read ‘reasonable’ out of the standard. This is to say that ‘[e]ven under the

  broadest reasonable interpretation, the Board’s construction cannot be divorced

  from the specification and the record evidence and must be consistent with the one
  5
   The full standard calls for the “broadest reasonable interpretation in light of the
  specification.” SAS Inst., Inc. v. ComplementSoft, LLC, 825 F.3d 1341, 1348 (Fed.
  Cir. 2016) (emphasis added).



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  that those skilled in the art would reach.’” (quoting Microsoft Corp. v. Proxyconn,

  Inc., 789 F.3d 1292, 1298 (Fed. Cir. 2015))); see also In re CSB-System Int’l, Inc.,

  832 F.3d 1335, 1340 (Fed. Cir. 2016) (“In many cases, the claim construction will

  be the same under the Phillips and BRI [broadest reasonable interpretation]

  standards.”).

        The Board’s decision is also contrary to Rapoport, which involved a patent

  interference proceeding and, therefore, used a broadest reasonable interpretation

  standard for claim construction. Rapoport, 254 F.3d at 1059 (citing Davis v.

  Loesch, 998 F.2d 963, 968 (Fed. Cir. 1993)). Rapoport nonetheless found the

  claim preamble limiting. Id. However, the Board distinguished Rapoport on

  grounds that “there was no dispute [in Rapoport] that the preamble was a

  limitation.” Appx71. But the Board did not explain how this circumstance alters

  the teaching of that case, as application of the broadest reasonable interpretation

  standard according to the Board would have resulted in the preamble being non-

  limiting despite the parties’ agreement. In fact, despite the absence of a dispute,

  the Court conducted a thorough claim construction analysis and held that “without

  treating the phrase ‘treatment of sleep apneas’ as a claim limitation, the phrase ‘to

  a patient in need of such treatment’ would not have a proper antecedent basis.”

  Rapoport, 254 F.3d at 1059.

        The Board also sought to distinguish Rapoport based on differences in the



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  language of the relevant claim terms in that case and here. Appx71-72. However,

  the Board did not explain the purported significance of the subtle differences

  involved. In any event, as this Court noted in Jansen, the critical phrase in both

  Rapoport and Jansen—which also is present in claim 31 here—is the phrase “in

  need,” which compels the conclusion that the objective method of the preamble is

  limiting:

               In both Rapoport and this case, the claim preamble sets
               forth the objective of the method, and the body of the
               claim directs that the method be performed on someone
               “in need.” In both cases, the claims’ recitation of a
               patient or a human “in need” gives life and meaning to
               the preambles’ statement of purpose. The preamble is
               therefore not merely a statement of effect that may or
               may not be desired or appreciated. Rather, it is a
               statement of the intentional purpose for which the
               method must be performed.

  Jansen, 342 F.3d at 1333 (internal citation omitted).

        The Board also misread Sanofi v. Glenmark Pharms. Inc., No. 14-264, 2015

  U.S. Dist. LEXIS 114406 (D. Del. Aug. 28, 2015). While Sanofi v. Glenmark

  found that the preamble at issue there served as an antecedent basis for the term

  “said atrial fibrillation or atrial flutter” in the body of the claim, the court’s primary

  finding was that because the preamble “gives life and meaning ‘to a patient in need

  thereof’ in the body of the claim” it was limiting under Jansen and Rapoport.

  2015 U.S. Dist. LEXIS 114406, at *6-7, 14-15. Thus, contrary to the Board’s

  analysis, Sanofi v. Glenmark supports that the preamble of proposed claim 31 in


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  this case is limiting. Indeed, district courts that have considered whether a method

  claim preamble was limiting in light of language in the body of the claim directing

  the method be used for a subject “in need of” or “in need thereof,” have strictly

  followed Jansen and found such preambles limiting. See, e.g., GlaxoSmithKline

  LLC v. Glenmark Pharms., Inc., No. 14-877-LPS-CJB, 2017 U.S. Dist. LEXIS

  22903, at *9 (D. Del. Feb. 17, 2017); Sanofi v. Lupin Atlantis Holdings S.A., No.

  15-415-RGA, 2016 U.S. Dist. LEXIS 136770, at *8-9 (D. Del. Oct. 3, 2016);

  Palmetto Pharms., LLC v. AstraZeneca Pharms., LP, No. 2:11-807-SB, 2015 U.S.

  Dist. LEXIS 161710, at *10-13 (D.S.C. Nov. 30, 2015), aff’d, 671 F. App’x 788,

  789 (Fed. Cir. 2016); Pfizer Inc. v. Teva Pharms. USA, Inc., 803 F. Supp. 2d 397,

  408-409 (E.D. Va. 2011); Wyeth v. Mylan Pharms., Inc., No. 1:07CV91, 2009 U.S.

  Dist. LEXIS 43800, at *27-30 (N.D.W. Va. May 22, 2009); Schering Corp. v.

  Glenmark Pharms., Inc., No. 07-1334 (JLL), 2008 U.S. Dist. LEXIS 69880, at

  *27-30 (D.N.J. Sep. 15, 2008).

        B.     The Board Impermissibly Ignored Aventis’s Clear Reliance on the
               Preamble to Overcome the Prior Art
        Even if Jansen did not compel construction of the preamble here as limiting,

  the preamble nonetheless is limiting because Aventis unequivocally relied on the

  preamble limitation for purposes of patentability. The Motion states that: “Aventis

  is expressly amending the language of claim 27 to add the preamble as a

  limitation of the claim contingent upon a potential future finding by the Board that


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  the original claims are unpatentable.” Appx662 (emphasis added). Well-settled

  law of this Court holds that where an applicant relies on the preamble language for

  patentability, the preamble is limiting. MBO Labs., Inc. v. Becton Dickinson &

  Co., 474 F.3d 1323, 1330 (Fed. Cir. 2007).

        Here, the evidence shows that Aventis relied on the preamble language to

  establish patentability. In particular, to distinguish prior art cited by the Board in

  its Institution Decision, Aventis relied on the unexpected finding of increased

  survival with 20-25 mg/m2 of cabazitaxel in combination with prednisone

  administered in the TROPIC study to patients with DRmCRPC.6                Appx655,

  Appx661-662, Appx664-665, Appx678-79, Appx48-49.              This was a clear and

  unmistakable disclaimer of any use of the claimed method that was not performed

  with the intent to increase survival, which the Board cannot simply choose to

  ignore.

        The Board quotes language from Tempo Lighting that does not support the

  Board’s discretion to ignore Aventis’s disclaimer here. Appx72 (citing Tempo

  Lighting, Inc. v. Tivoli, LLC, 742 F.3d 973, 978 (Fed. Cir. 2014)). That language

  merely concerns the unremarkable proposition that an examiner need not adopt an

  applicant’s proposed claim construction when that construction may be
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    In fact, a significant portion of the prosecution history and the arguments in the
  IPR were directed to this unexpected finding in light of the lack of survival data in
  the prior art. See, e.g., Appx321-324, Appx347-348, Appx665-672, Appx678-679.



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  inconsistent with or unsupported by the patent specification. Tempo Lighting, 742

  F.3d at 978.    But that is not the case here.     Aventis made an unambiguous

  disclaimer as to the scope of the proposed claims; and the preamble finds express

  support in the patent specification.      Appx657-658 (citing written description

  support for claim 31, which the Board did not challenge). In such cases, the

  patentee is held to the narrower claim scope even when the examiner did not rely

  on the patentee’s statements in his or her patentability determination. See Fenner

  Invs., Ltd. v. Cellco P’ship, 778 F.3d 1320, 1325 (Fed. Cir. 2015) (“[T]he

  interested public has the right to rely on the inventor’s statements made during

  prosecution, without attempting to decipher whether the examiner relied on them,

  or how much weight they were given.”).

        C.     The Phrase “to a patient in need thereof” Adds an Intent
               Limitation to the Proposed Substitute Claims
        The Board overstates Aventis’s position, describing Aventis’s purported

  “implicit proposal that the preamble imposes a claim requirement that the method

  must result in an increase in ‘overall survival’ in a population of patients.”

  Appx71. But that is not Aventis’s position. Rather, Aventis asserts that the claims

  are limited to administering the claimed premedication and chemotherapy with the

  intent of prolonging the life of the patient. As explained above, under Jansen,

  claim language that directs the method to be performed on a “patient in need

  thereof” adds an intent limitation to the claim.


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          In Jansen, this Court held that the phrase “to a person in need thereof”

  means that the practitioner of the claim must have recognized a need to achieve the

  objective stated in the preamble, and intended to achieve that objective. Jansen,

  342 F.3d at 1333-34.       Following Jansen, Sanofi v. Glenmark held that “the

  combination of a limiting preamble and the recitation of a patient “in need thereof”

  adds an intent limitation to the claim such the claimed method must be

  administered “with the intent of decreasing the risk of hospitalization.” 2015 U.S.

  Dist. LEXIS 114406, at *16-17; see also Schering, 2008 U.S. Dist. LEXIS 69880,

  at *29-30 (holding the term “in need of such treatment . . . has intent written into

  it”).

          Like those cases, the proposed substitute claims here direct that the claimed

  methods be administered to a patient in need thereof and, therefore, to practice the

  claims, the physician administering the claimed premedication and chemotherapy

  must do so with intent to increase survival.

          D.    The Board’s Alternative Construction Is Unreasonable
          The Board incorrectly found in the alternative that “[t]o the extent the

  preamble in substitute claim 31 may be considered limiting at all, it refers only to a

  patient in need of increased survival.” Appx72. The Board’s reasoning here seems

  to mistakenly imply that the intentional purpose of treating patients with

  DRmCRPC at the relevant time was solely to increase survival. As the Board



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  noted, however, prolonging survival was just “one of the purposes” of

  administering treatment. Appx73. In fact, prior to the invention of the method of

  the proposed claims, patients with DRmCRPC were not treated with the intent to

  increase survival, because no therapy had been found capable of doing so.

  Appx4332, Appx14943-14944.         Instead, the standard of care was palliative

  treatment with mitoxantrone in combination with a corticoid. Appx4458, Appx49

  (n.16). There was no evidence that that combination of drugs would prolong the

  lives of patients with DRmCRPC; therefore, those patients were treated not with

  the intent to increase survival, but to alleviate symptoms. Appx14942-14944.

        Such mitoxantrone therapy was administered despite the fact that it did not

  prolong patients’ lives. Rather, it was the best therapy available at the time.7

  Appx4458, Appx49 (n.16).        In testimony omitted by the Board by ellipsis

  (Appx73), Dr. Sartor testified that: “the goals of therapy were to improve quality

  of life through symptom control and to attempt prolongation of life.” (emphasis



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    The fact that “virtually all” patients with DRmCRPC are in need of a method of
  increasing survival is unremarkable; all humans are mortal. Those diagnosed with
  a terminal disease in particular are in need of methods to prolong their lives, but
  that is not the only need they have. Moreover, adopting a construction for the
  preamble that simply describes patients in a manner in which they are “already
  defined in the body of the claim” would unreasonably render the claim limitation
  meaningless. Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir. 2006)
  (“[C]laims are interpreted with an eye toward giving effect to all terms in the
  claim.”).



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  added). Appx14941-14942; see also Appx15007 (“The hope was to have these

  patients live longer or live better, i.e., more comfortably.” (emphasis added)).

        The Board’s reliance on Bristol-Myers is misplaced for several reasons.

  Appx15-16, Appx73. First, in Bristol-Myers, this Court found the preamble non-

  limiting because there was no prosecution history to support a limiting

  construction. 246 F.3d at 1375. However, here, Aventis expressly stated that the

  phrase “to a patient in need thereof” was added by proposed amendment to make

  the preamble limiting. Appx655.

        Second, the Bristol-Myers Court found that the “language of the claim itself

  strongly suggests the independence of the preamble from the body of the claim,”

  and the body of the claim lacked terms that necessarily derived antecedent basis

  from the preamble. 246 F.3d at 1375. The claims at issue in Bristol-Myers were

  directed to administration of an antineoplastically effective amount of about 135 to

  175 mg/m2 Taxol® over a period of about three hours. Id. at 1371-72. Notably,

  unlike here, and unlike in the Jansen and Rapoport line of cases, the claims in

  Bristol-Myers did not recite a patient “in need.” Id. As the Bristol-Myers Court

  discussed, the patentee in that case found that if the claimed amount of Taxol®

  was administered over the claimed period of time, the associated toxicity reported

  in the prior art with such doses could be reduced while maintaining anticancer

  activity. See id. at 1373-74. Thus, the preamble in Bristol-Myers did not add



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  anything to the claim; “reducing hematologic toxicity” was simply a consequence

  of the specific dosing method already described in the claims. In other words, a

  POSA could understand what the effective amount was from the body of the claim

  and, therefore, the preamble did not explain a claim limitation. Id. at 1375. Here,

  however, the preamble is required to give life and meaning to the phrase “to a

  patient in need thereof.”

        Third, the Bristol-Myers court took issue with the fact that the plaintiffs in

  that case were proposing non-limiting constructions for purposes of infringement

  but limiting constructions for purposes of validity. Id. Such is not the case here; in

  a subsequent infringement action Aventis would prove infringement of the

  preamble limitation.

        Thus, Bristol-Myers does not support the Board’s conclusion that Aventis’s

  proposed construction is “contrary to Federal Circuit precedent” and does not

  outweigh the controlling Jansen line of cases. Appx73. Therefore, the Board’s

  construction should be reversed.


  II.   When Properly Construed, the Substitute Claims Are Patentable

        A.     There Is No Record Evidence Establishing a Reasonable
               Expectation of Success of Increased Survival
        As explained above, the proposed substitute claims require that a POSA

  intend to increase survival by administering cabazitaxel, prednisone, and the

  premedication regimen “to a patient in need thereof.” A POSA cannot intend for a

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  drug to increase survival without evidence that it is expected to do so.

  Appx16378-16379.      In other words, a POSA would not treat patients with a

  chemotherapy having uncertain efficacy with the intent of prolonging life.

  Therefore, to establish that a POSA would have been motivated by the prior art to

  practice the claimed methods, it must be shown that a POSA would have had a

  reasonable expectation of increased survival. See Amgen Inc. v. F. Hoffman-La

  Roche Ltd., 580 F.3d 1340, 1362 (Fed. Cir. 2009) (obviousness requires showing

  that a POSA had a reasonable expectation that the claimed methods would work

  for their intended purpose). This is consistent with the holding in Sanofi where the

  patent challenger was required to show that a POSA at the time of the invention

  “would have had a reasonable expectation that dronedarone would succeed in

  reducing cardiovascular hospitalization in the ATHENA patient population.”

  Sanofi v. Watson Labs. Inc., 875 F.3d 636, 647 (Fed. Cir. 2017).

        Mylan nowhere addressed the issue of a reasonable expectation of success

  for the proposed amended claims.       Instead, Mylan first argued that increased

  survival need not be taught in the prior art because it is “inherent.” Appx955-956.

  This argument, however, presumes that the claimed methods were already in the

  prior art, which Mylan’s expert acknowledged were not. Appx955, Appx16339-

  16340 (138:20-139:6, Dr. Seth: “I cannot recall any piece of paper that have [a

  method comprising administering to a patient an antihistamine, a corticoid, an H2



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  antagonist and a dose of 20 to 25 milligrams per meter squared of cabazitaxel in

  combination with prednisone or prednisolone] before 2009”).          Thus, it is not

  relevant to patentability here whether increasing survival is inherent to the methods

  of the proposed amended claims.

        Mylan also relied on the primary objective of the TROPIC study—to assess

  overall survival—and argued in essence that, in light of the prior art, the mere fact

  that a POSA would know that cabazitaxel in combination with prednisone was

  being studied in TROPIC provided a POSA a reasonable expectation that that

  combination would increase survival as compared to mitoxantrone and prednisone.

  Appx956-957. As discussed above, however, the fact that the TROPIC study was

  ongoing would not have provided a reasonable expectation that the study would

  succeed, particularly in light of the minimal data regarding cabazitaxel (none

  regarding survival) and the numerous failures of other prostate cancer therapies to

  increase survival in clinical studies. Supra SOF Sections III.A, B, D. As Dr. Seth

  acknowledged, the TROPIC study was conducted to determine “ultimately what is

  better [as between cabazitaxel and mitoxantrone]” (Appx15254-15255 (186:7-

  187:4)), because at the time the answer to that question was unknown.

        As to a POSA’s expectation at the time of the TROPIC study, Dr. Seth

  testified, “I have a Phase III trial. I’m hoping that trial is going to work. That is

  always the gut feeling you have when you have a Phase III trial. Will it work or



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  not? I do not know because there’s so many factors that go into that success.”

  Appx16313 (112:21-25, emphasis added).          Indeed, Dr. Seth was unwilling to

  conclude, based on the prior art, that a POSA would have expected cabazitaxel in

  combination with prednisone to increase overall survival in patients with

  DRmCRPC prior to knowing the results of TROPIC.               Rather, he repeatedly

  testified that a POSA would merely “hope” that cabazitaxel would increase

  survival. For example, Dr. Seth testified, “I think a POSA in 2008 or 9 would just

  hope that cabazitaxel . . . would give them an overall benefit in controlling their

  disease which would increase their overall survival.” Appx16242-16243 (41:8-

  42:6, emphasis added), Appx16229 (28:21-25, “[a] POSA would always be hoping

  that the usage of cabazitaxel . . . would hopefully give patients – give most patients

  an overall increase in survival by controlling their disease”); see also Appx16230-

  16231 (29:2-30:3, “most of us were hoping cabazitaxel . . .,” “a POSA would hope

  using cabazitaxel . . .”).

         The mere “hope” that a claimed method will work falls far short of

  reasonably expecting that it will succeed and cannot support obviousness of a

  claimed invention. Sanofi v. Glenmark Pharms. Inc., 204 F. Supp. 3d 665, 691-92

  (D. Del. 2016) (hypothesis that dronedarone would reduce cardiovascular

  hospitalizations versus placebo in an ongoing phase III trial did not give rise to a

  reasonable expectation that the claimed methods of administering dronedarone



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  would actually reduce such hospitalizations), aff’d, Sanofi v. Watson Labs. Inc.,

  875 F.3d 636; see also Genzyme Corp. v. Dr. Reddy’s Labs., Ltd., No. 13-1506-

  (GMS), 2016 U.S. Dist. LEXIS 62056, at *38 (D. Del. May 11, 2016) (no

  reasonable expectation of success where inventor explained he had a “‘hope,’ but

  not an expectation” that a clinical trial would succeed in light of the history of

  failure in the field), aff’d, Nos. 2016-2206, 2016-2207, 2017 U.S. App. LEXIS

  25454 (Fed. Cir. Dec. 18, 2017).

        The evidence showed that it was unexpected (as first shown in the TROPIC

  study) that 20-25 mg/m2 of cabazitaxel in combination with prednisone would

  prolong overall survival in patients with DRmCRPC.              Appx15018-15021,

  Appx15028, Appx15038-15039. In particular, the undisputed facts showed that (1)

  there was no comparative survival data reported for cabazitaxel in any of the prior

  art studies, (2) reductions in PSA levels and tumor size observed in those studies

  were not validated surrogates for overall survival, and (3) numerous other therapies

  failed to provide a survival benefit in phase III studies despite demonstrated

  antitumor efficacy in earlier studies. Supra SOF Sections III.A, B, D. As the

  Board correctly found, “the results of the TROPIC Study were unexpected enough

  to result in FDA fast-track approval of the first therapy for docetaxel-refractory

  mCRPC patients.” Appx49.

        Finally, the real-world evidence from the FDA and other experts in the field



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  (explained supra SOF Section III.D) confirms that a POSA would not have had a

  reasonable expectation that the claimed cabazitaxel therapy would increase

  survival in patients with DRmCRPC, and, therefore, that a POSA would not have

  been motivated to practice the claimed methods with an intent to prolong the lives

  of the claimed patients.

        Since Mylan did not present evidence to rebut Aventis’s compelling

  evidence that a POSA would not have had a reasonable expectation of success of

  increased survival with 20-25 mg/m2 cabazitaxel in combination with prednisone,

  this Court should hold claims 31-34 nonobvious and reverse the Board’s denial of

  the Motion without need for proceedings on remand.

        B.     The Board Improperly Ignored Dr. Seth’s Admissions That a
               POSA Would Not Have Been Motivated to Administer a 20 mg/m2
               Dose of Cabazitaxel
        Claim 34 is directed to the administration of a 20 mg/m2 dose of cabazitaxel

  to patients with DRmCRPC. There was no prior art data showing the effect of a 20

  mg/m2 cabazitaxel dose in patients with DRmCRPC. As such, a POSA could not

  have had a reasonable expectation that such a dose would increase survival in those

  patients, and claim 34 should be found patentable even under the Board’s

  erroneous claim construction.

        The Board failed to provide any explanation to support a conclusion to the

  contrary. In fact, Mylan’s Dr. Seth admitted that even after the TROPIC study



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  results were available, a POSA “most likely would not be able to think of giving a

  dose of 20 milligrams per meter squared,” and “I don’t think most oncologists

  would think 20 milligrams would work.” Appx15140-15141 (72:17-73:2, 73:14-

  23). There is no evidence contrary to these critical admissions.

         Obviousness requires showing that a POSA would have been motivated to

  practice the claimed treatment; it is insufficient to show that a POSA could have

  practiced the methods. PersonalWeb Techs., 848 F.3d at 993-94. Dr. Seth’s

  admission that a POSA “would not be able to think of giving a dose of 20

  milligrams per meter squared” shows that the Board erred in finding that a POSA

  would have been motivated to administer 20 mg/m2 cabazitaxel to patients with

  DRmCRPC based on results in the Pivot breast cancer study (Appx54), let alone

  that a POSA would have done so with the specific intention of increasing survival.

  That finding is not supported by substantial evidence and should be reversed.


  III.   The Board’s Finding That a POSA Would Have Been Motivated to Use
         the Claimed Premedication Regimen with Cabazitaxel Is Not Supported
         by Substantial Evidence
         The premedication limitations of the proposed claims render those claims

  patentable over the prior art by a preponderance of the evidence regardless of

  whether the claim preambles are limiting. The Board’s finding to the contrary –

  that, when administering cabazitaxel and prednisone for treating patients with

  DRmCRPC, the administration of the claimed premedication regimen would have


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  been obvious to a POSA – is not supported by substantial evidence.

        A.     The Board Erred by Mischaracterizing the Testimony of Dr.
               Sartor and Ignoring the Improved Safety of Cabazitaxel over
               Docetaxel in Terms of HSRs
        None of the prior art references relied upon by Mylan or the Board that

  disclose the administration of cabazitaxel to prostate cancer patients (Winquist, the

  TROPIC Listing, and Mita) further disclose the use of the three-component

  premedication regimen of claim 31.        Appx4203-4205, Appx4212, Appx4230.

  Moreover, a POSA would not have been motivated to combine any of those

  references with a three-component premedication regimen. If anything, the prior

  art suggested that such a combination would be unnecessary, or that a different

  combination should be used. For example, Mita, the only prior art publication

  containing data for cabazitaxel in prostate cancer patients, was explicitly designed

  in part to determine whether premedication was required. See Appx4225 (“The

  principal objectives . . . were to (a) characterize the toxicities of [cabazitaxel]

  administered without premedication . . . .”). Yet, premedication was not needed

  for any of the 25 patients in the Mita study, and the authors concluded that

  cabazitaxel “administration does not require premedication.”             Appx4228,

  Appx4230, Appx16381-16382. No physician would prescribe additional drugs to

  a patient unless it was required.

        The evidence cited by the Board is not sufficient to overcome Mita’s clear



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  teaching away from the claimed premedication regimen.         Relying heavily on

  Mylan’s mischaracterization of Dr. Sartor’s testimony, the Board (1) cited to Dr.

  Sartor’s testimony that “4 percent of people with a bad hypersensitivity is a crazy

  high number, scares the hell out of me,” (2) noted the 4% of grade 3 or higher

  HSRs observed in the Pivot breast cancer study of cabazitaxel, and (3) found that,

  contrary to the conclusion in Mita, Pivot would have motivated a POSA to use

  premedication for cabazitaxel. Appx75, Appx78-80. But, a proper review of Dr.

  Sartor’s full testimony tells a different story.

        When asked whether, in his opinion, a “4 percent incidence of

  hypersensitivity reaction is an insubstantial risk,” Dr. Sartor responded, “[i]t

  depends on how bad it is. If 4 percent of my patients are about to die, I’m freaked

  out.” Appx5086 (216:8-17, emphasis added). Thus, in his testimony, Dr. Sartor

  clearly was referring to grade 4 life-threatening HSRs consistent with testimony

  he gave elsewhere that he would interpret “severe” to include grade 4 HSRs and

  not necessarily grade 3 HSRs.          Appx10437-10438 (466:10-467:3).     This is

  important because only a single patient in Pivot had a grade 4 or higher HSR, and

  therefore only about 1% of the patients in Pivot had “severe” HSRs as Dr. Sartor

  used the term, not 4% as the Board found. Appx4217, Appx10514 (543:11-20).

  Thus, the purported 4% rate of severe HSRs relied upon by the Board did not occur

  in Pivot, and the Board accordingly was incorrect that Pivot would have provided a



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  strong motivation to use premedication with cabazitaxel despite Mita.

        Indeed, as Dr. Seth acknowledged, Pivot discloses a “‘very favorable’ safety

  profile compared to docetaxel,” and Pivot reports that grade 3-5 adverse events,

  including HSRs, were “rare.” Appx5433-5434, Appx16270-16271 (69:17-70:7),

  Appx16274 (73:2-15), Appx4217. Pivot must also be considered in the context of

  the other prior art cabazitaxel studies (Mita, Lortholary, Fumoleau), which reported

  no severe HSRs despite patients receiving no premedication, or at most receiving

  only a single-drug (antihistamine) premedication. Appx4228, Appx14666-14667,

  Appx15914, Appx10467 (496:1-19), Appx10507 (536:4-22), Appx10509-10510

  (538:1-539:10). In view of that undisputed prior art evidence, if it had occurred to

  a POSA to use a premedication regimen with cabazitaxel, he or she would not

  think to use a more complicated and costly three-drug regimen than what was used

  with docetaxel.

        The Board also erred by failing to address the improved safety shown in

  Pivot of cabazitaxel over docetaxel with respect to HSRs, focusing instead on the

  fact that some HSRs were observed in Pivot. In re Zurko, 258 F.3d at 1384

  (substantial evidence standard requires “an examination of the record as a whole,

  taking into consideration evidence that both justifies and detracts from the

  agency’s decision.” (internal quotation marks and citations omitted)). Indeed,

  although the Board seemed to doubt whether a POSA would have understood the



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  rate of cabazitaxel HSRs to have been lower than for paclitaxel and docetaxel

  therapy, this fact was not in dispute. Compare Appx75 (“although the rate of

  HSRs may have been lower” (emphasis added)) with Appx15183 (115:18-19, Dr.

  Seth admitting that “cabazitaxel was thought to be . . . from the Mita paper to be

  less hypersensitivity [sic].”). In any event, especially in light of the conclusion in

  Mita that no premedication was required, a single severe grade 4 cabazitaxel HSR

  in a single patient across four studies does not support the Board’s finding that a

  POSA would have employed the more demanding claimed premedication regimen,

  which can exacerbate the side effects of chemotherapy. Supra SOF Sections IV.A,

  D.

        The Board also relied on Winquist and the TROPIC Listing, which both

  include a partial description of the protocol for the TROPIC study, the results of

  which led to the claimed invention. Appx80, Appx4212, Appx4203-4205. But

  neither reference provides a motivation to practice the claimed methods because

  neither reference discloses the use of premedication. Appx4212, Appx4203-4205.

  In fact, if anything, a POSA would have considered the absence of premedication

  use in the disclosures of the TROPIC study to be consistent with the teaching in

  Mita that premedication is not required.

        B.     The Board’s Finding That the Claimed Premedication Regimen
               Was “Well Known” Is Insufficient to Prove Obviousness
        The Board’s denial of the Motion rests largely on its findings that the


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  claimed premedication regimen was “well known” at the time of the invention

  because that regimen was used previously with other chemotherapy drugs.

  Appx75-77. Such findings are insufficient to prove obviousness. KSR Int’l Co. v.

  Teleflex Inc., 550 U.S. 398, 418 (2007) (“[A] patent composed of several elements

  is not proved obvious merely by demonstrating that each of its elements was,

  independently, known in the prior art.”).

        The Board relied on KSR in finding that the claimed premedication regimen

  was a known solution to a known problem. Appx75-76. But hypersensitivity,

  fluid retention, and nausea were not “known problems” with the administration of

  cabazitaxel. Rather, the prior art specifically states that these were not problems

  associated with cabazitaxel or, at minimum, were less of a problem as compared to

  docetaxel.   Appx4228, Appx4218.       Therefore, a POSA would not have been

  motivated to employ a more complicated premedication regimen for cabazitaxel

  (three drugs) as compared to docetaxel (dexamethasone alone), and thereby forego

  the “significant administration and convenience advantages” noted in Mita.

  Appx4230. Thus, even if a POSA associated cabazitaxel with such problems, the

  claimed premedication regimen would still not have been an “obvious solution.”

        The Board also found that Dr. Sartor gave testimony that “weighs against

  Patent Owner’s teaching away argument,” namely that “when we administer an

  agent known to be associated with [HSRs], if there’s a method to help control



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  those, then we use that.” Appx80. Putting aside the evidence that premedication

  was not required with cabazitaxel to prevent HSRs, the Board did not explain why

  the single-component FDA-approved docetaxel premedication would not have

  been adequate, particularly given that prescribed docetaxel doses were known to

  contain a significantly higher amount of HSR-causing polysorbate than cabazitaxel

  patients would receive.     See supra SOF Section IV.C.           In fact, Dr. Seth

  unequivocally stated that a POSA “err[ing] on the side of preventing a

  hypersensitivity reaction” as a result of cabazitaxel administration would use

  dexamethasone alone, not the claimed three-component premedication regimen, as

  postulated by the Board:


                     Q. Okay. The -- so the -- you would expect a
               POSA in 2009 would have expected the administration of
               cabazitaxel to result in hypersensitivity reactions?

                      A. I would expect the POSA to be prepared in case
               a hypersensitivity reaction happens. I do not know if they
               were always anticipating -- there’s no guarantee that
               you’re going to get hypersensitivity reaction with every
               drug you gave but I think any POSA would err on the
               side of preventing a hypersensitivity reaction.

                     Q. And err on the side how?

                     A. By giving premedications.

                     Q. Specifically what premedications?

                     A. The specific premedication we use for the
               docetaxel chemotherapy is dexamethasone.



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  Appx15181 (113:2-15); see also Appx15186-15187 (118:13-119:5, Dr. Seth: “I

  believe POSAs would use the same premedication on docetaxel in cabazitaxel

  before TROPIC came out and the product information of cabazitaxel came out.”).

        Dr. Seth’s testimony on this subject makes sense. The claimed methods are

  directed to patients whose prostate cancer has progressed during or after treatment

  with docetaxel. Thus, by definition, these patients were recently on docetaxel

  therapy, receiving dexamethasone alone as premedication. Notably, these patients

  had no history of severe HSRs with docetaxel or other drugs formulated with

  polysorbate because otherwise docetaxel would have been contraindicated.

  Appx4347-4348.          Thus, the claimed patients could tolerate docetaxel

  administration   with    higher   amounts     of   polysorbate   after   taking   only

  dexamethasone.

        Accordingly, if a POSA in January 2010 were to consider administering

  cabazitaxel to such a patient (i.e, one previously treated with docetaxel, as called

  for by the claims), it would make little sense to add two additional premedication

  drugs when it was understood that the risk of hypersensitivity reactions is lower for

  cabazitaxel than for docetaxel. Neither Mylan nor the Board provided any credible

  rationale for why a POSA would be so motivated. That motivation cannot be the

  mere fact that the claimed premedication regimen was “well known.”

  PersonalWeb Techs., 848 F.3d at 993-94 (“Obviousness concerns whether a skilled



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  artisan not only could have made but would have been motivated to make the

  combinations or modifications of prior art to arrive at the claimed invention.”

  (internal quotation marks and citations omitted)). And as discussed below, prior

  art references disclosing use of the claimed premedication for other taxanes do not

  provide this motivation.

        C.     The Board’s Finding That the Claimed Premedication Regimen
               Was Obvious Is Based on Hindsight
        The Board relied on Dr. Seth’s unsupportable conclusion that a POSA would

  have been motivated to use the Taxol® three-drug premedication regimen “to

  obtain a similar reduction in HSRs” with cabazitaxel. Appx76. Dr. Seth’s and the

  Board’s reliance on the premedication described in the Taxol® label is misplaced

  because the extremely high levels of Taxol® HSRs were caused by the specific

  surfactant (Cremophor) used to formulate Taxol®, and not by the drug itself.

  Appx11588, Appx11614, Appx11537, Appx15916, Appx15933.                 The Board

  attempted to sidestep this undisputed fact by pointing to early docetaxel studies

  that used the Taxol® premedication regimen.         Appx76-77.      But, a POSA

  investigating whether and what premedication to use for cabazitaxel therapy would

  not have looked to those older studies to determine the need for premedication for

  docetaxel when a single premedication had been approved by the FDA for

  docetaxel. Appx16384-16385.

        The first of these studies, Takenaka, was a small, experimental study


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  designed to evaluate the efficacy and toxicity in Japanese men of weekly docetaxel

  at a dose of 30 mg/m2 in combination with an additional chemotherapy drug,

  estramustine. Appx5614.       However, Takenaka did not recommend use of this

  chemotherapy regimen, and there is no evidence that it was used again.

  Appx5614.

          By January 2010, a POSA would have known that the FDA had determined

  that dexamethasone alone was safe to use as a single premedication with higher

  docetaxel doses than those used in Takenaka. Appx4347, Appx5614. Therefore,

  to the extent a POSA would look to a regimen for docetaxel administration in a

  search for a premedication for cabazitaxel, he or she would have selected the FDA-

  approved regimen of dexamethasone alone, not the one-off use of the Taxol®

  premedication in Takenaka.8 Appx4347, Appx16384-16385, Appx15181 (113:2-

  15), Appx15186-15187 (118:13-119:5, Dr. Seth: “POSAs would use the same

  premedication [dexamethasone] on docetaxel in cabazitaxel before TROPIC came

  out . . . .”).

          Trudeau and Hudis are even older (1996) docetaxel studies in breast cancer

  employing a variety of premedications. Appx5619-5620, Appx5625, Appx5627-
  8
   Demonstrating the hindsight nature of the Board’s analysis, when considering the
  separate question of whether a POSA would have been motivated to coadminister
  10 mg prednisone with cabazitaxel, the Board looked not to Takenaka, in which
  docetaxel was given in combination with estramustine, but to the Tannock study
  that formed the basis of FDA-approval of docetaxel. Appx64.



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  5629. Both studies reported HSRs in more than 50% of patients. Appx5620,

  Appx5628. These levels are far higher than the 6% of patients having any HSR for

  cabazitaxel in Pivot, a fact which would have taught a POSA that less and not

  more premedication was necessary for cabazitaxel than docetaxel. Appx4217,

  Appx16386-16387. Again, this is consistent with the conclusion in Pivot that

  cabazitaxel was “well tolerated,” with a safety profile that is more favorable than

  Taxol® and docetaxel, thereby suggesting the need for less premedication with

  cabazitaxel.    Appx4214, Appx4218, Appx16382-16383, Appx16386-16387,

  Appx15183 (115:11-19).

        At bottom, the Board’s selection of the Taxol® premedication regimen over

  the FDA-approved docetaxel regimen employs impermissible hindsight. Without

  knowledge of the full TROPIC study protocol and results, which are found

  nowhere in the prior art, a POSA would not have employed the Taxol® three-drug

  premedication regimen as opposed to no premedication at all or the single-drug

  premedication regimen used for docetaxel. Significantly, this was corroborated by

  Dr. Seth. Appx15186-15187 (118:13-119:5, “I feel as a POSA in 2009, before

  TROPIC, . . . most of my colleagues would premedicate before administration of

  cabazitaxel, similar to how we would premedicate before docetaxel . . . . I believe

  POSAs would use the same premedication on docetaxel before TROPIC came

  out. . . .” (emphasis added)).



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        D.       A POSA Would Not Have Been Motivated to Administer an H2
                 Antagonist
        Even if a POSA would have been motivated to include additional

  premedication beyond what patients were administered while on docetaxel therapy,

  there would have been no reason to administer an H2 antagonist. The Board cites

  no basis for using an H2 antagonist premedication other than its use in the Taxol®

  premedication regimen.

        Aside from being “known,” Mylan’s only alleged basis for use of an H2

  antagonist is found in statements in the 2008 National Comprehensive Cancer

  Network (“NCCN”) Antiemesis Guidelines.           Appx960, Appx5583.        Those

  statements were properly not credited by the Board. The only reference to H2

  antagonists in these guidelines is in the “breakthrough emesis” section, which

  refers to circumstances where premedication was given for nausea and vomiting,

  and, after administration of chemotherapy, the patient still experienced nausea and

  vomiting. Appx5597, Appx5604-5605. One suggestion in the NCCN Guidelines

  for physicians treating such patients is, if a patient also has dyspepsia, to

  “consider” administering antacid therapy, an H2 antagonist, or a proton pump

  inhibitor. Appx5597. But there are two reasons why that suggestion could not

  serve as a motivation for a POSA to add H2 antagonists as premedication for

  cabazitaxel.     First, the “breakthrough emesis” section does not discuss

  premedication, but rather concerns giving medications following chemotherapy.


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  Appx5597. Second, as Dr. Seth admitted, dyspepsia was not a problem associated

  in the prior art with either cabazitaxel or docetaxel therapy. Appx16332 (131:12-

  22).

         Also, as explained by Dr. Seth, in light of the results of Pivot, a POSA

  would have expected nausea and vomiting to be less of a problem for cabazitaxel

  than docetaxel for patients with mCRPC:

               A POSA simply would take the Pivot data even if it’s in
               breast cancer patients, and you saw that they had better
               nausea [and] vomiting . . . in breast cancer. That’s what
               Pivot studied. You’re going to extrapolate that and
               you’re going to say that hopefully the prostate cancer
               patients will have that same benefit versus a docetaxel
               [sic].

  Appx16274 (73:2-15, emphasis added).

         The Board took Dr. Sartor’s testimony regarding the safety of premedication

  drugs out of context. Appx79-80. Dr. Sartor was not specifically asked whether

  there were risks associated with the use of H2 antagonists with taxane

  chemotherapy, only whether such drugs were considered “extremely risky.”

  Appx5087 (217:20-22).      While H2 antagonists may not be dangerous to the

  general, healthy patient population, such patients are not at risk of developing hand

  and foot disease, which can occur in patients taking cytotoxic chemotherapy.

  Appx15944; supra SOF Section IV.D.

         And, even if H2 antagonists were not considered “extremely risky,” that does



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  not mean they are without risks, or would be administered absent a good reason for

  doing so. As Dr. Sartor explained in testimony cited by the Board, “it’s all about

  the risk/benefit.”   Appx79-80.    Indeed, a POSA would have considered the

  avoidance of additional premedication associated with Taxol® to have “significant

  administration and convenience advantages.” Appx4230.

        Even more damaging to Mylan’s assertions regarding the obviousness of

  including an H2 antagonist is the testimony of Dr. Seth. In particular, Dr. Seth

  admitted that a POSA who believed nausea and vomiting to be problems

  associated with cabazitaxel would not choose to administer an H2 antagonist, but

  rather would use one among a number of newer, more effective antiemetic

  compounds that were known in January 2010.              Appx15195 (127:17-23),

  Appx16322-16323 (121:8-121:3); see also Appx5602. The Board failed even to

  address this testimony. Thus, even if there was evidence that nausea and vomiting

  were known problems associated with cabazitaxel, Mylan’s expert conceded that

  premedication with an H2 antagonist would not have been the obvious solution.

        E.     The Board’s Finding of Obviousness of Claim 34 Is Not
               Supported by Substantial Evidence
        The Board failed in any way to address claim 34 (directed to the

  administration of a 20 mg/m2 dose of cabazitaxel). Nor did the Board provide a

  rationale as to why a POSA in January 2010 would have been motivated to employ

  the claimed three-component premedication regimen prior to the administration of


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  a 20 mg/m2 dose of cabazitaxel.

        In particular, the Board cited no evidence in the prior art of HSRs following

  the administration of the lower 20 mg/m2 dose of cabazitaxel. Moreover, the

  Board did not explain why a POSA would use the premedication regimen in the

  Takenaka 30 mg/m2 docetaxel weekly study for a 20 mg/m2 dose of cabazitaxel.

  Although the dose in Takenaka is lower than the FDA-approved docetaxel dose of

  75 mg/m2, this lower dose still contains a 50% higher concentration of polysorbate

  than does a 20 mg/m2 dose of cabazitaxel and, thus, presumably presents a much

  higher risk of HSRs. Appx4225, Appx4347, Appx4381, Appx5614. Again, the

  Board’s obviousness finding also ignores that docetaxel was approved by the FDA

  at the higher 75 mg/m2 dose without need for the three-component premedication,

  which supports Aventis’s arguments that a POSA would not have believed the

  three-drug premedication was needed for cabazitaxel. Appx4347, Appx16384.

                           *            *           *

        Accordingly, proposed claims 31-34 are not unpatentable in view of the

  Winquist, the TROPIC Listing, Pivot and any one of Takenaka, Hudis, Trudeau,

  and the Taxol® label.


  IV.   Aventis Is Entitled to the Benefit of Aqua Products
        In denying the Motion, the Board held that “Patent Owner bears the burden

  of proving patentability of each proposed substitute claim” and that “Patent Owner


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  has the burden of proving that the substitute claims are patentably distinct over the

  prior art of record in the proceeding.” Appx66. Ultimately, the Board concluded

  “that Patent Owner has not met its burden with respect to the proposed substitute

  claims.” Appx66, Appx80 (“[W]e determine Patent Owner has not proved by a

  preponderance of the evidence that proposed substitute claims 31-34 are

  patentable.”).

         Under this Court’s recent en banc decision in Aqua Products, Inc. v. Matal,

  872 F.3d 1290 (Fed. Cir. 2017), the Board legally erred by improperly allocating

  the burden of proof here on Aventis. In Aqua Products, this Court held that Patent

  Owner does not bear the burden of showing that proposed new or amended claims

  are unpatentable over the prior art. 872 F.3d at 1296, 1306, 1327.

        Aventis submits that the evidence in this case supports a finding of

  patentability of proposed claims 31-34. However, since allocation of burden of

  proof is fundamental to an obviousness analysis and cannot be separated from that

  analysis, at minimum, this Court should remand this matter to the Board for further

  proceedings in which petitioner Mylan bears the burden of proof. Bosch Auto.

  Serv. Solutions, LLC v. Matal, 878 F.3d 1027, 1040-41 (Fed. Cir. 2017).




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                        CONCLUSION AND RELIEF SOUGHT
           For the foregoing reasons, this Court should vacate the Board’s claim

  construction and construe the preamble of claims 31-34 as limiting such that the

  claims require that the methods be performed with the intent of prolonging the life

  of a patient as compared to no treatment or palliative treatment. This Court should

  also reverse the Board’s denial of Aventis’s Motion because the prior art does not

  contain data sufficient to provide a POSA with a reasonable expectation that the

  claimed methods would increase overall survival in the claimed patients such that a

  POSA would have been motivated to practice the claimed methods with the intent

  of prolonging those patients’ lives.

           Even if the Board’s claim construction is upheld, this Court should either (1)

  reverse the Board’s denial of Aventis’s Motion because its findings as to the

  premedication limitations of the claims were not supported by substantial evidence

  or (2) remand to the Board for further proceedings applying the proper burden of

  proof.




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                                  Respectfully submitted,

  Date: March 15, 2018            /s/ William E. Solander     _
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   Trials@uspto.gov                                                 Paper 99
   Tel: 571-272-7822                              Entered: September 21, 2017



           UNITED STATES PATENT AND TRADEMARK OFFICE
                          _______________
            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                          _______________

                     MYLAN LABORATORIES LIMITED,
                              Petitioner,

                                        v.

                            AVENTIS PHARMA S.A.,
                                Patent Owner.
                               _____________

                               Case IPR2016-00712
                               Patent 8,927,592 B2
                                ______________



   Before BRIAN P. MURPHY, TINA E. HULSE, and
   CHRISTOPHER M. KAISER, Administrative Patent Judges.

   MURPHY, Administrative Patent Judge.


                         FINAL WRITTEN DECISION
                     35 U.S.C. § 318(a); 37 C.F.R. § 42.73(a)




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                              I.   INTRODUCTION
        Mylan Laboratories Limited (“Petitioner”) filed a Petition requesting
  an inter partes review of claims 1–5 and 7–30 of U.S. Patent No. 8,927,592
  (Ex. 1001, “the ’592 patent”). Paper 3 (“Petition” or “Pet.”). Petitioner
  supported its challenge with the Declaration of Dr. Rahul Seth. Ex. 1002.
  Aventis Pharma S.A. (“Patent Owner”) filed a Preliminary Response to the
  Petition. Paper 7 (“Prelim. Resp.”). On September 22, 2016, we instituted
  an inter partes review of claims 1–5 and 7–30 of the ’592 patent. Paper 9
  (“Institution Decision”).
        After institution, Patent Owner filed a Response (Paper 21, “PO
  Resp.”) and a Contingent Motion to Amend claims 27–30 of the ’592 patent
  (Paper 22, “MTA”). Patent Owner supported its Response and MTA with
  the Declaration of Dr. Alton Oliver Sartor (Ex. 2176), the Declaration of Mr.
  Michael Tate (Ex. 2149), and the Declaration of Mr. Art Lathers (Ex. 2231).
        Petitioner filed a Reply (Paper 42, “Reply”) and Opposition to Patent
  Owner’s MTA (Paper 43, “MTA Opp.”1). Petitioner supported its Reply
  and MTA Opposition with the Reply Declaration of Dr. Seth (Ex. 1043), and
  the Declaration of Mr. Robert McSorley (Ex. 1044).2




  1
    Petitioner filed the MTA Opposition under seal, subject to the Board’s
  ruling on Petitioner’s Motion to Seal (Paper 45). Petitioner filed a redacted
  public version of the MTA Opposition as Paper 44.
  2
    Petitioner filed Dr. Seth’s Reply Declaration and Mr. McSorley’s
  Declaration under seal, subject to the Board’s ruling on Petitioner’s Motion
  to Seal (Paper 45). Petitioner filed redacted public versions of the
  declarations using the same respective exhibit numbers.
                                         2

                                          Appx2
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          Patent Owner filed a Reply to Petitioner’s Opposition to Patent
    Owner’s MTA. Paper 53 (“MTA Reply”).3 Patent Owner supported its
    MTA Reply with the Reply Declaration of Dr. Sartor (Ex. 2259) and the
    Declaration of Patricia Matthews, RN, BSN (Ex. 2234).
          Patent Owner filed a Motion to Exclude Exhibits 1089–1090 (Paper
    61), Petitioner filed an Opposition (Paper 77 (under seal), Paper 78 (public
    version)), and Patent Owner filed a Reply (Paper 86).
          Petitioner filed a Motion to Exclude Exhibits 2170, 2171, and 2179
    and certain paragraphs in Exhibits 2001, 2176, and 2149 (Paper 64 (under
    seal), Paper 68 (public version)), Patent Owner filed an Opposition (Paper
    72 (under seal), Paper 73 (public version)), and Petitioner filed a Reply
    (Paper 89 (under seal), Paper 95 (public version)).
          Patent Owner filed Observations (Paper 80) on the cross-examination
    testimony of Dr. Seth (Ex. 2258) regarding Petitioner’s Reply (Paper 42),
    and Petitioner filed a response to Patent Owner’s Observations (Paper 93).
    Patent Owner also filed Observations (Paper 81 (under seal), Paper 82
    (public version)) on the cross-examination testimony of Mr. McSorley (Ex.
    2261) regarding Petitioner’s Reply (Paper 42), and Petitioner filed a
    response to Patent Owner’s Observations (Paper 92 (under seal), Paper 94
    (public version)).
          Petitioner filed Observations (Paper 84) on the cross-examination
    testimony of Dr. Sartor (Ex. 1098) with respect to Patent Owner’s MTA, and
    Patent Owner filed a Response (Paper 90).

    3
      Patent Owner filed the MTA Reply under seal, subject to the Board’s
    ruling on Patent Owner’s Motion to Seal (Paper 54). Patent Owner filed a
    redacted public version of the MTA Reply as Paper 52.
                                        3

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           An oral hearing was held on June 13, 2017, and a transcript of the oral
    hearing is of record. Paper 98 (“Tr.”).
           We have jurisdiction under 35 U.S.C. § 6. This is a Final Written
    Decision under 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73(a) regarding the
    patentability of the challenged claims. In this case, the claimed treatment
    method, administering a 20 to 25 mg/m2 dose of cabazitaxel in combination
    with prednisone to docetaxel-refractory metastatic prostate cancer patients,
    was disclosed more than one year before the earliest effective filing date to
    which the ’592 patent might be entitled.4 Therefore, for the reasons that
    follow and based on our review of the complete trial record, we determine
    Petitioner has shown by a preponderance of the evidence that claims 1–5 and
    7–30 of the ’592 patent are unpatentable. We further determine that Patent
    Owner’s Contingent Motion to Amend claims 27–30 is denied.
           A. Real Parties in Interest and Related Proceedings
           Petitioner identifies (i) Mylan Laboratories Limited, the Petitioner and
    a wholly-owned subsidiary of Mylan Inc., (ii) Mylan Pharmaceuticals Inc.,
    which is a wholly-owned subsidiary of Mylan Inc., (iii) Mylan Inc., which is
    an indirectly wholly owned subsidiary of Mylan N.V., and (iv) Mylan N.V.
    as real parties in interest. Pet. 11.
           Patent Owner identifies Patent Owner, Aventis Pharma S.A., Sanofi,
    the ultimate parent company of Aventis Pharma S.A., and Sanofi-Aventis
    U.S. LLC, an affiliate of Aventis Pharma S.A., as real parties in interest.
    Paper 6, 2.


    4
     We do not make a determination of the earliest effective filing date,
    because the references qualify as prior art regardless of that date.
                                          4

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           Petitioner and Patent Owner identify the following as related district
    court proceedings in the District of New Jersey regarding the ’592 patent:
    Sanofi-Aventis U.S. LLC v. Mylan Laboratories Limited, No. 15-03392;
    Sanofi-Aventis U.S. LLC v. Apotex Corp, C. A. No. 15-01835; Sanofi-
    Aventis U.S. LLC v. Breckenridge Pharmaceutical, Inc., C. A. No. 15-
    01836; Sanofi-Aventis U.S. LLC v. Accord Healthcare, Inc., C. A. No. 15-
    02520; Sanofi-Aventis U.S. LLC v. BPI Labs, LLC, C. A. No. 15-02521;
    Sanofi-Aventis U.S. LLC v. Dr. Reddy Laboratories, Inc., C. A. No. 15-
    02522; Sanofi-Aventis U.S. LLC v. Glenmark Generics Inc., C. A. No. 15-
    02523; Sanofi-Aventis U.S. LLC v. Fresenius Kabi USA, LLC, C. A. No. 15-
    02631; Sanofi-Aventis U.S. LLC v. Actavis LLC, C. A. No. 15-03107;
    Sanofi-Aventis U.S. LLC v. BPI Labs, LLC, C. A. No. 15-02521. Pet. 12;
    Paper 6, 2–3.
           Petitioner further identifies IPR2016-00627 as an earlier challenge to
    U.S. Patent No. 5,847,170 directed to the compound cabazitaxel. Pet. 12.
    We denied institution in IPR2016-00627 (Paper 10) and Petitioner’s request
    for rehearing (Paper 12).
           B. Grounds of Unpatentability
           We instituted an inter partes review of claims 1–5 and 7–30 of the
    ’592 patent on the following grounds of unpatentability under 35
    U.S.C. § 103:




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           Reference[s]                           Statutory    Challenged
                                                  Basis        Claims
     Winquist (Ex. 1009)5 and TROPIC Listing      § 103        1, 2, 5, 12, 13,
     (Ex. 1008)6 in view of Attard (Ex. 1021)7                 17–20, 22–25,
     and Beardsley (Ex. 1022)8                                 27–29
     Winquist, TROPIC Listing, and Didier (Ex. § 103           3, 4
     1011)9
     Winquist, TROPIC Listing, and Mita (Ex.   § 103           7–9
           10
     1012)
     Winquist, TROPIC Listing, and Tannock     § 103           10, 11, 14, 16
               11
     (Ex. 1013)




     5
        Eric Winquist et al., Open clinical uro-oncology trials in Canada, THE
     CANADIAN JOURNAL OF UROLOGY, 15(1), 3942–49 (February 2008)
     (“Winquist”). Ex. 1009.
     6
        Sanofi-Aventis, XRP6258 Plus Prednisone Compared to Mitoxantrone
     Plus Prednisone in Hormone Refractory Metastatic Prostate Cancer
     (TROPIC), CLINICALTRIALS.GOV (October 23, 2008) (“TROPIC Listing”).
     Ex. 1008.
     7
       Gerhardt Attard et al., Update on tubulin-binding agents, PATHOLOGIE
     BIOLOGIE 54, 72–84 (Elsevier 2006) (“Attard”). Ex. 1021.
     8
       Emma K. Beardsley and Kim N. Chi, Systemic therapy after first-line
     docetaxel in metastatic castration-resistant prostate cancer, Curr. Op.
     SUPPORT PALLIAT. CARE 2, 161–66 (Wolters Kluwer Health 2008)
     (“Beardsley”). Ex. 1022.
     9
        U.S. Patent No. 7,241,907 B2, issued July 10, 2007 to Didier et al.
     (“Didier”). Ex. 1011.
     10
        Alain C. Mita et al., Phase I and Pharmacokinetic Study of XRP6258
     (RPR116258A), a Novel Taxane, Administered as a 1-Hour Infusion Every 3
     Weeks in Patients with Advanced Solid Tumors, CLIN. CANCER RES.
     2009:15(2), 723–730 (January 15, 2009) (“Mita”). Ex. 1012.
     11
        Ian F. Tannock et al., Docetaxel plus Prednisone or Mitoxantrone plus
     Prednisone for Advanced Prostate Cancer, N. ENGL. J. MED., 351:15, 1502–
     1512 (October 7, 2004) (“Tannock”). Ex. 1013.
                                             6

                                         Appx6
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           Reference[s]                              Statutory    Challenged
                                                     Basis        Claims
     Winquist, TROPIC Listing, and Pivot (Ex.        § 103        21, 26, 30
     1010)12
     Winquist, TROPIC Listing, Pivot, and            § 103        15
     Tannock

    Paper 9, 22–23.

          C. The ’592 Patent
          The ’592 patent, titled “Antitumoral Use of Cabazitaxel,” issued
    January 6, 2015, from an application filed April 26, 2012. Ex. 1001. The
    ’592 patent claims priority through an international application to a series of
    provisional applications, the earliest of which is dated October 29, 2009.
    Ex. 1001, (60), (63). The ’592 patent is directed to the use of cabazitaxel in
    the treatment of prostate cancer, particularly metastatic castration resistant
    prostate cancer (“mCRPC”). Id. at 1:19–26. Because cancer cells may
    develop resistance to docetaxel (“Taxotere®”13), administering cabazitaxel
    is intended to treat prostate cancer in patients with advanced metastatic
    disease that has progressed despite previous treatment with a docetaxel-
    based regimen. Id. at 2:61–67. Cabazitaxel is preferably administered in
    combination with a corticoid, such as prednisone or prednisolone, at a daily
    dose of 10 mg orally. Id. at 3:2–5.



    12
       X. Pivot et al., A multicenter phase II study of XRP6258 administered as a
    1-h i.v. infusion every 3 weeks in taxane-resistant metastatic breast cancer
    patients, ANNALS OF ONCOLOGY, 19, 1547–1552 (April 23, 2008) (“Pivot”).
    Ex. 1010.
    13
       Taxotere® is the brand name for docetaxel. We also refer to “Taxotere”
    in this Decision.
                                            7

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          The chemical name for cabazitaxel is 4α-acetoxy-2α-benzoyloxy-5β,
    20-epoxy-lβ-hydroxy-7β, 10β-dimethoxy-9-oxo-ll-taxen-13α-yl(2R,3S)-3-
    tert-butoxycarbonylamino-2-hydroxy-3-phenylpropionate. Id. at 4:28–31.
    Cabazitaxel is a taxane compound, the chemical structure of which is shown
    below:




    Id. at 4:8–26. Example 1 of the ’592 patent describes a large-scale (phase
    III) comparative clinical trial of mCRPC patients whose disease had
    progressed during or after docetaxel treatment, the docetaxel-refractory
    patients being treated with either 25 mg/m2 of cabazitaxel or 12 mg/m2
    mitoxantrone, and 10 mg/day of prednisone. Id. at 10:30–48. Patients
    receiving cabazitaxel and prednisone demonstrated a median overall survival
    that was 2.4 months longer than those receiving mitoxantrone and
    prednisone. Id. at 11:28–37, 11:45–54. The claimed method is directed to
    administering cabazitaxel and a corticoid to prostate cancer patients whose
    disease has progressed in spite of previous docetaxel treatment. Id. at 5:33–
    67, 18:54–58, 20:25–30.




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          D. Challenged Claims
          Petitioner challenges claims 1–5 and 7–30 of the ’592 patent.
    Independent claims 1 and 27 are illustrative and are reproduced below:

                 1. A method for treating a patient with prostate cancer
                 that has progressed during or after treatment with
                 docetaxel, comprising administering to said patient a
                 dose of 20 to 25 mg/m2 of cabazitaxel, or a hydrate or
                 solvate thereof, in combination with a corticoid.


                 27. A method of increasing the survival of a patient with
                 a castration resistant or hormone refractory, metastatic
                 prostate cancer that has progressed during or after
                 treatment with docetaxel, comprising administering a
                 dose of 20 to 25 mg/m2 of cabazitaxel, or hydrate or
                 solvate thereof, to the patient in combination with
                 prednisone or prednisolone.

                II.    ANALYSIS OF THE ’592 PATENT CLAIMS
          A. Claim Construction
          We determine that only the following claim terms require express
    construction for purposes of this Decision. See, e.g., Wellman, Inc. v.
    Eastman Chem. Co., 642 F.3d 1355, 1361 (Fed. Cir. 2011) (“[C]laim terms
    need only be construed ‘to the extent necessary to resolve the controversy.’”
    (citation omitted)).

                 1. Claim 1: “A method for treating a patient”
          Petitioner argues that the preamble phrase in claim 1, “a method for
    treating,” is a non-limiting statement of the purpose of the claimed method,
    or, at most, should be construed as “a method intended to benefit a patient.”
    Pet. 17–19. In its Preliminary Response, Patent Owner opposed Petitioner’s

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    proposed construction, arguing that the preamble is limiting and should be
    construed to mean “a method that produces a therapeutic effect in a patient.”
    Prelim. Resp. 15–18. In our Institution Decision, we construed “a method
    for treating a patient” in claim 1 as a non-limiting statement of the purpose
    of the claimed method. Paper 9, 7–10. At most, the phrase would be
    construed as “a method intended to benefit a patient.” Id. (citing Bristol-
    Myers Squibb Co. v. Ben Venue Laboratories, Inc., 246 F.3d 1368, 1375–76
    (Fed. Cir. 2001) (The preamble language “a method of treating a patient,”
    “does not result in a manipulative difference in the steps of the claim,” and
    the recited method steps “are performed the same way regardless [of]
    whether or not the patient experiences a [therapeutic effect].”)).
          Patent Owner’s Response applies the Board’s construction from the
    Institution Decision and does not argue for a different construction. PO
    Resp. 14; Reply 1. Therefore, we maintain our construction of the preamble
    as non-limiting for the reasons given in our Institution Decision. Paper 9, 7–
    10.

                 2. Claim 27: “A method of increasing the survival of a
                    patient”
          Petitioner argues that the preamble phrase in claim 27, “[a] method of
    increasing the survival of [a patient],” is a non-limiting statement of the
    purpose of the claimed method or, at most, should be construed as “a method
    intended to increase the survival of a patient.” Pet. 19–20. In its
    Preliminary Response, Patent Owner opposed Petitioner’s proposed
    construction, arguing that the preamble is limiting and should be construed
    to mean “a method that prolongs the life of a patient as compared to no
    treatment or palliative treatment, where that method has been demonstrated
                                           10

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    to provide a statistically significant increase in overall survival.” Prelim.
    Resp. 19. In our Institution Decision, we construed the preamble in claim 27
    as a non-limiting statement of the purpose of the claimed method for the
    same reasons expressed above regarding “a method for treating a patient” in
    claim 1. Paper 9, 10. At most, the phrase would be construed as “a method
    intended to increase the survival of a patient.” Id.
          Patent Owner’s Response applies the Board’s construction from the
    Institution Decision and does not argue for a different construction. PO
    Resp. 14; Reply 1. Therefore, we maintain our construction of the preamble
    as non-limiting for the reasons given in our Institution Decision. Paper 9,
    10.
                 3. Prosecution History of Independent Claims 1 and 27
          A review of the amendments made to independent claims 1 and 27
    during prosecution of the ’592 patent application provides further context for
    considering the parties’ dispute, discussed in Section II.B., below, over
    whether a POSA would have had a reasonable expectation of success in
    achieving the treatment method claimed in the ’592 patent.
          On April 26, 2012, patent applicant filed proposed independent
    method of treatment claims 1 and 24 (later amended and issued as claim 27).
    Ex. 1004 (Part 13), 2397–2402. Claim 1 as originally filed recited:

                 1. A method for treating prostate cancer in a patient in
                 need thereof comprising administering to said patient a
                 compound of formula [cabazitaxel chemical structure]
                 which may be in base form or in the form of a hydrate or
                 a solvate, in combination with prednisone or prednisolone.
    Id. at 2397. Dependent claims 8 and 9, which depended directly or
    indirectly from claim 1, recited administering cabazitaxel at “a dose of
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    between 15 and 25 mg/m2” and “a dose of 25 mg/m2, respectively. Id. at
    2398. Claim 24 as originally filed recited:

                 24. A method of increasing the survival of a patient with
                 hormone refractory metastatic prostate cancer, comprising
                 administering a clinically proven effective amount of a
                 compound as defined in claim 1 to the patient in
                 combination with prednisone or prednisolone.
    Id. at 2399 (emphasis added). The ’592 patent uses lexicography to define
    “clinically proven” to mean “clinical efficacy results that are sufficient to
    meet FDA approval standards.” Ex. 1001, 4:1–3. The ’592 patent further
    defines “effective amount” to mean “an amount of a pharmaceutical
    compound, such as cabazitaxel, that produces an effect on the cancer to be
    treated.” Id. at 3:65–67.
          On March 17, 2014, following an earlier amendment, claim 1 was
    amended as follows:

                 1. (Currently amended) A method for treating prostate
                 cancer in a patient in need thereof comprising
                 administering to said patient an effective amount of a
                 compound of formula [cabazitaxel chemical structure]
                 which may be in base form or in the form of a hydrate or
                 a solvate, in combination with a corticoid . . . .
    Ex. 1004 (Part 2), 280. Patent applicant also added new claims 34, 37, 40,
    and 43 depending directly or indirectly from claim 1, which recited
    administering cabazitaxel at “a dose of 25 mg/m2.” Id. at 282–83. Claim 24
    remained in its original, un-amended form. Id. at 282. Patent applicant
    argued that the claims were patentable over Mita and Tannock, inter alia,
    because the phase III clinical trial results presented in the application (see
    Ex. 1001, Example 1, 10:28–17:33) showed “a statistically significant longer

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                                           Appx12
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    overall survival compared to patients receiving . . . mitoxantrone plus
    prednisone.” Ex. 1004, 285. Patent applicant further argued that Mita’s
    disclosure of a phase I safety and dosing study for cabazitaxel, which
    showed evidence of anticancer activity at a dose of 25 mg/m2 in one
    docetaxel-refractory mCRPC patient, was insufficient to establish a
    reasonable expectation of “successfully treat[ing]” such patients. Id. at 285–
    86.
          The Examiner continued to reject the claims over Beardsley
    (anticipation under § 102(b)) and Mita, Tannock, and Beardsley
    (obviousness § 103). Id. at 252–268.
          On July 10, 2014, applicant’s representatives conducted a personal
    interview with the Examiner. Id. at 230. Applicant’s representatives
    presented a draft Rule 132 Declaration by Dr. Sartor, who also attended the
    interview, to demonstrate “the unpredictability and failure of other taxanes
    in Phase III clinical trials despite demonstrating efficacy in Phase I and
    Phase II clinical trials.” Id. The Examiner agreed that submission of the
    Rule 132 Declaration and amendments to independent claims 1 and 24 to
    recite “1) treatment of prostate cancer in patients who had progressed during
    or after docetaxel treatment and 2) administering a dose of 20 to 25 mg/m2
    cabazitaxel . . . in combination with a corticoid” would render the claims
    allowable. Id.
          On July 16, 2014, patent applicant filed another amendment to
    application claim 1 (issued claim 1) and claim 24 (issued claim 27) as
    follows:

                 1. (Currently Amended) A method for treating prostate
                 cancer in a patient with prostate cancer that has progressed
                                           13

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                 during or after treatment with docetaxel, in need thereof
                 comprising administering to said patient a dose of 20 to 25
                 mg/m2 of cabazitaxel, or a hydrate or solvate thereof, an
                 effective amount of a compound of formula [cabazitaxel
                 chemical structure] which may be in base form or in the
                 form of a hydrate or a solvate, in combination with a
                 corticoid.


                 24. (Currently Amended) A method of increasing the
                 survival of a patient with a castration resistant or hormone
                 refractory, metastatic prostate cancer that has progressed
                 during or after treatment with docetaxel, comprising
                 administering a clinically proven effective amount dose of
                 20 to 25 mg/m2 of cabazitaxel, or hydrate or solvate
                 thereof, a compound as defined in claim 1 to the patient in
                 combination with prednisone or prednisolone.
    Ex. 1004 (Part 1), 138, 140.
          In claim 1, patent applicant deleted “in need thereof” in the preamble
    (id. at 138), a phrase Patent Owner adds to the body of proposed substitute
    claim 31 in the MTA (MTA, 27). Patent applicant also deleted “an effective
    amount” from the body of claim 1 and replaced it with “a dose of 20 to 25
    mg/m2” of cabazitaxel. Ex. 1004 (Part 1), 138. Similarly, in claim 24,
    patent applicant deleted “clinically proven effective amount” and replaced it
    with a “dose of 20 to 25 mg/m2” of cabazitaxel. Id. at 140. The deletions
    removed the lexicographically-defined limitations of producing “an effect on
    the cancer to be treated” (“effective amount” in clam 1) and achieving
    “clinical efficacy results that are sufficient to meet FDA approval standards”
    (“clinically proven effective amount” in claim 24), respectively, and
    replaced them with a 20 to 25 mg/m2 dosage range. Ex. 1001, 3:65–4:3,
    10:47–48, 11:1–13:66, 17:31–18:29, Figs. 1–7.

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          In remarks, patent applicant argued that the absence of the 20 to 25
    mg/m2 dosage range in the prior art was important evidence rebutting the
    Examiner’s rejections. Ex. 1004 (Part 1), 145 (“Importantly, the doses of
    cabazitaxel and prednisone are not disclosed in Beardsley. . . . Beardsley
    does not describe any dose of cabazitaxel, let alone an effective amount of
    cabazitaxel.”); id. at 148 (“the doses of cabazitaxel and prednisone are not
    disclosed [in Beardsley]”). Patent applicant further argued that the cited art
    was insufficient to justify a reasonable expectation that the claimed method
    “would successfully treat prostate cancer.” Id. at 147. A Notice of
    Allowance ensued. Id. at 91–94. The Examiner was persuaded by patent
    applicant’s arguments and evidence, particularly Dr. Sartor’s Rule 132
    Declaration statements that the prior art, while disclosing “promising early
    clinical results, . . . failed to predict whether therapies would ultimately
    provide a clinically meaningful benefit to the desired patient populations and
    that mCRPC was known to be a particularly challenging and unpredictable
    indication.” Id. at 93.
          As indicated by patent applicant’s final claim language, achieving a
    clinically effective treatment is not a limitation of the ’592 method claims.
    See Bristol-Myers Squibb Co., 246 F.3d at 1375 (“The express dosage
    amounts are material claim limitations; the statement of the intended result
    of administering those amounts [an antineoplastically effective amount] does
    not change those amounts or otherwise limit the claim.”); see also id. at
    1376 (“We therefore affirm the district court’s interpretation of claims 5 and
    8 as limited only to the actual steps of those claims, without regard to the
    result of performing the claimed steps” [to effect regression of a taxol-


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    sensitive tumor]). In sum, the independent method claims of the ’592 patent
    are limited to the step(s) of:
               administering a 20–25 mg/m2 dose of cabazitaxel (or its hydrate
                 or solvate);
               in combination with a corticoid (claim 1), such as prednisone or
                 prednisolone (claim 27);
               to a docetaxel-refractory prostate cancer patient (claim 1); or
               to a docetaxel-refractory mCRPC patient (claim 27).
          The recited method steps, although they must have utility, are
    performed without regard to whether the claimed method results in a
    clinically effective treatment.

          B. Ground 1: Asserted Obviousness of Claims 1, 2, 5, 12, 13, 17–20,
             22–25, and 27–29 over Winquist and the TROPIC Listing in View
             of Attard and Beardsley

          Petitioner asserts that the subject matter of claims 1, 2, 5, 12, 13, 17–
    20, 22–25, and 27–29 of the ’592 patent would have been obvious to a
    person of ordinary skill in the art (hereafter “POSA”) based on the combined
    teachings of Winquist and the TROPIC Listing in view of the knowledge of
    a POSA.14 Pet. 25–38. Winquist and the TROPIC Listing together disclose

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      The parties provide largely similar descriptions of a POSA. Compare Pet.
    9–10 with PO Resp. 14. Patent Owner acknowledges that any differences
    should not affect the outcome of this case. PO Resp. 14; Reply 1. We
    agree. For purposes of this decision, we adopt and apply Patent Owner’s
    description of a POSA as an oncologist or medical doctor specializing in
    oncology who would have had experience in the treatment of prostate
    cancer, including metastatic prostate cancer, in evaluating therapies for
    prostate cancer, and who would have had access to information regarding
    pharmacokinetics and mechanisms of drug resistance. PO Resp. 14 (citing
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    the same treatment protocol described in Example 1 of the ’592 patent (“the
    TROPIC Study”), more than one year before the earliest effective priority
    date to which the ’592 patent may be entitled (October 29, 2009). Pet. 1–2,
    6–7 (citing Ex. 1008; Ex. 1009), 25–27 (citing Ex. 1002 ¶¶ 115–121); Ex.
    1001, (60), 10:30–48. In our Institution Decision, we amended the ground
    to add “in view of Attard and Beardsley,” two prior art references cited and
    discussed by Petitioner that reflect the knowledge of a POSA. Paper 9, 16
    (citing SightSound Techs., LLC v. Apple Inc., 809 F.3d 1307, 1312–13 (Fed.
    Cir. 2015) (noting that governing statutory provisions do not limit the
    Board’s authority to proceed with AIA trial proceedings only on the specific
    statutory grounds alleged in the petition)).
          Patent Owner does not dispute that Winquist and the TROPIC Listing
    are prior art under 35 U.S.C. § 102(b) (pre-AIA). PO Resp. 37–41. Patent
    Owner’s Response to the Petition asserts that a POSA would not have had a
    reasonable expectation of successfully treating docetaxel-refractory prostate
    cancer patients with cabazitaxel. PO Resp. 16–43. Patent Owner further
    asserts that evidence of secondary considerations supports the non-
    obviousness of the challenged ’592 patent claims. Id. at 50–56. We address
    the parties’ arguments below.
              1. Winquist
          Winquist is a February 2008 disclosure of open, uro-oncology clinical
    trials in Canada that qualifies as prior art under 35 U.S.C. § 102(b) (pre-
    AIA). Ex. 1009, 3942. The format of each entry is the same; a descriptive


    Ex. 2176 ¶ 28). We also rely on the cited references as reflecting the level
    of ordinary skill in the art at the time of the claimed invention. Okajima v.
    Bourdeau, 261 F.3d 1350, 1355 (Fed. Cir. 2001).
                                             17

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    title of the clinical trial followed by an identification of the trial and the
    entity coordinating it, the trial design, patient population, sample size, and
    primary endpoint. Id. Winquist discloses a randomized phase III clinical
    trial coordinated by Sanofi-Aventis involving treatment of mCRPC patients
    previously treated with docetaxel (the TROPIC Study). Id. at 3948.
           Significantly, and unlike the prior art considered by the Examiner
    during prosecution, Winquist discloses the administration of a 25 mg/m2
    dose of cabazitaxel to mCRPC patients: “A randomized, open-label
    multicentre study of XRP-6258 [cabazitaxel] at 25 mg/m2 in combination
    with prednisone every 3 weeks compared to mitoxantrone in combination
    with prednisone for the treatment of hormone-refractory metastatic prostate
    cancer previously treated with a Taxotere [docetaxel]-containing regimen.”
    Id. The primary endpoint is overall survival. Id.
           With regard to independent claims 1 and 27 of the ’592 patent,
    Winquist does not disclose expressly that the prostate cancer “has
    progressed during or after treatment with docetaxel” (id.; Pet. 25–26), but
    Petitioner contends that progression after treatment with docetaxel was
    implicit and would have been understood by a POSA. Pet. 25–26 (citing Ex.
    1002 ¶¶ 65, 94 (95), 117).
              2. The TROPIC Listing
           The TROPIC Listing was published in the ClinicalTrials.gov database
    of the National Library of Medicine, and it was archived by The Internet
    Archive on October 23, 2008. Ex. 1026, Ex. A. The TROPIC Listing also
    qualifies as prior art under 35 U.S.C. § 102(b). The TROPIC Listing
    discloses the same phase III clinical trial reported in Winquist (the Sanofi-
    Aventis TROPIC Study), a “randomized, open-label, multi-center study
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    comparing the safety and efficacy of XRP6258 [cabazitaxel] plus prednisone
    to mitoxantrone plus prednisone in the treatment of hormone refractory
    metastatic prostate cancer previously treated with a Taxotere [docetaxel]-
    containing regimen.” Ex. 1008, 1; Ex. 1002 ¶¶ 118–120. The TROPIC
    Listing, like Winquist, discloses that cabazitaxel is to be administered every
    three weeks and that expected patient enrollment is 720 patients. Ex. 1008,
    1–2; Ex. 1009, 3948. The TROPIC Listing expressly states that patients
    must have a “[d]ocumented progression of disease (demonstrating at least
    one visceral or soft tissue metastatic lesion, including a new lesion) . . . [or]
    rising PSA levels or appearance of [a] new lesion,” after previous treatment
    with docetaxel. Ex. 1008, 2. The primary outcome, as also reported in
    Winquist, is overall survival. Id. at 1; Ex. 1009. The TROPIC Listing notes
    the start date of the clinical trial was December 2006. Ex. 1008, 2.
          With regard to independent claims 1 and 27 in the ’592 patent, the
    TROPIC Listing, unlike Winquist, does not disclose an administration dose
    of cabazitaxel. Id.; Pet. 7.

              3. Attard and Beardsley

          Attard is a review article reporting, inter alia, on a phase I dosing
    study for cabazitaxel, which was originally reported in Mita (Ex. 1012). Ex.
    1021, 75 (Col. 1 ¶ 2 n.23). Mita discloses administration of a 15 mg/m2 dose
    to one prostate cancer patient and a 25 mg/m2 dose to a docetaxel-refractory
    metastatic prostate cancer patient. Ex. 1012, 727 (Col. 1 ¶ 2). Attard reports
    that Mita’s phase I cabazitaxel study showed two objective responses in
    CRPC patients, and noted that one of the patients was docetaxel refractory
    (25 mg/m2 dose). Ex. 1021, 75 (Col. 1 ¶ 2 n.23). Attard also describes

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    cabazitaxel (XRP6258) as showing improvement over paclitaxel and
    docetaxel with “higher therapeutic indices” and “activity against resistant
    tumours.” Id. at 74.
          Beardsley reports on a phase II clinical trial of cabazitaxel
    administered to docetaxel-resistant metastatic breast cancer patients, which
    was originally reported in Pivot (Ex. 1010). Ex. 1022, 163 (Col. 2 ¶¶ 4–5).
    Pivot administered an initial cabazitaxel dose of 20 mg/m2, then escalated
    the dose to 25 mg/m2 in patients who did not experience a significant
    adverse event during the first treatment cycle. Ex. 1010, 1548 (Col. 2 ¶ 3).
    Beardsley reports that the objective response rate to cabazitaxel treatment in
    docetaxel-refractory metastatic breast cancer patients was 14% in the Pivot
    study. Ex. 1022, 163 (Col. 2 ¶ 4). Beardsley further reports that while a
    phase II clinical trial with cabazitaxel had not been performed in CRPC
    patients, “given its activity in the docetaxel refractory setting described
    above, this agent is currently being investigated in a phase III multi-center,
    randomized superiority trial comparing 3-weekly XRP6258 with prednisone
    to mitoxantrone with prednisone in patients with castrat[ion] resistant
    metastatic prostate cancer previously treated with docetaxel-containing
    treatment.” Id. (Col. 2 ¶ 5).
              4. Analysis of Independent Claims 1 and 27
          A claimed invention is unpatentable if the differences between the
    claimed subject matter and the prior art are such that the subject matter as a
    whole would have been obvious at the time the invention was made to a
    person having ordinary skill in the art to which the subject matter pertains.
    35 U.S.C. § 103(a). Obviousness under 35 U.S.C. § 103 requires an
    assessment of (1) the “level of ordinary skill in the pertinent art,” (2) the
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    “scope and content of the prior art,” (3) the “differences between the prior
    art and the claims at issue,” and (4) “secondary considerations” of
    nonobviousness such as “commercial success, long-felt but unsolved needs,
    failure of others, etc.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
    (2007) (quoting Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966)). A
    party who petitions the Board for a determination of obviousness must show
    that “a skilled artisan would have been motivated to combine the teachings
    of the prior art references to achieve the claimed invention, and that the
    skilled artisan would have had a reasonable expectation of success in doing
    so.” Procter & Gamble Co. v. Teva Pharms. USA, Inc., 566 F.3d 989, 994
    (Fed. Cir. 2009) (quoting Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1361
    (Fed. Cir. 2007)). We assess Petitioner’s evidence and argument, weighed
    against Patent Owner’s evidence and argument, according to the standard
    articulated above.

                 a. Winquist and the TROPIC Listing disclose all method step
                    limitations
          As stated previously, the independent method claims of the ’592
    patent are limited to the step(s) of:
               administering a 20–25 mg/m2 dose of cabazitaxel (or its hydrate
                 or solvate);
               in combination with a corticoid (claim 1), such as prednisone or
                 prednisolone (claim 27);
               to a docetaxel-refractory prostate cancer patient (claim 1) or a
                 docetaxel-refractory mCRPC patient (claim 27).
          Winquist discloses the same treatment protocol as the Sanofi-Aventis
    TROPIC Study, also described in Example 1 of the ’592 patent, namely
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    administering a 25 mg/m2 dose of cabazitaxel in combination with
    prednisone every three weeks to mCRPC patients previously treated with
    docetaxel. Ex. 1009; Ex. 1001, 10:30–48. The TROPIC Listing describes
    the same TROPIC Study protocol and discloses the only limitation of claims
    1 and 27 arguably not expressly disclosed in Winquist, that a patient’s
    prostate cancer “has progressed during or after treatment with docetaxel.”
    Ex. 1008, 2 (“Documented progression of disease” after previous treatment
    with a docetaxel-containing regimen); Pet. 26–27 (citing Ex. 1002 ¶¶ 118–
    121). We also credit Dr. Seth’s testimony that a POSA, an oncologist
    experienced in treating mCRPC, would have understood Winquist as
    disclosing treatment of mCRPC patients who experienced disease
    progression during or after docetaxel treatment, because if the previous
    docetaxel treatment had stopped the cancer from progressing, second-line
    treatment with cabazitaxel would be unnecessary. Ex. 1002 ¶ 117.
          Dr. Sartor testified that Winquist and TROPIC Listing expressly teach
    administration of the recited 25 mg/m2 dose of cabazitaxel in docetaxel-
    resistant mCRPC patients as a new cycle every three weeks, in combination
    with prednisone. Ex. 1041, 62:8–18, 73:10–15, 96:17–22, 150:6–152:6. Dr.
    Sartor also testified that Winquist and the TROPIC Listing disclosed a
    treatment regimen for mCRPC patients that had progressed during or after
    treatment with docetaxel. Ex. 1041, 59:7–20, 65:2–18, 67:23–68:6, 83:10–
    15, 87:13–88:4, 93:9–17. Patent Owner does not contend otherwise. PO
    Resp. 37–41. Petitioner also provides a claim chart identifying where each
    recited limitation is disclosed in Winquist and the TROPIC Listing. Pet. 35–
    38.


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          Therefore, we find Petitioner has established by a preponderance of
    the evidence that Winquist and the TROPIC Listing disclose all of the
    method steps recited in independent claims 1 and 27 of the ’592 patent.
                 b. Motivation to combine
          A preponderance of the evidence establishes that a POSA would have
    had good reason to combine the teachings of Winquist and the TROPIC
    Listing and would have read the two references together. Pet. 26–27 (citing
    Ex. 1002 ¶¶ 118–120). Winquist and the TROPIC Listing disclose the same
    treatment method being used in the same clinical trial for treating the same
    patient population – the Sanofi-Aventis TROPIC Study. Id. Petitioner relies
    on Attard and Dr. Seth’s Declaration testimony for the proposition that “it
    was known in the art that anticancer activity against docetaxel-resistant,
    castration-resistant prostate cancer was observed in patients treated with
    cabazitaxel,” further reinforcing a POSA’s understanding that Winquist and
    the TROPIC Listing should be read together as administering 25 mg/m2
    cabazitaxel (and prednisone) to treat the same docetaxel-refractory mCRPC
    patient population. Pet. 27 (citing Ex. 1002 ¶¶ 66–69; Ex. 1021, 74–75
    (Table 3)). Beardsley also makes reference to Pivot’s phase II clinical study
    of cabazitaxel among docetaxel-refractory metastatic breast cancer patients
    as providing motivation for the TROPIC Study, further reinforcing the point.
    Id. at 28 (citing Ex. 1002 ¶¶ 70–72; Ex. 1022, 163). As Dr. Seth testifies:
                 By 2008, cabazitaxel had been validated by both Phase I
                 and Phase II clinical studies as a drug to treat metastatic
                 cancers, including docetaxel-resistant cancers. It was
                 known that a Phase III trial was underway administering
                 cabazitaxel with prednisone for treating castration-
                 resistant metastatic prostate cancer that had previously
                 been treated with docetaxel.
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    Ex. 1002 ¶ 70. Petitioner’s cited evidence is highly persuasive that a POSA
    in 2008 would have known that Winquist and the TROPIC Listing disclosed
    the same ongoing phase III clinical trial – the TROPIC Study – and would
    have read the two references together.
          Dr. Sartor, Patent Owner’s expert, confirmed that Winquist and the
    TROPIC Listing describe the same treatment regimen actually being used in
    the TROPIC Study and that a POSA would have read the two references
    together. Ex. 1041, 57:2–8, 94:14–95:4, 97:5–100:4. Patent Owner
    implicitly acknowledges the sufficiency of Petitioner’s evidence establishing
    a motivation to combine the teachings of Winquist and the TROPIC Listing.
    Compare PO Resp. 16–46, with PO Resp. 47–49. Therefore, we are
    satisfied that Petitioner has established by a preponderance of the evidence
    that a POSA in 2008 would have combined the teachings of Winquist and
    the TROPIC Listing and read the two references together.

                 c. Reasonable expectation of success in achieving the claimed
                    method of treatment
          The fundamental dispute between Petitioner and Patent Owner
    concerns the relevant standard for evaluating whether a POSA would have
    had a reasonable expectation of “success” in achieving the claimed method.
    It devolves into a claim construction dispute. Unlike the prior art before the
    Examiner during prosecution of the ’592 patent claims, Winquist expressly
    discloses the same 25 mg/m2 dose of cabazitaxel for treating docetaxel-
    refractory mCRPC patients described in Example 1 of the ’592 patent. This
    is not surprising given that Winquist discloses the same TROPIC Study
    treatment protocol. Faced with this evidence, Patent Owner attempts to raise
    the bar for the standard of “success” required to prove obviousness of the
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    claimed method. We are not persuaded by Patent Owner’s argument and
    evidence.

                     i)    Relevant standard for “success”
          Petitioner contends a POSA reasonably would have concluded from
    Winquist and the TROPIC Listing, in view of the knowledge of a POSA,
    that a 25 mg/m2 dose of cabazitaxel administered with prednisone every
    three weeks would have anti-cancer activity in docetaxel-refractory mCRPC
    patients. Pet. 27–29 (citing Ex. 1002 ¶¶ 66–72, 120–122). Thus, evidence
    of anti-cancer activity in the target patient population – not clinical efficacy
    – equates to “success” in Petitioner’s analysis. Petitioner also argues that
    absolute predictability is not required. Id. at 29 (citing Pfizer, 480 F.3d at
    1364; In re O’Farrell, 853 F.2d 894, 903 (Fed. Cir. 1988)). Petitioner
    further emphasizes that the “method for treating” preamble in claim 1 and
    the “method of increasing the survival” preamble in claim 27 are not claim
    limitations. Id. at 17–20, 29, 33. We agree the preambles are not limiting,
    as stated in our claim construction analysis in Section II.A., above.
          Patent Owner contends that while “predictability is a touchstone of
    obviousness,” predictability “refers not only to the expectation that the prior
    art elements are capable of being physically combined, but also that the
    combination would have worked for its intended purpose.” PO Resp. 15
    (citing DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314,
    1326 (Fed. Cir. 2009); also citing In re Cyclobenzaprine, 676 F.3d 1063,
    1071–72 (Fed. Cir. 2012) (disclosure of PK values insufficient without a
    showing that a POSA would reasonably expect those values to yield a
    therapeutically effective formulation)). Based on this premise, Patent Owner


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    argues that Petitioner does not address “the surprise in the field” or the risks
    of cabazitaxel therapy, and that Petitioner’s evidence is insufficient to have
    allowed a POSA to reasonably expect that cabazitaxel’s clinical benefit in
    docetaxel-refractory mCRPC patients would outweigh the risks of such
    treatment. PO Resp. 17–19. Patent Owner defines “success” in the context
    of the ’592 patent claims as “a treatment for prostate cancer that provides a
    clinical benefit in patients previously treated with docetaxel, where the side
    effects of that treatment are not such that administering it would be
    inappropriate for those patients notwithstanding the benefit.” Id. at 20.
           Petitioner replies that the ’592 patent claims do not recite a treatment
    method that has achieved (i) FDA approval (a “clinically proven” treatment
    as defined in the ’592 patent specification (Ex. 1001, 4:1–3)), (ii) a
    successful phase III trial, or iii) an actual increase in survival of a patient.
    Reply 1. Petitioner further argues that, because the ’592 patent claims “do
    not recite a required result regarding efficacy or safety, Petitioner need not
    establish a reasonable likelihood of a successful phase III trial or FDA
    approval to demonstrate obviousness.” Id. at 3. We agree.
           Patent Owner’s argument is misplaced because it implicitly defines
    “success” as a clinically effective treatment where clinical benefit outweighs
    potential risks to the patient in the context of a phase III clinical trial
    designed for FDA approval. As we explained in our claim construction
    analysis, the ’592 patent claims are not limited to a clinically effective
    treatment. A close examination of the legal foundation of Patent Owner’s
    argument reveals significant fault lines.
           DePuy Spine involved the question of whether a hypothetical medical
    device claim to a pedicle screw for stabilizing spinal column segments
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    would have been obvious over a combination of prior art references. DePuy
    Spine, 567 F.3d at 1324–25. The issue was raised in the context of
    defendant’s ensnarement defense to patent owner’s allegation of
    infringement under the doctrine of equivalents. Id. The Federal Circuit’s
    consideration of whether prior art mechanical elements would have been
    combinable to achieve the hypothetically claimed pedicle screw, and
    whether such a prior art device would have worked for its intended purpose
    of stabilizing spinal column segments, has little bearing on the method of
    treatment claims at issue in the present case. DePuy Spine, moreover,
    involved a prior art teaching away that would have rendered the proposed
    combination inoperative. See Reply 2 (citing DePuy Spine, 567 F.3d at
    1326–27). Here, there is a clear motivation to combine Winquist and the
    TROPIC Listing because the references describe the same clinical study,
    administering 25 mg/m2 of cabazitaxel in combination with prednisone
    every 3 weeks to the same patient population, which was also referenced in
    Beardsley. Unlike the DePuy Spine case, there is no evidence of a teaching
    away from the asserted combination of Winquist and the TROPIC Listing.
           In re Cyclobenzaprine also is distinguishable because the patent in
    that case specifically recited a method that “provides [a] therapeutically
    effective plasma concentration over a period of 24 hours to treat muscle
    spasm associated with painful musculoskeletal conditions.” 676 F.3d at
    1066. The Federal Circuit reversed the district court’s determination of
    obviousness because the prior art did not teach sufficiently “whether any
    particular PK profile . . . would produce a therapeutically effective
    formulation.” Id. at 1070; see also Amgen Inc. v. Hoechst Marion Roussel,
    Inc., 457 F.3d 1293, 1303 (Fed. Cir. 2006) (“A therapeutically effective
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    amount is one that elicits any one or all of the effects often associated with
    in vivo biological activity of natural EPO, such as those listed in the
    specification.”). Here, in contrast to In re Cyclobenzaprine and Amgen, the
    ’592 patent does not recite a comparable “therapeutically effective”
    limitation, and Winquist does disclose administration of the recited 25
    mg/m2 dose of cabazitaxel in combination with prednisone to mCRPC
    patients previously treated with docetaxel.
          The appropriate test for obviousness requires “a motivation to
    combine accompanied by a reasonable expectation of achieving what is
    claimed in the patent-at-issue.” Intelligent Bio-Systems Inc. v. Illumina
    Cambridge Ltd., 821 F.3d 1359, 1367 (Fed. Cir. 2016). In Intelligent Bio-
    Systems, the Federal Circuit underscored the importance of considering “the
    appropriate scope of the patent’s claimed invention in evaluating the
    reasonable expectation of success.” 821 F.3d at 1367. Consistent with the
    claim amendments made by the ’592 patent applicant during prosecution, the
    claims at issue here do not recite an FDA-approved clinically effective
    treatment. Reply 6–7. As stated above, the claims were amended to replace
    limitations reciting an “effective amount” (claim 1) and a “clinically proven
    effective amount” (claim 27) with a recited dosage range of 20 to 25 mg/m2
    of cabazitaxel. Ex. 1004 (Part 1), 138, 140. There is no recitation in the
    ’592 patent claims of administering a therapeutically effective amount of
    cabazitaxel in combination with prednisone or a comparable recitation
    requiring a particular therapeutic effect, clinical benefit, or result. Reply 6–7
    (distinguishing Coal. For Affordable Drugs V LLC v. Biogen MA Inc., Case
    IPR2015-01136, slip op. at 9-10 (PTAB Sept. 2, 2015) ( Paper 23)).
    Petitioner, therefore, need not establish a POSA reasonably would have
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    expected successful phase III clinical trial results, FDA approval of
    cabazitaxel and prednisone combination therapy, or an actual increase in
    patient survival, to demonstrate obviousness of claims 1 and 27. Id. at 3
    (citing In re Montgomery, 677 F.3d, 1375, 1380 (Fed. Cir. 2012) (claims to a
    method for treating or preventing a stroke do not create “an efficacy
    requirement”); Intelligent Bio-Systems, 1367–68 (quantitative removal
    irrelevant to reasonable expectation because not a claim requirement)); see
    also id. at 7 (citing Allergan, Inc. v. Sandoz Inc., 726 F.3d 1286, 1292 (Fed.
    Cir. 2013) (“There is no requirement that one of ordinary skill have a
    reasonable expectation of success in developing Combigan®. Rather, the
    person of ordinary skill need only have a reasonable expectation of success
    of developing the claimed invention.”); Astrazeneca LP v. Apotex, Inc., 633
    F.3d 1042, 1064–65 (Fed. Cir. 2010) (lacking FDA approval does not
    demonstrate lack of drug utility)).
          Patent Owner further contends that Winquist and the TROPIC Listing
    cannot render unpatentable the claims of the ’592 patent because “disclosure
    of a protocol for testing a hypothesis without any evidence of efficacy or
    safety is insufficient to show that the method itself is useful for the claimed
    patients.” PO Resp. 37 (citing Biogen, Case IPR2015-01136, slip op. at 9–
    10 (PTAB Sept. 2, 2015) (Paper 23)). To the contrary, not only did the
    Biogen decision acknowledge that it would be inappropriate to engraft an
    efficacy or FDA approval requirement onto the obviousness analysis, Biogen
    is distinguishable because the prior art failed to disclose the “therapeutically




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    effective amount” limitation recited in the method of treatment claims at
    issue. Biogen, IPR2015-01136, 6–7.15
          For the reasons given above, we determine that a reasonable
    expectation of success in the context of the ’592 patent claims may be
    satisfied by evidence that a POSA reasonably would have expected a 25
    mg/m2 dose of cabazitaxel in combination with prednisone, as disclosed in
    Winquist and the TROPIC Listing, to have anti-cancer activity in docetaxel-
    refractory mCRPC patients.

                    ii)    A preponderance of the evidence supports finding a
                           reasonable expectation of success
          Petitioner has established by a preponderance of the evidence that a
    POSA would have had a reasonable expectation of successfully achieving
    the claimed treatment method based upon the teachings of Winquist and the
    TROPIC Listing, in view of Attard, Beardsley, and the knowledge of a
    POSA. Winquist teaches administration of a 25 mg/m2 dose of cabazitaxel
    in combination with prednisone, the same 25 mg/m2 dose taught by Mita as
    exhibiting “anti-cancer activity” when administering cabazitaxel to a
    docetaxel-refractory metastatic prostate cancer patient. Ex. 1012, 727 (Col.
    1 ¶ 2). Mita notes a significant decrease in prostate-specific antigen and a
    “confirmed partial response” in the docetaxel-refractory patient, two of the
    same measures reported in the analysis of the TROPIC Study in the ’592
    patent. Ex. 1001, 11:8–9, 11:26–64. Dr. Seth explains that the RECIST
    guidelines define a partial response as a reduction of the largest diameter of



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      We further note the Biogen decision is not precedential and, therefore, not
    binding on this panel.
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    the cancerous lesion by at least 30%. Ex. 1002 ¶¶ 27, 69; Ex. 1043 ¶ 15; Ex.
    1051, 983–84. Attard reports favorably on the Mita study and teaches a
    POSA that cabazitaxel shows improvement over paclitaxel and docetaxel as
    evidenced by higher therapeutic indices and “activity against [taxane]
    resistant tumors.” Ex. 1021, 74–75.
          Petitioner further emphasizes that in 2008 a POSA would have known
    (i) anti-cancer activity had been observed in a docetaxel-refractory mCRPC
    patient treated with cabazitaxel (Attard, Ex. 1021, 75/Mita, Ex. 1012, 727),
    (ii) the safety profile of cabazitaxel was “very favorable” compared to
    paclitaxel and docetaxel (Pivot, Ex. 1010, 1551), (iii) cabazitaxel was known
    to target the same tubulin binding site as docetaxel, shown to be effective in
    breast and prostate cancers (Attard, Ex. 1021, 74–75), (iv) cabazitaxel’s 14%
    objective response rate in docetaxel-refractory metastatic breast cancer
    patients was a motivation for carrying out the phase III clinical trial in
    mCRPC patients previously treated with docetaxel (Beardsley, Ex. 1022,
    163/Pivot, Ex. 1010, 1550), and (v) assessing overall survival was the
    “primary endpoint” of the TROPIC Study reported in Winquist and the
    TROPIC Listing (Winquist, Ex. 1009, 3948/TROPIC Listing, Ex. 1008, 1).
    Pet. 27–28, 33–34 (citing Ex. 1002 ¶¶ 66–72, 110, 132, 222; Ex. 1008, 1;
    Ex. 1009, 3948; Ex. 1010, 1548, 1551; Ex. 1021, 72, 74–75, Table 3; Ex.
    1022, 163). Winquist also taught a POSA that, as of October 23, 2008, the
    phase III TROPIC Study had been ongoing since December 2006, a
    favorable indicator according to Dr. Seth. Ex. 1002 ¶ 122. Dr. Seth
    concludes that, based on the available knowledge regarding administration
    of cabazitaxel in docetaxel-resistant prostate and breast cancer patients,
    described above, a POSA – a clinical oncologist with experience treating
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    mCRPC patients and knowledge of drug resistance mechanisms – would
    have reasonably concluded that the treatment method disclosed in Winquist
    and the TROPIC Listing “would yield intrinsic anti-cancer activity, and
    would produce therapeutic or other medical benefits similar to those for
    which docetaxel had been previously administered—for example, an
    increase in overall survival.” Id. ¶¶ 120–121; see also Reply 28 (citing Ex.
    1008, 1–2; Ex. 1009, 3948).
           Patent Owner contests Petitioner’s reasonable expectation of success
    arguments and evidence. PO Resp. 16–46. However, Patent Owner’s
    argument and evidence regarding the alleged surprise in the field, risks of
    administering cabazitaxel, and unpredictability of the clinical trial results
    from the TROPIC Study, including whether those clinical results would be
    sufficient for FDA approval, are based on a legally irrelevant standard of
    “success” to the extent Patent Owner implies that “success” requires
    achieving clinical trial results sufficient for FDA approval. Patent Owner’s
    analysis also effectively excludes Winquist and the TROPIC Listing as prior
    art. Examples abound.
          Patent Owner’s evidence that Dr. Sartor was “surprised when he
    reviewed the data” from the TROPIC Study for the first time, as were others
    when he “presented the results publicly,” and that “prediction of a positive
    phase III study was ‘an impossible endeavor,’” speaks to therapeutic
    efficacy proven by statistically significant data taken from successful phase
    III clinical trial results needed for FDA approval. PO Resp. 16 (emphases
    added) (citing Ex. 2004, 1711 (Col. 1 ¶ 2); Ex. 2176 ¶¶ 93, 185, 187).
    Providing statistically significant data and results to establish a clinically
    effective treatment for FDA approval is neither a requirement of the ’592
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    patent claims nor the appropriate measure of success. Therefore, such
    evidence is entitled to little weight.
           Further undercutting Patent Owner’s argument, Dr. Sartor admitted
    that he incorrectly concluded that Winquist and the TROPIC Listing are not
    prior art:
                 Q. The TROPIC listing is one of the pieces of prior art
                 that you viewed as appropriate to consider in evaluating
                 the validity of the 592 patent; is that correct?
                 A. I didn’t think it was prior art when you just put it in a
                 listing. It’s not relevant to me to put it in a listing. So I
                 didn’t -- I honestly don’t think that’s part of the prior art
                 when you list a clinical trial. What does that mean? It
                 means nothing.

                 Q. When you were reaching your opinions in this
                 proceeding regarding the validity of the 592 patent, is it
                 correct that you did not evaluate the TROPIC listing as a
                 prior art reference?
                 A. I didn’t really care if they listed it or not. It was
                 irrelevant to my opinion. . . .

                 Q. With that understanding, when you reached your
                 opinions in this case, in this proceeding, did you
                 understand that the TROPIC listing was prior art to the 592
                 patent?
                  A. I don’t think it is. I think it’s just a listing. That listing
                 had no relevance to my opinion whatsoever, and I was
                 very surprised that someone who’s an oncologist would
                 say so. I mean I was actually kind of shocked. So I
                 wouldn’t call it the prior art. I’d just call it a listing.

    Ex. 1041, 43:18–45:11 (objections to form omitted). With regard to
    Winquist, which disclosed administering 25 mg/m2 of cabazitaxel in
    combination with prednisone to treat docetaxel-refractory mCRPC patients,

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    and Pivot, which disclosed administering 20–25 mg/m2 of cabazitaxel to
    treat docetaxel-refractory metastatic breast cancer patients, Dr. Sartor
    testified as follows:
                 Q. When you reached your opinions in this proceeding,
                 did you understand that the Winquist reference is prior art
                 to the 592 patent?
                 A. Not in my mind. In somebody else’s mind.

                 Q. When you reached your opinions in this proceeding,
                 did you have an understanding of the Pivot reference as
                 prior art to the 592 patent?
                 A. It was alleged to be a portion of the prior art. And I
                 think that that was a debatable issue.

    Id. at 45:12–24 (objections to form omitted).
          Dr. Sartor’s analysis is undermined by his apparent dismissal of
    highly relevant clinical trial listings as prior art. See Montgomery, 677 F.3d
    at 1378–80 (published protocol for ongoing phase III study was prior art that
    anticipated claims). Thus, we give little weight to Patent Owner’s cited
    evidence regarding the asserted surprise in the field and Dr. Sartor’s opinion
    that a POSA would not have had a reasonable expectation of successful
    treatment in a phase III clinical trial from reading Winquist and the TROPIC
    Listing in view of Attard (reporting on the Mita study) and Beardsley
    (reporting on the Pivot study). See PO Resp. 21–43 (citing, inter alia, Ex.
    2176 ¶¶ 45 (a POSA “would need clinical data showing that the medicine
    provides a specific clinical benefit to the patient, such as those described in
    the specification of the ’592 patent”), 101 (“The multiple failed phase III
    studies discussed above . . . demonstrate the unpredictability in the art and
    that a POSA would not have had a reasonable expectation of success.”),

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    110–111 (“In the context of initiating a phase III study . . . [a] POSA
    reviewing Attard and Mita, alone or in combination . . . would have been
    left with great uncertainty as to whether cabazitaxel in combination with a
    corticoid would be a successful treatment for prostate cancer patients
    worsening during or after docetaxel.”), 133 (“Pivot, an open-label, single-
    arm study, with no data from previous phase II studies . . . would not provide
    a POSA with a reasonable expectation of success in a phase III trial in a
    different cancer type.”), 171 (“a POSA would not have reasonably expected
    success for cabazitaxel in prostate cancer simply based on the fact that
    Sanofi was performing the TROPIC study.”). Dr. Sartor’s opinions rely on
    Patent Owner’s incorrect standard for “success” and a misconception
    regarding the relevant prior art.
            Patent Owner also asserts that in view of the risks associated with
    cabazitaxel therapy:
                  Mylan, at minimum, needs to demonstrate that a POSA
                 would have had a reasonable expectation that
                 administering 20-25 mg/m2 of cabazitaxel in combination
                 with a corticoid to the claimed patients was efficacious and
                 that the regimen’s efficacy outweighed the harm to those
                 patients. That is, Mylan’s references needed to show that
                 there was a reasonable expectation that administering 20-
                 25 mg/m2 of cabazitaxel in combination with a corticoid
                 to the claimed patients would be sufficiently safe and
                 effective to be useful to physicians as a treatment for
                 prostate cancer worsening after docetaxel.

    Id. at 18 (emphasis added). According to Petitioner, governing precedent is
    to the contrary and provides that the standard for proving obviousness is
    lower than the standard for proving efficacy and safety sufficient to warrant
    FDA approval. Reply 7 (citing Allergan, 726 F.3d at 1292 (“Motivation to
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    combine . . . cannot be limited to those reasons the FDA sees fit to consider
    in approving drug applications.”); Astrazeneca LP v. Apotex, Inc., 633 F.3d
    1042, 1064–65 (Fed. Cir. 2010) (lacking FDA approval does not
    demonstrate lack of drug utility)). Moreover, “obviousness cannot be
    avoided simply by a showing of some degree of unpredictability in the art so
    long as there was a reasonable probability of success.” Pfizer, 480 F.3d at
    1364.
            Patent Owner cites Dr. Seth’s deposition testimony for the proposition
    that Mita and Pivot were not designed to assess the efficacy and risks
    associated with administration of cabazitaxel, and that more data from a
    larger clinical study was needed “for a POSA to determine if cabazitaxel
    would be sufficiently effective in the claimed patients such that the potential
    benefit would outweigh the harm.” PO Resp. 18–20. First, Patent Owner’s
    proposed standard engrafts inappropriate safety and efficacy constraints onto
    the utility of the claimed method as a measure of “success.” See Bristol-
    Myers Squibb, 246 F.3d at 1378 (“the claims only require the administration
    of specific amounts of [the compound recited in the challenged claims] and
    not the achievement of a particular result.”). Second, as explained by Dr.
    Seth, the reported incidences of neutropenia and other side effects of
    cabazitaxel were not so high as to require a proven survival benefit as a
    treatment prerequisite. Ex. 1043 ¶ 26; Ex. 1012, 726 (Table 3); Ex. 1010,
    1550–51. Therefore, we give little weight to Patent Owner’s evidence and
    argument regarding the necessity to weigh the potential clinical benefits
    against the risks of cabazitaxel administration (diarrhea, nausea, fatigue,
    neutropenia, and sensory neuropathy), particularly when the prior art
    discloses the claimed treatment method and its utility as having anti-cancer
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    activity in docetaxel-resistant mCRPC and breast cancer patients. For the
    same reasons, we give little weight to Patent Owner’s criticisms of Dr.
    Seth’s testimony in support of Petitioner’s Reply, which are effectively
    rebutted by Petitioner. See Paper 80 (Observations on the Cross-
    Examination of Dr. Seth); Paper 93 (Response to Observations on the Cross-
    Examination of Dr. Seth).
          Patent Owner further contends it is contradictory for Petitioner to
    argue that cabazitaxel’s similarities with docetaxel disposed it to have
    activity against prostate cancer and breast cancer but that its differences
    allowed it to overcome at least some mechanisms of docetaxel resistance.
    PO Resp. 21–23, 29–33. Patent Owner emphasizes other tubulin-binding
    compounds, such as larotaxel that “failed in three separate phase III studies.”
    Id. at 22–23; see also id. at 29–33 (discussing failure of phase III studies and
    failure to achieve FDA regulatory approval). We reiterate, achievement of
    successful phase III study results for FDA approval is not the appropriate
    standard for measuring success. We also credit Petitioner’s evidence that
    cabazitaxel was designed to retain the tubulin-binding activity known to
    make docetaxel lethal to cancer cells while simultaneously reducing its
    affinity for the so-called P-gp pump (P-glycoprotein pump). Pet. 8 (citing
    Ex. 1010, 1547–48), 22–23 (citing Ex. 1002 ¶¶ 66–69); Reply 8 (citing Ex.
    1002 ¶¶ 60, 66–69, 77; Ex. 1021, 75). Such information would have been
    known to a POSA – a clinical oncologist with experience treating metastatic
    prostate cancer and access to information regarding pharmacokinetics and
    mechanisms of drug resistance – as a major mechanism of docetaxel
    resistance. As explained by Dr. Seth, a POSA would have believed
    cabazitaxel was (like docetaxel) active against both breast and prostate
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    cancer. Ex. 1043 ¶ 25; see also Ex. 1050, 354. Moreover, preclinical and
    clinical studies confirmed that cabazitaxel was active against docetaxel-
    resistant prostate and breast cancer. Ex. 1010, 1550 (Col. 2 ¶ 3)–1551 (Col.
    1 ¶ 1, Table 3); Ex. 1022, 163 (Col. 2 ¶¶ 4–5).
          Patent Owner’s remaining arguments are similarly unavailing
    because, as explained above, Patent Owner applies an inappropriate measure
    of success in its analysis. See e.g., PO Resp. 28 (positive patient response in
    phase I study insufficient to prove “cabazitaxel would successfully treat
    prostate cancer”), 31 (“phase II studies in oncology are poorly predictive of
    phase III success”), 38 (“Dr. Seth admitted a POSA could not predict
    beforehand whether a phase III trial was going to be successful or a
    failure.”), 39 (regarding Winquist and the TROPIC Listing, “mere existence
    of a phase III study was not indicative of success”), 42 (“none of the
    references cited by Mylan disclose any data on the ability of cabazitaxel to
    increase the overall survival of any patients”).
          For the reasons given above, we determine Petitioner has shown by a
    preponderance of the evidence that a POSA, based on Winquist and the
    TROPIC Listing in view of Attard, Beardsley, and the knowledge of a
    POSA, would have had a reasonable expectation of success in achieving the
    method of treatment recited in claims 1 and 27 of the ’592 patent.
                 d. Secondary Considerations
          Secondary considerations, when present, must “be considered en route
    to a determination of obviousness.” Transocean Offshore Deepwater
    Drilling, Inc. v. Maersk Drilling USA, Inc., 699 F.3d 1340, 1349 (Fed. Cir.
    2012) (citation omitted). Secondary considerations may include any of the
    following: long-felt but unsolved needs, failure of others, unexpected results,
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    commercial success, copying, licensing, and praise. See Graham, 383 U.S.
    at 17; Leapfrog Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1162 (Fed.
    Cir. 2007). Patent Owner bears the burden of producing objective evidence
    of nonobviousness in rebuttal to Petitioner’s evidence of obviousness.
    Prometheus Labs., Inc. v. Roxane Labs., Inc., 805 F.3d 1092, 1101–02 (Fed.
    Cir. 2015).
          For objective evidence of nonobviousness to carry substantial weight,
    “its proponent must establish a nexus between the evidence and the merits of
    the claimed invention.” In re Huai-Hung Kao, 639 F.3d 1057, 1068 (Fed.
    Cir. 2011) (citing Wyers v. Master Lock Co., 616 F.3d 1231, 1246 (Fed. Cir.
    2010)); see also In re GPAC Inc., 57 F.3d 1573, 1580 (Fed. Cir. 1995). A
    patent owner may establish a rebuttable presumption of nexus “when the
    patentee shows that the asserted objective evidence is tied to a specific
    product and that product ‘is the invention disclosed and claimed in the
    patent.’” WBIP LLC v. Kohler Co., 829 F.3d 1317, 1329 (Fed. Cir. 2016).
    We note some tension in applicable Federal Circuit precedent regarding the
    standard for establishing an appropriate nexus. On the one hand, “[w]here
    the offered secondary consideration actually results from something other
    than what is both claimed and novel in the claim, there is no nexus to the
    merits of the claimed invention,” i.e., “there must be a nexus to some aspect
    of the claim not already in the prior art.” Kao, 639 F.3d at 1068–69. On the
    other hand, there is no requirement that “objective evidence must be tied
    exclusively to claim elements that are not disclosed in a particular prior art
    reference in order for that evidence to carry substantial weight.” WBIP, 829
    F.3d at 1331. A patent owner may show, for example, “that it is the claimed
    combination as a whole that serves as a nexus for the objective evidence;
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    proof of nexus is not limited to only when objective evidence is tied to the
    supposedly ‘new’ feature(s).” Id. Ultimately, the fact finder must weigh the
    secondary considerations evidence presented in the context of whether the
    claimed invention as a whole would have been obvious to a POSA. Id. at
    1331–32.
          Patent Owner presents argument and evidence of long-felt need,
    failure of others, unexpected properties, praise, commercial success, and
    copying. PO Resp. 50–56. Patent Owner’s objective evidence of non-
    obviousness is tied to the commercial success and recognition of Jevtana®,
    the successful phase III clinical trial results from the TROPIC Study that led
    to expedited FDA review and approval of Jevtana®, and the assertion that it
    was unexpected for cabazitaxel therapy to provide a statistically significant
    survival benefit and reduced side effects in docetaxel-refractory mCRPC
    patients. PO Resp. 50–56 (citing Ex. 2176 ¶¶ 93, 185, 187–189, 192–195,
    198, 200–202, 204–207, 209–214, 216–219, 221). Patent Owner also
    produces evidence that clinical administration of Jevtana® according to its
    FDA-approved labeling satisfies the limitations of independent claims 1 and
    27, as well as several dependent claims, of the ’592 patent. PO Resp. 54 n.2
    (citing Ex. 2150, 1; Ex. 2176 ¶¶ 192–195).
          Petitioner offers rebuttal evidence contesting Patent Owner’s
    secondary considerations evidence and the asserted nexus to the claimed
    treatment method. Reply 17–23.
          We have considered Petitioner’s evidence of the obviousness of
    claims 1 and 27, set forth above, in conjunction with Patent Owner’s
    objective evidence of non-obviousness and Petitioner’s rebuttal evidence.


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    On balance, we conclude that Patent Owner’s secondary considerations
    evidence does not outweigh Petitioner’s strong evidence of obviousness.

                    (i)    Presumption of nexus
          We begin with the observation that the clinical administration of
    Jevtana® is an embodiment of the claimed treatment method. Ex. 2176
    ¶¶ 192–195. Petitioner does not directly contest this testimony, but raises
    related arguments that we address below. Reply 4–5, 17–18. Therefore, we
    credit Dr. Sartor’s cited Declaration testimony and begin by presuming a
    nexus between alleged long-felt need, failure of others, unexpected results,
    praise, commercial success, and copying and the administration of Jevtana®
    to docetaxel-refractory mCRPC patients. The presumption shifts the burden
    of producing rebuttal evidence to Petitioner. WBIP, 829 F.3d at 1329.
          The Board, a non-jury tribunal with administrative expertise, is well-
    positioned to determine and assign appropriate weight to the evidence
    presented. See Gnosis S.p.A. v. S. Alabama Med. Sci. Found., Case
    IPR2013-00118, slip op. at 43 (PTAB June 20, 2014) (Paper 64); see also
    Donnelly Garment Co. v. NLRB, 123 F.2d 215, 224 (8th Cir. 1941) (“One
    who is capable of ruling accurately upon the admissibility of evidence is
    equally capable of sifting it accurately after it has been received.”). In
    rendering our decision, we have assigned weight to the evidence as
    appropriate in view of the entire record before us. For the reasons that
    follow, we determine Petitioner’s evidence effectively rebuts the
    presumption of nexus and the weight to be given Patent Owner’s objective
    evidence of non-obviousness.



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                 (ii)   Claimed method disclosed in the prior art
          The claimed treatment method is fully disclosed in the prior art. Pet.
    7–9 (citing Ex. 1008; Ex. 1009, 3948; Ex. 1010, 1547–49, 1551; Ex. 1012,
    724, 729); Reply 4–5 (citing, inter alia, Ex. 1041, 59:7–20, 62:8–18, 65:2–
    18, 67:23–68:6, 71:16–25; 73:10–15; 83:10–15, 87:13–88:4, 93:9–17,
    96:17–22, 97:7–100:4; 150:6–152:6). The same treatment method described
    in the ’592 patent, specifically the administration of a 25 mg/m2 dose of
    cabazitaxel in combination with prednisone to docetaxel-refractory mCRPC
    patients, as set out in the TROPIC Study, was disclosed in the prior art
    Winquist and TROPIC Listing references. This is not a case where isolated
    claim limitations are disclosed individually in different prior art references
    and the claimed combination itself provides the nexus to the merits of the
    invention. See WBIP, 829 F.3d at 1330; see also Reply 5 (citing, inter alia,
    Santarus, Inc. v. Par Pharm., Inc., 694 F.3d 1344, 1353–1354 (Fed. Cir.
    2012) (method of treating gastric acid disorder by administering an obvious
    formulation “cannot become nonobvious simply by administering it to a
    patient and claiming the resulting serum concentrations”)).
          First, a POSA would have read Winquist and the TROPIC Listing
    together because they disclose the same clinical study. Winquist and the
    TROPIC Listing disclose the same treatment method being used in the same
    clinical trial for treating the same patient population – the Sanofi-Aventis
    TROPIC Study. Ex. 1002 ¶¶ 118–120; see also Ex. 1041, 94:14–95:4 (“I
    would anticipate that if they [a POSA] had the available information, they
    would read both.”). Second, a POSA would have understood Winquist,
    which discloses administering a 25 mg/m2 dose of cabazitaxel in
    combination with prednisone to mCRPC patients “previously treated with a
                                           42

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    Taxotere [docetaxel]-containing regimen” (Ex. 1009, 3948), as disclosing
    the treatment of prostate cancer that “has progressed during or after
    treatment with docetaxel,” as recited in claims 1 and 27. Ex. 1002 ¶¶ 65,
    117 (“It is implicit in treatment of a patient with mCRPC who has been
    previously . . . treated with docetaxel that such treatment is necessary
    because progression occurred during or after docetaxel treatment.”). Dr.
    Sartor also testifies that a patient previously treated with docetaxel, as stated
    in Winquist, would not have been treated with a follow-on taxane such as
    cabazitaxel “until there’s evidence of progression.” Reply 4 (citing Ex.
    1041, 59:7-20, see also id. at 93:9–17 (“If the patient had not progressed,
    then he likely would not be treated with cabazitaxel.”). Thus, the method
    steps recited in claims 1 and 27 are not disclosed in isolation in the prior art;
    they are disclosed in the same combination claimed and exemplified in the
    ’592 patent.
          In short, Petitioner’s evidence effectively rebuts the legal presumption
    of a nexus between the administration of Jevtana® to treat mCRPC patients
    and “some aspect of the claim not already in the prior art.” Kao, 639 F.3d at
    1068–69.

                     (iii)   Commercial success
          Patent Owner relies on a presumed nexus between the ’592 patent
    claims and the commercial success of Jevtana®. PO Resp. 55–56.
    Petitioner responds that Patent Owner has listed “at least eight different
    patents” in the FDA Orange Book for Jevtana®, of which six have expired,
    and that Patent Owner fails to explain why Jevtana®’s commercial success
    is attributable to the treatment method of the ’592 patent rather than to prior


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    art elements of the expired patents. Reply 17–18 (citing Ex. 1044 ¶¶ 17–22,
    124–30). We reproduce Mr. McSorely’s chart of Orange Book-listed
    patents, below.




    Ex. 1044 ¶ 19, Attachment 4.1. As shown in the Orange Book patent chart,
    above, Patent Owner has listed seven earlier-issued patents covering
    Jevtana®, six of which have now expired and one of which does not expire
    until December 10, 2025. Id.; see also Ex. 1059, 1027. The first three listed
    patents, for example, disclose taxane compounds and compositions. Ex.
    180; Ex. 1081; Ex. 1082.
           We agree with Petitioner that the presumed nexus between
    Jevtana®’s commercial success and the ’592 patent claims is undercut by
    the Patent Owner’s failure to acknowledge or address the seven prior art
    Orange Book-listed patents for Jevtana®. Mr. Tate affirmatively states in
    his declaration, and confirms in his deposition testimony, that he was not
    asked to provide any opinion on a nexus between the commercial success of
    Jevtana® and the claims of the ’592 patent. Ex. 2149 ¶ 25 n.49; Ex. 1042,

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    64:19–65:20, 78:14–8. He testifies that he relied on Dr. Sartor to establish
    such a nexus. Ex. 1042, 65:21–66:8; see also Ex. 2149 ¶¶ 25–27, Schedule
    3.
          Dr. Sartor provides only a conclusory statement: “In my opinion,
    Jevtana®’s success is attributable to the inventions claimed in the ’592
    patent, which reflect the results of the TROPIC study that led to FDA
    approval.” Ex. 2176 ¶ 219; see also id. ¶¶ 221–222. Dr. Sartor does not
    discuss any of the other Orange Book patents for Jevtana®, whether
    Jevtana®’s commercial success may be tied to the inventions of those
    patents, such as the composition patents, or why Jevtana®’s commercial
    success should be attributable solely to the claimed treatment method of the
    ’592 patent. Dr. Sartor, moreover, testifies that he understood the invention
    of the ’592 patent to be cabazitaxel and its utility. Ex. 1041, 143:25–144:23.
    Dr. Sartor further testifies that, in his opinion, the 25 mg/m2 dose of
    cabazitaxel “is critical,” but he readily acknowledges that the critical dose
    was disclosed in the prior art Winquist reference. Id. at 150:25–151:17. Dr.
    Sartor also admitted that, although the critical dose was disclosed in
    Winquist, he “didn’t view this as part of the prior art.” Id. at 151:18–152:6.
    As with Patent Owner’s no-reasonable-expectation-of success argument,
    such inconsistency undermines Patent Owner’s commercial success
    argument.
          “Where market entry by others was precluded [due to blocking
    patents], the inference of non-obviousness of [the asserted claims], from
    evidence of commercial success, is weak.” Galderma Labs., L.P. v. Tolmar,
    Inc., 737 F.3d 731, 740 (Fed. Cir. 2013); see also Merck & Co. v. Teva
    Pharms. USA, Inc., 395 F.3d 1364, 1377 (Fed. Cir. 2005) (“[f]inancial
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    success is not significantly probative of [whether the claimed invention was
    non-obvious in light of prior art] in this case because others were legally
    barred from commercially testing the [relevant] ideas” by other patents
    covering the product). Six of the Jevtana® Orange Book patents have now
    expired, and, as in Galderma and Merck, market access by others previously
    was precluded. Ex. 1059, 1027 (“EXCLUSIVITY EXPIRATION DATE
    JUN 17, 2015”). Therefore, for this additional reason, any inference of non-
    obviousness from Jevtana®’s commercial success is weak.
          In sum, we are persuaded that Petitioner’s evidence and argument
    effectively rebuts the presumption of nexus between the commercial success
    of Jevtana® and the claimed treatment method of the ’592 patent.
                    (iv)   Long-felt need
          Patent Owner argues that there was a need to treat critically ill
    mCRPC patients whose disease had progressed after docetaxel therapy, and
    that cabazitaxel “was the first therapy to show a survival benefit with
    patients that progressed after docetaxel.” PO Resp. 50 (citing Ex. 2071, 1;
    Ex. 2176 ¶¶ 198, 200–202; Ex. 2177, 43:11–17). Patent Owner emphasizes
    that, based on the successful phase III clinical trial data from the TROPIC
    Study, the FDA accelerated approval of Jevtana® in only 11 weeks. Id. at
    50–51 (citing Ex. 2059, 1 (¶ 3); Ex. 2068, 1). Patent Owner provides
    objective evidence that the accelerated approval of Jevtana® “fill[ed] a
    critical gap among patients with the most advanced stage of prostate cancer
    and is the first therapeutic option for these patients shown to prolong
    survival.” Id. (citing Ex. 2068, 1).
          Petitioner challenges Patent Owner’s evidence by trying to shift the
    focus onto later-approved drugs that have since overtaken Jevtana® in
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    treating mCRPC patients and in terms of sales. Reply 18–19 (citing Ex.
    1041, 187:21–189:14, 191:8–193:12, 194:12–195:9, 196:6–23, 197:6–199:5,
    200:15–201:18, 204:5–205:6, 222:6–16, 225:17–21; Ex. 1043 ¶ 34; Ex.
    1044 ¶¶ 34–51; Ex. 1069). Petitioner also derides the alleged need as
    “‘kicking the can down the road.’” Id. at 18 (citing Ex. 1041, 200:9–21).
    We are not persuaded by Petitioner’s rebuttal evidence regarding long-felt
    need.
            Patent Owner’s evidence, on this record, demonstrates the importance
    of the phase III clinical trial results in motivating FDA fast-track approval
    for Jevtana®. At the time of its approval, Jevtana® was the first FDA-
    approved therapy for treating docetaxel-refractory mCRPC patients. PO
    Resp. 50–51 (citing Ex. 2059, 1; Ex. 2068, 1; Ex. 2071, 1; Ex. 2176 ¶¶ 200–
    202; Ex. 2177, 43:11–17). The fact that later-approved drugs may have been
    an improvement over Jevtana® in the treatment of such critically ill patients
    is beside the point. We do, however, reiterate that the weight we give to
    Patent Owner’s evidence of long-felt need is tempered by Petitioner’s
    evidence that the TROPIC Study treatment protocol, the results of which
    provided the impetus for FDA fast-track approval, was disclosed in the prior
    art along with evidence of anti-cancer activity in docetaxel-refractory
    mCRPC and metastatic breast cancer patients. Ex. 1008; Ex. 1009, 3948;
    Ex. 1010; Ex. 1012, 723, 727. In addition, and as discussed above,
    Petitioner has provided persuasive evidence to rebut the presumed nexus
    between the ’592 patent’s claimed treatment method and the success of
    Jevtana®.




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                    (v)    Failure of others
          Our analysis of long-felt need applies equally to Patent Owner’s
    evidence of the failure of others to increase survival of docetaxel-refractory
    mCRPC patients prior to the approval of Jevtana®. PO Resp. 51 (citing,
    inter alia, Ex. 1022, 162–63; Ex. 2008, 1; Ex. 2026, 77–79; Ex. 2041, 808;
    Ex. 2096, 2973 (Col. 2 ¶ 2) (discussing two decades of efforts to overcome
    taxane resistance); Ex. 2176 ¶¶ 204–207). Petitioner’s response is
    essentially the same as the response it proffered in rebuttal to Patent
    Owner’s long-felt need evidence, with like effect. Reply 19.
                    (vi)   Unexpected results
          Patent Owner argues it was unexpected that cabazitaxel therapy would
    “prolong overall survival” in docetaxel-refractory mCRPC patients, with
    reduced side effects, as shown in the TROPIC Study. PO Resp. 52–54
    (citing Ex. 2176 ¶¶ 39, 93, 185, 187–89, 209–214; Ex. 2177, 43:11–17,
    45:16–46:2). In addition to a long-felt need and the failure of others,
    referenced immediately above, Patent Owner emphasizes that the positive
    results of the TROPIC Study were particularly unexpected in light of the
    lack of a phase II study in prostate cancer and the fact that the disease had
    progressed in patients after receiving a taxane (docetaxel) therapy. Id. at 52
    (citing Ex. 2176 ¶¶ 185, 188–89, 210). With regard to side effects, Patent
    Owner sets up a logical tautology from its characterization of Petitioner’s
    argument that, if a POSA would have expected cabazitaxel to act similarly to
    docetaxel, then a POSA would not have expected cabazitaxel therapy to
    have a “lower incidence of side effects such as neuropathy, alopecia [hair
    loss], nail changes and dysgeusia [altered taste sensation] than docetaxel.”
    Id. at 54 (citing Ex. 2176 ¶¶ 211–214).
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          Petitioner responds with Dr. Sartor’s acknowledgment that critical
    features of the claimed invention, particularly the 25 mg/m2 dose of
    cabazitaxel and the docetaxel-refractory patient population, were disclosed
    in the prior art Winquist (Ex. 1009) and TROPIC Listing (Ex. 1008)
    references. Reply 20 (citing Ex. 1041, 150:25–151:17, 152:22–153:10).
    Therefore, Petitioner argues, there is no basis to attribute any prolonged
    survival to a claimed feature not already disclosed in the prior art. Id.
          We view the evidence of unexpected results as neutral in this case.
    On the one hand, the results of the TROPIC Study were unexpected enough
    to result in FDA fast-track approval of the first therapy for docetaxel-
    refractory mCRPC patients. On the other hand, a statistically significant
    increase in overall survival of a patient population is not a claim limitation
    of the ’592 patent claims. The claimed method also was disclosed in the
    prior art (Winquist and TROPIC Listing), and Attard (Ex. 1021, 74–75) and
    Beardsley (Ex. 1022, 163) note the positive anticancer activity and partial
    responses to cabazitaxel therapy in docetaxel-refractory phase I (mCRPC)
    and phase II (metastatic breast cancer) patients. Beardsley expressly notes
    that the results in docetaxel-refractory patients were sufficient to permit
    moving directly to the phase III TROPIC Study, which compared
    cabazitaxel plus prednisone therapy to palliative mitoxantrone plus
    prednisone therapy in docetaxel-refractory mCRPC patients.16 Ex. 1022,

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      We give no weight to Petitioner’s unsupported argument that Patent
    Owner failed to compare cabazitaxel therapy survival rates to docetaxel re-
    challenge survival rates. Reply 20. As Dr. Sartor explains, mitoxantrone
    plus prednisone therapy was the de facto standard of care for docetaxel-
    refractory patients at the time of the earliest possible priority date of the ’592
    patent. Ex. 1027, 557; Ex. 2176 ¶ 39.
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    163 (Col. 2 ¶ 5). Beardsley’s explanation effectively undermines Patent
    Owner’s argument that the TROPIC Study results were particularly
    unexpected given the absence of a phase II clinical trial in mCRPC patients.
          As stated previously, Petitioner’s evidence is sufficient to establish
    that a POSA would have had a reasonable expectation that the TROPIC
    Study protocol disclosed in Winquist and the TROPIC Listing would result
    in anticancer activity. Winquist and the TROPIC Listing also note that
    prolonging patient survival (“overall survival”) was the primary endpoint of
    the study, which had been ongoing since 2006. Ex. 1008, 2; Ex. 1002 ¶ 122.
    Patent Owner’s additional evidence, regarding alleged reduced side effects
    resulting from cabazitaxel therapy in comparison to docetaxel therapy, does
    not alter our view of the unexpected results evidence. We credit Dr. Seth’s
    testimony that Pivot disclosed a “favorable” safety profile for cabazitaxel
    therapy in comparison to docetaxel, including side effects such as nausea,
    vomiting, and sensory neuropathy. Ex. 1043 ¶ 31; Ex. 1010, 1551.
          Therefore, on balance, we determine the unexpected results evidence
    does not support Patent Owner’s nonobviousness argument in this case.
                    (vii) Praise for Jevtana®
          Patent Owner again relies on the evidence of FDA fast-track approval
    in support of its argument that Jevtana® received praise. PO Resp. 54
    (citing Ex. 2059, 1). Patent Owner provides evidence of post-approval
    articles and press releases praising Jevtana® as a “major success in second
    line chemotherapy for advance[d] prostate cancer,” based on its increase in
    overall patient survival in the TROPIC Study. Id. (citing Ex. 2071, 1 (Col.
    1), 3). Others praised Jevtana® for giving patients more time to live and


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    allowing them to “carry on doing the things they enjoy despite their cancer.”
    Id. at 55 (citing Ex. 2115, 2).
          Petitioner responds that the news article cited by Patent Owner,
    Exhibit 2115, also states that the “Cancer Drugs Fund plans to axe drug
    [Jevtana] from its approved list” because “it is not cost-effective and doesn’t
    offer ‘sufficient clinical benefit.’” Reply 21 (citing Ex. 2115, 1–2).
    Petitioner again argues absence of a nexus to a novel feature of the ’592
    patent claims, and it also argues the “buzz” surrounding Jevtana®’s approval
    was not as significant as the “big buzz” received by later drugs approved to
    treat the same patient population. Id. (citing Ex. 1041, 201:19–202:14).
          Patent Owner’s evidence establishes a modicum of industry praise for
    Jevtana® upon FDA approval and thereafter. However, as with our analysis
    of long-felt need, failure of others, and unexpected results, the weight we
    give to Patent Owner’s evidence of praise is tempered by Petitioner’s
    evidence that the TROPIC Study treatment protocol, the results of which
    provided the impetus for FDA fast-track approval, was disclosed in the prior
    art along with evidence of anti-cancer activity in docetaxel-refractory
    mCRPC and metastatic breast cancer patients. Ex. 1008; Ex. 1009, 3948;
    Ex. 1010; Ex. 1012, 723, 727. In addition, and as discussed above,
    Petitioner has provided persuasive evidence to rebut the presumed nexus
    between the ’592 patent’s claimed treatment method and the success of
    Jevtana®.
                     (viii) Copying
          Patent Owner provides only a cursory, conclusory assertion that nine
    competitors are accused of infringing the ’592 patent claims in district court
    litigation to support its copying argument. PO Resp. 56 (citing Paper 6, 2–3;
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    Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc., 348 F. Supp. 2d 713, 759
    (N.D. W.Va. 2004) (generic manufacturer’s decision to copy a drug is
    probative of nonobviousness)). Patent Owner does not offer any direct
    evidence of alleged copying. Id. Therefore, Patent Owner’s conclusory
    argument does not support an inference of non-obviousness.
                 e. Conclusion
          When we balance Petitioner’s strong evidence of obviousness against
    the objective evidence of nonobviousness, we determine that a
    preponderance of the evidence supports Petitioner’s position that claims 1
    and 27 of the ’592 patent are unpatentable for obviousness over Winquist
    and the TROPIC Listing, in view of Attard and Beardsley.

             5. Dependent Claims 2, 5, 12, 15–26, and 28–30

          Petitioner argues that dependent claims 2, 5, 12, 15–26, and 28–30
    recite additional limitations that would have been obvious to a POSA based
    on Winquist, the TROPIC Listing, and Pivot.17 Pet. 29–32, 34–38, 43–45.
    Petitioner supports its arguments with claim charts for most of the claims,
    which contain citations to Winquist, the TROPIC Listing, and Dr. Seth’s
    Declaration. Id. at 35–38 (citing Ex. 1008; Ex. 1009; Ex. 1002). Having
    reviewed the complete trial record, we are persuaded Petitioner has proved
    by a preponderance of the evidence that Winquist, the TROPIC Listing, and


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      We note dependent claims 15–16, 21, 26, and 30 referenced in this section
    were raised in other instituted grounds. Paper 9, 21–23. Because Patent
    Owner addresses the cabazitaxel dosage limitations recited in those
    dependent claims together with the cabazitaxel dosage limitations recited in
    claims 12, 18, 22, 24, and 28 (PO Resp. 44–45), for convenience we address
    the claims reciting cabazitaxel dosage limitations together in this section.
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    Pivot disclose the elements recited in dependent claims 2, 5, 12, 15–26, and
    28–30. Pet. 29–32, 34–38, 42–45; Ex. 1002 ¶¶ 49–50, 61–62, 123, 126–130,
    136–137, 139, 154, 157–160.
          For example, Winquist and the TROPIC Listing disclose
    administration of cabazitaxel in combination with a corticoid to castration-
    resistant, metastatic prostate cancer patients (claims 2, 20, and 24). Ex.
    1008, 1–2; Ex. 1009, 3948; Ex. 1002 ¶¶ 123, 127–130. Winquist and the
    TROPIC Listing also disclose repeating the administration of cabazitaxel as
    a new cycle every three weeks (claims 5, 19, 23, 25, and 29). Ex. 1008, 1;
    Ex. 1009, 3948; Ex. 1002 ¶ 137. They further disclose administering
    cabazitaxel in combination with prednisone (claims 24 and 27). Ex. 1008, 1;
    Ex. 1009, 3948; Ex. 1002 ¶¶ 126, 129, 135. To the extent not stated
    expressly above, we adopt Petitioner’s arguments and evidence in support of
    our findings that Winquist, the TROPIC Listing, and Pivot disclose the
    limitations recited in claims 2, 5, 12, 15–26, and 28–30 of the ’592 patent.
    Pet. 25–38, 43–45. Motivation to combine and reasonable expectation of
    success are addressed in Section II.B.4, above, and further in response to
    Patent Owner’s arguments, below.
          Patent Owner challenges Petitioner’s proofs regarding whether a
    POSA would have had a reasonable expectation of success in administering
    the cabazitaxel doses recited in claims 12, 15–16, 18, 21–22, 24, 26, 28, and
    30. PO Resp. 44–45. Claims 12, 16, 18, 22, 24, and 28 recite administration
    of a 25 mg/m2 dose of cabazitaxel, and claims 15, 21, 26, and 30 recite a 20
    mg/m2 cabazitaxel dose. Petitioner argues that Winquist discloses
    administration of the 25 mg/m2 dose, and Pivot discloses administration of
    the 20 mg/m2 dose that was well tolerated in docetaxel-refractory metastatic
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    breast cancer patients. Pet. 36–38 (citing Ex. 1009, 3948; Ex. 1002 ¶ 139),
    43–46 (citing Ex. 1002 ¶¶ 157–158, 160; Ex. 1010, 1547–48, 1550).
          Pivot discloses administering cabazitaxel “at 20 mg/m2, given as a 1-h
    i.v. infusion on day 1 every 3 weeks.” Ex. 1010 at 1548 (Col. 2 ¶ 3). Pivot
    explains that the 20 mg/m2 dose was the “recommended dose for phase II
    and III studies” based on earlier phase I studies. Id. at 1548 (Col. 1 ¶ 2); see
    also Ex. 1002 ¶ 157 (“Pivot . . . provides reasons for this dose.”). Pivot
    further discloses that cabazitaxel was initially administered at a 20 mg/m2
    dose, and thereafter “escalation up to 25 mg/m2 from cycle 2, in selected
    patients, on the basis of their good tolerance in cycle 1, was feasible in 20
    patients (28%) with no evident increase in the overall incidence of
    subsequent AEs [adverse events] in this group.” Ex. 1010, 1550 (Col. 1 ¶
    2). Based on the study data, in which 72% of taxane-refractory metastatic
    breast cancer patients were treated at a dose of 20 mg/m2 and 28% of
    patients at a 25 mg/m2 dose, Pivot concluded that cabazitaxel “was active
    and well tolerated in . . . patients with taxane-resistant disease.” Id. at 1547
    (“Conclusions”); see also id. at 1548–49. Therefore, Pivot discloses the
    active and well-tolerated use of both 20 and 25 mg/m2 doses of cabazitaxel
    in docetaxel-refractory metastatic breast cancer patients.
          Patent Owner argues that a POSA would not have expected any
    clinical benefit to outweigh known toxic side effects from administering
    cabazitaxel at a dose of 25 mg/m2 or even at the lower 20 mg/m2 dose. PO
    Resp. 44–45 (citing Ex. 2176 ¶¶ 172–174; Ex. 2177, 72:17–73:2, 73:14–23,
    130:14–131:2; Ex. 2229, 2). Patent Owner particularly emphasizes the risk
    of life-threatening neutropenia in the absence of clinical trial data, arguing it
    would have been “unreasonable for a POSA to expect that this dose of
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    cabazitaxel [20 mg/m2] would prolong overall survival prior to the results of
    TROPIC described in the ’592 patent.” Id. at 44. For the reasons given in
    Section II.B.4, above, Patent Owner uses the incorrect standard for
    measuring a reasonable expectation of success in achieving the claimed
    invention. We further note the ’592 patent does not describe any clinical
    trial results for a 20 mg/m2 dose of cabazitaxel, even though dependent
    claims 15, 21, 26, and 30 recite a 20 mg/m2 dose. This fact tends to
    undercut Patent Owner’s argument that clinical trial results are necessary to
    support a reasonable expectation of success.
          We also are not persuaded by Patent Owner’s argument of no
    reasonable expectation of success in view of potentially toxic side effects,
    particularly because Winquist and Pivot disclose the administration of the
    recited cabazitaxel doses, and Pivot describes how an experienced
    oncologist would manage the emergence of side effects with dose control,
    antihistamines, and antiemetics. Ex. 1010, 1548 (Col. 2 ¶ 3). Pivot
    expressly discloses that the recommended dose of 20 mg/m2 cabazitaxel was
    well tolerated in most patients and that a substantial number of patients were
    escalated up to a 25 mg/m2 dose without dose-limiting adverse events such
    as severe neutropenia. Id.; see also id. at 1547 (“XRP6258 [cabazitaxel] was
    active and well tolerated in this group of MBC patients with taxane-resistant
    disease.”), 1551 (“The safety profile of XRP6258 was very favorable when
    compared with the known safety profile of the marketed taxanes or other
    compounds under development.”). The potential for severe side effects in
    such desperately ill patients was not enough to prevent Patent Owner from
    selecting the higher 25 mg/m2 cabazitaxel dose for administration in the
    large phase III TROPIC Study disclosed in Winquist. Ex. 1009.
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          We credit Dr. Seth’s testimony that “Pivot’s two doses (20 and 25
    mg/m2) were in agreement with the Phase I data regarding safe doses
    reported in Mita, as well as the Phase III doses reported in Winquist and the
    TROPIC Listing.” Ex. 1043 ¶ 30. Moreover, Dr. Sartor testifies that when
    he treats mCRPC patients, even today, he prescribes drugs that are not
    approved by the FDA for such a treatment indication, which means there are
    no phase III clinical trial results available. Ex. 1041, 180:22–182:15,
    183:23–184:4, 185:8–22. He testifies that he treats a small percentage of
    patients with “non-FDA-approved therapies” when “they’re not in a clinical
    trial,” that he does so without the benefit of any phase III clinical data, and
    that he thinks “that’s probably typical of other oncologists” as well. Id. at
    182:16–183:10, 183:23–185:7. Dr. Sartor’s candid acknowledgement that
    treatment of advanced prostate cancer patients with off-label drugs is a type
    of “desperation oncology,” further undercuts Patent Owner’s argument that
    side effects and lack of phase III clinical trial data would have made it
    unreasonable for a POSA to administer a 20 mg/m2 or 25 mg/m2 dose of
    cabazitaxel to treat docetaxel-refractory mCRPC patients.
          Based on the complete trial record, we determine Petitioner has
    proved by a preponderance of the evidence that dependent claims 2, 5, 12,
    15–26, and 28–30 of the ’592 patent are unpatentable as obvious under 35
    U.S.C. § 103.

          C. Ground 2: Asserted Obviousness of Claims 3 and 4 over Winquist,
             the TROPIC Listing, and Didier
          Claim 3 depends from claim 1 and recites cabazitaxel “in the form of
    an acetone solvate.” Ex. 1001, 18:61–62. Claim 4 depends from claim 3

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    and further recites “the acetone solvate contains between 5% and 8% by
    weight of acetone.” Id. at 18:63–64. The ’592 patent describes a solvate as
    “a molecular complex characterized by the incorporation of the
    crystallization solvent [acetone] into the crystal of the molecule of the active
    principle.” Ex. 1001, 4:40–47. The acetone solvate form of cabazitaxel is
    used to prepare a premix for subsequent dilution in an aqueous perfusion
    solution at the time of intravenous administration. Id. at 5:12–29.
          Petitioner acknowledges that Winquist and the TROPIC Listing do
    not disclose an acetone solvate form of cabazitaxel. Pet. 38. Petitioner,
    however, relies on Didier’s teaching of the preparation of an acetone solvate
    form of cabazitaxel where the “mean value of the content of acetone is 7%.”
    Id. at 38–39 (citing Ex. 1011, 2:39–42). Claim 2 of Didier teaches an
    acetone solvate form of cabazitaxel “comprising from about 5 to about 7
    percent by weight of acetone.” Ex. 1011, 4:1–5. Didier also states that
    cabazitaxel “exhibits noteworthy anticancer and antileukemic properties,”
    which suggests the potential use of an acetone solvate form of the drug for
    cancer treatment. Ex. 1011, 1:22–23; Ex. 1002 ¶ 141.
          Petitioner, relying on Dr. Seth’s testimony, argues that a POSA would
    have known that non-aqueous solvates, such as acetone, could improve the
    water solubility of highly lipophilic taxanes. Pet. 39 (citing Ex. 1002 ¶¶ 80–
    81 (discussing Liu18)). Given that the TROPIC Listing discloses cabazitaxel
    administration by intravenous infusion (Ex. 1008, 2), Petitioner argues a
    POSA would have had strong reasons to prepare cabazitaxel in a solvate


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      Liu, Water-Insoluble Drug Formulation, Chapter 15, 525–68 (CRC Press
    2000) (“Liu”). Ex. 1025.
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    form to “enable the drug’s dissolution into an aqueous solution suitable for
    intravenous infusion into a patient.” Pet. 39 (citing Ex. 1002 ¶ 142).
    Petitioner argues that Didier would have motivated a POSA to select acetone
    as the solvate of choice for cabazitaxel, at a 7% acetone weight ratio and
    with a reasonable expectation of success, because Didier expressly discloses
    and validates this particular crystalline form of cabazitaxel. Id. at 39–40
    (citing Ex. 1002 ¶ 142; Ex. 1011, 2:39–42, 4:1–5).
          Patent Owner challenges Petitioner’s evidence, particularly Liu, as
    failing to support a motivation for a POSA to select Didier’s acetone solvate
    form of cabazitaxel for use in the intravenous treatment method disclosed in
    the TROPIC Listing. PO Resp. 47–49. Patent Owner argues that Liu does
    not support Dr. Seth’s opinion because, when a highly lipophilic drug such
    as cabazitaxel presents a solubility problem, Liu suggests the use of other
    techniques including co-solvents, pro-drugs, emulsions, surfactants, and
    liposomes rather than alteration of the solid state form of the drug compound
    (e.g., forming a solvate) to achieve the requisite solubility. Id. at 47–48
    (citing Ex. 1025, 526–27; Ex. 2069). Patent Owner further argues that Liu’s
    list of solvents, including acetone, are not suitable for pharmaceutical
    preparations due to “potential toxicity” and do not support Petitioner’s
    asserted motivation to combine. Id. at 48 (citing Ex. 1025, 529, 531; Ex.
    2057, 67381, 67383).
          We are persuaded by a preponderance of the evidence that a POSA
    would have been motivated by the teachings of Didier, with a reasonable
    expectation of success, to use an acetone solvate form of cabazitaxel at a
    weight ratio of approximately 7% to solubilize cabazitaxel for intravenous
    administration. Although Patent Owner emphasizes the general teaching of
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    Liu that alternate solubility techniques were available to solubilize lipophilic
    molecules, Patent Owner does not effectively rebut the fact that the claimed
    acetone solvate form of cabazitaxel, and a method for preparing it, is
    expressly disclosed in Didier. Moreover, as to Liu, a reference does not
    teach away if it expresses a general preference for an alternative approach
    from among known options available to a POSA, particularly if the
    reference does not “criticize, discredit, or otherwise discourage the solution
    claimed.” In re Fulton, 391 F.3d 1195, 1201 (Fed. Cir. 2004). Liu’s
    statement that alteration of a molecule’s solid state “may have little effect on
    its solubility” is not a criticism, disparagement, or other teaching away from
    the use of an acetone solvate form of cabazitaxel. Liu goes on to note that
    disrupting the crystal lattice structure to increase solubility “can be done by
    altering the crystal form (polymorphs or solvates/hydrates).” Ex. 1025, 527–
    28. Such a teaching is entirely consistent with the teachings of Didier and
    the knowledge of a POSA that formation of an acetone solvate was a known
    option, among others, for improving solubility of lipophilic molecules.
          We acknowledge Patent Owner’s evidence regarding “potential
    toxicity” of solvents such as acetone used to formulate a drug product (Ex.
    1025; Ex. 2057), but the cited FDA guidance considers acetone to be a Class
    3 solvent that “may be regarded as less toxic and of lower risk to human
    health” than Class 1 or Class 2 solvents, which are to be avoided altogether
    or very strictly limited. Ex. 2057, 67380–81. The FDA guidance states that
    “Class 3 includes no solvent known as a human health hazard at levels
    normally accepted in pharmaceuticals.” Id. at 67381. In short, low levels of
    acetone – “50 mg per day or less” – in a pharmaceutical product “would be
    acceptable without justification.” Id. The FDA Guidance provides
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    meaningful context for Liu’s general comment regarding the “potential
    toxicity” of “other solvates” apart from hydrates and anhydrous solid state
    forms. Ex. 1025, 531. Patent Owner does not provide evidence to suggest
    that the levels of acetone in Didier’s acetone solvate form of cabazitaxel (a
    5% to 7 % weight ratio, Ex. 1011, 4:1–5) would run afoul of the FDA
    Guidance for acceptable acetone levels if administered intravenously at a 25
    mg/m2 dose as disclosed in Winquist and the TROPIC Listing.
          We also credit Dr. Seth’s testimony that “it was well known in the art
    as of October 29, 2009 that non-aqueous solvates, including acetone
    solvates, could be used to make soluble forms of taxanes suitable for
    intravenous delivery.” Ex. 1002 ¶ 80; Ex. 2177, 176:6–177:2. Although
    hydrates and anhydrous forms of taxanes also were known (PO Resp. 48–
    49), we are persuaded by Dr. Seth’s testimony that any question regarding
    potential toxicity from the use of acetone solvates did not amount to a
    teaching away from their use in favor of hydrates and anhydrous crystalline
    forms. Ex. 2177, 177:4–19 (“a POSA in 2009, acetone most likely would be
    the most readily available usage.”), 179:23–180:7 (“[I]n 2009 we were -- I
    had used acetone in my fellowship at Stony Brook”), 180:26–181:10 (“[I]n
    2009 that's a fair statement to say that a POSA could choose probably
    ethanol versus acetone. It would be a 50/50 choice.”). Dr. Seth’s testimony
    also persuades us, on balance, that the use of an acetone solvate form of
    cabazitaxel for intravenous delivery, as disclosed in Winquist and the
    TROPIC Listing, would not have presented a toxicity problem of such
    magnitude that it would tip the evidentiary scales in favor of Patent Owner
    on this issue.


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          Therefore, for the reasons given above, we determine Petitioner has
    proved by a preponderance of the evidence that dependent claims 3 and 4 of
    the ’592 patent are unpatentable as obvious under 35 U.S.C. § 103.

          D. Ground 3: Asserted Obviousness of Claims 7–9 Over Winquist,
             the TROPIC Listing, and Mita

          Petitioner argues that the pharmacokinetic (“PK”) profile limitations
    recited in dependent claims 7–9 of the ’592 patent would have been obvious
    to a POSA based on Winquist, the TROPIC Listing, and Mita. Pet. 40–41.
    Claims 7–9 each depend from claim 1. Petitioner notes that Mita expressly
    discloses the AUC and Cmax concentrations recited in claims 7 and 8,
    respectively, and a plasma clearance rate that falls within the range recited in
    claim 9. Id. (citing Ex. 1002 ¶¶ 104, 145–148; Ex. 1012, 729). Petitioner
    argues that claims 7–9 recite pharmacokinetic parameters that are merely the
    result of administering cabazitaxel at a dose of 25 mg/m2 every three weeks.
    See Ex. 1002 ¶ 56, discussing Ex. 1001, 18:36–49. As stated previously,
    Winquist and the TROPIC Listing together disclose administration of a 25
    mg/m2 intravenous dose of cabazitaxel every three weeks. The testimony of
    Dr. Seth supports a finding that such administration necessarily results in the
    PK profile distribution ranges recited in claims 7–9. Ex. 1009, 3948; Ex.
    1002 ¶¶ 124–125.
          Patent Owner does not address the substance of Ground 3 in its
    Response. See PO Resp. 21.
          We agree with Petitioner’s argument and analysis and adopt the
    underlying evidence in support as our own fact findings. Pet. 40–41.
    Therefore, we determine Petitioner has proved by a preponderance of the

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    evidence that dependent claims 7–9 of the ’592 patent are unpatentable as
    obvious under 35 U.S.C. § 103.

          E. Asserted Obviousness of Dependent Claims 10, 11, 13, and 14
          We first address claims 10 and 11, then turn our attention to claims 13
    and 14.
              1. Claims 10 and 11
          Claim 10 depends from claim 1 and recites an additional method step
    of “monitoring blood counts and measuring neutrophil levels in the patient.”
    Claim 11 depends from claim 10 and adds “discontinuing cabazitaxel
    treatment in a patient with a neutrophil count of ≤1,500cells/mm3.”
    Neutrophils are a type of white blood cell produced by bone marrow, and
    neutrophil counts are monitored during treatment. Ex. 1002 ¶ 61.
          Petitioner argues that the subject matter of claims 10 and 11 would
    have been obvious over Winquist, the TROPIC Listing, and Tannock. Pet.
    41–42. Patent Owner does not address the substance of claims 10 and 11 in
    its Response. See PO Resp. 21. We address Petitioner’s evidence below.
          Tannock discloses the results of a phase III clinical study comparing
    administration of (i) docetaxel and prednisone with (ii) mitoxantrone and
    prednisone, in mCRPC patients. Ex. 1013, 1502–1503. Tannock teaches
    that neutrophil counts need to be monitored during therapy and a dose
    reduction or treatment delay should be implemented if the neutrophil count
    is less than 1,500 cells/mm3. Ex. 1013, 1503 (Col. 2 ¶ 2)–1504 (Col. 2 ¶ 2);
    Ex. 1002 ¶ 150. According to Tannock, “[a] dose reduction or treatment
    delay was . . . stipulated for patients who had an absolute neutrophil count of
    less than 1500 per cubic millimeter.” Ex. 1013, 1504 (Col. 2 ¶ 2).

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          Dr. Seth testifies that it was “well known in the art that administering
    taxanes to patients often results in reduced neutrophil counts, and that care
    must be taken to monitor neutrophil levels in patients undergoing
    chemotherapy with taxanes for this reason.” Ex. 1002 ¶ 151 (referencing
    ¶¶ 61–62 and citing Ex. 1010, 1550 (“[n]eutropenia was the most common
    grade 3/4 hematological [adverse effect]” in administration of cabazitaxel.)).
    Dr. Seth further testifies that a POSA “would have readily appreciated the
    need to monitor neutrophil levels and discontinue or postpone treatment if
    they fell below 1,500 cells per cubic millimeter when administering a
    taxane, as taught by Tannock.” Id. (citing Ex. 1013, 1503–1504). We credit
    Dr. Seth’s testimony, which is fully supported by the teachings of Tannock.
    Therefore, we determine that it would have been obvious to a POSA in view
    of Tannock to monitor blood counts and measure neutrophil count levels
    during cabazitaxel therapy in accordance with Winquist and the TROPIC
    Listing, and to discontinue or postpone treatment if the neutrophil count was
    less than 1,500 cells/mm3.
             2. Claims 13 and 14
          Claim 13 depends from claim 1 and recites a Markush group of
    corticoids “consisting of prednisone and prednisolone.” Claim 14 depends
    from claim 13 and recites a corticoid dose of “10 mg/day.” Petitioner argues
    that the subject matter of claim 13 would have been obvious over Winquist
    and the TROPIC Listing and the subject matter of claim 14 obvious over
    Winquist, the TROPIC Listing, and Tannock. Pet. 31, 42–43.
          Patent Owner argues that Petitioner has not shown why a POSA
    would have used prednisone in combination with cabazitaxel, let alone at a


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    dose of 10 mg/day. PO Resp. 45–46. We address the parties’ arguments
    below.
          Winquist and the TROPIC Listing expressly teach administering
    cabazitaxel in combination with prednisone, although a prednisone dose is
    not specified. Ex. 1009, 3948; Ex. 1008, 1. Dr. Seth testifies that combining
    taxanes, such as docetaxel, with prednisone for the treatment of prostate
    cancer was well known in the art. Ex. 1002 ¶ 62. Tannock teaches treating
    metastatic prostate cancer with docetaxel and prednisone, the prednisone
    being administered at a dose of 10 mg/day. Ex. 1013 at 1502, 1504 (Col. 1
    ¶ 3). According to Tannock, a 10 mg/day dose of prednisone provides
    palliative care (pain relief) to some patients with prostate cancer. Id. at 1503
    (Col. 1 ¶ 2); Ex. 1002 ¶ 153. Dr. Seth testifies that a POSA would have used
    the same 10 mg/day dose of prednisone described in Tannock to maintain
    palliative relief in mCRPC patients treated with cabazitaxel. Ex. 1002
    ¶¶ 152–153.
          Patent Owner invokes the risk of side effects from long-term
    corticosteroid use, the availability of alternatives to prednisone such as
    estramustine, and the availability of other prednisone dosing regimens to
    argue that the subject matter of claims 13 and 14 would not have been
    obvious to a POSA. PO Resp. 45–46. Dr. Sartor testifies that the only
    available data on the use of cabazitaxel in prostate cancer, reported in Attard
    and Mita, “was of cabazitaxel alone, not in combination with a corticoid.”
    Ex. 2176 ¶ 176. Dr. Sartor further testifies that a POSA would have been
    aware that docetaxel in combination with estramustine “and without
    prednisone” was shown to have provided an overall survival benefit in
    mCRPC patients. Id. Dr. Sartor provides similar testimony regarding the
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    use of mitoxantrone in combination with hydrocortisone. Id. ¶ 177. We are
    not persuaded by these arguments because Winquist and the TROPIC
    Listing disclose administration of cabazitaxel and prednisone to treat
    docetaxel-refractory mCRPC patients, not cabazitaxel and estramustine,
    cabazitaxel alone, or some other combination. See Ex. 1043 ¶ 11. In short,
    the combination treatment recited in claim 13 is expressly disclosed in the
    prior art.
           We also are not persuaded that long-term side effects or the
    uncertainty of whether prednisone would provide a palliative benefit (Ex.
    2176 ¶ 176) would have been sufficient for a POSA to override the express
    teaching of Winquist and the TROPIC Listing to administer cabazitaxel in
    combination with prednisone. As stated previously, Tannock taught that a
    10 mg/day dose of prednisone provides palliative care (pain relief) to some
    patients with prostate cancer. Ex. 1013, 1503 (Col. 1 ¶ 2); Ex. 1002 ¶ 153.
    As Petitioner notes, Patent Owner’s arguments are also undercut by prior art
    evidence of the routine administration of prednisone with mitoxantrone in
    post-docetaxel mCRPC patients. Ex. 1041, 235:2–236:4; Ex. 1043 ¶¶ 11–
    13; Ex. 2083, 307 (Col. 2 ¶ 2); Ex. 2111, 1, 9–12, 14, 27; Ex. 2176 ¶¶ 36,
    38–39; Ex. 2177, 46:22–47:19. Therefore, we find a preponderance of the
    evidence establishes that it would have been obvious in view of Winquist,
    the TROPIC Listing, and Tannock for a POSA to treat docetaxel-refractory
    mCRPC patients with cabazitaxel in combination with 10 mg/day
    prednisone for palliative relief. Ex. 1002 ¶ 153.
           For the reasons given above, we determine Petitioner has proved by a
    preponderance of the evidence that dependent claims 10, 11, 13, and 14 of
    the ’592 patent are unpatentable as obvious under 35 U.S.C. § 103.
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           III.   PATENT OWNER’S CONTINGENT MOTION TO AMEND


          We have concluded that claims 1–5 and 7–30 of the ’592 patent are
    unpatentable. Therefore, we address Patent Owner’s contingent motion to
    enter proposed substitute claims 31–34. MTA 1, App. (claims 31–34). For
    the reasons that follow, Patent Owner’s motion is denied.
          As the moving party, Patent Owner bears the burden of proving
    patentability of each proposed substitute claim. 37 C.F.R. § 42.20(c); see
    Nike, Inc. v. Adidas AG, 812 F.3d 1326, 1334 (Fed. Cir. 2016) (“[T]he Board
    permissibly interpreted [37 C.F.R. § 42.20(c)] as imposing the burden of
    proving patentability of a proposed substitute claim on the movant: the
    patent owner.”). Specifically, Patent Owner has the burden of proving that
    the substitute claims are patentably distinct over the prior art of record in the
    proceeding. See Microsoft Corp. v. Proxyconn, Inc., 789 F.3d 1292, 1307–
    08 (Fed. Cir. 2015); MasterImage 3D, Inc. v. RealD Inc., Case IPR2015–
    00040 (PTAB July 15, 2015) (Paper 42) (precedential); Idle Free Systems,
    Inc. v. Bergstrom, Inc., Case IPR2012–00027 (PTAB June 11, 2013) (Paper
    26) (informative); but see In re Aqua Products, No. 2015–1177, 2016 WL
    4375651, at *1 (Fed. Cir. Aug. 12, 2016) (granting rehearing en banc to
    address burdens of persuasion and production regarding motions to amend
    under 35 U.S.C. § 316(d) and vacating In re Aqua Products, 823 F.3d 1369
    (Fed. Cir. 2016)). For the reasons explained below, we conclude that Patent
    Owner has not met its burden with respect to the proposed substitute claims.




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          A. Proposed Substitute Claim 31

          Proposed substitute claim 31 is reproduced below, with added text
    underlined and deleted text indicated by a single strike-through, followed by
    a clean version of the final claim language:

                 31. (substitute for Claim 27, if found unpatentable) A
                 method of increasing [the] survival [of a patient]
                 comprising administering to a patient in need thereof (i)
                 an antihistamine, (ii) a corticoid, (iii) an H2 antagonist, and
                 (iv) a dose of 20 to 25 mg/m2 of cabazitaxel, or a hydrate
                 or solvate thereof, wherein said antihistamine, said
                 corticoid, and said H2 antagonist are administered prior to
                 said dose of 20 to 25 mg/m2 of cabazitaxel, or hydrate or
                 solvate thereof, in combination with prednisone or
                 prednisolone, wherein said patient has [with a] castration
                 resistant or hormone refractory, metastatic prostate cancer
                 that has progressed during or after treatment with
                 docetaxel [, comprising administering a dose of 20 to 25
                 mg/m2 of cabazitaxel, or a hydrate or solvate thereof, to
                 the patient in combination with prednisone or
                 prednisolone].


                 31.     A method of increasing survival comprising
                 administering to a patient in need thereof (i) an
                 antihistamine, (ii) a corticoid, (iii) an H2 antagonist, and
                 (iv) a dose of 20 to 25 mg/m of cabazitaxel, or a hydrate
                 or solvate thereof, wherein said antihistamine, said
                 corticoid, and said H2 antagonist are administered prior to
                 said dose of 20 to 25 mg/m2 of cabazitaxel, or hydrate or
                 solvate thereof, in combination with prednisone or
                 prednisolone, wherein said patient has castration resistant
                 or hormone refractory, metastatic prostate cancer that has
                 progressed during or after treatment with docetaxel.
    MTA, App’x. Substitute claim 31, as compared to claim 27, still requires
    administering a dose of 20 to 25 mg/m2 of cabazitaxel, or a hydrate or
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    solvate thereof, in combination with prednisone or prednisolone to a patient
    with castration resistant or hormone refractory metastatic prostate cancer
    (mCRPC) that has progressed during or after treatment with docetaxel
    (docetaxel refractory). Substitute claim 31 amends the preamble to recite a
    “method of increasing survival” followed by “comprising administering to a
    patient in need thereof,” the construction of which is disputed by the parties.
    MTA 1, 7–8; MTA Opp. 2–6; MTA Reply 1–3. Substitute claim 31 further
    limits original claim 27 by reciting the administration of an antihistamine, a
    corticoid, and an H2 antagonist prior to administering the 20 to 25 mg/m2
    dose of cabazitaxel (hereafter “the premedication regimen”). MTA 2.
          Patent Owner states that the proposed substitute claims add elements
    to claims 27–30 of the ’592 patent and do not remove any limitations. Id. at
    1–2. Therefore, Patent Owner contends, the proposed substitute claims are
    not broader than the original claims. Id.; 35 U.S.C. § 316(d)(3); 37 C.F.R.
    § 42.121(a)(2). We agree. The proposed substitute claims are not broader
    than claims 27–30, and Petitioner does not contend otherwise. See generally
    MTA Opp.
          Substitute claims 32–34 depend directly from substitute claim 31, and
    they are substantively identical to original claims 28–30, except for
    substitute claim 33. Id. Substitute claim 33 is further amended to require
    that administration of the antihistamine, corticoid, and H2 antagonist also
    occur as a new cycle every three weeks. Id. Patent Owner’s proposed
    substitute claims 31–34 also represent a one-for-one substitution of original
    claims 27–30 in compliance with our rules. 37 C.F.R. § 42.121(a)(3).




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          B. Claim Construction

          In inter partes review, the claims of an unexpired patent are
    interpreted using the broadest reasonable construction in light of the
    specification of the patent in which they appear. 37 C.F.R. § 42.100(b);
    Cuozzo Speed Techs., LLC v. Lee, 136 S. Ct. 2131, 2144–46 (2016). Under
    that standard, claim terms are given their ordinary and customary meaning,
    as would be understood by one of ordinary skill in the art in the context of
    the entire disclosure. In re Translogic Tech., Inc., 504 F.3d 1249, 1257
    (Fed. Cir. 2007). Any special definition for a claim term must be set forth in
    the specification with reasonable clarity, deliberateness, and precision. In re
    Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994).
          We determine that only the following claim phrase requires explicit
    construction for purposes of deciding Patent Owner’s contingent motion to
    amend claims 27–30. See, e.g., Wellman, Inc. v. Eastman Chem. Co., 642
    F.3d 1355, 1361 (Fed. Cir. 2011) (“[C]laim terms need only be construed ‘to
    the extent necessary to resolve the controversy.’” (quoting Vivid Techs., Inc.
    v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999))).

          “A method of increasing survival comprising administering to a
          patient in need thereof”
          Patent Owner argues that the preamble in substitute claim 31, “[a]
    method of increasing survival,” is limiting as a “statement of intentional
    purpose for how the method is to be performed.” MTA, 7 (citing Jansen v.
    Rexall Sundown, Inc., 342 F.3d 1329, 1333 (Fed. Cir. 2003)). Patent
    Owner’s claim construction attempts to tie “administering to a patient in
    need thereof” back to the preamble, such that the preamble means “a method
    that prolongs the life of a patient as compared to no treatment or palliative
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    treatment.” Id. at 8; MTA Reply 1. From this claim construction, Patent
    Owner argues the substitute claims are patentable because the prior art does
    not contain survival data necessary to teach a POSA that the claimed method
    would increase “overall survival” in docetaxel-refractory mCRPC patients.
    MTA 10–17. Patent Owner’s claim construction and reliance on Jansen is
    misplaced.
          Jansen is distinguishable from the present case because it was an
    infringement case that required the court to construe the subject claim “so as
    to sustain [its] validity, if possible.” Whittaker Corp. v. UNR Indus., 911
    F.2d 709, 712 (Fed. Cir. 1990) (citing ACS Hosp. Sys., Inc. v. Montefiore
    Hosp., 732 F.2d 1572, 1577 (Fed. Cir. 1984)). In contrast, in an inter partes
    review, a claim must be given its broadest reasonable interpretation. In
    Jansen, moreover, the patent owner argued that the claimed method of
    treating anemia covered administration of the recited vitamin composition to
    those “in need thereof,” which, according to the patent owner, meant “all
    people,” i.e., even people who did not know they needed to prevent or treat
    anemia. Jansen, 342 F.3d at 1331, 1333–34. The court rejected patent
    owner’s infringement contention and “strictly construed” the claims to
    define the patient population needing treatment, particularly in view of
    prosecution amendments that added the preamble and the “in need thereof”
    phrase to gain allowance of the claims. Id. The court concluded that the
    vitamin composition “must be administered to a human with a recognized
    need to treat or prevent macrocytic-megaloblastic anemia.” Id. at 1334. In
    contrast, here, substitute claim 31 (and original claim 27) already defines a
    patient needing treatment in the body of the claim as a docetaxel-refractory
    mCRPC patient.
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          We agree with Petitioner’s analysis that, in contrast to Jansen, to the
    extent “a patient in need thereof” refers to the preamble phrase “a method of
    increasing survival,” it merely provides additional description of the patient
    in need of treatment, not some “intentional purpose” for how the treatment
    method is to be practiced in a defined patient population. MTA Opp. 3–4.
    Jansen, moreover, does not support Patent Owner’s implicit proposal that
    the preamble imposes a claim requirement that the method must result in an
    increase in “overall survival” in a population of patients. See, e.g., MTA 10
    (“No Prior Art Disclosed or Suggested 20–25 mg/m2 of Cabazitaxel . . .
    Would Increase Overall Survival.”), 13 (“[P]hase I and II studies for
    cabazitaxel could not have determined whether cabazitaxel prolonged
    overall survival. . . . [T]umor responses and PSA reductions were not
    validated surrogates for overall survival in CRPC.”). The preamble in
    substitute claim 31 describes a patient in need of “increasing survival”; it
    does not impose achieving a clinically-defined result of “overall survival” or
    “median survival” of a patient population. See Ex. 1001, 11:4–5 (“overall
    survival (OS): the time from inclusion [in] the study to the date of death”),
    11:29–31 (“patients receiving cabazitaxel demonstrated statistically
    significant longer overall survival (OS) compared to mitoxantrone
    (p˂0.0001).”), 11:35–37 (“The median survival for patients in the
    cabazitaxel group was 15.1 months in comparison to 12.7 months in the
    mitoxantrone group.”).
          Rapoport and Glenmark also do not support Patent Owner’s proposed
    claim construction. MTA 7; MTA Reply 2. In Rapoport, there was no
    dispute that the preamble was a limitation of the treatment method (“limited
    to treatment of the underlying sleep apnea disorder itself”), because
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    otherwise the claim term “‘to a patient in need of such treatment’ would not
    have proper antecedent basis.” Rapoport v. Dement, 254 F.3d 1053, 1059
    (Fed. Cir. 2001) (emphasis added). Limiting the claim to an intent to treat
    sleep apnea disorder itself, rather than more broadly encompassing treatment
    of anxiety secondary to sleep apnea, as proposed by patent applicant, was
    based on the specific language of the claim and specification at issue, which
    are distinguishable from the language of substitute claim 31. Id. at 1058–59.
    Similarly, the intent requirement in Glenmark was based on the specific
    language of that claim and preamble, which provided antecedent basis for
    several claim terms, and without which the claim lacked a complete
    description of the type of patient to be treated. Sanofi v. Glenmark Pharms.
    Inc., No. 14-264, 2015 WL 5092631, at *10 (D. Del. Aug. 28, 2015).
           Patent Owner also argues that the preamble is limiting because Patent
    Owner “relies on” increased survival to “distinguish prior art.” MTA 8.
    Patent Owner, thus, invites the Board to treat its claim construction
    arguments prospectively as a prosecution disclaimer. However, “the PTO is
    under no obligation to accept a claim construction proffered as a prosecution
    history disclaimer.” Tempo Lighting, Inc. v. Tivoli, LLC, 742 F.3d 973, 978
    (Fed. Cir. 2014); see also In re Lockwood, 679 F. App’x 1021, 1027 (Fed.
    Cir. 2017) (quoting Tempo Lighting). We decline to do so here.
           To the extent the preamble in substitute claim 31 may be considered
    limiting at all, it refers only to a patient in need of increased survival, i.e., a
    docetaxel-refractory mCRPC patient, the type of terminally-ill patient
    already defined in the body of the claim (“wherein said patient has castration
    resistant or hormone refractory, metastatic prostate cancer that has
    progressed during or after treatment with docetaxel”). See Ex. 1043 ¶ 10
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   (“one of the purposes of administering a taxane (such as docetaxel or
   cabazitaxel) to a patient with mCRPC that has progressed during or after
   docetaxel is to prolong the survival of that patient.”); Ex. 2176 ¶¶ 35
   (“mCRPC was an incurable condition; therefore, the goals of therapy were
   to . . . attempt prolongation of life.”), 162 (same). As Dr. Sartor testified at
   deposition, “virtually all” docetaxel-refractory mCRPC patients are in need
   of a method of increasing survival. Ex. 1098, 431:4–17. Furthermore, as we
   stated in Section II.A.3., above, Bristol-Myers Squibb is relevant precedent
   and stands for the proposition that a method of treatment preamble stating
   the intended purpose of the treatment does not impose a result limitation on
   the recited method steps. See 246 F.3d at 1375–76 (affirming district court’s
   construction of the method of treatment claims “as limited only to the actual
   steps of those claims, without regard to the result of performing the claimed
   steps”). Therefore, Patent Owner’s argument that the preamble of substitute
   claim 31 imposes an “intentional purpose” or result (“overall survival”)
   limitation on the recited method steps is unpersuasive and contrary to
   Federal Circuit precedent.
         For the reasons given above, we decline to adopt Patent Owner’s
   proposed claim construction.

         C. Obviousness of the Substitute Claims

         Patent Owner’s nonobviousness argument comprises two components.
         Patent Owner first argues, as previously noted, that the prior art does
   not disclose or suggest that 20–25 mg/m2 of cabazitaxel in combination with
   prednisone or prednisolone would increase overall survival. MTA 10–18.
   Patent Owner’s first argument is based on Patent Owner’s proposed claim

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    construction, which we have declined to adopt. The argument also reflects
    the errant approach of implicitly defining a reasonable expectation of
    “success” as requiring a clinically effective treatment, where clinical results
    establish an increase in overall survival in the context of a phase III clinical
    trial designed for FDA approval. Id. at 12–13 (“These references merely
    state that the primary endpoint of the TROPIC Study is overall survival. . . .
    However, no results of the [phase III] study were reported.”), 13 (“[P]hase I
    and II studies for cabazitaxel could not have determined whether cabazitaxel
    prolonged overall survival”), 14 (“These [other CRPC] therapies . . . failed
    to prolong overall survival in phase III studies.”), 16 (“Mita . . . and Pivot
    . . . failed to provide a POSA with a reasonable expectation that cabazitaxel
    therapy could prolong overall survival of mCRPC patients who had failed
    docetaxel therapy.”). We again reject the argument for the same reasons
    given in Section II.B.4., above.
          Patent Owner’s second argument is that a POSA would not have been
    motivated to use the claimed premedication regimen prior to cabazitaxel
    therapy. Id. at 18–24. Patent Owner argues that a POSA would not have
    been so motivated because what was known about cabazitaxel therapy did
    not suggest “a concern over hypersensitivity reactions or fluid retention with
    respect to cabazitaxel administration.” Id. at 19 (citing Ex. 2176 ¶¶ 241–
    245, 247, 250). Patent Owner further emphasizes a lack of motivation
    because the levels of hypersensitivity reactions and fluid retention observed
    in docetaxel and paclitaxel patients were “far greater” than those observed in
    cabazitaxel patients as reported in Mita and Pivot. Id. at 20–23 (citing Ex.
    2176 ¶¶ 246, 249, 252–256). If anything, Patent Owner argues, the prior art
    teaches away from administering the claimed premedication regimen
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    because of known side effects due to premedication with H2 antagonists. Id.
    at 20, 23–24 (citing Ex. 2176 ¶¶ 257–262).
          Petitioner persuasively establishes that the recited premedication
    regimen – administration of an antihistamine, a corticoid, and an H2
    antagonist – was well known as a prophylactic treatment for potential
    hypersensitivity reactions (“HSRs”) in paclitaxel (Taxol) and docetaxel
    (Taxotere) therapies. MTA Opp. 10 (citing Ex. 1043 ¶¶ 44–46), 15–19
    (citing Ex. 1043 ¶¶ 52–55, 64–69). We agree with Petitioner that a person
    of ordinary skill would have been motivated to use the same prior art taxane
    premedication regimen to decrease the risk of HSRs associated with
    cabazitaxel treatment. As Petitioner points out, Pivot reported a 4% rate of
    severe (grades 3–5) hypersensitivity reactions in metastatic breast cancer
    patients receiving cabazitaxel therapy after antihistamine (anti-H1)
    pretreatment, a rate Dr. Sartor characterized as a “crazy high number.”
    Paper 84 (“Observ.”) ¶ 11 (citing Ex. 1041, 216:15–19); see also Ex. 1010,
    1550 (Col. 2 ¶ 1), 1551 (Col. 2 ¶ 2). Therefore, although the rate of HSRs
    may have been lower when compared to paclitaxel and docetaxel therapy,
    we are persuaded a POSA still would have been motivated to prevent severe
    hypersensitivity reactions to cabazitaxel therapy by using a more thorough
    premedication regimen than the stand-alone antihistamine disclosed in Pivot.
    Ex. 1043 ¶¶ 64, 68–69.
          An established taxane premedication regimen, comprising an
    antihistamine, corticoid, and H2 antagonist used in connection with both
    paclitaxel (Taxol) and docetaxel (Taxotere) therapies, was known and
    available as a predictable use according to its established function of
    preventing or treating hypersensitivity reactions in prostate and breast cancer
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    patients. Id.; see KSR, 550 U.S. at 420 (claimed subject matter may be
    proved obvious when “there existed at the time of invention a known
    problem for which there was an obvious solution encompassed by the
    patent’s claims.”). The Taxol Label (paclitaxel) states that “to avoid the
    occurrence of severe hypersensitivity reactions, all patients treated with
    TAXOL should be premedicated with corticosteroids (such as
    dexamethasone), diphenhydramine [an antihistamine] and H2 antagonists
    (such as cimetidine or ranitidine).” Ex. 2093, 24; see also id. at 39. Dr.
    Sartor testified that this “broad type of regimen had been kicked around” by
    2008 for use in taxane therapy. Ex. 1041, 211:22-23. Dr. Seth confirms the
    Taxol pretreatment regimen was known, and states that a POSA “would
    similarly be motivated to use the same three premedication drugs in
    cabazitaxel treatment of mCRPC as in paclitaxel treatments, to obtain a
    similar reduction in HSRs.” Ex. 1043 ¶¶ 55, 64.
          Patent Owner argues that the need for the Taxol pretreatment regimen
    was “attributable to the presence of Cremophor in the formulation” of Taxol.
    MTA 22–23 (citing Ex. 2093, 1, 27; Ex. 2089, 347; Ex. 2225, 18).
    However, multiple prior art references teach the use of the same Taxol
    pretreatment regimen to prevent HSRs in patients undergoing Taxotere
    (docetaxel) therapy, the formulation of which (like cabazitaxel) contains
    polysorbate 80 instead of Cremophor. MTA Opp. 15–16 (citing Ex. 1043
    ¶¶ 53–54, 65–67; Ex. 1046; Ex. 1047; Ex. 1048). We discuss those
    references below.
          Takenaka (Ex. 1046), published in 2008, describes a study
    administering 30 mg/m2 docetaxel in combination with estramustine for the
    treatment of mCRPC. Ex. 1043 ¶ 52; Ex. 1046, 106. Takenaka states that
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    “[d]examethasone 24 mg [a corticoid], diphenhydramine 50 mg [an
    antihistamine], and ranitidine 50 mg [H2 antagonist] were administered
    before the [docetaxel] infusion to prevent a hypersensitivity reaction.” Ex.
    1046, 106 (Col. 2 ¶ 3); see Ex. 1001, 6:56–61, 7:15–21; Ex. 1043 ¶ 66.
    Notably, the full, three-part pretreatment regimen was indicated and used
    with a much lower docetaxel dose (30 mg/m2) than the standard 75 mg/m2
    infusion dose indicated on the Taxotere label. Ex. 1024, 1. Takenaka’s
    teaching to use the Taxol three-part pretreatment regimen (Ex. 2093, 24, 39)
    to prevent HSRs in low-dose docetaxel therapy, weighs against Patent
    Owner’s argument that a POSA would not have used the pretreatment
    regimen with a 25 mg/m2 dose of cabazitaxel because of a presumed lower
    concentration of polysorbate 80. Ex. 1043 ¶¶ 65–66.
          Trudeau (Ex. 1047), published in 1996, reports that 60% of metastatic
    breast cancer patients experienced HSRs when docetaxel was administered
    without pretreatment, but “the use of a premedication regimen of oral
    dexamethasone and IV H1 and H2 blockers prevented significant HSRs.”
    Ex. 1047, 422 (Col. 1 ¶ 3), 424 (Col. 2 ¶ 2); Ex. 1043 ¶¶ 53, 67. Hudis (Ex.
    1048), also published in 1996, similarly reports on docetaxel treatment in
    metastatic breast cancer patients where, after observing two HSRs among
    the first six patients, “a variety of pretreatment regimens that incorporated
    diphenhydramine [an antihistamine], corticosteroids, and cimetidine [an H2
    blocker] were used.” Ex. 1048, 59 (Col. 2 ¶ 4). Accordingly, we credit Dr.
    Seth’s testimony that a POSA would have considered the use of the claimed
    pretreatment regimen of a corticosteroid, an antihistamine, and an H2
    antagonist as a well-known option for prevention of taxane-induced HSRs.
    Ex. 1043 ¶¶ 54, 65.
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          Patent Owner also contends that Mita would have taught away from
    using the claimed pretreatment regimen in connection with cabazitaxel
    therapy. MTA 19–20 (citing Ex. 1012; Ex. 2224, 2; Ex. 2176 ¶¶ 243–45,
    248). Patent Owner relies on Mita’s statement that “[b]ased on the results of
    this study, [cabazitaxel] does not require premedication, thus resulting in
    significant administration and convenience advantages.” Ex. 1012, 729.
    Mita was a relatively small dosing and PK study, and Dr. Sartor’s opinion
    states only that Mita “does not suggest that premedication was necessary for
    the safe administration of cabazitaxel.” Ex. 2176 ¶ 251. Dr. Sartor does not
    state that Mita would have taught a POSA not to use a three-part
    premedication regimen, such as that used for the administration of paclitaxel
    and docetaxel, to prevent or treat HSRs in connection with cabazitaxel
    therapy.
          Patent Owner’s argument also does not address persuasively the larger
    phase II cabazitaxel study disclosed in Pivot, which used an antihistamine
    pretreatment. MTA 19–20. Notwithstanding the earlier statement in Mita,
    Pivot teaches the use of an antihistamine pretreatment regimen in an effort to
    reduce allergic reactions. Ex. 1010, 1548 (Col. 2 ¶ 3). Pivot discloses that
    when administering cabazitaxel, the most common grade 3–5 non-
    hematological adverse event was HSR. Id. at 1550. Dr. Seth states that a
    4% rate of serious (grade 3 or higher) HSRs would be of concern to a POSA
    and would warrant the use of the claimed pretreatment regimen. Ex. 1043 ¶
    68. Furthermore, Pivot discloses one patient withdrawal due to “grade 4
    allergic reaction.” Ex. 1010, 1550 (Col. 2 ¶ 2). The grade 4 allergic reaction
    “would certainly qualify as an HSR,” and prevention of such allergic
    reactions “would be a strong motivation to use a paclitaxel-type regimen of
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    an antihistamine, a corticoid, and an H2 antagonist.” Ex. 1043 ¶ 68.
    Accordingly, when Mita is put in context with the Pivot study, we are
    persuaded Mita does not teach away from the use of the claimed
    premedication regimen to mitigate HSRs in patients receiving cabazitaxel
    therapy.
          Dr. Sartor agrees that a 4% rate of grade 3 or higher HSRs would have
    been serious enough to merit the use of preventative premedication. Ex.
    1041, 215:6–216:19. Dr. Sartor explains that, when considering
    premedication for taxanes, preventing HSRs is of paramount concern: “I
    think when you’re looking at safety, you really want to be very cautious
    because, I mean, the last thing you want to do is give the drug to somebody
    and they have a hypersensitivity reaction and die. And that’s a true
    disaster.” Id. at 211:23–212:4. In particular, the HSR rate disclosed by Pivot
    (4%) would provide a strong motivation to use premedication, because, as
    Dr. Sartor explains, “4 percent of people with a bad hypersensitivity is a
    crazy high number, scares the hell out of me.” Id. at 216:15–19. Dr. Sartor
    further explains that none of the claimed premedication drug products are
    dangerous:
                 Q. Aren't H2 antagonists extremely risky medications?
                 A. No. Why would you say that?

                 Q. What about Benadryl? Is that an extremely risky
                 medication?
                 A. No.

                 Q. What about dexamethasone?
                 A. In the way we use it, it’s not extremely risky. And it's
                 all about the risk/benefit anyway. We always incur risks.
                 We're going to incur risks when we go get on the elevator.

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                 But, you know, it’s about the proper amount of risk and
                 the benefit that it can be prescribed. Hypersensitivity
                 reactions -- I don’t want to be too distracting, but I had a
                 guy nearly die. … Anyway, the bottom line is it's a serious
                 matter because we’re talking about real health here. When
                 I look at the safety of Benadryl, I've had people get sleepy
                 on Benadryl. I've never had any real harm done.

    Id. at 217:20–219:5. Dr. Sartor also testified that “when we administer an
    agent known to be associated with hypersensitivity reactions, if there’s a
    method to help control those, then we use that.” Id. at 211:5–8. Thus, Dr.
    Sartor’s testimony weighs against Patent Owner’s teaching away argument
    and tends to confirm that preventing HSRs in patients receiving cabazitaxel
    therapy would have motivated a POSA to practice the method of the
    substitute claim, including the known taxane premedication regimen, with a
    reasonable expectation of success.
          Accordingly, the administration of the premedication regimen when
    administering cabazitaxel and prednisone for treating mCRPC patients, as
    recited in substitute claims 31–34, would have been obvious to a POSA in
    view of the Winquist, the TROPIC Listing, Pivot, and any one of Takenaka,
    Hudis, Trudeau, and the Taxol Label. Ex. 1043 ¶ 68.
          For the reasons given above, we determine Patent Owner has not
    proved by a preponderance of the evidence that proposed substitute claims
    31–34 are patentable.




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                             IV.    MOTIONS TO EXCLUDE


          Petitioner and Patent Owner each move to exclude certain evidence.
          Patent Owner filed a Motion to Exclude Exhibits 1089–1090. Paper
    61. Petitioner filed an Opposition (Paper 77 (under seal), Paper 78 (public
    version)), and Patent Owner filed a Reply (Paper 86). Exhibit 1089 is titled
    “Cabazitaxel IMS 2009-10 DollarsDoses (Confidential),” and Exhibit 1090
    is titled “Cabazitaxel IMS 2011-16 DollarsDoses (Confidential).” These
    exhibits are cited in Mr. McSorley’s Declaration in connection with sales
    figures, in dollars and prescriptions, of prostate cancer drugs. Ex. 1044,
    105–120. Mr. McSorley relies on Exhibits 1089 and 1090 for his
    Attachments 7.0–7.7 and 8.0–8.7, which are cited in Exhibit 1044 at ¶¶ 24–
    27, 48, 53, 57–58, 70.A (Figure H), 71.A (Figure I), 74.
          We do not rely on Exhibit 1089 or Exhibit 1090, or on Mr.
    McSorley’s Declaration in connection with Exhibits 1089 or 1090 to support
    our decision. Therefore, Patent Owner’s Motion to Exclude Exhibits 1089
    and 1090 is denied as moot.
           Petitioner filed a Motion to Exclude Exhibits 2170, 2171, and 2179
    and certain related paragraphs in Mr. Tate’s Declaration, Exhibit 2149.
    Paper 64 (under seal); Paper 68 (public version). Patent Owner filed an
    Opposition (Paper 72 (under seal), Paper 73 (public version)), and Petitioner
    filed a Reply (Paper 89 (under seal), Paper 95 (public version)). The
    exhibits are described as “Market Share with Docetaxel in Prior Treatment,
    Brand Impact by Alpha Impact Rx (June 2016)” (Ex. 2170), “Monthly
    Jevtana Prostate Cancer Treatment Report: August 2014 Results,
    BrandImpact by AlphaImpact Rx and Symphony Health Solutions
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    (September 2014)” (Ex. 2171), and “Underlying data for Market Share with
    Docetaxel in Prior Treatment, BrandImpact by AlphaImpact Rx (June
    2016)” (Ex. 2179). Mr. Tate references the exhibits in connection with sales
    and market share data in support of Patent Owner’s commercial success
    argument. For the reasons explained in Section II.B.4.d., above, we do not
    address the substance of Exhibits 2170, 2171, 2179 or the related paragraphs
    of Mr. Tate’s Declaration in our decision. Therefore, Petitioner’s Motion to
    Exclude Exhibits 2170, 2171, 2179, and the related paragraphs in Exhibit
    2149 is denied as moot.
          Petitioner also moves to exclude certain paragraphs of Dr. Sartor’s
    original declaration filed in support of Patent Owner’s Preliminary Response
    (Ex. 2001) and his Declaration filed in support of Patent Owner’s Response
    and MTA (Ex. 2176). Paper 64, 14–15. We do not rely on or reference
    Exhibit 2001 in our decision. Therefore, Petitioner’s Motion to Exclude
    paragraphs 83 and 98 of Exhibit 2001 is denied as moot.
          Petitioner contests the admissibility of paragraphs 63, 65, 90, 103–
    110, 152, 155, 167, and 207 of Exhibit 2176. We do not reference
    paragraphs 63, 65, 90, 103–109, 152, 155, or 167 in this Decision.
    Therefore, Petitioner’s motion as to those paragraphs is denied as moot.
          To the extent we reference paragraphs 110 and 207 of Exhibit 2176 in
    this Decision, the citations are only for purposes of setting out Patent
    Owner’s position. We do not address the substance of the testimony in those
    paragraphs. Therefore, Petitioner’s Motion to Exclude paragraphs 110 and
    207 of Exhibit 2176 is denied as moot.




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                               V.       CONCLUSION


          For the reasons given above, we determine Petitioner has shown by a
    preponderance of the evidence that claims 1–5 and 7–30 of the ’592 patent
    are unpatentable.
          We further determine Patent Owner has not proved by a
    preponderance of the evidence that proposed substitute claims 31–34 are
    patentable. Therefore, Patent Owner’s Contingent Motion to Amend claims
    27–30 with proposed substitute claims 31–34 is denied.
          We further deny the parties’ motions to exclude evidence as moot.
          This is a Final Written Decision. Parties to the proceeding seeking
    judicial review of the decision must comply with the notice and service
    requirements of 37 C.F.R. § 90.2.


                                    VI.   ORDER
          Accordingly, it is
          ORDERED that claims 1–5 and 7–30 of the ’592 patent have been
    proved to be unpatentable by a preponderance of the evidence;
          FURTHER ORDERED that proposed substitute claims 31–34 have
    not been shown to be patentable. Therefore, Patent Owner’s Contingent
    Motion to Amend claims 27–30 with proposed substitute claims 31–34 is
    denied.




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      (65)                  Prior Publication Data                       WO           WO 96/30355           10/1996
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      (51)   Int. CI.
             A6IK 31/337            (2006.01)                    Primary Examiner —James D Anderson
             A61K 31/573            (2006.01)                    (74) Attorney, Agent, or Firm —   Kelly L. Bender
             A61K 31/164            (2006.01)
             A6IK 31/56             (2006.01)                    (57)                  ABSTRACT
             A6 IK 45/06            (2006.01)
      (52)   U.S. CI.                                            The invention relates to a compound of           formula:
             CPC        .... A61K31/337 (2013.01); A61K31/164
                         (2013.01); A61K31/56 (2013.01); A61K
                                                                                                       CH3
                         31/573 (2013.01); A61K45/06     (2013.01)                                     I
             USPC                                     514/449         CH3 O                           o      o       .CH3
                                                                  H3C
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      (58)   Field of Classification Search                                              0
                                                                                              H3C              CH3I
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             CPC                     A61K 31/337; A61K 31/573     H3C           HN #
                                                                                                          CH3
             See application file for complete search history.                             'Oi i"'

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                                                                                                            MYLAN - EXHIBIT 1001

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          Number at Risk                        Time (Months^
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          CBZ+PRED   378            321         231         90           28            4
                                                                    (230CT2009-16:27)




                                               FIG. 1




                                                Appx186
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          Number at Risk                               Time (Months)
          MTX+PRED   377              105       52       27       9          6       4         2
          CBZ+PRED   378              168       90       52      15          4       0         0
                                                                                  2009-13:54




                                                     FIG. 2




                                                      Appx187
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                                                  Patient    Hazard ratio
        Factor                                    number        (95% CI)     ^Favors Cabazitaxel   Favors Mitoxantrone^
        All randomized patients                    755      0.70 (0.59-0.83)
        ECOG status: 0,1                           694      0.68 (0.57-0.82)
        ECOG status: 2                               61     0.81 (0.48-1.38)                 •­
        Measurable disease: No                     350      0.72 (0.55-0.93)            —•—
        Measurable disease: Yes                     405     0.68 (0.54-0.85)
        No. of prior chemotherapies: 1             528      0.67 (0.55-0.83)            -•—
        No. of prior chemotherapies: ^2             227     0.75 (0.55-1.02)            —•­
        Age: <65 years                              295     0.81 (0.61-1.08)             —•­
        Age: ^65 years                              460     0.62 (0.50-0.78)
        Rising PSA at baseline: No                 159      0.88 (0.61-1.26)                   •
        Rising PSA at baseline: Yes                583      0.65 (0.53-0.80)           —•­
        Total docetaxel dose: <225 mg/m^            59      0.96 (0.49-1.86)
        Total docetaxel dose: ^225 to 450 mg/m?     206     0.60 (0.43-0.84)           -•
        Total docetaxel dose: ^450 to 675 mg/m^     217     0.83 (0.60-1.16)             —•­
        Total docetaxel dose: ^675 to 900 mg/m^     131     0.73 (0.48-1.10)            —•­
        Total docetaxel dose: ^900 mg/m^           134      0.53 (0.47-0.90)
        Progression during docetaxel treatment      219     0.68 (0.57-0.82)           —•—
        Progression <3 months after docetaxel       339     0.70 (0.55-0.91)
        Progression ^3 months after docetaxel      192      0.75 (0.51-1.11)            —•-
                                                                            O       0.5       1      1.5        2
                                                                           Hazard ratio and 95% confidence interval




                                                            FIG. 3




                                                               Appx188
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                                    Improve                Stable           Worse
                                     (n=12)               (n=567)          (n=142)



                                                       EC0G Categories
                  Treatment
                     CBZ+PRED           4                   283              70
                 l=l MTX+PRED           8                   283              72




                                              FIG. 4




                                                   Appx189
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                                                  PPI Categories
                 Treatment
                    CBZ+PRED          4                283             70
                 •MTX+PRED            8                283             72




                                              FIG. 5




                                                 Appx190
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                                                FIG. 6




                                                 Appx191
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                                             FIG. 7




                                             Appx192
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            ANTITUMORAL USE OF CABAZITAXEL                                        It is generally accepted that the responses in advanced
                                                                               prostate cancers are difficult to evaluate on account of the
                 CROSS-REFERENCE TO RELATED                                    heterogeneity of the disease and the lack of consensus regard­
                        APPLICATIONS                                           ing the treatment response criteria. Many patients with meta-
                                                                          5    static prostate cancer have no measurable disease, but have
         This application is a continuation of International Appli­            symptoms dominated by bone metastases. Measurement of
      cation No. PCT/IB2010/054866, filed Oct. 27, 2010, which                 the PSA level has been found to be a means for evaluating
      claims the benefit of priority of U.S. Provisional Application           novel candidates and also the measurement of the tumour
      No. 61/256,160, filed Oct. 29, 2009, U.S. Provisional Appli­             when this is possible, the measurement of bone tumours, the
                                                                          10
      cation No. 61/293,903, filed Jan. 11, 2010, U.S. Provisional             quality of life and the measurement of the pain.
      Application No. 61/355,834, filed Jun. 17, 2010, U.S. Provi­                Furthermore, cancer may become resistant to the agents
      sional Application No. 61/355,888, filed Jun. 17, 2010, U.S.             used, in particular to taxanes, which limits the possible treat­
      Provisional Application No. 61/369,929, filed Aug. 2, 2010,              ment options. Several taxane resistance mechanisms have
      U.S. Provisional Application No. 61/383,933, filed Sep. 17,              been described (expression of P-glycoprotein P-gp, mdr-1
                                                                          15
      2010, and U.S. Provisional Application No. 61/389,969, filed             gene, modified metabolism of taxane, mutation of the tubulin
      Oct. 5, 2010, all of which are incorporated herein by refer-             gene, etc.): see Drug Resistance Updates 2001, 4(1), 3-8; J.
      ence.                                                                    Clin. One. 1999, 17(3), 1061-1070.
                                                                                  The technical problem that the invention intends to solve is
         The present invention relates to a novel antitumoral use of
                                                                               that of providing a novel therapeutic option for treating pros­
      cabazitaxel in the treatment of prostate cancer, which may be       20
                                                                               tate cancer, especially for patients who are not catered for by
      metastatic, especially for patients who are not catered for by
                                                                               a taxane-based treatment, such as patients with castration
      a taxane-based treatment. In particular, the present invention           resistant metastatic prostate cancer who have been previously
      relates to the use of cabazitaxel in the treatment of patients           treated with docetaxel (sold underthe brand name Taxotere®)
      with castration resistant metastatic prostate cancer, who have           based regimen, an unmet medical need.
      been previously treated with a docetaxel based regimen, an          25
                                                                                  Four clinical trials on cabazitaxel are known since April
      unmet medical need.                                                      2006. Three monotherapy tests have made it possible to deter­
                                                                               mine the maximum tolerated dose and the toxicities at the
                             BACKGROUND                                        limit doses: these tests were performed on breast, sarcoma
                                                                               and prostate tumours. Doses of 10-30 mg/m2 every three
         Prostate cancer affects a large proportion of the male popu-     30
                                                                               hours were used. A phase II trial was performed on patients
      lation worldwide: 680 000 cases worldwide in 2002; it is                 with a breast cancer, who had previously received taxanes and
      predicted that there will be 900 000 new cases per year up to            anthracyclines as adjuvant (i.e. after a surgery) or as a first-
      2010 (CA Cancer J. Clin., 2005, 55, 74-108). It is the most              line treatment. The response levels were 14.6% as adjuvant
      frequently occurring cancer in men after lung cancer.                    and 9.5% as second-line treatment.
         Prostate cancer is generally treated at the start by depriving   35
      the androgenic hormones, i.e. by surgical excision of the                                           SUMMARY
      testicles The Current State of Hormonal Therapy for Prostate
      Cancer CA Cancer J. Clin, May 2002; 52: 154-179, or by                     The invention relates to a novel antitumoral pharmaceuti­
      radiotherapy treatment External beam radiation therapy for               cal therapeutic use comprising cabazitaxel of formula
      prostate cancer CA Cancer J. Clin, November 2000; 50:               40
      349-375. Treatments with antiandrogens or hormone
      manipulations are associated with responses of short duration                                                           CH3
      and without any improvement in the survival time.                                                                       I     o           .CH3
                                                                                     CH3    O                                 o
         The use of cytotoxic chemotherapy is not a routine treat­             h3c
                                                                                                                                           O'
                                                                                                                   h3c                  CH31
      ment, whereas its role in alleviating the symptoms and reduc-       45                          H    O
      ing the levels of PSA (prostate-specific antigen) is estab­              h3c              HN                                ch3
      lished. No monotherapy has obtained a degree of response of                                              'Oi""
      greater than 30%; combinations with an effect on PSA levels                                    HO                                            to
      were tested. No effect on the survival time was seen and, what                                                              .cV a /
                                                                                                                         HO
      is more, the toxicity of these treatments, particularly on eld-
      erly patients, is problematic since, in addition to their tumour,
      they are generally suffering from related health problems and
      have a limited reserve of bone marrow.
                                                                          50
                                                                                                                         O;
                                                                                                                                         r
                                                                                                                                         o
                                                                                                                                                ch3




         Until recently, the chemotherapies used were limited to
      cyclophosphamide, anthracyclines (doxorubicin or mitox-             55
      antrone) and estramustine, and the effects of these treatments                                                     V
      are relatively mediocre. Palliative effects were observed in
      patients following the administration of corticoids alone or of            The invention also relates to methods of treating patients
      mitoxantrone with either prednisone or hydrocortisone. Fol­              with prostate cancer comprising administering an effective
      lowing Phase II trials, the combination of mitoxantrone with        60   amount of the antitumoral agent cabazitaxel to said patient,
      corticoids was recognized as the reference treatment for hor­              This antitumoral agent may be in the form of anhydrous
      mone-resistant prostate cancer. More recently, treatments                base, a hydrate or a solvate, intended for treating prostate
      with docetaxel in combination with estramustine or pred­                 cancer, in particular for treating patients who are not catered
      nisone have made it possible to treat cancers that are resistant         for by a taxane-based treatment, such as patients who have
      to hormone deprivation Advances in Prostate Cancer Chemo-           65   been previously treated with a docetaxel-based regimen. This
      therapy: A New Era Begins CA Cancer J. Clin, September                   compound is preferably administered to a patient with
      2005; 55: 300-318, the survival was improved by 2.4 months.              advanced metastatic disease. In particular, the compound is




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      administered to a patient with castration resistant prostate            Clinically proven, as used herein, means clinical efficacy
      cancer. Cabazitaxel is preferably administered in combina­                 results that are sufficient to meet FDA approval stan­
      tion with a corticoid chosen especially from prednisone and                dards.
      prednisolone. This corticoid is preferably administered at a            Castration resistant prostate cancer, as used herein, is syn­
      daily dose of 10 mg orally.                                       5        onymous with hormone-refractory prostate cancer.
         In some aspects of the invention, cabazitaxel is adminis­            "Patient," as used herein, includes both human and ani­
      tered in combination with prednisone for its use as a medica­
      ment in the treatment of patients with hormone-refractory                  mals. In one embodiment, a patient is a human.
      prostate cancer who have been previously treated with doc-              Cabazitaxel belongs to the taxoid family and has the for­
      etaxel based regimen.                                                  mula:
         In some aspects of the invention, cabazitaxel is adminis­      10
      tered at a dose (defined for each administration) of between
      20 and 25 mg/m2. Cabazitaxel may be in the form of an                                                               CH3
      acetone solvate. More particularly, the acetone solvate of                                                          I
                                                                                                                                  O
      cabazitaxel contains between 5% and 8% and preferably                        CH3   o                                o                 o*
                                                                                                                                                 .CH3
                                                                             H3C                                                      CKj
      between 5% and 7% by weight of acetone.                                                                  H3C
                                                                        15
                                                                                             HN    H   9
         In some aspects of the invention, cabazitaxel may be                H3C                                              CH3
      administered by intravenous infusion at a dose of between 15
      and 25 mg/m2, this administration cycle of the antitumour
      agent being repeated at an interval of 3 weeks between each                                 HO   H                      CH/a/                 .0
      cabazitaxel administration, which interval may be prolonged                                                    HO                <?
      by 1 to 2 weeks depending on the tolerance to the preceding
      cabazitaxel administration.
         In some embodiments, the effective amount of cabazitaxel
      produces at least one therapeutic effect selected from the
                                                                        20
                                                                                                                     O;       /
                                                                                                                                       r
                                                                                                                                       o
                                                                                                                                                 CH3



      group consisting of increase in overall survival, partial
      response, reduction in tumor size, reduction in metastasis,       25
      complete remission, partial remission, stable disease, or com­
      plete response.
         The present invention also relates to a pharmaceutical com­
      position that treats patients with prostate cancer comprising a      The chemical name of cabazitaxel is 4a-acetoxy-2a-ben-
      clinically proven safe and effective amount of cabazitaxel.       zoyloxy-5p,20-epoxy-ip-hydroxy-7p,10p-dimethoxy-9-
         Further embodiments of the invention comprise methods       30 oxo-ll-taxen-13a-yl (2R,3S)-3-tert-butoxycarbonyl-amino-
      or using, treating, promoting, and providing cabazitaxel.         2-hydroxy-3-phenylpropionate.              Cabazitaxel            is
         The present invention also relates to packages and articles    synonymously known as(2a,5p,7p,10p,13a)-4-acetoxy-13-
      of manufacture.                                                   ({(2R,3S)-3-[(tertbutoxycarbonyl)amino]-2-hydroxy-3-
                                                                        phenylpropanoyl}oxy)-l-hydroxy-7,10-dimethoxy-9-oxo-5,
              BRIEF DESCRIPTION OF THE DRAWINGS
                                                                     35 20-epoxytax-l 1 -en-2-yl benzoate.

         FIG. 1 displays the Kaplan-Meier curves of the overall            This compound and a preparative method thereof is
      survival in a cabazitaxel study.                                  described in WO 96/30355, EP 0 817 779 B1 and U.S. Pat.
         FIG. 2 displays the Kaplan-Meier curves of progression-        No. 5,847,170, which are hereby incorporated herein by ref­
      free survival in a cabazitaxel study.                             erence.
         FIG. 3 shows an intention-to-treat analysis of overall sur- 40    Cabazitaxel may be administered in base form (cf. above
      vival in subgroups of patients defined by baseline character­     formula), or in the form of a hydrate. It may also be a solvate,
      istics. Hazard ratios<l favor the cabazitaxel group, while        i.e. a molecular complex characterized by the incorporation
      those >1 favor the mitoxantrone group. CI denotes confidence      of the crystallization solvent into the crystal of the molecule
      intervals.
                                                                        of the active principle (see in this respect page 1276 of J.
         FIG. 4 graphically depicts the proportion of patients with                          ^ A.n.              ,       • , •          ,
      changes in ECOG performance status from baseline during 45 Pharm• ^ 1975' 64(8)' 1269-1288). In particular, it may be
      treatment (safety population). The "Improved" column rep­         an  acetone  solvate, and,  more particularly, may  be the solvate
      resents PS2 at baseline changed to 0 or 1 during treatment.       described in WO 2005/028462. It may be an acetone solvate
      The "stable" column represents no change, and the "Worse"         of cabazitaxel containing between 5% and 8% and preferably
      column represents PS2 at baseline and changed to >3, or 0 or      between 5% and 7% by weight of acetone (% means content
      1 at baseline changed to >2 during treatment.                  50 of acetone/content of acetone+cabazitaxelxlOO). An average
         FIG. 5 graphically depicts the proportion of patients with     value of the acetone content is 7%, which approximately
      changes from baseline in the Present Pain Intensity score         represents the acetone stoichiometry, which is 6.5% for a
      during treatment (ITT). The "Improved" column represents          solvate containing one molecule of acetone. The procedure
      patients in which the PPI score during treatment was lower        described below allows the preparation of an acetone solvate
      versus baseline. The "Stable" column represents no change, 55        cabazitaxel:
      and the "Worse" column represents patients with >1 unit              940 ml of purified water are added at 20±5° C. (room
      increase in PPI score during treatment versus baseline.           temperature) to a solution of 207 g of 4a-acetoxy-2a-ben-
         FIG. 6 graphically presents the mean area under the curve
                                                                        zoyloxy-5p,20-epoxy-ip-hydroxy-7p,10p-dimethoxy-9-
      for PPI and analgesic scores by treatment cycle.
                                                                        oxo-ll-taxen-13a-yl (2R,3S)-3-tert-butoxycarbonylamino-
         FIG. 7 graphically presents the meanAUC analgesic score.
                                                                     60 2-hydroxy-3-phenylpropionate at about 92% by weight in

                       DETAILED DESCRIPTION                             about 2 liters of acetone, followed by seeding with a suspen­
                                                                        sion of 2 g of 4a-acetoxy-2a-benzoyloxy-5p,20-epoxy-ip-
                                Definitions                             hydroxy-7p,10p-dimethoxy-9-oxo-l l-taxen-13a-yl               (2R,
                                                                        3S)-3-tert-butoxycarbonylamino -2 -hydroxy-3-
         Effective amount, as used herein, means an amount of a 65 phenylpropionate isolated from acetone/water in a mixture of
            pharmaceutical compound, such as cabazitaxel, that          20 ml of water and 20 ml of acetone. The resulting mixture is
            produces an effect on the cancer to be treated.             stirred for about 10 to 22 hours, and 1.5 liters of purified water




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      are added over 4 to 5 hours. This mixture is stirred for 60 to 90        In some aspects of the invention, the patient to be treated
      minutes, and the suspension is then filtered under reduced           has a measurable tumour and may show progression of the
      pressure. The cake is washed on the filter with a solution           disease via a metastatic lesion of the viscera or of a soft tissue
      prepared from 450 ml of acetone and 550 ml of purified water,        of at least 1 cm determined by MRI or by an axial tomo-
      and then oven-dried at 55° C. under reduced pressure (0.7 5 graphic scan (CT scan).
      kPa) for 4 hours. 197 g of 4a-acetoxy-2a-benzoyloxy-5p,20-               In some aspects of the invention, the patient to be treated
      epoxy-1 P-hydroxy-7p,10p-dimethoxy-9-oxo-l 1-taxen-                  has an immeasurable tumour and may show an increase in the
      13a-yl (2R,3S)-3-tert-butoxycarbonylamino-2-hydroxy-3-               PSA level with three measurements at a 1-week interval or the
      phenylpropionate acetone containing 0.1% water and 7.2%              appearance of new lesions.
                                                                        10     In some aspects of the invention, the patient to be treated
      acetone (theoretical amount: 6.5% for a stoichiometric sol­
                                                                           has undergone castration by orchidectomy or with LHRH
      vate) are obtained.
                                                                           agonists, elimination of the androgens or monotherapy with
         Cabazitaxel may be administered parenterally, such as via
                                                                           estramustine.
      intravenous administration. A galenical form of cabazitaxel              In a preferred aspect, the life expectancy of the patient to be
      suitable for administration by intravenous infusion is that in 15 treated should be at least 2 months.
      which the cabazitaxel is dissolved in water in the presence of           In some aspects, the treatment does not include patients
      excipients chosen from surfactants, cosolvents, glucose or           who have previously received mitoxantrone, or who have
      sodium chloride, etc. For example, a galenical form of caba­         received less than 225 mg/m2 of docetaxel, or who have
      zitaxel may be prepared by diluting a premix solution of             undergone a radiotherapy that has eliminated more than 40%
      cabazitaxel contained in a sterile vial (80 mg of cabazitaxel+2 20 of the marrow, who have received a treatment within the 4
      ml of solvent+Polysorbate 80) with a sterile vial containing a       weeks preceding the test, who have a neuropathy or a stoma­
      solution of 6 ml of water and ethanol (13% by weight of 95%          titis, involving the brain or the meninges, who have shown
      ethanol) in order to obtain 8 ml of a solution ready to be           severe hypersensitivity to polysorbate or to prednisone,
      rediluted in a perfusion bag. The concentration of cabazitaxel       whose blood analysis shows an appreciable decrease in neu-
      in this ready-to-redilute solution is about 10 mg/ml. The 25 trophils, haemoglobin or platelets, an increase in bilirubin
      perfusion is then prepared by injecting the appropriate              and/or liver enzymes and creatinine, or who have heart prob­
      amount of this ready-to-redilute solution into the perfusion         lems or an infection requiring antibiotics.
      bag containing water and glucose (about 5%) or sodium chlo­              An aspect of the invention comprises increasing the sur­
      ride (about 0.9%).                                                   vival of a patient with hormone refractory metastatic prostate
         Cabazitaxel may be administered in combination with a 30 cancer, comprising administering a clinically proven effec­
                                                                           tive amount of cabazitaxel to the patient in combination with
      corticoid, such as prednisone or prednisolone, as two distinct
                                                                           prednisone or prednisolone. In a particular aspect, the patient
      pharmaceutical preparations.
                                                                           has previously been treated with a docetaxel-containing regi-
         Accordingly, one aspect of the invention is a method of
                                                                           men.
      treating prostate cancer comprising administering to a patient 35        Cabazitaxel may be administered in combination with a
      in need thereof an effective amount of cabazitaxel in combi-         medication to prevent or control nausea and vomiting or to
      nation with a corticoid, such as prednisone or prednisolone.         prevent or control hypersensitivity to the cabazitaxel treat­
         The combination is administered repeatedly according to a         ment. Preferably, a patient is pre-medicated with the medica­
      protocol that depends onthe patient to be treated (age, weight,      tion, for example, at least 30 minutes prior to administering
      treatment history, etc.), which can be determined by a skilled 40 each dose of cabazitaxel.
      physician. In one aspect of the invention, cabazitaxel is                One aspect of the invention comprises a method of reduc­
      administered by perfusion to the patient according to an inter­      ing the risk of a severe hypersensitivity reaction in a patient
      mittent program with aninterval between each administration          with prostate cancer being treated with cabazitaxel, compris­
      of 3 weeks, which may be prolonged by 1 to 2 weeks depend­           ing administering to the patient a medication to prevent
      ing on the tolerance to the preceding administration. The 45 hypersensitivity prior to the administration of cabazitaxel.
      median number of cycles is 6. The prednisone or predniso­                Severe hypersensitivity reactions to cabazitaxel can occur
      lone may be administered daily, for example in the form of           and may include generalized rash/erythema, hypotension and
      one dosage intake per day, throughout the duration of the            bronchospasm. Patients should be observed closely for
      treatment. Examples of doses for the two antitumoral agents          hypersensitivity reactions, especially during the first and sec-
      are given in the "Example" section. The currently recom­ 50 ond infusions. Hypersensitivity reactions may occur within a
      mended dose is 25 mg/m2 of cabazitaxel administered as a             few minutes following the initiation of the infusion of caba­
                                                                           zitaxel, thus facilities and equipment for the treatment of
      on-hour infusion and 10 mg per day of prednisone or pred­
                                                                           hypotension and bronchospasm should be available. If severe
      nisolone administered orally.
                                                                           hypersensitivity reaction occurs, cabazitaxel infusion should
         In some aspects of the invention, the patient to be treated
                                                                        55 be immediately discontinued and appropriate therapy should
      has prostate cancer that is resistant to hormone therapy (i.e.,      be administered. Examples of medications which may be
      hormone refractory) and has previously been treated with             used to prevent hypersensitivity to the cabazitaxel treatment
      docetaxel. In some aspects, the patient has prostate cancer          include antihistamines, such as dexchloropheniramine (for
      that progressed during or after treatment with docetaxel. In         example 5 mg), and diphenhydramine (for example 25 mg) or
      some aspects, the patient was previously treated with at least 60 equivalent antihistamines; and corticosteroids, such as dex-
      225 mg/m2 cumulative dose of docetaxel. In a particular              amethasone (for example 8 mg) or an equivalent steroid,
      aspect, the patient showed progression of their disease in the           Nevertheless, cabazitaxel should not be given to and may
      six months following hormone therapy or during docetaxel             be contraindicated in patients who have a history of severe
      treatment or after docetaxel treatment. In another particular        hypersensitivity reactions to cabazitaxel. Depending on the
      aspect, the patient showed progression of their disease in the 65 formulation administered, cabazitaxel may also be contrain-
      three months following hormone therapy or after docetaxel            dicated in patients who have a history of hypersensitivity
      treatment.                                                           reactions to other drugs formulated with polysorbate 80.




                                                                    Appx195
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         One aspect of the invention comprises an article of manu­           tures (age>65 years, poor performance status, previous epi­
      facture comprising:                                                    sodes of febrile neutropenia, extensive prior radiation ports,
         a) a packaging material;                                            poor nutritional status, or other serious co-morbidities) that
         b) cabazitaxel, and                                                 predispose them to increased complications from prolonged
         c) a label or package insert contained within the packaging    5    neutropenia. Therapeutic use of G-CSF and secondary pro­
            material indicating that severe hypersensitivity reac­           phylaxis should be considered in all patients considered to be
            tions can occur.                                                 at increased risk for neutropenia complications.
         Gastrointestinal symptoms, such as, for example nausea,                In another aspect, the monitoring of complete blood counts
      vomiting, and diarrhea, may occur with the treatment of caba-          is performed on a weekly basis during cycle 1 and before each
      zitaxel. Mortality related to diarrhea and electrolyte imbal-     10   treatment cycle thereafter so that the dose can be adjusted, if
      ance has been reported. Therefore, patients may also be rehy-          needed. Therefore, another aspect for reducing the risk of
      drated and treated with anti-diarrheal or anti-emetic                  neutropenia complications comprises, monitoring blood
      medications as needed. Treatment delay or dosage reduction             counts in the patient and adjusting the dose of cabazitaxel.An
      may be necessary if patients experience Grade>3 diarrhea.              example of a dose modification is described in Example 2.
         Accordingly, the methods of the invention include admin-       15      One aspect of the invention comprises an article of manu-
      istering a medication to prevent hypersensitivity or a medi-           facture comprising:
      cation to prevent or control nausea and vomiting in combina-              a) a packaging material;
      tion with cabazitaxel.                                                    b) cabazitaxel, and
         Examples of medications which may be used to prevent or                c) a label or package insert contained within the packaging
      control nausea and vomiting include histamine H2 antago-          20         material indicating that cabazitaxel should not be given
      nists and antiemetics, such as ondansetron, granisetron and                  to patients with neutrophil counts of <1,500 cells/mm3,
      dolesetron.                                                               Cases of renal failure should be identified and managed
         A possible side effect of the treatment with cabazitaxel is         aggressively, accordingly to procedures known to those
      neutropenia, which is characterized by a reduced number of             skilled in the art. Renal failure may be associated with sepsis,
      neutrophils. Unfortunately, a number of neutropenia deaths        25   dehydration, or obstructive uropathy. Furthermore, impaired
      have been reported. Therefore, frequent blood counts should            hepatic function (e.g., total bilirubin>ULN, or AST and/or
      be obtained or performed to monitor for neutropenia. If neu-           ALT>1.5xULN) may increase cabazitaxel concentrations,
      tropenia occurs, cabazitaxel treatment may be discontinued,            and cabazitaxel should not be given to patients with hepatic
      and restarted when neutrophil counts recover to a level of             impairment.
      >l,500/mm3. Cabazitaxel should not be given to a patient          30      Cabazitaxel may cause fetal harm when administered to a
      with a neutrophil count<l,500 cells/mm3.                               pregnant woman.
         The present invention therefore also relates to a method of            Prednisone or prednisolone administered at 10 mg daily
      treating prostate cancer with cabazitaxel comprising admin­            does not affect the pharmacokinetics of cabazitaxel.
      istering cabazitaxel to the patient, monitoring blood counts in           Cabazitaxel is primarily metabolized through CYP3A.
      the patient, and measuring neutrophil levels. In one aspect,      35   Concomitant administration of strong CYP3A inhibitors (for
      the method further comprises discontinuing cabazitaxel treat-          example, ketoconazole, itraconazole, clarithromycin, ataza-
      ment if neutropenia occurs, and optionally restarting cabazi-          navir, indinavir, nefazodone, nelfinavir, ritonavir, saquinavir,
      taxel treatment when neutrophil counts recover to a level of           telithromycin, voriconazole) may increase cabazitaxel con-
      >1,500/mm3. In one aspect, the monitoring comprises taking             centrations. Therefore co-administration of cabazitaxel with
      a blood sample from the patient.                                  40   strong CYP3A inhibitors should be avoided. Caution should
         Determining neutrophil counts can be performed accord­              be exercised with concomitant use of moderate CYP3A
      ing to procedures well know to those skilled in the art.               inhibitors. One aspect of the invention is a method of treating
         One aspect of the invention is a method of reducing the risk        a patient for prostate cancer comprising determining whether
      of neutropenia complications comprising administering                  the patient is undergoing treatment with a CYP3A inhibitor,
      cabazitaxel in combination with an agent useful for treating      45   discontinuing treatment with a CYP3A inhibitor, and then
      neutropenia. Such a neutropenia treatment agent is, for                administering cabazitaxel to the patient,
      example, a hematopoietic growth factor which regulates the                Concomitant administration of strong CYP3A inducer
      production and function of neutrophils such as a human                 (e.g., phenyloin, carbamazepine, rifampin, rifabutin, rifapen-
      granulocyte colony stimulating factor, (G-CSF). In a particu-          tin, phenobarbital) may decrease cabazitaxel concentrations,
      lar aspect of the invention, the neutropenia is complicated       50   Therefore co-administration of cabazitaxel with strong
      neutropenia. Complicated neutropenia includes febrile neu­             CYP3A inducers should be avoided. Therefore, one aspect of
      tropenia, prolonged neutropenia, or neutropenic infection. In          the invention is a method of treating a patient for prostate
      a preferred embodiment, the neutropenia treatment agent is             cancer comprising determining whether the patient is under­
      administered prior to the administration of cabazitaxel.               going treatment with a CYP3A inducer, discontinuing treat-
         A particular aspect of the invention comprises a method of     55   ment with a CYP3A inducer, and administering cabazitaxel to
      reducing the risk of neutropenia complications in a patient            the patient.
      with prostate cancer being treated with cabazitaxel, compris-             In addition, patients should also refrain from taking St.
      ing monitoring blood counts in the patient at regular intervals        John's Wort.
      during treatment of the patient with cabazitaxel; reducing the            In some aspects of the invention, the cabazitaxel is admin-
      dose of cabazitaxel if the patient experiences febrile neutro-    60   istered in an amount to provide an AUC of about 991 ng-h/mL
      penia or prolonged neutropenia; discontinuing cabazitaxel              (CV 34%).
      treatment if the patient's neutrophil count is <1,500 cells/              In some aspects of the invention, the cabazitaxel is admin-
      mm3; and optionally restarting cabazitaxel treatment when              istered in an amount to provide an Cmax of about 226 ng-h/mL
      the patient's neutrophil counts recover to a level>1,500 cells/        (CV 107%).
      mm3.                                                              65      In some aspects of the invention, the cabazitaxel is admin-
         In a particular aspect, primary prophylaxis with G-CSF              istered in an amount to provide a plasma clearance of 48.5 L/h
      should be considered in patients with high-risk clinical fea-          (CV 39%).




                                                                  Appx196
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         One aspect of the invention is a package comprising caba-                f) discontinue cabazitaxel immediately if severe reactions
      zitaxel and a label, in a position which is visible to prospective             occur; or
      purchasers, comprising a printed statement which informs                    g) discontinue cabazitaxel immediately if severe reactions
      prospective purchasers that the mean C max of cabazitaxel in                   occur and administer appropriate therapy; or
      patients with metastatic prostate cancer was 226 ng/mL (CV           5      h) cabazitaxel is contraindicated in patients with a history
      107%).                                                                         of severe hypersensitivity reactions to cabazitaxel or
                                                                                     drugs formulated with polysorbate 80.
        Another aspect of the invention is a package comprising
                                                                                The invention also concerns a method of providing cabazi­
      cabazitaxel and a label, in a position which is visible to
                                                                                  taxel, wherein said cabazitaxel is provided along with
      prospective purchasers, comprising a printed statement               10     information indicating that:
      which informs prospective purchasers that the mean AUG of                   a) neutropenic deaths have been reported; or
      cabazitaxel in patients with metastatic prostate cancer was                 b) frequent blood counts should be obtained to monitor for
      991 ng-h/mL (CV 34%).                                                          neutropenia; or
         Another aspect of the invention is a package comprising                  c) cabazitaxel should not be given if neutrophil counts are
      cabazitaxel and a label, in a position which is visible to           15        <1,500 cells/mm3;
      prospective purchasers, comprising a printed statement                      d) severe hypersensitivity can occur; or
      which informs prospective purchasers that cabazitaxel has a                 e) severe hypersensitivity can occur and may include gen­
      plasma clearance of 48.5 L/h (CV 39%).                                         eralized rash/erythema, hypotension and brochospasm;
                                                                                     or
         A variety of educational materials may be employed to             20     f) discontinue cabazitaxel immediately if severe reactions
      ensure proper prescribing, dispensing, and patient compli­                     occur; or
      ance according to the methods described herein. For example,                g) discontinue cabazitaxel immediately if severe reactions
      a variety of literature and other materials, such as, for                      occur and administer appropriate therapy; or
      example, prescribing information, package inserts, medica­                  h) cabazitaxel is contraindicated in patients with a history
      tions guides, physician information sheets, healthcare profes-       25
                                                                                     of severe hypersensitivity reactions to cabazitaxel or
      sional information sheets, medical journal advertisements,                     drugs formulated with polysorbate 80.
      and product websites may describe the risks and benefits of
      taking cabazitaxel.                                                                                Example 1
      The invention also concerns a package comprising cabazi­
        taxel and a label, said label comprising one or more mes-           A clinical study was performed wherein patients received
                                                                           30
        sages that:                                                      either treatment with cabazitaxel or the reference treatment
         a) the efficacy and safety of cabazitaxel in combination        based on mitoxantrone each combined with prednisone or
            with prednisone were evaluated in patients with hor­         prednisolone.
            mone refractory metastatic prostate cancer previously           More specifically, patients over 18 years of age with meta-
                                                                      35 static castration resistant metastatic prostate cancer either
            treated with a docetaxel containing regimen; or
                                                                         measurable by RECIST criteria or non-measurable disease
         b) a total of 755 patients were randomized to receive either    with rising PSA levels or appearance of new lesions, ECOG
            cabazitaxel 25 mg/m3 every 3 weeks for a maximum of          (Eastern Cooperative Oncology Group) performance stage
            10 cycles with prednisone mg orally daily, or to receive     0-2, and adequate oigan function (patients had to have neu-
            mitoxantrone 12 mg/m intravenously every 3 weeks for 40 trophils>l,500 cells/mm3, platelets>l00,000 cells/mm3,
            a maximum of 10 cycles with prednisone 10 mg orally          hemoglobin>10 g/dL, creatinine<l .5x upper limit of normal
            daily; or                                                    (ULN), total bilirubinclxULN, AST<1.5xULN, and
         c) the median number of cycles was 6 in the cabazitaxel         ALT<1.5 xULN) who had had prior hormone therapy, chemo-
            group and 4 in the mitoxantrone group.                       therapy, and radiotherapy, but had progressive during or after
                                                                                                                             2
      The invention also concerns a package comprising cabazi­ 45 docetaxel treatment (cumulative dose>225 mg/m ) were ran­
         taxel and a label, said label comprising one or more mes­       domized    to 10  mg/day   of  prednisone with   either  mitox­
         sages that:                                                     antrone 12 mg/m2 or cabazitaxel 25 mg/m2, both adminis­
                                                                         tered every 3 weeks.
         a) neutropenic deaths have been reported; or                       Patients with a history of congestive heart failure, or myo-
         b) frequent blood counts should be obtained to monitor for 50 cardial infarction within the last 6 months, or patients with
            neutropenia; or                                              uncontrolled cardiac arrhythmias, angina pectoris, and/or
         c) cabazitaxel should not be given if neutrophil counts are     hypertension were not included in the study.
            <1,500 cells/mm3.                                               720 patients were planned to be included in the clinical
                                                                         study: 360 in each cabazitaxel+prednisone and mitox-
         The invention also concerns a method of promoting the use
                                                                      55 antrone+prednisone group. Seven hundred and fifty-five
      of cabazitaxel the method comprising the step of conveying to
                                                                         patients (755) (median age 68; 84% white) were actually
      a recipient at least one message selected from:
                                                                         enrolled, 378 in the cabazitaxel and prednisone/prednisolone
         a) neutropenic deaths have been reported; or                    group and 377 in the mitoxantrone and prednisone/predniso­
         b) frequent blood counts should be obtained to monitor for      lone group. The maximal number of treatment cycles was 10
            neutropenia; or                                           60 for cabazitaxel and 10 for mitoxantrone. The median number

         c) cabazitaxel should not be given if neutrophil counts are     of treatment cycles was 6 for cabazitaxel and 4 for mitox­
            <1,500 cells/mm3;                                            antrone. The median prior dose of docetaxel treatment was
                                                                         576 mg/m2 for the cabazitaxel group and 529 mg/m2 for the
         d) severe hypersensitivity can occur; or                        mitoxantrone group. Median follow-up was 12.8 months.
         e) severe hypersensitivity can occur and may include gen- 65       The measurements of the results are performed via the
            eralized rash/erythema, hypotension and brochospasm;         same tests as at inclusion. MRI and spiral computed tomo­
            or                                                           graphic (CT) scans are preferably used.




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         The results are evaluated according to thefollowing criteria                                                           TABLE 1-continued
      (cf RECIST guideline):
                                                                                                                         Efficacy analysis (intention-to-treat)
         overall survival (OS): the time from inclusion to the study
           to the date of death                                                            5                                                                CbzP                MP
                                                                                                                                                           N = 378            N = 377
         complete response (CR): disappearance of the lesions
                                                                                                                                                           Median             Median
         partial response (PR): at least 30% reduction of the largest                                                                                      (months)        (months)

           diameter of the lesion                                                               Pain PFS                   Median (months)                   Not               11.1
         progression (PD): at least 20% increase in the sum of the                         10                              Hazard ratio (95% CI)           reached
                                                                                                                           p-value1                           0.91 (0.69-1.19)
           largest diameter of the lesion or appearance of one or
                                                                                                                                                                     0.5192
           more new lesions
         stable disease (SD): reduction of the tumour insufficient to                           ^Log-rank test,
                                                                                                2Chi-square   test
            be included in PR and increase of the tumour insufficient 15
                                                                                                CbzP: cabazitaxel with prednisone
            to be included in PD.                                                               MP: mitoxantrone with prednisone

         The confirmations of the measurements are made at least 4
      weeks after the response criterion has been established for the                              Progression free survival (PFS) defined as the earliest pro-
      first time.                                                                          20   gression in tumor, PSA or pain was also statistically signifi­
                                                                                                cantly longer in the cabazitaxel group compared to the mitox-
         The progression-free survival (PFS) is the time from inclu­
                                                                                                antrone group (p<0.0001, hazard ratio=0.74 (95% CI, 0.64,
      sion in the study and the date of progression or death when the
                                                                                                0.86), and the median progression-free survival was 2.8
      progression is either an increase of the PSA, or of the tumour,
                                                                                                months versus 1.4 months. Response rates and PFS for PSA
      or of the pain.
                                                                                                and tumor assessments were statistically significant in favor
         It was found that the combination of cabazitaxel and pred­                             of cabazitaxel, while response rate and PFS for pain did not
      nisone is a well-tolerated combination with the safety profile
                                                                                                show a statistically significant difference.
      of taxanes. At the dose investigated in this trial (LD2: 25
      mg/m2 cabazitaxel+10 mg/m2/day prednisone), patients 30              The most frequent Grade 3/4 toxicities were neutropenia
      receiving cabazitaxel demonstrated statistically significant      observed with a higher frequency in the cabazitaxel group
      longer overall survival (OS) compared to mitoxantrone             with 81.7% compared to the mitoxantrone group with 58.0%.
      (pO.OOOl). The hazard ratio was 0.70 (95% CI. 0.59,0.83) in       Rates of febrile neutropenia were 7.5% in the cabazitaxel
      favor of cabazitaxel corresponding to a 30% reduction in risk     group and 1.3% in the mitoxantrone group.
      of death. The median survival for patients in the cabazitaxel 35     The most common (>20%) grade 1-4 adverse reactions
      group was 15.1 months in comparison to 12.7 months in the         were anemia, leukopenia, neutropenia, thrombocytopenia,
      mitoxantrone group. Notably, the extension of survival was        diarrhea, fatigue, nausea, vomiting, asthenia, and constipa­
      observed irrespective of ECOG performance status, number          tion.
      of prior chemotherapy regimens and age. Benefit was also ^
      seen in the third of patients who were docetaxel-refractory          The most common (a5%) grade 3-4 adverse reactions in
      and had progressed during docetaxel therapy.                      patients who received cabazitaxel were neutropenia, leuko­
                                                                        penia, anemia, febrile neutropenia, diarrhea, fatigue, and
         The data related to the treated patients are given in Table 1:
                                                                        asthenia.
                                                                                           45      Subgroup analyses by risk factors and a multivariate analy­
                                        TABLE 1
                                                                                                sis showed that OS outcomes were consistent and robust in
                            Efficacy analysis (intention-to-treat)
                                                                                                favor of cabazitaxel as shown in the herebelow table:
                                                             CbzP                MP
                                                            N = 378            N = 377
                                                                                                                                      TABLE 2
                                                            Median          Median         50
                                                           (months)        (months)
                                                                                                                              MP                    CbzP

      Overall survival        Median (months)               15.1           12.7
                                                                                                                                   Median             Median
                              Hazard ratio (95% CI)           0.70 (0.59; 0.83)
                                                                                                                                    OS                 OS             CbzP vs MP
                              p-value1                                0.0001
                                                                                                                      N (%)        (mos)     N (%)    (mos)           HR(95%CI)
      PFS                     Median (months)                 2.8            1.4           55
                              Hazard ratio (95% CI)            0.74 (0.64-0.86)
                                                                                                ITT                  377 (100)      12.7      378          15.1      0.70 (0.59-0.83)
                              p-value1                                0.0001
                                                                                                                                             (100)
      Tumor response rate                                   14.4%               4.4%
                                                                                              PD while               103 (27)       12.0      113          14.2      0.65 (0.47-0.90)
      p-value2                                                        0.0005
                                                                                              on D                                            (30)
      Time to Tumor           Progression Median              8.8               5.4
                                                                                              PD after last          180 (48)       10.3      158          13.9      0.70 (0.54-0.90)
      (months)
                                                                                           60 D dose,                                         (42)
                              p-value                       <0.001
                                                                                              s3 mos
      PSA Response rate                                     39.2%              17.8%
                                                                                              PD after last           91(24)        17.7      103          17.5      0.78 (0.53-1.14)
      p-value2                                                        0.0002
                                                                                              D dose,                                         (27)
      PSA PFS                 Median (months)                 6.4            3.1
                                                                                              >3 mos
                              Hazard ratio (95% CI)            0.75 (0.63-0.90)
                              p-value1                                0.0010                    mos = months
      Pain Response rate                                      9.2%              7.8%       65
                                                                                                D = Docetaxel
      p-value2                                                        0.6526




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                                                                         US 8,927,592 B2
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                                                  TABLE 3
                Incidence of Reported Adverse Reactions1 and Hematologic Abnormalities in
                  £5% of Patients Receiving cabazitaxel in Combination with Prednisone or
                               Mitoxantrone in Combination with Prednisone

                                     Cabazitaxel 25 mg/m2                Mitoxantrone 12 mg/m2
                                       every 3 weeks with                  every 3 weeks with
                                     prednisone 10 mg daily              prednisone 10 mg daily
                                            n = 371                              n = 371


                                   Grade 1-4           Grade 3-4        Grade 1-4      Grade 3-4
                                    n (%)                n (%)            n (%)         n (%)

                                          Any Adverse Reaction
                                  Blood and Lymphatic System Disorders

      Neutropenia2                  347 (94%)        303 (82%)          325   (87%)    215   (58%)
      Febrile Neutropenia            27   (7%)        27 (7%)             5   (1%)       5   (1%)
      Anemia2                       361   (98%)       39 (11%)          302   (82%)     18   (5%)
      Leukopenia2                   355   (96%)      253 (69%)          343   (93%)    157   (42%)
      Thrombocytopenia2             176   (48%)       15 (4%)           160   (43%)      6 (2%)
                                              Cardiac Disorders

      Arrhythmia3                    18 (5%)           4 (1%)             6 (2%)         1 (<1%)
                                         Gastrointestinal Disorders

      Diarrhea                      173 (47%)        23 (6%)             39 (11%)        1 (<1%)
      Nausea                        127 (34%)         7 (2%)             85 (23%)        1 (<1%)
      Vomiting                       83 (22%)         6 (2%)             38 (10%)        0
      Constipation                   76 (20%)         4 (1%)             57 (15%)        2 (<1%)
      Abdominal Pain4                64 (17%)         7 (2%)             23 (6%)         0
      Dyspepsia5                     36 (10%)         0                   9 (2%)         0
                            General Disorders and Administration Site   Conditions

      Fatigue                       136   (37%)         18 (5%)         102   (27%)     11 (3%)
      Asthenia                       76   (20%)         17 (5%)          46   (12%)      9 (2%)
      Pyrexia                        45   (12%)          4 (1%)          23   (6%)       1 (<1%)
      Peripheral Edema               34   (9%)            2 (<1%)        34   (9%)       2 (<1%)
      Mucosal                        22 (6%)              1 (<1%)        10   (3%)       1 (<1%)
      Inflammation
      Pain                           20 (5%)           4 (1%)            18 (5%)         7 (2%)
                                         Infections and Infestations

      Urinary Tract                  29 (8%)              6 (2%)         12 (3%)         4 (1%)
      Infection6
      Pneumonia7                     12 (3%)              9 (2%)          4 (1%)         3 (<1%)
                                                  Investigations


      Weight Decreased               32 (9%)              0              28 (8%)         1 (<1%)
                                    Metabolism and Nutrition Disorders


      Anorexia                       59 (16%)             3 (<1%)        39 (11%)        3 (<1%)
      Dehydration                    18 (5%)              8 (2%)         10 (3%)         3 (<1%)
                              Musculoskeletal and Connective Tissue Disorders


      Back Pain                      60 (16%)           14 (4%)          45 (12%)       11 (3%)
      Arthralgia                     39 (11%)             4 (1%)         31 (8%)         4 (1%)
      Pain in Extremity              30 (8%)              6 (2%)         27 (7%)         4 (1%)
      Muscle Spasms                  27 (7%)              0              10 (3%)         0
      Bone Pain                      19 (5%)              3 (<1%)        19 (5%)         9 (2%)
      Musculoskeletal Pain           18 (5%)              2 (<1%)        20 (5%)         3 (<1%)
                                          Nervous System Disorders


      Peripheral                     50 (13%)             3 (<1%)        12 (3.2%)       3 (<1%)
      Neuropathy8
      Dysgeusia                      41 (11%)             0              15 (4%)         0
      Dizziness                      30 (8%)              0              21 (6%)         2 (<1%)
      Headache                       28 (8%)              0              19 (5%)         0
                                     Renal and Urinary Tract Disorders


      Hematuria                      62 (17%)             7 (2%)         13 (4%)         1 (<1%)
      Dysuria                        25 (7%)              0               5 (1%)         0
                              Respiratory, Thoracic and Mediastinal Disorders


      Dyspnea                        43 (12%)             4 (1%)         16 (4%)         2 (<1%)
      Cough                          40 (11%)             0              22 (6%)         0
                                  Skin and Subcutaneous Tissue Disorders


      Alopecia                       37 (10%)             0              18 (5%)         0




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                                                                                        US 8,927,592 B2
                                                   15                                                                                                16
                                                 TABLE 3-continued
                 Incidence of Reported Adverse Reactions1 and Hematologic Abnormalities in
                   £5% of Patients Receiving cabazitaxel in Combination with Prednisone or
                                Mitoxantrone in Combination with Prednisone

                                            Cabazitaxel 25 mg/m2                        Mitoxantrone 12 mg/m2
                                              every 3 weeks with                          every 3 weeks with
                                            prednisone 10 mg daily                      prednisone 10 mg daily
                                                   n = 371                                      n = 371


                                         Grade 1-4             Grade 3-4             Grade 1-4             Grade 3-4
                                          n (%)                  n (%)                 n (%)                  11 (%)

                                                     Vascular Disorders

      Hypotension                          20 (5%)                 2 (<1%)                  9 (2%)            1 (<1%)
      Median Duration of                          6 cycles                                      4 cycles
      Treatment

      1Graded   using NCI CTCAE version 3
      2Based   on laboratory values, cabazitaxel: n = 369, mitoxantrone: n = 370.
       Includes atrial fibrillation, atrial flutter, atrial tachycardia, atrioventricular block complete, bradycardia, palpi­
      tations, supraventricular tachycardia, tachyarrhythmia, and tachycardia.
       Includes abdominal discomfort, abdominal pain lower, abdominal pain upper, abdominal tenderness, and GI
      pain.
       Includes gastroesophageal reflux disease and reflux gastritis.
      includes urinary tract infection enterococcal and urinary tract infection fungal,
      includes bronchopneumonia, lobar pneumonia, and pneumonia klebsiella.
      ^Includes peripheral motor neuropathy and peripheral sensory neuropathy.


                                                                                                         25

                                              TABLE 4                                                                                     TABLE 4-continued
                                        Patient Characteristics                                                                             Patient Characteristics


                                                    MP (n = 377)              CBZP (n = 378)                                                         MP (n = 377)        CBZP (n = 378)
                                                                                                         30

      Age (years)                                                                                             Disease progression
                                                                                                              relative to docetaxel
                                                                                                              administration, n (%)
      Median [range]                                   67 [47-89]                   68 [46-92]
      £65 (%)                                             57.0                         64.9
                                                                                                              During treatment                         104 (27.6)           115 (30.4)
      ECOG PS (%)
                                                                                                         35   <3 months from last                      181 (48.0)           158 (41.8)
      0,1                                                 91.2                         92.6
                                                                                                              dose
      2                                                     8.8                         7.4                   £3 months from last                       90 (23.9)           102 (27.0)
      PSA* (ng/mL)                                                                                            dose
                                                                                                              Unknown                                     2 (0.5)             3 (0.8)
      Median [range]                               127.5 [2-11220]              143.9 [2-7842]                Median time from last                        0.7                 0.8
      Measurability of disease                                                                                docetaxel dose to disease
                                                                                                         40
      (%)                                                                                                     progression (months)


      Measurable                                          54.1                         53.2
      Non-measurable                                      45.9                         46.8                      The primary reason for treatment discontinuation in both
      Disease site (%)
                                                                                                              groups was disease progression (Table 5). The median deliv­
                                                                                                         45
      Bone                                                87.0                         80.2                   ered relative dose intensity was 96.1% in the cabazitaxel
      Lymph node                                          44.8                         45.0                   group and 97.3% in the mitoxantrone group. In the cabazi­
      Visceral                                            24.9                         24.9                   taxel group, >75% of patients received >90% of the planned
      Pain at Baseline, no. (%)                       168 (44.6)                  174 (46.0)
                                                                                                              dose intensity. Overall, 5.1% of mitoxantrone treatment
      Previous Therapy, no. (%)
                                                                                                              courses were dose reduced compared with 9.8% of cabazi­
                                                                                                         50
      Hormonal                                        375 (99.5)                  375 (99.2)                  taxel treatment courses; 6.3 and 7% of all treatment courses
      No. of                                                                                                  were delayed by 9 days or less, and 1.6 and 2.3% of courses
      Chemotherapy                                                                                            were delayed by more than 9 days for mitoxantrone and
      Regimens
                                                                                                              cabazitaxel respectively (See Table 5).
       1                                              268 (71.1)                  260 (68.8)             55
       2                                               79 (21.0)                    94 (24.9)                                                   TABLE 5
      >2                                               30 (8.0)                     24 (6.3)
      Radiation                                       222 (58.9)                  232 (61.4)                                Treatment Received and Reasons for Discontinuation in
      Surgery                                         205 (54.4)                  198 (52.4)                                          the Intention-to-Treat Population.*
      Biologic Agent                                   36 (9.5)                    26 (6.9)
                                                                                                                                                 Mitoxantrone             Cabazitaxel
      Previous docetaxel                                                                                 60
                                                                                                                                                  (N = 377)                (N= 378)
      regimens, n (%)

                                                                                                            Patients receiving                     371 (98.4)             371 (98.1)
       1                                              327 (86.7)                  316 (83.6)                study treatment, no.
       2                                               43 (11.4)                    53 (14.0)               (%)
      >2                                                 7(1.9)                      9 (2.4)                Patients completing                     46 (12.2)             105 (27.8)
      Median total previous                              529.2                       576.6               65 planned ten cycles of
      docetaxel dose (mg/m2)                                                                                study treatment, no. (%)




                                                                                                   Appx200
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                                        17                                                                      18
                              TABLE 5-continued                                          1975; 1:277-99). Mean Analgesic Score (AS) derived
                                                                                         from analgesic consumption (in morphine equivalents)
                Treatment Received and Reasons for Discontinuation in                    was calculated for the one-week period prior to each
                          the Intention-to-Treat Population.*
                                                                                         evaluation. Area under the curve (AUC) of PPI and AS
                                     Mitoxantrone            Cabazitaxel         5       was calculated by the trapezoid formula. Cumulative
                                      (N = 377)               (N= 378)                   AUC of PPI andAS was calculated up to the last cycle of
                                                                                         data available for each patient. Average AUC of the
      Discontinuation of              325 (86.2)              266 (70.4)
      study treatment, no.
                                                                                         treatment groups was compared from Cycle 1 to Cycle
      (%)                                                                                10.
      Reasons for                                                                10   Results
      discontinuation of
                                                                                      Performance status remained stable in most patients during
      study treatment, no.
      (%l                                                                                the treatment period and was similar between groups.
                                                                                         See FIG. 4.
      Disease progression             267 (70.8)              180 (47.6)              Overall, PPI scores were comparable; improving from
      Adverse event                    32 (8.5)                67 (17.7)
                                                                                 15      baseline in 21.3% of men in the CbzP group and 18.2%
      Non-compliance with                  0                    1 (0.3)
      protocol
                                                                                         in the MP group. See FIG. 5.
      Lost to follow-up                 2 (0.5)                   0                   The CbzP group had a lower mean area under the curve
      Patient's request                17 (4.5)                 8(2.1)                   (AUC) of PPI, suggesting less severe pain especially
      Other                             7(1.9)                 10 (2.7)
                                                                                         during cycles 7-10. See FIG. 6.
      No. of treatment                  4(1-10)                 6 (1-10)
      cycles, median
                                                                                 20   Analgesic use was comparable between the groups (lower
      (range)                                                                            meanAUC ofAS means lower pain medication use). See
      Relative dose                   97.3 (42.5-106.0)      96.1 (49.0-108.2)           FIG. 7.
      intensity, median %
                                                                                      Conclusion
      (range)
      Treatment delays
                                                                                      Despite longer treatment with CbzP no worsening in
      no. of cycles (%)                                                          25 ECOG PS was seen.
                                                                                      Present Pain Intensity score improved in 21% of men in
      s9 days                         110 (6.3)               157 (7.0)
                                                                                    CbzP vs. 18% in MP arm. Assessment of pain scores sug­
      >9 days                           28 (1.6)               51 (2.3)
      Dose reductions,                  88 (5.1)              221 (9.8)
                                                                                    gested less severe pain in the CbzP group during treatment.
      no. of cycles (%)*                                                              Pain medication use was similar between groups.
                                                                                 30
                                                                                                            Example 4
        The results of this study are further illustrated to FIGS. 1,2,
      and 3.
                                                                                    A population pharmacokinetic analysis was conducted in
                                   Example 2                                     170 patients with solid tumors at doses ranging from 10 to 30
                                                                              35 mg/m2 weekly or every 3 weeks.

         Table 6 illustrates an example of a dosage modification for                Based on the population pharmacokinetic analysis, after an
      adverse reactions in patients treated with cabazitaxel                     intravenous dose of cabazitaxel 25 mg/m2 every 3 weeks, the
                                                                                 mean Cmax inpatients with metastatic prostate cancer was 226
                                    TABLE 6                                      ng/mL (CV 107%) and was reached at the end of the 1-hour
                                                                              40 infusion (Tmax). The mean AUC in patients with metastatic
      Toxicity                      Dosage Modification                          prostate cancer was 991 ng-h/mL (CV 34%). No major devia­
      Prolonged grade £3            Delay treatment until neutrophil count is
                                                                                 tion from the dose proportionality was observed from 10 to 30
      neutropenia (greater than     >1,500 cells/mm3, then reduce dosage of      mg/m2 in patients with advanced solid tumors. The volume of
      1 week) despite appropriate   cabazitaxel to 20 mg/m2. Use G-CSF for       distribution (Vss) was 4,864 L (2,643 L/m2 for a patient with
      medication including G-CSF    secondary prophylaxis.                    45 a median BSA of 1.84 m2) at steady state.
      Febrile neutropenia           Delay treatment until improvement or
                                    resolution, and until neutrophil count is
                                                                                    Based on the population pharmacokinetic analysis, caba­
                                    >1,500 cells/mm3, then reduce dosage of      zitaxel has a plasma clearance of 48.5 L/h (CV 39%; 26.4
                                    cabazitaxel to 20 mg/m2. Use G-CSF for       Uh/m2 for a patient with a median BSA of 1.84 m2) in patients
                                    secondary prophylaxis.                       with metastatic prostate cancer. Following a 1-hour intrave-
      Grade £3 diarrhea or          Delay treatment until improvement or
                                                                              50 nous infusion, plasma concentrations of cabazitaxel can be
      persisting diarrhea despite   resolution, then reduce dosage of
      appropriate medication, fluid cabazitaxel to 20 mg/m2.                     described by a 3-compartment PK model with a-, (3-, and
      and electrolytes replacement                                               y-half-lives of 4 minutes, 2 hours, and 95 hours, respectively.
                                                                                    What is claimed is:
         Discontinue cabazitaxel treatment if a patient continues to                1. A method for treating a patient with prostate cancer that
      experience any of these reactions at 20 mg/m2.                          55 has progressed during or after treatment with docetaxel, com­
                                                                                 prising administering to said patient a dose of 20 to 25 mg/m2
                                    Example 3                                    of cabazitaxel, or a hydrate or solvate thereof, in combination
                                                                                 with a corticoid.
                 Performance Status and Pain Scores During                          2. The method according to claim 1, where the prostate
                                    Treatment                                 60 cancer is an advanced metastatic disease.
                                                                                    3. The method according to claim 1, where the cabazitaxel
         Methods                                                                 is in the form of an acetone solvate.
         ECOG PS, pain measures, and analgesic consumption                          4. The method according to claim 3, in which the acetone
             were assessed prior to every treatment cycle and at the             solvate contains between 5% and 8% by weight of acetone.
             end of study treatment.                                          65    5. The method according to claim 1, comprising repeating
         Pain assessments: Present Pain Intensity (PPI) scale from               the administration of cabazitaxel, or hydrate or solvate
             the McGill-Melzack questionnaire (Melzack R. Pain                   thereof, as a new cycle every 3 weeks.




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         6. The method according to claim 1, wherein the cabazi-                20. The method according to claim 1, wherein the prostate
      taxel is in base form.                                                 cancer is a castration resistant or hormone-refractory, meta­
         7. The method according to claim 1, wherein said cabazi-            static prostate cancer.
      taxel, or hydrate or solvate thereof, is administered in an               21. The method according to claim 20, where the cabazi-
      amount to provide an AUC of about 991 ng-h/mL (CV 34%).           5    taxel, or hydrate or solvate thereof, is administered at a dose
         8. The method according to claim 1, wherein said cabazi-            of 20 mg/m2.
      taxel, or hydrate or solvate thereof, is administered in an               22. The method according to claim 20, where cabazitaxel,
      amount to provide anCmax of about 226 ng-h/mL (CV 107%).               or hydrate or solvate thereof, is administered at a dose of 25
         9. The method according to claim 1 wherein said cabazi-             mg/m2.
      taxel, or hydrate or solvate thereof, is administered in an       10      23. The method according to claim 20, comprising repeat­
      amount to provide a plasma clearance of 48.5 L/h (CV 39%).             ing the administration of said cabazitaxel, or hydrate or sol­
         10. The method according to claim 1, further comprising             vate thereof, as a new cycle every 3 weeks.
      monitoring blood counts and measuring neutrophil levels in                24. The method according to claim 1, wherein the prostate
      the patient.                                                           cancer is a castration resistant or hormone-refractory, meta­
         11. The method according to claim 10, further comprising       15   static prostate cancer, and wherein the corticoid is selected
      discontinuing cabazitaxel treatment in a patient with a neu­           from the group consisting of prednisone and prednisolone,
      trophil count of <1,500 cells/mm3.                                     and wherein the cabazitaxel, or hydrate or solvate thereof, is
         12. The method according to claim 1, where the cabazi­              administered at a dose of 25 mg/m2.
      taxel, or hydrate or solvate thereof, is administered at a dose           25. The method according to claim 24, comprising repeat­
      of 25 mg/m2.                                                      20   ing the administration of said cabazitaxel, or hydrate or sol­
                                                                             vate thereof, as a new cycle every 3 weeks.
         13. The method according to claim 1, wherein the corticoid
      is selected from the group consisting of prednisone and pred­             26. The method according to claim 1, where the cabazi­
      nisolone.                                                              taxel, or hydrate or solvate thereof, is administered at a dose
         14. The method according to claim 13, where the pred­               of 20 mg/m2.
      nisone or prednisolone is administered at a dose of 10 mg/day.    25      27. A method of increasing the survival of a patient with a
         15. The method according to claim 14, where the cabazi­             castration resistant or hormone refractory, metastatic prostate
      taxel, or hydrate or solvate thereof, is administered at a dose        cancer that has progressed during or after treatment with
      of 20 mg/m2.                                                           docetaxel, comprising administering a dose of 20 to 25
         16. The method according to claim 14, where the cabazi­             mg/m2 of cabazitaxel, or hydrate or solvate thereof, to the
      taxel, or hydrate or solvate thereof, is administered at a dose   30   patient in combination with prednisone or prednisolone.
      of 25 mg/m2.                                                              28. The method according to claim 27, where the cabazi­
         17. The method according to claim 1, where the prostate             taxel, or hydrate or solvate thereof, is administered at a dose
      cancer is a castration resistant or hormone-refractory prostate        of 25 mg/m2.
      cancer.                                                                   29. The method according to claim 27, comprising repeat-
         18. The method according to claim 17, where the cabazi­        35   ing the administration of said cabazitaxel, or hydrate or sol­
      taxel, or hydrate or solvate thereof, is administered at a dose        vate thereof, as a new cycle every 3 weeks.
      of 25 mg/m2.                                                              30. The method according to claim 27, where the cabazi­
         19. The method according to claim 17, comprising repeat­            taxel, or hydrate or solvate thereof, is administered at a dose
      ing the administration of said cabazitaxel, or hydrate or sol­         of 20 mg/m2.
      vate thereof, as a new cycle every 3 weeks.




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                                                              03/15/2018



                               PROOF OF SERVICE
        The undersigned counsel for Appellant certifies that, on March 15, 2018, the

  BRIEF FOR APPELLANT was caused to be filed via CM/ECF with:

                                 Clerk of the Court
                United States Court of Appeals for the Federal Circuit
                              717 Madison Place, NW
                               Washington, DC 20439

        The undersigned also certifies that, on March 15, 2018, a true and correct

  copy of the BRIEF FOR APPELLANT was caused to be served on counsel of

  record via CM/ECF and electronic mail.



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                                                              03/15/2018




          CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME,
            TYPE-FACE, AND TYPE-STYLE REQUIREMENTS
        The undersigned counsel for Appellant hereby certifies that this brief by

  Appellant complies with the type-volume limitation of Fed. Cir. Rule 32(a). This

  brief contains 13,918 words, excluding portions exempted by Fed. R. App. P. 32(f)

  and Fed. Cir. Rule 32(b). The undersigned counsel also certifies that this brief

  complies with the type-face requirements of Fed. R. App. P. 32(a)(5) and the type-

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                    EXHIBIT MM
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                                    2018-1203

             United States Court of Appeals
                 for the Federal Circuit

                             AVENTIS PHARMA S.A.,

                                                           Appellant,

                                        – v. –

                      MYLAN LABORATORIES LIMITED,

                                                           Appellee.



         On Appeal from the United States Patent and Trademark Office, Patent
          Trial and Appeal Board in Inter Partes Review No. IPR2016-00712

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                           CERTIFICATE OF INTEREST

   UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

              Aventis Pharma S.A.,          v.   Mylan Laboratories Limited,
                     Appellant                              Appellee

                                  Case No. 2018-1203

  Counsel for Appellant Aventis Pharma S.A. certifies the following:

  1. The full name of the party represented by me is:
     Aventis Pharma S.A.
  2. The name of the real party in interest (only including any real party in interest
  not identified in Question 3) represented by me is:
     Aventis Pharma S.A.
     Sanofi-Aventis U.S. LLC

  3. All parent corporations and any publicly held companies that own 10 percent or
  more of the stock of the party represented by me are:

     sanofi-aventis Amérique du Nord
     Aventis, Inc.

     Sanofi

  4. The names of all law firms and the partners or associates that appeared for the
  party or amicus now represented by me in the trial court or agency or are expected
  to appear in this court (and who have not or will not enter an appearance in this
  case) are:

  Jason A. Leonard, Fitzpatrick, Cella, Harper & Scinto
  Joshua I. Rothman, Fitzpatrick, Cella, Harper & Scinto




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  5. The title and number of any case known to counsel to be pending in this or any
  other court or agency that will directly affect or be directly affected by this court’s
  decision in the pending appeal. See Fed. Cir. R. 47.4(a)(5) and 47.5(b).

  Sanofi-Aventis U.S. LLC et al. v. Fresenius Kabi USA, LLC et al., Case Nos. 18-
  1804, -1808, -1809; Sanofi-Aventis U.S. LLC et al. v. Fresenius Kabi USA, LLC,
  Consolidated C.A. No. 14-07869 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v.
  Mylan Laboratories Limited, C.A. No. 15-03392 (MAS)(LHG); Sanofi-Aventis
  U.S. LLC et al. v. Fresenius Kabi USA, LLC, C.A. No. 15-02631 (MAS)(LHG);
  Sanofi-Aventis U.S. LLC et al. v. Accord Healthcare, Inc., C.A. No. 15-02520
  (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. BPI Labs, LLC et al., C.A. No. 15-
  02521 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Apotex Corp. et al., C.A.
  No. 15-01835 (MAS)(LHG); Sanofi-Aventis U.S. LLC et al. v. Breckenridge
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  (MAS)(LHG); and Sanofi-Aventis U.S. LLC et al. v. Glenmark Pharmaceuticals,
  Inc., USA et al., C.A. No. 15-02523 (MAS)(LHG)

                                                  /s/ William E. Solander
  Date: May 18, 2018                              Signature of counsel

                                                  William E. Solander
  Cc: Opposing Counsel of Record                  Printed name of counsel




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                        TABLE OF ABBREVIATIONS


  Parties:
  Mylan            Mylan Laboratories Limited (“Petitioner” in IPR2016-00712)
  Aventis          Aventis Pharma S.A. (“Patent Owner” in IPR2016-00712)

  Citations:
  Appx____         Joint Appendix at page(s) __

  Terms:
  Board            Patent Trial and Appeal Board
  DRmCRPC          docetaxel-resistant metastatic castration-resistant prostate
                   cancer
  FDA              United States Food and Drug Administration
  HSR              hypersensitivity reaction
  IPR              inter partes review
  POSA             person of ordinary skill in the art

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                   5624)

  Winquist         Eric Winquist et al., Open Clinical Uro-Oncology Trials in
                   Canada, THE CANADIAN JOURNAL OF UROLOGY, 15(1), 3942–
                   49 (Feb. 2008) (Appx4206-4213)




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  I.    INTRODUCTION
        Mylan’s argument for reading the preamble out of proposed claims 31-34 is

  inconsistent with long-standing precedent of this Court and is based on a flawed

  analogy to the Bristol-Myers case. Given Aventis’s amendment to the body of

  original claim 27 to add “to a patient in need thereof,” the preamble language “a

  method of increasing survival” is necessary to give life and meaning to this added

  limitation. Thus, under binding precedent explained in Aventis’s principal brief

  and below, that preamble language is limiting.

        Mylan makes much of the fact that the original claims were amended during

  prosecution to remove the terms “effective amount” and “clinically proven

  effective amount.” However, the prosecution history reveals that the claims at

  issue were narrowed to specify “effective” or “clinically proven effective”

  cabazitaxel doses, not to preclude any limitation relating to therapeutic efficacy.

  Moreover, Aventis has now amended original claim 27 to specifically incorporate

  “increasing survival” as a limitation, and has clearly disclaimed any claim scope

  that would cover administration of the claimed cabazitaxel regimen without the

  intention of prolonging life. This disclaimer read in conjunction with the entire

  prosecution history of the ’592 patent further confirms that “increasing survival” is

  a limitation of proposed claims 31-34.




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        Under the proper claim construction, there is little dispute that the claims

  were not obvious. Mylan’s expert admitted that the TROPIC study was performed

  to determine ultimately whether cabazitaxel and prednisone increased survival over

  the standard of care, and that a POSA would have merely “hoped” at the time that

  the TROPIC study would be successful. And significantly, the Board also found

  that the TROPIC study results were unexpected, wholly undermining any

  expectation of success. As to claim 34, Mylan’s expert testified that a POSA at the

  time would not have even thought of administering a dose of 20 mg/m2 to a patient

  with DRmCRPC, let alone would that POSA have had a reasonable expectation

  that such a dose would prolong patients’ lives.

        Mylan’s argument that the premedication limitations of the proposed claims

  were obvious rests largely on Mylan’s mischaracterizations of expert testimony, its

  unsupported conclusions about the prior art, and incorrect legal theories. Mylan

  fails to even address several of Aventis’s contentions as to why the Board’s

  decision is not supported by substantial evidence, and accordingly, is unable to

  provide evidence demonstrating that a POSA would have been motivated to

  employ the claimed premedication regimen. Thus, the Board’s decision should

  either be reversed or remanded for further proceedings applying the correct burden

  of proof under Aqua Products.




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  II.   THE PREAMBLE LIMITS THE PROPOSED CLAIMS

        A.    Federal Circuit Precedent Compels a Limiting Construction
        As Mylan concedes, the Board “correctly” held that the language “a patient

  in need thereof” in the body of claim 31 “has an antecedent basis in ‘a method of

  increasing survival.’”   Opp. at 29.     This Court has routinely found preamble

  language in such circumstances limiting. See Pacing Techs., LLC v. Garmin Int’l,

  Inc., 778 F.3d 1021, 1024 (Fed. Cir. 2015); Proveris Sci. Corp. v. Innovasystems,

  Inc., 739 F.3d 1367, 1372-73 (Fed. Cir. 2014); Rapoport v. Dement, 254 F.3d

  1053, 1059 (Fed. Cir. 2001); Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d

  1298, 1305-06 (Fed. Cir. 1999).

        Mylan attempts to avoid this binding precedent, citing TomTom, Inc. v.

  Adolph for the proposition that a preamble that provides antecedent basis does not

  “necessarily . . . give[ ] ‘life and meaning to the claim.’” Opp. at 35. But in

  TomTom, this Court split the preamble into two parts, finding limiting preamble

  language that provided antecedent basis for language in the body of the claim.

  TomTom, Inc. v. Adolph, 790 F.3d 1315, 1322-24 (Fed. Cir. 2015). The non-

  limiting preamble language, on the other hand, was not needed to provide

  antecedent basis. Id. Because it is undisputed here that “increasing survival”

  provides a necessary antecedent basis for “to a patient in need thereof,” the former

  language limits proposed claims 31-34.



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        Moreover, both this Court and lower courts have repeatedly held that where

  a method claim preamble sets forth the objective and the claim body recites that

  the method be performed on a patient “in need,” the preamble is more than “merely

  a statement of effect that may or may not be desired or appreciated.” Jansen v.

  Rexall Sundown, Inc., 342 F.3d 1329, 1333 (Fed. Cir. 2003); see also Rapoport,

  254 F.3d at 1059, 1061; PBr. at 36 (collecting cases). Instead “it is a statement of

  the intentional purpose for which the method must be performed” and limits the

  claims. Jansen, 342 F.3d at 1333. Mylan cannot distinguish this line of cases.

        Here, like in Jansen, Aventis amended the claims to add “to a patient in need

  thereof” and changed the preamble language such that “increasing survival” was

  necessary to give life and meaning to the claim. Id. at 1330-31, 1333-34 (noting

  that amendments to change the preamble and to add “in need thereof” were made

  at same time).     Also like Jansen, the amendments here are important to

  patentability of the claims. Id. at 1333-34. While Mylan insists that Jansen

  concerned defining the anemia disease condition of patients (Opp. at 36-37), this

  Court’s analysis was not so limited:

              We need not decide whether we would reach the same
              conclusion if either of the “treating or preventing” phrase
              or the “to a human in need thereof” phrase was not a part
              of the claim; together, however, they compel the
              [limiting] claim construction arrived at by both the
              district court and this court.




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  Id. at 1333.1    Thus, in Jansen, it was the combination of the “treating or

  preventing” preamble language and the “to a human in need thereof” phrase in the

  body of the claim that compelled the conclusion that the preamble was a limiting

  statement of “intentional purpose,” not a definition of the type of anemia involved.

  Id. Therefore, here, following Jansen, “increasing survival” and “a patient in need

  thereof” should be construed to require that claims 31-34 be performed with the

  intent of increasing survival, i.e., to prolong life as compared to no treatment or

  palliative treatment.

        Mylan’s attempts to analogize the present case to Bristol-Myers fail. In

  Bristol-Myers, the claims did not contain the key “in need” language, and the

  preamble language was not necessary to provide antecedent basis. Bristol-Myers

  Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d 1368, 1371-72 (Fed. Cir. 2001). In

  fact, Mylan cites only one case concerning a preamble to a claimed method of

  administering a drug to someone “in need”—the readily distinguishable lower

  court decision in Takeda Pharm. Co. v. Actavis Labs. FL, Inc., No. 15-451-RGA,

  2016 U.S. Dist. LEXIS 73121 (D. Del. Jun. 6, 2016). In Takeda, the parties

  disputed whether the preamble language “having reduced adverse effects” was

  limiting, but did not dispute (and the court therefore did not address) whether the
  1
    Mylan asserts incorrectly that Jansen “depended” on the principle that claims
  must be construed to preserve validity. Opp. at 37. The holding in Jansen was
  based largely on the Rapoport interference appeal in which that claim construction
  principle was not applicable. 342 F.3d at 1333.

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  intended purpose of the method set forth in the preamble, “a method of treating

  overweight or obesity,” in conjunction with the phrase “to a person in need

  thereof” in the body of the claim, limited the claims. Id. at *19-31.2

        Despite abundant precedent to the contrary, Mylan also argues that the

  preamble here is non-limiting because it does not alter the practice of the claimed

  methods. Opp. at 29-32. But there is no single test for whether a preamble limits

  claim scope, not even the manipulative difference analysis extolled by Mylan

  (Opp. at 30). See, e.g., In re Cruciferous Sprout Litig., 301 F.3d 1343, 1347 (Fed.

  Cir. 2002) (no “litmus test” for when a preamble is found limiting). Further, when

  construed in accordance with the controlling Jansen line of cases, the claim 31

  preamble directly impacts how the method steps are performed.            That is, a

  physician administering cabazitaxel, premedication, and prednisone according to

  claim 31 to shrink a tumor, stabilize disease, or to reduce pain, but without the

  intention of prolonging life, is not practicing the claimed method. See Jansen, 342

  F.3d at 1334 (“[A]dministering the claimed [drugs] for some purpose other than

  [increasing survival] is not practicing the claimed method.”). Because a high

  proportion of men with DRmCRPC are elderly and this disease is known to cause

  2
    Aspex Eyewear is also distinguishable. In Aspex Eyewear, the preamble term
  “eyeglass device” was defined in the specification as requiring both auxiliary and
  primary frames; therefore, the preamble could not be construed as a limitation for
  claims directed specifically to primary frames or auxiliary frames. Aspex Eyewear,
  Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335, 1347-48 (Fed. Cir. 2012).

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  substantial bone metastases and pain, the goal for physicians may simply be to

  reduce symptoms in certain patients, rather than to prolong life.        Appx10402

  (431:4-17),     Appx11493,      Appx11501,      Appx14941-14942,        Appx15007,

  Appx15085-15086 (17:17-18:16), Appx15824.           Indeed, other chemotherapies,

  such as mitoxantrone, were used for purely palliative purposes. Appx49 (n.16),

  Appx4457-4458, Appx14942-14943. Thus, Mylan’s assertion that the preamble is

  not limiting because it does not alter claim steps is incorrect. And its cited cases

  for that point, including Bristol-Myers, are distinguishable. The Board, therefore,

  legally erred in relying on Bristol-Myers instead of Jansen.

        B.      The Prosecution History Supports a Limiting Construction
        At the time original claim 1 was amended to recite administering “an

  effective amount” of cabazitaxel, dependent claim 8 recited a 15-25 mg/m2

  cabazitaxel dose. Appx1994-1995, Appx1997. Because dependent claims include

  the limitations of the claims from which they depend, it is clear that Aventis

  considered at least 15-25 mg/m2 to be an “effective amount” of cabazitaxel, which

  the specification defines as an amount “that produces an effect on the cancer to be

  treated.” 35 U.S.C. § 112 ¶4 (pre-AIA); Appx194 (3:65-7). The specification

  further states that “[i]n some embodiments, the effective amount of cabazitaxel

  produces at least one therapeutic effect selected from the group consisting of

  increase in overall survival, partial response, reduction in tumor size, reduction in



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  metastasis, complete remission, partial remission, stable disease, or complete

  response.” Appx194 (3:22-27). Also, original claim 27 (initially presented as

  claim 24) specified the particular therapeutic effect of “increasing survival” by

  administering “a clinically proven effective amount” of cabazitaxel. Appx1996.

  Ultimately, after an interview with the examiner, Aventis narrowed the claims to

  overcome anticipation and obviousness rejections by including a particular dose

  range of cabazitaxel (20-25 mg/m2) that was not disclosed in the alleged

  anticipatory reference and that had been shown for the first time to surprisingly

  increase survival of DRmCRPC patients. Appx1857-1859.

        Mylan asserts that by narrowing the claims to insert a particular dose range

  in place of “effective amount” and “clinically proven effective amount,” Aventis

  broadened the claims to cover methods that are practiced without regard to their

  effect on the patient. Opp. at 21, 27-28; Appx15-16. Mylan cites no case to

  support this position, which is inconsistent with (1) the narrowing nature of the

  amendment that was made, (2) the fact that 20-25 mg/m2 of cabazitaxel had

  already been described as an “effective amount,” and (3) the remainder of the

  prosecution history. Aventis argued in every office action response that the prior

  art failed to indicate that cabazitaxel would successfully treat prostate cancer, and

  pointed to the statistically significant overall survival benefit demonstrated in

  Example 1 of the ’592 patent. Appx1860-1861, Appx1999, Appx3727. Indeed,



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  the examiner allowed the original claims because it was “surprising and

  unexpected” that the claimed combination would be “clinically effective in the

  treatment of prostate cancer that has progressed during or after treatment with

  docetaxel,” and because Aventis demonstrated that early clinical results such as

  those disclosed in Mita “failed to predict whether therapies would ultimately

  provide a clinically meaningful benefit.”     Appx1735.     The Board agreed that

  Aventis had relied on therapeutic efficacy during prosecution to overcome prior

  art. Appx396.

        Moreover, even assuming the Board’s analysis of the original claims was

  correct, that analysis does not control the proposed substitute claims with different

  language. As explained in its principal brief, Aventis expressly amended the

  preamble to include “increasing survival” to overcome prior art. PBr. at 36-38.

  The cumulative prosecution history of the ’592 patent, including Aventis’s

  disclaimer in its motion to amend, indicates that increasing survival has been of

  paramount importance to Aventis and to patentability, and the public would

  ordinarily be entitled to rely on that record to understand the claims. See Aylus

  Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1359-1362 (Fed. Cir. 2017) (finding

  statements by patent owner during an IPR supported a finding of prosecution

  disclaimer); Fenner Invs., Ltd. v. Cellco P’ship, 778 F.3d 1320, 1324 (Fed. Cir.

  2015) (noting the interested public has the right to rely on limiting prosecution



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  statements); Bass Pro Trademarks, LLC v. Cabela’s, Inc., 485 F.3d 1364, 1369

  (Fed. Cir. 2007) (preamble found limiting where relied on during prosecution).

        C.      Aventis Clearly Disavowed Claim Scope
        Mylan asserts in error that Aventis’s clear disavowal of claim scope and

  narrowing amendment (explained above) are ineffectual because they occurred

  during the IPR proceeding instead of during earlier prosecution. Opp. at 39-40.

  Neither case Mylan cites for that purported proposition is controlling since neither

  involved the circumstances here, namely, where amendments were proposed in an

  IPR contingent motion to amend specifically to overcome art if the original claims

  were found invalid. In re Lockwood, 679 F. App’x 1021 (Fed. Cir. Feb. 13, 2017);

  Tempo Lighting, Inc. v. Tivoli, LLC, 742 F.3d 973 (Fed. Cir. 2014). In Lockwood,

  the patentee tried to limit—through argument, not amendment—“stored data” in

  certain original claims to remotely stored data. But other claims expressly required

  the data to be remotely stored, the specification included examples of remote and

  non-remote stored data, and there was no clear and unmistakable prosecution

  disclaimer.   In re Lockwood, 679 F. App’x at 1026-27.           Here, in contrast,

  “increasing survival” does not appear in any claims of the ’592 patent other than

  original claim 27, Aventis’s construction is consistent with the specification (infra

  at II.D.), and Aventis has unmistakably disavowed claim scope. The Lockwood

  court simply observed that a narrower construction advanced during reexamination



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  of the original claims was not binding. 679 F. App’x at 1027. That observation

  does not prevent Aventis from disclaiming scope in newly drafted claims, and the

  Board committed legal error by ignoring Aventis’s clear reliance on the preamble

  to limit the scope of the proposed claims.3

        D.     A Limiting Preamble Is Consistent with the Specification
        According to Mylan, a limiting construction of the preamble of claim 31 in

  accordance with Jansen would improperly read limitations from the specification

  into the claims and would violate 35 U.S.C. § 112. Opp. at 30, 34, 40. Mylan is

  incorrect.

        First, applying Jansen, Aventis’s construction does not improperly read

  limitations into the claims. Mylan asserts that by selecting “increasing survival” to

  limit the claims, Aventis improperly excludes other embodiments described in the

  specification. Opp. at 34, 40. While the expressly recited “increasing survival” is

  one of several possible therapeutic effects described in the specification (Appx194

  (3:22-27)), there is nothing improper about drafting claims which are narrower

  than the subject matter disclosed in the specification.       Mylan cites no legal

  authority to the contrary.


  3
    As explained in Aventis’s principal brief (at 37-38), Tempo Lighting is also
  distinguishable. Moreover, the language Mylan relies on from Tempo Lighting is
  dicta. This Court found that there had been sufficiently clear definition of the term
  during prosecution by the applicant, and thus adopted the prosecution definition.
  742 F.3d at 977-78.

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           Second, Aventis’s construction does not violate 35 U.S.C. § 112. Again

  citing no legal authority, Mylan alleges “several Section 112 problems” with

  Aventis’s construction, and repeats arguments made during the IPR that the Board

  correctly did not credit. Opp. at 34-35. Mylan focuses on whether a POSA could

  determine prospectively whether a particular patient would in fact live longer after

  receiving cabazitaxel.      Id.    But Aventis’s construction simply requires

  administering the cabazitaxel regimen with the intent to prolong life and does not

  require knowledge of whether the life of any particular patient will be prolonged.

  Regardless, Example 1 of the ’592 patent shows that statistically, DRmCRPC

  patients lived longer because they received 20-25 mg/m2 of cabazitaxel in

  combination with prednisone as compared to palliative mitoxantrone therapy, and

  therefore that this regimen increases the life expectancy of patients described in the

  study.      Appx197-201 (10:30-17:33), Appx15124-15125 (56:24-57:2), Appx

  15131-15133 (63:5-65:12), Appx16376-16377, Appx16286-16287 (85:18-86:7).

  Moreover, Mylan’s expert conceded that a POSA can reasonably conclude whether

  cabazitaxel administration has prolonged patient life. Appx15136-15137 (68:9-

  69:12). Thus, Aventis’s construction presents no “Section 112 problems.”

  III.     CLAIMS 31-34 HAVE AN INTENT ELEMENT, AND “INCREASING
           SURVIVAL” IS NOT REDUNDANT
           Assuming the preamble of the proposed claims is limiting, Mylan argues

  that “increasing survival” means “administering the claimed drug, at the claimed


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  amount . . . to the claimed patient, who was known to have [DRmCRPC]” because

  such a patient was known to be “in need of increasing survival.” Opp. at 25-26,

  see also Opp. at 39; Appx72-73 (“[A] patient in need of increased survival, i.e., a

  [DRmCRPC] patient, [is] the type of terminally-ill patient already defined in the

  body of the claim.”). Mylan’s argument ignores that patients having DRmCRPC

  are in need not only of therapies to extend their lives, but also of therapies to

  improve quality of life. Indeed, physicians often administer chemotherapies with

  the intent of alleviating symptoms (e.g., pain) or shrinking tumor size without any

  intention of actually prolonging the patient’s life. Supra, Section II.A. But, the

  claims here require more than an intent to provide a palliative benefit; they must be

  practiced with the intent to “increase survival,” which intent must be shown to

  prove infringement or obviousness. Mylan and the Board’s construction, however,

  eliminates the “increasing survival” claim language, and would improperly absolve

  the parties, respectively, from proving infringement or obviousness of that claim

  element.

        Mylan argues that Jansen does not require “some other vague intentionality

  requirement.”   Opp. at 37.     To the contrary, Jansen held: “The preamble is

  therefore not merely a statement of effect that may or may not be desired or

  appreciated. Rather, it is a statement of the intentional purpose for which the

  method must be performed.” 342 F.3d at 1333. Indeed, Jansen characterized this



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  Court’s Rapaport decision as requiring practice of the claimed method “with the

  intent to achieve the objective stated in the preamble.” Id. The Jansen Court also

  rejected arguments similar to Mylan’s contention that it is improper to add an

  intent element to the claims. Id. at 1332. Indeed, several other courts have also

  recognized that the “in need” language of claim 31 incorporates an intent

  requirement. See, e.g., GlaxoSmithKline LLC v. Glenmark Pharms., Inc., No. 14-

  877-LPS-CJB, 2017 U.S. Dist. LEXIS 22903, at *9 (D. Del. Feb. 17, 2017); Sanofi

  v. Glenmark Pharms. Inc., 2015 U.S. Dist. LEXIS 114406, at *7, 16-17 (D. Del.

  Aug. 28, 2015), aff’d sub nom. Sanofi v. Watson Labs. Inc., 875 F.3d 636 (Fed.

  Cir. 2017); Palmetto Pharms., LLC v. AstraZeneca Pharms., LP, No. 2:11-807-SB,

  2015 U.S. Dist. LEXIS 161710, at *10-14 (D.S.C. Nov. 30, 2015), aff’d 671 F.

  App’x 788, 789 (Fed. Cir. Dec. 9, 2016); Pfizer Inc. v. Teva Pharms. USA, Inc.,

  803 F. Supp. 2d 397, 408-09 (E.D. Va. 2011); Wyeth v. Mylan Pharms., Inc., No.

  1:07CV91, 2009 U.S. Dist. LEXIS 43800, at *27-30 (N.D.W. Va. May 22, 2009);

  Schering Corp. v. Glenmark Pharms., Inc., No. 07-1334, 2008 U.S. Dist. LEXIS

  69880, at *26-30 (D. N.J. Sept. 16, 2008). Thus, claims 31-34 must be practiced

  with the intent of increasing survival, and the Board legally erred by failing to

  follow Jansen in construing those claims.

        Mylan also argues incorrectly that Aventis’s application of this intent

  element requires evidence of increased survival to practice the claims. Opp. at 25.



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  Mylan, however, confuses the scope of the claim with the evidence necessary to

  establish infringement or obviousness.        For example, obviousness requires

  evidence showing that a POSA would have been motivated to combine the prior art

  teachings to practice the claimed methods with a reasonable expectation of

  success. In re Cyclobenzaprine Hydrochloride Extended-Release Capsule Patent

  Litig., 676 F.3d 1063, 1068-69 (Fed. Cir. 2012). A preamble that limits the claims

  is part of the claimed invention and must be considered in an obviousness analysis.

  See Sanofi v. Watson Labs. Inc., 875 F.3d at 647. Similarly, to prove infringement,

  Aventis would have to prove that the accused infringer carried out the claimed

  methods with the intent of increasing the survival of a patient.

        Mylan attempts to limit the obviousness analysis to the steps of

  administering the claimed premedication, cabazitaxel, and prednisone to patients

  with DRmCRPC, without regard to how those drugs might impact patients. Opp.

  at 28-30. But, Mylan’s position is belied by the Board’s obviousness analysis of

  the original claims, which required at least a reasonable expectation of anti-cancer

  activity. Appx30. Since the claims have been amended to specifically include

  “increasing survival” in accordance with the Jansen line of cases, the obviousness

  analysis should be more demanding than for the original claims.

        Finally, the analysis in Sanofi v. Glenmark is instructive.       There, the

  preamble “decreasing the risk of cardiovascular hospitalization” was found



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  limiting and the claims were interpreted to have an intent requirement. Sanofi v.

  Glenmark, 2015 U.S. Dist. LEXIS 114406, at *6-7, *14-16, aff’d sub nom. Sanofi

  v. Watson Labs. Inc., 875 F.3d 636 (Fed. Cir. 2017). To prove infringement,

  plaintiffs were thus required to prove that defendants induced physicians to

  practice the claimed methods with the intent of decreasing the risk of

  cardiovascular hospitalization. Sanofi v. Watson Labs. Inc., 875 F.3d at 645.

  Likewise, defendants were required to prove a reasonable expectation that the drug

  in question would reduce the risk of cardiovascular hospitalization. Id. at 647.

  Thus, here, as in Sanofi, the reasonable expectation of success analysis should

  include the preamble and should consider whether a POSA would have had a

  reasonable expectation of increasing survival using the claimed methods.

  Therefore, the Board committed legal error by excluding “increasing survival”

  from its analysis of reasonable expectation of success.

  IV.   THE PRIOR ART DID NOT PROVIDE A REASONABLE
        EXPECTATION OF INCREASED SURVIVAL USING THE
        CLAIMED METHODS
        Citing In re Montgomery and King Pharms., Mylan argues that increased

  survival is “inherent” and thus need not be taught in the prior art. Opp. at 41-42.

  This argument, however, assumes that the claimed methods were already in the

  prior art, which Mylan acknowledges they were not. Opp. at 56 n.4; Appx16339-




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  16340 (138:20-139:6).      Thus, whether increasing survival is inherent to the

  claimed methods is irrelevant to obviousness here.

        To support that a POSA would have had a reasonable expectation that

  cabazitaxel would increase survival, Mylan also relies on the TROPIC study’s

  primary objective to assess overall survival. Opp. at 42-43. As explained in the

  principal brief, however, the mere fact that the TROPIC study was ongoing would

  not have provided a reasonable expectation that the study would succeed,

  particularly given the minimal available data regarding cabazitaxel (with none

  regarding survival) and the numerous failures of other prostate cancer therapies to

  increase survival in clinical studies despite demonstrated anti-cancer activity. PBr.

  at 7-16.

        Contrary to Mylan’s assertion (Opp. at 43), neither party’s expert testified

  that “taxane therapies were expected to prolong life,” an expectation that would

  have been particularly remote for the claimed patients who have developed

  resistance to taxane therapy. Dr. Sartor testified that he is able to tell his patients

  that cabazitaxel has “the potential to extend their life,” but only because he now

  has the benefit of the TROPIC results included in the patent’s specification.4

  Appx4985-4986 (115:12-116:2). Indeed, there is little dispute here that a POSA
  4
    Dr. Sartor was asked to speak to “when you’re administering cabazitaxel to
  someone today . . . .” In response to a follow-up question about what occurred in
  2008, Dr. Sartor testified that he was “surprised, delighted, maybe a little shocked
  when the actual results [of TROPIC] came in.” Appx4985-4986 (115:12-116:21).

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  could not have expected the TROPIC results before that study was complete.

  Appx15254-15255 (186:7-187:4) (Dr. Seth admitting that the TROPIC study was

  conducted to determine “ultimately what is better [as between cabazitaxel and

  mitoxantrone]”), Appx49 (Board finding that “the results of the TROPIC Study

  were unexpected enough to result in FDA fast-track approval”).

        Moreover, Dr. Seth’s testimony that patients who enter a Phase III trial for

  mCRPC “intend to live longer and better as a result of the trial” (Appx5439) is

  incorrect. As a matter of simple logic, only half of the TROPIC study’s patients

  would have been randomized to receive cabazitaxel, and, even for those patients

  who did receive cabazitaxel, there was at most only a “hope” not an expectation

  that cabazitaxel would work. Appx16232-16233 (31:9-32:20); see also PBr. at 44-

  46 (noting Dr. Seth’s repeated testimony that a POSA would have merely hoped

  that cabazitaxel would increase survival prior to the results of TROPIC). The mere

  “hope” that a claimed method will work falls far short of reasonably expecting that

  it will succeed, and cannot support obviousness of a claimed invention. Sanofi v.

  Glenmark Pharms. Inc., 204 F. Supp. 3d 665, 691-92 (D. Del. 2016).

        As for proposed claim 34, Mylan offers no basis why a POSA would have

  had a reasonable expectation that a 20 mg/m2 cabazitaxel dose would increase

  survival in patients with DRmCRPC, given the absence of prior art data showing

  the effect of this dose in those patients, and in light of Dr. Seth’s critical



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  admissions that even after the TROPIC results were available, a POSA “most

  likely would not be able to think of giving a dose of 20 milligrams per meter

  squared,” and “I don’t think most oncologists would think 20 milligrams would

  work.” Appx15140-15141 (72:17-73:2, 73:14-23).

        Lastly, Mylan incorrectly asserts that “[t]he Board concluded that substantial

  evidence shows that a POSA would have had a reasonable expectation of

  prolonging life of a mCRPC patient who had progressed during or after treatment

  with docetaxel by administering 20-25 mg/m2 cabazitaxel based on the disclosures

  of Winquist, the TROPIC Listing, Pivot, Mita, and Tannock.” Opp. at 15. Mylan

  cites passages from the Board’s decision which merely found that a POSA would

  have expected that administration of 20-25 mg/m2 cabazitaxel would have “anti-

  cancer activity” in patients with DRmCRPC, which both experts agree does not

  translate into increased survival. Appx24-25, Appx30-32, Appx38, Appx15162

  (94:7-16, Dr. Seth agreeing that there are no surrogates for overall survival),

  Appx16253 (52:14-16, Dr. Seth candidly admitting that “tumor response rates do

  not translate into overall survival”), Appx14968-14969.

  V.    THE BOARD’S FINDING THAT A POSA WOULD HAVE BEEN
        MOTIVATED TO USE THE CLAIMED PREMEDICATION
        REGIMEN WITH CABAZITAXEL IS NOT SUPPORTED BY
        SUBSTANTIAL EVIDENCE
        The methods of the proposed claims are directed to patients with mCRPC

  “that has progressed during or after treatment with docetaxel” and thus has become


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  docetaxel-resistant. Those patients therefore must have already received docetaxel

  therapy.   Docetaxel is contraindicated in patients having a history of severe

  hypersensitivity reactions (HSRs) either to docetaxel or to other drugs formulated

  with polysorbate because of the increased risk of subsequent HSRs. Appx4347-

  4348. Therefore, a POSA would have understood that the patients described in the

  proposed claims tolerated docetaxel administration (having received enough

  docetaxel to become resistant) after receiving only the FDA-approved single-

  component premedication regimen of dexamethasone alone.           Appx4347-4348,

  Appx15044-15045.

        Mylan offers no credible explanation why a POSA administering cabazitaxel

  to such a patient would add two additional premedication drugs when it was

  understood that the risk of hypersensitivity reactions was undisputedly lower for

  cabazitaxel than for docetaxel.     Appx15043-15044, Appx15183 (115:11-19).

  Mylan argues only that the claimed premedication regimen “was known,” having

  been used with Taxol® and in older studies with docetaxel. Opp. at 47-48. But

  knowledge alone cannot provide motivation, and any finding of motivation must

  be supported by specific evidence of the same. See PersonalWeb Techs., LLC v.

  Apple Inc., 848 F.3d 987, 993-94 (Fed. Cir. 2017). Indeed, the evidence here does

  not support a motivation to use the claimed regimen, given that: (1) cabazitaxel is

  not formulated with Cremophor, which necessitates use of the three-drug



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  premedication for Taxol®; (2) the three-drug premedication of the older docetaxel

  studies had long been superseded by the single-drug regimen found in the FDA

  label for docetaxel; and (3) prior art studies of cabazitaxel itself taught that no

  premedication would be needed. PBr. at 16-19, 48-58.

        Indeed, a POSA would have understood as of January 2010 that the

  incidence of HSRs associated with cabazitaxel was far less than those observed

  with docetaxel. Mylan disputes this point based on (i) hindsight reliance on Pivot,

  the only cabazitaxel prior art study reporting an incidence of severe HSRs, and (ii)

  Dr. Sartor’s testimony, which Mylan contends suggests that the incidence of HSRs

  in Pivot would have motivated a POSA to employ the claimed premedication

  regimen. Opp. at 45-46. In particular, Mylan cites Dr. Sartor’s testimony that “4

  percent of people with a bad hypersensitivity is a crazy high number, scares the

  hell out of me.” However, as explained in Aventis’s principal brief, Dr. Sartor

  used the term “bad hypersensitivity” reaction to mean patients who are about to die

  (i.e., grade 4 HSR). PBr. at 50; Appx5086 (216:15-19). And, only a single patient

  in Pivot had such a “bad hypersensitivity” reaction, which is 1%, not 4% of

  patients. Appx4217, Appx5433-5434, Appx10514 (543:11-20). Indeed, the Pivot

  authors characterized the incidence of grade 3 or higher HSRs as “rare.”

  Appx4217.

        Any purported relevance of the Pivot data here is further undermined by the



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  three other prior art cabazitaxel studies, which reported no severe HSRs even

  though patients received no premedication, or, at most, received only a single

  (antihistamine) premedication.     Appx4228, Appx14666-14667, Appx15914,

  Appx10467 (496:1-19), Appx10507 (536:4-22), Appx10509-10510 (538:1-

  539:10). Thus, while the Hudis reference noted that “[f]requent HSR may warrant

  prophylactic premedication,” a POSA would not have applied that suggestion to

  cabazitaxel based on the “rare” occurrence of associated HSRs.         Appx5625

  (emphasis added), Appx4217.

        Also, now, without any evidentiary support, Mylan asserts that patients in

  the Mita study received premedication treatment. Opp. at 56-57. But this is

  simply false.   Mita was explicitly designed in part to determine whether

  premedication was required. Appx4225. And, while Mita did not prohibit the use

  of premedication after the initial cycle, no HSRs were observed and, therefore,

  premedication was not needed for any of the 25 Mita patients in any cycle of

  administration. Appx4228, Appx4230, Appx16381-16382.           Moreover, even if

  Mylan were correct that the Mita patients received premedication, that would serve

  to undermine the basic premise of Mylan’s case that the use of premedication was

  obvious (i.e., that despite the presence of HSRs and consequent use of

  premedication, the Mita authors still concluded that “[cabazitaxel] administration

  does not require premedication”). Appx4230. In light of Mita’s conclusion that no



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  premedication was needed, and given the rare incidence of severe HSRs (i.e., a

  single patient out of 137 patients treated with cabazitaxel across four studies), the

  Board’s finding that a POSA would have employed a premedication regimen that

  was more complicated than the one used with docetaxel, is unsupported by

  substantial evidence.    Appx4216, Appx4226, Appx14666-14667, Appx15914.

  This is especially true given the knowledge a POSA would have had that

  premedication can exacerbate the side effects of chemotherapy.          PBr. at 60;

  Appx15944, Appx15953.

        Mylan relies in error on Dr. Sartor’s testimony that “when we administer an

  agent known to be associated with hypersensitivity reactions, if there’s a method to

  help control those, then we use that.” Opp. at 47. In this testimony, Dr. Sartor was

  explaining his use of the claimed premedication regimen after both the TROPIC

  study results and the FDA-approved labeling for cabazitaxel became available.

  Appx5081 (211:5-14). In other words, the premedication “method” Dr. Sartor

  described is the one first disclosed in the ’592 patent itself, based on the TROPIC

  study. But the issue here is not how Dr. Sartor currently administers cabazitaxel,

  but rather whether a POSA would have been motivated to employ such a regimen

  prior to the TROPIC study. As Mylan’s Dr. Seth admitted, at the time of the

  invention, if a POSA used any premedication with cabazitaxel at all, that

  premedication    would    have    been    the   single-component     dexamethasone



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  premedication for docetaxel. Appx15186-15187 (118:13-119:5, “I feel as a POSA

  in 2009, before TROPIC, . . . most of my colleagues would premedicate before

  administration of cabazitaxel, similar to how we would premedicate before

  docetaxel . . . . I believe POSAs would use the same premedication on docetaxel in

  cabazitaxel before TROPIC came out.”).

        Although Takenaka discloses use of the three-component Taxol®

  premedication regimen, a POSA would have considered that disclosure of minimal

  relevance, since the FDA had determined that dexamethasone alone was safe to use

  as a single premedication with higher docetaxel doses than those used by

  Takenaka.    Appx4347.    Takenaka did not recommend use of the described

  experimental method, and there is no evidence that it was used again. Appx5614.

  Also, contrary to Mylan’s assertion (Opp. at 55), the docetaxel dose disclosed in

  Takenaka is not “about the same” as the cabazitaxel doses in the proposed claims,

  but rather is up to 50% higher than the claimed doses. Appx5614.

         Mylan mischaracterizes Dr. Seth’s testimony, asserting that he was trained

  to use the claimed premedication regimen for docetaxel and continues to do so in

  his practice today. Opp. at 49. But Dr. Seth testified unequivocally that “[t]he

  specific premedication we use for the docetaxel chemotherapy is dexamethasone”

  and “before TROPIC came out and the product information of cabazitaxel came

  out” a      POSA would use that same          single-component dexamethasone


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  premedication. Appx15181 (113:2-15), Appx15186-15187 (118:13-119:5). In his

  cited testimony, Dr. Seth noted only that he was made aware of the claimed three-

  component medication regimen during his residency. Opp. at 49; Appx16329-

  16330 (128:8-129:3). Again, that a POSA was aware of the claimed premedication

  regimen is insufficient to render the claims obvious; there must be actual evidence

  supporting a motivation to use that therapy. PersonalWeb Techs., 848 F.3d at 993-

  94.

        Mylan also wrongly asserts that Dr. Sartor admitted that the claimed

  premedication regimen “was known to be safe.” Opp. at 52. To the contrary, Dr.

  Sartor merely disagreed that the premedication components in general were

  “extremely risky.” Appx5087 (217:20-22). Plainly, “safe” and not “extremely

  risky” are not one and the same. Moreover, while H2 antagonists may not be

  dangerous to a healthy patient population, chemotherapy patients with

  compromised immune systems who are treated with H2 antagonists are at risk of

  developing hand and foot disease, a painful condition for which there is no proven

  effective treatment.   Appx15943-15944, Appx15949, Appx15953, Appx15046-

  15048.    Thus, contrary to Mylan’s assertion (Opp. at 50-51), the claimed

  premedication regimen was not understood to “be a better option for controlling

  HSRs and related side effects” than dexamethasone alone, the regimen for

  docetaxel. Rather, the claimed regimen was known to be a worse option because it



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  is less convenient and could cause side effects, such as hand and foot disease

  associated with the H2 antagonists.      Appx15953, Appx4230.         Mylan fails to

  address this teaching away from the claimed regimen, and thus cannot credibly

  assert that a POSA would have been motivated to use that regimen in light of the

  known “significant administration and convenience advantages” of avoiding it.

  Appx4230.

         Mylan also asserts that H2 antagonists “were commonly prescribed” to

  offset vomiting and nausea, but cites not a single prior art reference supporting that

  assertion. Opp. at 46. As explained by Dr. Seth, in light of the results of Pivot, a

  POSA would have expected nausea and vomiting to be more significant problems

  for docetaxel than for cabazitaxel. Appx16274 (73:2-15). Yet, H2 antagonists

  were not included in the FDA-approved method of administering docetaxel.

  Mylan also wrongly suggests that the premedication regimen in Trudeau was

  administered to treat nausea and vomiting in addition to HSRs. Opp. at 48. To the

  contrary, the Trudeau authors note that “[n]o routine antiemetics were prescribed”

  despite nausea (65%) and vomiting (35%) occurring at twice the frequency

  observed in Pivot (32% and 18% respectively). Appx5619, Appx5621, Appx4217.

        Lastly, Mylan fails to address Dr. Seth’s admission that a POSA who

  believed nausea and vomiting to be problems associated with cabazitaxel would

  not choose to administer an H2 antagonist, but rather would use one among a



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  number of newer, more effective antiemetic compounds that were known in

  January 2010.    Appx15195 (127:17-23), Appx16322-16323 (121:8-121:3); see

  also Appx5602. Thus, even if there was evidence that nausea and vomiting were

  known problems associated with cabazitaxel, Mylan’s expert conceded that

  premedication with an H2 antagonist would not have been the obvious solution.

  VI.   AVENTIS IS ENTITLED TO THE BENEFIT OF AQUA PRODUCTS
        As explained in the principal brief, if this Court does not reverse the Board’s

  finding of unpatentability of claims 31-34, this case should be remanded in view of

  the Aqua Products decision for consideration under the proper burden of proof.

  PBr. at 62-63. Mylan argues against a remand on grounds that Aventis appealed to

  this Court before requesting Board rehearing and thereby failed to “exhaust[ ] all

  administrative remedies.” Opp. at 58. But a party is not required to request

  rehearing before filing a notice of appeal. 35 U.S.C. § 141(c) unconditionally

  allows a party “who is dissatisfied with the final written decision of the Patent

  Trial and Appeal Board . . . [to] appeal the Board’s decision.” In re Magnum Oil

  Tools Int'l, Ltd., 829 F.3d 1364, 1377 (Fed. Cir. 2016) (“Nowhere does the

  statute . . . require that the party first file a request for rehearing before the

  Board . . . . [A] party who is dissatisfied . . . can elect to directly appeal that

  decision.”).




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        Moreover, a request for rehearing is not a proper means to address the

  impact of Aqua Products on this case. Rehearing requests must “specifically

  identify all matters the party believes the Board misapprehended or overlooked,”

  and should not include the impact of changes in the law. 37 C.F.R. § 42.71(d)

  (emphasis added). In fact, the Board has previously denied permission to request

  rehearing based on new case law. Westlake Servs., LLC v. Credit Acceptance

  Corp., CBM2014-00008, Paper 40 at 3 (P.T.A.B. July 1, 2014) (“Petitioner has not

  explained sufficiently how we could have overlooked or misapprehended anything

  based on the Alice decision, when that decision was issued after our decision.”).

  Therefore, Aventis chose not to request rehearing to allow all legal errors in the

  Final Written Decision to be corrected together on appeal, including the Board’s

  construction of the preamble of claim 31. Notably, upon remand, the Board would

  have the benefit of this Court’s claim construction analysis and guidance.

        Alternatively, Mylan argues that the Board’s analysis under pre-Aqua

  Products law was harmless error because the Board effectively placed the burden

  of proof on Mylan. Opp. at 58-60. But Mylan is wrong. While the Board

  referenced Mylan’s opposition to Aventis’s contingent motion to amend, the Board

  explicitly placed the burden of proof on Aventis.       Appx80, Appx83 (“Patent

  Owner has not proved by a preponderance of the evidence that proposed substitute

  claims 31–34 are patentable.”). Under Aqua Products, this was not harmless error.



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  In fact, this Court has remanded a denial of a motion to amend under similar

  circumstances, thereby rejecting the premise that only harmless error had occurred.

  Bosch Auto Serv. Solutions, LLC v. Matal, 878 F.3d 1027, 1040-41 (Fed. Cir.

  2017).

                                    CONCLUSION
           For the foregoing reasons, this Court should vacate the Board’s claim

  construction and construe the preamble of claims 31-34 as limiting such that the

  claims require that the methods be performed with the intent of prolonging a

  patient’s life as compared to no treatment or palliative treatment. And, because the

  prior art does not provide such a reasonable expectation of increasing survival, the

  Board’s decision that the claimed methods are obvious should be reversed.

           This Court also should either reverse the Board’s decision on grounds that

  its findings as to the premedication limitations were not supported by substantial

  evidence, or should remand for further proceedings applying the proper burden of

  proof.




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                               Respectfully submitted,

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                               PROOF OF SERVICE
        The undersigned counsel for Appellants certifies that, on May 18, 2018, the

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            TYPE-FACE, AND TYPE-STYLE REQUIREMENTS
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  Appellant complies with the type-volume limitation of Fed. Cir. Rule 32(a). This

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